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                                                                           6                                UNITED STATES DISTRICT COURT
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                                                                                                           NORTHERN DISTRICT OF CALIFORNIA
                                                                           8
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                                                                          10   UNITED STATES OF AMERICA,
                                                                          11                  Plaintiff,                             No. CR 20-00371 WHA
                                                                          12           v.
                  Northern District of California
                   United States District Court




                                                                          13   ROBERT T. BROCKMAN,                                   ORDER RE MOTION FOR CHANGE
                                                                                                                                     OF VENUE ON COUNTS TWO
                                                                          14                  Defendant.                             THROUGH EIGHT
                                                                          15
                                                                          16        Defendant has moved for change of venue as to counts two through eight under 18
                                                                          17   U.S.C. Section 3237(b) and Federal Rules of Criminal Procedure 7(c)(1) and (f). In the
                                                                          18   alternative, he moves for a bill of particulars relating to venue. For the foregoing reasons, the
                                                                          19   motion is DENIED.
                                                                          20        Counts two through eight of the indictment allege tax evasion, in violation of 18 U.S.C.
                                                                          21   Section 7201. Venue is proper in a jurisdiction in which defendant “began, continued, or
                                                                          22   completed” his alleged crimes. 18 U.S.C. § 3237(a). Section 3237(b) provides, however:
                                                                          23        where venue for prosecution of an offense described in section . . . is based solely on a
                                                                          24        mailing to the Internal Revenue Service, and prosecution is begun in a judicial district
                                                                                    other than the judicial district in which the defendant resides, [defendant] may upon
                                                                          25        motion filed in the district in which the prosecution is begun, elect to be tried in the
                                                                                    district in which he was residing at the time the alleged offense was committed. 18
                                                                          26        U.S.C.A. § 3237(b) (emphasis added).
                                                                          27   Relief from Section 3237(b) is available to defendant only if the government claims venue
                                                                          28   “solely” on the mailing of tax return(s) to the Northern District of California. It does not. The
                                                                                  Case 3:20-cr-00371-WHA Document 53 Filed 12/02/20 Page 2 of 2
                                                                           1     indictment alleges that the defendant used Vista Equity Partners, “a private equity firm which
                                                                           2     was founded in March 2000 . . . and which maintained its principle place of business in San
                                                                           3     Francisco,” to manage his investments. It also alleges that the proceeds of Vista-managed
                                                                           4     investments made up the unreported income referenced in counts two through eight (Ind. ¶¶ 8,
                                                                           5     128–134).
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                                                                           6          Since Section 3237(b) addresses scenarios in which venue is only established through the
                                                                           7     location to which a tax return was mailed, the motion is DENIED. Defendant may challenge
                                                                           8     venue on other grounds.
                                                                           9          Defendant also seeks a bill of particulars pursuant to Federal Rules of Criminal
                                                                          10     Procedure 7(f). A bill of particulars:
                                                                                      has three functions: ‘to inform the defendant of the nature of the charge against him with
                                                                          11          sufficient precision to enable him to prepare for trial, to avoid or minimize the danger of
                                                                          12          surprise at the time of trial, and to enable him to plead his acquittal or conviction in bar of
                  Northern District of California




                                                                                      another prosecution for the same offense when the indictment itself is too vague, and
                   United States District Court




                                                                          13          indefinite for such purposes.’
                                                                          14   United States v. Giese, 597 F.2d 1170, 1180 (9th Cir. 1979), quoting United States v. Birmley,
                                                                          15   529 F.2d 103, 108 (6th Cir. 1976). Defendant argues that the government’s grounds for venue,
                                                                          16   as stated in the indictment, fall short. The indictment clearly states that Vista Equity Partners
                                                                          17   maintained its headquarters in San Francisco. This suffices to enable defendant to prepare for
                                                                          18   trial as well as pretrial motions (Ind. ¶¶ 1–134). The request for a bill of particulars is DENIED.
                                                                          19
                                                                          20          IT IS SO ORDERED.
                                                                          21
                                                                          22     Dated: December 2, 2020.
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                                                                                                                                         WILLIAM ALSUP
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                                                                          25                                                             UNITED STATES DISTRICT JUDGE
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  UNITED STATES DISTRICT COURT                                                                         TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                              Please use one form per court reporter.                                                               DUE DATE:
                 CAND 435                                                                         CJA counsel please use Form CJA24
             (CAND Rev. 08/2018)                                                              Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Trudy Carney                                                                    (650) 739-3939                                                           tcarney@jonesday.com
1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Neal Stephens                                                                   (650) 739-3939                                                            nstephens@jonesday.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                 5. CASE NAME                                                                              6. CASE NUMBER
Jones Day
1755 Embarcadero Road                                                                                      United Staes v. Brockman                                                                  3:20-cr-00371
Palo Alto, California 94303
                                                                                                          8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND &+(&.%2; ȹޫ FTR                                       ޫ APPEAL           ✔ CRIMINAL
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Katherine Sullivan                                                                                        ޫ NON-APPEAL       ޫ CIVIL            CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                         b.       SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                            c.        DELIVERY TYPE ( Choose one per line)
                                                                                                  with purchase of PDF, text, paper or condensed.)

      DATE          JUDGE             TYPE                    PORTION                       PDF        TEXT/ASCII    PAPER   CONDENSED    ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,    (email)        (email)               (email)       (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)   specify portion (e.g. witness or time)

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12/01/2020          WHA            Motion




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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                             12. DATE
11. SIGNATURE
                 /s/ Neal Stephens                                                                                                                                               12/02/2020


         Clear Form                                                                                                                                                                         Save as new PDF
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  UNITED STATES DISTRICT COURT                                                                            TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                 Please use one form per court reporter.                                                              DUE DATE:
                  CAND 435                                                                         CJA counsel please use Form CJA24
              (CAND Rev. 02/2015)                                                                Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                                2a. CONTACT PHONE NUMBER                                                   3. CONTACT EMAIL ADDRESS
 Jessica Leung                                                                            (408) 535-5588                                                       jessica.leung@usdoj.gov
1b. ATTORNEY NAME (if different)                                                 2b. ATTORNEY PHONE NUMBER                                                  3. ATTORNEY EMAIL ADDRESS
 Michael Pitman                                                                           (408) 535-5040                                                       michael.pitman@usdoj.gov
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                    5. CASE NAME                                                                             6. CASE NUMBER

U.S. Attorney's Office                                                                                        USA v. Robert T. Brockman                                                               3:20-cr-00371
150 Almaden Blvd, Suite 900
                                                                                                             8. THIS TRANSCRIPT ORDER IS FOR:
San Jose CA 95113
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)ȹ ޫ FTR                                          倯 APPEAL             ✔ CRIMINAL
                                                                                                                                  倯               倯 In forma pauperis (NOTE: Court order for transcripts must be attached)
                                                                                                             倯 NON-APPEAL         倯 CIVIL         CJA: Do not use this form; use Form CJA24.
Katherine Sullivan
9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                                         b.             SELECT FORMAT(S) (NOTE: ECF access is included          c.         DELIVERY TYPE ( Choose one per line)
                                                                                                         with purchase of PDF, text, paper or condensed.)

      DATE           JUDGE             TYPE                    PORTION                           PDF        TEXT/ASCII    PAPER       CONDENSED   ECF ACCESS     ORDINARY     14-Day   EXPEDITED       DAILY      HOURLY     REALTIME
                                                  If requesting less than full hearing,        (email)        (email)                   (email)      (web)       (30-day)                (7-day)     (Next day)    (2 hrs)
                     (initials)     (e.g. CMC)   specify portion (e.g. witness or time)

12/01/2020           WHA            Motion                                                      ●
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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                               12. DATE

11. SIGNATURE
                    /s/                                                                                                                                                           12/02/2020

DISTRIBUTION:                                倯 COURT COPY                                                倯 TRANSCRIPTION COPY                               倯 ORDER RECEIPT                                倯 ORDER COPY
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 CAND 435
 (Rev. 02/2015)                                                                         INSTRUCTIONS


 Use this form to order the transcription of proceedings. CJA counsel should use Form CJA24. Before completing this form, please visit cand.uscourts.gov/transcripts for complete
 transcript ordering information. THESE INSTRUCTIONS SUPPLEMENT THE WEBSITE INFORMATION.
      1.       Complete a separate order form for each case number for which transcripts are ordered.
      2.       Complete a separate order form for each court reporter who reported proceedings in the case.
      3.       Complete Items 1-12. Keep a copy of your completed order form for your records.
      4.       E-file this form in the U.S. District Court CM/ECF system. Exceptions to e-filing: (a) sealed cases/proceedings; (b) non-parties; (c) pro se parties who are not e-filers.
               In such cases, mail or hand-deliver a hard copy addressed to the court reporter c/o the Clerk’s Office at the Court division where the proceeding was held.
      5.       Email the court reporter (email list available at cand.uscourts.gov/courtreportercontact) promptly after this Transcript Order Form is e-filed to obtain the amount of
               the required deposit.. Deliver payment to the court reporter promptly. Upon receipt of the deposit, the court reporter will begin work on the transcript. Exceptions:
               (a) orders for FTR transcripts and (b) daily trial transcript orders.
      6.       Unless prepayment is waived, delivery time is computed from the date the court reporter receives the deposit, authorized CJA 24 Form, authorization from Federal
               Public Defender’s Office or, for transcripts ordered by the U.S. government, from the date of receipt of the DCN number.
      7.       The deposit fee is an estimate. Any overage will be refunded; any shortage will be due from you.
                                                                             ITEM-BY-ITEM INSTRUCTIONS (ITEMS 1-12):
 Items 1-3        In fields 1a, 2a & 3a, please provide the contact name and information for the person responsible for ordering the transcript. In a law office, this is usually a
                  paralegal or administrative assistant, not the attorney. In fields 1b, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
 Items 5-6.       Only one case number may be listed per order.
 Item 7.          Visit cand.uscourts.gov/transcripts for instructions for determining the name of the court reporter who reported the proceeding or if the proceeding was
                  audiorecorded. If minutes have not been filed, contact judge’s courtroom deputy.
 Item 8.          Check appeal OR non-appeal AND criminal OR civil. In forma pauperis: a court order specifically authorizing transcripts is required before transcripts may be
                  ordered in forma pauperis.
 Item 9a.         List specific date(s) of the proceedings for which transcript is requested. A transcript of only a portion of a proceeding may be ordered, if the description is clearly
                  written to facilitate processing. Under “type,” indicate briefly what type of proceeding it was, such as “motion,” “sentencing,” or “CMC.”
tem 9b.           Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered. Visit cand.uscourts.gov/transcriptrates for details. Unlock ECF/web
                  access is included at no extra charge with each of the other formats.
 Item 9c.         There are 6 DELIVERY TYPES to choose from (times are computed from date of receipt of the deposit fee or DCN number). NOTE: Full price may be charged only if
                  the transcript is delivered within the required time frame. For example, if an order for expedited transcript is not completed and delivered within 7 calendar days,
                  the 14-day delivery rate would be charged.
                    TRANSCRIPT DELIVERY TIMES:
                    ORDINARY Ʌ 30 calendar days.
                    14-DAY Ʌ 14 calendar days.
                    EXPEDITED Ʌ 7 calendar days.
                    DAILY (NEXT DAY) Ʌ Following adjournment and prior to the normal opening hour of the court on the following morning whether or not it actually is a court day.
                    HOURLY (SAME DAY) Ʌ within two (2) hours.
                    REALTIME Ʌ A draft unedited, uncertified transcript produced by a certified realtime reporter as a byproduct of realtime to be delivered electronically during
                    proceedings or immediately following adjournment.
 Item 11.         Sign in this space to certify that you will pay all charges (the deposit plus any additional charges.) An electronic or conformed (/s/) signature is acceptable.
 Item 12.         Enter the date of signing the order and certification.
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  UNITED STATES DISTRICT COURT                                                                         TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                              Please use one form per court reporter.                                                               DUE DATE:
                 CAND 435                                                                         CJA counsel please use Form CJA24
             (CAND Rev. 08/2018)                                                              Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Anna Oak                                                                        (202) 367-7731                                                            aoak@kellogghansen.com
1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Daniel V. Dorris                                                                 (202) 326-7900                                                           ddorris@kellogghansen.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                 5. CASE NAME                                                                              6. CASE NUMBER
Kellogg, Hansen, Todd, Figel & Frederick, P.L.L.C.
1615 M Street, NW, Suite 400                                                                               USA v. Robert T. Brockman                                                                 3:20-cr-00371
Washington, DC 20036
                                                                                                          8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND &+(&.%2; ȹޫ FTR                                       ޫ APPEAL           ✔ CRIMINAL
                                                                                                                             ޫ                  ޫ In forma pauperis (NOTE: Court order for transcripts must be attached)
Katherine Sullivan                                                                                        ޫ NON-APPEAL       ޫ CIVIL            CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                         b.       SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                            c.        DELIVERY TYPE ( Choose one per line)
                                                                                                  with purchase of PDF, text, paper or condensed.)

      DATE          JUDGE             TYPE                    PORTION                       PDF        TEXT/ASCII    PAPER   CONDENSED    ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,    (email)        (email)               (email)       (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                             12. DATE
11. SIGNATURE
                 /s/ Daniel V. Dorris                                                                                                                                            12/07/2020


         Clear Form                                                                                                                                                                         Save as new PDF
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CAND 435
(Rev. 08/2018)                                                                         INSTRUCTIONS
Use this form to order the transcription of a record of proceedings. CJA counsel should use Form CJA24. Before completing this form, please visit cand.uscourts.gov/transcripts
for complete transcript ordering information. THESE INSTRUCTIONS SUPPLEMENT THE WEBSITE INFORMATION.
      1.     Complete a separate order form for each case number for which transcripts are ordered.
      2.     Complete a separate order form for each court reporter who reported proceedings in the case.
      3.     Complete Items 1-12. Keep a copy of your completed order form for your records.
      4.     E-file this form in the U.S. District Court CM/ECF system. Exceptions to e-filing: (a) sealed cases/proceedings; (b) non-parties; (c) pro se parties who are not e-filers.
             In such cases, mail or hand-deliver a hard copy addressed to the court reporter supervisor (email list available at cand.uscourts.gov/transcripts/contact) at the
             Court division where the proceeding was held.
      5.     Next, the court reporter/transcriber will contact you to confirm estimated costs and delivery options. Deliver payment to the court reporter/transcriber promptly.
             Upon receipt of the deposit, the court reporter/transcriber will begin work on the transcript.
      6.     Unless prepayment is waived, delivery time is computed from the date the court reporter/transcriber receives the deposit, authorized CJA 24 Form, authorization
             from Federal Public Defender’s Office or, for transcripts ordered by the U.S. government, from the date of receipt of the DCN number.
      7.     The deposit fee is an estimate. Any overage will be refunded; any shortage will be due from you.
                                                                          ITEM-BY-ITEM INSTRUCTIONS (ITEMS 1-12):
Items 1-3        In fields 1a, 2a & 3a, please provide the contact name and information for the person responsible for ordering the transcript. In a law office, this is usually a
                 paralegal or administrative assistant, not the attorney. In fields 1b, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
Items 5-6.       Only one case number may be listed per order.
Item 7.          Visit cand.uscourts.gov/transcripts for instructions for determining the name of the court reporter who reported the proceeding or if the proceeding was audio-
                 recorded. If minutes have not been filed, contact the court reporter supervisor at the division where the hearing was held.
Item 8.          Check appeal OR non-appeal AND criminal OR civil. In forma pauperis: a court order specifically authorizing transcripts is required before transcripts may be
                 ordered in forma pauperis.
Item 9a.         List specific date(s) of the proceedings for which transcript is requested. A transcript of only a portion of a proceeding may be ordered, if the description is clearly
                 written to facilitate processing. Under “type,” indicate briefly what type of proceeding it was, such as “motion,” “sentencing,” or “CMC.”
Item 9b.         Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered. Visit cand.uscourts.gov/transcripts/rates for details. Unlock
                 ECF/web access is included at no extra charge with each of the other formats.
Item 9c.         There are 7 DELIVERY TYPES to choose from (times are computed from date of receipt of the deposit fee or DCN number). NOTE: Full price may be charged only if
                 the transcript is delivered within the required time frame. For example, if an order for expedited transcript is not completed and delivered within 7 calendar days,
                 the 14-day delivery rate would be charged.
                   TRANSCRIPT DELIVERY TIMES:
                    ORDINARY Ʌ 30 calendar days.
                    14-DAY Ʌ 14 calendar days.
                    EXPEDITED Ʌ 7 calendar days.
                    3-DAY Ʌ 3 calendar days
                    DAILY (NEXT DAY) Ʌ)ROORZLQJDGMRXUQPHQWDQGSULRUWRWKHQRUPDORSHQLQJKRXURIWKHFRXUWRQWKHIROORZLQJPRUQLQJZKHWKHURUQRWLWDFWXDOO\ is a court day.
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                    REALTIME Ʌ A draft unedited, uncertified transcript produced by a certified realtime reporter as a byproduct of realtime to be delivered electronically during
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Item 11.         Sign in this space to certify that you will pay all charges (the deposit plus any additional charges.) An electronic or conformed (/s/) signature is acceptable.
Item 12.         Enter the date of signing the order and certification.
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                                                                                         A.       Defendant’s Conspiracy & Tax Evasion Scheme - Counts 1 through 8:
                                                                                        7D[HYDVLRQDQGFRQVSLUDF\DUHERWKFRQWLQXLQJRIIHQVHVIRUYHQXHSXUSRVHVDQGYHQXHLVSURSHU
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                                                                            ORFDWLRQ0RWLRQDWWKDWWKH,QGLFWPHQW¶VUHIHUHQFHVWR9LVWDSHUVRQQHOKDYHQRWKLQJWRGRZLWK
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                                                                                         B.       Defendant’s FBAR Violations - Counts 9 through 14:
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                                                                             8QLWHG6WDWHVRUDVSDUWRIDSDWWHUQRIDQ\LOOHJDODFWLYLW\LQYROYLQJPRUHWKDQLQDPRQWK
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                                                                             1RUWKHUQ'LVWULFWWKH)%$5&RXQWVZKLFKZLOOUHTXLUHSURRIRIWKRVHFULPHVDUHSURSHUO\YHQXHGKHUH
                                                                                        9HQXHZRXOGEHSURSHUIRUWKH)%$5&RXQWVUHJDUGOHVVEHFDXVH)%$5FKDUJHVFDQEHEURXJKW
                                                                            LQDQ\GLVWULFWVRORQJDVFRQVWLWXWLRQDOVDIHJXDUGVDUHQRWYLRODWHG,QUnited States v. Bradley
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                                                                            SUHSDUHGUDWKHUWKDQWKHGLVWULFWZKHUHKHOLYHGWKHFRXUWQRWHGWKDWIRU6L[WK$PHQGPHQWYHQXH
                                                                            SXUSRVHVWKHFULPHRIIDLOLQJWRILOHDUHTXLUHGUHSRUWLV³FRPPLWWHGLQWKHGLVWULFWRUGLVWULFWVZKHUHWKH
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                                                                            *RYHUQPHQWPD\FKRRVHIURPDPRQJWKRVHGLVWULFWVRQHZKHUHLWLVPRVWFRQYHQLHQWWRSXUVXHDQ
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                                                                            EXUGHQHGYHQXHZDVSURSHULQ0DU\ODQGXQGHUWKH6L[WK$PHQGPHQWId7KHFRXUWDOVRUHFRJQL]HG
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                                                                                         7KH0RWLRQIDLOVWRFLWHBradleyRUClinesUHO\LQJLQVWHDGRQUnited States v. Clinton)G
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                                                                             ILOHDIHGHUDOWD[UHWXUQLQYLRODWLRQRI86&%XWWKHVHGHFLVLRQVRQO\EXWWUHVVWKHSULQFLSOH
                                                                             WKDWIDLOLQJWRILOHDUHTXLUHGGRFXPHQWRFFXUVLQDQ\GLVWULFWZKHUHWKHGRFXPHQWZDVVXSSRVHGWREH
                                                                             ILOHGSee, e.g., United States v. Hicks)G WK&LU  ³)DLOXUHWRILOHDWD[UHWXUQ
Case 4:21-cr-00009 Document 1-3 Filed on 01/04/21 in TXSD Page 20 of 771




                                                                             LVDQRIIHQVHHLWKHUDWWKHGHIHQGDQW¶VSODFHRIUHVLGHQFHRUDWWKHFROOHFWLRQSRLQWZKHUHWKHUHWXUQ
                                                                             VKRXOGKDYHEHHQILOHG´ 7KDWSULQFLSOHUHVXOWVLQGLIIHUHQWFRQFOXVLRQLQWKHFRQWH[WRIWD[UHWXUQVDV
                                                                             RSSRVHGWR)%$5VEHFDXVHWD[UHWXUQV XQOLNH)%$5V KDYHWREHILOHGLQVSHFLILFSODFHVSee
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                                                                            &RQJUHVVKDVH[SUHVVHGDFRQFHUQUHJDUGLQJGHIHQGDQWVEHLQJFKDUJHGXQGHU6HFWLRQLQIRUXPV
                                                                            GLVWDQWIURPWKHLUKRPHVsee86& E EXWKDVQRWH[SUHVVHGDVLPLODUFRQFHUQUHJDUGLQJ
                                                                            )%$5FKDUJHV7KXVClintonDQGHicksERWKRIZKLFKZHUHGHFLGHGEHIRUHERWKBradleyDQGClines
                                                                            DQGZHUHDYDLODEOHWRWKHFRXUWVZKRZURWHWKHPGRQRWFKDQJHWKHUHVXOW
                                                                                        ,WLVWUXHWKDWWKHUXOHVIRUILOLQJ)%$5VFKDQJHGDIWHUBradleyDQGClinesZHUHGHFLGHG%HIRUH
                                                                            )%$5IRUPVFRXOGEHILOHGLQDQ\,56RIILFHDQGWKLVIDFWLVFLWHGLQERWKBradleyDQGClines
                                                                            %XWEHJLQQLQJRQ-XO\)%$5VKDGWREHILOHGHOHFWURQLFDOO\DQGQRWLQDQ\RIILFHRIWKH,56DV
                                                                            EHIRUH1RZ)%$5VFDQEHILOHGHOHFWURQLFDOO\IURPDQ\ZKHUH7KH0RWLRQ¶VDUJXPHQWWKDWWKLV
                                                                            FKDQJHVKRXOGDIIHFWWKHDQDO\VLVLVEDVHGRQQRQELQGLQJDXWKRULW\LQWHUSUHWLQJDGLIIHUHQWVWDWXWH
                                                                                        /LWLJDWLQJWKH)%$5&RXQWVLQWKH1RUWKHUQ'LVWULFWZRXOGQRWRIIHQGWKH6L[WK$PHQGPHQW
                                                                            EHFDXVHWKH'HIHQGDQWFRPPLWWHGDJJUDYDWHG)%$5IHORQLHVKHUHEHFDXVHWKH)%$5&RXQWVZHUHQRW
                                                                            EURXJKWKHUHDVDQH[HUFLVHLQIRUXPVKRSSLQJDQGEHFDXVHWU\LQJWKHPKHUHZLOOFUHDWHQRXQIDLUQHVVRU
                                                                            XQGXHKDUGVKLSWR'HIHQGDQW$FFRUGLQJO\WKH)%$5&RXQWVVKRXOGQRWEHGLVPLVVHGXQGHU)HGHUDO
                                                                            5XOHRI&ULPLQDO3URFHGXUH E  $ L RUWUDQVIHUUHGXQGHU5XOH E 'HIHQGDQWZLOOKDYHDQ
                                                                            RSSRUWXQLW\WRKROGWKHJRYHUQPHQWWRLWVEXUGHQRIHVWDEOLVKLQJYHQXHDWWULDO
                                                                                        C.       Defendant’s Fraud & Money Laundering Scheme - Counts 15 through 37:
                                                                                        :LUHIUDXGLVD³FRQWLQXLQJRIIHQVH´IRUYHQXHSXUSRVHVDQGLVSURSHUO\YHQXHG³LQDOORIWKH
                                                                            SODFHVZKHUHDQ\SDUWZDVDFFRPSOLVKHG´United States v. Pace)G WK&LU 
                                                                            0RQH\ODXQGHULQJLVDOVRDFRQWLQXLQJRIIHQVHIRUYHQXHSXUSRVHVsee United States v. Angotti)G
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                                                                             FRQGXFWHG´RU³DQ\GLVWULFWZKHUHDSURVHFXWLRQIRUWKHXQGHUO\LQJVSHFLILHGXQODZIXODFWLYLW\FRXOGEH
                                                                             EURXJKWLIWKHGHIHQGDQWSDUWLFLSDWHGLQWKHWUDQVIHURIWKHSURFHHGVRIWKHVSHFLILHGXQODZIXODFWLYLW\IURP
                                                                             WKDWGLVWULFWWRWKHGLVWULFWZKHUHWKHILQDQFLDORUPRQHWDU\WUDQVDFWLRQLVFRQGXFWHG´86& L 
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                                                                             WUDQVIHURXWRIWKH1RUWKHUQ'LVWULFW1RWKLQJPRUHLVUHTXLUHGDQGWKH0RWLRQGRHVQRWDUJXHRWKHUZLVH
                                                                                         D.       Defendant’s Obstruction of Justice Scheme - Counts 38 & 39:
                                                                                         3URVHFXWLRQXQGHU6HFWLRQ³PD\EHEURXJKWLQWKHGLVWULFWLQZKLFKWKHRIILFLDOSURFHHGLQJ
                                                                                   ZKHWKHURUQRWSHQGLQJRUDERXWWREHLQVWLWXWHG ZDVLQWHQGHGWREHDIIHFWHGRULQWKHGLVWULFWLQZKLFK
                                                                            WKHFRQGXFWFRQVWLWXWLQJWKHDOOHJHGRIIHQVHRFFXUUHG´86& L %HFDXVHWKHIHGHUDOJUDQG
                                                                            MXU\LQYHVWLJDWLRQKHVRXJKWWRREVWUXFWZDVFRQGXFWHGE\D1RUWKHUQ'LVWULFW*UDQG-XU\'HIHQGDQW¶V
                                                                            VFKHPHWRREVWUXFWMXVWLFHLVSURSHUO\YHQXHGKHUH
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                                                                                        7KH0RWLRQDUJXHVWKDWWKLVSURVHFXWLRQVKRXOGEHPRYHGLQZKROHRULQSDUWWRWKH6RXWKHUQ
                                                                            'LVWULFWRI7H[DVXQGHU)HGHUDO5XOHRI&ULPLQDO3URFHGXUH E 5XOH E SURYLGHVWKDW³>X@SRQWKH
                                                                            GHIHQGDQW¶VPRWLRQWKHFRXUWPD\WUDQVIHUWKHSURFHHGLQJRURQHRUPRUHFRXQWVDJDLQVWWKDWGHIHQGDQW
                                                                            WRDQRWKHUGLVWULFWIRUWKHFRQYHQLHQFHRIWKHSDUWLHVDQ\YLFWLPDQGWKHZLWQHVVHVDQGLQWKHLQWHUHVWRI
                                                                            MXVWLFH´³>7@KH'HIHQGDQWEHDUVWKHEXUGHQRIVKRZLQJZK\WUDQVIHULVZDUUDQWHG´United States v.
                                                                            Napoli&5&5%:/DW  1'&DO$SU  %UH\HU-  FLWLQJ
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                                                                            UXOLQJRQDPRWLRQIRUFKDQJHRIYHQXH>DQGRQO\@LQUDUHLQVWDQFHVKDYHDSSHOODWHFRXUWVRYHUULGGHQD
                                                                            WULDOFRXUW¶VGHFLVLRQQRWWRWUDQVIHU¶´United States v. Shayota&5/+.:/
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                                                                            FDVHLQPlatt v. Minnesota Mining & Manufacturing Co.86    ORFDWLRQRIFRUSRUDWH
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                                                                                         7KHVHIDFWRUVDSSO\LQWKLVPDWWHUDVIROORZV
                                                                                                                      Factor 1 - Location of Defendant
                                                                                        :KLOHLWLVWUXHWKDW'HIHQGDQWFDQEHVDLGWRUHVLGHPRUHLQ+RXVWRQWKDQDQ\ZKHUHHOVHKHLV
                                                                            QRWSDUWLFXODUO\WHWKHUHGWRWKH6RXWKHUQ'LVWULFWRI7H[DV,QDORQHSULYDWHMHWUHFRUGVDQGRWKHU
                                                                            HYLGHQFHLQGLFDWH'HIHQGDQWYLVLWHGWKHIROORZLQJGHVWLQDWLRQV
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                                                                                        x )RUW/DXGHUGDOH)ORULGD
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                                                                                        x 1DVVDX%DKDPDV
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                                                                                        x $QFKRUDJH$ODVND IRUDURXWLQHDQQXDOILVKLQJWULS 
                                                                                        x :DVKLQJWRQ'&
                                                                                        x &RUGRED$UJHQWLQD IRUDURXWLQHDQQXDOKXQWLQJWULS 
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                                                                                        x 'D\WRQ2KLR
                                                                            7KLVWUDYHOKLVWRU\LVGLIILFXOWWRVTXDUHZLWKWKH0RWLRQ¶VVXJJHVWLRQWKDWWKHWULSIURP+RXVWRQWR6DQ
                                                                            )UDQFLVFRIRUWULDOZRXOGEHDKDUGVKLS7KHPDMRULW\RISUHWULDOSURFHHGLQJVLQWKLVPDWWHUDUHOLNHO\WR
                                                                            EHFRQGXFWHGUHPRWHO\DQGZLOOSUREDEO\QRWUHTXLUH'HIHQGDQW RUDQ\RQHHOVH WRWUDYHOSee Napoli
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                                                                             EXUGHQZLWKUHVSHFWWRWKLVIDFWRU
                                                                                                                  Factor 2 - Location of Possible Witnesses
                                                                                         7KH0RWLRQGRHVQRWLGHQWLI\DVLQJOHGHIHQVHWULDOZLWQHVVIURP+RXVWRQPXFKOHVVDOOHJHWKDW
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                                                                             PRYLQJ'HIHQGDQWVKDYHQRWVSHFLILHGWRZKDWWKHLUZLWQHVVHVZLOOWHVWLI\DQGKRZWKHVHZLWQHVVHVDUH
                                                                             HVVHQWLDOWRWKHUHVROXWLRQRIWKLVFDVH7KH1LQWK&LUFXLWDGGUHVVHGDVLPLODUVLWXDWLRQLQUnited States v.
                                                                            Testa)G WK&LU >DQG@GHWHUPLQHGWKDWWKHGHIHQGDQWKDGIDLOHGWR
                                                                            GHPRQVWUDWHWKDWWUDQVIHUZDVZDUUDQWHG´ see alsoUnited States v. Blakstad&5(5:/
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                                                                            PXVWVSHFLILFDOO\GHVFULEHKRZSDUWLFXODUZLWQHVVHVZRXOGEHHQWLUHO\SUHYHQWHGIURPWHVWLI\LQJDWWULDO
                                                                            LQWKH6RXWKHUQ'LVWULFWRI1HZ<RUN´  FLWLQJUnited States v. Spy Factory, Inc)6XSS
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                                                                            XQDEOHWRWHVWLI\LQWKLV'LVWULFWRUHYHQWKDWWKH\ZRXOGEHVLJQLILFDQWO\LQFRQYHQLHQFHGE\VXFK
                                                                            WHVWLPRQ\DQGWKH*RYHUQPHQWUHSUHVHQWVWKDWLWZLOOSD\RUUHLPEXUVHWKHWUDYHODQGORGJLQJFRVWVRI
                                                                            DQ\ZLWQHVVHVLWFDOOVZKRUHVLGHRXWVLGHWKH1HZ<RUNDUHD%DVHGRQWKLVLQIRUPDWLRQWKLVIDFWRUGRHV
                                                                            QRWZHLJKLQIDYRURIWUDQVIHU´ 
                                                                                        &RQYHUVHO\WKH0RWLRQJORVVHVRYHUWKHIDFWWKDWWKHUHDUHDWOHDVWWZRYLFWLPHQWLWLHV(QWLW\
                                                                            2QHDQG(QWLW\7ZRLQWKH,QGLFWPHQWLQWKH1RUWKHUQ'LVWULFW5XOH E DVDPHQGHGLQ
                                                                            UHTXLUHVWKH&RXUWFRQVLGHUWKHFRQYHQLHQFHRIYLFWLPVsee United States v. Larsen&5-0)
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                                                                            ZLWQHVVIURPHDFKRIWKHYLFWLPHQWLWLHVDWWULDO,QDGGLWLRQWKHJRYHUQPHQWH[SHFWVWRFDOODWOHDVWRQH
                                                                            DQGSRVVLEOHDVPDQ\DVWKUHHORFDO9LVWDIDFWVZLWQHVVHVDWWULDO0RYLQJWKHFDVHWRFRQYHQLHQFH
                                                                            FRPSHQVDWHGH[SHUWVDWWKHH[SHQVHYLFWLPVDQGWKLUGSDUW\ZLWQHVVHVZRXOGEHSHUYHUVH
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                                                                                     81,7('67$7(6¶23326,7,2172'()(1'$17¶6027,21                  
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                                                                             WRFDOODWKLVDQWLFLSDWHGFRPSHWHQF\PRWLRQLQFOXGLQJVHYHUDOH[SHUWZLWQHVVHV(YHQLILWLV
                                                                             DSSURSULDWHWRFRQVLGHUWKHORFDWLRQRIWKHVHZLWQHVVHVDOWKRXJKWKH\DUHOLNHO\WREHZLWQHVVHVLQD
                                                                             SUHWULDOSURFHHGLQJLQLWLDWHGE\'HIHQGDQWDQGQRWDWWULDOVXFKFRQVLGHUDWLRQZRXOGQRWFKDQJHWKH
                                                                             UHVXOW$OWKRXJKWKH,QGLFWPHQWDOOHJHVDQGWKHJRYHUQPHQWH[SHFWVWRSURYHDWWULDOWKDW'HIHQGDQW
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                                                                             NQHZRUVKRXOGKDYHNQRZQLQ-XQHWKDWLWZDVOLNHO\WKHUHZRXOGEHDIHGHUDOJUDQGMXU\
                                                                             LQYHVWLJDWLRQLQWRKLVFRQGXFWWKHUHFDQEHQRGRXEWWKDW'HIHQGDQWNQHZWKDWKHZDVWKHWDUJHWRIDQ
                                                                             LQYHVWLJDWLRQLQWKH1RUWKHUQ'LVWULFWE\ODWHZKHQ,QGLYLGXDO2QH'HIHQGDQW¶VSULPDU\RIIVKRUH
                                                                             QRPLQHHEHJDQFRRSHUDWLQJZLWKWKHJRYHUQPHQWSee ,PPXQLW\/HWWHUGDWHG2FWREHUDWWDFKHG
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                                                                            DURXQGWKLVWLPHWKDW'HIHQGDQWILUVWEHJDQWRFRPSODLQRIWKHDPRUSKRXVPDODLVHGHVFULEHGLQWKH
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                                                                            $OWKRXJKKHNQHZKHZDVXQGHULQYHVWLJDWLRQE\DXWKRULWLHVLQWKH1RUWKHUQ'LVWULFWDQGGHVSLWHWKHIDFW
                                                                            WKDWWKHUHDUHUHQRZQHGPHGLFDOLQVWLWXWLRQVZLWKLQWKH1RUWKHUQ'LVWULFW'HIHQGDQWHOHFWHGWRGUDZWKH
                                                                            PHGLFDOSURIHVVLRQDOVXSRQZKRPKHUHOLHVH[FOXVLYHO\IURPRQHLQVWLWXWLRQWKH%D\ORU&ROOHJHRI
                                                                            0HGLFLQHLQ+RXVWRQ DQLQVWLWXWLRQ'HIHQGDQWKDVHQGRZHGZLWKWHQVRIPLOOLRQVRIGROODUV 1DWXUDOO\
                                                                            DQ\SDWLHQWVKRXOGVHOHFWWKHLUSK\VLFLDQVEDVHGRQFULWHULDRIWKHLURZQFKRRVLQJ%XWKDYLQJHOHFWHGWR
                                                                            KLUHH[FOXVLYHO\+RXVWRQEDVHGPHGLFDOSURIHVVLRQDOV'HIHQGDQWVKRXOGQRWEHSHUPLWWHGWRIRUFHWKLV
                                                                            SURVHFXWLRQWRPRYHWR+RXVWRQDVDUHVXOW0RUHRYHUWRWKHH[WHQWWKH0RWLRQVXJJHVWVWKDW
                                                                            'HIHQGDQW¶VDQWLFLSDWHGFRPSHWHQF\KHDULQJPXVWEHFRQGXFWHGHQWLUHO\LQSHUVRQ0RWLRQDWQLW
                                                                            LVZURQJ:LWQHVVHVDQGH[SHUWVUHJXODUO\DSSHDUUHPRWHO\DWFRPSHWHQF\KHDULQJV'HIHQGDQWPD\
                                                                            VHHNWRIRUFHKLVRZQH[SHUWVZLIHIULHQGVDQGFROOHDJXHVWRDSSHDULQSHUVRQDWDQ\FRPSHWHQF\
                                                                            KHDULQJEXWLWZRXOGEHRGGERRWVWUDSSLQJWRDOORZWKDWWDFWLFWRZHLJKKHDYLO\LQIDYRURIWUDQVIHU
                                                                                                            Factor 3 - Location of Events Likely to be in Issue
                                                                                        7KH0RWLRQ¶VVXJJHVWLRQWKDWWKHFHQWUDOHYHQWVGHVFULEHGLQWKH,QGLFWPHQWDUHPRUHFORVHO\WLHG
                                                                            WRWKH6RXWKHUQ'LVWULFWRI7H[DVWKDQWRWKH1RUWKHUQ'LVWULFW0RWLRQDWLVFXULRXVVLQFHWKH0RWLRQ
                                                                            LWVHOILQDWWHPSWLQJWRWDOO\WKHORFXVRIHYHQWVGHVFULEHGLQWKH,QGLFWPHQWLGHQWLILHVRQO\WZRWLHGWR
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                                                                             WKH6RXWKHUQ'LVWULFWRI7H[DV7KDWIDLOXUHWHFKQLFDOO\GRHVQRWSUHFOXGHWUDQVIHUVLQFH'HIHQGDQWKDV
                                                                             QRZLPSOLFLWO\ZDLYHGDQ\REMHFWLRQWRYHQXHLQWKH6RXWKHUQ'LVWULFWRI7H[DVsee United States v.
                                                                             Aronoff)6XSSQ 6'1< EXWLWFHUWDLQO\LQGLFDWHVWKDWWKLVPlatt IDFWRUGRHV
                                                                             QRWVXSSRUWWUDQVIHU7KH0RWLRQ¶VDUJXPHQWWRWKHFRQWUDU\0RWLRQDWLVEDVHGRQLWVWDOO\ZKLFK
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                                                                             VLPSO\RPLWVHYHQWVZKLFKRFFXUUHGLQWKH1RUWKHUQ'LVWULFW,WLVWHOOLQJWKDWWKH0RWLRQPXVWUHVRUWWRD
                                                                             EDODQFLQJWHVWZLWKZHLJKWRQRQO\RQHVLGHRIWKHVFDOHWRUHDFKLWVHUURQHRXVFRQFOXVLRQWKDWWKHFHQWHU
                                                                             RIJUDYLW\IRUWKLVFDVHLVQRWLQWKH1RUWKHUQ'LVWULFW
                                                                                                   Factor 4 - Location of Documents and Records Likely to be Involved
                                                                                        7KHUHOHYDQWGRFXPHQWVDQGUHFRUGVDUHHLWKHUDOUHDG\LQWKH1RUWKHUQ'LVWULFWRUDUH
                                                                            HOHFWURQLFDOO\DFFHVVLEOHZKLFKZHLJKVDJDLQVWWUDQVIHUSeeShayota:/DW 
                                                                                                               Factor 5 - Disruption of Defendant’s Business
                                                                                        $OWKRXJKKHZDVWKH&(2RIDPXOWLELOOLRQFRPSDQ\XQWLO1RYHPEHU DIHZZHHNVDIWHU
                                                                            WKH,QGLFWPHQWEHFDPHSXEOLFDQGDOPRVWWZR\HDUVDIWHUKHEHJDQWROD\WKHIRXQGDWLRQVIRUKLV
                                                                            LQFRPSHWHQFHGHIHQVH 'HIHQGDQWFODLPVWRQRZEHUHWLUHG7KLVIDFWRUGRHVQRWIDYRUWUDQVIHU
                                                                                                                      Factor 6 - Expense to the Parties
                                                                                        7UDQVIHUULQJRQO\DSRUWLRQRIWKLVFDVHZRXOGEHHQRUPRXVO\H[SHQVLYH$OWKRXJKWKH
                                                                            ,QGLFWPHQWFRYHUVDEURDGVZDWKRIFULPLQDOFRQGXFWWKHYDULRXV&RXQWVVKDUHFRPPRQHYLGHQFH)RU
                                                                            LQVWDQFH'HIHQGDQW¶VUHODWLRQVKLSZLWK,QGLYLGXDO2QHLVVLJQLILFDQWWRHYHU\&RXQWLQWKH,QGLFWPHQW
                                                                            6LPLODUO\'HIHQGDQW¶VUHODWLRQVKLSZLWKDQGFRQWURORYHUPXOWLSOHRIIVKRUHHQWLWLHVLQFOXGLQJWKH$
                                                                            (XJHQH%URFNPDQ&KDULWDEOH7UXVW6SDQLVK6WHSVDQG3RLQW,QYHVWPHQWVLVFUXFLDOWRWKHFRQVSLUDF\
                                                                            WD[HYDVLRQ)%$5IUDXGDQGPRQH\ODXQGHULQJ&RXQWV(IIHFWLYHO\VHYHULQJWKH&RXQWVE\
                                                                            WUDQVIHUULQJRQO\VRPHRIWKHPHYHQMXVWWKH)%$5&RXQWVZRXOGQHFHVVLWDWHWZRODUJHO\RYHUODSSLQJ
                                                                            WULDOVLQGLIIHUHQWGLVWULFWVGUDPDWLFDOO\LQFUHDVLQJWKHH[SHQVHWRWKHSDUWLHVZLWQHVVHVDQGFRXUWV
                                                                            $GGLWLRQDOO\VLQFHERWKWULDOVZRXOGKDYHHYLGHQFHLQFRPPRQWKH\FRXOGQRWSURFHHGVLPXOWDQHRXVO\
                                                                            ZKLFKZRXOGGHOD\WKHXOWLPDWHUHVROXWLRQRIWKLVPDWWHUXQWLOWKHWUDLOLQJFDVHZDVFRPSOHWH7KLVLVD
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                                                                            WUDQVIHULQFDVHVZKHUHWUDQVIHUZRXOGUHVXOWLQGXSOLFDWLYHWULDOVDQGRWKHUFLUFXLWFRXUWVDUHLQ
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                                                                             VLJQLILFDQWHIILFLHQF\JDLQHGE\KDYLQJRQHWULDO RUHYHQVHYHUDO LQRQHORFDWLRQUDWKHUWKDQWZR´ 
                                                                             :KLOHWKHUHLVQREDVLVIRUWUDQVIHUULQJWKLVFDVHLQLWVHQWLUHW\WUDQVIHUULQJRQO\SDUWRILWZRXOGEH
                                                                             SDUWLFXODUO\LQHIILFLHQW
                                                                                                                        Factor 7 - Location of Counsel
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                                                                                         2IWKHDWWRUQH\VZKRKDYHHQWHUHGDSSHDUDQFHVLQWKLVPDWWHURQO\RQH 0U9DUQDGR LVEDVHGLQ
                                                                             +RXVWRQZKLOHWKUHH 0HVVUV6WHSKHQV'RFWRUDQG3LWPDQ DUHEDVHGLQWKH1RUWKHUQ'LVWULFW
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                                                                             LVQRWDIXQJLEOHORFDOFRXQVHOEXWUDWKHUKDVEHHQDFWLYHO\LQYROYHGLQWKLVPDWWHU WKHLQYHVWLJDWLRQRI
                                                                            ZKLFKZDVFRQGXFWHGH[FOXVLYHO\E\D1RUWKHUQ'LVWULFW*UDQG-XU\ VLQFH'HIHQGDQWKDVQRW
                                                                            FDUULHGKLVEXUGHQZLWKUHVSHFWWRWKLVIDFWRU
                                                                                                             Factor 8 - Relative Accessibility of Place of Trial
                                                                                        7KH1RUWKHUQ'LVWULFWLVHDVLO\DFFHVVLEOHSee Shayota:/DW Napoli
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                                                                                        7KH&RXUWKDVHQWHUHGDVWLSXODWHGVFKHGXOHLQWKLVPDWWHUDGRSWLQJWKHWULDOGDWHWRZKLFK
                                                                            'HIHQGDQWKDVDJUHHG%HFDXVHWKLVLVQRWDFDVHLQZKLFKWKH'HIHQGDQWVHHNVDWULDOGDWHHDUOLHUWKDQ
                                                                            FDQEHDFFRPPRGDWHGE\WKH1RUWKHUQ'LVWULFWWKLVIDFWRUGRHVQRWZHLJKLQIDYRURIWUDQVIHUSee
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                                                                            'LVWULFWRI7H[DVDQ\VRRQHUWKDQ1RYHPEHUWKHWULDOGDWHDOUHDG\VHWLQWKLVPDWWHU
                                                                                                                        Factor 10 - Special Elements
                                                                                        $OWKRXJKZHDUHDOOKRSHIXOWKDWHIIHFWLYHWUHDWPHQWVDQGYDFFLQHVPD\EHDYDLODEOHVRRQWKH
                                                                            HQWLUHFRXQWU\LVFXUUHQWO\VXIIHULQJWKHHIIHFWVRIWKH&29,'SDQGHPLF7KH0RWLRQDUJXHVWKDW
                                                                            'HIHQGDQWLVSDUWLFXODUO\VXVFHSWLEOHWRWKHYLUXVEXW³WKLVLVDQDUJXPHQWDJDLQVWKROGLQJDQ\WULDODWDOO
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                                                                             EHIRUHWULDODVRIWKHGDWHRIWKLVZULWLQJ DFFRUGLQJWR-RKQV+RSNLQV +DUULV&RXQW\¶VSHUFDSLWD
                                                                             &29,'LQIHFWLRQUDWHLVPRUHWKDQGRXEOH6DQ)UDQFLVFR&RXQW\¶V7KXVWKHFXUUHQWGDWDVXJJHVWWKDW
                                                                             'HIHQGDQWDQGDOORWKHUWULDOSDUWLFLSDQWV LQFOXGLQJWKHMXU\ DUHOLNHO\WREHVDIHULIWKH0RWLRQLV
                                                                             GHQLHGDQGDOVRWKDWVDIHMXU\WULDOVDUHPRUHOLNHO\WRUHVXPHPRUHTXLFNO\LQWKH1RUWKHUQ'LVWULFWWKDQ
                                                                             LQWKH6RXWKHUQ'LVWULFWRI7H[DV,WZRXOGQRWVHUYHWKHLQWHUHVWVRIMXVWLFHWRUHTXLUHWKHYLFWLPVDQG
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                                                                             ZLWQHVVHVZKRDUHIURPQHLWKHUGLVWULFWWRWUDYHOWR+RXVWRQZKHUHWKHLUFKDQFHVRILQIHFWLRQ DVRI
                                                                             WRGD\ ZRXOGEHVLJQLILFDQWO\JUHDWHUWKDQLQWKH1RUWKHUQ'LVWULFWIRUWULDO7RWKHH[WHQWWKH&RXUWLV
                                                                             LQFOLQHGWRFRQVLGHUWKLVIDFWRULWZHLJKVDJDLQVWWUDQVIHU
                                                                                                                                 &21&/86,21
                                                                                        7KH0RWLRQERLOVGRZQWRDUHTXHVWWKDWWKH&RXUWH[HUFLVHLWVGLVFUHWLRQWRXSURRWWKLV
                                                                            SURVHFXWLRQIURPWKH1RUWKHUQ'LVWULFWEDVHGRQOLWWOHPRUHWKDQ'HIHQGDQW¶VSHUVRQDOSUHIHUHQFH7KH
                                                                            0RWLRQGRHVVHHNWRDGGZHLJKWE\SRLQWLQJWRWKHORFDWLRQRI'HIHQGDQW¶VH[SHUWZLWQHVVHVEXWLWVXUHO\
                                                                            FDQQRWEHWKHODZWKDWZHDOWK\GHIHQGDQWVFDQEX\WKHLUYHQXHVLPSO\E\KLULQJH[SHUWV$QGRQFHWKH
                                                                            H[SHUWVDUHVWULSSHGRXWRIWKHHTXDWLRQWKHUHLVDOPRVWQRWKLQJOHIWVXSSRUWLQJWKHUHOLHIUHTXHVWHGLQWKH
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                                                                           11
                                                                           12                                   UNITED STATES DISTRICT COURT
                                                                           13                              NORTHERN DISTRICT OF CALIFORNIA
                                                                           14                                      SAN FRANCISCO DIVISION
                                                                           15   UNITED STATES OF AMERICA,                           Case No. 3:20-cr-00371-WHA
                                                                           16                      Plaintiff,                       DEFENDANT ROBERT T. BROCKMAN’S
                                                                                                                                    NOTICE OF MOTION AND MOTION FOR
                                                                           17          v.                                           A HEARING TO DETERMINE WHETHER
                                                                                                                                    MR. BROCKMAN IS COMPETENT TO
                                                                           18   ROBERT T. BROCKMAN,                                 ASSIST IN HIS DEFENSE
                                                                           19                      Defendant.                       Date:              January 12, 2021
                                                                                                                                    Time:              2 p.m.
                                                                           20                                                       Judge:             Hon. William Alsup
                                                                                                                                    Place:             Courtroom 12
                                                                           21
                                                                           22
                                                                                                                NOTICE OF MOTION AND MOTION
                                                                           23
                                                                           24          PLEASE TAKE NOTICE THAT on January 12, 2021, at 2 p.m., in the courtroom of the
                                                                           25   Honorable William Alsup, located at 450 Golden Gate Avenue, San Francisco, California 94102,
                                                                           26   Defendant Robert T. Brockman will, and hereby does, respectfully move pursuant to
                                                                           27   18 U.S.C. § 4241(a) for a hearing to determine whether Mr. Brockman is competent to assist in
                                                                           28   his own defense.
                                                                                                                                             Mot. for Hearing to Determine Whether Mr. Brockman is
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                                                                            1         This Motion is based on the attached memorandum of points and authorities.
                                                                            2   Dated: December 8, 2020                      Respectfully submitted,
                                                                            3                                                JONES DAY
                                                                            4
                                                                            5                                               s/ Neal J. Stephens
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                                                                                                                            NEAL J. STEPHENS
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                                                                                                                            Counsel for Defendant
                                                                            7                                               ROBERT T. BROCKMAN
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                                                                            1                   MOTION FOR A HEARING TO DETERMINE WHETHER
                                                                                              MR. BROCKMAN IS COMPETENT TO ASSIST IN HIS DEFENSE
                                                                            2
                                                                            3   To the Honorable United States District Judge William Alsup:
                                                                            4            The Defendant Robert T. Brockman moves under 18 U.S.C. § 4241(a) for a hearing to
                                                                            5   determine his mental competency to stand trial. Defense counsel met and conferred with
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                                                                            6   government counsel, who oppose the relief sought in this Motion.
                                                                            7            In support of this Motion, the Defendant states as follows.
                                                                            8   I.       INTRODUCTION
                                                                            9            This Court is asked to make one decision on this motion: whether there is “reasonable
                                                                           10   cause to believe that the defendant may presently be suffering from a mental disease or defect
                                                                           11   rendering him mentally incompetent to the extent that he is unable to understand the nature and
                                                                           12   the consequences of the proceedings against him or to assist properly in his defense.”
                                                                           13   18 U.S.C. § 4241(a). Upon a showing of reasonable cause, § 4241(a) mandates that “[t]he court
                                                                           14   shall grant the motion” for a hearing.
                                                                           15            Mr. Brockman has dementia. The causes and impact of dementia may vary. In
                                                                           16   Mr. Brockman’s case, his treating and diagnostic doctors have concluded that his current
                                                                           17   cognitive impairment and other symptoms are consistent with Parkinson’s disease, 1
                                                                           18   parkinsonism, 2 or Lewy body dementia, 3 or some combination of the three.
                                                                           19            Four highly qualified doctors in Houston, Texas, have examined Mr. Brockman on
                                                                           20   multiple occasions over a twenty-two month timespan, and concluded that his dementia makes
                                                                           21   him incapable of assisting in his defense. This alone is more than “reasonable cause” to compel a
                                                                           22   hearing. See Drope v. Missouri, 420 U.S. 162, 180 (1975).
                                                                           23
                                                                                        1
                                                                                          Parkinson’s disease is a progressive nervous system disorder that affects movement and may cause
                                                                           24   dementia. See https://www.mayoclinic.org/diseases-conditions/parkinsons-disease/symptoms-causes/syc-20376055.
                                                                                         2
                                                                           25              Parkinsonism is a term used to describe a condition that causes a combination of the movement
                                                                                abnormalities seen in Parkinson’s disease, especially resulting from the loss of dopamine-containing neurons. See
                                                                           26   https://www.mayoclinic.org/diseases-conditions/parkinsons-disease/expert-answers/parkinsonism/faq-20058490.
                                                                                         3
                                                                                           Lewy body dementia results from protein deposits, called Lewy bodies, that develop in nerve cells in the
                                                                           27   brain regions involved in thinking, memory and movement. Lewy body dementia is incurable, progressive, and
                                                                                terminal, with death resulting on average approximately eight years after the onset of symptoms. See
                                                                           28   https://www.mayoclinic.org/diseases-conditions/lewy-body-dementia/symptoms-causes/syc-20352025.
                                                                                                                                                      Mot. for Hearing to Determine Whether Mr. Brockman is
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                                                                            1           Mr. Brockman began to raise concerns about cognitive problems at least as early as 2017,
                                                                            2   and sought medical attention in mid-2018. He was examined by three doctors and a
                                                                            3   neuropsychologist in late 2018 and early 2019, for the purpose of obtaining a diagnosis and
                                                                            4   course of treatment. Mr. Brockman did not seek out these doctors as a response to this
                                                                            5   investigation, and in fact only informed his counsel about their conclusions in July 2019, to
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                                                                            6   explain that he may be having difficulty in understanding questions and information provided to
                                                                            7   him.
                                                                            8           Mr. Brockman’s doctors have concluded that his medical condition makes him unable to
                                                                            9   access information, renders him unable to make connections between questions that he is being
                                                                           10   asked and his recollection of events, and manifests as significant long- and short-term memory
                                                                           11   deficiencies. As detailed below, Mr. Brockman’s cognitive limitations go well beyond memory
                                                                           12   loss or forgetfulness. The doctors describe the impact of Mr. Brockman’s medical condition as
                                                                           13   characterized by what they refer to as “confabulation”: when asked a question, Mr. Brockman’s
                                                                           14   dementia will cause his brain to fabricate information to fill in for gaps in his memory. He will
                                                                           15   believe that the information that he is providing is correct, but it will be the result of distortions in
                                                                           16   how his brain is functioning.
                                                                           17           A defendant who “lacks the capacity to understand the nature and object of the
                                                                           18   proceedings against him, to consult with counsel, and to assist in preparing his defense may not
                                                                           19   be subjected to a trial.” Drope, 420 U.S. at 171. The Ninth Circuit has instructed that, when
                                                                           20   deciding whether to conduct a competency hearing, courts should consider evidence from three
                                                                           21   broad categories: “medical history, the defendant’s behavior in and out of court, and defense
                                                                           22   counsel’s statements about the defendant’s competency.” United States v. Garza,
                                                                           23   751 F.3d 1130, 1134 (9th Cir. 2014) (citing United States v. Marks, 530 F.3d 799, 814 (9th Cir.
                                                                           24   2008)). Questions about the defendant’s competency in any one of these categories may require a
                                                                           25   hearing. Drope, 420 U.S. at 180. The conclusions reached by Mr. Brockman’s diagnostic and
                                                                           26   treating doctors more than meet the standard for “reasonable cause” that mandates a hearing
                                                                           27   pursuant to § 4241(a), see id., and will be supported by witnesses, including counsel, who can
                                                                           28   describe Mr. Brockman’s day-to-day behavior and the experience of counsel.
                                                                                                                                              Mot. for Hearing to Determine Whether Mr. Brockman is
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                                                                            1   II.      BACKGROUND
                                                                            2            In May 2017, Mr. Brockman sent an email to his friend, Dr. Stuart Yudofsky, stating that
                                                                            3   his son and wife “are after me to consult with the right doctor regarding my loss of my sense of
                                                                            4   smell. They are afraid that it is an early sign of alzheimer’s or dementia. I am feeling good but
                                                                            5   am having increasing memory problems.” Keneally Decl. Ex. A.4 In September 2018,
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                                                                            6   Mr. Brockman had a routine appointment with Seth P. Lerner, M.D., who had been monitoring
                                                                            7   Mr. Brockman in the years following his treatment for bladder cancer in 2006. During that
                                                                            8   examination, Mr. Brockman told Dr. Lerner that he had not been feeling well for several months.
                                                                            9   Dr. Lerner referred him to James L. Pool, M.D., who like Dr. Lerner is a professor and treating
                                                                           10   physician with Baylor College of Medicine, for a general physical examination. 5
                                                                           11            Dr. Pool examined Mr. Brockman in December 2018, diagnosed him as having dementia,
                                                                           12   and referred him to three medical experts to determine the cause and a course of treatment:
                                                                           13   Joseph Jankovic, M.D., 6 a neurologist and specialist in Parkinson’s disease and other movement
                                                                           14   disorders; Melissa Yu, M.D., 7 a neurologist and specialist in Alzheimer’s Disease and other
                                                                           15   memory disorders; and Michele K. York, Ph.D., 8 a neuropsychologist, all with Baylor College of
                                                                           16   Medicine in Houston, Texas. Keneally Decl. Ex. G at ¶ 4. 9
                                                                           17            These doctors completed their examinations by March 2019. Dr. Jankovic found that
                                                                           18   Mr. Brockman presented symptoms that are consistent with Parkinson’s disease or vascular
                                                                           19   parkinsonism. Keneally Decl. Ex. H at 5. Dr. York and Dr. Yu agreed that Mr. Brockman’s
                                                                           20   movements are consistent with Parkinson’s disease or parkinsonism, but they concluded that his
                                                                           21   cognitive impairment is more consistent with Lewy body dementia. Keneally Decl. Ex. I at 4-5,
                                                                           22
                                                                           23            4
                                                                                           “Keneally Decl.” refers to the Declaration of Kathryn Keneally, affirmed December 8, 2020, and submitted
                                                                                in support of this Motion.
                                                                           24            5
                                                                                             Dr. Lerner’s and Dr. Pool’s biographies are submitted at Keneally Decl. Ex. B and Ex. C, respectively.
                                                                                         6
                                                                           25                Dr. Jankovic’s biography is submitted at Keneally Decl. Ex. D.
                                                                                         7
                                                                                             Dr. Yu’s biography is submitted at Keneally Decl. Ex. E.
                                                                           26
                                                                                         8
                                                                                             Dr. York’s biography is submitted at Keneally Decl. Ex. F.
                                                                           27            9
                                                                                           Dr. Pool provided a declaration dated November 25, 2020 in support of Mr. Brockman’s Motion to
                                                                                Dismiss in Part and Transfer Proceedings to the United States District Court for the Southern District of Texas, which
                                                                           28   for the Court’s convenience is submitted again at Keneally Decl. Ex. G.
                                                                                                                                                          Mot. for Hearing to Determine Whether Mr. Brockman is
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                                                                            1   Ex. J at 7. The exact diagnosis can only be confirmed post-mortem. Keneally Decl. Ex. G at ¶ 5.
                                                                            2           Mr. Brockman did not inform his counsel of his health issues until July 2019 – ten months
                                                                            3   after he first raised the issue with Dr. Lerner and two years after his email to Dr. Yudofsky. Even
                                                                            4   then, he did so to ask for understanding that he may need things repeated or explained more
                                                                            5   simply; he never asked if this would have an impact on the then on-going investigation.
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                                                                            6   Romatowski Decl. ¶¶ 7-8; 10 Keneally Decl. ¶ 5. This news was consistent with, and went a long
                                                                            7   way to explain, counsel’s experience with Mr. Brockman. Romatowski Decl. ¶¶ 10, 13; Keneally
                                                                            8   Decl. ¶ 6.
                                                                            9           Counsel subsequently obtained the medical reports and spoke with each of the doctors.
                                                                           10   Keneally Decl. ¶¶ 18-19. The three medical doctors sent follow-up letters to clarify certain points
                                                                           11   in response to questions from counsel. Keneally Decl. ¶¶ 22-25, Ex. L, Ex. M, Ex. N. Dr. York,
                                                                           12   the neuropsychologist who first tested Mr. Brockman in March 2019, advised that she should
                                                                           13   perform what she described as forensic tests; she has now done so twice, resulting in reports for
                                                                           14   examinations conducted on December 3, 2019, and October 7, 2020. Keneally Decl. ¶¶ 26, 33,
                                                                           15   Ex. O, Ex. R.
                                                                           16           Defense counsel provided the doctors’ medical reports and letters, and Dr. York’s clinical
                                                                           17   and first forensic reports, to the government on April 9, 2020. Keneally Decl. ¶ 28. In a
                                                                           18   telephone conference on April 23, 2020, defense counsel urged the prosecutors to consider
                                                                           19   Mr. Brockman’s inability to assist in his defense, and to investigate this issue before reaching any
                                                                           20   decision whether to seek an indictment. Keneally Decl. ¶ 28. In particular, the defense asked that
                                                                           21   the government interview the doctors, with a pledge that the defense would not participate, either
                                                                           22   by preparation of the witnesses in advance or attendance at the interviews, and provided waivers
                                                                           23   pursuant to the Health Insurance Portability and Accountability Act (“HIPAA waivers”) to allow
                                                                           24   such interviews. Keneally Decl. ¶ 28. We know from the doctors that they were never contacted.
                                                                           25   Keneally Decl. ¶ 31. The government’s only response was to seek the Indictment returned by the
                                                                           26   grand jury on October 1, 2020. So now this is a matter for the Court.
                                                                           27
                                                                                        10
                                                                                           “Romatowski Decl.” refers to the Declaration of Peter J. Romatowski, affirmed December 8, 2020, and
                                                                           28   submitted in support of this Motion.
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                                                                            1          The sole decision before this Court is whether to proceed with a hearing. Section 4241(a)
                                                                            2   provides that “[t]he court shall grant the motion [for a competency hearing], or shall order such a
                                                                            3   hearing on its own motion” upon a showing of “reasonable cause to believe” that the defendant
                                                                            4   may not be competent “to assist properly in his defense.”
                                                                            5          The conclusions of Mr. Brockman’s doctors, as well as the first-hand experiences of
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                                                                            6   Mr. Brockman’s wife, friends and colleagues, and counsel, evidence that he is not competent to
                                                                            7   assist in his defense, easily meet the “reasonable cause” standard, and merit consideration at a
                                                                            8   hearing.
                                                                            9          A.      Mr. Brockman’s dementia prevents him from assisting in his defense
                                                                           10                  1.       The medical diagnoses show deficiencies in Mr. Brockman’s critical
                                                                                                        cognitive abilities
                                                                           11
                                                                           12          Mr. Brockman’s form of dementia has severe cognitive consequences, one aspect of
                                                                           13   which is an inability to access his memories in a manner that will enable him reliably to respond
                                                                           14   to questions about past events.
                                                                           15          In her January 21, 2020 letter to counsel, Dr. Yu specifically distinguished dementia from
                                                                           16   mere memory loss, noting: “The impact of dementia includes visual spatial function, language,
                                                                           17   memory, and executive function—in essence, all aspects of thought and cognitive function.”
                                                                           18   Keneally Decl. Ex. N.
                                                                           19          Dr. Jankovic’s January 14, 2020 letter addressed the manner in which Mr. Brockman’s
                                                                           20   dementia makes him unable to recall information and to respond accurately to inquiries.
                                                                           21   Dr. Jankovic stated that Mr. Brockman has “trouble accessing information” and “making
                                                                           22   connections between questions that he is being asked and his recollection of events.” Keneally
                                                                           23   Decl. Ex. M at 1.
                                                                           24          Dr. Jankovic also noted that a characteristic of Mr. Brockman’s cognitive impairment is a
                                                                           25   tendency toward confabulation. Dr. Jankovic described this medical condition as causing
                                                                           26   someone to “sometimes make up stories or provide information about something that has not
                                                                           27   occurred.” Keneally Decl. Ex. M at 1. Dr. Jankovic distinguished this from lying, explaining that
                                                                           28   confabulation is “a symptom of cognitive impairment, and is not voluntary.” A cognitively
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                                                                            1   impaired person will believe that he is reporting truthfully when nonetheless confabulating.
                                                                            2   Keneally Decl. Ex. M at 1-2.
                                                                            3          Dr. Pool’s January 14, 2020 letter summarized how Mr. Brockman’s cognitive
                                                                            4   impairments would affect his ability to participate in his defense:
                                                                            5                  Quite simply, if information is presented to him, he will be unable to
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                                                                                               comprehend what is being asked of him and to respond appropriately. In
                                                                            6
                                                                                               addition, his ability to report on past events may be distorted by the high
                                                                            7                  risk of confabulation. When a person has dementia, his memory function
                                                                                               will attempt to fill in gaps to enable him to respond to questions or to
                                                                            8                  report on past events. While the story may sound logical, it will not be
                                                                                               based on fact or accurate memory. The speaker will believe the story to be
                                                                            9                  true, but it is not. In essence, for a person such as Mr. Brockman, dementia
                                                                           10                  will render long-term memory inaccessible and defective. Even if he can
                                                                                               remember past events, he cannot accurately relate them to the question that
                                                                           11                  he is being asked in the present or assimilate the information to report it
                                                                                               accurately. If he can compose a response at all, it will likely be the product
                                                                           12                  of such confabulation, rather than genuine memory.
                                                                           13   Keneally Decl. Ex. L at 2.
                                                                           14          At bottom, Mr. Brockman cannot do the one thing that is most essential to his defense:
                                                                           15   understand his lawyers’ questions about the events at issue and reliably respond.
                                                                           16                  2.      Mr. Brockman’s cognitive impairment has been repeatedly confirmed
                                                                                                       through medical testing
                                                                           17
                                                                           18          Dr. York, a neuropsychologist, conducts clinical tests to assist medical doctors in forming
                                                                           19   their diagnoses. Dr. York examined Mr. Brockman three times: first on March 1, 2019, to
                                                                           20   conduct cognitive tests to assist Dr. Yu in reaching a diagnosis, Keneally Decl. Ex. I at 1; a
                                                                           21   second time on December 3, 2019, at the request of counsel for the specific purpose of evaluating
                                                                           22   Mr. Brockman’s ability to assist in his defense, Keneally Decl. ¶ 26, Ex O at 1; and a third time
                                                                           23   on October 7, 2020, for the purpose of evaluating changes since the December 3, 2019 evaluation.
                                                                           24   Keneally Decl. ¶ 33, Ex. R.
                                                                           25          Dr. York’s December 3, 2019 and October 7, 2020 forensic reports include a simple,
                                                                           26   graphic illustration of Mr. Brockman’s cognitive impairment: he cannot draw a clock. Keneally
                                                                           27   Decl. Ex. O at 6, Ex. R at 6.
                                                                           28          Asking a patient to draw a clock is one of the basic tests to determine cognitive
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                                                                            1   impairment. Dr. York’s initial forensic report included the drawing of a clock that Mr. Brockman
                                                                            2   made during her examinations of him on March 1, 2019, and the result was sufficiently shocking
                                                                            3   to Mr. Brockman and his family that he practiced drawing various figures, including clocks,
                                                                            4   following her examination. Keneally Decl. Ex. J at 2, Ex. O at 3-4. Nonetheless, when tested
                                                                            5   again on December 3, 2019, Mr. Brockman again failed at this basic task.
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                                                                            6          During her October 7, 2020 examination, Dr. York gave Mr. Brockman three more
                                                                            7   chances at drawing a clock. Her most recent report sets out five clock drawings, done across a
                                                                            8   period of 19 months, side-by-side in her most recent report:
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                                                                           23   Keneally Decl. Ex. S at 1.
                                                                           24          Even on his third try of the day, knowing in advance that he would be asked to draw a
                                                                           25   clock and having practiced doing so, Mr. Brockman could not draw a clock face showing the
                                                                           26   requested time, with correctly placed numbers, or even with the numbers written within the circle
                                                                           27   for the clock. See Keneally Decl. Ex. K at 1 (Dr. Pool’s October 1, 2019 medical report with
                                                                           28   clock drawing with misplaced grid and lines), Ex. Q at 1 (Dr. Pool’s October 5, 2020 medical
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                                                                            1   report with clock drawing with three hands).
                                                                            2                          (a)     Diagnostic testing results
                                                                            3           Dr. York’s March 1, 2019 clinical report set out her behavioral observations of
                                                                            4   Mr. Brockman during the testing, noting that he showed a “moderately decreased ability to follow
                                                                            5   directions,” that he “frequently needed repetition of directions and to be reoriented to task,” that
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                                                                            6   he “perseverated to previous tasks” (meaning that he repeated prior responses out of context), that
                                                                            7   “[t]he examiner needed to be concrete for him to understand the task instructions,” that his
                                                                            8   “processing speed was extremely” slow, and that his “handwriting was micrographic.” Keneally
                                                                            9   Decl. Ex. I at 2.
                                                                           10           Dr. York’s March 1, 2019 report listed the large number of tests that she administered
                                                                           11   over several hours, followed by a summary of the results in clinical terms, many of which make
                                                                           12   apparent his cognitive shortcomings. Keneally Decl. Ex. I at 2-4. She also reported that
                                                                           13   Mr. Brockman was unable to complete certain tests “due to cognitive/behavioral problems.”
                                                                           14   Keneally Decl. Ex. I at 2.
                                                                           15           Dr. York determined that Mr. Brockman – a man who founded and built a highly
                                                                           16   successful business – “currently operates in the low average range of general intellectual
                                                                           17   functioning (WIAS-IV FSIQ = 87), which is a decline from his estimated premorbid intellectual
                                                                           18   functioning in the above average range.” Keneally Decl. Ex. I at 4. She continued, in somewhat
                                                                           19   clinical terms: “Mr. Brockman demonstrated borderline impaired to deficient performances on
                                                                           20   measures of sustained attention/concentration, learning and recall of prose material and a word
                                                                           21   list, learning and recall of visual material, semantic fluency, executive functions (set shifting,
                                                                           22   inhibition, working memory, and problem solving), and visuoconstruction,” adding: “[t]hese
                                                                           23   impaired performances were found within the low average to average ranges on measures of basic
                                                                           24   attention, fund of information, verbal and visual abstract reasoning, verbal fluency and naming.”
                                                                           25   Keneally Decl. Ex. I at 4.
                                                                           26           Dr. York determined that Mr. Brockman’s performance on the clinical tests indicated “a
                                                                           27   dementia of mild to moderate severity.” Keneally Decl. Ex. I at 4. Based on her battery of tests
                                                                           28   and clinical observations, Dr. York concluded: “his pattern of cognitive impairments is consistent
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                                                                            1   with Dementia with Lewy Bodies.” Keneally Decl. Ex. I at 5.
                                                                            2          Dr. York’s recommendations are themselves jarring indications of Mr. Brockman’s
                                                                            3   impairment. She advised, for example, that he have a large-type calendar in a highly visible
                                                                            4   location to assist him in “temporal orientation” and a large dry-erase board in a prominent spot to
                                                                            5   help him keep track of important information such as the location of family members, that
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                                                                            6   information be presented to him in a written format so that he can refer to it over time, and that he
                                                                            7   exercise caution when operating household appliances. Keneally Decl. Ex. I at 5-6.
                                                                            8          Dr. Yu conducted an examination of Mr. Brockman on March 20, 2019, and reviewed
                                                                            9   Dr. York’s clinical findings. Dr. Yu summarized: “Pattern indicates a dementia of mild to
                                                                           10   moderate severity with deficits in areas of visuospatial functioning, verbal and nonverbal episodic
                                                                           11   memory and executive functioning, with mild functional declines.” Keneally Decl. Ex. J at 6.
                                                                           12   She concluded that Mr. Brockman’s symptoms are “consistent with dementia with Lewy Bodies.”
                                                                           13   Keneally Decl. Ex. J at 6, 7. She recommended that Mr. Brockman stop driving, and she advised
                                                                           14   him “on diagnosis of a neurodegenerative disorder with cognitive impairment and possible
                                                                           15   implications on his work and advised he discuss further with his family.” Keneally Decl. Ex. J at
                                                                           16   7.
                                                                           17          Dr. Yu was also able to review the results of a DaTscan that had been ordered by
                                                                           18   Dr. Jankovic. A DaTscan measures the number of dopamine transporters in the brain regions
                                                                           19   critical for movement and cognition. In Mr. Brockman’s case, the critical neurons responsible for
                                                                           20   producing dopamine are irrevocably damaged. Keneally Decl. Ex. J at 7, Ex. P. In other words,
                                                                           21   Mr. Brockman has significant, measurable changes to his brain structure that can be seen as the
                                                                           22   basis for his dementia.
                                                                           23                             (b)   Forensic testing results
                                                                           24          The diagnostic reports prepared by each of the doctors were written in technical medical
                                                                           25   terms. Counsel contacted each of the doctors to get a better understanding, in lay terms, of the
                                                                           26   impact of Mr. Brockman’s condition. When counsel contacted Dr. York, she explained that there
                                                                           27   is a different battery of tests, which she described as forensic testing, that she would perform to
                                                                           28   enable her to render an opinion in a legal proceeding. Keneally Decl. ¶ 26. She conducted that
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                                                                            1   examination on December 3, 2019. Keneally Decl. Ex. O.
                                                                            2           Dr. York’s forensic report summarized her prior examination, as well as the medical
                                                                            3   reports prepared by Dr. Jankovic and Dr. Yu. Keneally Decl. Ex. O at 1–4. She also provided
                                                                            4   her behavioral observations of Mr. Brockman during the December 3, 2019 testing. She noted
                                                                            5   that Mr. Brockman’s “cognition tended to fluctuate throughout the testing session,” that he
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                                                                            6   “appeared to be confused at times” and had difficulty completing tasks even after starting out
                                                                            7   well, and that he “showed mildly decreased ability to follow directions, and he occasionally
                                                                            8   needed repetition of directions and lost place during set task.” Keneally Decl. Ex. O at 4.
                                                                            9           As with her March 1, 2019 clinical evaluation, Dr. York again listed the tests that she
                                                                           10   administered, as well as the tests that Mr. Brockman was unable to complete “as he was unable to
                                                                           11   comprehend task instructions and maintain task set independently,” and set out her neurological
                                                                           12   findings in clinical terms. Keneally Decl. Ex. O at 4–5.
                                                                           13           Dr. York found that Mr. Brockman had improved in some areas from the results of her
                                                                           14   prior testing, while declining in other areas. Keneally Decl. Ex. O at 7–8. Dr. York summarized:
                                                                           15                    It is noted that Mr. Brockman’s cognition fluctuated significantly
                                                                                                 throughout the evaluation. He demonstrated improvements on a few
                                                                           16
                                                                                                 measures; however, during several tasks, he became more confused and
                                                                           17                    demonstrated a blank stare expression. These fluctuations were more
                                                                                                 apparent during this evaluation as compared to his previous evaluation in
                                                                           18                    March 2019. Mr. Brockman’s pattern of neuropsychological performance
                                                                                                 indicates a dementia of mild to moderate severity characterized by deficits
                                                                           19                    in the areas of verbal and nonverbal episodic memory, processing speed,
                                                                           20                    executive functioning, and visuospatial functioning with significant
                                                                                                 functional declines.
                                                                           21   Keneally Decl. Ex. O at 8. Dr. York concluded: “His dementia falls under the diagnostic
                                                                           22   category of Lewy Body Dementias.” Keneally Decl. Ex. O at 8.
                                                                           23           Dr. York repeated her forensic examination of Mr. Brockman on October 7, 2020. 11
                                                                           24
                                                                                         11
                                                                                            Having had no response since Mr. Brockman’s offer in April to allow the government access to the doctors
                                                                           25   with a commitment that counsel would not take steps to prepare them or participate in any government interviews,
                                                                                counsel spoke with the lead prosecutors on September 30, 2020 to let them know that Mr. Brockman would again be
                                                                           26   examined by Dr. Pool and Dr. York, and that counsel planned to speak with both doctors about those examinations.
                                                                                Keneally Decl. ¶ 30. The prosecutors did not inform counsel that they planned to seek an Indictment in this matter
                                                                           27   on the following day. The prosecutors next contacted defense counsel to arrange a call for Saturday, October 10,
                                                                                2020, during which they disclosed that there was a sealed Indictment (which is dated October 1) and asked for
                                                                           28   assurance that Mr. Brockman would attend an arraignment to be scheduled on the following Thursday, October 15,
                                                                                2020. Keneally Decl. ¶ 30. Mr. Brockman subsequently revoked the HIPAA waivers. Keneally Decl. ¶ 31.
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                                                                            1   Keneally Decl. ¶ 33, Ex. R. Dr. York reported that Mr. Brockman stated that he is “unsure of his
                                                                            2   medication regimen as . . . his wife manages his medication box,” “his short-term memory and his
                                                                            3   working memory have declined and his processing speed is slower,” he has experienced “declines
                                                                            4   in his decision making abilities,” he “forgets names of familiar individuals,” “is disoriented to
                                                                            5   month and day of the week,” and “repeats himself and asks the same question again without
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                                                                            6   insight.” Keneally Decl. Ex. R at 3. Dr. York’s October 2020 forensic report included detailed
                                                                            7   behavioral observations, noting that Mr. Brockman’s “cognition fluctuated throughout the testing
                                                                            8   session,” that he sometimes became “confused” during “tasks that he originally was completing
                                                                            9   accurately,” and that while his “[c]onversational speech was coherent,” his speech was
                                                                           10   “tangential without insight.” Keneally Decl. Ex. R at 5. She again listed tests that Mr. Brockman
                                                                           11   was unable to complete “due to cognitive/behavioral problems.” Keneally Decl. Ex. R at 5.
                                                                           12          Dr. York found that Mr. Brockman’s “cognitive profile demonstrated interim cognitive
                                                                           13   declines across all domains assessed” relative to her prior evaluations. Keneally Decl. Ex. R at 8.
                                                                           14   As examples, she noted that Mr. Brockman’s WAIS-IV FSIQ estimate declined to 80 from a prior
                                                                           15   score of 96, that Mr. Brockman “demonstrated difficulties with set shifting, drawing a cube, and
                                                                           16   placing the hands on a clock face,” and was able to identify only “2/3 pictured animals,” that
                                                                           17   when he was asked to memorize word lists, his “delayed recall was in the deficient range with
                                                                           18   0.0% retention,” and that when presented with basic geographic figures, Mr. Brockman’s
                                                                           19   “[i]mmediate recall . . . was borderline impaired,” “[d]elayed recall of the designs was deficient,”
                                                                           20   and “[r]etention of the initially learned material was 0.0%.” Keneally Decl. Ex. R at 6.
                                                                           21          In sum, the DaTscan performed in early 2019 showed structural changes in
                                                                           22   Mr. Brockman’s brain sufficient to explain his cognitive impairment, which was confirmed by
                                                                           23   Dr. York’s clinical tests in March 2019 and forensic tests in December 2019. Now we know from
                                                                           24   Dr. York’s October 7, 2020 report that Mr. Brockman’s dementia progressed, and his cognitive
                                                                           25   abilities declined, in the ten-month period between Dr. York’s two sets of forensic testing. And,
                                                                           26   based on Dr. York’s analyses, it is likely that Mr. Brockman’s mental condition has gotten worse
                                                                           27   in the two months since her last examination.
                                                                           28
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                                                                            1                  3.      Mr. Brockman has experienced hallucinations consistent with Lewy
                                                                                                       body dementia
                                                                            2
                                                                            3          Hallucinations are a hallmark of Lewy body dementia. Dr. York reported two incidents of
                                                                            4   hallucination that support her conclusion that this is the correct diagnosis.
                                                                            5          In her diagnostic examination of Mr. Brockman in March 2019, she personally observed
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                                                                            6   Mr. Brockman experiencing an hallucination. As Dr. York reported: “He saw a bug on the floor
                                                                            7   of the testing room that was not present.” Keneally Decl. Ex. I at 2, 5.
                                                                            8          Then in her October 7, 2020 report following her second set of forensic testing, Dr. York
                                                                            9   described what she considered to be a “delusional incident” or hallucination: Mr. Brockman
                                                                           10   believed that he heard someone leaving his house at about 5 a.m., thought that he saw his son’s
                                                                           11   car driving away, and claimed that his computer was open to sites that Mr. Brockman described
                                                                           12   as “from the dark web and suicidal information.” Keneally Decl. Ex. R at 3. In fact,
                                                                           13   Mr. Brockman’s son was not at his parents’ home at that hour, there was no sign of a break-in,
                                                                           14   and pictures that Mr. Brockman took of the computer screens during the incident showed Yahoo
                                                                           15   answer pages not related to the dark web or suicide. Keneally Decl. Ex. R at 3.
                                                                           16          These incidents are further medical indicia of Mr. Brockman’s cognitive impairment.
                                                                           17                  4.      Mr. Brockman’s medical tests measured for and ruled out malingering
                                                                           18          Dr. York’s December 3, 2019 examination specifically included tests to determine
                                                                           19   whether Mr. Brockman was malingering, that is, faking impaired cognition. As stated in her
                                                                           20   report: “He passed several embedded and stand-alone measures of performance validity;
                                                                           21   therefore, the following results are thought to be an accurate estimation of his current cognitive
                                                                           22   abilities.” Keneally Decl. Ex. O at 4. In fact, Mr. Brockman was so startled by his inability to
                                                                           23   draw a clock, that he practiced before subsequent examinations in an effort to improve. Keneally
                                                                           24   Decl. Ex. J at 2, Ex. O at 3-4. Dr. York concluded: “It is this examiner’s opinion based on the
                                                                           25   testing conducted and behavioral observations that Mr. Brockman was putting forth full effort and
                                                                           26   was not exaggerating or embellishing the nature and extent of his cognitive impairment.”
                                                                           27   Keneally Decl. Ex. O at 7.
                                                                           28
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                                                                            1                   5.      Mr. Brockman’s dementia causes him to lose insight into his own
                                                                                                        cognitive impairment
                                                                            2
                                                                            3           Dr. Yu explained in her January 21, 2020 letter that patients with dementia will
                                                                            4   “experience anosognosia, which means that they will lose insight into the cognitive limitations of
                                                                            5   their disease.” Keneally Decl. Ex. N. She continued: “Individuals with dementia may perceive
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                                                                            6   themselves as functioning normally, even well.” Keneally Decl. Ex. N.
                                                                            7           Dr. York’s March 1, 2019 clinical report observed this in Mr. Brockman: “He lacked
                                                                            8   insight into his cognitive problems,” noting that he “said he was not doing well, but he appeared
                                                                            9   very surprised.” Keneally Decl. Ex. I at 2.
                                                                           10           In other words, to an important degree, Mr. Brockman cannot recognize that his impaired
                                                                           11   cognition interferes with his ability to assist in his defense.
                                                                           12                   6.      While Mr. Brockman may continue to function in familiar activities
                                                                                                        and settings, medical evidence establishes that he cannot assist in the
                                                                           13                           defense of this case
                                                                           14           Even as Mr. Brockman’s illness has progressed, he has made efforts to remain socially
                                                                           15   active and to continue working. As Dr. Pool explained in his letter to counsel, while severe
                                                                           16   dementia will be characterized by a person’s inability to know where he is or with whom he is
                                                                           17   speaking, a person with mild to moderate dementia has some recognition of what is going on
                                                                           18   around him, and an individual who enjoyed high intelligence and a high level of functioning prior
                                                                           19   to the onset of dementia may be able to conceal his limitations under certain circumstances.
                                                                           20   Keneally Decl. Ex. L at 2.
                                                                           21           Dr. Yu similarly described how others may also fail to perceive someone’s cognitive
                                                                           22   limitations, noting that “[i]ndividuals with dementia, who have good social instincts and
                                                                           23   expansive vocabulary may appear to function well on a surface level.” Keneally Decl. Ex. N.
                                                                           24   She referred to this as the ability to retain “social niceties” despite cognitive impairment, and
                                                                           25   further noted that “individuals who have been in business or professionally active for a long time
                                                                           26   may be able to speak on business issues in a way that appears functional, but will face difficulties
                                                                           27   when pressed for decisions or specifics.” Keneally Decl. Ex. N. Dr. Yu noted that it is a specific
                                                                           28   characteristic of Lewy body dementia that a person will experience day-to-day and even hour-to-
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                                                                            1   hour fluctuations in the ability to function. Keneally Decl. Ex. N.
                                                                            2                  7.      The medical experts all agree that Mr. Brockman’s dementia makes
                                                                                                       him incapable of assisting in his defense
                                                                            3
                                                                            4          The four doctors’ results of examination deserve to be considered in full and in context
                                                                            5   along with other evidence at a hearing. Without in any way diminishing the importance of that
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                                                                            6   full context, their expert opinion is clear that Mr. Brockman cannot assist in his defense:
                                                                            7          As Dr. Yu has stated, Mr. Brockman’s dementia affects “all aspects of thought and
                                                                            8   cognitive function.” Keneally Decl. Ex. N.
                                                                            9          Responding to counsel’s inquiry, Dr. Jankovic stated: “I understand that you are asking
                                                                           10   whether Mr. Brockman can assist you in preparing a legal defense. It is my view that his
                                                                           11   cognitive impairment will prevent him from doing so.” Keneally Decl. Ex. M at 1.
                                                                           12          Dr. York stated in her October 7, 2020 forensic report: “Based on the current cognitive
                                                                           13   findings, his diagnosis of dementia, and the breadth and severity of his cognitive impairments and
                                                                           14   fluctuations, it remains my opinion that Mr. Brockman is unable to participate and aid in his own
                                                                           15   defense.” She continued in detail: “Due to the neurodegenerative nature of this disease and the
                                                                           16   lack of effective treatments, his prognosis is for continued cognitive decline. He is unable to
                                                                           17   recall and demonstrate a thorough understanding of the relevant elements of the issues
                                                                           18   surrounding the case and manipulate this information in a logical manner that will allow him to
                                                                           19   make comparisons and weigh his options.” Keneally Decl. Ex. R at 8.
                                                                           20          And Dr. Pool concluded: “I concur with the medical position that Mr. Brockman cannot
                                                                           21   assist his attorneys in his defense, if criminal charges were to be brought against him.” Keneally
                                                                           22   Decl. Ex. L at 2.
                                                                           23          B.      Mr. Brockman’s retirement
                                                                           24          Mr. Brockman fully retired on November 6, 2020. Keneally Decl. ¶ 36.
                                                                           25          For as long as he could, Mr. Brockman tried to rely on his former high intellect and
                                                                           26   decades of experience, as well as the support and assistance of his wife and business colleagues,
                                                                           27   in an effort to continue to lead or at least contribute to the business that he built. See Keneally
                                                                           28   Decl. Ex. L at 2, Ex. N. He knows now that he can no longer do so.
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                                                                            1          C.      Non-medical evidence
                                                                            2          Counsel for Mr. Brockman will present testimony from people who interact with him,
                                                                            3   sometimes on a near-daily basis, to corroborate the observations made by the doctors. Keneally
                                                                            4   Decl. ¶ 35. In particular, Mr. Brockman’s wife of 52 years will attest to the steady progression of
                                                                            5   his cognitive impairment. Keneally Decl. ¶ 35.
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                                                                            6          Mr. Brockman’s counsel can also directly confirm what the experts predicted:
                                                                            7   Mr. Brockman’s cognitive impairment makes him incapable of assisting in his defense.
                                                                            8   Romatowski Decl. ¶¶ 9-15; Keneally Decl. ¶¶ 4, 6, 20-21. Counsel’s interactions with
                                                                            9   Mr. Brockman have been consistent with the medical findings described above. Romatowski
                                                                           10   Decl. ¶ 13; Keneally Decl. ¶¶ 6, 20. Mr. Brockman has been unable to relate important
                                                                           11   information from the past, to review and evaluate documents, or to retain information that counsel
                                                                           12   tells him. Romatowski Decl. ¶ 11; Keneally Decl. ¶ 6. He repeatedly provides the same
                                                                           13   information, regardless of relevance. Romatowski Decl. ¶¶ 11-14; Keneally Decl. ¶ 6. When
                                                                           14   counsel provides him with information, he will sometimes report it back in his next discussion
                                                                           15   with counsel as if it is news that he thinks he should provide to counsel or something that he has
                                                                           16   recently remembered, in effect confabulating what he once may have known and what he has
                                                                           17   recently been told. Romatowski Decl. ¶ 11; Keneally Decl. ¶ 6.
                                                                           18   III.   ARGUMENT
                                                                           19          Due process guarantees “a defendant’s right not to be tried or convicted while
                                                                           20   incompetent to stand trial.” Drope, 420 U.S. at 172. This principle is embodied in
                                                                           21   18 U.S.C. § 4241(a), which requires a competency hearing upon a showing of reasonable cause to
                                                                           22   believe that a defendant is unable to assist properly in his defense.
                                                                           23          A.      The record far exceeds a showing of “reasonable cause” to require a
                                                                                               competency hearing
                                                                           24
                                                                           25          The present record requires a § 4241(a) hearing on Mr. Brockman’s competency.
                                                                           26          Because the narrow question at this stage is only whether to hold a competency hearing,
                                                                           27   and not whether the defendant is competent, courts do not weigh the reliability of the evidence in
                                                                           28   this phase. Instead, “the trial court must look at the record as a whole and accept as true all
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                                                                            1   evidence of possible incompetence” when deciding whether to hold a hearing. Smith v. Ylst,
                                                                            2   862 F.2d 872, 877 (9th Cir. 1987) (citing Chavez v. United States,
                                                                            3   641 F.2d 1253, 1258 (9th Cir. 1981)). Nor may the court refuse a hearing on the basis of
                                                                            4   conflicting evidence. If substantial evidence of incompetence exists “from any source, there is a
                                                                            5   doubt that cannot be dispelled by resort to conflicting evidence.” Moore v. United States,
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                                                                            6   464 F.2d 663, 666 (9th Cir. 1972) (emphasis added).
                                                                            7          Based on multiple examinations conducted over a nearly two-year period, the medical
                                                                            8   professionals are unequivocal in their assessment that Mr. Brockman has progressive dementia
                                                                            9   that will prevent him from assisting in his defense. Keneally Decl. Ex. L at 2, Ex. M at 1, Ex. N,
                                                                           10   Ex. O at 8, Ex. R. at 7-8. “Medical opinions are ‘usually persuasive evidence on the question of
                                                                           11   whether a sufficient doubt exists’ as to the defendant’s competence.” United States v. Mason,
                                                                           12   52 F.3d 1286, 1290 (4th Cir. 1995) (quoting Griffin v. Lockhart, 935 F.2d 926, 930 (8th Cir.
                                                                           13   1991)). Medical evidence can mandate a hearing even when the defendant has “appeared calm in
                                                                           14   the courtroom” and has not had his competence previously questioned by his counsel. Odle v.
                                                                           15   Woodford, 238 F.3d 1084, 1088 (9th Cir. 2001); see also Deere v. Woodford,
                                                                           16   339 F.3d 1084, 1086-87 (9th Cir. 2003) (holding that hearing was required when two medical
                                                                           17   experts opined that defendant was incompetent).
                                                                           18          In United States v. Duncan, 643 F.3d 1242 (9th Cir. 2011), the Ninth Circuit held that the
                                                                           19   district court erred by failing to hold a full competency hearing prior to sentencing based on
                                                                           20   medical evidence of incompetence in that case that is comparable to the evidence available here:
                                                                           21   reports from three experts, all well established and highly regarded in the field of
                                                                           22   neuropsychiatry, “who had examined Defendant personally and . . . formed the same opinion
                                                                           23   that . . . Defendant’s ‘mental diseases and defects render him . . . incompetent,’” which were
                                                                           24   supported by brain scans establishing that the defendant had “‘an unusual brain structure’
                                                                           25   consistent with [his] behavioral deficits in ‘the ability to make rational plans and modulate
                                                                           26   emotions.’” Id. at 1249. Contrary medical opinions were not a reason to refuse a hearing; “[w]e
                                                                           27   express no opinion on which of the experts has the better of the argument . . . . We hold only the
                                                                           28   evidence [was] such that § 4241(a) required a full competency hearing before the district court
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                                                                            1   could reach a decision.” Id. at 1250.
                                                                            2            The medical evidence here is at least as compelling. Mr. Brockman’s cognitive decline
                                                                            3   has been apparent to his family, and ultimately to him, for several years. Keneally Decl. Ex. H. at
                                                                            4   1-2, Ex. I at 1, Ex. J at 1-2, Ex. L at 1, Ex. O at 2-3. He did not seek medical evaluations for the
                                                                            5   purpose of this case, but to be diagnosed and treated. He did not even tell his lawyers that he was
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                                                                            6   struggling with cognitive issues until four months after these medical examinations were
                                                                            7   concluded. Keneally Decl. ¶¶ 5-6. Brain scans have revealed structural abnormalities that
                                                                            8   explain his dementia symptoms. Keneally Decl. Ex. P. He has twice submitted to a battery of
                                                                            9   forensic testing, which Dr. York recommended to enable her to answer the exact question as to
                                                                           10   whether he can assist in his defense, and also whether he was participating in the examination in
                                                                           11   good faith or malingering to obtain a desired result. Keneally Decl. Ex. R at 4-5. 12
                                                                           12            Moreover, as the Supreme Court has noted, “defense counsel will often have the best-
                                                                           13   informed view of the defendant’s ability to participate in his defense.” Medina v. California,
                                                                           14   505 U.S. 437, 450 (1992) (citations omitted); see also Torres v. Prunty,
                                                                           15   223 F.3d 1103, 1109 (9th Cir. 2000) (recommendations by defense counsel “should [be]
                                                                           16   considered seriously by the court” (citing Medina, 505 U.S. at 540)). Counsel’s experience
                                                                           17   directly aligns with the medical findings: Mr. Brockman has been unable to relate important
                                                                           18   information from the past or to review and evaluate documents. Romatowski Decl. ¶ 11. And he
                                                                           19   has confabulated information told to him by counsel, recalling it later as if he just remembered
                                                                           20   rather than was recently told. Romatowski Decl. ¶ 11; Keneally Decl. ¶ 6.
                                                                           21            Mr. Brockman’s cognitive impairment, as detailed by his doctors, goes directly to what is
                                                                           22   required to assist in his defense: he cannot reliably access memories, meaningfully process new
                                                                           23   information, or to compare the two. Keneally Decl. Ex. L at 2, Ex. R. at 7-8. He has only partial
                                                                           24
                                                                                          12
                                                                           25                See also United States v. Bohol, 419 Fed. App’x 730, 731 (9th Cir. 2011) (affirming decision that
                                                                                defendant was mentally incompetent where based on report and testimony provided by forensic psychologist); United
                                                                           26   States v. Chandler, 2020 WL 2735917, *16 (M.D. Fla. May 5, 2020) (noting the propriety of giving “somewhat more
                                                                                weight to the testimony of a forensic psychologist” in competency determinations), adopted by
                                                                           27   2020 WL 2735424 (M.D. Fla. May 26, 2020); United States v. Chun, 2019 WL 6683878, *9
                                                                                (E.D. Mich. Dec. 6, 2019) (noting importance of testing for malingering to ensure the validity of test results); United
                                                                           28   States v. Hernandez, 2018 WL 2738880, *8–15 (N.D. Ohio June 7, 2018) (relying on forensic testing to conclude
                                                                                defendant was incompetent to stand trial and not malingering).
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                                                                            1   insight into his limitations, and may respond to questions by “confabulating” erroneous
                                                                            2   information that he genuinely believes to be true. Keneally Decl. Ex. L at 2, Ex. M at 1-2.
                                                                            3          Taken together, the medical opinions and counsel’s experience more than sufficiently
                                                                            4   establishes reasonable cause for this Court to hear from these and other witnesses, and consider
                                                                            5   all the evidence on the issue of whether Mr. Brockman may fairly be put to trial.
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                                                                            6          B.      The evidence of Mr. Brockman’s cognitive challenges is particularly
                                                                                               compelling given the stage and nature of this case
                                                                            7
                                                                            8          “Although the level of competency mandated by due process does not vary based on the
                                                                            9   specific stage of the criminal proceeding, the defendant’s ability to participate or assist his
                                                                           10   counsel must be evaluated in light of the type of participation required.” United States v. Dreyer,
                                                                           11   705 F.3d 951, 961 (9th Cir. 2013) (citation omitted), applied in United States v. Brugnara,
                                                                           12   2015 WL 6126781, at *2 (N.D. Cal. Oct. 19, 2015) (Alsup, J.), aff’d,
                                                                           13   856 F.3d 1198 (9th Cir. 2017). This motion is being filed less than two months after arraignment.
                                                                           14   We are at the very beginning of a criminal prosecution. The charges sweep broadly and span
                                                                           15   decades of numerous alleged financial transactions and structures across multiple countries. The
                                                                           16   government has estimated that it will produce what may amount to tens of millions of documents.
                                                                           17   Keneally Decl. ¶ 37. Mr. Brockman cannot help counsel to understand the charges or the
                                                                           18   evidence. Romatowski Decl. ¶¶ 11-15; Keneally Decl. ¶¶ 4, 6, 20-21.
                                                                           19          Nor would Mr. Brockman’s impairment become less problematic at trial. “After all,
                                                                           20   competence to stand trial does not consist merely of passively observing the proceedings. Rather,
                                                                           21   it requires the mental acuity to see, hear and digest the evidence, and the ability to communicate
                                                                           22   with counsel in helping prepare an effective defense.” Odle, 238 F.3d at 1089 (citing Dusky v.
                                                                           23   United States, 362 U.S. 402, 402 (1960)); see also United States v. Helmsley,
                                                                           24   733 F. Supp. 600, 604 (S.D.N.Y. 1989) (emphasizing importance of defendant’s competence in a
                                                                           25   complex, lengthy trial). To assist counsel at trial, Mr. Brockman would need to be able to retain
                                                                           26   newly presented information, compare it to his own recollections, and process all this so as to
                                                                           27   provide “assistance in counsel’s cross-examination of witnesses, in the selection and preparation
                                                                           28   of defense witnesses, and in the decision whether the defendant should take the stand.” Helmsley,
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                                                                            1   733 F. Supp. at 605. The medical reports, forensic reports, and letters from his diagnostic and
                                                                            2   treating doctors make clear that, specifically, Mr. Brockman cannot retain new information,
                                                                            3   compare it to remembered information, and thereby assist his counsel in his defense. Keneally
                                                                            4   Decl. Ex. L at 2, Ex. M at 1, Ex. N, Ex. O at 8, Ex. R. at 7-8. Counsel has confirmed based on his
                                                                            5   experience of Mr. Brockman, as compared to his career experience with witnesses and defendants
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                                                                            6   who can effectively assist in the defense of a complex case, that Mr. Brockman cannot do so.
                                                                            7   Romatowski Decl. ¶¶ 2-4, 8-15.
                                                                            8            Again, the Court is not asked at this stage to decide the ultimate question of competence
                                                                            9   based on the current proffer, which we nonetheless submit is compelling. The question before the
                                                                           10   Court is merely whether a hearing should occur—and it should. Prior to any hearing, “the court
                                                                           11   may order that a psychiatric or psychological examination of the defendant be conducted” by an
                                                                           12   independent expert. 18 U.S.C. § 4241(b); see also 18 U.S.C. § 4247(b)–(c) (describing how the
                                                                           13   examination is to be conducted and information to be included in any psychiatric or psychological
                                                                           14   report). Prior to the return of the Indictment, defense counsel offered the government the
                                                                           15   opportunity to have Mr. Brockman examined independently, and certainly will agree to an
                                                                           16   independent expert selected by the court, asking only that the examination take place proximate to
                                                                           17   Mr. Brockman’s home in Houston. 13 To the extent the government questions the defense’s
                                                                           18   showing concerning Mr. Brockman’s competency, it may cross-examine the doctors and other
                                                                           19   witnesses, and present its evidence.
                                                                           20            The only issue for today is whether Mr. Brockman has a right to a hearing, so that the
                                                                           21   Court may hear from the witnesses and consider the evidence. The express language of
                                                                           22   18 U.S.C. § 4241 and core right to due process answers this question in the affirmative. Drope,
                                                                           23   420 U.S. at 172.
                                                                           24   ///
                                                                           25   ///
                                                                           26
                                                                           27           13
                                                                                           Mr. Brockman has also filed a motion seeking to transfer this matter to the Southern District of Texas
                                                                           28   based on several reasons, including that the required hearing on his competency should take place in the district
                                                                                where he resides and his doctors are located. ECF No. 49.
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                                                                            1   IV.    CONCLUSION
                                                                            2          Mr. Brockman therefore respectfully asks that the Court hold a hearing under
                                                                            3   18 U.S.C. § 4241 to determine whether he lacks the capacity to assist in his defense.
                                                                            4   Dated: December 8, 2020                          Respectfully submitted,
                                                                            5                                                    Jones Day
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                                                                            6
                                                                            7                                                    s/ Neal J. Stephens
                                                                                                                                 NEAL J. STEPHENS
                                                                            8
                                                                                                                                 Counsel for Defendant
                                                                            9                                                    ROBERT T. BROCKMAN
                                                                           10
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To:                                                                           Bob Brockman[bob_brockman@reyrey.com]
From:                                                                                    Case 3:20-cr-00371-WHA Document
                                                                              Stuart Yudofsky[stuart.yudofsky@gmail.com]         64-2 Filed 12/08/20 Page 2 of 108
Sent:                                                                         Thur 5/4/2017 12:27:18 AM (UTC)
Subject:                                                                      Anosmia
Good evening, Bob:
There are dozens of potential causes of anosmia--as there are for memory loss.
If you are comfortable doing so, I suggest that you begin by meeting with me. That will help me assess the severity and
significance of your memory symptoms, as well as utilize this information to direct you to the best professional-- discipline,
person, and/or system--for assessment and, as required, care.
As you know, Bob, I am a neuropsychiatrist and have extensive hands-on experience with memory and cognitive changes.
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I am available in the mornings from 9 AM until noon over the next several days, and can be available at any time over the
weekend.
Please let me know how you would like to proceed.
Warmest regards,
Stuart
On May 3, 2017, at 4:27 PM, Bob Brockman <bob_brockman@reyrey.com> wrote:
                                                                            Stuart,
                                                                            Robert and Dorothy are after me to consult with the right doctor regarding my loss of my sense of
                                                                            smell.
                                                                            They are afraid that it is an early sign of alzheimer’s or dementia.
                                                                            I am feeling good but am having increasing memory problems.
                                                                            Is there a doctor that you can recommend?
                                                                            Bob
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Seth Paul Lerner, M.D., FACS | BCM
                                                                                               Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 4 of 108
                                                                             !       COVID-19 Response
                                                                                     Access our COVID-19 Response homepage, with more information and resources during the COVID-19
                                                                                     pandemic, including what to do if you’re experiencing symptoms.
                                                                                  Healthcare        Education       Research          Community          About
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                                                                                                Baylor College of Medicine       Find a Person         Seth Lerner
                                                                                                                                      Seth Paul Lerner, M.D.,
                                                                                                                                      FACS
                                                                                                                                      Professor
                                                                                                                                      713-798-
                                                                                                                                      4001
                                                                                                                                         Request Clinical Appointment
                                                                                 Email
                                                                                 slerner@bcm.edu
                                                                                 Positions
https://www.bcm.edu/people-search/seth-lerner-25263[12/3/2020 5:04:18 PM]
Seth Paul Lerner, M.D., FACS | BCM
                                                                                         Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 5 of 108
                                                                             Professor
                                                                             Urology
                                                                             Baylor College of Medicine
                                                                             Houston, TX US
                                                                             Beth and Dave Swalm Chair in Urologic Oncology Director of Urologic Oncology Director of the
                                                                             Multidisciplinary Bladder Cancer Program
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                                                                             Addresses
                                                                             Baylor College of Medicine Medical Center (Clinic)
                                                                             7200 Cambridge, Suite 10B
                                                                             Houston, TX 77030
                                                                             United States
                                                                             (713) 798-4001
                                                                             Education
                                                                             B.A. from University Of Texas At Austin
                                                                             01/1979 - Austin, TX United States
                                                                             M.D. from Baylor College Of Medicine
                                                                             01/1984 - Houston, TX United States
                                                                             Internship at Virginia Mason Hospital
                                                                             01/1985 - Seattle, Washington United States
                                                                             Residency at Virginia Mason Hospital
                                                                             06/1986 - Seattle, Washington United States
                                                                             General Surgery
                                                                             Residency at Baylor College of Medicine
                                                                             06/1990 - Houston, Texas United States
                                                                             Urology
                                                                             Fellowship at University Of Southern California
                                                                             06/1992 - Los Angeles, California United States
                                                                             Urologic Oncology
https://www.bcm.edu/people-search/seth-lerner-25263[12/3/2020 5:04:18 PM]
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                                                                             Certifications
                                                                             American Board of Urology
                                                                             Professional Interests
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                                                                                Urologic Oncology and Reconstructive Surgery with Interest in Minimally Invasive Surgery
                                                                             Professional Statement
                                                                             Seth P. Lerner, MD, is Professor of Urology and holds the Beth and Dave Swalm Chair in Urologic
                                                                             Oncology, in the Scott Department of Urology, Baylor College of Medicine. He is Director of Urologic
                                                                             Oncology and the Multidisciplinary Bladder Cancer Program and Faculty Group Practice Medical
                                                                             Director for the Urology Clinic.
                                                                             He earned his medical degree from Baylor College of Medicine, completed a surgical internship at
                                                                             Virginia Mason Hospital in Seattle, and returned to Baylor for his residency training. He completed a
                                                                             two-year fellowship at the University of Southern California in urologic oncology and reconstructive
                                                                             surgery under Peter Jones and Don Skinner before returning to join the full-time Baylor faculty in
                                                                             1992. His clinical practice, education, and research activities are devoted to urologic oncology and
                                                                             particularly lower and upper tract urothelial cancer.
                                                                             Dr. Lerner is author of over190 peer-reviewed articles, and co-editor of a comprehensive Textbook of
                                                                             Bladder Cancer. He is the founding co-editor-in-chief of the Bladder Cancer journal. He established
                                                                             and directs the multi-disciplinary Bladder Cancer Research Program at Baylor and his research
                                                                             interests include use of selective estrogen receptor modulators for treatment of bladder cancer, gene
                                                                             therapy, integrated genomic analysis of bladder and upper urinary tract cancers, and outcomes of
                                                                             radical cystectomy and pelvic lymphadenectomy. He has 26 years experience as a clinical
                                                                             investigator for both NCI and industry funded clinical trials. He is the PI of the ongoing SWOG NCI
                                                                             Phase III trial comparing extended vs. standard pelvic lymphadenectomy at time of radical
                                                                             cystectomy. He is active in the leadership of several national bladder cancer research enterprises
                                                                             including chair of the Local Bladder Cancer committee of SWOG, founding and former co-chair of the
                                                                             NCI Bladder Cancer Task Force and current co-chair of the NCI CTEP Genitourinary Steering
                                                                             Committee, and he has co-chaired the Analysis Working Group of The Cancer Genome Atlas Project
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Seth Paul Lerner, M.D., FACS | BCM
                                                                                         Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 7 of 108
                                                                             for muscle invasive bladder cancer for the past 7 years. He is very active in the Bladder Cancer
                                                                             Advocacy Network (BCAN) as a member of the Board of Directors, past chair of the Bladder Cancer
                                                                             Think Tank and co-chair of the management committee of the Bladder Cancer Research Network. Dr.
                                                                             Lerner is an active member of the prestigious American Association of Genitourinary Surgeons and is
                                                                             listed routinely among “America’s Top Doctors” and “Best Doctors in America.
                                                                             Websites
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                                                                             Scott Department of Urology
                                                                             Dr. Lerner's Research
                                                                             VIICTR Research Database
                                                                             BCM MyChart
                                                                             Selected Publications
                                                                                Levitt JM, Jian W, Lerner SP, Sonpavde G "A conventional preclinical schedule of cisplatin is
                                                                                more effective than a metronomic frequent bolus schedule for urothelial carcinoma.." Urol. Oncol..
                                                                                2013 February ; 31 (2): 234-40. Pubmed PMID: 21723160
                                                                                Burke JM, Lamm DL, Meng MV, Nemunaitis JJ, Stephenson JJ, Arseneau JC, Aimi J, Lerner S,
                                                                                Yeung AW, Kazarian T, Maslyar DJ, McKiernan JM "A First in Human Phase 1 Study of CG0070,
                                                                                a GM-CSF Expressing Oncolytic Adenovirus, for the Treatment of Nonmuscle Invasive Bladder
                                                                                Cancer.." J. Urol.. 2012 December ; 188 (6): 2391-7. Pubmed PMID: 23088985
                                                                                Meeks JJ, Bellmunt J, Bochner BH, Clarke NW, Daneshmand S, Galsky MD, Hahn NM, Lerner
                                                                                SP, Mason M, Powles T, Sternberg CN, Sonpavde G "A Systematic Review of Neoadjuvant and
                                                                                Adjuvant Chemotherapy for Muscle-invasive Bladder Cancer.." Eur. Urol.. 2012 September ; 62
                                                                                (3): 523-33. Pubmed PMID: 22677572
                                                                                Jian PY, Godoy G, Coburn M, Lynch G, Ro JY, Zhai QJ, Nishino M, Lerner SP "Adenocarcinoma
                                                                                following urinary diversion.." Can Urol Assoc J. 2012 April ; 6 (2): E77-80. Pubmed PMID:
                                                                                22511440
                                                                             Show 16 more selected publications
                                                                             Memberships
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                                                                                      Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 8 of 108
                                                                             American Association of Genitourinary Surgeons
                                                                             Member
                                                                             American Urological Association
                                                                             Member
                                                                             American Association for Cancer Research
                                                                             Member
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                                                                             American Association for the Advancement of Science
                                                                             Member
                                                                             American College of Surgeons
                                                                             Fellow
                                                                             American Medical Association
                                                                             Member
                                                                             American Society of Clinical Oncology
                                                                             Member
                                                                             American Society of Gene Therapy
                                                                             Member
                                                                             American Association of Clinical Urologists
                                                                             Member
                                                                             Harris County Medical Society
                                                                             Member
                                                                             International Bladder Cancer Network
                                                                             Member
                                                                             Society of Basic Urologic Research
                                                                             Member
                                                                             Société International D’Urologie
                                                                             Member
                                                                             Society of Laparoendoscopic Surgeons
                                                                             Member
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                                                                             South Central Section of the American Urological Association
                                                                             Member
                                                                             Society of University Urologists
                                                                             Member
                                                                             Southwest Oncology Group
                                                                             Member
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                                                                             Texas Urological Society
                                                                             Member
                                                                             Texas Medical Association
                                                                             Member
                                                                             Skills
                                                                             Research Interests
                                                                             Bladder Cancer Collaborative Research Program: Role of estrogen receptors and the use of selective
                                                                             estrogen receptor modulators (e.g., tamoxifen) for treatment of bladder cancer; novel targeted
                                                                             therapeutics and gene therapy for treatment of non-muscle-invasive and invasive disease; outcome
                                                                             of treatments for non-muscle-invasive bladder cancer and radical cystectomy and development of
                                                                             predictive models; genomic characterization and integrated analysis of bladder and upper tract
                                                                             cancers
                                                                             Clinical Interests
                                                                             Urologic oncology and urinary tract reconstruction; management of patients with bladder, prostate,
                                                                             testis and kidney cancer; Director, Bladder Cancer Multidisciplinary Clinical Program
                                                                             Clinical Trials
                                                                             Bladder cancer; prostate cancer; kidney cancer
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James L Pool, M.D. | BCM
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                                                                                                                                      James L Pool, M.D.
                                                                                                                                      Professor
                                                                                                                                      713-798-
                                                                                                                                      5800
                                                                                 Email
                                                                                 jpool@bcm.edu
                                                                                 Positions
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James L Pool, M.D. | BCM
                                                                                         Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 14 of 108
                                                                             Professor
                                                                             Medicine-Hypertension
                                                                             Baylor College of Medicine
                                                                             Houston, TX US
                                                                             James L. Pool Presidential Endowed Chair in Clinical Pharmacology
                                                                             Baylor College of Medicine
                                                                             Houston, Texas United States
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                                                                             Addresses
                                                                             Baylor Comprehensive Healthcare Clinic (Clinic)
                                                                             1977 Butler Blvd. E6.150
                                                                             Houston, TX 77030
                                                                             United States
                                                                             (713) 798-0180
                                                                             Education
                                                                             MD from University Of Oklahoma School of Medicine
                                                                             06/1972 - Oklahoma City, Oklahoma United States
                                                                             Internship at Duke University Medical Center
                                                                             01/1973 - Durham, North Carolina United States
                                                                             Internal Medicine
                                                                             Residency at Duke University Medical Center
                                                                             01/1975 - Durham, North Carolina United States
                                                                             Internal Medicine
                                                                             Fellowship at Duke University Medical Center
                                                                             01/1976 - Durham, North Carolina United States
                                                                             Endocrinology
                                                                             Certifications
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James L Pool, M.D. | BCM
                                                                                         Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 15 of 108
                                                                             Internal Medicine
                                                                             American Board of Internal Medicine
                                                                             Diplomate
                                                                             American Board of Endocrinology and Metabolism
                                                                             Diplomate
                                                                             American Board of Clinical Pharmacology
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                                                                             Professional Interests
                                                                                Cardiovascular Pharmacology
                                                                                Alteration of Lipid Metabolism by Antihypertensive Drugs
                                                                                Autonomic Nervous System Dysfunction
                                                                             Websites
                                                                             VIICTR Publications List
                                                                             Cardiovascular Disease Prevention Care Center
                                                                             Selected Publications
                                                                                Taylor AA, Pool JL "Clinical role of direct Renin inhibition in hypertension.." Am J Ther. 2012 May ;
                                                                                19 (3): 204-10. Pubmed PMID: 21317620
                                                                                Perlstein TS, Henry RR, Mather KJ, Rickels MR, Abate NI, Grundy SM, Mai Y, Albu JB, Marks JB,
                                                                                Pool JL, Creager MA "Effect of angiotensin receptor blockade on insulin sensitivity and endothelial
                                                                                function in abdominally obese hypertensive patients with impaired fasting glucose.." Clin. Sci..
                                                                                2012 February 1; 122 (4): 193-202. Pubmed PMID: 21861845
                                                                                Hyman DJ, Pavlik VN, Greisinger AJ, Chan W, Bayona J, Mansyur C, Simms V, Pool J "Effect of a
                                                                                physician uncertainty reduction intervention on blood pressure in uncontrolled hypertensives-a
                                                                                cluster randomized trial.." J Gen Intern Med. 2012 April ; 27 (4): 413-9. Pubmed PMID: 22033742
                                                                                Clement S, Brohan E, Sayce L, Pool J, Thornicroft G "Disability hate crime and targeted violence
                                                                                and hostility: A mental health and discrimination perspective.." J Ment Health. 2011 June ; 20 (3):
https://www.bcm.edu/people-search/james-pool-28820[12/3/2020 5:05:38 PM]
James L Pool, M.D. | BCM
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                                                                                219-25. Pubmed PMID: 21574788
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                                                                                                                                     Joseph Jankovic, M.D.
                                                                                                                                     Professor
                                                                                                                                     713-798-
                                                                                                                                     6556
                                                                                                                                        Request Clinical Appointment
                                                                                 Email
                                                                                 pdcmdc@bcm.edu
                                                                                 Positions
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Joseph Jankovic, M.D. | BCM
                                                                                         Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 20 of 108
                                                                             Professor
                                                                             Neurology
                                                                             Baylor College of Medicine
                                                                             Distinguished Chair in Movement Disorders
                                                                             Baylor College of Medicine
                                                                             Director
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                                                                             Parkinson's Disease Center and Movement Disorders Clinic
                                                                             Baylor College of Medicine
                                                                             Director, Centers of Excellence
                                                                             National Parkinson Foundation
                                                                             Huntington's Disease Society of America Tourette Syndrome Association
                                                                             Program Director
                                                                             Movement Disorders Fellowship
                                                                             Baylor College of Medicine
                                                                             Addresses
                                                                             Parkinson's Disease Center and Movement Disorders Clinic (Clinic)
                                                                             Baylor College of Medicine Medical Center
                                                                             7200 Cambridge St., 9th Floor, MS: BCM609
                                                                             Houston, TX 77030
                                                                             United States
                                                                             (713) 798-2273
                                                                             Neurology Site
                                                                             Education
                                                                             MD from University of Arizona College of Medicine
                                                                             06/1973 - Tucson, Arizona United States
                                                                             Internship at Baylor College of Medicine
                                                                             06/1974 - Houston, Texas United States
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Joseph Jankovic, M.D. | BCM
                                                                                        Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 21 of 108
                                                                             Internal Medicine
                                                                             Residency at The Neurological Institute, Columbia University
                                                                             06/1977 - New York, NY United States
                                                                             Neurology
                                                                             Certifications
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                                                                             American Board of Psychiatry and Neurology, Neurology
                                                                             Honors & Awards
                                                                             Past President
                                                                             International Parkinson and Movement Disorder Society (01/1994 - 01/1996)
                                                                             Honorary Member
                                                                             American Neurological Association Australian Association of Neurologists European Federation of
                                                                             Neurological Societies French Neurological Society International Parkinson and Movement Disorder
                                                                             Society
                                                                             Great Teacher Award
                                                                             National Institutes of Health
                                                                             Movement Disorders Research Award
                                                                             Sponsored by the Parkinson's Disease Foundation
                                                                             American Academy or Neurology
                                                                             Distinguished Service Award
                                                                             National Parkinson Foundation
                                                                             Guthrie Family Humanitarian Award
                                                                             Huntington’s Disease Society of America
                                                                             Lifetime Achievement Award
                                                                             Tourette Syndrome Association
                                                                             Distinguished Service Award
                                                                             Dystonia Medical Research Foundation
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Joseph Jankovic, M.D. | BCM
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                                                                             Distinguished Faculty Award
                                                                             Baylor College of Medicine Alumni Association
                                                                             Fulbright and Jaworski Faculty Excellence Award
                                                                             Baylor College of Medicine
                                                                             Master Clinician Lifetime Award
                                                                             Baylor College of Medicine
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                                                                             Past President
                                                                             International Neurotoxin Association (01/2015 - 12/2017)
                                                                             Professional Interests
                                                                                Neurology
                                                                                Movement Disorders
                                                                                Parkinson's Disease and related neurodegenerative disorders
                                                                                Tremors
                                                                                Dystonia
                                                                                Tics
                                                                                Tourette's syndrome
                                                                                Chorea
                                                                                Huntington's disease
                                                                                Restless leg syndrome
                                                                                Tardive dyskinesias
                                                                                Paroxysmal dyskinesias
                                                                                Ataxia
                                                                             Professional Statement
                                                                             Joseph Jankovic, M.D. is Professor of Neurology, Distinguished Chair in Movement Disorders, and
                                                                             Founder and Director of the Parkinson's Disease Center and Movement Disorders Clinic (PDCMDC),
                                                                             Department of Neurology, Baylor College of Medicine, Houston, Texas. After completing his
                                                                             Neurology training at Columbia University, New York City, he joined the faculty of Baylor College of
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Joseph Jankovic, M.D. | BCM
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                                                                             Medicine in 1977. Since that time he has led clinical and research team that focuses on etiology,
                                                                             pathophysiology, and experimental therapeutics of Parkinson’s disease and related
                                                                             neurodegenerative and movement disorders such as tremors, dystonia, Tourette syndrome,
                                                                             Huntington disease, restless legs syndrome, tardive dyskinesia, and paroxysmal dyskinesias. Under
                                                                             the direction of Dr. Jankovic the PDCMDC has been recognized as "Center of Excellence" by the
                                                                             Parkinson’s Foundation, the Huntington Disease Society of America, the Tourette Association of
                                                                             America, and the Wilson Disease Association.
                                                                             Past president of the International Parkinson and Movement Disorder Society and of the International
                                                                             Neurotoxin Association, Dr. Jankovic is the recipient of many awards including the American
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                                                                             Academy of Neurology Movement Disorders Research Award, First National Parkinson Foundation
                                                                             Distinguished Service Award, Huntington’s Disease Society of America Guthrie Family Humanitarian
                                                                             Award, Tourette Syndrome Association Lifetime Achievement Award, Dystonia Medical Research
                                                                             Foundation Distinguished Service Award, Benign Essential Blepharospasm Research Foundation
                                                                             Award, and Lifetime Achievement Award from the International Neurotoxin Association,
                                                                             Dr. Jankovic has published over 1,200 original articles and over 55 books, is included among “Highly
                                                                             Cited Researchers”, and has been ranked #1 expert in the world in movement disorders and in
                                                                             botulinum toxins (http://expertscape.com/).
                                                                             He has served as the principal investigator in hundreds of clinical trials and his pioneering research
                                                                             on drugs for parkinsonian disorders and hyperkinetic movement disorders has led to their approval by
                                                                             the Food and Drug Administration. Dr. Jankovic is current or past member of many scientific and
                                                                             medical advisory boards and has served on the executive scientific advisory boards of the Michael J.
                                                                             Fox Foundation for Parkinson’s Research and the National Parkinson Foundation. Dr. Jankovic has
                                                                             mentored numerous fellows and other trainees many of whom have become leaders in the field of
                                                                             neurology and movement disorders. For further information visit www.jankovic.org.
                                                                             Websites
                                                                             Parkinson's Disease Center and Movement Disorders Clinic
                                                                             In the News
                                                                             Dr. Jankovic's Bibliography
                                                                             Comprehensive list of publications and presentations
                                                                             Dr. Jankovic's Research
                                                                             VIICTR Research Database
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Joseph Jankovic, M.D. | BCM
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                                                                             Videos
                                                                             Joseph Jankovic, M.D. - Giving Life to Possible
                                                                             Joseph Jankovic, M.D. is board certified in psychiatry and neurology specializing in movement
                                                                             disorders and Parkinson's disease. His clinical interests include: movement disorders, Parkinson's
                                                                             disease and related neurodegenerative disorders.
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Melissa Michelle Yu, M.D., FAAN | BCM
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                                                                                               Baylor College of Medicine        Find a Person         Melissa Yu
                                                                                                                                      Melissa Michelle Yu, M.D.,
                                                                                                                                      FAAN
                                                                                                                                      Associate
                                                                                                                                      Professor
                                                                                                                                      713-798-
                                                                                                                                      2273
                                                                                                                                         Request Clinical Appointment
                                                                                 Positions
                                                                                 Associate Professor
                                                                                 Neurology
                                                                                 Baylor College of Medicine
https://www.bcm.edu/people-search/melissa-yu-33620[12/3/2020 5:00:32 PM]
Melissa Michelle Yu, M.D., FAAN | BCM
                                                                                       Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 28 of 108
                                                                             Associate Medical Director
                                                                             Baylor Clinic
                                                                             Neurology
                                                                             Baylor College of Medicine
                                                                             Associate Director, Clinical Operations
                                                                             Alzheimer's Disease and Memory Disorders Center
                                                                             Baylor College of Medicine
                                                                             Houston, Texas
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                                                                             Faculty Senator
                                                                             Baylor College of Medicine
                                                                             Houston, Texas United States
                                                                             Physician Informaticist
                                                                             Baylor College of Medicine
                                                                             Addresses
                                                                             Baylor Neurology - Alzheimer's Disease and Memory Disorders Center (Clinic)
                                                                             7200 Cambridge St., 9th Floor
                                                                             McNair Campus
                                                                             Houston, TX 77030
                                                                             United States
                                                                             (713) 798-4734
                                                                             https://www.bcm.edu/healthcare/care-centers/neurology
                                                                             Education
                                                                             MD from Mt. Sinai School of Medicine
                                                                             05/2000 - New York City, New York United States
                                                                             Internship at St. Luke's-Roosevelt Hospital Center
                                                                             06/2001 - New York City, New York United States
                                                                             Internal Medicine
                                                                             Residency at Baylor College of Medicine
                                                                             06/2004 - Houston, Texas United States
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Melissa Michelle Yu, M.D., FAAN | BCM
                                                                                         Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 29 of 108
                                                                             Neurology
                                                                             Graduate Certificate at Jesse H. Jones Graduate School of Management of Rice University
                                                                             03/2014 - Houston, Texas United States
                                                                             Healthcare Management
                                                                             Graduate Certificate at University of Texas, School of Biomedical Informatics
                                                                             12/2016 - Houston, Texas United States
                                                                             Healthcare Informatics
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                                                                             Certifications
                                                                             Neurology
                                                                             American Board of Psychiatry and Neurology
                                                                             Clinical Informatics
                                                                             American Board of Preventive Medicine
                                                                             Professional Interests
                                                                                Memory disorders
                                                                                Healthcare Management
                                                                                Electronic Medical Records
                                                                                Process Improvement
                                                                                Quality Improvement
                                                                                Healthcare Informatics
                                                                             Memberships
                                                                             American Academy of Neurology
                                                                             Languages
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                                                                               Find a Physician                             National School of Tropical Medicine
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                                                                                                                            Financial Aid
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                                                                               Faculty Labs                                 Global Outreach
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                                                                               Research Offices
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Michele K York, Ph.D., ABPP-CN | BCM
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                                                                             !      COVID-19 Response
                                                                                    Access our COVID-19 Response homepage, with more information and resources during the COVID-19
                                                                                    pandemic, including what to do if you’re experiencing symptoms.
                                                                                 Healthcare       Education        Research          Community          About
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                                                                                              Baylor College of Medicine        Find a Person         Michele York
                                                                                                                                     Michele K York, Ph.D.,
                                                                                                                                     ABPP-CN
                                                                                                                                     Professor
                                                                                                                                     713-798-
                                                                                                                                     8673
                                                                                                                                        Request Clinical Appointment
                                                                                 Email
                                                                                 myork@bcm.edu
                                                                                 Positions
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Michele K York, Ph.D., ABPP-CN | BCM
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                                                                             Professor
                                                                             Neurology and Psychiatry and Behavioral Sciences
                                                                             Baylor College of Medicine
                                                                             Head
                                                                             Section of Neuropsychology
                                                                             Baylor College of Medicine
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                                                                             Addresses
                                                                             Baylor College of Medicine Medical Center (Clinic)
                                                                             7200 Cambridge St., 9th Floor
                                                                             Houston, TX 77030
                                                                             United States
                                                                             (713) 798-8673
                                                                             Education
                                                                             Internship at Baylor College Of Medicine
                                                                             01/2000 - Houston, Texas United States
                                                                             Clinical Psychology
                                                                             PhD from Vanderbilt University
                                                                             01/1998 - Nashville, Tennessee United States
                                                                             MA from Vanderbilt University
                                                                             01/1996 - Nashville, Tennessee United States
                                                                             BA from Vanderbilt University
                                                                             01/1993 - Nashville, Tennessee United States
                                                                             Certifications
                                                                             Clinical Neuropsychology
                                                                             American Board of Professional Psychology
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Michele K York, Ph.D., ABPP-CN | BCM
                                                                                           Case 3:20-cr-00371-WHA Document 64-2 Filed 12/08/20 Page 35 of 108
                                                                             Honors & Awards
                                                                             Fulbright and Jaworski LLP Faculty Excellence Award for Teaching and Evaluation
                                                                             Baylor College of Medicine (01/2012)
                                                                             Fulbright and Jawroski LLP Faculty Excellence Award for Enduring Materials
                                                                             Baylor College of Medicine (09/2012)
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                                                                             Norton Rose Fulbright LLP Faculty Education Award for Teaching and Evaluation
                                                                             Baylor College of Medicine (09/2018)
                                                                             Norton Rose Fulbright LLP Faculty Education Award for Enduring Materials
                                                                             Baylor College of Medicine (01/2019)
                                                                             Star Award for Clinical Excellence
                                                                             Baylor College of Medicine (01/2019)
                                                                             Websites
                                                                             VIICTR Publications List
                                                                             Neuropsychology
                                                                             In the News
                                                                             Dr. York's Bibliography
                                                                             Comprehensive list of publications and presentations
                                                                             Download CV
                                                                             Selected Publications
                                                                                Hack N, Akbar U, Thompson-Avila A, Fayad SM, Hastings EM, Moro E, et al "Impulsive and
                                                                                Compulsive Behaviors in Parkinson Study Group (PSG) Centers Performing Deep Brain
                                                                                Stimulation Surgery." J Parkinsons Dis. 2014 January 1; 4 (4): 591-8. Pubmed PMID: 25035311
                                                                                Rothlind JC, York MK, Carlson K, Luo P, Marks WJ, Jr, et al "Neuropsychological changes
                                                                                following deep brain stimulation surgery for Parkinson's disease: comparisons of treatment at
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Michele K York, Ph.D., ABPP-CN | BCM
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                                                                                pallidal and subthalamic targets versus best medical therapy." J Neurol Neurosurg Psychiatry.
                                                                                2014 September 2; : Pubmed PMID: 25185211
                                                                                Fridley J, Adams G, Sun P, York M, Atassi F, Lai E, et al "Effect of subthalamic nucleus or globus
                                                                                pallidus interna stimulation on oculomotor function in patients with Parkinson's disease."
                                                                                Stereotact Funct Neurosurg. 2013 91 (2): 113-21. Pubmed PMID: 23343617
                                                                                Calleo J, Burrows C, Levin H, Marsh L, Lai E, York MK "Cognitive rehabilitation for executive
                                                                                dysfunction in Parkinson's disease: application and current directions.." Parkinsons Dis. 2012
                                                                                2012 : 512892. Pubmed PMID: 22135762
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                                                                             Show 34 more selected publications
                                                                             Memberships
                                                                             Academy of Distinguished Educators
                                                                             Member (01/2012)
                                                                             American Academy of Neurology
                                                                             Movement Disorders Society
                                                                             International Neuropsychological Society
                                                                             Parkinson Study Group
                                                                             American Congress of Rehabilitation Medicine
                                                                             Co-Chair Elect (09/2018)
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                                                                             Specialties                                 Programs & Admissions
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                                                                            1   Jason Varnado (State Bar No. 211067)              Kathryn Keneally (appearance pro hac vice)
                                                                                jvarnado@jonesday.com                             New York State Bar No. 1866250
                                                                            2   JONES DAY                                         kkeneally@jonesday.com
                                                                                717 Texas, Suite 3300                             JONES DAY
                                                                            3   Houston, TX 77002                                 250 Vesey Street
                                                                                Telephone +1-832-239-3939                         New York, NY 10281-047
                                                                            4   Facsimile +1-832-239-3600                         Telephone: +1-212-326-3939
                                                                                                                                  Facsimile: +1-212-755-7306
                                                                            5   Neal J. Stephens (State Bar No. 152071)
                                                                                nstephens@jonesday.com
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                                                                            6   Vincent Doctor (State Bar No. 319408)
                                                                                vdoctor@jonesday.com
                                                                            7   JONES DAY
                                                                                1755 Embarcadero Road
                                                                            8   Palo Alto, CA 94303
                                                                                Telephone: +1.650.739.3939
                                                                            9   Facsimile: +1.650.739.3900
                                                                           10   Attorneys for Defendant
                                                                                ROBERT T. BROCKMAN
                                                                           11
                                                                                                               UNITED STATES DISTRICT COURT
                                                                           12
                                                                                                          NORTHERN DISTRICT OF CALIFORNIA
                                                                           13
                                                                                                                  SAN FRANCISCO DIVISION
                                                                           14
                                                                           15
                                                                                UNITED STATES OF AMERICA,                          Case No. 3.20-cr-00371-WHA
                                                                           16
                                                                                                  Plaintiff,                       DECLARATION OF JAMES L. POOL,
                                                                           17                                                      M.D., IN SUPPORT OF ROBERT T.
                                                                                         v.                                        BROCKMAN’S MOTION TO
                                                                           18                                                      TRANSFER PROCEEDINGS
                                                                                ROBERT T. BROCKMAN,
                                                                           19
                                                                                                  Defendant.
                                                                           20
                                                                           21                           DECLARATION OF JAMES L. POOL, M.D.
                                                                           22   I, James L. Pool, M.D., declare as follows:
                                                                           23            1.    I am a Professor in the Departments of Medicine and Pharmacology and a treating
                                                                           24   internal medicine physician at the Baylor College of Medicine, in Houston, Texas, where I hold
                                                                           25   the James L. Pool Presidential Endowed Chair in Clinical Pharmacology.
                                                                           26            2.    I make this Declaration at the request of his counsel in support of Mr. Brockman’s
                                                                           27   Motion to Transfer Proceedings to the United States District Court for the Southern District of
                                                                           28   Texas.
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                                                                            1          3.      Mr. Brockman was referred to me by Dr. Seth P. Lerner (Baylor College of
                                                                            2   Medicine, Department of Urology), who had previously treated Mr. Brockman for bladder cancer.
                                                                            3   I conducted a complete physical examination of Mr. Brockman on December 11, 2018. It
                                                                            4   became evident from my examination that Mr. Brockman was experiencing movement disorders
                                                                            5   and cognitive problems that are consistent with Parkinson’s disease or parkinsonism.
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                                                                            6          4.      I referred Mr. Brockman to three other medical professionals: Joseph Jankovic,
                                                                            7   M.D., a neurologist and specialist in Parkinson’s disease and other movement disorders; Melissa
                                                                            8   Yu, M.D., a neurologist and specialist in Alzheimer’s Disease and other memory disorders; and
                                                                            9   Michele K. York, Ph.D., a neuropsychologist, all with Baylor College of Medicine.
                                                                           10          5.      Each of these doctors provided me with reports following their examinations.
                                                                           11   Their conclusions support that Mr. Brockman presented symptoms that are consistent with
                                                                           12   Parkinson’s Disease, parkinsonism, Lewy body dementia, or some combination. These diagnoses
                                                                           13   cannot be totally confirmed except at autopsy. None of these conditions are curable, and each
                                                                           14   may result in rigid muscles, slow movements, and tremors. All are characterized by progressive
                                                                           15   dementia, and in Mr. Brockman’s case, the medical reports confirm cognitive impairment, which
                                                                           16   includes, but is not limited to, both short and long term memory loss.
                                                                           17          6.      I examined Mr. Brockman again on October 6, 2020. At that time, I conducted
                                                                           18   cognitive tests, and again referred Mr. Brockman to Dr. York for a further battery of tests. The
                                                                           19   results of these examinations confirm that Mr. Brockman’s impairment is progressive.
                                                                           20          7.      At this stage, Mr. Brockman may be oriented in time and place, aware of persons
                                                                           21   in his company, able to engage in social conversation, and capable of functioning in familiar
                                                                           22   tasks. However, Mr. Brockman’s progressive dementia impairs his cognitive ability in several
                                                                           23   respects. These include short term memory limitations. In addition, his condition renders long-
                                                                           24   term memory inaccessible and defective. For these reasons, I concur with the medical position
                                                                           25   that Mr. Brockman cannot assist his attorneys in his defense.
                                                                           26          8.      I understand that Mr. Brockman’s counsel will make a motion for a hearing to
                                                                           27   determine that Mr. Brockman cannot assist in his defense, and that this motion will be supported
                                                                           28   by the medical reports and letters previously provided to them by me, Dr. Jankovic, Dr. Yu, and
                                                                                                                              -2-
                                                                                                                                                Decl. of James L. Pool, M.D. in Support of Mot. to
                                                                                                                                                        Transfer Proceedings 3:20-cr-00371-WHA
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                                                                             1   Dr. York. I also understand that counsel will want to present testimony from each of us to
                                                                             2   explain how we reached our conclusions. We are all based in Houston. Under ordinary
                                                                             3   circumstances, it would be difficult for us to be present for a hearing in San Francisco, where this
                                                                             4   court is located. Under the current circumstances of the COVID-19 pandemic, we would be
                                                                             5   confronted with the increased risk of exposure at a time when the Centers for Disease Control and
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                                                                             6   Prevention and other medical advisors are counseling against travel, the potential need to
                                                                             7   quarantine before and after travel, and the detrimental impact any absence or illness may have on
                                                                             8   our other patients.
                                                                             9          9.      It is also not medically advisable for Mr. Brockman to travel to San Francisco for a
                                                                            10   hearing or for trial. Mr. Brockman is 79 years old and suffers from underlying medical
                                                                            11   conditions that put him at increased risk for severe illness if he were to contract COVID-19.
                                                                            12          10.     Additionally, requiring Mr. Brockman to face legal proceedings in a location
                                                                            13   distant from his home will be disorienting in a manner that could accelerate the deterioration of
                                                                            14   his mental condition. Unfamiliar environments, stimulating surroundings, and changes in routine
                                                                            15   would be especially stressful for a person with Mr. Brockman’s diminished capacity, creating a
                                                                            16   risk to his existing cardiac condition, and could exacerbate the overall progression of his
                                                                            17   symptoms.
                                                                            18          11.     Based on the foregoing, I respectfully submit this Declaration in support of Mr.
                                                                            19   Brockman’s Motion to Transfer Proceedings to the United States District Court for the Southern
                                                                            20   District of Texas.
                                                                            21          12.     I declare under penalty of perjury that the foregoing is true and correct.
                                                                            22
                                                                            23   Executed in Houston, Texas on November 25, 2020.
                                                                            24
                                                                            25
                                                                            26
                                                                                                                                       James
                                                                                                                                       J mes L. Pool, M.D.
                                                                                                                                       Ja
                                                                            27
                                                                            28
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                                                                                                                                                  Decl. of James L. Pool, M.D. in Support of Mot. to
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                                                                                                                   Joseph Jankovic, MD
                                                                                               Professor of Neurology, Distinguished Chair in Movement Disorders
                                                                                               Director, Parkinson’s Disease Center and Movement Disorders Clinic
                                                                                                    Director, Center of Excellence for Parkinson’s Foundation
                                                                                                               and Tourette Association of America
                                                                                                Parkinson's Disease Center and Movement Disorders Clinic
                                                                                                     7200 Cambridge Street, 9th Floor, Suite 9A ඵ,ŽƵƐƚŽŶ͕dĞǆĂƐϳϳϬϯϬ
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                                                                            January 14, 2020
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                                                                            Kathryn Keneally
                                                                            Jones Day
                                                                            250 Vesey Street
                                                                            New York, NY 10281
                                                                            Re:    Robert Theron Brockman
                                                                            Dear Ms. Keneally:
                                                                            You have asked me to provide this letter for inclusion in a presentation that you plan to
                                                                            make to the U.S. Department of Justice on the issue of Robert Theron Brockman’s
                                                                            cognitive impairment. You have let me know that you have reviewed the report that I
                                                                            prepared with regard to my examination of Mr. Brockman dated January 30, 2019, and
                                                                            that you will also be providing that report to the Department of Justice.
                                                                            Specifically, I understand that you are asking whether Mr. Brockman can assist you in
                                                                            preparing a legal defense. It is my view that his cognitive impairment will prevent him
                                                                            from doing so.
                                                                            My report discusses my diagnosis of Parkinson’s disease or vascular parkinsonism.
                                                                            Based on my examination, and my understanding of subsequent examinations
                                                                            conducted by Dr. Melissa Yu and Dr. Michele York, I concur that Mr. Brockman has
                                                                            dementia.
                                                                            Dr. Yu and Dr. York report that Mr. Brockman’s symptoms support a diagnosis of Lewy
                                                                            body dementia. While I understand their reasoning, during my examination Mr.
                                                                            Brockman denied experiencing hallucinations, which are a hallmark indicator of Lewy
                                                                            body dementia. Notably there is no test that can be administered prior to autopsy that
                                                                            can confirm a diagnosis of either Parkinson’s disease or Lewy body dementia.
                                                                            It is characteristic that a person with dementia, such as Mr. Brockman, will be unable to
                                                                            recall information that is needed to respond accurately when asked questions. As a
                                                                            result of Mr. Brockman’s cognitive impairment, he has trouble accessing information
                                                                            and making connections between questions that he is being asked and his recollection
                                                                            of events. It is a characteristic of this dementia that Mr. Brockman may engage in
                                                                            confabulation, in which the brain will attempt to fill in missing information, causing him to
                                                                            sometimes make up stories or provide information about something that has not
                                                                            occurred. Confabulation differs from prevarication or lying. Confabulation is a symptom
                                                                            of cognitive impairment, and is not voluntary. A cognitively impaired person who
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                                                                            engages in confabulation will believe that he is reporting truthfully. A person with Mr.
                                                                            Brockman’s cognitive impairment may appear to be engaged in a normal discussion,
                                                                            but any information that he may provide may be partial and not complete or accurate.
                                                                            In summary, Mr. Brockman’s dementia leaves him unable to provide accurate
                                                                            information about past events.
                                                                            Sincerely,
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                                                                            Joseph Jankovic, MD
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                                                                                                                                                                        Michele K. York, PhD, ABPP-CN
                                                                                                                                                                     Board Certified Clinical Neuropsychologist
                                                                                                                                                                                             Associate Professor
                                                                                                                                                                                  Department of Neurology
                                                                                                 CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION
                                                                            Patient Name:                 Robert Brockman
                                                                            Date of Birth (Age):                      (78 yr.)
                                                                            Date(s) of Evaluation:        12/03/2019
                                                                            Evaluation Location:          BCM Medical Center, McNair Campus, 9th Floor
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                                                                            Referred by:                  James Pool, MD
                                                                            Referral Question:            Independent Neuropsychological Examination
                                                                            BACKGROUND AND REFERRAL INFORMATION
                                                                            Mr. Brockman is a 78 year-old, right-hand dominant, Caucasian male with a two to three-year history of short-
                                                                            term memory loss. The neuropsychological evaluation of his current cognitive, behavioral, and emotional
                                                                            functioning was conducted by request by Kathy Keneally, Partner, Jones Day (New York). The following
                                                                            information was obtained during an interview with Mr. Brockman and his wife, his previous clinical
                                                                            neuropsychological evaluation conducted on 03/01/2019 and limited review of medical records.
                                                                            Declarations: A forensic evaluation differs from a clinical evaluation in that there is no traditional doctor-patient
                                                                            relationship between the psychologist and the person being evaluated. The purpose of the evaluation is to assist
                                                                            Ms. Keneally in defense for Mr. Brockman’s legal tax case; therefore, establishing a treatment relationship would
                                                                            create a potential conflict between the psychologist’s role as an objective evaluator versus an advocate for the
                                                                            patient. Consequently, it is important that a retained expert avoid the role of treatment provider. This standard
                                                                            is mandate by the laws of the State of Texas (Texas Administrative code) as well as the Code of Ethics of the
                                                                            American Psychological Association (2010), and it represents the official position of the National Academy of
                                                                            Neuropsychology (Bush, 2005).
                                                                            Dr. York was retained for a neuropsychological evaluation by Kathy Keneally of Jones Day. As explained above,
                                                                            she is excluded from providing any direct treatment to Mr. Brockman. Consequently, Dr. York’s role was
                                                                            necessarily restricted to that of a forensic consultant rather than a treating doctor in this context. Mr. Brockman
                                                                            was informed of these conditions and consented to the evaluation and to his ability to understand these
                                                                            limitations.
                                                                            Opinions reached in this report are based on direct interview and results of my neuropsychological evaluation and
                                                                            a review of his provided medical records to clarify the timeline of her medical procedures and hospitalizations.
                                                                            These opinions are based on current neuropsychological assessment techniques and research. Opinions are based
                                                                            upon reasonable neuropsychological probability and are subject to modification based on provision of additional
                                                                            information. The data from this evaluation is contained in Dr. York’s confidential files.
                                                                            Previous Neuropsychological Assessment: Mr. Brockman underwent a clinical neuropsychological evaluation
                                                                            with Dr. York on 03/01/2019. His general intellectual functioning (WAIS-IV FSIQ=87) fell within the low average
                                                                            range, which was a decline from his estimated premorbid intellectual functioning in the above average range. His
                                                                            MoCA was 19/30 (total), 6/6 (orientation), and 2/5 (short-term recall), which was significantly below expectation.
                                                                            Mr. Brockman demonstrated borderline impaired to deficient performances on measures of sustained
                                                                            attention/concentration, learning and recall of prose material and a word list, learning and recall of visual material,
                                                                            semantic fluency, executive functions (set shifting, inhibition, working memory, and problem solving), and
                                                                            visuoconstruction. Praxis was impaired for intransitive praxis tasks. These impaired performances were found
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                 Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
                                                                                                                                                                                            Associate Professor
                                                                                                                                                                                 Department of Neurology
                                                                            within the low average to average ranges on measures of basic attention, fund of information, verbal and visual
                                                                            abstract reasoning, verbal fluency and naming, This pattern of neuropsychological performance indicated a
                                                                            dementia of mild to moderate severity characterized by deficits in the areas of visuospatial functioning, verbal
                                                                            and nonverbal episodic memory, and executive functioning, with mild functional declines. Self-report of
                                                                            depression was within normal limits (GDS=8). Self-care ADLs (PSMS) were 7/30 and instrumental ADLs were 9/31.
                                                                            The NPI-Q (severity=8; distress=11) indicated problems with agitation, anxiety, apathy, irritability, nighttime
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                                                                            behaviors, changes in appetite, and depression for an overall minimal level of familial distress, with the exception
                                                                            of his depression and agitation which produced moderate familial distress. He demonstrated movements that
                                                                            were consistent with a parkinsonism disorder. These abnormal movements taken together with his current
                                                                            diagnosis of dementia, and REM Behavior Disorder, his pattern of cognitive impairments was reported as
                                                                            consistent with Dementia with Lewy Bodies (DLB).
                                                                            Current Concerns and General Condition: Mr. Brockman and his spouse participated in the clinical interview. Mr.
                                                                            Brockman reported that his balance has declined over the past year. He has been using a balance board at the
                                                                            Houstonian but is not making any progress. He denied any falls.
                                                                            On direct inquiry, he reported that his tax issues are about a small company that he sold to a family trust in 1981.
                                                                            He noted that the government is “mad at him” but “they don’t say why,” and they want to “confiscate the trust.”
                                                                            He said the government is information gathering and talking to people he used to work with. He is concerned
                                                                            that the company will be “ruined” and this will affect the people who work there. He noted that he is starting to
                                                                            think about who will run the company. He reported that he thinks he can continue to be the chairman.
                                                                            Mrs. Brockman described that her husband’s cognition fluctuates on a daily basis from minute to minute. She
                                                                            described that he has “blank times” that he appears more confused. His wife noted that he was having difficulties
                                                                            at work and she had to help him type all of his employee performance reviews. She reported that he has increased
                                                                            initiation problems. He reported that he does not go into the office as much as he did in March 2019. He noted
                                                                            that it takes him longer to process information at work. His wife described that he sits at work for many, but he
                                                                            does not accomplish his tasks described. His short-term memory has continued to decline, and he is repeating
                                                                            himself more often. He is unable to recall details from his daily activities even later in the day. His procedural
                                                                            memory has also declined as he has forgotten how to tie a tie or to use a remote control for their television. She
                                                                            noted that he does not recall the code to unlock his telephone. He has difficulties completing tasks. His wife drives
                                                                            him to the office. She noted that he has declines in his spelling ability particularly while typing. He is unable to
                                                                            multi-task.
                                                                            Emotional Functioning: Mr. Brockman reported that he began taking Wellbutrin which has improved his mood,
                                                                            but he continues to feel “slightly depressed.” He noted that his diagnosis brings him “more down than before.”
                                                                            He noted that he has realized that “all of sudden I am old.” He denied heightened general anxiety, personality or
                                                                            behavioral changes, suicidal ideation, and auditory hallucinations. Sleep was described as adequate but he is
                                                                            harder to wake up. He is more violently acting out his dreams and has been kicking. He takes trazadone to aid
                                                                            his sleep. He has decreased appetite and has lost 20lbs over the past several months. His wife reported that he
                                                                            began to act out his dreams at least three years ago. He reported that he has floaters in his visual fields. He
                                                                            continued to deny visual hallucinations. It is noted that he had a previous visual illusion described below and a
                                                                            visual hallucination of a bug on the testing room floor that was not present to either the examiner or his wife
                                                                            during his evaluation in March 2019.
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                 Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
                                                                                                                                                                                            Associate Professor
                                                                                                                                                                                 Department of Neurology
                                                                            Previous Cognitive Complaints: Mr. Brockman reported declines in his short-term memory over the past 2 to 3
                                                                            years. He and his wife reported that he is repeating himself, losing possessions, losing his train of thought and is
                                                                            more tangential. He forgets names of new individual and of familiar locations. He also finds it more difficult to
                                                                            complete tasks. His wife noted that he is clumsy getting out of the car and has hit curbs while driving and parking.
                                                                            He has increased difficulties with following directions. His wife noted spelling changes and mild stuttering in his
                                                                            speech. His speech is slowed and he has slowed response latencies. His decision making is also slowed, and he
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                                                                            has difficulties multi-tasking.
                                                                            Medical History: Medical history is remarkable for hypothyroidism, atrial fibrillation, bladder cancer with
                                                                            recurrence, hypercholesteremia, glaucoma (mild), erectile dysfunction, tremor, micrographia, and back problems.
                                                                            He has plantar fasciitis, which reduces his exercise ability. He reported that he was hospitalized for a prostate
                                                                            infection and pericarditis four years ago. He reported an episode of vision changes in which he saw a bar of color
                                                                            on a spectrum that was moving. He noted he had this visual illusion for 20 minutes and then it went away. He
                                                                            was told that he might have had a visual headache. He began taking levodopa in February 2019. His wife noted
                                                                            a mild motor improvement when he first started on the medication, but when the medication was increased, he
                                                                            had increasing clumsiness. Surgical history is notable for tonsillectomy, cataract surgery, and excision of a
                                                                            melanoma. He reported that when he was in the sixth grade he was hit on the top of the head with a hammer
                                                                            and may have suffered a concussion. He did not lose consciousness. Familial medical history is unremarkable for
                                                                            movement disorders or dementia. Psychiatric history is notable for depression. Mr. Brockman denied current
                                                                            use of tobacco or illicit drugs or a remote history of substance misuse/abuse. He quit drinking alcohol two to
                                                                            three years ago secondary to his atrial fibrillation. He denied a history of seizures, TIA/stroke, or migraines.
                                                                            Medications: Wellbutrin 100mg tid, trazodone 50mg at night, Synthyroid .75mg, Eliquis 2.5mg bid, aspirin,
                                                                            carbidopa/levodopa25/100mg 2 tablets tid, stool softener, Exelon 2 patches. He noted that he also takes a
                                                                            regimen of vitamins and supplements.
                                                                            Social History: Mr. Brockman has been married for 50 years, and they have one son. He currently lives with his
                                                                            spouse in their private residence. He earned a BA in Business and attended graduate school for one year in
                                                                            Marketing at The University of Florida. He reported that he was a good student. He is Chairman and CEO of
                                                                            Reynolds and Reynolds Company.
                                                                            REVIEW OF LIMITED MEDICAL RECORDS
                                                                            Dr. Joseph Jankovic Evaluation: Mr. Brockman was evaluated by Dr. Joseph Jankovic on March 13, 2019 for his
                                                                            movement disorder. He was diagnosed with postural instability gait disorder subtype (PIGD) of parkinsonism. Dr.
                                                                            Jankovic noted that because Mr. Brockman denied hallucinations and cognitive fluctuations that he does not meet
                                                                            criteria for DLB; however, he acknowledged that he meets criteria for dementia. Mr. Brockman noted that he was
                                                                            worse physically and mentally despite taking levodopa, with a “zombie-like effect” as described by his wife.
                                                                            Dr. Melissa Yu Evaluation: Mr. Brockman was evaluated by Dr. Melissa Yu on March 20, 2019 for his memory loss.
                                                                            Memory loss was dated to November 2017 in a medical chart note. Dr. Yu medical note stated that a DATSCAN
                                                                            was performed showing significant loss of dopaminergic signal, and he was started on Sinemet and the Exelon
                                                                            patch on 3/13/2019. Anosmia was reported for 10 years. Memory, word finding, and slowed processing speed
                                                                            were reported by his wife and son. His son noted that his father’s cognitive ability fluctuates, with episodes of
                                                                            “blankness” associated with less interaction alternating with improved cognition. His son also noted cognitive
                                                                            fluctuations in his father’s decision making abilities with good and bad days. It was noted that his son has him
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                                   Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                                         Board Certified Clinical Neuropsychologist
                                                                                                                                                                                                             Associate Professor
                                                                                                                                                                                                   Department of Neurology
                                                                            practice clock drawing to test his functioning. Dr. Yu’s differential diagnoses included Dementia with Lewy Bodies
                                                                            or Parkinson’s Disease Dementia. It was noted that the time course and fluctuations in cognition were more
                                                                            suggestive of DLB.
                                                                            BEHAVIORAL OBSERVATIONS: Mr. Brockman was tested during a single session as an outpatient. He arrived on
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                                                                            time and was accompanied by his spouse who participated in the clinical interview. General appearance was neat
                                                                            and clean. The patient exhibited slowed motor behavior and gait and a mild tremor which was notable on
                                                                            drawings but did not interfere with his performances. He evidenced slowed response latencies. His mood was
                                                                            pleasant, but his affect was flat. Eye movements were normal. Vision (with corrective lenses) and hearing were
                                                                            adequate for the testing session. Conversational speech was coherent but was tangential in conversational
                                                                            speech. There was no evidence of paraphasias. His cognition tended to fluctuate throughout the testing session.
                                                                            He appeared to be confused at times even in the middle of tasks that he originally was completing accurately. He
                                                                            showed mildly decreased ability to follow directions, and he occasionally needed repetition of directions and lost
                                                                            place during set task. He exhibited cooperative test-taking behavior. His attitude towards the examiner was
                                                                            appropriate and friendly. He tended to minimize his cognitive impairments. He passed several embedded and
                                                                            stand-alone measures of performance validity; therefore, the following results are thought to be an accurate
                                                                            estimation of his current cognitive abilities.
                                                                            MEASURES ADMINISTERED
                                                                            Montréal Cognitive Assessment (MoCA); Caregiver Neuropsychiatric Inventory (NPI-Q); Clock Drawing Test;
                                                                            Controlled Oral Word Association Test (COWAT version: FAS); General Anxiety Disorder 7-item Scale; Geriatric
                                                                            Depression Scale; Hopkins Verbal Learning Test-Revised (HVLT-R); Neuropsychological Assessment Battery (NAB
                                                                            subtests: Daily Living Memory-Delayed, Daily Living Memory-Immediate, Daily Living Memory-Recognition,
                                                                            Naming, Numbers and Letters, and Visual Discrimination); Praxis Examination; Rey Complex Figure Test-Meyers
                                                                            Version; Semantic Verbal Fluency Test; Stroop Color-Word Interference Test (Stroop subtests: Color, Color-Word,
                                                                            and Word); Trail Making Test (TMT subtest: Trails A); Verbal Series Attention Test (VSAT); Wechsler Adult
                                                                            Intelligence Scale-IV (WAIS-IV subtests: Arithmetic, Coding, Digit Span, Information, Similarities, and Visual
                                                                            Puzzles); Wechsler Memory Scale-4th Edition (WMS-IV subtests: Logical Memory II-Older Adult, Logical Memory
                                                                            I-Older Adult, Logical Memory Recognition-Older Adult, Visual Reproduction I, Visual Reproduction II, and Visual
                                                                            Reproduction Recognition); Wide Range Achievement Test (WRAT-4 subtest: Math Computation); Wisconsin Card
                                                                            Sorting Test (WCST); Instrumental Activities of Daily Living Scale (IADLS); Lawton and Brody Physical Self-
                                                                            Maintenance Scale (PSMS). Clinical Interview with patient and his spouse.
                                                                            Mr. Brockman did not complete the Trail Making Test (TMT subtest: Trails B) measure as he was unable to
                                                                            comprehend task instructions and maintain task set independently. Informant questionnaires were completed
                                                                            by the patient's spouse.
                                                                            NEUROPSYCHOLOGICAL FINDINGS
                                                                            The following clinical descriptors identify performance with the range of Standard Scores (average=100, standard deviation=15) indicated in parentheses:
                                                                            Very Superior (>130), Superior (120-129), High Average (110-119), Average, (90-109), Low Average (80-89), Borderline (70-79), and Deficient (<69). For
                                                                            diagnostic purposes, a cognitive deficit is considered a performance score that is >1.5 standard deviations away from the mean in the direction of poor
                                                                            performance compared to the reference group for that measure (i.e., Z-score) based on peers of similar age, gender, and education background as
                                                                            appropriate. This criterion is equivalent to a Standard Score <78, T-score <35, or a Scaled Score of <5).
                                                                            Mental Status: Evaluation of Mr. Brockman's general mental status on the MoCA revealed a score of 19/30, which
                                                                            is moderately below expectation. He was fully oriented (6/6). He demonstrated difficulties with set shifting,
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                 Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
                                                                                                                                                                                            Associate Professor
                                                                                                                                                                                 Department of Neurology
                                                                            visuospatial construction, sustained attention, repeating one sentence, serial subtractions, and with verbal
                                                                            fluency. He did not recall any words (0/5) and was not aided by category cueing. He was aided by multiple choice
                                                                            cueing for 4/5 words.
                                                                            Intellectual: Mr. Brockman was administered subtests from a measure of general intellectual functioning (WAIS-
                                                                            IV) and obtained scores ranging from low average to high average yielding a pro-rated Full Scale IQ estimate of
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                                                                            96, which is in the average range.
                                                                            Attention/Concentration: Attention and mental tracking for overlearned verbal sequences was deficient for
                                                                            speed and for accuracy. Immediate auditory attention span for digits was average with 6 digits forward, 4 digits
                                                                            backward, and 5 digits when re-ordering them in ascending sequence. Speed of single word reading and speed of
                                                                            color naming were deficient. Mental processing speed for manual code transcription was low average.
                                                                            Performance on a simple visual-motor sequencing task requiring scanning and mental tracking was deficient with
                                                                            0 errors. Written math computation revealed a 5.6 grade equivalent. It is noted that he was unable to perform
                                                                            simple addition, multiplication and division arithmetic problems (e.g., 3X4=7, 14/3).
                                                                            Executive: Mr. Brockman's ability to inhibit a dominant verbal response in the face of incongruent visual stimuli
                                                                            was borderline impaired. His abstract verbal reasoning was average. Working memory to perform mental
                                                                            arithmetic was average. Performance on a complex visual-motor sequencing task requiring scanning, tracking,
                                                                            and set-shifting was impaired and the task was discontinued as he was unable to comprehend the task instructions
                                                                            and he was unable to set shift independently. Performance on a novel task of problem-solving and hypothesis
                                                                            testing fell in the low average range (11-16th percentile) with 1 correct category achieved by the end of the task.
                                                                            He made numerous “Other” responses that did not match to any of the 3 possible correct categories. He lost set
                                                                            one time and had to be reminded of the instructions after each card so that he would not match to the wrong set
                                                                            of cards. His performance fluctuated during this task.
                                                                            Memory: Recall of culturally-based general knowledge was high average. Immediate recall of verbally presented
                                                                            contextual material was average (SS=8). Delayed recall of the stories was low average (SS=7). Retention of initially
                                                                            learned material was 50.0%. Recognition memory was average (16/23). Incremental learning for a semantically-
                                                                            categorized word list across 3 trials was deficient (1, 4, and 4 words per trial), and delayed recall was in the
                                                                            deficient range with 25.0% retention which falls within the deficient range. On recognition memory assessment,
                                                                            10/12 target words were correctly identified, 3 false positive errors were committed, with discrimination accuracy
                                                                            in the borderline impaired range.
                                                                            Immediate recall of basic geometric figures was borderline impaired (SS=4). Delayed recall of the designs was
                                                                            deficient (SS=2). Retention of the initially learned material was 0.0%. Recognition memory was average (2/7).
                                                                            Language: Lexical fluency was borderline impaired with between 5 to 8 words per trial. Semantic fluency was
                                                                            low average with 14 exemplars generated. Confrontation naming of pictured objects was average (NAB Form 1;
                                                                            29/31). He made an error of transitive limb praxis which was improved with imitation
                                                                            Visual-Perceptual: His drawing of a complex geometric design scored in the low average range. He demonstrated
                                                                            a mild tremor but it did not interfere with his drawing ability. He maintained the overall gestalt but he distorted
                                                                            or omitted several of the internal details. His spatial reasoning ability to mentally arrange puzzle pieces was low
                                                                            average. Visuoconceptual ability to draw a clock was within normal limits to command (CDT=10/10) and impaired
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                 Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
                                                                                                                                                                                            Associate Professor
                                                                                                                                                                                 Department of Neurology
                                                                            when copying a model (CDT=8/10). He drew the clock face and began placing the numbers accurately but then
                                                                            the numbers ended in the middle of the clock face. He placed the hands accurately to where he drew the numbers.
                                                                                Examples of visuospatial performances highlighting Mr. Brockman’s fluctuating cognitive functioning.
                                                                                                                Rey Complex Figure Test – Copy of a Design
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                                                                                            03/01/2019                                                                12/03/2019
                                                                                                                                 Clock Drawing
                                                                                            03/01/2019                                                                12/03/2019
                                                                            Mood / Personality: On a self-report measure of anxiety, his responses fell in the minimal range (GAD-7=4/21).
                                                                            On a face valid measure used to assess cognitive, emotional and physical symptoms of depression, Mr. Brockman
                                                                            endorsed the following, suggestive of probable depression (GDS=19): presently unsatisfied with life, terminating
                                                                            activities and/or lack of interest, lack of hope regarding the future, ruminating thoughts, feeling as though
                                                                            something negative is going to occur, unhappiness, helplessness, preferring to stay home, worry about the future,
                                                                            declines in memory, downhearted and blue, lack of excitement for life, difficulty beginning new projects, poor
                                                                            energy, hopelessness, difficulties with concentration, difficulties with decision making, and general declines in
                                                                            thinking skills.
                                                                            Activities of Daily Living: His spouse served as the informant completing a questionnaire regarding the patient's
                                                                            ability to complete basic and instrumental activities of daily living. Mr. Brockman reportedly has difficulties with
                                                                            self-care ADLs (PSMS=7/30). It was noted that he is constipated and goes to the restroom every half hour; he
                                                                            eats, dresses, grooms, and bathes very slowly. He requires assistance with ambulation. He requires assistance
                                                                            with instrumental activities of daily living (IADLs=14/31) including telephone use, shopping, food preparation,
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                 Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
                                                                                                                                                                                            Associate Professor
                                                                                                                                                                                 Department of Neurology
                                                                            transportation, and finances. His wife noted that he seldom uses his phone. He fluctuates in his ability to handle
                                                                            money even with day-to-day expenses. She has to remind him to take his medications, and if she does not then
                                                                            she notices that he has forgotten to take doses.
                                                                            Neurobehavioral: The patient's spouse completed an inventory assessing for the presence of neurobehavioral
                                                                            symptoms commonly associated with dementia, reportedly observing mild problems with disinhibition and motor
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                                                                            disturbance and moderate problems with agitation, depression, apathy, irritability, nighttime behaviors, and
                                                                            changes in appetite (NPI-Q severity=12; distress=25) which produce an overall moderate to extreme level of
                                                                            familial distress.
                                                                            SUMMARY AND IMPRESSION
                                                                            Mr. Brockman is a 78 year-old, right-hand dominant, Caucasian male who underwent an independent
                                                                            neuropsychological evaluation as a component of a forensic evaluation. The factual matters stated in this report
                                                                            are, as far as I know, true, and the opinions in the report are genuinely held by me and the report contains
                                                                            reference to all matters I consider significant.
                                                                            It is this examiner’s opinion based on the testing conducted and behavioral observations that Mr. Brockman was
                                                                            putting forth full effort and was not exaggerating or embellishing the nature and extent of his cognitive
                                                                            impairment. It is noted that neuropsychological tests were chosen to best assess Mr. Brockman’s cognitive
                                                                            abilities. The testing environment was optimal and the following results are considered a valid estimate of his
                                                                            current neuropsychological and emotional status.
                                                                            Mr. Brockman currently operates in the average range of general intellectual functioning (WAIS-IV FSIQ=96),
                                                                            which is a significant decline from his estimated premorbid intellectual functioning in the high average range
                                                                            (TOPF=114, from March 2019 evaluation). His MoCA was 19/30 (total), 6/6 (orientation), and 0/5 (short-term
                                                                            recall), which is moderately impaired. Self-care ADLs (PSMS) were 7/30 and instrumental ADLs were 14/30, and
                                                                            his wife indicated a significant decline in his functional ability.
                                                                            Self-report of depression was elevated (GDS=19), but he did not endorse elevated levels of anxiety (GAD-7=4).
                                                                            The NPI-Q completed by his wife (severity=12; distress=25) indicated problems with disinhibition, motor
                                                                            disturbance, agitation, depression, apathy, irritability, nighttime behaviors, and changes in appetite for an overall
                                                                            moderate to extreme level of familial distress.
                                                                            Mr. Brockman demonstrated borderline impaired to deficient performances on measures of oral and written
                                                                            processing speed, executive functions (including working memory, problem solving, inhibition, set shifting, and
                                                                            verbal fluency), learning and recall of a word list, learning and recall of visual material, and basic visuospatial
                                                                            functioning. His intellectual functioning subtest scores remained within the broadly average range (low average
                                                                            to high average). It is noted that his verbal memory was aided by context with average learning of a story, but he
                                                                            only retained 50% of the material he originally learned after a brief delay (low average). His written arithmetic
                                                                            performance was a 5.6 grade equivalent with difficulties noted in performing basic addition, multiplication and
                                                                            division problems. His basic attention and language (naming and semantic fluency) performances were average.
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                 Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
                                                                                                                                                                                            Associate Professor
                                                                                                                                                                                 Department of Neurology
                                                                            Comparison with prior results obtained on 03/01/2019 revealed the following pattern of interim changes:
                                                                            Declines were found in the areas of:
                                                                               x Verbal fluency (low average to borderline impaired)
                                                                               x Graphomotor sequencing (borderline impaired to deficient)
                                                                               x Learning of a word list (borderline impaired to deficient)
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                                                                               x Decreased functional abilities
                                                                            Improvements were found in the areas of:
                                                                               x Sequencing of digits (deficient to average)
                                                                               x Learning and recall of contextual information (deficient to average and low average with only 50%
                                                                                   retention)
                                                                                x  Clock drawing (impairments remain)
                                                                                x  Visuospatial construction of a complex figure
                                                                            It is noted that Mr. Brockman’s cognition fluctuated significantly throughout the evaluation. He demonstrated
                                                                            improvements on a few measures; however, during several tasks, he became more confused and demonstrated
                                                                            a blank stare expression. These fluctuations were more apparent during this evaluation as compared to his
                                                                            previous evaluation in March 2019. Mr. Brockman’s pattern of neuropsychological performance indicates a
                                                                            dementia of mild to moderate severity characterized by deficits in the areas of verbal and nonverbal episodic
                                                                            memory, processing speed, executive functioning, and visuospatial functioning with significant functional
                                                                            declines. Mr. Brockman’s current cognitive pattern and his parkinsonism, taken together with his dementia at the
                                                                            time of diagnosis of his movement disorder, cognitive fluctuations, and REM Behavior Disorder are consistent with
                                                                            a diagnosis of Dementia with Lewy Bodies (DLB). Visual hallucinations are a hallmark of DLB; however, up to 30%
                                                                            of patients with DLB do not demonstrate visual hallucinations particularly at the early stages of the disorder. Mr.
                                                                            Brockman reported a previous visual illusion and a mild visual hallucination was present during neuropsychological
                                                                            testing in March 2019, which further supports this diagnosis. His dementia falls under the diagnostic category of
                                                                            Lewy Body Dementias.
                                                                            Based on the current cognitive findings, his diagnosis of dementia, and the breadth and severity of his cognitive
                                                                            impairments and fluctuations, it is my opinion that Mr. Brockman is unable to participate and aid in his own
                                                                            defense. He is unable to recall and demonstrate a thorough understanding of the relevant elements of the issues
                                                                            surrounding the case and manipulate this information in a logical manner that will allow him to make comparisons
                                                                            and weigh his options.
                                                                            ____________________________________
                                                                            Michele K. York, PhD, ABPP-CN
                                                                            Board Certified Clinical Neuropsychologist
                                                                            TX License #31159
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                                                                                              Error!                                                                   Michele K. York, PhD, ABPP-CN
                                                                                              Filename not                                                          Board Certified Clinical Neuropsychologist
                                                                                              specified.                                                                                             Professor
                                                                                                                                                                                Department of Neurology
                                                                                                 CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION
                                                                            Patient Name:                Robert Brockman
                                                                            Date of Birth (Age):                     (79 yr.)
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                                                                            Date(s) of Evaluation:       10/07/2020
                                                                            Evaluation Location:         BCM Medical Center, McNair Campus, 9th Floor
                                                                            Referred by:                 James Pool, MD/Kathy Keneally, Jones Day
                                                                            Referral Question:           Independent Neuropsychological Examination
                                                                            BACKGROUND AND REFERRAL INFORMATION
                                                                            Mr. Brockman is a 79 year-old, right-hand dominant, Caucasian male with a three to four-year history of cognitive
                                                                            and behavioral decline. The neuropsychological evaluation of his current cognitive, behavioral, and emotional
                                                                            functioning was conducted by request by Kathy Keneally, Partner, Jones Day (New York) and Dr. James Pool. The
                                                                            following information was obtained during an interview with Mr. Brockman and his son, Robert, his previous
                                                                            clinical neuropsychological evaluation conducted on 03/01/2019 and his previous forensic evaluation conducted
                                                                            on 2019 and limited review of medical records.
                                                                            Declarations: A forensic evaluation differs from a clinical evaluation in that there is no traditional doctor-patient
                                                                            relationship between the psychologist and the person being evaluated. The purpose of the evaluation is to assist
                                                                            Ms. Keneally in defense for Mr. Brockman’s legal tax case; therefore, establishing a treatment relationship would
                                                                            create a potential conflict between the psychologist’s role as an objective evaluator versus an advocate for the
                                                                            patient. Consequently, it is important that a retained expert avoid the role of treatment provider. This standard
                                                                            is mandate by the laws of the State of Texas (Texas Administrative code) as well as the Code of Ethics of the
                                                                            American Psychological Association (2010), and it represents the official position of the National Academy of
                                                                            Neuropsychology (Bush, 2005).
                                                                            Dr. York was retained for a neuropsychological evaluation by Kathy Keneally of Jones Day. As explained above,
                                                                            she is excluded from providing any direct treatment to Mr. Brockman. Consequently, Dr. York’s role was
                                                                            necessarily restricted to that of a forensic consultant rather than a treating doctor in this context. Mr. Brockman
                                                                            was informed of these conditions and consented to the evaluation and to his ability to understand these
                                                                            limitations.
                                                                            Opinions reached in this report are based on direct interview and results of my neuropsychological evaluation
                                                                            including an interview with Mr. Brockman and his son, Robert, and a review of his provided medical records to
                                                                            clarify the timeline of his medical procedures and hospitalizations. These opinions are based on current
                                                                            neuropsychological assessment techniques and research.                   Opinions are based upon reasonable
                                                                            neuropsychological probability and are subject to modification based on provision of additional information. The
                                                                            data from this evaluation is contained in Dr. York’s confidential files.
                                                                            Previous Neuropsychological Assessments: Mr. Brockman underwent a clinical neuropsychological evaluation
                                                                            with Dr. York on 03/01/2019. In 2019, his general intellectual functioning (WAIS-IV FSIQ=87) fell within the low
                                                                            average range, which was a decline from his estimated premorbid intellectual functioning in the above average
                                                                            range. His MoCA was 19/30 (total), 6/6 (orientation), and 2/5 (short-term recall), which was significantly below
                                                                            expectation. Mr. Brockman demonstrated borderline impaired to deficient performances on measures of
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                 Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
                                                                                                                                                                                                     Professor
                                                                                                                                                                                Department of Neurology
                                                                            sustained attention/concentration, learning and recall of prose material and a word list, learning and recall of
                                                                            visual material, semantic fluency, executive functions (set shifting, inhibition, working memory, and problem
                                                                            solving), and visuoconstruction. Praxis was impaired for intransitive praxis tasks. These impaired performances
                                                                            were found within the low average to average ranges on measures of basic attention, fund of information, verbal
                                                                            and visual abstract reasoning, verbal fluency and naming, This pattern of neuropsychological performance
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                                                                            indicated a dementia of mild to moderate severity characterized by deficits in the areas of visuospatial functioning,
                                                                            verbal and nonverbal episodic memory, and executive functioning, with mild functional declines. Self-report of
                                                                            depression was within normal limits (GDS=8). Self-care ADLs (PSMS) were 7/30 and instrumental ADLs were 9/31.
                                                                            The NPI-Q (severity=8; distress=11) indicated problems with agitation, anxiety, apathy, irritability, nighttime
                                                                            behaviors, changes in appetite, and depression for an overall minimal level of familial distress, with the exception
                                                                            of his depression and agitation which produced moderate familial distress. He demonstrated movements that
                                                                            were consistent with a parkinsonism disorder. These abnormal movements taken together with his current
                                                                            diagnosis of dementia, and REM Behavior Disorder, his pattern of cognitive impairments was reported as
                                                                            consistent with Dementia with Lewy Bodies (DLB).
                                                                            Mr. Brockman underwent a second neuropsychological evaluation on 12/03/2019. This evaluation revealed
                                                                            average general intellectual functioning (WAIS-IV FSIQ=96), which is a significant decline from his estimated
                                                                            premorbid intellectual functioning in the high average range (TOPF=114, from March 2019 evaluation). His MoCA
                                                                            was 19/30, which is a moderately impaired performance. Mr. Brockman demonstrated borderline impaired to
                                                                            deficient performances on measures of oral and written processing speed, executive functions (including working
                                                                            memory, problem solving, inhibition, set shifting, and verbal fluency), learning and recall of a word list, learning
                                                                            and recall of visual material, and basic visuospatial functioning. His written arithmetic performance was a 5.6
                                                                            grade equivalent with difficulties noted in performing basic addition, multiplication and division problems. His
                                                                            basic attention and language (naming and semantic fluency) performances were average. Self-care ADLs (PSMS)
                                                                            were 7/30 and instrumental ADLs were 14/30, and his wife indicated a significant decline in his functional ability.
                                                                            Comparison with prior results obtained on 03/01/2019 revealed declines on measures of verbal fluency (low
                                                                            average to borderline impaired), graphomotor sequencing (borderline impaired to deficient), learning of a word
                                                                            list (borderline impaired to deficient), and decreased functional abilities. He demonstrated improvements in the
                                                                            areas of sequencing of digits (deficient to average), learning and recall of contextual information (deficient to
                                                                            average and low average with only 50% retention), and visuospatial construction of a complex figure, suggesting
                                                                            cognitive fluctuations. Confusion and a blank stare expression was noted during the evaluation.
                                                                            Self-report of depression was elevated (GDS=19), but he did not endorse elevated levels of anxiety (GAD-7=4).
                                                                            The NPI-Q completed by his wife (severity=12; distress=25) indicated problems with disinhibition, motor
                                                                            disturbance, agitation, depression, apathy, irritability, nighttime behaviors, and changes in appetite for an overall
                                                                            moderate to extreme level of familial distress.
                                                                            Mr. Brockman’s pattern of neuropsychological performance indicated dementia of mild to moderate severity
                                                                            characterized by deficits in the areas of verbal and nonverbal episodic memory, processing speed, executive
                                                                            functioning, and visuospatial functioning with significant functional declines. His dementia taken together with
                                                                            his parkinsonism, cognitive fluctuations, and REM Behavior Disorder remained consistent with a diagnosis of a
                                                                            Lewy Body Dementia (Dementia with Lewy Body or Parkinson’s Disease Dementia). Based on his cognitive
                                                                            findings, his diagnosis of dementia, and the breadth and severity of his cognitive impairments and fluctuations, it
                                                                            was opined that Mr. Brockman was unable to participate and aid in his own defense, and he was unable to recall
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                  Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                         Board Certified Clinical Neuropsychologist
                                                                                                                                                                                                      Professor
                                                                                                                                                                                 Department of Neurology
                                                                            and demonstrate a thorough understanding of the relevant elements of the issues surrounding the case and
                                                                            manipulate this information in a logical manner that would allow him to make comparisons and weigh his options.
                                                                            Current Concerns and General Condition: Mr. Brockman and his son, Robert, participated in the clinical interview.
                                                                            Mr. Brockman reported that his right hand tremor has progressed. He reported overall muscle weakness in his
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                                                                            legs and an issue with his rotator cuff from tension and lifting weights. He noted that he discontinued taking his
                                                                            testosterone on his own. He is taking levodopa but he was unsure of his medication regimen as he noted his wife
                                                                            manages his medication box. He noted that he is continuing to use his balance board, but he tends to fall
                                                                            backwards and catch himself. He has not had any actual falls in which he has injured himself.
                                                                            Mr. Brockman and his son described that his cognition has declined since December 2019 when he was last
                                                                            evaluated. He noted, in particular, his short-term memory and his working memory have declined and his
                                                                            processing speed is slower. He noted declines in his decision making abilities. He repeats himself and asks the
                                                                            same question again without insight. He forgot the passcode to unlock his phone, and he lost his phone. He
                                                                            forgets names of familiar individuals. He is disoriented to month and day of the week, which his family has noted
                                                                            when he is attempting to complete forms. He stopped driving 1 ½ years ago. He has increased word finding
                                                                            difficulties and attempts to google to find the word for which he is searching.
                                                                            Emotional Functioning: Mr. Brockman reported that his mood is “not good.” He described that business has been
                                                                            difficult and his “morale is not what it used to be.” He is more apathetic. Due to COVID-19, his activities have
                                                                            been limited. He continues to work from home. He noted that the company did not have to lay anyone off and
                                                                            they have transitioned to working remotely. He is continuing to take Wellbutrin which has stabilized his mood.
                                                                            He denied heightened general anxiety, personality or behavioral changes, suicidal ideation, and auditory
                                                                            hallucinations. Sleep was described as adequate but he wakes up more often at 3am and is unable to get back to
                                                                            sleep due to anxiety. He relies on a sleeping aid (trazadone) a couple of times per week. He stated that he was
                                                                            yelling out in his sleep more often. He has decreased appetite with weight loss of 11lbs. He craves ice cream. He
                                                                            denied well-formed visual hallucinations, but he described that he will see things that look like bugs on a shirt, the
                                                                            floor, or a table and wait to see if it moves.
                                                                            During a telephone call on 11/10/2020, Mr. Brockman’s son, Robbie, described a delusional incident that occurred
                                                                            on 10/17/2020 and 10/18/2020 with his father. Robbie reported that he went to visit his father on Saturday night
                                                                            for a couple of hours. He left the house around 7pm. His father woke up at 5am on Sunday and heard an external
                                                                            door opening and closing and his son’s car driving away. Mr. Brockman went to his office and reported that his
                                                                            computer was on and was unlocked. He stated that the computer was open to pages from the dark web and
                                                                            suicidal information. Mr. Brockman took pictures of the screens, which were actually Yahoo answer pages not
                                                                            related to the dark web or suicide. He was convinced that his son had returned to the house during the night and
                                                                            had broken into his computer. Once he was told otherwise, he thought someone else had entered the house and
                                                                            broken into his computer. The alarm had not been tampered with and there was no one on video entering or
                                                                            exiting the residence during the evening. The family had the computer hard drive analyzed by a third party and
                                                                            did not find any evidence of any tampering or that anyone had visited inappropriate websites. During this time,
                                                                            Mr. Brockman became overly concerned with when he would get his computer back asking numerous times per
                                                                            day.
                                                                            Previous Cognitive Complaints: Mr. Brockman reported declines in his short-term memory over the past 3 to 4
                                                                            years. Previously, he and his family reported that he repeats himself, loses possessions, loses his train of thought
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                 Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
                                                                                                                                                                                                     Professor
                                                                                                                                                                                Department of Neurology
                                                                            and is tangential. He forgets names of new individuals and of familiar locations. He also finds it more difficult to
                                                                            complete tasks. His wife noted that he is clumsy getting out of the car and hits curbs while driving and parking
                                                                            (He stopped driving 1 ½ year ago). He has increased difficulties with following directions. His wife noted spelling
                                                                            changes and mild stuttering in his speech. His speech is slowed and he has slowed response latencies. His decision
                                                                            making is also slowed, and he has difficulties multi-tasking. Mrs. Brockman described that her husband’s cognition
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                                                                            fluctuates on a daily basis from minute to minute. She described that he has “blank times” that he appears more
                                                                            confused. His wife noted that he was having difficulties at work and she had to help him type all of his employee
                                                                            performance reviews. She reported that he has increased initiation problems. He noted that it takes him longer
                                                                            to process information at work. His wife described that he sits at work for many, but he does not accomplish his
                                                                            tasks. His short-term memory has continued to decline, and he is repeating himself more often. He is unable to
                                                                            recall details from his daily activities even later in the day. His procedural memory has also declined as he has
                                                                            forgotten how to tie a tie or to use a remote control for their television. She noted that he does not recall the
                                                                            code to unlock his telephone. He is unable to multi-task.
                                                                            Medical History: Medical history is remarkable for hypothyroidism, atrial fibrillation, bladder cancer with
                                                                            recurrence, hypercholesteremia, glaucoma (mild), erectile dysfunction, tremor, micrographia, back problems and
                                                                            increased balance problems. He has plantar fasciitis, which reduces his exercise ability. He reported that he was
                                                                            hospitalized for a prostate infection and pericarditis four years ago. He reported an episode of vision changes in
                                                                            which he saw a bar of color on a spectrum that was moving. He noted he had this visual illusion for 20 minutes
                                                                            and then it went away. He was told that he might have had a visual headache. He began taking levodopa in
                                                                            February 2019. His wife noted a mild motor improvement when he first started on the medication, but when the
                                                                            medication was increased, he had increasing clumsiness. Surgical history is notable for tonsillectomy, cataract
                                                                            surgery, and excision of a melanoma. He reported that when he was in the sixth grade he was hit on the top of
                                                                            the head with a hammer and may have suffered a concussion. He did not lose consciousness. Familial medical
                                                                            history is unremarkable for movement disorders or dementia. Psychiatric history is notable for depression. Mr.
                                                                            Brockman denied current use of tobacco or illicit drugs or a remote history of substance misuse/abuse. He quit
                                                                            drinking alcohol two to three years ago secondary to his atrial fibrillation. He denied a history of seizures,
                                                                            TIA/stroke, or migraines.
                                                                            Dr. Joseph Jankovic Evaluation: Mr. Brockman was evaluated by Dr. Joseph Jankovic on March 13, 2019 for his
                                                                            movement disorder. He was diagnosed with postural instability gait disorder subtype (PIGD) of parkinsonism. Dr.
                                                                            Jankovic noted that because Mr. Brockman denied hallucinations and cognitive fluctuations that he does not meet
                                                                            criteria for DLB; however, he acknowledged that he meets criteria for dementia. Mr. Brockman noted that he was
                                                                            worse physically and mentally despite taking levodopa, with a “zombie-like effect” as described by his wife.
                                                                            Dr. Melissa Yu Evaluation: Mr. Brockman was evaluated by Dr. Melissa Yu on March 20, 2019 for his memory loss.
                                                                            Memory loss was dated to November 2017 in a medical chart note. Dr. Yu medical note stated that a DATSCAN
                                                                            was performed showing significant loss of dopaminergic signal, and he was started on Sinemet and the Exelon
                                                                            patch on 3/13/2019. Anosmia was reported for 10 years. Memory, word finding, and slowed processing speed
                                                                            were reported by his wife and son. His son noted that his father’s cognitive ability fluctuates, with episodes of
                                                                            “blankness” associated with less interaction alternating with improved cognition. His son also noted cognitive
                                                                            fluctuations in his father’s decision making abilities with good and bad days. It was noted that his son has him
                                                                            practice clock drawing to test his functioning. Dr. Yu’s differential diagnoses included Dementia with Lewy Bodies
                                                                            or Parkinson’s Disease Dementia. It was noted that the time course and fluctuations in cognition were more
                                                                            suggestive of Dementia with Lewy Bodies.
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                                   Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                                         Board Certified Clinical Neuropsychologist
                                                                                                                                                                                                                      Professor
                                                                                                                                                                                                   Department of Neurology
                                                                            Medications: Wellbutrin 100mg tid, trazodone 50mg at night, Synthyroid .75mg, Eliquis 2.5mg bid, aspirin,
                                                                            carbidopa/levodopa25/100mg 2 tablets tid, stool softener, Exelon 2 patches. He noted that he also takes a
                                                                            regimen of vitamins and supplements.
                                                                            Social History: Mr. Brockman has been married for over 50 years, and they have one son, who is reported to have
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                                                                            a diagnosis of an Autism Spectrum Disorder. He currently lives with his spouse in their private residence. He
                                                                            earned a BA in Business and attended graduate school for one year in Marketing at The University of Florida. He
                                                                            reported that he was a good student. He is Chairman and CEO of Reynolds and Reynolds Company.
                                                                            Behavioral Observations: Mr. Brockman was tested during a single session as an outpatient. He arrived on time
                                                                            and was accompanied by his son who participated in the clinical interview. General appearance was neat and
                                                                            clean. He exhibited slowed, unsteady gait and slowed motor behavior. He evidenced a mild tremor which was
                                                                            notable on drawings but did not interfere with his performances. His mood was pleasant, and affect was
                                                                            appropriate but somewhat flat. Eye movements were unremarkable. Vision (with corrective lenses) and hearing
                                                                            were adequate for the testing session. His cognition fluctuated throughout the testing session. He appeared to
                                                                            be confused at times even in the middle of tasks that he originally was completing accurately. Conversational
                                                                            speech was coherent, but at times he appeared confused, particularly with following directions, and he was
                                                                            tangential without insight. There was no evidence of paraphasias. He showed moderately decreased ability to
                                                                            follow directions, and he often needed repetition of directions due to confusion. He lost place frequently during
                                                                            set task. He exhibited cooperative test-taking behavior, and his attitude towards the examiner was appropriate
                                                                            and friendly. He lacked insight into the severity of his cognitive impairments. The following results are thought
                                                                            to be an accurate estimation of his current cognitive abilities. He passed embedded measures of performance
                                                                            validity; therefore, the following results are thought to be an accurate estimation of his current cognitive abilities.
                                                                            MEASURES ADMINISTERED
                                                                            Montréal Cognitive Assessment (MoCA); Clock Drawing Test; Controlled Oral Word Association Test (COWAT
                                                                            version: FAS); General Anxiety Disorder 7-item Scale; Geriatric Depression Scale; Hopkins Verbal Learning Test-
                                                                            Revised (HVLT-R); Neuropsychological Assessment Battery (NAB subtest: Naming); Praxis Examination; Rey
                                                                            Complex Figure Test-Meyers Version; Semantic Verbal Fluency Test (SVF version: Animals); Stroop Color-Word
                                                                            Interference Test (Stroop subtests: Color, Color-Word, and Word); Trail Making Test (TMT subtest: Trails A); Verbal
                                                                            Series Attention Test (VSAT); Wechsler Adult Intelligence Scale-IV (WAIS-IV subtests: Coding, Digit Span,
                                                                            Information, Similarities, and Visual Puzzles); Wechsler Memory Scale-4th Edition (WMS-IV subtests: Logical
                                                                            Memory II-Older Adult, Logical Memory I-Older Adult, Logical Memory Recognition-Older Adult, Visual
                                                                            Reproduction I, Visual Reproduction II, and Visual Reproduction Recognition). Clinical Interview with patient and
                                                                            his son. Mr. Brockman did not complete the Trail Making Test (TMT subtest: Trails B) measure due to
                                                                            cognitive/behavioral problems.
                                                                            NEUROPSYCHOLOGICAL FINDINGS
                                                                            The following clinical descriptors identify performance with the range of Standard Scores (average=100, standard deviation=15) indicated in parentheses:
                                                                            Very Superior (>130), Superior (120-129), High Average (110-119), Average, (90-109), Low Average (80-89), Borderline (70-79), and Deficient (<69). For
                                                                            diagnostic purposes, a cognitive deficit is considered a performance score that is >1.5 standard deviations away from the mean in the direction of poor
                                                                            performance compared to the reference group for that measure (i.e., Z-score) based on peers of similar age, gender, and education background as
                                                                            appropriate. This criterion is equivalent to a Standard Score <78, T-score <35, or a Scaled Score of <5).
                                                                            Mental Status: Evaluation of Mr. Brockman's general mental status on the MoCA revealed a score of 19/30, which
                                                                            is below expectation. He was incompletely oriented (5/6, missing the date) and short-term recall was 0/5. He
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                                                                            Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
                                                                                                                                                                                                     Professor
                                                                                                                                                                                Department of Neurology
                                                                            was aided by category cueing for one word and multiple choice cueing for 3 words. He demonstrated difficulties
                                                                            with set shifting, drawing a cube, and placing the hands on a clock face. These three tasks took him 15 minutes
                                                                            to complete, and he attempted the drawing of the cube twice unsuccessfully. He named 2/3 pictured animals.
                                                                            He also had difficulties with serial subtractions and verbal fluency.
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                                                                            Intellectual: Mr. Brockman was administered subtests from a measure of general intellectual functioning (WAIS-
                                                                            IV) and obtained scores ranging from extremely low to average yielding a pro-rated Full Scale IQ estimate of 80
                                                                            which is in the low average range.
                                                                            Attention / Concentration: Attention and mental tracking for overlearned verbal sequences was deficient for
                                                                            speed and for accuracy. Immediate auditory attention span for digits was borderline with 5 digits forward, 3 digits
                                                                            backward, and 3 digits when re-ordering them in ascending sequence. Speed of single word reading and speed of
                                                                            color naming were deficient. Mental processing speed for manual code transcription was extremely low.
                                                                            Performance on a simple visual-motor sequencing task requiring scanning and mental tracking was deficient with
                                                                            1 error.
                                                                            Executive: Mr. Brockman's ability to inhibit a dominant verbal response in the face of incongruent visual stimuli
                                                                            was deficient. His abstract verbal reasoning was average. Performance on a complex visual-motor sequencing
                                                                            task requiring scanning, tracking, and set-shifting was impaired and the task was discontinued.
                                                                            Memory: Recall of culturally-based general knowledge was average. Immediate recall of verbally presented
                                                                            contextual material was borderline impaired (SS=5). Delayed recall of the stories was borderline impaired (SS=4).
                                                                            Retention of initially learned material was 33.3%. Recognition memory was high average (20/23). Incremental
                                                                            learning for a semantically-categorized word list across 3 trials was deficient (3, 3, and 6 words per trial), and
                                                                            delayed recall was in the deficient range with 0.0% retention which falls within the deficient range. On recognition
                                                                            memory assessment, 9/12 target words were correctly identified, 5 false positive errors were committed, with
                                                                            discrimination accuracy in the deficient range.
                                                                            Immediate recall of basic geometric figures was borderline impaired (SS=5). Delayed recall of the designs was
                                                                            deficient (SS=2). Retention of the initially learned material was 0.0%. Recognition memory was borderline
                                                                            impaired (1/7).
                                                                            Language: Lexical fluency was low average with between 8 to 12 words generated per trial. Semantic fluency
                                                                            was deficient with 9 exemplars generated. Confrontation naming of pictured objects was high average (NAB Form
                                                                            1; 30/31).
                                                                            Visual-Perceptual: His drawing of a complex geometric design scored in the deficient range. Time required to
                                                                            copy design was borderline impaired. After 5 minutes of attempting to copy this design, the gestalt was not
                                                                            present, and he reported that he was unable to perform this task. His spatial reasoning ability to mentally arrange
                                                                            puzzle pieces was low average. Visuoconceptual ability to draw a clock was impaired to command (CDT=6/10)
                                                                            and impaired when copying a model (CDT=7/10). On command clock on the MoCA, he drew the hands to the 10
                                                                            and the 11 for “10 after 11,” and he attempted to place the hands first prior to writing in the numbers. When later
                                                                            asked to draw a clock, he drew a clock face and the numbers 12, 3 and 5, with 13 tic marks and two hands pointing
                                                                            to the second and third tic mark for “10 after 11.” When asked to copy a clock, he omitted the number 10 and
                                                                            wrote the numbers 12-7 in the right half of the clock. He did not maintain the hand size differentiation.
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                                                                            CONFIDENTIAL NEUROPSYCHOLOGICAL EVALUATION                                                  Michele K. York, PhD, ABPP-CN
                                                                            Brockman, Robert                                                                         Board Certified Clinical Neuropsychologist
                                                                                                                                                                                                      Professor
                                                                                                                                                                                 Department of Neurology
                                                                            Motor Functioning: Mr. Brockman is right-hand dominant. On formal examination, buccofacial, transitive, and
                                                                            intransitive classes of praxis were intact.
                                                                            Mood / Personality: On a self-report measure of anxiety, his responses fell in the mild range (GAD-7=5/21). On
                                                                            a face valid measure used to assess cognitive, emotional and physical symptoms of depression, Mr. Brockman
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                                                                            endorsed the following, suggestive of probable depression (GDS=20): presently unsatisfied with life, terminating
                                                                            activities and/or lack of interest, boredom, lack of hope regarding the future, generally poor spirit/mood, feeling
                                                                            as though something negative is going to occur, unhappiness, helplessness, preferring to stay home, worry about
                                                                            the future, declines in memory, downhearted and blue, worthlessness, lack of excitement for life, difficulty
                                                                            beginning new projects, poor energy, difficulties with concentration, lack of enjoyment first thing in the morning,
                                                                            and general declines in thinking skills.
                                                                            SUMMARY AND IMPRESSION
                                                                            Mr. Brockman is a 78 year-old, right-hand dominant, Caucasian male who underwent an independent
                                                                            neuropsychological evaluation as a component of a forensic evaluation. The factual matters stated in this report
                                                                            are, as far as I know, true, and the opinions in the report are genuinely held by me and the report contains
                                                                            reference to all matters I consider significant.
                                                                            It is this examiner’s opinion based on the testing conducted and behavioral observations that Mr. Brockman was
                                                                            putting forth full effort and was not exaggerating or embellishing the nature and extent of his cognitive
                                                                            impairment. It is noted that neuropsychological tests were chosen to best assess Mr. Brockman’s cognitive
                                                                            abilities. The testing environment was optimal and the following results are considered a valid estimate of his
                                                                            current neuropsychological and emotional status.
                                                                            Mr. Brockman currently operates in the low average range of general intellectual functioning (WAIS-IV FSIQ=80),
                                                                            which is a significant decline from his estimated premorbid intellectual functioning in the high average range
                                                                            (TOPF=114, from March 2019 evaluation). His MoCA was 19/30 (total), 5/6 (orientation), and 0/5 (short-term
                                                                            recall), which is moderately impaired. Self-report of depression was elevated (GDS=20), and anxiety was mildly
                                                                            elevated (GAD-7=5).
                                                                            Mr. Brockman demonstrated borderline impaired to deficient performances on measures of basic attention, oral
                                                                            and written processing speed, executive functions (including working memory, problem solving, inhibition, and
                                                                            set shifting), learning and recall of prose material and a word list, learning and recall of visual material, and basic
                                                                            and complex visuospatial functioning. His intellectual functioning subtest scores declined from his last evaluation
                                                                            ranging from the deficient to the average range. He continues to demonstrate average scores on fund of
                                                                            information, naming, verbal fluency, and verbal and visual reasoning.
                                                                            Comparison with prior results obtained on 12/03/2019 revealed the following pattern of interim changes:
                                                                            Declines were found in the areas of:
                                                                               x Intellectual functioning (Full Scale Index: average to low average)
                                                                               x Semantic fluency (low average to deficient)
                                                                               x Inhibition (borderline impaired to deficient)
                                                                               x Graphomotor sequencing (further in deficient range)
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                                                                            Brockman, Robert                                                                        Board Certified Clinical Neuropsychologist
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                                                                                x   Basic attention (forward and backward: average to low average; sequencing: average to bordelrine
                                                                                    impaired)
                                                                                x   Learning of prose material (average to borderline impaired)
                                                                                x   Delayed recall of prose material (low average to borderline impaired)
                                                                                x   Visuospatial construction (Clock drawing and Rey-O)
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                                                                            No interim Improvements were found as compared to his performance on 12/03/2019.
                                                                            Mr. Brockman’s current cognitive functioning was impaired across all domains assessed, with significant interim
                                                                            declines noted from his evaluation in March 2019. He continued to demonstrate significant cognitive fluctuations
                                                                            throughout the evaluation with confusion and impaired abilities to follow instructions. Mr. Brockman’s pattern of
                                                                            neuropsychological performance continues to indicate a dementia of mild to moderate severity characterized by
                                                                            deficits in the areas of verbal and nonverbal episodic memory, processing speed, executive functioning, and
                                                                            visuospatial functioning with significant functional declines. Mr. Brockman denies experiencing well-formed visual
                                                                            hallucinations; however, he has experienced visual illusions, brief visual hallucinations, and a recent delusional
                                                                            episode. His current cognitive pattern and his parkinsonism, taken together with his dementia at the time of
                                                                            diagnosis of his movement disorder, cognitive fluctuations, and REM Behavior Disorder continue to suggest
                                                                            Dementia with Lewy Bodies. His cognitive profile demonstrated interim cognitive declines across all domains
                                                                            assessed.
                                                                            Based on the current cognitive findings, his diagnosis of dementia, and the breadth and severity of his cognitive
                                                                            impairments and fluctuations, it remains my opinion that Mr. Brockman is unable to participate and aid in his own
                                                                            defense. Due to the neurodegenerative nature of this disease and the lack of effective treatments, his prognosis
                                                                            is for continued cognitive decline. He is unable to recall and demonstrate a thorough understanding of the relevant
                                                                            elements of the issues surrounding the case and manipulate this information in a logical manner that will allow
                                                                            him to make comparisons and weigh his options.
                                                                            It is this examiner’s opinion based on record review, behavioral observations, patient interview, and current and
                                                                            previous neuropsychological assessments.
                                                                            ___________________________________________
                                                                            Michele K. York, PhD, ABPP-CN
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                                                                                            Examples of visuospatial performances for Mr. Brockman
                                                                                                  Rey Complex Figure Test – Copy of a Design
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                                                                            03/01/2019                         12/03/2019                            10/07/2020
                                                                                                    Clock Drawing “10 after 11”
                                                                              03/01/2019                                                12/03/2019
                                                                            10/07/2020                         10/07/2020                               10/07/2020
                                                                                                                                                            Copy
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                                                                            Copy of a cube 10/07/2020     Copy of a cube 10/07/2020
                                                                                   1st Attempt                   2nd Attempt
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                                                                            11
                                                                                                                UNITED STATES DISTRICT COURT
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                                                                                                           NORTHERN DISTRICT OF CALIFORNIA
                                                                            13
                                                                                                                   SAN FRANCISCO DIVISION
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                                                                                 UNITED STATES OF AMERICA,                     Case No. 3:20-cr-00371-WHA
                                                                            16
                                                                                                   Plaintiff,                  [PROPOSED] ORDER GRANTING
                                                                            17                                                 DEFENDANT ROBERT T.
                                                                                        v.                                     BROCKMAN’S MOTION FOR A
                                                                            18                                                 HEARING TO DETERMINE
                                                                                 ROBERT T. BROCKMAN,                           WHETHER MR. BROCKMAN IS
                                                                            19                                                 COMPETENT TO ASSIST IN HIS
                                                                                                   Defendant.                  DEFENSE
                                                                            20
                                                                                                                               Date:             January 12, 2021
                                                                            21                                                 Time:             2:00 p.m.
                                                                                                                               Judge:            Hon. William Alsup
                                                                            22                                                 Place:            Courtroom 12
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                                                                                                                                      [Proposed] Order Granting Defendant Robert Brockman’s
                                                                                                                                    Motion for a Hearing to Determine Whether Mr. Brockman
                                                                                                                                    is Competent to Assist in His Defense 3:20-cr-00371-WHA
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                                                                             1          Having considered Defendant Robert T. Brockman’s Motion for a Hearing to Determine
                                                                             2   Whether Mr. Brockman is Competent to Assist in His Defense, other documents in support of and
                                                                             3   in opposition to the motion and in the record in this matter, the arguments of counsel at the
                                                                             4   hearing on the motion, and good cause appearing therefore,
                                                                             5          Mr. Brockman’s Motion for a Hearing to Determine Whether Mr. Brockman is Competent
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                                                                             6   to Assist in His Defense is GRANTED. A Competency Hearing on this matter shall be
                                                                             7   conducted on __________________, 2021, Courtroom 12, before Judge William Alsup, pursuant
                                                                             8   to 18 U.S.C. §§ 4241(c) and 4247(d).
                                                                             9          IT IS SO ORDERED.
                                                                            10   DATED: _________________________
                                                                            11
                                                                                                                                  By:
                                                                            12                                                          HONORABLE WILLIAM ALSUP
                                                                                                                                        United States District Court Judge
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                                                                                                                                             [Proposed] Order Granting Defendant Robert Brockman’s
                                                                                                                                           Motion for a Hearing to Determine Whether Mr. Brockman
                                                                                                                                -2-        is Competent to Assist in His Defense 3:20-cr-00371-WHA
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                                                                            12                                UNITED STATES DISTRICT COURT
                                                                            13                           NORTHERN DISTRICT OF CALIFORNIA
                                                                            14                                   SAN FRANCISCO DIVISION
                                                                            15   UNITED STATES OF AMERICA,                       Case No. 3:20-cr-00371-WHA
                                                                            16                   Plaintiff,                      DEFENDANT ROBERT T.
                                                                                                                                 BROCKMAN’S REPLY IN SUPPORT
                                                                            17         v.                                        OF MOTION TO DISMISS IN PART
                                                                                                                                 FOR LACK OF VENUE AND TO
                                                                            18   ROBERT T. BROCKMAN,                             TRANSFER TO THE SOUTHERN
                                                                                                                                 DISTRICT OF TEXAS
                                                                            19                   Defendant.
                                                                                                                                 Date:               December 15, 2020
                                                                            20                                                   Time:               12:00 p.m.
                                                                                                                                 Judge:              Hon. William Alsup
                                                                            21                                                   Place:              Courtroom 12
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                                                                                                                                   Reply in Support of Motion to Dismiss in Part for Lack of Venue
                                                                                                                                 and Transfer to the Southern District of Texas 3:20-cr-00371-WHA
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                                                                             1               DEFENDANT ROBERT T. BROCKMAN’S REPLY IN SUPPORT OF
                                                                                              MOTION TO DISMISS IN PART FOR LACK OF VENUE AND TO
                                                                             2                   TRANSFER TO THE SOUTHERN DISTRICT OF TEXAS
                                                                             3            Defendant Robert T. Brockman’s Motion to Dismiss in Part for Lack of Venue and to
                                                                             4   Transfer to the Southern District of Texas (the “Motion”), ECF No. 49, should be granted.
                                                                             5            Foremost, there is no basis for venue in this District for Counts Nine through Fourteen of
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                                                                             6   the Indictment, and those counts must be dismissed if this case remains here. Moreover, the
                                                                             7   factors relevant to venue strongly favor transfer of the entire case to the Southern District of
                                                                             8   Texas, where Mr. Brockman has long lived, relevant witnesses and events are likely to be
                                                                             9   centered, and docket conditions will allow the case to proceed more expeditiously.
                                                                            10   I.       THE FOREIGN BANK ACCOUNT REPORT (“FBAR”) COUNTS NINE
                                                                                          THROUGH FOURTEEN MUST BE DISMISSED IN THIS DISTRICT FOR
                                                                            11            IMPROPER VENUE
                                                                            12            Even the government must acknowledge the “law that is not in doubt: Both Rule 18 of the
                                                                            13   Federal Rules of Criminal Procedure and the Constitution require that a person be tried for an
                                                                            14   offense where that offense is committed; also, the site of a charged offense ‘must be determined
                                                                            15   from the nature of the crime alleged and the location of the act or acts constituting it.’” United
                                                                            16   States v. Cabrales, 524 U.S. 1, 5 (1998) (citations and internal quotations omitted); see also
                                                                            17   Def.’s Mot. at 17; Gov’t Opp’n at 1 (the “Opposition”), ECF No. 63; U.S. Const. Art. III, § 2;
                                                                            18   U.S. Const. Amend. VI; Fed. R. Crim. P. 18.
                                                                            19            The offense charged in Counts Nine through Fourteen is defined in
                                                                            20   31 C.F.R. § 1010.350(a), enacted under 31 U.S.C. § 5314:
                                                                            21            Each United States person having a financial interest in . . . a bank, securities, or
                                                                            22            other financial account in a foreign country shall report such relationship to the
                                                                                          Commissioner of Internal Revenue for each year in which such relationship exists
                                                                            23            and shall provide such information as . . . specified in . . . the Report of Foreign
                                                                                          Bank and Financial Accounts[.]
                                                                            24
                                                                            25            Courts have uniformly held that venue for charges for failure to perform such a required
                                                                            26   act lies in one of two places: where the required act should have been performed or a required
                                                                            27   filing should have been received, see, e.g., Johnston v. United States, 351 U.S. 215, 220 (1956)
                                                                            28   (failure to perform alternatives to military service), or the resident district of the defendant. See,
                                                                                                                                          Reply in Support of Motion to Dismiss in Part for Lack of Venue
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                                                                             1   e.g., United States v. Clinton, 574 F.2d 464, 465 (9th Cir. 1978) (failure to file tax returns). In
                                                                             2   this case, neither of these places is the Northern District of California.
                                                                             3          The government erroneously contends the FBAR counts may be brought in this District
                                                                             4   because (1) venue is proper here for the tax and conspiracy charges in the Indictment, Gov’t
                                                                             5   Opp’n at 4-5; (2) “FBAR charges can be brought in any district,” Gov’t Opp’n at 4; and (3) the
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                                                                             6   FBAR counts “were not brought here as an exercise in forum shopping, and because trying them
                                                                             7   here will create no unfairness or undue hardship to Defendant.” Gov’t Opp’n at 5. The
                                                                             8   government offers no law in support of any of these unprecedented positions.
                                                                             9          (1)     First, the government contends that, because each of the FBAR counts contains the
                                                                            10   bare allegation that Mr. Brockman failed to file FBARs “while violating another law of the
                                                                            11   United States or as part of a pattern of any illegal activity involving more than $100,000 in a 12-
                                                                            12   month period,” it somehow can bring charges for failure to file FBARs anywhere that the illegal
                                                                            13   activity is alleged to have occurred. Gov’t Opp’n at 4. The government’s single paragraph on
                                                                            14   this point is strikingly devoid of any legal citation, and the law is to the contrary.
                                                                            15          The government ignores the fundamental rule that “[t]he locus delicti must be determined
                                                                            16   from the nature of the crime alleged and the location of the act or acts constituting it.” Cabrales,
                                                                            17   524 U.S. at 6-7 (quotation marks and citation omitted). The Supreme Court in Cabrales rejected
                                                                            18   the government’s argument that, because an element of the crime of money laundering is that the
                                                                            19   funds be derived from specified unlawful activity, venue was permitted in the district where the
                                                                            20   specified unlawful activity took place. Id. As the Court stated, the “nature of the crime alleged”
                                                                            21   was “defined in statutory proscriptions that interdict only the financial transactions,” which
                                                                            22   occurred in one district, and not “the anterior criminal conduct [which occurred in another
                                                                            23   district] that yielded the funds allegedly laundered.” Id. at 6–7 (internal citations omitted)
                                                                            24   (emphasis added).
                                                                            25          So too in this case, the regulation that defines the legal duty, and creates an offense for
                                                                            26   failure to comply, requires simply that each person with an interest in a financial account in a
                                                                            27   foreign country “shall report such relationship to the Commissioner of Internal Revenue for each
                                                                            28   year in which such relationship exists.” 31 C.F.R. § 1010.350(a) (emphasis added). The venue
                                                                                                                                           Reply in Support of Motion to Dismiss in Part for Lack of Venue
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                                                                             1   for that reporting offense lies in the district where the defendant resides (the Southern District of
                                                                             2   Texas), or in the district where the FBAR was due to be received (the Eastern District of
                                                                             3   Virginia).
                                                                             4          Separate and apart from that definition of the offense in the regulation adopted under
                                                                             5   31 U.S.C. § 5314, Section 5322 is captioned “Criminal Penalties,” and sets out escalating
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                                                                             6   sanctions depending upon the presence (or absence) of aggravating factors: Subsection (a)
                                                                             7   provides a $250,000 fine or up to five years imprisonment for the ordinary violation, and
                                                                             8   Subsection (b) increases this to $500,000 or 10 years for violators who fail to report “while
                                                                             9   violating another law of the United States or as part of a pattern of any illegal activity involving
                                                                            10   more than $100,000 in a 12-month period.” 31 U.S.C. § 5322.
                                                                            11          But the government cites no court that has held that this separate sentencing enhancement
                                                                            12   creates expansive venue for the failure to report offense itself. This Court should not be the first.
                                                                            13          (2)     The government makes the extravagant claim that “FBAR charges can be brought
                                                                            14   in any district.” Gov’t Opp’n at 4, relying on United States v. Bradley,
                                                                            15   644 F.3d 1213 (11th Cir. 2011) and United States v. Clines, 958 F.2d 578 (4th Cir. 1992). That
                                                                            16   argument is as disingenuous as it is out-of-date.
                                                                            17          At the time of the offenses alleged in Bradley and Clines, “[t]he form in question, Form
                                                                            18   90–22.1, could be filed either by mailing it to the IRS in Detroit, Michigan, or by hand-delivering
                                                                            19   it to any local IRS office.” Bradley, 644 F.3d at 1252 (emphasis added); see also Clines,
                                                                            20   958 F.2d at 583. Those cases found this latter alternative dispositive in favor of nationwide
                                                                            21   venue. “Thus, for purposes of venue, the form [was] ‘required’ to be filed in any and every
                                                                            22   district that houses a local IRS office.” Bradley, 644 F.3d at 1252; see also Clines,
                                                                            23   958 F.2d at 583 (“Because [the FBAR form] also provides that filing may occur in any local
                                                                            24   office, we conclude that venue in the District of Maryland was proper.”).
                                                                            25          The best that can be said for the “nationwide venue” argument is that the IRS wrote it out of
                                                                            26   the law in 2013—the first year the Indictment alleges that Mr. Brockman failed to file an FBAR.
                                                                            27   Since tax year 2013, the IRS has required that FBARs be filed electronically, directly with the
                                                                            28   Financial Crimes Enforcement Network (FinCEN) located in Vienna, Virginia. Def.’s Mot. at
                                                                                                                                          Reply in Support of Motion to Dismiss in Part for Lack of Venue
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                                                                             1   17.1 The government admits that “beginning on July 1, 2013, FBARs had to be filed
                                                                             2   electronically, and not in any office of the IRS as before,” Gov’t Opp’n at 5, but fails to
                                                                             3   acknowledge that the change renders Bradley and Clines irrelevant as precedent.
                                                                             4           The government leaves dangling the observation that “[n]ow FBAR forms can be filed
                                                                             5   electronically from anywhere,” as if that might imply that “FBAR charges can be brought
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                                                                             6   anywhere.” Gov’t Opp’n at 5. Worse than the stale argument from Bradley and Clines, the
                                                                             7   illogic of that non-sequitur was rejected by the Supreme Court 104 years ago. In United States v.
                                                                             8   Lombardo, 241 U.S. 73 (1916), the defendant in Seattle was charged with failure to file a report
                                                                             9   required to be filed in Washington, D.C. with the Commissioner of General Immigration. The
                                                                            10   Supreme Court rejected the government’s contention that prosecution for failure to file was
                                                                            11   proper in Seattle because “the filing of the statement need not be at the office in Washington, but
                                                                            12   may be deposited in the postoffice of the United States,” so as to provide venue wherever there
                                                                            13   was a post office. Id. at 76.
                                                                            14           Although fewer cases have addressed this issue since the switch to electronic filing, the
                                                                            15   result is the same: the place fixed for performance is where the filing was to be received, not
                                                                            16   every possible location from which a filing could be sent. See, e.g., United States v. Hassanshahi,
                                                                            17   185 F. Supp. 3d 55, 58 (D.D.C. 2016) (finding in failure-to-file case that proper venue was “the
                                                                            18   place of performance of the request,” meaning the place where “application must be sent to,
                                                                            19   received by, and then approved . . . regardless of from where that request is sent”) (emphasis in
                                                                            20   original). The fact that this authority construed “a different statute,” as the government remarks,
                                                                            21   is meaningless, as even the government cannot explain why the FBAR statute should be analyzed
                                                                            22   any differently. Gov’t Opp’n at 5.
                                                                            23           (3)     The government’s final attempt at articulating its position—that the FBAR charges
                                                                            24   may remain in this District because, per the government’s phrasing, the charges “were not
                                                                            25   brought here as an exercise in forum shopping, and because trying them here will create no
                                                                            26   unfairness or undue hardship to Defendant,” Gov’t Opp’n at 5—does not cure the lack of venue
                                                                            27
                                                                                          1
                                                                                            See also https://www.fincen.gov/how-do-i-file-fbar;
                                                                            28   https://www.fincen.gov/sites/default/files/shared/FBAR%20Line%20Item%20Filing%20Instructions.pdf, at *8.
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                                                                             1   for the FBAR counts, and flatly contradicts the reality of this case.
                                                                             2          The government has two choices for venue for the FBAR charges: the Southern District
                                                                             3   of Texas, the place where Mr. Brockman has lived for over five decades and where, if in fact and
                                                                             4   law he was required to file, any failure to do so took place; or the Eastern District of Virginia,
                                                                             5   where any required FBAR filing would have been received. The government’s attempt, without
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                                                                             6   any authority, to keep the FBAR counts in this District lacks legal support and is an improper
                                                                             7   attempt to keep this case at a location distant from Mr. Brockman’s residence.
                                                                             8          The government would have this Court do what no court has done: find that there is
                                                                             9   venue for failure to file an FBAR in a district other than where the filing would have been
                                                                            10   received or where the defendant resides. And the government is seeking to put this stake down in
                                                                            11   a case in which, independent of the FBAR venue issue, the facts and law amply support transfer
                                                                            12   of the entire case to a district where venue would also clearly lie for the FBAR counts. But if this
                                                                            13   case remains in this District, Counts Nine through Fourteen must be dismissed.
                                                                            14   II.    THE PLATT FACTORS FAVOR TRANSFER, AS SEVERAL FACTORS
                                                                                        SUPPORT TRANSFER AND NO FACTOR SUPPORTS TRIAL IN THIS
                                                                            15          DISTRICT
                                                                            16          As this Court has observed, and as the government does not dispute, there is no
                                                                            17   presumption favoring the prosecution’s choice of venue in criminal cases. See United States v.
                                                                            18   Fritts, 2005 WL 3299834, at *2 (N.D. Cal. Dec. 6, 2005) (Alsup, J.). The government expends
                                                                            19   roughly half of its Opposition in a misdirected argument exaggerating the basis for venue in this
                                                                            20   district. Gov’t Opp’n at 1-6. Apart from the FBAR counts, for which there is no venue in this
                                                                            21   District, the issue on this Motion is not whether there is any basis for venue in this District, but
                                                                            22   whether this case would be better moved to another district.
                                                                            23          As no one can dispute, the test for deciding whether to transfer venue is determined by the
                                                                            24   ten factors set forth by the Supreme Court in Platt v. Minnesota Min. & Mfg. Co.,
                                                                            25   376 U.S. 240, 243-44 (1964). Def.’s Mot. at 8; Gov’t Opp’n at 6-7. To reiterate, those factors
                                                                            26   are: “(1) location of [the] defendant; (2) location of possible witnesses; (3) location of events
                                                                            27   likely to be in issue; (4) location of documents and records likely to be involved; (5) disruption of
                                                                            28   [the] defendant’s business unless the case is transferred; (6) expense to the parties; (7) location of
                                                                                                                                          Reply in Support of Motion to Dismiss in Part for Lack of Venue
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                                                                             1   counsel; (8) relative accessibility of place of trial; (9) docket condition of each district or division
                                                                             2   involved; and (10) any other special elements which might affect the transfer.” Platt,
                                                                             3   376 U.S. at 243-44; see also, e.g., Fritts, 2005 WL 3299834, at *2.
                                                                             4            Mr. Brockman’s Motion was supported with detailed submissions. See Def.’s Mot. at 8-
                                                                             5   16; Keneally Decl. and accompanying exhibits.2 In response, the government’s Opposition offers
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                                                                             6   no evidence or potential testimony when discussing the Platt factors,3 nor does the government
                                                                             7   even cite the Indictment. Gov’t Opp’n at 7-12. Instead, the government’s ipse dixit seeks to
                                                                             8   gloss over or misconstrue the reasons why this case better belongs in the Southern District of
                                                                             9   Texas.
                                                                            10            A.      “Platt factor” # 1: the location of the defendant
                                                                            11            Mr. Brockman’s long-time home in Houston, Texas weighs strongly in favor of transfer.
                                                                            12            There is no dispute that Mr. Brockman currently resides in Houston, and has lived there
                                                                            13   for over five decades. The government’s assertion that Mr. Brockman is “not particularly
                                                                            14   tethered” to the district where he has made a home with his wife and family and built a business,
                                                                            15   is as cavalier as it is groundless. See Gov’t Opp’n at 7. The bland reference to “private jet
                                                                            16   records and other evidence” of travel to other locations, Gov’t Opp’n at 7, in no way diminishes
                                                                            17   the paramount principle—which is even the government’s stated policy for criminal tax
                                                                            18   prosecutions—that “‘a defendant should ordinarily be tried, whenever possible, where he
                                                                            19   resides.’” United States v. Williams, 2013 WL 4510599, at *2 (D. Haw. Aug. 22, 2013) (quoting
                                                                            20   United States v. Aronoff, 463 F. Supp. 454, 457 (S.D.N.Y. 1978)); see also U.S. Dep’t of Justice,
                                                                            21   Criminal Tax Manual § 6.01[2] (2012) (stating policy “generally to attempt to establish venue for a
                                                                            22   criminal tax prosecution in the judicial district of the taxpayer’s residence or principal place of
                                                                            23   business.”). This principle is particularly applicable in a case with a complex and likely lengthy
                                                                            24   trial. See, e.g., United States v. Cooper, 2019 WL 404962, *2 (D. Haw. Jan. 31, 2019) (noting
                                                                            25
                                                                                         2
                                                                            26             “Keneally Decl.” refers to the Declaration of Kathryn Keneally, affirmed November 30, 2020 and
                                                                                 submitted in support of the Motion. ECF No. 49-1.
                                                                            27            3
                                                                                            See Criminal L.R. 47–2 (requiring compliance with Civil L.R. 7–5, which in turn requires that “[f]actual
                                                                                 contentions made in support of or in opposition to any motion must be supported by an affidavit or declaration and by
                                                                            28   appropriate references to the record”).
                                                                                                                                                 Reply in Support of Motion to Dismiss in Part for Lack of Venue
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                                                                             1   that a longer trial makes the location of the defendant’s home more important).
                                                                             2            Finally, nowhere in its Opposition does the government even acknowledge the gravity of
                                                                             3   Mr. Brockman’s medical condition that has manifested in movement disorders and cognitive
                                                                             4   impairment. Pool Decl. ¶¶ 3-5.4 Instead the government cynically dismisses Mr. Brockman’s
                                                                             5   “amorphous malaise.” Gov’t Opp’n at 9. The doctors who have diagnosed and treated
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                                                                             6   Mr. Brockman state that he has Parkinson’s disease, parkinsonism, or Lewy body dementia, or
                                                                             7   some combination of the three. Pool Decl. ¶ 5.5 These are degenerative, progressive, non-curable
                                                                             8   conditions that, in Mr. Brockman’s case, have resulted in dementia. Pool Decl. ¶ 5. There is
                                                                             9   nothing “amorphous” about Mr. Brockman’s condition, which goes far beyond “malaise.”
                                                                            10            The government simply has no answer to the attestation by Mr. Brockman’s primary care
                                                                            11   physician that facing legal proceedings at some distance from his home would create a risk “to his
                                                                            12   existing cardiac condition, and could exacerbate the overall progression of his symptoms.” Pool
                                                                            13   Decl. ¶ 10; see also United States v. Bowdoin, 770 F. Supp. 2d 133, 142 (D.D.C. 2011) (transfer
                                                                            14   should be granted when a defendant’s “ill health would prevent a defendant from full
                                                                            15   participation at his own trial”).
                                                                            16            B.       “Platt factor” # 2: the location of possible witnesses
                                                                            17            From the first pretrial conference, the government has boasted that it is “ready for trial.”
                                                                            18   See Nov. 17, 2020 Hr’g Tr. at 15:20–15:25, ECF No. 47; Dec. 1, 2020 Hr’g Tr. at 11:23–12:25,
                                                                            19   ECF No. 61. Yet the government does not identify a single witness by name, much less explain
                                                                            20   the length or importance of any witness testimony, to support its contention that this factor favors
                                                                            21   the Northern District of California. See United States v. Daewoo Indus. Co.,
                                                                            22   591 F. Supp. 157, 160 (D. Ore. 1984) (granting Rule 21(b) transfer; “The Ninth Circuit has
                                                                            23   required more than a bald statement of numbers and general location of witnesses in the cases
                                                                            24
                                                                                          4
                                                                            25              “Pool Decl.” refers to the Declaration of James L. Pool, M.D., affirmed November 25, 2020 and submitted
                                                                                 in support of the Motion. ECF No. 49-2.
                                                                            26            5
                                                                                            A total of seven diagnostic and forensic reports from three medical doctors and a neuropsychologist, based
                                                                                 on examinations conducted over a period of nearly two years, have been submitted to this Court in support of the
                                                                            27   defense’s Motion For a Hearing to Determine Whether Mr. Brockman is Competent to Assist in His Defense on
                                                                                 December 8, 2020. See Declaration of Kathryn Keneally in Support of Defendant Robert T. Brockman’s Motion for
                                                                            28   a Hearing to Determine Whether Mr. Brockman is Competent to Assist in His Defense, ECF No. 64-1.
                                                                                                                                                  Reply in Support of Motion to Dismiss in Part for Lack of Venue
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                                                                             1   where the issue of witness convenience is addressed;” here “the government proposes to call
                                                                             2   fifty-six witnesses but refuses to disclose their identities or location,” except by general area);
                                                                             3   United States v. Francis, 2008 WL 1711543, at *2 (D. Nev. Apr. 11, 2008) (granting Rule 21(b)
                                                                             4   transfer in tax evasion prosecution; “The cases require that the witnesses be identified, and the
                                                                             5   nature of their testimony described.”). The potential witnesses the government identified by
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                                                                             6   position are not demonstrated to be anything more significant than document custodians.
                                                                             7          The government states that it “expects to call at least one, and possible [sic] as many as
                                                                             8   three, local Vista facts witnesses at trial,” Gov’t Opp’n at 8, presumably to testify to the local
                                                                             9   back-office administration of Vista’s investment funds that is emphasized in the government’s
                                                                            10   Opposition. See Gov’t Opp’n at 3. Since no other role is attributed to these or any other witness
                                                                            11   in the government’s Opposition, they cannot be regarded as anything more than “custodians of
                                                                            12   records [who] sometimes are not called at trial because the parties stipulate to the authenticity of
                                                                            13   and foundation for the records.” Fritts, 2005 WL 3299834, at *3. By contrast, the government
                                                                            14   nowhere acknowledges the importance of Robert Smith (“Individual Two” in the Indictment),
                                                                            15   Vista’s founder, a key witness and government cooperator who resides in Vista’s headquarters
                                                                            16   city of Austin, Texas, less than 200 miles from the federal courthouse in Houston. Keneally Decl.
                                                                            17   ¶ 21, Ex. F, Ex. G, Ex. H, Ex. I, Ex. J, Ex. K, Ex. M.
                                                                            18          The only other reference by the government under this factor is its complaint that “the
                                                                            19   Motion glosses over the fact that there are at least two victim entities – Entity One and Entity
                                                                            20   Two in the Indictment – in the Northern District.” Gov’t Opp’n at 8. So too does the government
                                                                            21   “gloss over” this fact, offering no description of who might testify from either Entity, or what that
                                                                            22   testimony might be, much less why it compels a trial in this District. Gov’t Opp’n at 8. The
                                                                            23   Opposition ignores the defense’s summary from the Indictment: at most, these two unnamed
                                                                            24   entities are alleged to have sold debt to Deutsche Bank eleven years ago with no knowledge of or
                                                                            25   dealings with Mr. Brockman, or the counter-party to whom Deutsche Bank might sell the debt.
                                                                            26   Indictment ¶¶ 178-79, 183, 189; see Def.’s Mot. at 6-7, 11. The government offers nothing to
                                                                            27   refute that these entities’ role is no more than a thin thread by which the government has claimed
                                                                            28   a technically sufficient case for venue in this District. Fritts, 2005 WL 3299834, at *3.
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                                                                             1            To deflect its own default in describing the evidence, the government faults the defense
                                                                             2   for failing to identify specific trial witnesses, Gov’t Opp’n at 8, after delaying until last week the
                                                                             3   first production of some of the 1.1 terabytes (the equivalent of 22 million pages) of discovery.
                                                                             4   This case is at its earliest stages, which is itself a factor that supports timely transfer. See United
                                                                             5   States v. Testa, 548 F.2d 847, 857 (9th Cir. 1977) (noting that it is “proper to require greater
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                                                                             6   showing of inconvenience when transfer sought late in proceedings”) (citing United States v.
                                                                             7   Polizzi, 500 F.2d 856, 901 (9th Cir. 1974)); see also United States v. Prasad,
                                                                             8   2018 WL 3706836, at *7 (E.D. Cal. Aug. 3, 2018) (granting transfer in part because “transfer
                                                                             9   would not waste judicial resources” due to the early filing of the transfer motion).6
                                                                            10            All that aside, the defense’s Motion still contains significantly more detailed and more
                                                                            11   compelling information regarding the location of witnesses than the government’s Opposition.
                                                                            12   As the defense set out, the Indictment, Mr. Smith’s Statement of Facts, and counsel’s knowledge
                                                                            13   of the government’s investigation all indicate that trial witnesses—particularly witnesses who
                                                                            14   could address disputed questions central to the charges—are likely to be centered in and around
                                                                            15   Houston. Mr. Smith lives in Austin, a short drive from the Southern District of Texas. Keneally
                                                                            16   Decl. Ex. F, Ex. K, Ex. M at Statement of Facts ¶ 1. Mr. Smith, in turn, has alleged that Carlos
                                                                            17   Kepke, a lawyer in practice in Houston, Texas, had a central role in establishing the trusts and
                                                                            18   assisting Mr. Brockman with asset planning. Keneally Decl. Ex. M at Statement of Facts ¶ 5,
                                                                            19   Ex. N, Ex. O, Ex. P. Mr. Brockman’s tax preparers are located in Houston. Keneally Decl. ¶ 35.
                                                                            20   And counsel is aware of numerous subpoenas that the government has served on individuals and
                                                                            21   entities in Houston. Keneally Decl. ¶ 36. The government’s Opposition ignores all of this.
                                                                            22   Gov’t Opp’n at 8-9.
                                                                            23            But no trial can take place before Mr. Brockman is determined to be competent, and that
                                                                            24
                                                                                           6
                                                                                             In contrast, the government cites cases that were close to or on the eve of trial when the transfer motion
                                                                            25   was made. See Testa, 548 F.2d at 857 (defendant “moved for change of venue only eight days before trial”); United
                                                                                 States v. Spy Factory, Inc., 951 F. Supp. 450, 460 (S.D.N.Y. 1997) (deciding transfer motion one month before trial
                                                                            26   was set to begin); United States v. Shayota, 2015 WL 9311922, at *6 (N.D. Cal. Dec. 23, 2015) (hearing scheduled to
                                                                                 “be a trial setting” five days after the transfer motion was decided); United States v. Calk,
                                                                            27   2020 WL 703391, at *1 (S.D.N.Y. Feb. 12, 2020) (deciding transfer motion nearly a year after the unsealing of the
                                                                                 indictment); United States v. Blakstad, 2020 WL 5992347, at *4 (S.D.N.Y. Oct. 9, 2020) (deciding motion in October
                                                                            28   2020 when trial was originally scheduled for November 2020 and was delayed only due to COVID-19).
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                                                                             1   determination will require a competency hearing.7 The government offers nothing to dispute that
                                                                             2   the location of witnesses essential to this hearing must be included in the Platt analysis. See
                                                                             3   Gov’t Opp’n at 9. A competency hearing is a “critical stage” of a criminal trial, for which the
                                                                             4   defendant is generally entitled to the same safeguards that would apply at trial. See, e.g., Sturgis
                                                                             5   v. Goldsmith, 796 F.2d 1103, 1109 (9th Cir. 1986).
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                                                                             6           The government’s crass dismissal of Mr. Brockman’s treating physicians as “compensated
                                                                             7   experts,” Gov’t Opp’n at 8, and an example of “wealthy defendants [buying] their venue simply
                                                                             8   by hiring experts,” Gov’t Opp’n at 12, crosses a line that prosecutors should not approach. It is
                                                                             9   no rebuttal to the fact that requiring the medical witnesses to testify in this District would impose
                                                                            10   an nearly insurmountable hardship. Compare Def.’s Mot. at 11-12 and Pool Decl. ¶ 8 with Gov’t
                                                                            11   Opp’n at 8-9. The government also offers no support for its contention that “[w]itnesses and
                                                                            12   experts regularly appear remotely at competency hearings,” Gov’t Opp’n at 9, and ignores that
                                                                            13   Mr. Brockman has a right to an in-person, rather than a video-conferenced, hearing. See Def.’s
                                                                            14   Mot. at 12 n.10 (§ 4241(a) competency hearings not permitted under CARES Act video
                                                                            15   teleconferencing provisions for criminal proceedings).
                                                                            16           There is only one choice that may be made between a largely remote hearing, or a hearing
                                                                            17   at which Mr. Brockman’s doctors can be available to testify in person. The competency hearing
                                                                            18   is a fundamental due process safeguard, and cannot be brushed aside as facilely as the
                                                                            19   government suggests. Only a transfer to the Southern District of Texas will ensure that this
                                                                            20   hearing can be fairly held.
                                                                            21           C.       “Platt factor” # 3: location of events likely to be in issue
                                                                            22           Nowhere does the government come to grips with the fact that “the events put in issue by
                                                                            23   the Indictment took place largely between Mr. Brockman in Houston and Evatt Tamine”—
                                                                            24   “Individual One” in the Indictment—in various other locations, but never in the Northern District
                                                                            25   of California. Def.’s Mot. at 13. By contrast, the government’s argument on this factor does not
                                                                            26   identify a single event that is likely to be in issue that took place in this District. Gov’t Opp’n at
                                                                            27
                                                                                         7
                                                                                           As instructed by the Court, the defense filed its Motion For a Hearing to Determine Whether
                                                                            28   Mr. Brockman is Competent to Assist in His Defense on December 8, 2020. ECF No. 64.
                                                                                                                                                   Reply in Support of Motion to Dismiss in Part for Lack of Venue
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                                                                             1   9-10. The weight of this factor is not cancelled by disparaging the defense for “attempting to
                                                                             2   tally the locus of events described in the Indictment.” Gov’t Opp’n at 9-10. Nor is it overcome
                                                                             3   by the government’s objection that “venue for several Counts in the Indictment,” nowhere
                                                                             4   identified in the Opposition, “could fail completely in the Southern District of Texas.” Gov’t
                                                                             5   Opp’n at 10.
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                                                                             6          D.      “Platt factor” # 4: location of records
                                                                             7          Contrary to the government’s contention, this factor does not “weigh[] against transfer.”
                                                                             8   Gov’t Opp’n at 10. The government asserts that all “relevant documents and records are either
                                                                             9   already in the Northern District or are electronically accessible.” Gov’t Opp’n at 10. Even if
                                                                            10   true, electronically accessible documents can be accessed just as easily in Houston as in San
                                                                            11   Francisco, and the government does not suggest it would create any burden to transport any
                                                                            12   necessary documents if the case were transferred. To the extent the government has collected
                                                                            13   documents from Houston and transported them to San Francisco—as suggested by the many
                                                                            14   subpoenas it has served on individuals and entities in Houston—those documents in particular
                                                                            15   should not be weighed against transfer. See United States v. Coffee,
                                                                            16   113 F. Supp. 2d 751, 756 (E.D. Pa. 2000) (“[I]t would be odd indeed to allow the Government to
                                                                            17   create venue by its act of shipping documents, especially as they can readily be shipped back.”).
                                                                            18          E.      “Platt factor” # 5: disruption to the defendant’s business
                                                                            19          The Court in Platt specifically addressed venue with regard to a corporate defendant in a
                                                                            20   criminal proceeding. Platt, 376 U.S. at 243-44. It is more than reasonable, by analogy, to
                                                                            21   consider the disruption to Mr. Brockman, who is in failing health, if he is forced to face a
                                                                            22   competency hearing and a possible trial away from his doctors, his family, and his home. As
                                                                            23   Dr. Pool attested, this disruption may have serious detrimental consequences to Mr. Brockman’s
                                                                            24   already precarious physical and cognitive condition. Pool Decl. at ¶ 10.
                                                                            25          F.      “Platt factor” # 6: expense to the parties
                                                                            26          The government states: “Transferring only a portion of this case would be enormously
                                                                            27   expensive.” Gov’t Opp’n at 10. This is exactly the defense’s point: the FBAR counts cannot be
                                                                            28   tried in this District. Only transfer to the Southern District of Texas will allow all of the counts in
                                                                                                                                             Reply in Support of Motion to Dismiss in Part for Lack of Venue
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                                                                             1   the Indictment to be addressed in a single proceeding.
                                                                             2            G.       “Platt factor” # 7: location of counsel
                                                                             3            In listing counsel who have made appearances to date in this matter, the government
                                                                             4   identifies one attorney in the Southern District of Texas and three in the Northern District of
                                                                             5   California. Gov’t Opp’n at 11. The government also candidly notes that three of the four
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                                                                             6   prosecutors are based in Washington D.C. Gov’t Opp’n at 11. The three D.C.-based prosecutors
                                                                             7   are with the DOJ Tax Division, which has had a lead role in the investigation and prosecution of
                                                                             8   this case, see Keneally Decl. Ex. E, Ex. M, and which has nationwide jurisdiction over tax
                                                                             9   prosecutions. 28 C.F.R. 0.70(b). While the government asserts that the “local AUSA . . . is not a
                                                                            10   fungible local counsel,” Mr. Brockman’s attorneys are no more fungible. See Gov’t Opp’n at 11.
                                                                            11   Mr. Brockman’s defense team is not limited only to those lawyers who have formally made an
                                                                            12   appearance. While defense counsel is capable of defending him in either district, all of the
                                                                            13   attorneys who have met with him in person throughout the investigation and subsequent to the
                                                                            14   Indictment are located in Houston, New York, and Washington. Keneally Decl. ¶ 39. It is fair to
                                                                            15   say that this factor is equally balanced, and should not affect the transfer analysis.
                                                                            16            H.       “Platt factor” # 8: relative accessibility of place of trial
                                                                            17            The government does not refute that both courthouses are easily accessible. See Gov’t
                                                                            18   Opp’n at 11. This factor is neutral.
                                                                            19            I.       “Platt factor” # 9: docket condition of each district or division involved
                                                                            20            This penultimate factor is among the most compelling: the Southern District of Texas has
                                                                            21   more active judges, fewer pending cases per judge, a far-shorter median time from filing to
                                                                            22   disposition of felony cases, and an overall faster docket than the Northern District of California.
                                                                            23            The defense’s Motion relied on June 2020 statistics, which were the most recent that were
                                                                            24   then available, and which reflected the likelihood of a speedier disposition of this matter in the
                                                                            25   Southern District of Texas.8 Since the Motion was filed, the Administrative Office of the Courts
                                                                            26
                                                                            27            8
                                                                                            See Federal Court Management Statistics, Administrative Office of the Courts,
                                                                                 https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0630.2020.pdf at 36, 66 (last visited Nov.
                                                                            28   19, 2020).
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                                                                             1   has published updated statistics, reflecting the operation of the courts through September 2020:9
                                                                             2                                                                        NDCA                       SD Texas
                                                                             3
                                                                                                Total number of active judges                        14                             19
                                                                             4                                                                  (no change)                    (no change)
                                                                                                Cases pending per judge                          870 cases                      770 cases
                                                                             5                                                                  (no change)                 (9 case increase)
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                                                                             6                  Median time from filing to                      12.4 months                     4.2 months
                                                                                                disposition in felony cases                      (1.2 month                     (0.2 month
                                                                             7                                                                    increase)                      increase)
                                                                             8                  Average time from filing to trial in            44.5 months                    20.3 months
                                                                                                civil cases                                     (15.2 month                     (4.6 month
                                                                             9                                                                   increase)                       decrease)
                                                                            10            The updated data is telling. In the midst of the COVID-19 pandemic, it is no surprise that
                                                                            11   the average time from filing to trial in civil cases lengthened significantly in this District. But
                                                                            12   despite the pandemic, the average time from filing to trial in civil cases actually declined by 4.6
                                                                            13   months in the Southern District of Texas. And while the median time from filing to disposition in
                                                                            14   felony cases increased in both districts, the gap widened by one month in favor of the Southern
                                                                            15   District of Texas.10
                                                                            16            These trends are likely to continue in light of the most recent orders as to court operations
                                                                            17   in each district. In this District, “all in-person, in-court proceedings” are suspended, “with a
                                                                            18   planned resumption of some limited proceedings, if possible, on January 4.”11 By contrast, the
                                                                            19   Houston courthouse of the Southern District of Texas remains open, with judges permitted to
                                                                            20   continue to hold in-person hearings.12 Only jury trials are currently on hold in the Houston
                                                                            21   courthouse, but even they are set to resume on January 19, 2021.13
                                                                            22             9
                                                                                             See Federal Court Management Statistics, Administrative Office of the Courts,
                                                                                 https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0930.2020.pdf at 36, 66 (last visited Dec.
                                                                            23
                                                                                 9, 2020).
                                                                            24            10
                                                                                               Id.
                                                                                          11
                                                                                               https://www.cand.uscourts.gov/ (last visited Dec. 9, 2020).
                                                                            25
                                                                                          12
                                                                                             In re: Court Operations in the Houston and Galveston Divisions under the Exigent Circumstances
                                                                            26   Created by the Covid-19 Pandemic, Special Order H-2020-24 (Nov. 19, 2020), available at
                                                                                 https://www.txs.uscourts.gov/sites/txs/files/Special%20Order%20H-2020-
                                                                            27   24%20Eighth%20Supplemental%20Court%20Operations%20in%20Houston%20and%20Galveston%20During%20
                                                                                 COVID-19.pdf (last visited Dec. 11, 2020).
                                                                            28            13
                                                                                               Id.
                                                                                                                                                       Reply in Support of Motion to Dismiss in Part for Lack of Venue
                                                                                                                                                     and Transfer to the Southern District of Texas 3:20-cr-00371-WHA
                                                                                                                                            - 13 -
                                                                                  Case 3:20-cr-00371-WHA Document 66 Filed 12/11/20 Page 18 of 18
                                                                             1            All available evidence regarding docket conditions therefore continues to suggest that this
                                                                             2   case will proceed more expeditiously in the Southern District of Texas than in this District.
                                                                             3            J.     “Platt factor” # 10: “Special Elements”
                                                                             4            The government contends that it would be safer, given the current comparative COVID-19
                                                                             5   infection rates in San Francisco and Houston, not to transfer this case. Gov’t Opp’n at 11-12. If
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                                                                             6   the government is seeking to rest on current infection rates to contend that everyone involved in
                                                                             7   this matter would be better off in San Francisco, it is seeking to write on an unreliable
                                                                             8   prognostication of what will come next in the pandemic.
                                                                             9            The irrefutable point here is that the sole defendant in this case is a 79-year-old man in
                                                                            10   failing physical health who lacks the mental competency to assist with his defense. He has lived
                                                                            11   in Houston for most of his adult life, where he also worked, prepared and filed taxes, consulted
                                                                            12   with attorneys, and attended to his health. The Indictment does not allege a single act by him in
                                                                            13   San Francisco, instead basing venue primarily on the allegation that money moved through this
                                                                            14   District before being transferred elsewhere.
                                                                            15            Under all of the circumstances, this case should be transferred in its entirety to the
                                                                            16   Southern District of Texas.
                                                                            17   III.     CONCLUSION
                                                                            18            For the reasons set forth above and in Defendant’s Motion to Transfer, this Court should
                                                                            19   (i) transfer this case pursuant to Federal Rule of Criminal Procedure 21(b) from the Northern
                                                                            20   District of California to the Southern District of Texas, and (ii) dismiss Counts Nine through
                                                                            21   Fourteen of the Indictment under Federal Rule of Criminal Procedure 12(b)(3)(A)(i) for improper
                                                                            22   venue, or in the alternative, transfer Counts Nine through Fourteen to the Southern District of
                                                                            23   Texas.
                                                                            24   Dated: December 11, 2020                               Respectfully submitted,
                                                                                                                                        JONES DAY
                                                                            25
                                                                                                                                        s/ Neal J. Stephens_______
                                                                            26                                                          NEAL J. STEPHENS
                                                                                                                                        Counsel for Defendant
                                                                            27                                                          ROBERT T. BROCKMAN
                                                                            28
                                                                                                                                              Reply in Support of Motion to Dismiss in Part for Lack of Venue
                                                                                                                                            and Transfer to the Southern District of Texas 3:20-cr-00371-WHA
                                                                                                                                   - 14 -
                                            Case 3:20-cr-00371-WHA
                                       Case 4:21-cr-00009            Document
                                                           Document 1-3        6801/04/21
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                                                                                                         of 1of 771


  UNITED STATES DISTRICT COURT                                                                         TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                              Please use one form per court reporter.                                                               DUE DATE:
                 CAND 435                                                                         CJA counsel please use Form CJA24
             (CAND Rev. 08/2018)                                                              Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                                3. CONTACT EMAIL ADDRESS
Mari Reyes                                                                      (650) 739-3939                                                            mreyes@jonesday.com
1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                               3. ATTORNEY EMAIL ADDRESS
Neal Stephens                                                                    (650) 739-3939                                                           nstephens@jonesday.com
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                 5. CASE NAME                                                                              6. CASE NUMBER
Jones Day
1755 Embarcadero Road                                                                                      United States v. Brockman                                                                 3:20-cr-0371
Palo Alto, CA 94303
                                                                                                          8. THIS TRANSCRIPT ORDER IS FOR:
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND &+(&.%2; ȹޫ FTR                                       ޫ APPEAL           ✔ CRIMINAL
                                                                                                                             ޫ                  ޫ In forma pauperis (NOTE: Court order for transcripts must be attached)
Ana Dub                                                                                                   ޫ NON-APPEAL       ޫ CIVIL            CJA: Do not use this form; use Form CJA24.


9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

                                                                                         b.       SELECT FORMAT(S) (NOTE: ECF access is included
 a.     HEARING(S) (OR PORTIONS OF HEARINGS)                                                                                                            c.        DELIVERY TYPE ( Choose one per line)
                                                                                                  with purchase of PDF, text, paper or condensed.)

      DATE          JUDGE             TYPE                    PORTION                       PDF        TEXT/ASCII    PAPER   CONDENSED    ECF ACCESS   ORDINARY       14-Day   EXPEDITED    3-DAY     DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,    (email)        (email)               (email)       (web)     (30-day)                 (7-day)             (Next day)    (2 hrs)
                     (initials)    (e.g. CMC)   specify portion (e.g. witness or time)

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12/15/2020          WHA            Motion
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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:




ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                             12. DATE
11. SIGNATURE
                 /s/ Neal Stephens                                                                                                                                               12/15/2020


         Clear Form                                                                                                                                                                         Save as new PDF
                                                                                          Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 1 of 12
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                                                                               United States Attorney
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                                                                               HALLIE HOFFMAN (CABN 210020)
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Case 4:21-cr-00009 Document 1-3 Filed on 01/04/21 in TXSD Page 192 of 771




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                                                                            10 Trial Attorneys
                                                                               United States Department of Justice, Tax Division
                                                                            11
                                                                            12 Attorneys for the United States of America
                                                                            13                                 UNITED STATES DISTRICT COURT
                                                                            14                               NORTHERN DISTRICT OF CALIFORNIA
                                                                            15                                      SAN FRANCISCO DIVISION
                                                                            16   UNITED STATES OF AMERICA,                            Case No.: 3:20-cr-00371-WHA
                                                                            17           Plaintiff,                                   UNITED STATES’ RESPONSE TO
                                                                                                                                      DEFENDANT’S MOTION FOR A COMPETENCY
                                                                            18      v.                                                HEARING
                                                                            19   ROBERT T. BROCKMAN,                                  Date:   January 12, 2021
                                                                                                                                      Time:   2:00 PM
                                                                            20           Defendant.
                                                                            21
                                                                            22           The United States respectfully responds to Defendant’s motion for a competency hearing (ECF
                                                                            23 No. 64) (the “Motion”). The government agrees that there must be a competency hearing, but the
                                                                            24 hearing should not be scheduled in isolation. Instead, the Court should issue a scheduling order that
                                                                            25 dictates when Defendant must produce competency-related discovery, how long the designated experts
                                                                            26 will have to review the discovery and evaluate Defendant, when their expert reports will be due and,
                                                                            27 finally, when the competency hearing will be held. Although the Motion correctly concludes that the
                                                                            28 Court must hold a competency hearing on its record, it omits significant legal and factual context.
                                                                                  UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION   1
                                                                                  FOR A COMPETENCY HEARING
                                                                                  Case No.: 3:20-CR-00371-WHA
                                                                                          Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 2 of 12
                                                                             1   I.     THE COURT MUST GRANT THE MOTION, BUT ESCHEW ITS PROPOSED ORDER
                                                                             2          In passing the Insanity Defense Reform Act of 1984, Congress codified the procedures related to
                                                                             3 competency at 18 U.S.C. §§ 4241 & 4247, and the Court must follow this statutory framework through
                                                                             4 the adjudication of Defendant’s competency claim. Section 4241(a) (and constitutional due process)
                                                                             5 requires a competency hearing whenever “there is reasonable cause to believe that a defendant may
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                                                                             6 presently be suffering from a mental disease or defect rendering him mentally incompetent to the extent
                                                                             7 that he is unable to understand the nature and consequences of the proceedings against him or to assist
                                                                             8 properly in his defense.” As the Motion explained, the threshold for holding a competency hearing is
                                                                             9 low, and it is satisfied in this case. What the Motion did not explain is that the hearing is hardly the first
                                                                            10 step of the process. Although Defendant may prefer to hold a prompt hearing based only on the
                                                                            11 opinions of experts he retained and testimony from his wife and friends, the applicable statutory
                                                                            12 framework contemplates a more searching review of Defendant’s claim. In any criminal case, but
                                                                            13 especially in a case where the defendant continued to run a multibillion-dollar company, Reynolds &
                                                                            14 Reynolds (“Reynolds”), for almost two years after his alleged diagnosis, and stepped down only after he
                                                                            15 was indicted, it would be unwise for a court to rush into a competency hearing with expert evidence
                                                                            16 from only the criminal defendant.
                                                                            17          Section 4241(b) gives the Court discretion to “order that a psychiatric or psychological
                                                                            18 examination of the defendant be conducted,” and Section 4247(b) establishes statutory requirements for
                                                                            19 such examinations. For example, competency examinations must be conducted by “a licensed or
                                                                            20 certified psychiatrist or psychologist, or, if the court finds it appropriate, by more than one such
                                                                            21 examiner.” 18 U.S.C. § 4247(b). The statute also vests the Court with discretion to “commit the person
                                                                            22 to be examined for a reasonable period, but not to exceed thirty days, . . . to the custody of the Attorney
                                                                            23 General for placement in a suitable facility.” Id. A custodial placement is appropriate in cases where
                                                                            24 malingering is a concern, as it allows trained Bureau of Prisons mental health professionals and staff to
                                                                            25 observe defendants in both clinical and non-clinical settings for a prolonged period of time. As
                                                                            26 Defendant has already retained and been evaluated by his experts, the government should have the same
                                                                            27 opportunity for its experts to evaluate Defendant. The Court should also appoint its own expert and/or
                                                                            28 remand Defendant to one of the BOP facilities that conducts competency evaluations (there is such a
                                                                                  UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION     2
                                                                                  FOR A COMPETENCY HEARING
                                                                                  Case No.: 3:20-CR-00371-WHA
                                                                                         Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 3 of 12
                                                                             1 facility at FMC Fort Worth in Texas). The Court should not schedule any competency hearing until it
                                                                             2 has determined which experts will have the opportunity to examine Defendant, draft expert reports, and
                                                                             3 present their finding at the hearing.
                                                                             4          The Court as factfinder, as well as every expert that evaluates Defendant and offers a view of his
                                                                             5 competency, should be afforded the benefit of all relevant evidence in deciding this matter. Therefore,
Case 4:21-cr-00009 Document 1-3 Filed on 01/04/21 in TXSD Page 194 of 771




                                                                             6 before scheduling a hearing, the Court will first need to decide associated discovery matters related to
                                                                             7 the proceedings. On November 19, 2020, the government requested relevant medical information from
                                                                             8 Defendant and, on December 10, the defense team indicated that it viewed the attachments to the Motion
                                                                             9 as the whole of its discovery and does not intend to produce anything further.1 If Defendant persists in
                                                                            10 his insistence of hiding relevant evidence from evaluating experts and the Court, the government will
                                                                            11 issue a subpoena, and request the Court to order their production under 45 C.F.R. § 164.512(e), which
                                                                            12 excepts from HIPPA’s privacy protections disclosures made in connection with “judicial and
                                                                            13 administrative proceedings,” and Fed. R. Crim. P. 17(c)(1), which will allow early production to ensure
                                                                            14 evaluating experts have sufficient time to review the records before making their conclusions and
                                                                            15 writing their expert reports. Any expert evaluator will need to review the historical medical records
                                                                            16 requested by the government in order to comply with the statute’s requirement of producing an expert
                                                                            17 report to the Court. See 18 U.S.C. § 4247(c)(1) (requiring the report to include “the person’s history and
                                                                            18 present symptoms”) (emphasis added).
                                                                            19          In sum, the government requests that the Court issue a scheduling order for the requested
                                                                            20 competency hearing which also includes deadlines for discovery, evaluation of the discovery by experts,
                                                                            21 evaluations and testing of Defendant by government (and Court-appointed) experts, and submission of
                                                                            22 Section 4241(c) expert reports.
                                                                            23   II.    STATUTORY POST-HEARING PROCEDURES
                                                                            24          As discussed above, holding a competency hearing is not the first step in adjudicating
                                                                            25 competency. It is also not the last. The post-hearing procedural landscape will depend on whether the
                                                                            26
                                                                                     1
                                                                                       In its letter, the government also noted that it would request an order for production if
                                                                            27 Defendant did not produce them voluntarily, and recommended Defendant start gathering them in the
                                                                               meantime to avoid subsequent delay. Ex. 1.
                                                                            28
                                                                                  UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION   3
                                                                                  FOR A COMPETENCY HEARING
                                                                                  Case No.: 3:20-CR-00371-WHA
                                                                                          Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 4 of 12
                                                                             1 Court finds Defendant competent by a preponderance of evidence. If the Court finds Defendant
                                                                             2 competent, proceedings will commence.2 If the Court finds Defendant incompetent, under the
                                                                             3 applicable statute, it must remand him to custody for further evaluation.3 See 18 U.S.C. § 4241(d)
                                                                             4 (“[T]he court shall commit the defendant to the custody of the Attorney General.”). The Attorney
                                                                             5 General, in turn, “shall hospitalize the defendant for treatment in a suitable facility . . . for such a
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                                                                             6 reasonable period of time, not to exceed four months, as is necessary to determine whether there is a
                                                                             7 substantial probability that in the foreseeable future he will attain the capacity to permit the proceedings
                                                                             8 to go forward . . . .” The statute provides for further hospitalization “. . . for an additional reasonable
                                                                             9 period of time until (A) his mental condition is so improved that trial may proceed, if the court finds that
                                                                            10 there is a substantial probability that within such additional period of time he will attain the capacity to
                                                                            11 permit the proceedings to go forward; or (B) the pending charges against him are disposed of according
                                                                            12 to law; whichever is earlier.” Id. In sum, § 4241(d) “provides for a mandatory commitment of a
                                                                            13 defendant, who has been deemed incompetent, for study of the defendant’s potential for restorability to
                                                                            14 competence.” United States v. LKAV, 712 F.3d 436, 441 (9th Cir. 2013) (comparing § 4241(d) to the
                                                                            15 permissive commitment, observation and study regime applicable to juveniles).
                                                                            16 III.     FACTUAL BACKGROUND
                                                                            17          The Motion suggests that Defendant first complained of symptoms before he developed a motive
                                                                            18 to malinger, that he has been unable to assist his attorneys and alerted them of his symptoms only to aid
                                                                            19 their working relationship, and that his symptoms are confirmed by a team of esteemed doctors. The
                                                                            20 Motion also suggests that the government acted in bad faith for declining Defendant’s invitation to
                                                                            21 investigate his claims pre-indictment. Considering the context of Defendant’s claims, when compared
                                                                            22 to other contemporaneous events, and the fact that Defendant remained CEO of Reynolds until after he
                                                                            23 was indicted, his claims are deserving of healthy skepticism. Only sunlight on Defendant’s historical
                                                                            24
                                                                                      2
                                                                                        Unless Defendant raises it in time to be considered along with his competency claim, the Court
                                                                            25 should decline to entertain a future claim of physical incapacity that is brought only after the Court finds
                                                                               him competent. To be clear, the government does not believe Defendant suffers from physical
                                                                            26 incapacity that would bar prosecution. On the contrary, his record of pre-pandemic leisure travel
                                                                               suggests the opposite is true. Nonetheless, the government raises this issue now to avoid any
                                                                            27 unexpected surprises after the conclusion of the upcoming competency hearing.
                                                                                       3
                                                                            28           Unlike initial BOP competency evaluations, these competency restoration evaluations are
                                                                                 conducted almost entirely at FMC Butner (in North Carolina) and MCFP Springfield (in Missouri).
                                                                                  UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION     4
                                                                                  FOR A COMPETENCY HEARING
                                                                                  Case No.: 3:20-CR-00371-WHA
                                                                                         Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 5 of 12
                                                                             1 medical records, combined with the rigors of the adversarial process, will ensure that the Court, as
                                                                             2 factfinder, will be afforded the fullest picture of the circumstances that bear on whether Defendant is
                                                                             3 truly incompetent. Although the facts informing the government’s skepticism will be further developed
                                                                             4 throughout these competency proceedings, it is worth orienting the Court to some of them at the outset.
                                                                             5          A.     The Timing of Defendant’s Claims
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                                                                             6          Defendant offers only the information he wants the Court to see, and not the information to put
                                                                             7 those events in proper context. Like the instant Motion, the timeline Defendant shared with the
                                                                             8 government pre-indictment (and replicated below) omits relevant contemporaneous activities that are
                                                                             9 probative of his mental capacity and, frankly, cast doubt on Defendant’s narrative.
                                                                            10
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                                                                            22          Defendant’s efforts to thwart his detection, investigation, and prosecution by law enforcement
                                                                            23 have been long-standing. As early as 2010, he directed Evatt Tamine, his professional nominee, to
                                                                            24 “[o]perate as much as possible in a paperless manner–such that if someone were to come in your door
                                                                            25 unannounced everything would be in encrypted digital form.” Ex. 2 at 2. He further instructed Tamine
                                                                            26 that “[a]lthough you have several personal friends in Houston that I am sure you want to maintain,
                                                                            27 please restrict your contact with the USA generally such that except for these few–you tend to fade into
                                                                            28 the background.” Id. at 3. Defendant even gave Tamine detailed instructions on how to smuggle
                                                                                 UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION    5
                                                                                 FOR A COMPETENCY HEARING
                                                                                 Case No.: 3:20-CR-00371-WHA
                                                                                         Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 6 of 12
                                                                             1 incriminating electronically stored information into Bermuda. Ex. 3 (“For sure I would expect that you
                                                                             2 would not be connecting thru the USA.”). In 2011, Defendant expressed concern about his collateral
                                                                             3 exposure if Robert Smith, his business partner, had a “nasty divorce” and, in 2013, he even directed
                                                                             4 Tamine to get a key deposition transcript from the divorce proceedings. Ex. 4; Ex. 5. The Indictment, at
                                                                             5 ¶ 194, alleges that Defendant learned of the instant investigation in or about June 2016 and, when
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                                                                             6 Defendant’s prior nominee subsequently died, Defendant directed Tamine to make numerous trips to the
                                                                             7 former nominee’s home to destroy records, which is the subject of Counts 38 & 39. Ex. 6 at 2-3.
                                                                             8          Evidence of Defendant’s early claims of neurocognitive problems cannot be appreciated without
                                                                             9 considering other events occurring at the time. For example, on September 5, 2018, the Bermuda Police
                                                                            10 Service raided Tamine’s home, invading Defendant’s secret offshore world. It was the very next day
                                                                            11 that Defendant reached out to his urologist, Dr. Seth Lerner, to schedule an appointment. Ex. 7. This is
                                                                            12 significant because, although Defendant has not disclosed the exact date of the appointment, Defendant
                                                                            13 claims that Dr. Lerner was the first doctor to witness his symptoms.4 Although Defendant has thus far
                                                                            14 refused to fully disclose his historical medical records, he has apparently suffered his share of health
                                                                            15 problems over the years. It is notable that none of his doctors—not his general practitioners,
                                                                            16 oncologists, cardiologists, or anyone else—noted dementia symptoms until after the authorities executed
                                                                            17 a search warrant on Tamine’s home. A fuller timeline might look like this:
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                                                                            21
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                                                                            24
                                                                            25
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                                                                                      4
                                                                            27          Although counsel has not indicated when they began representing Defendant, a privilege log
                                                                               provided by Defendant’s company shows communications between Defendant and his Jones Day
                                                                            28 attorneys as early as September 9, 2018 and, by September 18, Defendant’s attorneys were in touch with
                                                                               his CPA. Ex. 8; Ex. 9.
                                                                                  UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION    6
                                                                                  FOR A COMPETENCY HEARING
                                                                                  Case No.: 3:20-CR-00371-WHA
                                                                                         Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 7 of 12
                                                                             1          B.      Defendant’s Financial Ties to Baylor and Relationship with Dr. Stuart Yudofsky
                                                                             2          Defendant has donated tens of millions of dollars to the Baylor College of Medicine. Ex. 10.
                                                                             3 Defendant also approved another million-dollar donation from Reynolds a few days after he was
                                                                             4 examined by Dr. James Pool, which the Motion cites as the first doctor to diagnose Defendant with
                                                                             5 dementia and refer him to further specialists. Ex. 11. The bulk of Defendant’s Baylor donations ($25M)
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                                                                             6 were made between 2011 and 2014 to fund Dr. Stuart Yudofsky, a Baylor psychiatrist and Chairman of
                                                                             7 the Scientific Advisory Board of the Brockman Medical Research Foundation. Ex. 12 at 3-5.
                                                                             8          Although the Indictment alleges that Defendant was aware of the current investigation in 2016,
                                                                             9 Defendant offers (and offered to the government prior to indictment) a 2017 email between him and Dr.
                                                                            10 Yudofsky as supposed evidence that he had symptoms before his motive to feign dementia ripened. The
                                                                            11 Motion describes Dr. Yudofsky, who is a neuropsychiatrist, as Defendant’s “friend.” However, it
                                                                            12 declines to note that he is intimately involved in Defendant’s personal life, professionally indebted to
                                                                            13 Defendant, and well acquainted with Tamine.
                                                                            14          As alleged in the Indictment, Tamine served as Defendant’s professional nominee and wrote
                                                                            15 annual performance appraisals for Defendant. Indictment at ¶ 10. In his 2011 evaluation, Tamine told
                                                                            16 Defendant that his communications with Dr. Yudofsky and others were “undertaken with the requisite
                                                                            17 degree of authority, i.e. I do not believe that anyone has any basis to suggest that I am merely carrying
                                                                            18 out your instructions - whatever they might privately believe,” thereby suggesting that Dr. Yudofsky
                                                                            19 knew Tamine was merely Brockman’s nominee. Ex. 13 at 3. Tamine also told Defendant that his
                                                                            20 rapport-building with Dr. Yudofsky “work[s] as a strong barrier against an attack from the IRS.” Id. In
                                                                            21 his 2016 evaluation, Tamine tells Defendant that he “helped Stuart out of a position he found very
                                                                            22 difficult and worrying”5 and noted that his relationship with Dr. Yudofsky was “very strong.” Ex. 6 at
                                                                            23 3-4.
                                                                            24          The years of rapport-building may have been drawn upon during a 2017 crisis. On July 30,
                                                                            25 2017, Tamine emailed Defendant a memorandum on issues to deal with Bermuda Commercial Bank
                                                                            26 freezing Defendant’s accounts. Ex. 15. One of the problems Tamine identified was that he was
                                                                            27
                                                                            28          5
                                                                                          The issue appears to be related to who would succeed Dr. Yudofsky after he retired. Ex. 14.
                                                                                  UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION   7
                                                                                  FOR A COMPETENCY HEARING
                                                                                  Case No.: 3:20-CR-00371-WHA
                                                                                         Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 8 of 12
                                                                             1 becoming subjected to increased scrutiny and proposed that he no longer travel to the United States with
                                                                             2 a computer or telephone and, instead, keeping “all I need at Stuart Yudofsky’s office including a
                                                                             3 phone.” Ex. 16 at 4-5. Defendant concurred with the proposal. Ex. 15.
                                                                             4          It is important to note that despite Dr. Yudofsky’s expertise and close relationship with
                                                                             5 Defendant, he took no action other than the single emailed response to Defendant’s email. Defendant
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                                                                             6 has provided no evidence that Dr. Yudofsky examined Defendant, provided a referral, or engaged in any
                                                                             7 further correspondence on the subject. Indeed, despite Defendant’s apparent concern in the May 3, 2017
                                                                             8 email, he sought no further medical treatment or evaluation until after the search of Tamine’s house in
                                                                             9 September 2018.
                                                                            10          Defendant’s and Dr. Yudofsky’s inaction raise the question of whether Defendant’s email was
                                                                            11 designed to seek medical advice or create a paper trail. That concern is elevated because Defendant has
                                                                            12 a significant history of generating fraudulent correspondence for use in future proceedings. For
                                                                            13 example, on June 12, 2011, Defendant wanted to explore selling Reynolds but needed to justify why he,
                                                                            14 and not the trust that owned Reynolds on paper, was running the deal. To solve this problem, he used
                                                                            15 his encrypted email system to order Tamine, the “trustee” of the trust that owns Reynolds on paper, to
                                                                            16 send Defendant a letter asking Defendant to explore the potential sale. Ex. 17. Defendant even dictated
                                                                            17 the words Tamine should use in the letter to Defendant. Id.
                                                                            18          The evidence suggests that on at least one other occasion, Dr. Yudofsky was the recipient of
                                                                            19 planted correspondence orchestrated by Defendant. On August 1, 2015, Defendant sent Tamine an
                                                                            20 encrypted email asking Tamine to send Dr. Yudofsky “an open email” that Tamine had been considering
                                                                            21 the formation of a medical research foundation and inviting Dr. Yudofsky to be the chair. Ex. 18.
                                                                            22 Tamine sent an unencrypted email to Dr. Yudofsky stating exactly that on August 13, 2015. Ex. 19.
                                                                            23          Taking all of this into account—the close personal relationship between Defendant and Dr.
                                                                            24 Yudofsky, the $25M gift by Defendant to Dr. Yudofsky’s employer, the fact that Defendant felt
                                                                            25 comfortable storing Tamine’s communications devices (devices that he was afraid might be seized at the
                                                                            26 U.S. border) at Dr. Yudofsky’s office, and Defendant’s history of planting fraudulent correspondence,
                                                                            27 Defendant’s isolated email to Dr. Yudofsky in May 2017 should not be viewed as conclusive of whether
                                                                            28 Defendant actually suffered symptoms on that date.
                                                                                 UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION    8
                                                                                 FOR A COMPETENCY HEARING
                                                                                 Case No.: 3:20-CR-00371-WHA
                                                                                         Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 9 of 12
                                                                             1          C.      Defendant’s Contemporaneous Behavior was Inconsistent with Present Claims
                                                                             2          One of Defendant’s lawyers described Defendant as a man who “has consistently been unable to
                                                                             3 assist in his defense.” Romatowski Decl. (ECF No. 64-3) at ¶ 11.6 His doctors describe Defendant as a
                                                                             4 man with an IQ in freefall. Yet, while presenting to his defense attorneys and doctors as a man of
                                                                             5 rapidly diminishing metal capacity, signs of a more robust mental acuity trail in his wake.
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                                                                             6          In between his visits with the Baylor team of doctors, Defendant engaged in significant activities
                                                                             7 related to running Reynolds.7 The most mentally taxing may have been being deposed in January 2019
                                                                             8 as the CEO of a multibillion-dollar company accused of engaging in anticompetitive practices. Ex. 21.
                                                                             9 In this deposition, Defendant said that he prepared with his civil attorneys for two days in advance,
                                                                            10 apparently to great effect. Id. at 11. In the deposition, Defendant gave cogent answers, often
                                                                            11 demonstrating a superior knowledge of the documents than the examiners themselves. Id.8 Then, in
                                                                            12 September 2019, Defendant provided sworn testimony in a separate antitrust matter, again giving long
                                                                            13 and cogent answers. The attorneys who questioned him in those proceedings observed nothing unusual
                                                                            14 or out of the ordinary in Defendant’s ability to respond to the questions posed, and the lawyers who
                                                                            15 represented him in those matters did not convey any of the difficulties of which current defense counsel
                                                                            16 now complains. It is noteworthy that the Defendant’s sworn testimony in these antitrust matters, in
                                                                            17 January and September 2019, were within weeks of medical evaluations by Doctors Jankovic and Pool,
                                                                            18 and yet Defendant and his civil attorneys never raised Defendant’s alleged mental incapacity or decline
                                                                            19 as an issue during the proceedings. Furthermore, the government does not know if Defendant shared
                                                                            20 news of his deposition performance with the doctors upon whom he now relies because Defendant has
                                                                            21 thus far refused to provide the relevant medical discovery.
                                                                            22
                                                                                       6
                                                                            23           Notwithstanding, between September 2018 and March 2020, Defendant and Romatowski had
                                                                               eleven in-person meetings, each “several hours in length,” in addition to “countless meetings . . . by
                                                                            24 telephone.” Id. at ¶ 5.
                                                                                       7
                                                                                         And significant leisure. Between the medical appointment he now describes, Defendant
                                                                            25 emailed his yacht captain to reminisce about the excellent tides they had on a trip over 18 months prior,
                                                                               Ex. 21, and arrange future travel logistics. Ex. 22; Ex. 23.
                                                                            26         8
                                                                                         The deposition is replete with examples, but some are on pp. 10-23 (explaining his trust
                                                                            27 structures); 78-79 & 312-13 (explaining relevant legal requirements); 116 (interpreting contract); 151-53
                                                                               (explaining software); 160 (explaining why he only retains 6-12 months of his emails); 227-32
                                                                            28 (explaining the inefficiency of internal accounting); 315-16 (navigating a privilege issue); 334-39
                                                                               (explaining “opcodes” in detail); 350 (“As you probably can tell, I’m – I’m into the details, big time.”).
                                                                                  UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION   9
                                                                                  FOR A COMPETENCY HEARING
                                                                                  Case No.: 3:20-CR-00371-WHA
                                                                                         Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 10 of 12
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                                                                            10          Defendant now reports further mental evaluation and a prognosis of marked decline. But the
                                                                            11 observations of his doctors are inconsistent with his continued ability, at least until he was indicted, to
                                                                            12 run his company. Throughout 2020, Defendant penned numerous emails suggesting he is still able to
                                                                            13 function on a higher level than most. In recent emails, Defendant demonstrates a command of his
                                                                            14 business. See, e.g., Ex. 24 (Defendant identifies risk associated with an acquisition, noting the slowing
                                                                            15 of new car sales), Ex. 25 (Defendant discusses bid and makes teaching points to Reynolds’s President),
                                                                            16 Ex. 26 (after announcing a new COO, Defendant tells him they need to talk every day about any
                                                                            17 important decision).
                                                                            18          Defendant made it clear to Reynolds associates that he was not leaving and remained an integral
                                                                            19 part of his company. On May 10, 2020, he drafted a lengthy memo to Vice-Chairman Robert Nalley
                                                                            20 outlining his plans for the company. Ex. 27. Nalley was the first employee Defendant hired when he
                                                                            21 started the company and had been a board member and President for decades. In the email, Defendant
                                                                            22 tells Nalley that he is letting other executives take bigger roles because of “fatigue–plus recognition that
                                                                            23 I am in the final 20 percent of my life (if I am lucky)” but that he planned on working four to five years
                                                                            24 “helping teach the next generation everything I know about how to run the company efficiently.” Id. at
                                                                            25 1-2.
                                                                            26          The discrepancy between the picture Defendant presented to doctors, the government, and this
                                                                            27 Court, and the manner in which he lived his life is most starkly revealed by in the June 3, 2020
                                                                            28 reorganization of the executive structure of Reynolds. This reorganization took place almost two
                                                                                  UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION    10
                                                                                  FOR A COMPETENCY HEARING
                                                                                  Case No.: 3:20-CR-00371-WHA
                                                                                         Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 11 of 12
                                                                             1 months after attorneys for the defendant told the government that he was so impaired that he should not
                                                                             2 even be indicted. Evidence of such impairment, however, was entirely absent from the reorganization of
                                                                             3 Defendant’s company. While other executives were shuffled around, Defendant retained the positions
                                                                             4 of Chairman and CEO. Ex. 28 at 2. While Defendant did say his focus would be on training the new
                                                                             5 leadership, he informed the new COO that “you and I should be talking every day about any decision of
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                                                                             6 importance that is cooking.” Ex. 26. Correspondence like this, during a period in time when his lawyers
                                                                             7 represented that Defendant was so impaired that he could not assist them, raises considerable question
                                                                             8 about Defendant’s claim.
                                                                             9 IV.      THE INAPPROPRIATENESS OF EVALUATING THIS ISSUE PRE-INDICTMENT
                                                                            10          In passing the Insanity Defense Reform Act of 1984, Congress created a statutory framework for
                                                                            11 the evaluation of competency claims. It empowered the Courts, not prosecutors, to make competency
                                                                            12 determinations. Nevertheless, Defendant now complains that the United States declined his invitation to
                                                                            13 investigate Defendant’s mental state prior to indictment. Putting aside evidence described herein, such
                                                                            14 an investigation would have been inappropriate pre-indictment. Even if the government agreed with
                                                                            15 Defendant’s diagnosis, but disagreed on its forensic import (i.e. whether Defendant was capable of
                                                                            16 providing effective assistance), a pre-indictment investigation would have served as a delay tactic, as
                                                                            17 any disagreement could only be settled by the Court, as Congress intended, post-indictment. The delay
                                                                            18 would be particularly injurious in the event Defendant truly suffers from degenerative ailments. For all
                                                                            19 these reasons, the government appropriately declined.
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                                                                                  UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION   11
                                                                                  FOR A COMPETENCY HEARING
                                                                                  Case No.: 3:20-CR-00371-WHA
                                                                                        Case 3:20-cr-00371-WHA Document 69 Filed 12/15/20 Page 12 of 12
                                                                             1 V.       CONCLUSION
                                                                             2          The competency statute and constitutional due process requires the Court hold a competency
                                                                             3 hearing on this record. That hearing, however, should not occur until Defendant is subjected to further
                                                                             4 evaluation by independent medical experts who are afforded the full scope of relevant information.
                                                                             5 Therefore, the Court should decline to schedule a competency hearing until after it has determined a
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                                                                             6 schedule for the events that must precede such a hearing. The United States will soon file a separate
                                                                             7 motion requesting discovery and medical examinations of Defendant as described herein.
                                                                             8
                                                                             9 Respectfully submitted this 15th day of December, 2020,
                                                                            10
                                                                            11                                                        DAVID L ANDERSON
                                                                                                                                      United States Attorney
                                                                            12
                                                                                                                                      s/ Corey J. Smith
                                                                            13                                                        COREY J. SMITH
                                                                                                                                      Senior Litigation Counsel
                                                                            14                                                        Department of Justice
                                                                                                                                      Tax Division
                                                                            15                                                        MICHAEL G. PITMAN
                                                                                                                                      Assistant United States Attorney
                                                                            16
                                                                                                                                      Attorneys for United States of America
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                                                                                 UNITED STATES’ RESPONSE TO DEFENDANT’S MOTION   12
                                                                                 FOR A COMPETENCY HEARING
                                                                                 Case No.: 3:20-CR-00371-WHA
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                                                                                                                              United States Attorney
                                                                                                                              Northern District of California
                                                                                                                                                                    (408) 535-5061
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                                                                            'HDU &RXQVHO
                                                                                     :H XQGHUVWDQG \RX H[SHFW WR ILOH D PRWLRQ LQ WKH DERYH FDSWLRQHG PDWWHU DVNLQJ WKH &RXUW
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                                                                            UHVXOWV ODEV LPDJLQJ DQG QRWHV DQG LV QRW OLPLWHG WR PHGLFDO UHFRUGV DVVRFLDWHG ZLWK WKH UHSRUWV
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                                                                                                          CHARITABLEȱCONTRIBUTIONS
                                                                                                                 Aprilȱ7th,ȱ2014
                                                                             DATE                                     RECIPIENT                             AMOUNT
                                                                               2004
                                                                            06/29/2004   PALS                                                                  $20,000.00
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                                                                            06/29/2004   AgapeȱHouse                                                           $20,000.00
                                                                            06/29/2004   TheȱBermudaȱDiabeticȱAssociation                                      $20,000.00
                                                                               2006
                                                                            07/31/2006   StȱJohnȇsȱTrustȱCompanyȱScholarships                                  $32,858.10
                                                                            12/31/2006   BermudaȱInternationalȱFilmȱFesitival                                   $5,000.00
                                                                               2007
                                                                            06/30/2007   StȱJohnȇsȱTrustȱCompanyȱScholarships                                  $40,613.53
                                                                            12/31/2007   BermudaȱInternationalȱFilmȱFesitival                                  $10,000.00
                                                                               2008
                                                                            03/31/2008   StȱJohnȇsȱTrustȱCompanyȱScholarships                                  $64,755.71
                                                                               2009
                                                                            01/14/2009   RiceȱUniversityȱȬȱBrockmanȱHallȱforȱPhysics                        $5,000,000.00
                                                                            06/10/2009   RiceȱUniversityȱȬȱBrockmanȱHallȱforȱPhysics                        $5,000,000.00
                                                                            09/30/2009   StȱJohnȇsȱTrustȱCompanyȱScholarships                                  $64,803.11
                                                                            11/23/2009   RiceȱUniversityȱȬȱBrockmanȱHallȱforȱPhysics                        $5,000,000.00
                                                                            12/31/2009   WITSAȱITȱConference                                                    $5,000.00
                                                                            12/31/2009   BermudaȱSocietyȱofȱtheȱArts                                            $5,000.00
                                                                               2010
                                                                            03/16/2010   PALSȱPeterȱMitchell                                                      $500.00
                                                                            04/14/2010   RiceȱUniversityȱȬȱBrockmanȱHallȱforȱPhysics                        $5,000,000.00
                                                                            05/31/2010   BermudaȱDocumentaryȱFilmȱFesitival                                     $5,000.00
                                                                            09/30/2010   StȱJohnȇsȱTrustȱCompanyȱScholarships                                  $71,518.00
                                                                            09/30/2010   BermudaȱSocietyȱofȱtheȱArts                                            $5,000.00
                                                                            12/31/2010   RotaryȱClubȱStudentȱExchangeȱProgramme                                $16,000.00
                                                                            12/31/2010   BermudaȱSocietyȱofȱPreventionȱofȱCrueltyȱtoȱAnimals                    $1,000.00
                                                                              2011
                                                                                                                                                            Page 1 of 3
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                                                                            01/17/2011   UniversityȱofȱTexasȱPETȱProject                                     $2,500,000.00
                                                                            06/24/2011   CentreȱCollege                                                      $4,500,000.00
                                                                            07/01/2011   BaylorȱCollegeȱofȱMedicine                                         $10,000,000.00
                                                                            09/30/2011   BermudaȱDocumentaryȱFilmȱFesitival                                      $5,000.00
                                                                            09/30/2011   StȱJohnȇsȱTrustȱCompanyȱScholarships                                   $67,357.79
                                                                            10/06/2011   Centre                                                              $3,000,000.00
                                                                            12/31/2011   BermudaȱSocietyȱofȱArts                                                 $5,000.00
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                                                                            12/31/2011   RotaryȱClubȱStudentȱExchangeȱProgramme                                  $9,500.00
                                                                               2012
                                                                            01/05/2012   CentreȱCollege                                                      $3,000,000.00
                                                                            01/16/2012   UniversityȱofȱTexasȱHealthȱCenter                                   $1,000,000.00
                                                                            01/31/2012   BermudaȱDocumentaryȱFilmȱFesitival                                     $10,000.00
                                                                            03/30/2012   CentreȱCollege                                                      $3,000,000.00
                                                                            04/12/2012   BaylorȱCollegeȱofȱMedicine                                          $5,000,000.00
                                                                            07/02/2012   CentreȱCollege                                                      $3,000,000.00
                                                                            07/07/2012   BermudaȱSocietyȱofȱtheȱArts                                             $5,000.00
                                                                            09/09/2012   RotaryȱClubȱStudentȱExchangeȱProgramme                                 $18,500.00
                                                                            09/12/2012   StȱJohnȇsȱTrustȱCompanyȱScholarships                                   $58,000.00
                                                                            09/26/2012   CentreȱCollege                                                      $3,000,000.00
                                                                               2013
                                                                            03/03/2013   StȱJohnȇsȱTrustȱCompanyȱScholarships                                    $4,000.00
                                                                            03/13/2013   BermudaȱDocumentaryȱFilmȱFesitival                                     $10,000.00
                                                                            04/05/2013   BaylorȱCollegeȱofȱMedicine                                          $5,000,000.00
                                                                            05/01/2013   RotaryȱClubȱStudentȱExchangeȱProgramme                                  $9,000.00
                                                                            05/05/2013   UniversityȱofȱTexasȱHealthȱCenter                                   $1,000,000.00
                                                                            05/05/2013   CentreȱCollege                                                      $2,000,000.00
                                                                            07/01/2013   RiceȱUniversityȱȬȱOperaȱTheaterȱȱȬȱPreȬdesign                         $500,000.00
                                                                            08/08/2013   CentreȱCollege                                                      $4,000,000.00
                                                                            10/10/2013   RotaryȱClubȱStudentȱExchangeȱProgramme                                 $12,000.00
                                                                            10/12/2013   SalvationȱArmyȱȬȱBermuda                                               $10,000.00
                                                                            10/26/2013   CentreȱCollegeȱȬȱLegalȱFeesȱ(treatedȱbyȱCentreȱasȱaȱdonation)         $302,149.86
                                                                              2014
                                                                            01/22/2014   UniversityȱofȱTexasȱHealthȱCenter                                   $1,000,000.00
                                                                            04/07/2014   BaylorȱCollegeȱofȱMedicine                                          $5,000,000.00
                                                                            04/24/2014   RotaryȱClubȱStudentȱExchangeȱProgramme                                 $10,000.00
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                                                                            04/25/2014   RiceȱUniversityȱȬȱOperaȱTheaterȱȱȬȱPreȬdesign                         $1,200,000.00
                                                                            10/13/2014   RotaryȱClubȱStudentȱExchangeȱProgramme                                   $10,000.00
                                                                            10/13/2014   UniversityȱofȱTexasȱatȱAustinȱȬȱMusicalȱLivesȱProgram                   $100,000.00
                                                                              2015
                                                                            01/09/2015   RiceȱUniversityȱȬȱOperaȱTheaterȱȱȬȱPreȬdesign                         $2,400,000.00
                                                                            02/15/2015   RotaryȱClubȱStudentȱExchangeȱProgramme                                    $6,000.00
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                                                                            03/10/2015   RotaryȱClubȱStudentȱExchangeȱProgramme                                    $4,000.00
                                                                            04/20/2015   BermudaȱDocumentaryȱFilmȱFesitival                                       $10,000.00
                                                                            04/21/2015   JohnsȱHopkins                                                         $1,000,000.00
                                                                            08/31/2015   PeterȱPooleȱȬȱSableȱTrustȱBVIȱȬȱDonationȱinȱmemoryȱofȱdeceasedȱson      $100,000.00
                                                                            09/27/2015   RotaryȱClubȱStudentȱExchangeȱProgramme                                   $13,500.00
                                                                             Annual      StȱJohnȇsȱTrustȱCompanyȱScholarships                                     $91,136.90
                                                                              2016
                                                                            02/17/2016   RotaryȱClubȱStudentȱExchangeȱProgramme                                   $12,000.00
                                                                            03/28/2016   RiceȱUniversityȱȬȱOperaȱTheaterȱȱȬȱDesign                             $3,200,000.00
                                                                            09/17/2016   RotaryȱClubȱStudentȱExchangeȱProgramme                                   $11,000.00
                                                                            10/05/2016   JeffersonȱScholarsȱFoundationȱȬȱChairȱinȱColonialȱHistory             $6,000,000.00
                                                                            10/06/2016   CureȱFAȱFoundationȱȬȱMikeȱHenry                                       $2,000,000.00
                                                                             Annual      StȱJohnȇsȱTrustȱCompanyȱScholarships                                    $116,021.58
                                                                              2017
                                                                            04/26/2017   BaylorȱCollegeȱofȱMedicineȱȬȱOȇMalleyȱandȱDacso                       $1,247,548.75
                                                                            04/27/2017   RotaryȱClubȱStudentȱExchangeȱProgramme                                    $9,000.00
                                                                             Toȱdate     StȱJohnȇsȱTrustȱCompanyȱScholarships                                     $25,000.00
                                                                            05/16/2017   RiceȱUniversityȱȬȱOperaȱTheater                                      $10,000,000.00
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                                                                            1                  IN THE UNITED STATES DISTRICT COURT
                                                                                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                            2                              EASTERN DIVISION
                                                                            3                                          )
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                                                                                    IN RE: DEALER MANAGEMENT           ) MDL NO. 2817
                                                                            4       SYSTEMS ANTITRUST                  )
                                                                                    LITIGATION,                        ) CASE NO. 18 C 864
                                                                            5                                          )
                                                                            6
                                                                            7
                                                                            8         ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN
                                                                            9             Highly Confidential - Attorneys' Eyes Only
                                                                            10                             January 16, 2019
                                                                            11                                  VOLUME 1
                                                                            12
                                                                            13         ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN,
                                                                            14   produced as a witness at the instance of the
                                                                            15   PLAINTIFF(S), and duly sworn, was taken in the
                                                                            16   above-styled and numbered cause on the 16th day of
                                                                            17   January, 2019, from 9:30 a.m. to 2:56 p.m., via
                                                                            18   telephone, before Shauna L. Beach, RDR, CRR, CSR in and
                                                                            19   for the State of Texas, reported by machine shorthand,
                                                                            20   at the law offices of Gibbs & Bruns, LLP, 1100
                                                                            21   Louisiana, Suite 5300, Houston, Texas 77002, pursuant to
                                                                            22   the Federal Rules of Civil Procedure and the provisions
                                                                            23   stated on the record or attached hereto.
                                                                            24
                                                                            25
                                                                                                             Veritext Legal Solutions
                                                                                           215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
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                                                                            1                      A P P E A R A N C E S
                                                                            2    FOR THE REYNOLDS AND REYNOLDS COMPANY AND THE WITNESS:
                                                                            3         AUNDREA K. GULLEY
                                                                                      BRICE WILKINSON
                                                                            4         Gibbs & Bruns, LLP
                                                                                      1100 Louisiana
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                                                                            5         Suite 5300
                                                                                      Houston, Texas 77002
                                                                            6         agulley@gibbsbruns.com
                                                                                      bwilkinson@gibbsbruns.com
                                                                            7
                                                                                 FOR THE REYNOLDS AND REYNOLDS COMPANY AND THE WITNESS:
                                                                            8
                                                                                      MICHAEL P.A. COHEN
                                                                            9         Sheppard Mullin
                                                                                      2099 Pennsylvania Avenue
                                                                            10        Suite 100
                                                                                      Washington, D.C. 20006-6801
                                                                            11        mcohen@sheppardmullin.com
                                                                            12   FOR AUTHENTICOM, COX AUTOMOTIVE AND ITS NAMED PLAINTIFF
                                                                                 SUBSIDIARIES, MDSC, AUTOLOOP AS A REPRESENTATIVE OF THE
                                                                            13   VENDOR CLASS:
                                                                            14        MICHAEL N. NEMELKA
                                                                                      Kellogg Hansen Todd Figel & Frederick
                                                                            15        Sumner Square
                                                                                      1615 M Street, N.W., Suite 400
                                                                            16        Washington, D.C. 20036
                                                                                      mnemelka@kellogghansen.com
                                                                            17        jlong@kellogghansen.com
                                                                            18   FOR THE DEALERSHIP CLASS PLAINTIFFS:
                                                                            19        PEGGY J. WEDGWORTH
                                                                                      ROBERT WALLNER (appearing telephonically)
                                                                            20        JOHN HUGHES
                                                                                      Milberg Tadler Phillips Grossman, LLP
                                                                            21        One Pennsylvania Plaza
                                                                                      19th Floor
                                                                            22        New York, New York 10119
                                                                                      pwedgworth@milberg.com
                                                                            23        rwallner@milberg.com
                                                                            24
                                                                            25
                                                                                                             Veritext Legal Solutions
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                                                                            1                           A P P E A R A N C E S
                                                                            2    FOR CDK GLOBAL:
                                                                            3           MARK RYAN
                                                                                        Mayer Brown
                                                                            4           1999 K Street, N.W.
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                                                                                        Washington, DC 20006-1101
                                                                            5           mryan@mayerbrown.com
                                                                            6    ALSO PRESENT:
                                                                            7           SCOTT CHERRY
                                                                                        Vice President - General Counsel at The Reynolds
                                                                            8           and Reynolds Company
                                                                            9           Joseph Long
                                                                                        Kellogg Hansen Todd Figel & Frederick
                                                                            10
                                                                                        Ben Harwood, Videographer
                                                                            11
                                                                            12
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                                                                            21                       Veritext Legal Solutions
                                                                                                             Mid-Atlantic Region
                                                                                                        1250 Eye Street NW - Suite 350
                                                                            22                         Washington, D.C.           20005
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                                                                            10               Highly Confidential - Attorneys'
                                                                                             Eyes Only
                                                                            11
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                                                                                             Eyes Only
                                                                            18
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                                                                            18
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                                                                                             Eyes Only
                                                                            5
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                                                                                             Highly Confidential - Attorneys'
                                                                            8                Eyes Only
                                                                            9    Exhibit 654 Email to Bob Brockman from Robert                          144
                                                                                             Schaefer dated November 10, 2015
                                                                            10               REYMDL00044241 - REYMDL00044242
                                                                                             Highly Confidential - Attorneys'
                                                                            11               Eyes Only
                                                                            12   Exhibit 655 Email chain ending with email to                           153
                                                                                             Tommy Barras from Bob Brockman
                                                                            13               dated August 15, 2017
                                                                                             REYMDL00263558
                                                                            14               Highly Confidential - Attorneys'
                                                                                             Eyes Only
                                                                            15
                                                                                 Exhibit 656 Email chain ending with email to                           158
                                                                            16               Keith Hill from Bob Brockman dated
                                                                                             November 28, 2017
                                                                            17               REYMDL00263619
                                                                                             Highly Confidential - Attorneys'
                                                                            18               Eyes Only
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                                                                            1                           P R O C E E D I N G S
                                                                            2                     THE VIDEOGRAPHER:         Good morning.        We are on
                                                                            3    the record at 9:30 a.m. on January 16th, 2019.                  This is
                                                                            4    the video recorded deposition of Mr. Robert Brockman in
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                                                                            5    the matter of In Re: Dealer Management Systems Antitrust
                                                                            6    Litigation in the United States District Court for the
                                                                            7    Northern District of Illinois in the Eastern Division.
                                                                            8    This deposition is being held at Gibbs & Bruns, LLP,
                                                                            9    located at 1100 Louisiana Street, Suite 5300, in
                                                                            10   Houston, Texas 77002.
                                                                            11                    My name is Ben Harwood, and I'm the
                                                                            12   videographer present on behalf of Veritext.                 The court
                                                                            13   reporter is Shauna Beach, also present on behalf of
                                                                            14   Veritext.
                                                                            15                    Will counsel please state their appearance
                                                                            16   and firm affiliation for the record.
                                                                            17                    MR. NEMELKA:        My name is Mike Nemelka with
                                                                            18   the law firm of Kellogg Hansen Todd Figel & Frederick.
                                                                            19   I'm here on behalf of Authenticom, Cox Automotive and
                                                                            20   its named plaintiff subsidiaries, MDSC, Autoloop as a
                                                                            21   representative of the vendor class.              And with me today
                                                                            22   is my colleague, Joe Long.
                                                                            23                    MS. WEDGWORTH:        Peggy Wedgworth, Milberg
                                                                            24   Tadler Phillips Grossman, on behalf of the dealership
                                                                            25   class plaintiffs.
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                                                                            1                      MR. HUGHES:       John Hughes, Milberg Tadler
                                                                            2    Phillips Grossman on behalf of dealership class
                                                                            3    plaintiffs.
                                                                            4                      MS. GULLEY:       Andi Gulley, Gibbs & Bruns,
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                                                                            5    for the witness.
                                                                            6                      MR. WILKINSON:        Brice Wilkinson, Gibbs &
                                                                            7    Bruns.
                                                                            8                      MR. CHERRY:       Scott Cherry, general counsel
                                                                            9    for Reynolds and Reynolds.
                                                                            10                     MR. COHEN:       Michael Cohen, Sheppard Mullin,
                                                                            11   for defendant the Reynolds and Reynolds Company and the
                                                                            12   witness, Mr. Brockman.
                                                                            13                     MR. RYAN:       Mark Ryan from Mayer Brown on
                                                                            14   behalf of CDK Global.
                                                                            15                     THE VIDEOGRAPHER:         Will the court reporter
                                                                            16   please swear in the witness and we may proceed.
                                                                            17                              ROBERT BROCKMAN,
                                                                            18       having been first duly sworn, testified as follows:
                                                                            19                                  EXAMINATION
                                                                            20   BY MR. NEMELKA:
                                                                            21         Q.    Good morning, Mr. Brockman.            My name is Mike
                                                                            22   Nemelka.     And it's my opportunity to ask you some
                                                                            23   questions today.        Could you please state your full name
                                                                            24   for the record.
                                                                            25         A.    It's Robert Theron Brockman.
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                                                                            1             Q.     And where do you live?
                                                                            2             A.     Houston.
                                                                            3             Q.     And what is your address?
                                                                            4             A.     333 West Friar Tuck Lane, Houston 77024.
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                                                                            5             Q.     Do you own property anywhere else?
                                                                            6                          MS. GULLEY:       Objection; form.
                                                                            7             A.     My wife and I own a townhouse that our son
                                                                            8     lives in.        It's 1731 Sunset.
                                                                            9             Q.     (By Mr. Nemelka)        Do you own property in any
                                                                            10    other states besides Texas?
                                                                            11                         MS. GULLEY:       Objection; form.
                                                                            12            A.     No.
                                                                            13            Q.     (By Mr. Nemelka)        Does any entity that you have
                                                                            14    control over own property anywhere else?
                                                                            15                         MS. GULLEY:       Objection; form.
                                                                            16            A.     Reynolds and Reynolds owns two locations in
                                                                            17    Ohio.        One is the Reynolds and Reynolds main
                                                                            18    headquarters, and the other one is a forms manufacturing
                                                                            19    plant.
                                                                            20            Q.     (By Mr. Nemelka)        Do you own property in Aspen,
                                                                            21    Colorado?
                                                                            22                         MS. GULLEY:       Objection; form.
                                                                            23            A.     No.
                                                                            24            Q.     (By Mr. Nemelka)        Do you have -- is there
                                                                            25    property there that you visit from time to time?
                                                                                                                  Veritext Legal Solutions
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                                                                            1                          MS. GULLEY:       Objection; form.
                                                                            2           A.     Yes.     There's property that I lease.
                                                                            3           Q.     (By Mr. Nemelka)          That you lease.          And who do
                                                                            4     you lease it from?
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                                                                            5                          MS. GULLEY:       Objection; form.
                                                                            6           A.     It's called Mountain Queen, Inc.
                                                                            7           Q.     (By Mr. Nemelka)          Do you have any ownership
                                                                            8     interest in Mountain Queen, Inc.?
                                                                            9           A.     No.
                                                                            10          Q.     Okay.     Did you prepare for your deposition
                                                                            11    today?
                                                                            12          A.     Yes.     I talked to my attorneys and reviewed
                                                                            13    exhibits.
                                                                            14                         MS. GULLEY:       Stop.      Don't reveal the
                                                                            15    subject of -- of attorney-client communication.
                                                                            16          Q.     (By Mr. Nemelka)          And when did you prepare for
                                                                            17    your deposition today?
                                                                            18          A.     Yesterday and the day before.
                                                                            19          Q.     And how long each day did you meet?
                                                                            20          A.     I'm sorry, I didn't keep track of the time.
                                                                            21          Q.     Was it a full day or half day?
                                                                            22          A.     It was probably in between.
                                                                            23          Q.     So three-fourths of the day, each day?
                                                                            24                         MS. GULLEY:       Objection; form.
                                                                            25          A.     Yes.
                                                                                                               Veritext Legal Solutions
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                                                                            1             Q.    (By Mr. Nemelka)        And with whom did you meet?
                                                                            2     With whom did you meet?
                                                                            3             A.    Andi Gulley, Bryce, Scott Cherry, Michael.
                                                                            4             Q.    Were any attorneys for CDK present?
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                                                                            5             A.    No.
                                                                            6             Q.    Was there anybody else from Reynolds present?
                                                                            7             A.    Yes.     We had a -- one other attorney from
                                                                            8     Reynolds.
                                                                            9             Q.    And who was that?
                                                                            10            A.    John -- I'm blanking on his last name.                He
                                                                            11    works for Scott Cherry.
                                                                            12            Q.    Okay.     Any businesspeople from Reynolds present
                                                                            13    when you prepared for the deposition?
                                                                            14            A.    No.
                                                                            15            Q.    Did you talk to anybody at Reynolds about your
                                                                            16    deposition?
                                                                            17            A.    No.     Other than the fact they know that I'm
                                                                            18    here.
                                                                            19            Q.    Correct.     Have you ever been deposed before?
                                                                            20            A.    Yes.
                                                                            21            Q.    How many times?
                                                                            22            A.    I don't recall the last time.             Some time ago.
                                                                            23            Q.    Uh-huh.     Well, so this isn't your first --
                                                                            24    first rodeo, but just a few -- few ground rules to help
                                                                            25    us get through the day efficiently.                 I'm going to do my
                                                                                                                 Veritext Legal Solutions
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                                                                            1     best not to talk over you, and if you will just let me
                                                                            2     finish my question, and then I'll give you time to
                                                                            3     answer it.        So let's try not to talk over each other,
                                                                            4     okay?
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                                                                            5             A.    Yes.
                                                                            6             Q.    And please let me know if you don't understand
                                                                            7     a question.          If you answer, then we'll consider that you
                                                                            8     understood the question.             Okay?
                                                                            9             A.    Yes.
                                                                            10            Q.    Your counsel may object, but you still have to
                                                                            11    answer the question unless your counsel instructs you
                                                                            12    not to.       And so even though your counsel may object,
                                                                            13    unless he instructs you not to answer, please still
                                                                            14    answer my questions, okay?
                                                                            15            A.    Yes.
                                                                            16            Q.    I understand that you may have been having
                                                                            17    some -- you've had some health issues, and this is -- so
                                                                            18    this is not an endurance test.               If you need a break, you
                                                                            19    can take one.          Okay?
                                                                            20            A.    Yes.
                                                                            21            Q.    I would just ask that, before taking a break,
                                                                            22    if you would -- if you would just finish answering a
                                                                            23    question if a question is pending.                 Is that okay?
                                                                            24            A.    Yes.
                                                                            25            Q.    And -- but I'll still plan on trying to take a
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                                                                            1     break about every hour, for me as well as for you.                           But
                                                                            2     if you need one in shorter intervals, that's fine.
                                                                            3     Okay?
                                                                            4             A.     Thank you.
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                                                                            5             Q.     Is there any reason that you can't provide
                                                                            6     truthful testimony today?
                                                                            7             A.     No.
                                                                            8             Q.     Okay.     You graduated from the University of
                                                                            9     Florida, College of Business; correct?
                                                                            10            A.     Yes.
                                                                            11            Q.     Class of 1963?
                                                                            12            A.     Yes.
                                                                            13            Q.     And after graduating from the University of
                                                                            14    Florida, you worked at the Ford Motor Company for about
                                                                            15    two years; is that right?
                                                                            16            A.     Yes, a little short of two years.
                                                                            17            Q.     And then after Ford you joined IBM; is that
                                                                            18    right?
                                                                            19            A.     Yes.
                                                                            20            Q.     And you were a successful salesperson there;
                                                                            21    correct?
                                                                            22            A.     Yes.
                                                                            23            Q.     And I -- I think I understand that you sold
                                                                            24    data processing services, in part; is that right?
                                                                            25            A.     Yes.
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                                                                            1           Q.     And you were at IBM until about 1970, at which
                                                                            2     point you left IBM and founded Universal Computer
                                                                            3     Services, Inc.; is that right?
                                                                            4           A.     Yes.
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                                                                            5           Q.     And you -- impressively -- taught yourself
                                                                            6     computer programming around this time as well; is that
                                                                            7     right?
                                                                            8           A.     Yes.
                                                                            9           Q.     And eventually, UCS developed and provided
                                                                            10    dealership management system software to car
                                                                            11    dealerships; is that right?
                                                                            12          A.     Yes.
                                                                            13          Q.     And, in fact, you were personally involved in
                                                                            14    the programming of some of the dealership management
                                                                            15    software that was sold -- licensed to dealers; is that
                                                                            16    right?
                                                                            17          A.     Yes.
                                                                            18          Q.     And over the 1980s, 1990s and 2000s, you
                                                                            19    continued to run UCS, right?
                                                                            20          A.     Yes.
                                                                            21          Q.     UCS served, primarily, large dealerships; is
                                                                            22    that right?
                                                                            23          A.     Yes.
                                                                            24          Q.     And was the DNS that UCS marketed -- was it
                                                                            25    called the PowerDNS?
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                                                                            1           A.    Not originally, but later in its existence, it
                                                                            2     was called Power.
                                                                            3           Q.    And then in August 2006, UCS acquired the
                                                                            4     Reynolds and Reynolds Company; is that right?
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                                                                            5           A.    It was a different date.
                                                                            6           Q.    Different date?        It was -- oh, it was in 2006,
                                                                            7     though?
                                                                            8           A.    Yes.
                                                                            9           Q.    What -- what was the month?
                                                                            10          A.    October.
                                                                            11          Q.    October.     Thank you.       And UCS paid 2.8 billion
                                                                            12    in cash; is that right?
                                                                            13          A.    Yes.
                                                                            14          Q.    And prior to the deal, Reynolds was a public
                                                                            15    company, right?
                                                                            16          A.    Yes.
                                                                            17          Q.    But with the acquisition, Reynolds became a
                                                                            18    wholly-owned subsidiary of UCS; correct?
                                                                            19          A.    It's -- that's not the correct company.                    It's
                                                                            20    called Dealer Computer Services.
                                                                            21          Q.    And Dealer Computer Services was the -- was the
                                                                            22    holding company that owned Reynolds?
                                                                            23          A.    Yes.
                                                                            24          Q.    Okay.    And the top-level holding company of --
                                                                            25    of Reynolds is Universal Computer Systems Holdings,
                                                                                                               Veritext Legal Solutions
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                                                                            1     Inc.; is that right?
                                                                            2             A.    Yes.
                                                                            3             Q.    And the A. Eugene Brockman Charitable Trust
                                                                            4     owns about 96 percent of that holding company; is that
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                                                                            5     right?
                                                                            6                          MS. GULLEY:      Form.
                                                                            7             A.    No.    That's not correct.         The -- the ownership
                                                                            8     structure is different than that.
                                                                            9             Q.    (By Mr. Nemelka)        Okay.     And what is the
                                                                            10    ownership structure?
                                                                            11                         MS. GULLEY:      Objection; form.
                                                                            12            A.    The Universal Computer Systems Holding, Inc.,
                                                                            13    is owned by Spanish Steps.
                                                                            14            Q.    (By Mr. Nemelka)        Okay.     When was Spanish Steps
                                                                            15    formed?
                                                                            16            A.    I'm sorry.      I -- I don't know the answer to
                                                                            17    that.
                                                                            18            Q.    And who owns Spanish Steps?
                                                                            19            A.    The A. Eugene Brockman Charitable Trust.
                                                                            20            Q.    And what percentage of Spanish Steps does the
                                                                            21    charitable trust own?
                                                                            22                         MS. GULLEY:      Form.
                                                                            23            A.    Again, I don't know the answer to that.                    I
                                                                            24    believe it's, substantially, all.
                                                                            25            Q.    (By Mr. Nemelka)        Substan- -- does 96 percent
                                                                                                                 Veritext Legal Solutions
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                                                                            1     sound about right to you?
                                                                            2                         MS. GULLEY:      Objection; form.
                                                                            3            A.    Yeah, I -- I can't guess at that.
                                                                            4            Q.    (By Mr. Nemelka)        Is it between -- is it -- is
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                                                                            5     it in the 90s, the percentage?
                                                                            6                         MS. GULLEY:      Objection; form.
                                                                            7            A.    I believe so.
                                                                            8            Q.    (By Mr. Nemelka)        Are there any other owners of
                                                                            9     Spanish Steps besides the Eugene Brockman Charitable
                                                                            10    Trust?
                                                                            11                        MS. GULLEY:      Objection; form.
                                                                            12           A.    Yes.
                                                                            13           Q.    (By Mr. Nemelka)        And who are they?
                                                                            14                        MS. GULLEY:      Form.
                                                                            15           A.    Norman Thomas Barras and Terry Jones.                That's
                                                                            16    all.
                                                                            17           Q.    (By Mr. Nemelka)        That's all?       And do they --
                                                                            18    their ownership interest is about .8 -- is it 0.08
                                                                            19    percent?      Is that right?
                                                                            20                        MS. GULLEY:      Form.
                                                                            21           Q.    (By Mr. Nemelka)        Or 0.008 percent; is that
                                                                            22    right?
                                                                            23           A.    It's 8/10ths of a percent.
                                                                            24                        MS. GULLEY:      Form.
                                                                            25           Q.    (By Mr. Nemelka)        8/10ths of a percent,
                                                                                                                Veritext Legal Solutions
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                                                                            1     correct.     And there are no other owners besides those
                                                                            2     two and the charitable trust; is that right?
                                                                            3                         MS. GULLEY:     Form.
                                                                            4           A.    That's correct.
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                                                                            5           Q.    (By Mr. Nemelka)        So 8/10ths of a percent -- so
                                                                            6     times that by -- by two, and then the rest of it is
                                                                            7     owned by the charitable trust; is that right?
                                                                            8                         MS. GULLEY:     Form.
                                                                            9           A.    I believe that's correct.
                                                                            10          Q.    (By Mr. Nemelka)        So we're talking upwards of
                                                                            11    98 -- 98 percent of the -- of the company, right?
                                                                            12                        MS. GULLEY:     Form.
                                                                            13          A.    That's correct.
                                                                            14          Q.    (By Mr. Nemelka)        Okay.     And this is an
                                                                            15    offshore trust; correct?
                                                                            16          A.    That's correct.
                                                                            17          Q.    Where is it based?
                                                                            18          A.    Bermuda.
                                                                            19          Q.    And when was the trust created?
                                                                            20                        MS. GULLEY:     Objection; form.
                                                                            21          A.    1981.
                                                                            22          Q.    (By Mr. Nemelka)        Who were the trustees of the
                                                                            23    trust?
                                                                            24                        MS. GULLEY:     Objection; form.
                                                                            25          A.    There's a trust company called St. Johns Trust
                                                                                                               Veritext Legal Solutions
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                                                                            1     Company.
                                                                            2           Q.    (By Mr. Nemelka)        Are they the only trustees of
                                                                            3     the trust?
                                                                            4           A.    Yes.
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                                                                            5           Q.    And who appointed them as trustees of the
                                                                            6     trust?
                                                                            7                        MS. GULLEY:      Objection; form.
                                                                            8           A.    They were not the original trust company.
                                                                            9     There's been a -- there's -- it was -- the original
                                                                            10    trust company was Bank of Bermuda.
                                                                            11          Q.    (By Mr. Nemelka)        And who appointed the Bank of
                                                                            12    Bermuda as trustee?
                                                                            13                       MS. GULLEY:      Objection; form.
                                                                            14          A.    I'm sorry.      I can't give you an answer on that.
                                                                            15    I'm not familiar with how trusts -- trusts get set up.
                                                                            16          Q.    (By Mr. Nemelka)        Could St. Johns Trust Company
                                                                            17    be removed as the trustee?
                                                                            18                       MS. GULLEY:      Objection; form.
                                                                            19          A.    Yes.
                                                                            20          Q.    (By Mr. Nemelka)        And who -- who has that
                                                                            21    authority to remove them as trustee?
                                                                            22                       MS. GULLEY:      Objection; form.
                                                                            23          A.    I -- I don't know the name of the person, but
                                                                            24    there is the -- there is a trust protector.
                                                                            25          Q.    (By Mr. Nemelka)        And who is the trust
                                                                                                               Veritext Legal Solutions
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                                                                            1     protector?
                                                                            2           A.    I'm sorry.      It's an individual.          I don't know
                                                                            3     the person's name.
                                                                            4           Q.    And who appointed the trust protector?
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                                                                            5                       MS. GULLEY:       Objection; form.
                                                                            6           A.    I'm sorry.      I -- I don't know.
                                                                            7           Q.    (By Mr. Nemelka)        And can the trust protector
                                                                            8     be removed?
                                                                            9                       MS. GULLEY:       Objection; form.
                                                                            10          A.    Again, this is an area of law that I'm -- I'm
                                                                            11    not familiar with.
                                                                            12          Q.    (By Mr. Nemelka)        And who are the beneficiaries
                                                                            13    of the trust?
                                                                            14                      MS. GULLEY:       Objection; form.
                                                                            15          A.    There is myself, my wife, my brother, his wife
                                                                            16    and all the charities of Bermuda, United States, United
                                                                            17    Kingdom.
                                                                            18          Q.    (By Mr. Nemelka)        Excuse me.       What was that
                                                                            19    last one?     All charities?
                                                                            20          A.    All -- all charities in the United States and
                                                                            21    all charities in the United Kingdom.
                                                                            22          Q.    What does that mean, "all charities"?                Every --
                                                                            23    every 501c3 organization?
                                                                            24          A.    Every one of them is -- is a potential
                                                                            25    beneficiary.
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                                                                            1           Q.    I see.     Does the -- does the trust distribute
                                                                            2     income to the beneficiaries?
                                                                            3                        MS. GULLEY:      Objection; form.
                                                                            4           A.    Yes.
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                                                                            5           Q.    (By Mr. Nemelka)        How often?
                                                                            6                        MS. GULLEY:      Objection; form.
                                                                            7           A.    It depends upon what charitable project that
                                                                            8     is -- is -- is underway.           You know, the only -- the only
                                                                            9     distributions have been to charitable entities.
                                                                            10          Q.    (By Mr. Nemelka)        Those have been the only
                                                                            11    distributions?       To charitable entities?
                                                                            12          A.    Yes, sir.
                                                                            13          Q.    Have you -- have you received any charitable --
                                                                            14    I mean -- excuse me -- have you received any
                                                                            15    distributions from the trust?
                                                                            16          A.    No.
                                                                            17          Q.    And how much cash does the trust have?
                                                                            18                       MS. GULLEY:      Objection; form.
                                                                            19          A.    I'm sorry.      I don't know.
                                                                            20          Q.    (By Mr. Nemelka)        Does the trust have any
                                                                            21    day-to-day oversight responsibilities of the running of
                                                                            22    the Reynolds and Reynolds Company?
                                                                            23                       MS. GULLEY:      Objection; form.
                                                                            24          A.    No.
                                                                            25          Q.    (By Mr. Nemelka)        You're the chairman and CEO
                                                                                                               Veritext Legal Solutions
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                                                                                                                                                    Page 23
                                                                            1     of Reynolds; correct?
                                                                            2           A.    Correct.
                                                                            3           Q.    And as -- your role as chairman and CEO of
                                                                            4     Reynolds, you have ultimate decision-making authority
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                                                                            5     with respect to the company's practices and policies; is
                                                                            6     that right?
                                                                            7                        MS. GULLEY:      Objection; form.
                                                                            8           A.    Yes.
                                                                            9           Q.    (By Mr. Nemelka)        Let's talk a little bit about
                                                                            10    Reynolds, Mr. Brockman.           Reynolds offers dealer
                                                                            11    management system software to automotive dealers;
                                                                            12    correct?
                                                                            13          A.    Yes.
                                                                            14          Q.    And it offers two different type of DMSs:
                                                                            15    ERA-IGNITE and Power; correct?
                                                                            16          A.    Yes.
                                                                            17          Q.    And in the DMS market, CDK is your largest
                                                                            18    competitor, right?
                                                                            19          A.    Yes.
                                                                            20          Q.    It's fair to say that CDK is Reynolds' chief
                                                                            21    rival in the DMS market, right?
                                                                            22          A.    Yes.
                                                                            23                       MS. GULLEY:      Form.
                                                                            24          Q.    (By Mr. Nemelka)        And together you control
                                                                            25    approximately 75 percent of the DS market for franchised
                                                                                                               Veritext Legal Solutions
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                                                                                                                                                    Page 24
                                                                            1     dealerships; isn't that right?
                                                                            2                        MS. GULLEY:      Objection; form.
                                                                            3           A.    I -- I don't know -- or know how to keep track
                                                                            4     of exactly what the percentages are, but -- but I would
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                                                                            5     say in that general area.
                                                                            6           Q.    (By Mr. Nemelka)        At Reynolds, the DMS has a
                                                                            7     database component where dealers store their data,
                                                                            8     right?
                                                                            9                        MS. GULLEY:      Objection; form.
                                                                            10          A.    Yes.
                                                                            11          Q.    (By Mr. Nemelka)        And dealers generate a lot of
                                                                            12    data in the course of operating their business; correct?
                                                                            13          A.    Yes.
                                                                            14          Q.    Sales transactions, right?
                                                                            15                       MS. GULLEY:      Objection; form.
                                                                            16          A.    Yes.
                                                                            17          Q.    (By Mr. Nemelka)        Vehicle inventory?
                                                                            18          A.    Yes.
                                                                            19                       MS. GULLEY:      Objection; form.
                                                                            20          Q.    (By Mr. Nemelka)        Parts inventory?
                                                                            21                       MS. GULLEY:      Objection; form.
                                                                            22          A.    Yes.
                                                                            23          Q.    (By Mr. Nemelka)        Information about the
                                                                            24    dealership's customers, right?
                                                                            25                       MS. GULLEY:      Objection; form.
                                                                                                               Veritext Legal Solutions
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                                                                            1           A.    Yes.
                                                                            2           Q.    (By Mr. Nemelka)        And data from their service
                                                                            3     departments; correct?
                                                                            4                        MS. GULLEY:      Objection; form.
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                                                                            5           A.    Yes.
                                                                            6           Q.    (By Mr. Nemelka)        And you agree that the data
                                                                            7     that dealers generate in running their business is the
                                                                            8     dealer's, right?
                                                                            9                        MS. GULLEY:      Objection; form.
                                                                            10          A.    Yes.
                                                                            11          Q.    (By Mr. Nemelka)        You've publicly stated the
                                                                            12    dealers own their data, right?
                                                                            13                       MS. GULLEY:      Objection; form.
                                                                            14          A.    Yes.
                                                                            15          Q.    (By Mr. Nemelka)        And you agree that dealers
                                                                            16    should choose who has access to their data, right?
                                                                            17                       MS. GULLEY:      Objection; form.
                                                                            18          A.    Yes.
                                                                            19          Q.    (By Mr. Nemelka)        You've publicly told dealers
                                                                            20    you own your data and choose who you allow access to it,
                                                                            21    right?
                                                                            22                       MS. GULLEY:      Objection; form.
                                                                            23          A.    I'm sorry.      I don't remember saying that
                                                                            24    specific statement.
                                                                            25                       (Exhibit 636 was marked for
                                                                                                               Veritext Legal Solutions
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                                                                            1                         identification.)
                                                                            2           Q.    (By Mr. Nemelka)        I've marked Plaintiff's
                                                                            3     Exhibit 636, which I will hand you.               Mr. Brockman, do
                                                                            4     you recognize this document?
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                                                                            5           A.    Yes.
                                                                            6           Q.    Was this an -- a public advertisement that
                                                                            7     you -- that Reynolds issued to the public?
                                                                            8           A.    This was done approximately 12 years ago.
                                                                            9           Q.    And was it issued to the public?
                                                                            10          A.    Yes.
                                                                            11          Q.    And if you look at the first bullet point
                                                                            12    there, you say, "You own your data and choose who you
                                                                            13    allow access to it," right?
                                                                            14          A.    Yes.
                                                                            15          Q.    You also told dealers with respect to their
                                                                            16    data, quote, "You're the boss."             If you look above that;
                                                                            17    correct?
                                                                            18          A.    Yes.
                                                                            19          Q.    And that's a picture of you, there, on that
                                                                            20    advertisement?
                                                                            21          A.    Yes.    Good picture, I might add.
                                                                            22          Q.    Very nice one.
                                                                            23                       And that's your signature at the end?
                                                                            24          A.    Yes.
                                                                            25          Q.    Identifying you as the chairman and CEO of
                                                                                                               Veritext Legal Solutions
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                                                                            1     Reynolds?
                                                                            2           A.    Correct.
                                                                            3           Q.    You can put that aside.
                                                                            4                        Reynolds also made similar representations
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                                                                            5     on its website; correct?
                                                                            6                        MS. GULLEY:      Objection; form.
                                                                            7           A.    Sorry.     I'm not familiar with that.
                                                                            8                        (Exhibit 637 was marked for
                                                                            9                          identification.)
                                                                            10          Q.    (By Mr. Nemelka)        I've handed you a document
                                                                            11    I've marked as Exhibit -- Plaintiff's Exhibit 637.
                                                                            12    Mr. Brockman, this is a printout from the Reynolds
                                                                            13    website.     Does that look familiar to you?
                                                                            14                       MS. GULLEY:      Objection; form.
                                                                            15          A.    It says it's Reynolds.          I'm -- I'm personally
                                                                            16    not familiar with what goes on our website.                  That's not
                                                                            17    something I pay attention to.
                                                                            18          Q.    (By Mr. Nemelka)        And if you look at the
                                                                            19    first -- at the top of the -- of the text of this -- of
                                                                            20    this webpage, it says, "Your Data, Your Way."                   Do you
                                                                            21    see that?
                                                                            22          A.    Yes.
                                                                            23          Q.    And then it says, "You own your data.                Reynolds
                                                                            24    recognizes that you need to share that data outside your
                                                                            25    dealership."       Do you see that?
                                                                                                               Veritext Legal Solutions
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                                                                            1                        MS. GULLEY:      Objection; form.
                                                                            2           A.    Yes, I see that.
                                                                            3           Q.    (By Mr. Nemelka)        So this is consistent with
                                                                            4     your public statement that -- that business -- excuse
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                                                                            5     me -- strike that.
                                                                            6                        This is consistent with your public
                                                                            7     statement that we just looked at, that -- that data that
                                                                            8     dealers generate in operating their business belongs to
                                                                            9     the dealers, right?
                                                                            10                       MS. GULLEY:      Form.
                                                                            11          A.    Yes.    It -- you know, where it says, "You own
                                                                            12    your data.      Reynolds recognizes" -- I see that
                                                                            13    statement.
                                                                            14          Q.    (By Mr. Nemelka)        Thank you.       You can put that
                                                                            15    aside.
                                                                            16                       You're familiar with -- that Reynolds has a
                                                                            17    standard DMS contract with its dealers; correct?
                                                                            18          A.    Yes.
                                                                            19          Q.    And the Reynolds standard DMS contract also
                                                                            20    recognizes that the dealers own their data; correct?
                                                                            21          A.    Yes.
                                                                            22          Q.    It says, quote, Reynolds acknowledges that your
                                                                            23    business data belongs to you," end quote; correct?
                                                                            24                       MS. GULLEY:      Objection; form.
                                                                            25          A.    Yes.
                                                                                                               Veritext Legal Solutions
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                                                                            1           Q.    (By Mr. Nemelka)        Dealers use a lot of software
                                                                            2     applications besides DMS; correct?
                                                                            3           A.    I wouldn't characterize it as "a lot."                They
                                                                            4     certainly use some.
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                                                                            5           Q.    Applications like customer relationship
                                                                            6     management software, right?
                                                                            7                        MS. GULLEY:      Form.
                                                                            8           A.    Yes.
                                                                            9           Q.    (By Mr. Nemelka)        Inventory management;
                                                                            10    correct?
                                                                            11                       MS. GULLEY:      Form.
                                                                            12          A.    Umm, are you referring to parts inventory or
                                                                            13    vehicle inventory?
                                                                            14                       MS. GULLEY:      Form.
                                                                            15          Q.    (By Mr. Nemelka)        Both.     Vehic- -- let's do
                                                                            16    vehicle inventory first.
                                                                            17                       MS. GULLEY:      Form.
                                                                            18          A.    Yes.
                                                                            19          Q.    (By Mr. Nemelka)        They use software to help
                                                                            20    them in their service lane; correct?
                                                                            21                       MS. GULLEY:      Form.
                                                                            22          A.    Yes.
                                                                            23          Q.    (By Mr. Nemelka)        And their marketing efforts;
                                                                            24    correct?
                                                                            25          A.    Yes.
                                                                                                               Veritext Legal Solutions
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                                                                            1                        MS. GULLEY:      Form.
                                                                            2           Q.    (By Mr. Nemelka)        And these applications need
                                                                            3     access to dealer data to work, right?
                                                                            4                        MS. GULLEY:      Form.
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                                                                            5           A.    Correct.
                                                                            6           Q.    (By Mr. Nemelka)        And above, we saw that you
                                                                            7     publicly told dealers, "You own your data and choose who
                                                                            8     you allow access to it."           Remember that?
                                                                            9           A.    Yes.
                                                                            10          Q.    But that's not quite true, is it, Mr. Brockman?
                                                                            11                       MS. GULLEY:      Objection; form.
                                                                            12          A.    I disagree.
                                                                            13          Q.    (By Mr. Nemelka)        You don't let dealers choose
                                                                            14    who has access to their data, do you?
                                                                            15                       MS. GULLEY:      Objection; form.
                                                                            16          A.    They -- the dealers have access to their data,
                                                                            17    you know, on their own.           They can access it through
                                                                            18    porting facilities that we have.
                                                                            19          Q.    (By Mr. Nemelka)        But Reynolds, although it's
                                                                            20    made a lot of exceptions, has taken the position that
                                                                            21    dealer -- dealers can't grant access to their data to,
                                                                            22    for example, independent integrators; is that right?
                                                                            23                       MS. GULLEY:      Objection; form.
                                                                            24          A.    We have a program which is called the Reynolds
                                                                            25    Certified Interface, which is entered into -- whoever
                                                                                                               Veritext Legal Solutions
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                                                                            1     they want to share data with, that covers protections of
                                                                            2     data from a security standpoint.
                                                                            3            Q.    (By Mr. Nemelka)        You don't let independent
                                                                            4     integrators, like Authenticom, into the RCI program, do
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                                                                            5     you?
                                                                            6            A.    We do not.
                                                                            7            Q.    And so if a dealer wanted to grant access to
                                                                            8     their data to Authenticom, you don't allow that, do you?
                                                                            9            A.    They're perfectly free to run reports and --
                                                                            10    and send those reports in electronic form to
                                                                            11    Authenticom.
                                                                            12           Q.    But in terms of access to their data in an
                                                                            13    automated way, you don't allow that, do you?
                                                                            14                       MS. GULLEY:       Objection; form.
                                                                            15           A.    As far as unattended access, that's correct.
                                                                            16    We do not allow that.
                                                                            17           Q.    (By Mr. Nemelka)        And that's different from
                                                                            18    what CDK's position once was; correct?
                                                                            19                       MS. GULLEY:       Objection; form.
                                                                            20           A.    I'm not familiar with what CDK's historical
                                                                            21    positions have been on this issue.
                                                                            22           Q.    (By Mr. Nemelka)        You don't know what CDK's
                                                                            23    practices were?
                                                                            24           A.    They have lots of different practices.                I'm
                                                                            25    not -- I'm not an expert in their -- their practices.
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                                                                            1           Q.    You knew that CDK did let dealers use
                                                                            2     independent integrators, right?
                                                                            3                       MS. GULLEY:       Objection; form.
                                                                            4           A.    Again, I'm -- I'm not knowledgeable about what
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                                                                            5     CDK does or doesn't do in this regard.
                                                                            6           Q.    (By Mr. Nemelka)        In fact, back in 2007, you
                                                                            7     said that, from a business standpoint, you -- you
                                                                            8     couldn't imagine that that was truly CDK's position,
                                                                            9     right?
                                                                            10          A.    I'm sorry.      I don't -- I don't remember or
                                                                            11    recall -- can you give me more information?
                                                                            12                      (Exhibit 638 was marked for
                                                                            13                        identification.)
                                                                            14          Q.    (By Mr. Nemelka)        I've marked this Exhibit
                                                                            15    638 -- Plaintiff's 638, which I've handed you.                   It's --
                                                                            16    Automotive News article entitled "Question & Answer:
                                                                            17    Deal puts Brockman in the spotlight," dated February
                                                                            18    9th -- 19th, 2007.         Mr. Brockman, do you recognize this
                                                                            19    Automotive News article?
                                                                            20                      MS. GULLEY:       Objection; form.
                                                                            21          A.    Not specifically.
                                                                            22                      MS. GULLEY:       You can take a second to
                                                                            23    review it.
                                                                            24          Q.    (By Mr. Nemelka)        Did you grant an interview to
                                                                            25    Automotive News around this time, Mr. Brockman?
                                                                                                               Veritext Legal Solutions
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                                                                            1                         MS. GULLEY:     Objection; form.
                                                                            2           A.    I believe so.
                                                                            3           Q.    (By Mr. Nemelka)        And this is an article
                                                                            4     reflecting the contents of that interview; correct?
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                                                                            5                         MS. GULLEY:     Objection; form.
                                                                            6                         You haven't offered him the opportunity to
                                                                            7     review it.
                                                                            8                         MR. NEMELKA:      Andi, please comply with the
                                                                            9     deposition protocol order.
                                                                            10          A.    I would like to have a little bit of time to
                                                                            11    read it.
                                                                            12          Q.    (By Mr. Nemelka)        Sure.     Do you recognize,
                                                                            13    though, this is -- reflects an interview that you gave
                                                                            14    to Automotive News, Mr. Brockman?
                                                                            15                        MS. GULLEY:     Objection; form.
                                                                            16          A.    If you let me finish reading this back page,
                                                                            17    it's got a lot of information on it.
                                                                            18          Q.    (By Mr. Nemelka)        Sure.     I'm -- I'm only going
                                                                            19    to ask you about one -- about one -- one question and
                                                                            20    answer.
                                                                            21                        MS. GULLEY:     Objection; form.
                                                                            22          A.    Okay.     What is your question?
                                                                            23          Q.    (By Mr. Nemelka)        This reflects an interview --
                                                                            24    the contents of an interview that you gave to Automotive
                                                                            25    News; correct?
                                                                                                               Veritext Legal Solutions
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                                                                            1                        MS. GULLEY:      Objection; form.
                                                                            2           A.    Yes.    That was approximately a month and a half
                                                                            3     after the acquisition.
                                                                            4           Q.    (By Mr. Nemelka)        Correct.      And if you turn to
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                                                                            5     the second page, the question that -- that Automotive
                                                                            6     asked you, "ADP Dealer Services" -- now, ADP is now CDK;
                                                                            7     correct?
                                                                            8           A.    Yes.
                                                                            9                        MS. GULLEY:      Objection; form.
                                                                            10                       MR. RYAN:      Object to form.
                                                                            11          Q.    (By Mr. Nemelka)        "ADP Dealer Services will
                                                                            12    not" -- excuse me, the ADP that's referred to here was
                                                                            13    -- the dealer services was spun off and became CDK;
                                                                            14    correct?
                                                                            15                       MR. RYAN:      Objection.
                                                                            16          A.    That's my understanding.
                                                                            17          Q.    (By Mr. Nemelka)        Right.     So it says, "ADP
                                                                            18    Dealer Services will not prohibit dealers from providing
                                                                            19    their vendors with a user ID and password to extract
                                                                            20    data."     What are your thoughts about that?
                                                                            21                       Do you see that question?
                                                                            22          A.    Yes.
                                                                            23          Q.    And you gave an answer.           "I don't understand
                                                                            24    ADP's position.        Other than to be obstinate, than to be
                                                                            25    opposite, I can't imagine from a business standpoint
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                                                                            1     that that's truly their position.              And frankly it would
                                                                            2     be my opinion that after awhile they probably change
                                                                            3     that position."        Do you see that?
                                                                            4           A.    Yes.
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                                                                            5           Q.    And that accurately reflects what you said?
                                                                            6                        MS. GULLEY:      Objection; form.
                                                                            7           A.    Yes.
                                                                            8           Q.    (By Mr. Nemelka)        And so you knew that CDK's
                                                                            9     position was that they did not stop dealers from
                                                                            10    allowing -- they did not stop dealers from using
                                                                            11    independent integrator's automated access to their data;
                                                                            12    correct?
                                                                            13                       MS. GULLEY:      Objection; form.
                                                                            14          A.    No.    I don't agree with that.           And that's
                                                                            15    certainly not what I said.            What I said is, "I don't
                                                                            16    understand ADP's position.            Other than to be obstinate,
                                                                            17    than to be opposite, I can't imagine from a business
                                                                            18    standpoint that that's truly their position.                  And
                                                                            19    frankly it would be my opinion that after awhile they
                                                                            20    probably change that position."
                                                                            21          Q.    (By Mr. Nemelka)        And CDK did change their
                                                                            22    position on that, didn't they?
                                                                            23                       MS. GULLEY:      Objection; form.
                                                                            24          A.    It's my understanding that -- that they have
                                                                            25    made changes.       Now, exactly what changes they've made,
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                                                                            1     I'm not familiar with.
                                                                            2           Q.    (By Mr. Nemelka)        CDK didn't change that
                                                                            3     position, though, until years later, right?
                                                                            4                       MS. GULLEY:       Objection; form.
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                                                                            5                       UNIDENTIFIED SPEAKER:           Mike, one objection
                                                                            6     is good for both defendants, right?
                                                                            7                       MR. NEMELKA:        Yes.
                                                                            8                       UNIDENTIFIED SPEAKER:           Okay, thank you.
                                                                            9                       THE WITNESS:        I'm sorry.      Could you repeat
                                                                            10    the question?
                                                                            11          Q.    (By Mr. Nemelka)        Sure.     And CDK didn't change
                                                                            12    that position until years later, though; correct?
                                                                            13                      MS. GULLEY:       Objection; form.
                                                                            14          A.    Again, I've not tracked what ADP has done in
                                                                            15    this regard.      My guess is -- and that's there's been a
                                                                            16    series of changes.
                                                                            17          Q.    (By Mr. Nemelka)        But in the meantime, before
                                                                            18    CDK changed, CDK Reynolds engaged in what you called,
                                                                            19    Mr. Brockman, "the data wars"; isn't that right?
                                                                            20                      MS. GULLEY:       Objection; form.
                                                                            21          A.    I've not ever used that term, so I don't know
                                                                            22    who has.
                                                                            23          Q.    (By Mr. Nemelka)        You've never used the term,
                                                                            24    "data wars"?
                                                                            25                      MS. GULLEY:       Objection; form.
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                                                                                                                                                    Page 37
                                                                            1           A.    No.    (Inaudible.)
                                                                            2           Q.    (By Mr. Nemelka)        Now, CDK not only had an open
                                                                            3     system in the sense that it let dealers use independent
                                                                            4     integrators, but it also had its own independent
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                                                                            5     integrators, like DMI and Integra Link!; correct?
                                                                            6                        MS. GULLEY:      Objection; form.
                                                                            7           A.    Correct.
                                                                            8           Q.    (By Mr. Nemelka)        And DMI and Integra
                                                                            9     Link! provided access to the data belonging to Reynolds'
                                                                            10    dealers; correct?
                                                                            11                       MS. GULLEY:      Objection; form.
                                                                            12          A.    Yes.    They -- they hacked our systems
                                                                            13    extensively.
                                                                            14          Q.    (By Mr. Nemelka)        And Reynolds' dealers would
                                                                            15    grant DMI and Integra Link! access to their data by
                                                                            16    creating log-in credentials for them, right?
                                                                            17                       MS. GULLEY:      Objection; form.
                                                                            18          A.    Yes.
                                                                            19          Q.    (By Mr. Nemelka)        And then DMI and Integra
                                                                            20    Link! would then provide the dealer data to third-party
                                                                            21    vendors; correct?
                                                                            22          A.    Yes.
                                                                            23          Q.    Including OEMs, right?
                                                                            24                       MS. GULLEY:      Form.
                                                                            25          A.    Yes.
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                                                                            1           Q.    (By Mr. Nemelka)        And when I say "OEMs," I mean
                                                                            2     the car manufacturers, like Ford, Chevy, Toyota, right?
                                                                            3                        MS. GULLEY:      Form.
                                                                            4           A.    That's correct.
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                                                                            5           Q.    (By Mr. Nemelka)        You understand that's what I
                                                                            6     mean, right?
                                                                            7           A.    Yes.
                                                                            8           Q.    Mr. Brockman, I've handed you what has been
                                                                            9     previously marked as Plaintiff's Exhibit 442.                   I'll
                                                                            10    describe it and then you can look at it.                 This is an
                                                                            11    email from you, Bob Brockman, to Ron Workman and Steve
                                                                            12    Anenen, dated Sunday, June 10th, 2007.                Do you see that?
                                                                            13                       MS. GULLEY:      Objection; form.
                                                                            14          A.    Yes.
                                                                            15          Q.    (By Mr. Nemelka)        And to this email, you
                                                                            16    attach -- you made an attachment; correct?
                                                                            17                       MS. GULLEY:      Form.
                                                                            18          Q.    (By Mr. Nemelka)        Have you finished reading it,
                                                                            19    Mr. Brockman?
                                                                            20          A.    Yes.
                                                                            21          Q.    Thank you.      So if you look at the email that
                                                                            22    you -- you sent this email to Mr. Workman and
                                                                            23    Mr. Anenen; correct?
                                                                            24          A.    Yes.
                                                                            25          Q.    Steve Anenen was the CEO of CDK?
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                                                                            1           A.    That's correct.
                                                                            2           Q.    And Ron Workman was a senior vice-president
                                                                            3     there?
                                                                            4           A.    Yes.
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                                                                            5           Q.    And in the third -- third line down, you write,
                                                                            6     "Please see the attached thoughts regarding our mutual
                                                                            7     opportunities."        Do you see that?
                                                                            8           A.    Yes.
                                                                            9           Q.    And then you said -- then you write, "As I said
                                                                            10    at our initial meeting on the subject at NADA" -- what
                                                                            11    is NADA?
                                                                            12          A.    It's the National Auto Dealers Association.
                                                                            13          Q.    And what does that mean, "at NADA"?
                                                                            14          A.    There's an annual convention and trade show.
                                                                            15          Q.    Is it once a year?
                                                                            16          A.    Yes.
                                                                            17          Q.    And at this convention, you -- you met with
                                                                            18    Mr. Workman?
                                                                            19          A.    Yes.
                                                                            20          Q.    And at these annual conventions, you frequently
                                                                            21    meet -- meet with executives from CDK; correct?
                                                                            22                       MS. GULLEY:      Objection; form.
                                                                            23          A.    No.
                                                                            24          Q.    (By Mr. Nemelka)        Is this the only time you
                                                                            25    ever met with a CDK executive at NADA?
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                                                                            1            A.    No.    It's not the only time, but it -- it is --
                                                                            2     to characterize it as something that happens a lot, it's
                                                                            3     not.    It's rare.       And this is certainly the first time
                                                                            4     that I had ever met Steve Anenen.
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                                                                            5            Q.    And then you write -- well, you said, "As I
                                                                            6     said in our initial meeting on the subject at NADA, I
                                                                            7     believe that there some attractive opportunities here
                                                                            8     that in the longer term can be quite significant."                      Do
                                                                            9     you see that?
                                                                            10                        MS. GULLEY:      Objection; form.
                                                                            11           A.    Yes.
                                                                            12           Q.    (By Mr. Nemelka)        So let's turn the page to
                                                                            13    the document that you attached.              If you could go to the
                                                                            14    last section on Data Services, on the second page.                      And
                                                                            15    you have -- having read this -- this attachment, this
                                                                            16    was proposing a joint venture between CDK and Reynolds
                                                                            17    for the service of extracting data from dealership
                                                                            18    systems; correct?
                                                                            19                        MS. GULLEY:      Objection; form.
                                                                            20           Q.    (By Mr. Nemelka)        Mr. Brockman?
                                                                            21           A.    Yes.
                                                                            22           Q.    And ADP, meaning CDK, would contribute the DMI
                                                                            23    business that we just discussed; correct?
                                                                            24                        MS. GULLEY:      Form.
                                                                            25           A.    Yes.
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                                                                            1           Q.    (By Mr. Nemelka)        And then Reynolds would
                                                                            2     contribute its technology for accessing the Reynolds DMS
                                                                            3     systems; correct?
                                                                            4                       MS. GULLEY:       Form.
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                                                                            5           A.    That's what was under consideration, but it --
                                                                            6     I think it's -- it's correct to add that -- that this
                                                                            7     was a proposed process that never occurred.                  And
                                                                            8     further -- on further examination, subsequent to this, I
                                                                            9     decided that it would be a wrong thing to do.
                                                                            10          Q.    (By Mr. Nemelka)        Why would it be a wrong thing
                                                                            11    to do?
                                                                            12          A.    I don't believe that accessing dealership
                                                                            13    systems to extract data in the manner that DMI and that
                                                                            14    their other entities were doing it to be proper.
                                                                            15          Q.    But at least here, you had proposed talking
                                                                            16    about forming a joint venture to do that; correct?
                                                                            17                      MS. GULLEY:       Objection; form.
                                                                            18          A.    What I'm doing is -- is I'm -- I'm commenting
                                                                            19    on -- on their proposals.
                                                                            20          Q.    (By Mr. Nemelka)        You described it as
                                                                            21    an attractive opportunity that could be quite
                                                                            22    significant in your email, didn't you?
                                                                            23                      MS. GULLEY:       Objection; form.
                                                                            24          A.    On further examination, you know, that was not
                                                                            25    the case.
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                                                                            1           Q.    (By Mr. Nemelka)        And would other competitors
                                                                            2     to this data services joint venture be allowed to access
                                                                            3     the data for Reynolds and -- and CDK dealers, or only
                                                                            4     this joint venture?
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                                                                            5                       MS. GULLEY:       Objection; form.
                                                                            6           A.    Again, this was an early-on idea which was not
                                                                            7     followed up on.        Specifically, we did not do anything in
                                                                            8     this regard.
                                                                            9           Q.    (By Mr. Nemelka)        The thought was, though, that
                                                                            10    only the Reynolds and CDK joint venture would be able to
                                                                            11    provide data access to Reynolds and CDK, not others;
                                                                            12    correct?
                                                                            13                      MS. GULLEY:       Objection; form.
                                                                            14          A.    That -- that was the -- the original proposal
                                                                            15    from CDK.
                                                                            16          Q.    (By Mr. Nemelka)        So competitors like
                                                                            17    Authenticom would not be able to compete with this joint
                                                                            18    venture, right?
                                                                            19                      MS. GULLEY:       Objection; form.
                                                                            20          A.    From a thought standpoint, this -- this project
                                                                            21    never got that far.
                                                                            22          Q.    (By Mr. Nemelka)        But you said that was the
                                                                            23    original conception that CDK --
                                                                            24                      MS. GULLEY:       Objection --
                                                                            25                      MR. NEMELKA:        Let me finish my question,
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                                                                            1     Andi.
                                                                            2             Q.    (By Mr. Nemelka)        You said that was the
                                                                            3     original proposal from CDK, though, right?
                                                                            4                         MS. GULLEY:       Objection; form.
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                                                                            5             A.    Again, there was -- there was another document,
                                                                            6     which I don't have and I don't know whether it exists,
                                                                            7     but it's -- it certainly did exist, where what ADP was
                                                                            8     proposing was -- was laid out.               And this was an initial
                                                                            9     response.       Again -- I'll repeat again, this project did
                                                                            10    not go anywhere.          It did not happen.
                                                                            11            Q.    (By Mr. Nemelka)        At this time, were you --
                                                                            12    when you were considering this joint venture, DMI was
                                                                            13    extracting data for vendors from Reynolds' DMS; correct?
                                                                            14                        MS. GULLEY:       Objection; form.
                                                                            15            A.    At this particular point in time, this -- this
                                                                            16    was approximately seven months after the acquisition
                                                                            17    of -- of a very, very large company.                 It was extremely
                                                                            18    busy in all kinds of operational details, and for me to
                                                                            19    know what was going on with Reynolds systems and outside
                                                                            20    third parties at that point in time was impossible.                      The
                                                                            21    best I could have would be, you know, hazy knowledge,
                                                                            22    but not, you know, absolute knowledge.
                                                                            23            Q.    (By Mr. Nemelka)        Well, here you wrote that CDK
                                                                            24    would contribute the DMI business to this new co-entity
                                                                            25    along with the technology for accessing DMS systems,
                                                                                                                 Veritext Legal Solutions
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                                                                            1     right?
                                                                            2                         MS. GULLEY:     Objection; form.
                                                                            3           A.    Again, that was in response to their proposal.
                                                                            4     And again -- I repeat again, this project went nowhere.
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                                                                            5                         (Exhibit 639 was marked for
                                                                            6                          identification.)
                                                                            7           Q.    (By Mr. Nemelka)        I've handed you Plaintiff's
                                                                            8     Exhibit 639.        And, Mr. Brockman, I'll represent to you
                                                                            9     that the metadata for this document states that, as
                                                                            10    produced by -- by your counsel, that this came from your
                                                                            11    custodial file and that it was -- date last modified was
                                                                            12    July 29th, 2012.        And the file name is "ADP Data
                                                                            13    Agreement Talking Points."            Okay?
                                                                            14                        MS. GULLEY:     Objection; form.
                                                                            15          Q.    (By Mr. Nemelka)        Did you hear that,
                                                                            16    Mr. Brockman?
                                                                            17          A.    Yes.
                                                                            18          Q.    Okay.     Do you recognize these as talking points
                                                                            19    that you created for ADP Data Agreement?
                                                                            20                        MS. GULLEY:     Objection; form.
                                                                            21          A.    Yes.     These were talking points that would take
                                                                            22    place between myself and ADP.
                                                                            23          Q.    (By Mr. Nemelka)        And who at ADP?
                                                                            24          A.    Steve Anenen.
                                                                            25          Q.    Is this a phone call?
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                                                                            1                        MS. GULLEY:      Objection; form.
                                                                            2           A.    Yes.
                                                                            3           Q.    (By Mr. Nemelka)        And was it a phone call
                                                                            4     around the time of July 29th, 2012?
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                                                                            5                        MS. GULLEY:      Form.
                                                                            6           A.    I don't know what date -- I remember creating
                                                                            7     this document, thinking that a phone call was going to
                                                                            8     be imminent.       It was not imminent.          It was at some
                                                                            9     considerable length of time afterwards.
                                                                            10          Q.    (By Mr. Nemelka)        "Considerable length of
                                                                            11    time," meaning a few weeks or months?
                                                                            12          A.    Months.
                                                                            13          Q.    A few months?       And these are the talking points
                                                                            14    that you prepared for that phone conversation with
                                                                            15    Mr. Anenen?
                                                                            16          A.    Yes.
                                                                            17          Q.    And did you deliver these talking points?
                                                                            18                       MS. GULLEY:      Form.
                                                                            19          A.    I'm not sure what all points were actually
                                                                            20    covered.     These were the points that I wanted to cover.
                                                                            21    Whether I got them all done or not, I -- I don't think I
                                                                            22    got them quite done.
                                                                            23          Q.    (By Mr. Nemelka)        I just want to ask you about
                                                                            24    a few of the bullet points here, Mr. Brockman.                   The
                                                                            25    first one you say, "Unattended remote access to Reynolds
                                                                                                               Veritext Legal Solutions
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                                                                            1     systems is going to cease."              Do you see that?
                                                                            2             A.    Yes.
                                                                            3             Q.    So 2012, unattended remote access was still
                                                                            4     happening on the Reynolds system, right?
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                                                                            5             A.    That's correct.
                                                                            6             Q.    Including by CDK; correct?
                                                                            7             A.    That's right.       CDK -- or CDK subsidiaries were
                                                                            8     identified as some of the most, you know -- they were
                                                                            9     the worst hackers out there.              And -- and this first
                                                                            10    line, "Unattended remote access to Reynolds systems is
                                                                            11    going to cease," that was not a pleasant statement.
                                                                            12    That was a -- a statement of fact.                 The fact was pretty
                                                                            13    ugly.
                                                                            14            Q.    And -- and the data agreement, the document is
                                                                            15    titled "Data Agreement."             And what was the data
                                                                            16    agreement that you envisioned entering into with CDK?
                                                                            17                         MS. GULLEY:      Objection; form.
                                                                            18            A.    The -- the data agreement involved a -- a
                                                                            19    phased shutdown, as opposed to an abrupt stop.
                                                                            20                         MS. GULLEY:      Objection; form.
                                                                            21            Q.    (By Mr. Nemelka)        And is this a call that was
                                                                            22    initiated by you, or Mr. Anenen?
                                                                            23            A.    I -- I had requested a call.             Whether he called
                                                                            24    me or I called him, I don't recall.
                                                                            25            Q.    You requested the call?
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                                                                            1                         MS. GULLEY:        Objection; form.
                                                                            2           A.     Yes.
                                                                            3           Q.     (By Mr. Nemelka)          And this is the first time
                                                                            4     that you had discussed with Mr. Anenen having CDK stop
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                                                                            5     accessing the Reynolds systems?
                                                                            6                         MS. GULLEY:        Objection; form.
                                                                            7           A.     I don't recall whether or not it was the first
                                                                            8     time or not.
                                                                            9           Q.     (By Mr. Nemelka)          And what did Mr. Anenen say
                                                                            10    in response?
                                                                            11          A.     It was a rather unusual call.                 There was
                                                                            12    about -- it was an hour-long call, and there was about
                                                                            13    15 minutes' worth of this active discussion and then 45
                                                                            14    minutes of -- of just unproductive conversation.
                                                                            15          Q.     What does that -- what -- why was it
                                                                            16    unproductive?
                                                                            17          A.     Mr. Anenen did not want to address the issues.
                                                                            18    He wanted to talk about other things.
                                                                            19          Q.     So on these topics, the call lasted about 15
                                                                            20    minutes?
                                                                            21          A.     Uh-huh.      (Witness answers affirmatively.)
                                                                            22          Q.     And what -- what did he respond -- how did he
                                                                            23    respond when you told him that unattended remote access
                                                                            24    to Reynolds systems is going to cease?
                                                                            25          A.     He didn't make a specific reply to that
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                                                                            1     statement.
                                                                            2             Q.     And what was his general response to your
                                                                            3     proposal here?
                                                                            4                          MS. GULLEY:       Objection; form.
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                                                                            5             A.     I would say it was -- it didn't make a lot of
                                                                            6     progress.        You know, Steve Anenen is a very, very nice
                                                                            7     guy, and he's a person that is unlikely to say no, you
                                                                            8     know.        He's just -- he's not that kind of person.                   But
                                                                            9     he did not make a positive response.
                                                                            10            Q.     (By Mr. Nemelka)        Meaning he said that CDK
                                                                            11    would continue to access the Reynolds system?
                                                                            12                         MS. GULLEY:       Objection; form.
                                                                            13            A.     No.   He did not answer that specific issue.
                                                                            14    Again, he's a very nice guy.
                                                                            15            Q.     (By Mr. Nemelka)        Did he give you any
                                                                            16    indication one way or the other whether he was
                                                                            17    interested in engaging in the discussions further, after
                                                                            18    this phone call?
                                                                            19                         MS. GULLEY:       Objection; form.
                                                                            20            A.     At -- at that point, he did not.
                                                                            21            Q.     (By Mr. Nemelka)        At this time, Reynolds was
                                                                            22    using Authenticom for -- strike that.
                                                                            23                         Reynolds has its own software application,
                                                                            24    separate from the DMS; correct?
                                                                            25            A.     I wouldn't say separate from the DMS, but
                                                                                                                  Veritext Legal Solutions
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                                                                            1     there's some things that we do that are not totally
                                                                            2     related to our own DMS.
                                                                            3           Q.    Right.     Software solutions that you -- that
                                                                            4     dealers use, separate from the DMS; correct?
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                                                                            5                        MS. GULLEY:      Objection; form.
                                                                            6           A.    It's a very, very small, you know, part of our
                                                                            7     business.
                                                                            8           Q.    (By Mr. Nemelka)        And at this time, Reynolds
                                                                            9     was using Authenticom for the data needs for those
                                                                            10    applications; correct?
                                                                            11                       MS. GULLEY:      Objection; form.
                                                                            12          A.    Yes.     Again, the particular data that we're
                                                                            13    talking about has to do with service reminder cards,
                                                                            14    principally, and it's a very small thing.                 And we use
                                                                            15    Authenticom from an expediency standpoint to, you know,
                                                                            16    get us the data.
                                                                            17          Q.    (By Mr. Nemelka)        And this was data from CDK
                                                                            18    DMS; correct?
                                                                            19          A.    Yes.
                                                                            20          Q.    And if you go to the next page, you have a --
                                                                            21    you have a -- a bullet point here where it starts with
                                                                            22    "batch type data."         Do you see that?
                                                                            23          A.    Yes.
                                                                            24          Q.    It says, "Batch type data that Authenticom (or
                                                                            25    some other Reynolds agent)" -- so let me stop there.                   So
                                                                                                               Veritext Legal Solutions
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                                                                            1     you considered Authenticom a Reynolds agent in
                                                                            2     collecting the data; is that right?
                                                                            3           A.    I don't --
                                                                            4                        MS. GULLEY:      Objection; form.
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                                                                            5           A.    I don't know if we would consider Authenticom
                                                                            6     an agent.     They -- they provided a service.
                                                                            7           Q.    (By Mr. Nemelka)        You say, "Batch type data
                                                                            8     that Authenticom (or some other Reynolds agent) collects
                                                                            9     from ADP sites for Reynolds to use in marketing programs
                                                                            10    that it sells to the dealer would require that this data
                                                                            11    is used for no other purpose."             Do you see that?
                                                                            12                       MS. GULLEY:      Objection; form.
                                                                            13          A.    Yes.
                                                                            14          Q.    (By Mr. Nemelka)        So you envisioned that
                                                                            15    Reynolds would continue to use Authenticom even after
                                                                            16    this proposed data agreement with CDK; is that right?
                                                                            17                       MS. GULLEY:      Objection; form.
                                                                            18          A.    I don't think that, you know, I would
                                                                            19    characterize this paragraph in that way.                 There's no
                                                                            20    suggestion here it's long term.             Anytime that you have a
                                                                            21    process set up for a collection of data, to tear it up,
                                                                            22    you know, involves some effort.             And what we're talking
                                                                            23    about that's described in this document here, there's
                                                                            24    things to be done short term.             There is no implication
                                                                            25    here that long term -- you know, longer than what the
                                                                                                               Veritext Legal Solutions
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                                                                                                                                                    Page 51
                                                                            1     immediate, you know, time frame would be -- that we
                                                                            2     would continue to use Authenticom.
                                                                            3           Q.    (By Mr. Nemelka)        This is 2012, right?
                                                                            4                         MS. GULLEY:     Objection; form.
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                                                                            5           A.    Yeah.
                                                                            6           Q.    (By Mr. Nemelka)        Reynolds continued to use
                                                                            7     Authenticom clear to -- through 2017, right?
                                                                            8                         MS. GULLEY:     Objection; form.
                                                                            9           A.    I'm not aware of -- of how long that -- that
                                                                            10    occurred.
                                                                            11          Q.    (By Mr. Nemelka)        Certainly, you know, for
                                                                            12    years after this, Reynolds continued to use Authenticom,
                                                                            13    right?
                                                                            14                        MS. GULLEY:     Objection; form.
                                                                            15          A.    Again, I'm not aware of what's going on.
                                                                            16          Q.    (By Mr. Nemelka)        All right, well --
                                                                            17          A.    In -- in the -- in that particular regard.
                                                                            18          Q.    We have some documents on that.
                                                                            19                        MS. GULLEY:     Objection; to the sidebar.
                                                                            20          Q.    (By Mr. Nemelka)        You said "agents."          You say
                                                                            21    here, "The use of a 3rd-party acting under contract as
                                                                            22    an agent of ADP or Reynolds is not an issue as long as
                                                                            23    the specific RCI agreement is directly between us."                    Do
                                                                            24    you see that?
                                                                            25                        MS. GULLEY:     Objection; form.
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                                                                                                                                                      Page 52
                                                                            1             A.    Yes.
                                                                            2             Q.    (By Mr. Nemelka)        What did you mean by that?
                                                                            3                          MS. GULLEY:      Objection; form.
                                                                            4             A.    What the focus in this particular passage is --
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                                                                            5     and that's that we'd want to have a contract directly
                                                                            6     with the -- the owner of the data.
                                                                            7             Q.    (By Mr. Nemelka)        Well, the contract with the
                                                                            8     owner of data?         That would be the dealer, right?
                                                                            9                          MS. GULLEY:      Objection; form.
                                                                            10            A.    Correct.
                                                                            11            Q.    (By Mr. Nemelka)        And so you would consider
                                                                            12    those who go and collect the data on your behalf as your
                                                                            13    agents; correct?
                                                                            14                         MS. GULLEY:      Objection; form.
                                                                            15            A.    I think what -- what we're talking about here
                                                                            16    is -- and that's that, you know, we don't use agents.
                                                                            17    What we want to do is we want to have direct contracts
                                                                            18    with the collector of the data and also the owner of the
                                                                            19    data.
                                                                            20            Q.    (By Mr. Nemelka)        Well, what you write here is
                                                                            21    that "The use of a 3rd party acting under contract as an
                                                                            22    agent of ADP or Reynolds is not an issue as long as the
                                                                            23    specific RCI agreement is directly between us."                     Do you
                                                                            24    see that?
                                                                            25                         MS. GULLEY:      Objection; form.
                                                                                                                 Veritext Legal Solutions
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                                                                            1           A.    Well, I -- I think that's -- that states
                                                                            2     clearly that we -- the agreement we want is -- we want
                                                                            3     one directly between us and -- and not, you know,
                                                                            4     with any use of an agent.
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                                                                            5           Q.    (By Mr. Nemelka)        And "an agent" being those
                                                                            6     that go and collect data on your behalf; correct?
                                                                            7                       MS. GULLEY:       No.
                                                                            8                       Objection; form.         I'm sorry.       It was -- I'm
                                                                            9     sorry.
                                                                            10                      MR. NEMELKA:        That's improper to answer the
                                                                            11    question.     I asked the witness.
                                                                            12                      MS. GULLEY:       I'm so sorry, Mike.
                                                                            13                      MR. NEMELKA:        It's okay.
                                                                            14                      MS. GULLEY:       It was not -- not intentional.
                                                                            15                      UNIDENTIFIED:        Same objection.
                                                                            16                      MR. NEMELKA:        We'll just leave the record
                                                                            17    like that.
                                                                            18                      MS. GULLEY:       Well, he can answer the
                                                                            19    question.
                                                                            20                      MR. NEMELKA:        Sure.
                                                                            21          Q.    (By Mr. Nemelka)        Do you need me to repeat the
                                                                            22    question, Mr. Brockman?
                                                                            23          A.    I need to reread this.
                                                                            24          Q.    My simple question was -- is that you have here
                                                                            25    a section called "Use of Agents."              You say, "The use of
                                                                                                               Veritext Legal Solutions
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                                                                                                                                                      Page 54
                                                                            1     a 3rd party acting under contract as an agent of ADP or
                                                                            2     Reynolds is not an issue as long as the specific RCI
                                                                            3     agreement is directly between us -- either of us would
                                                                            4     take responsibility for their agents."                  Do you see that?
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                                                                            5                           MS. GULLEY:     Form.
                                                                            6             A.    Yes.
                                                                            7             Q.    (By Mr. Nemelka)        And my question is that the
                                                                            8     agents that you're referring to are those that would go
                                                                            9     and collect the data on your behalf; correct?
                                                                            10            A.    I think I'm referring to DMI, Integra.
                                                                            11            Q.    Okay.     Did you know how Authenticom accessed
                                                                            12    data on a CDK system?
                                                                            13                          MS. GULLEY:     Objection; form.
                                                                            14            A.    No.
                                                                            15            Q.    (By Mr. Nemelka)        Did you know that they were
                                                                            16    issued log-in credentials, just like DMI and Integra
                                                                            17    Link! were for Reynolds?
                                                                            18                          MS. GULLEY:     Objection; form.
                                                                            19            A.    I'm not aware of that.
                                                                            20                          MS. GULLEY:     Are you at a stopping point,
                                                                            21    Mike?
                                                                            22                          MR. NEMELKA:      Sure.
                                                                            23                          MS. GULLEY:     Let's take a break.
                                                                            24                          THE VIDEOGRAPHER:         The time is 10:25 a.m.,
                                                                            25    and we're off the record.
                                                                                                                 Veritext Legal Solutions
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                                                                            1                       (Short recess 10:25 to 10:50 a.m.)
                                                                            2                       THE VIDEOGRAPHER:         The time is 10:50 a.m.
                                                                            3     We're back on the record.
                                                                            4                          EXAMINATION (Continuing)
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                                                                            5     BY MR. NEMELKA:
                                                                            6           Q.    Mr. Brockman, have you heard of the phrase
                                                                            7     "whitelisting"?
                                                                            8                       MS. GULLEY:       Objection; form.
                                                                            9           A.    In -- in recent years, yes.
                                                                            10          Q.    (By Mr. Nemelka)        The -- where -- as I think of
                                                                            11    the term "whitelisting," that's where Reynolds issues a
                                                                            12    protected user ID that will be exempt from Reynolds'
                                                                            13    security processes.
                                                                            14                      MS. GULLEY:       Object- -- hold on.          Let him
                                                                            15    finish.
                                                                            16          Q.    (By Mr. Nemelka)        Is that -- is that how you
                                                                            17    associate the term?
                                                                            18                      MS. GULLEY:       Objection; form.
                                                                            19          A.    No.
                                                                            20          Q.    (By Mr. Nemelka)        Reynolds did allow the
                                                                            21    feeding of data through protected user IDs that were
                                                                            22    exempt from the secur- -- Reynolds' security processes,
                                                                            23    right?
                                                                            24                      MS. GULLEY:       Objection; form.
                                                                            25          A.    I would say the answer to that is -- is
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                                                                                 Case 3:20-cr-00371-WHA Document 69-20 Filed 12/15/20 Page 56 of 459
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                                                                            1     qualified as -- as temporary access.               I think it's
                                                                            2     important that, from a transitional standpoint, that's
                                                                            3     where that's been used.
                                                                            4           Q.    (By Mr. Nemelka)        And it was used with CDK's
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                                                                            5     access to the Reynolds system; correct?
                                                                            6                       MS. GULLEY:       Objection; form.
                                                                            7           A.    The answer to that is no.            The -- the only time
                                                                            8     that that was used is -- or that process was used was in
                                                                            9     the situation where everybody's agreed that they're
                                                                            10    going to stop hacking.          They're going to stop being
                                                                            11    bandits.     They're going to get straight.              And, you know,
                                                                            12    we've seen fit to facilitate an orderly stand-down, in
                                                                            13    which case, you know, we issued user IDs that were
                                                                            14    temporary in nature.
                                                                            15          Q.    (By Mr. Nemelka)        That was in 2000 --
                                                                            16                      MS. GULLEY:       Are you finished Mr. Brockman?
                                                                            17                      THE WITNESS:        No.
                                                                            18          A.    That's completely different than, you know,
                                                                            19    what my connotation of whitelist is.               Whitelist, in my
                                                                            20    terminology, has to do with email.
                                                                            21                      I have a lot of problems with spam email.
                                                                            22    And one of the ways that you deal with spam email is --
                                                                            23    is you decide what select group of people you'll accept
                                                                            24    email addresses from, and you -- you create a list.                    And
                                                                            25    that's what's called a "whitelist."               You know, that's --
                                                                                                               Veritext Legal Solutions
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                                                                            1     that's my knowledge of the use of the term.
                                                                            2           Q.    (By Mr. Nemelka)        So where Reynolds issued
                                                                            3     these protected user IDs for CDK, that was -- that you
                                                                            4     were referring to, was that in connection with the 2015
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                                                                            5     wind-down agreement?
                                                                            6                       MS. GULLEY:       Form.
                                                                            7           A.    That was one of the factors in that wind-down
                                                                            8     agreement.      It was -- again, first and foremost, that
                                                                            9     they're -- they're going to stop hacking.                 They're going
                                                                            10    to stop being bandits.          And this is a temporary
                                                                            11    situation, you know, where it's a wind-down.
                                                                            12          Q.    (By Mr. Nemelka)        Reynolds did it for CDK long
                                                                            13    before 2015, didn't it?
                                                                            14                      MS. GULLEY:       Objection; form.
                                                                            15          A.    Not to my knowledge.
                                                                            16          Q.    (By Mr. Nemelka)        Okay.     I've handed you
                                                                            17    Exhibit -- Plaintiff's Exhibit 640.
                                                                            18                      (Exhibit 640 was marked for
                                                                            19                        identification.)
                                                                            20          Q.    (By Mr. Nemelka)        And I'll describe it and then
                                                                            21    you can read it.        It's an email from you, Mr. Brockman,
                                                                            22    dated Friday, February 20, 2013, to Ron Lamb.                   I'll give
                                                                            23    you a minute to read it.
                                                                            24          A.    I'm familiar with this issue here.
                                                                            25          Q.    Are you finished reading --
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                                                                            1             A.     Let -- let me finish.
                                                                            2                          We have been -- you know, the war with the
                                                                            3     bandits and the hackers, it's been going on for a long
                                                                            4     time.        And what we've done over the years is -- and
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                                                                            5     that's that we've created barriers.                  And what happens
                                                                            6     is, in this, is sometimes the barrier blocks somebody
                                                                            7     that is -- is causing them a great deal of problem.                       And
                                                                            8     what we'll do is -- and that's on a temporary basis
                                                                            9     while we get the -- you know, the issue -- specific
                                                                            10    issue sorted out, we will issue a user ID temporarily.
                                                                            11                         And I think that that's reflected in -- it
                                                                            12    reads, "Obviously it is not getting communicated
                                                                            13    correctly -- or the dealership person is not listening
                                                                            14    to the description of the circumstances around the
                                                                            15    situation -- which is that a formal agreement has been
                                                                            16    reached whereby entrance into the RCI world by the OEM
                                                                            17    [involved] will begin.
                                                                            18                         "Part of this [that] agreement is to allow
                                                                            19    the feeding of data by 'bandit procedures' to continue
                                                                            20    to exist in [during] the transition period."                     And that's
                                                                            21    what it's all about.
                                                                            22            Q.     Will you continue to read that last sentence of
                                                                            23    your email?
                                                                            24                         MS. GULLEY:       Objection; form.
                                                                            25            A.     "The new USER-ID is a special one that we know
                                                                                                                  Veritext Legal Solutions
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                                                                            1     about -- and there will be exempt from the security
                                                                            2     processes."
                                                                            3                        What's not, clearly, part of that sentence
                                                                            4     is "This is a temporary transition."
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                                                                            5           Q.    (By Mr. Nemelka)        Mr. Brockman, this was user
                                                                            6     IDs that were for both Integra Link! and DMI; correct?
                                                                            7                        MS. GULLEY:      Objection; form.
                                                                            8           A.    Yes.    I believe -- I believe, in this
                                                                            9     particular situation, they were the folks that were
                                                                            10    described -- which they're our -- our worst hackers.
                                                                            11          Q.    (By Mr. Nemelka)        And this is in 2013; correct?
                                                                            12                       MS. GULLEY:      Objection; form.
                                                                            13          A.    Yes.    That's -- that's the date.
                                                                            14          Q.    (By Mr. Nemelka)        And the bottom email is an
                                                                            15    email from a dealership to Reynolds, right?
                                                                            16                       MS. GULLEY:      Objection; form.
                                                                            17          A.    Yes.
                                                                            18          Q.    (By Mr. Nemelka)        Sunset -- excuse me.          Sorry.
                                                                            19          A.    That's correct.        The email is to Reynolds, from
                                                                            20    a customer of Reynolds.
                                                                            21          Q.    And the customer says, "I have now received
                                                                            22    three calls from the TAC" -- what is the TAC?
                                                                            23          A.    That stands for Technical Assistance Center.
                                                                            24          Q.    Of Reynolds?
                                                                            25          A.    Yes.
                                                                                                               Veritext Legal Solutions
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                                                                            1           Q.    -- "about setting up user IDs for both
                                                                            2     Integralink and DMI to allow non-regulated access to our
                                                                            3     Reynolds system."
                                                                            4                       Then he goes on, "I find it extremely
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                                                                            5     hypocritical that for the better part of 3-4 years
                                                                            6     Reynolds has pretty much pissed off a large majority of
                                                                            7     your customer with 'security' enhancements that locked
                                                                            8     out these companies in one way or another.                  Now all of a
                                                                            9     sudden, Reynolds is calling me to set up exactly what we
                                                                            10    were told was a security problem.              So my questions is
                                                                            11    how is this still not a security problem."
                                                                            12                      Do you see that?
                                                                            13                      MS. GULLEY:       Form.
                                                                            14          Q.    My question is:        Do you see that?
                                                                            15                      MS. GULLEY:       Form.
                                                                            16          A.    I see, you know, what you have read.
                                                                            17          Q.    (By Mr. Nemelka)        Did you -- do you agree with
                                                                            18    the dealer that it's hypocritical for Reynolds to be
                                                                            19    creating these protected user IDs that are exempt from
                                                                            20    its security processes?
                                                                            21                      MS. GULLEY:       Form.
                                                                            22          A.    No.   I -- I disagree with that statement.
                                                                            23                      MS. GULLEY:       Are you --
                                                                            24          A.    And the characterization that this particular
                                                                            25    writer, this Christopher K. Upright, that we have,
                                                                                                               Veritext Legal Solutions
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                                                                            1     quote, angered a number of our customers over the last
                                                                            2     three or four years, you know, that's way too strong of
                                                                            3     a characterization.         There's no question there's been
                                                                            4     inconveniences as we have, you know, ratcheted down, you
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                                                                            5     know, hackers' access.          And that's exactly what happened
                                                                            6     here, and we -- we obviously dealt with it.
                                                                            7           Q.    Dealers left Reynolds over this issue of data
                                                                            8     access, didn't they?
                                                                            9           A.    There has been some, but a very small minority.
                                                                            10          Q.    And they transitioned, during this time period,
                                                                            11    to CDK over those issues; correct?
                                                                            12                      MS. GULLEY:       Objection; form.
                                                                            13          A.    I don't have any, you know -- you know,
                                                                            14    knowledge of -- of the -- you know, that correlates
                                                                            15    security issues to, you know, number of dealerships that
                                                                            16    departed.     I just don't have that information, if it
                                                                            17    exists.
                                                                            18          Q.    (By Mr. Nemelka)        Reynolds keeps track of
                                                                            19    reasons that dealers leave it, don't -- doesn't it?
                                                                            20          A.    To the extent that we can ascertain, you know,
                                                                            21    why, we do.      You know, in many, many cases, we can't.
                                                                            22          Q.    And you're aware that, in tracking, that there
                                                                            23    were many instances -- there were instances where
                                                                            24    dealers said they were leaving Reynolds for CDK because
                                                                            25    of the data access policies, right?
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                                                                            1                       MS. GULLEY:       Objection; form.
                                                                            2           A.    I would say that there -- there are some
                                                                            3     dealers that have left us over data access, but -- but,
                                                                            4     this is, you know, a very tiny minority.
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                                                                            5           Q.    (By Mr. Nemelka)        In your email about the user
                                                                            6     IDs being exempt from security processes, what does
                                                                            7     "exempt" mean?
                                                                            8                       MS. GULLEY:       Objection; form.
                                                                            9           A.    I'm sorry.      I'm not understanding.
                                                                            10          Q.    (By Mr. Nemelka)        You wrote, "The new USER-ID
                                                                            11    is a special one that we know about -- and they" -- "and
                                                                            12    there will exempt from the security processes."                   What
                                                                            13    does that "exempt" mean?
                                                                            14                      MS. GULLEY:       Objection; form.
                                                                            15          A.    I think it means what it says.
                                                                            16          Q.    (By Mr. Nemelka)        Security processes will not
                                                                            17    apply to those protected user IDs, right?
                                                                            18                      MS. GULLEY:       Objection; form.
                                                                            19          A.    The -- the specific security issue that is
                                                                            20    causing this particular customer unhappiness, that's
                                                                            21    what the new user ID will -- will exempt them from.
                                                                            22    Until such time as -- as we have our -- our piece of
                                                                            23    code -- which is actually, you know, performing the
                                                                            24    security check a little too aggressively -- until that's
                                                                            25    corrected.
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                                                                            1           Q.     (By Mr. Nemelka)          You can set that aside.             Oh,
                                                                            2     one -- real quick.           The access that DMI and Integra
                                                                            3     Link! had to the Reynolds system was automated access;
                                                                            4     correct?
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                                                                            5                         MS. GULLEY:        Objection; form.
                                                                            6           Q.     (By Mr. Nemelka)          That was protected?
                                                                            7                         MS. GULLEY:        Objection; form.
                                                                            8           A.     Again, the -- the user ID, you know, gave the
                                                                            9     ability to -- for, you know, a person to log on to the
                                                                            10    system.      Exactly, you know, what they did with that, I
                                                                            11    can't tell from this.
                                                                            12          Q.     (By Mr. Nemelka)          You weren't -- you're not
                                                                            13    aware that -- that -- that protected user IDs for CDK
                                                                            14    were for data access in an automated way?
                                                                            15                        MS. GULLEY:        Objection; form.
                                                                            16          A.     I'm not aware of that.
                                                                            17          Q.     (By Mr. Nemelka)          Okay.      You can set that
                                                                            18    aside.
                                                                            19                        (Exhibit 641 was marked for
                                                                            20                         identification.)
                                                                            21          Q.     (By Mr. Nemelka)          I've handed you Plaintiff's
                                                                            22    Exhibit 641, which is an email -- the top email is an
                                                                            23    email from Bob Schaefer to Howard Gardner at CDK
                                                                            24    forwarding an email from you, Mr. Brockman, to Robert
                                                                            25    Schaefer on November 25th, 2013.                  Do you see your email
                                                                                                               Veritext Legal Solutions
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                                                                                                                                                    Page 64
                                                                            1     to Mr. Schaefer where you write on November 25th, 2013?
                                                                            2                         MS. GULLEY:     Objection; form.
                                                                            3           A.    Sorry.     If you will give me a moment to --
                                                                            4           Q.    (By Mr. Nemelka)        Let me -- I'll let you review
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                                                                            5     the document.        I just want -- I just want to point out
                                                                            6     your email to Mr. Schaefer, if I could.
                                                                            7           A.    Please, let me read the document.
                                                                            8           Q.    Okay.
                                                                            9           A.    Again, I --
                                                                            10          Q.    Have you finished reading them?
                                                                            11          A.    Yes.
                                                                            12          Q.    Okay, thank you.
                                                                            13          A.    Please repeat the question.
                                                                            14          Q.    Yes.     So you sent an email -- it's the second
                                                                            15    from the top -- you sent an email dated November 25,
                                                                            16    2013 to Robert Schaefer where you write, "Bob, you have
                                                                            17    authority to pursue discussions with ADP on these
                                                                            18    subjects as per our conversation."               Do you see that?
                                                                            19          A.    Yes.
                                                                            20          Q.    So this is you giving Mr. Schaefer -- who is a
                                                                            21    Reynolds executive; correct?
                                                                            22                        MS. GULLEY:     Objection; form.
                                                                            23          A.    That is correct.
                                                                            24          Q.    (By Mr. Nemelka)        -- authority to talk to CDK
                                                                            25    on the topics outlined in the email below.                  Right?
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                                                                            1                        MS. GULLEY:      Objection; form.
                                                                            2           A.    Yes.    That -- that is correct.
                                                                            3           Q.    (By Mr. Nemelka)        And in the email that -- it's
                                                                            4     an email that Howard Gardner sent to Mr. Schaefer.                     Now,
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                                                                            5     Howard Gardner is the CDK executive, right?
                                                                            6           A.    I'm aware of the fact that he works for CDK.
                                                                            7     Whether or not he's considered an executive, I'm not --
                                                                            8     I'm not familiar.
                                                                            9           Q.    And here -- the first bullet point he says,
                                                                            10    "Bob Brockman would like to work toward an agreement
                                                                            11    with ADP, and he has granted you the authority to pursue
                                                                            12    discussions on a general framework with ADP."                   Do you
                                                                            13    see that?
                                                                            14                       MS. GULLEY:      Objection; form.
                                                                            15          A.    Yes, I do.
                                                                            16          Q.    (By Mr. Nemelka)        And that's the authority that
                                                                            17    you have been granting Mr. -- that you granted
                                                                            18    Mr. Schaefer, right?
                                                                            19                       MS. GULLEY:      Objection; form.
                                                                            20          A.    Yes.    I gave him authority to discuss with ADP.
                                                                            21    He does not have -- this does not give him permission to
                                                                            22    actually do anything.          It's permission to talk about
                                                                            23    things.
                                                                            24          Q.    (By Mr. Nemelka)        Right.     And one of the -- if
                                                                            25    you turn to the next page -- one of the things that --
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                                                                                                                                                    Page 66
                                                                            1     permission to talk about is for OEMs -- if you will
                                                                            2     look, "Reynolds & Reynolds and DMI will formalize and
                                                                            3     extend our collaborative approach to helping OEMs
                                                                            4     transition to a 'protected program' to prevent future
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                                                                            5     disruption of data access."            Do you see that?
                                                                            6                         MS. GULLEY:     Form.
                                                                            7           A.    Yes.     And I think it's important to point out
                                                                            8     that what's happening here is -- and that's that ADP's
                                                                            9     two subsidiaries are the worst of the hackers and
                                                                            10    bandits --
                                                                            11          Q.    Right.
                                                                            12          A.    -- that we face.        And the efforts that we're --
                                                                            13    we're pursuing here is -- and that's a continued
                                                                            14    improvement of security by -- by, you know -- you know,
                                                                            15    planned stand-downs.
                                                                            16          Q.    The next one, you say -- or here is "Non-OEM
                                                                            17    Third Parties."        So that would be, not car
                                                                            18    manufacturers, but the other applications you referred
                                                                            19    to, like, customer relationship management and so forth,
                                                                            20    right?
                                                                            21                        MS. GULLEY:     Form.
                                                                            22          Q.    (By Mr. Nemelka)        For the non- -- No. 2,
                                                                            23    "Non-OEM Third Parties"?
                                                                            24                        MS. GULLEY:     Form.
                                                                            25          A.    Okay.     We're now down to No. 2?
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                                                                                                                                                    Page 67
                                                                            1           Q.    (By Mr. Nemelka)        "Non-OEM Third Parties."           Do
                                                                            2     you see that?
                                                                            3                        Mr. Brockman, do you see No. 2, "Non-OEM
                                                                            4     Third Parties"?
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                                                                            5           A.    Yes.    I'm -- I'm trying to reabsorb that
                                                                            6     paragraph.      That's a very -- that's kind of a long
                                                                            7     run-on paragraph.
                                                                            8           Q.    Well -- if I could just -- that's one reason
                                                                            9     why you're -- you know -- I'd give you the opportunity
                                                                            10    to read the whole document, but I ask you about specific
                                                                            11    sections.     It's more efficient if I could point you to
                                                                            12    the sections, then I give you a chance to read the
                                                                            13    whole -- whole thing.          Now -- you know, reading the
                                                                            14    whole thing really does eat up time -- of our limited
                                                                            15    time here.
                                                                            16                       MS. GULLEY:      I object to the form and
                                                                            17    to the sidebar --
                                                                            18                       MR. NEMELKA:       That's fine.
                                                                            19                       MS. GULLEY:      -- and to the instruction as
                                                                            20    improper.
                                                                            21                       MR. NEMELKA:       Okay.
                                                                            22          Q.    (By Mr. Nemelka)        So No. 2.      "Non-OEM Third
                                                                            23    Parties."     Non-OEM third parties would be non-car
                                                                            24    manufacturers.       They're parties, right?
                                                                            25                       MS. GULLEY:      Objection; form.
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                                                                                                                                                      Page 68
                                                                            1             A.    Yes.    That would be a proper characterization.
                                                                            2             Q.    (By Mr. Nemelka)        And it says here, R&I --
                                                                            3     "R&R" -- Reynolds -- "and DMI will jointly create and
                                                                            4     launch a 'protected program' that DMI will offer to its
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                                                                            5     existing and prospective non-OEM clients."                    Do you see
                                                                            6     that?
                                                                            7                          MS. GULLEY:      Objection; form.
                                                                            8             A.    Yes.    I see that.
                                                                            9             Q.    (By Mr. Nemelka)        So that -- DMI would have
                                                                            10    protected access to data that Reynolds' dealers have,
                                                                            11    not just for OEMs, but for non-OEM third parties, too;
                                                                            12    correct?
                                                                            13                         MS. GULLEY:      Objection; form.
                                                                            14            A.    This is -- this is what ADP was asking for, and
                                                                            15    I -- I think that, probably after this first
                                                                            16    conversation, that they were brought to understand that
                                                                            17    we were -- that -- that we were only going to allow
                                                                            18    access for collection of data to go to specific
                                                                            19    customers, not for Reynolds and DMI to, basically,
                                                                            20    continue business as usual.
                                                                            21            Q.    (By Mr. Nemelka)        And then Point 4,
                                                                            22    "Exclusivity."         Here there's a sentence that says,
                                                                            23    Reynolds is -- "R&R is open to the R&R 'protected
                                                                            24    programs' becoming an exclusive offering by DMI."                        Do
                                                                            25    you see that?
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                                                                            1                           MS. GULLEY:     Objection; form.
                                                                            2             A.    Again, the -- this is Howard Gardner's wish
                                                                            3     list.
                                                                            4             Q.    (By Mr. Nemelka)        You gave Mr. Schaefer
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                                                                            5     authority to pursue these discussions, right, on these
                                                                            6     topics?
                                                                            7                           MS. GULLEY:     Objection; form.
                                                                            8             A.    Yeah.     And "discussions" does not mean yes to
                                                                            9     everything that -- that is being requested by Howard
                                                                            10    Gardner.       From a background standpoint, you need to
                                                                            11    understand who Howard Gardner is.
                                                                            12                          Howard Gardner's baby is Digital Motor
                                                                            13    Works, DMI.        Again, one of the worst hackers and bandits
                                                                            14    out there.        There's no question what -- you know,
                                                                            15    there's items in this list of things that he would like
                                                                            16    to have continue.          But we have no intention of -- of
                                                                            17    allowing that to continue to happen.
                                                                            18            Q.    (By Mr. Nemelka)        One of the topics that you
                                                                            19    gave Mr. Schaefer authority to pursue discussions with
                                                                            20    ADP on had to do with market message about -- market
                                                                            21    messaging about data security, right?
                                                                            22                          MS. GULLEY:     Objection; form.
                                                                            23            A.    I disagree.      I -- I don't -- I don't think
                                                                            24    that -- that that's the case.
                                                                            25            Q.    (By Mr. Nemelka)        If you look at the last
                                                                                                                 Veritext Legal Solutions
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                                                                            1     section here, "Market Messaging -- Data Security."                       Do
                                                                            2     you see that?
                                                                            3                         MS. GULLEY:       Objection; form.
                                                                            4             A.    Again, this is -- this is Howard Gardner's wish
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                                                                            5     list.
                                                                            6             Q.    (By Mr. Nemelka)        I'm simply reading your
                                                                            7     email, Mr. Brockman.           You just wrote to Mr. Schaefer,
                                                                            8     "You have authority to pursue discussions with ADP on
                                                                            9     these subjects."
                                                                            10                        MS. GULLEY:       Objection.
                                                                            11            Q.    (By Mr. Nemelka)        You wrote that to
                                                                            12    Mr. Schaefer, right?           You saw that?
                                                                            13                        MS. GULLEY:       Objection to the question and
                                                                            14    the instruction.
                                                                            15            A.    The instructions that I gave to Mr. Schaefer is
                                                                            16    on a general basis.           He could -- he could discuss these
                                                                            17    general areas.         It did not have anything to do with what
                                                                            18    we were going to agree to.
                                                                            19            Q.    (By Mr. Nemelka)        And one of those topics was
                                                                            20    market messaging on data security; correct?
                                                                            21                        MS. GULLEY:       Objection; form.
                                                                            22            A.    That -- that was one of the items on Howard
                                                                            23    Gardner's wish list.
                                                                            24            Q.    (By Mr. Nemelka)        And you authorized
                                                                            25    Mr. Schaefer to talk to CDK about that, right?
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                                                                            1                          MS. GULLEY:       Objection; form.
                                                                            2             A.     What I authorized Mr. Schaefer to do was --
                                                                            3     that he could discuss in general terms, generally, this
                                                                            4     list.        Not every specific item.
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                                                                            5             Q.     (By Mr. Nemelka)        Now, as you're having -- as
                                                                            6     Reynolds is having these -- you can set that aside.                       As
                                                                            7     Reynolds is having these discussions with CDK, you were
                                                                            8     holding off on security enhancements that would -- that
                                                                            9     you wanted to release, right?
                                                                            10                         MS. GULLEY:       Objection; form.
                                                                            11            A.     There were a series of security enhancements
                                                                            12    which were much improved in their capabilities, and we
                                                                            13    wanted to deploy these -- these security enhancements.
                                                                            14    But we did not want to do it that it would cause, kind
                                                                            15    of, Armageddon kind of situation, where all of a sudden
                                                                            16    ADP's customers would not get what their contracts
                                                                            17    called for.
                                                                            18            Q.     (By Mr. Nemelka)        You said that these security
                                                                            19    enhancements were much improved in their capabilities.
                                                                            20    Is that in their capabilities in blocking this access by
                                                                            21    independent integrators?
                                                                            22                         MS. GULLEY:       Objection; form.
                                                                            23            A.     Again, I -- I, first of all, take issue with,
                                                                            24    you know, the characterization of independent
                                                                            25    integrators.         You know, if you mean hackers and bandits,
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                                                                            1     yes, that's what they're intended to do.
                                                                            2             Q.    (By Mr. Nemelka)        Mr. Brockman, you used
                                                                            3     Authenticom for your own products, didn't you?
                                                                            4                          MS. GULLEY:      Objection; form.
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                                                                            5                          (By Mr. Nemelka)         We already established
                                                                            6     that, right?
                                                                            7                          MS. GULLEY:      Form.
                                                                            8             A.    Yes.    But on a temporary basis and very, very
                                                                            9     minor.
                                                                            10            Q.    (By Mr. Nemelka)        So you used a hacker and a
                                                                            11    bandit for your own products?
                                                                            12                         MS. GULLEY:      Objection; form.
                                                                            13            A.    I used Authenticom to do a specific process,
                                                                            14    with the knowledge of the dealer and with our knowledge.
                                                                            15            Q.    (By Mr. Nemelka)        All right.       So these security
                                                                            16    enhancements that were much improved, much improved in
                                                                            17    what?
                                                                            18                         MS. GULLEY:      Objection; form.
                                                                            19            A.    In their ability to detect unauthorized use --
                                                                            20    use of our software.
                                                                            21            Q.    (By Mr. Nemelka)        Unauthorized use of the --
                                                                            22    meaning by integrators to access dealer data?
                                                                            23                         MS. GULLEY:      Objection; form.
                                                                            24            A.    What we're talking about is -- and that's we're
                                                                            25    talking about, you know, very, very high-level, you
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                                                                            1     know, software enhancements to detect, you know, people
                                                                            2     coming into the -- the system that -- who we know
                                                                            3     nothing about.       They're, you know, completely
                                                                            4     unauthorized.       That's what we're talking about.
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                                                                            5           Q.    (By Mr. Nemelka)        And you held off on releasing
                                                                            6     those until you concluded your negotiations with CDK,
                                                                            7     right?
                                                                            8                       MS. GULLEY:       Objection; form.
                                                                            9           A.    The exact timing of -- of that, you know, when
                                                                            10    we released the -- those enhancements -- I might add
                                                                            11    that it's -- it's clear that the enhancements are not
                                                                            12    necessarily released all at once.              They're -- they're
                                                                            13    not a single thing.
                                                                            14                      You know, there -- there's a series of what
                                                                            15    we call "fixes" or "enhancements," and probably some of
                                                                            16    them we turned loose earlier than others.                 They
                                                                            17    weren't -- it's not a simultaneous, you know,
                                                                            18    distribution of software enhancements.
                                                                            19          Q.    (By Mr. Nemelka)        Reynolds held up on a large
                                                                            20    release of security enhancements during the negotiations
                                                                            21    with CDK; correct?
                                                                            22                      MS. GULLEY:       Objection; form.
                                                                            23          A.    Again, I don't know that it was all the
                                                                            24    security enhancements that we had prepared.                  Certainly,
                                                                            25    there were a number of them.
                                                                                                               Veritext Legal Solutions
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                                                                            1           Q.    (By Mr. Nemelka)        I'm going to hand you
                                                                            2     Plaintiff's Exhibit 642.
                                                                            3                        (Exhibit 642 was marked for
                                                                            4                         identification.)
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                                                                            5           Q.    (By Mr. Nemelka)        And, Mr. Brockman, I'll
                                                                            6     represent to you that your counsel produced this.                      And
                                                                            7     the metadata as produced says this came from your file.
                                                                            8     And it's dated June 23rd, 2014.             I'll give you a chance
                                                                            9     to review it.       There's a back page as well.
                                                                            10          A.    Oh, okay.
                                                                            11          Q.    Mr. Brockman, these are your notes; correct?
                                                                            12          A.    Yes.
                                                                            13          Q.    And you prepared these notes -- sorry.
                                                                            14          A.    This is a -- what I would refer to as a
                                                                            15    "talking paper."        It is a -- a series of points that I
                                                                            16    want to make in a conversation with Steve Anenen.
                                                                            17          Q.    And one thing that you told him at the very
                                                                            18    back, if you turn over to the second page, is that "We
                                                                            19    have held up on a large release of security enhancements
                                                                            20    for over 2 months to see if there was a deal to be
                                                                            21    worked out."       Do you see that?
                                                                            22          A.    Yes.    I -- I see that.        And that was a very
                                                                            23    important point of -- of a call, that we had a number of
                                                                            24    security enhancements that would -- would basically
                                                                            25    block the kind of access that -- that they -- they had
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                                                                                                                                                    Page 75
                                                                            1     been using to get into our systems.
                                                                            2           Q.    And you had been holding that up?
                                                                            3           A.    Yes.
                                                                            4                        MS. GULLEY:      Objection; form.
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                                                                            5           Q.    (By Mr. Nemelka)        And -- and that would -- the
                                                                            6     security enhancement would block, not just DMI and
                                                                            7     Integra Link!, but other integrators; correct?
                                                                            8                        MS. GULLEY:      Objection; form.
                                                                            9           A.    That's an interesting issue.             When we see
                                                                            10    things happening where people are breaking into our
                                                                            11    system, we have no idea who they are in most cases.
                                                                            12    There's no -- they don't have a signature on everything
                                                                            13    that says who they are when they come in.                 We just know
                                                                            14    that, you know, they're hacking their way in, and we're
                                                                            15    going to block it.         In some cases, that would cover
                                                                            16    things that the ADP subsidiaries were doing.                  And in
                                                                            17    some cases, it might uncover people that we had no idea
                                                                            18    were -- were hacking into our systems.
                                                                            19          Q.    (By Mr. Nemelka)        You understand for DMI and
                                                                            20    Integra Link! and Authenticom, it was the Reynolds
                                                                            21    dealers that were providing them that access; correct?
                                                                            22                       MS. GULLEY:      Objection; form.
                                                                            23          A.    From -- when you say "providing that access,"
                                                                            24    you know, what -- what the Reynolds dealer would do is
                                                                            25    -- and that's that they would give them a user ID to get
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                                                                                                                                                    Page 76
                                                                            1     in, which is completely contrary to the terms of their
                                                                            2     contracts.      Our contracts with our dealers specifically
                                                                            3     say, you know, no authorized -- or, no use or access to
                                                                            4     our software other than employees, you know, is -- is
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                                                                            5     permitted.      Unfortunately, dealers are, you know,
                                                                            6     somewhat cavalier about following that particular term
                                                                            7     of their contract.
                                                                            8           Q.    (By Mr. Nemelka)        And -- and they granted that
                                                                            9     access so that they could -- they granted that --
                                                                            10    that -- those user IDs to be used to access the dealer
                                                                            11    data; correct?
                                                                            12                        MS. GULLEY:     Objection; form.
                                                                            13          A.    That's effectively what -- what would happen.
                                                                            14    You know, the dealer has, you know, very powerful
                                                                            15    reporting tools where they could do that themselves.
                                                                            16    But this is for remote unattended access.
                                                                            17          Q.    (By Mr. Nemelka)        All right.       Let's go to the
                                                                            18    first page.        You have -- let's go to where you say, "The
                                                                            19    second point is very much a personal one."                  Do you see
                                                                            20    that, about midway through the -- down -- down through
                                                                            21    the page?     Midway, halfway, it says, "The second point
                                                                            22    is very much a personal one."             Do you see that?
                                                                            23          A.    Yes.
                                                                            24          Q.    Okay.     Right under there, you say, "ADP has
                                                                            25    been extracting data out of Reynolds systems for over a
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                                                                                                                                                    Page 77
                                                                            1     decade."     Do you see that?
                                                                            2           A.    Yes.    I do.
                                                                            3           Q.    And you knew that ADP was in the business of
                                                                            4     providing that data to a host of other third parties,
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                                                                            5     right?
                                                                            6                        MS. GULLEY:      Objection; form.
                                                                            7           A.    That -- that's my assumption.             I -- I don't
                                                                            8     have direct knowledge of that.
                                                                            9           Q.    (By Mr. Nemelka)        And then you say, "ADP has
                                                                            10    wrongly taken advantage of Reynolds in the marketplace
                                                                            11    over the issue of data security -- that has cost us in
                                                                            12    the millions."       Do you see that?
                                                                            13          A.    Yes, I do.
                                                                            14          Q.    How was CDK taking advantage of Reynolds in the
                                                                            15    marketplace on the issue of data security?
                                                                            16                       MS. GULLEY:      Objection; form.
                                                                            17          A.    ADP's posture in the marketplace was that our
                                                                            18    approach and our -- our -- you know, our belief that
                                                                            19    data security is necessary because of the fact that we
                                                                            20    have nonpublic personal information that -- that exists
                                                                            21    inside of the Reynolds system, that that manner of
                                                                            22    access, we think, is the right way to do things.                       We
                                                                            23    think that's what's required by law.
                                                                            24                       ADP, from a sales standpoint, their
                                                                            25    salespeople, would say that we're taking the wrong
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                                                                            1     position on the data security standpoint.                 And we
                                                                            2     believed that that was harmful to us in the marketplace.
                                                                            3           Q.    (By Mr. Nemelka)        And it cost you in the
                                                                            4     millions because you lost DMS customers as a result?
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                                                                            5                       MS. GULLEY:       Objection; form.
                                                                            6           A.    That -- that is correct.           And to -- to lose a
                                                                            7     customer over data security when we're doing things the
                                                                            8     right way, the way that's required by law, you know, for
                                                                            9     them to decide to switch their business to ADP, that's
                                                                            10    obviously hurt.
                                                                            11          Q.    (By Mr. Nemelka)        You know that other DMSs,
                                                                            12    besides Reynolds and CDK, do not take the same view that
                                                                            13    you do; correct?
                                                                            14                      MS. GULLEY:       Objection; form.
                                                                            15                      UNIDENTIFIED SPEAKER:           Objection; form.
                                                                            16          A.    I believe that they take views that are -- that
                                                                            17    are different than ours.
                                                                            18          Q.    (By Mr. Nemelka)        Are you saying that they are
                                                                            19    in violation of the law?
                                                                            20          A.    I believe that the -- what's required by
                                                                            21    Gramm-Leach-Bliley Act and also the Safeguards Rules --
                                                                            22    I believe that they're not following those, you know,
                                                                            23    laws correctly.
                                                                            24          Q.    So you say it cost you -- the CDK wrongly
                                                                            25    taking advantage of Reynolds in the marketplace over the
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                                                                            1     issue of data security cost you millions because you
                                                                            2     lost DMS customers.         Any other way that it cost Reynolds
                                                                            3     millions, besides losing DMS customers?
                                                                            4                       MS. GULLEY:       Objection; form.
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                                                                            5           A.    I would say that the -- that it wouldn't
                                                                            6     necessarily be just the loss of customers, it would also
                                                                            7     have to do with our ability to acquire new customers.
                                                                            8     And it is -- you have to understand, we've been -- I
                                                                            9     personally have been, you know, bitter competitors, you
                                                                            10    know, with ADP for a very, very, very long time, in
                                                                            11    excess of 40 years.         And this was one of the things that
                                                                            12    irritated me specifically.
                                                                            13                      The software that I helped create, the
                                                                            14    Power system in Houston, is extremely, you know, strong
                                                                            15    in its data security.          And from the time that I, you
                                                                            16    know, came aboard at Reynolds and Reynolds, we've been
                                                                            17    working to improve our data security.                And it is vastly
                                                                            18    improved from when I first -- you know, first arrived 12
                                                                            19    years ago.
                                                                            20                      It's still not perfect, because people
                                                                            21    think that -- you know, more, you know, inventive ways
                                                                            22    of doing it.      And it's very much a cat-and-mouse
                                                                            23    situation in that the hackers figure out a new way and
                                                                            24    then we figure out a way to block it.                And then they
                                                                            25    figure out another new way and we figure out a way to
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                                                                            1     block it.
                                                                            2           Q.    (By Mr. Nemelka)        Now, you say at the -- here,
                                                                            3     "Therefore, I want" -- "I want a no-charge access to ADP
                                                                            4     systems for the next 20 years."             So you wanted free
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                                                                            5     access for the Reynolds applications for the next 20
                                                                            6     years, but not to extract data for other third parties,
                                                                            7     like DMI and Integra Link!, right?               You made that clear.
                                                                            8     And that was a difference?
                                                                            9                       MS. GULLEY:       Objection; form.
                                                                            10                      UNIDENTIFIED SPEAKER:           Objection; form.
                                                                            11          A.    There -- I think this particular passage
                                                                            12    indicates the level of differences between -- when I say
                                                                            13    "differences" -- you know, points of contention between
                                                                            14    us and ADP.      And it is specific in that -- we have
                                                                            15    applications, for instance, like reminder cards for
                                                                            16    service, that an ADP dealership, they would like to buy
                                                                            17    that product from us, and we would have specific
                                                                            18    certified access into the ADP system to get just the
                                                                            19    data that it takes to do reminder cards.
                                                                            20          Q.    (By Mr. Nemelka)        So you wanted 20 free years
                                                                            21    of that type of access to this CDK dealer data; correct?
                                                                            22                      MS. GULLEY:       Objection; form.
                                                                            23          A.    Well, it says "no-charge access."               That means
                                                                            24    no charge by ADP.        That we would basically -- as long as
                                                                            25    we used it strictly for a product that we offered, like
                                                                                                               Veritext Legal Solutions
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                                                                            1     service reminders, that we would have free access for 20
                                                                            2     years.
                                                                            3           Q.    (By Mr. Nemelka)        And what did you mean when
                                                                            4     you told him here that "not to be used to extract data
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                                                                            5     for other 3rd parties"?
                                                                            6                         MS. GULLEY:     Objection; form.
                                                                            7           A.    We are not -- never have been -- and have no
                                                                            8     intention of being in the process of extracting data
                                                                            9     from other dealership systems for the purposes of
                                                                            10    reselling.        We don't do that.
                                                                            11          Q.    (By Mr. Nemelka)        Like DMI and Integra
                                                                            12    Link! did?
                                                                            13          A.    We don't do that.
                                                                            14          Q.    You were considering entering into a joint
                                                                            15    venture with CDK on that, though, as we saw earlier.
                                                                            16    Correct?
                                                                            17                        MS. GULLEY:     Objection; form.
                                                                            18          A.    No.     That's not true.       That -- that's not true.
                                                                            19    Our -- our whole discussion with ADP was about an
                                                                            20    orderly stand-down transition, to avoid creating
                                                                            21    hardships for what is our mutual customers.
                                                                            22          Q.    (By Mr. Nemelka)        And here -- did you tell
                                                                            23    Mr. Anenen that you had no intention of ever entering
                                                                            24    into the business like DMI and Integra Link!?
                                                                            25                        MS. GULLEY:     Objection; form.
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                                                                            1            A.    I don't think I made a -- a general statement
                                                                            2     of that.      I think it's pretty clear, it says, "like
                                                                            3     service reminders -- not to be used to extract data for
                                                                            4     other 3rd parties."          So that comment was directly in
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                                                                            5     relationship to the access that we would be granted by
                                                                            6     ADP.
                                                                            7            Q.    (By Mr. Nemelka)        I've handed you Plaintiff's
                                                                            8     Exhibit 643.
                                                                            9                        (Exhibit 643 was marked for
                                                                            10                         identification.)
                                                                            11           Q.    (By Mr. Nemelka)        The top email is an email
                                                                            12    from Steve Anenen to you, dated July 2nd, 2015.                    I'll
                                                                            13    give you a chance to read it.              But again, Steve Anenen
                                                                            14    is CDK's CEO, right?
                                                                            15           A.    That's correct.
                                                                            16           Q.    And this is an email to you, July 2nd, 2014.
                                                                            17    I'll give you a chance to -- to review it.
                                                                            18                       MS. GULLEY:       It starts on the back.
                                                                            19           Q.    (By Mr. Nemelka)        Right.     It starts off with an
                                                                            20    email from you on June 30th, to Mr. Anenen; correct?
                                                                            21    Mr. Brockman?
                                                                            22           A.    Just -- just a moment.           Let me -- let me read
                                                                            23    it.    Yes, I've read it.          Can you repeat your question?
                                                                            24           Q.    All right.      So this starts off with an email
                                                                            25    from you to Mr. Anenen, dated June 30, 2014, right?
                                                                                                                Veritext Legal Solutions
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                                                                            1           A.    That's correct.
                                                                            2           Q.    And this follows up a conversation that you had
                                                                            3     with him; correct?
                                                                            4                        MS. GULLEY:      Form.
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                                                                            5           A.    Yes.     That is correct.
                                                                            6           Q.    (By Mr. Nemelka)        And those were the -- the
                                                                            7     talking points for that conversation is the document
                                                                            8     that we just -- just looked at; correct?
                                                                            9                        MS. GULLEY:      Objection; form.
                                                                            10          A.    Yes.     That -- that's correct.          And as you can
                                                                            11    tell by the tone of this email, I'm getting a little
                                                                            12    impatient.
                                                                            13          Q.    Right.
                                                                            14          A.    More than a little impatient.
                                                                            15          Q.    Right.     You write here at the end, "My data
                                                                            16    security projects have been delayed another week."
                                                                            17    Right?
                                                                            18          A.    Yes.     That's what it says.
                                                                            19          Q.    You're still delaying the -- the data security
                                                                            20    projects since June 30th, 2014, right?
                                                                            21                       MS. GULLEY:      Objection; form.
                                                                            22          A.    That's the date of this email.             What's
                                                                            23    happening is -- and that's that Steve Anenen is
                                                                            24    employing delay tactics.           And I'm impatient to get this
                                                                            25    situation of, you know, data hacking, bandits, going on
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                                                                            1     as far as our system is concerned.               It's time for it to
                                                                            2     be over.
                                                                            3           Q.    (By Mr. Nemelka)        And you write to him, also --
                                                                            4     still your email, Mr. Brockman.              "However given that ADP
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                                                                            5     has accessed our systems for a couple of decades, my
                                                                            6     request is for more than just data access than for
                                                                            7     maintenance reminders -- both in content and duration."
                                                                            8                       So you -- here, you're saying, because CDK
                                                                            9     accessed your systems for a long time, your request here
                                                                            10    for free access is more than just for maintenance
                                                                            11    reminders, right?
                                                                            12                      MS. GULLEY:       Objection; form.
                                                                            13          A.    It is for other software products that -- that
                                                                            14    we might offer to the marketplace.               But still under the
                                                                            15    certified interface process --
                                                                            16          Q.    (By Mr. Nemelka)        Right.
                                                                            17          A.    -- where it's clearly spelled out by contract,
                                                                            18    you know, what data that we -- we get and nothing else.
                                                                            19          Q.    And then I want to ask you about what
                                                                            20    Mr. Anenen says to that statement in particular, if you
                                                                            21    go to his email.
                                                                            22                      MS. GULLEY:       I don't -- I don't think he
                                                                            23    read this first page.
                                                                            24                      MR. NEMELKA:        I'm not going to ask about
                                                                            25    anything but this one email -- but this one paragraph.
                                                                                                               Veritext Legal Solutions
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                                                                            1             Q.     (By Mr. Nemelka)        He says --
                                                                            2                          MS. GULLEY:       I object to that.
                                                                            3                          MR. NEMELKA:        Okay.    I just want to point
                                                                            4     you to this one -- one paragraph that Mr. Anenen writes
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                                                                            5     in response to that statement.
                                                                            6                          MS. GULLEY:       I object to that.
                                                                            7                          THE WITNESS:        I would like to read the
                                                                            8     email, please.
                                                                            9                          MR. NEMELKA:        Okay.
                                                                            10                         MR. RYAN:       So my -- my complaint is that
                                                                            11    the procedure is that if the witness wants to read the
                                                                            12    document, the witness can, right?                 That's certainly been
                                                                            13    the case in depositions of the witnesses that you
                                                                            14    represented.         I just want to know what the ground rules
                                                                            15    are.
                                                                            16                         MR. NEMELKA:        If it's going to be
                                                                            17    obstructionist, then we'll do it document by document.
                                                                            18    I will let him read this email.
                                                                            19                         MS. GULLEY:       I object to that comment as
                                                                            20    well.
                                                                            21                         MR. NEMELKA:        While he's reading, I'll just
                                                                            22    state for the record, we've been given limited time,
                                                                            23    here.        I think it's fair to direct him to particular
                                                                            24    points in a -- in a document.                I'm giving him a chance
                                                                            25    to read them.          If they are longer documents, I think
                                                                                                                  Veritext Legal Solutions
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                                                                            1     it's fair for us to direct him, for efficiency purposes.
                                                                            2     If you want to take your time and ask him about other
                                                                            3     parts of the document, you're free to.
                                                                            4                       MS. GULLEY:       Mr. Nemelka, you have called
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                                                                            5     opposing counsel inappropriate for making statements on
                                                                            6     the record like the one that you just made.                  I
                                                                            7     completely object to your statement.
                                                                            8                       I also ask -- direct you to look into the
                                                                            9     depositions that you have defended and that your
                                                                            10    partner, Mr. Ho, has defended, in which he hasn't even
                                                                            11    allowed counsel to use the time that they have on the
                                                                            12    record.     Everyone has the same amount of time, and
                                                                            13    this -- this -- the desire to read documents is one that
                                                                            14    you instructed your clients, repeatedly, on the record.
                                                                            15                      And if Mr. Brockman suggests that he would
                                                                            16    like to read the document -- you're asking him to opine
                                                                            17    on statements by Mr. Anenen -- he should at least be
                                                                            18    allowed to read those statements, given that they were
                                                                            19    more than four years ago.
                                                                            20                      MR. NEMELKA:        You've gone beyond what's
                                                                            21    appropriate, Andi, but I'll get back to questioning.
                                                                            22          Q.    (By Mr. Nemelka)        All right, Mr. Brockman, I'd
                                                                            23    like to ask you about --
                                                                            24                      THE WITNESS:        Excuse me.      I didn't finish
                                                                            25    reading.     The amount of conversation that's been going
                                                                                                               Veritext Legal Solutions
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                                                                            1     on across the table, I haven't had a chance to read.
                                                                            2                            MR. NEMELKA:      Okay.
                                                                            3                            MS. WEDGWORTH:      Can we go off the record a
                                                                            4     minute?        Mr. Wallner has informed us the phone is not --
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                                                                            5     has been disconnected.             Can we go off the record?
                                                                            6                            THE VIDEOGRAPHER:         The time is 11:37 a.m.
                                                                            7     We are off the record.
                                                                            8                            (Short recess 11:37 to 11:50 a.m.)
                                                                            9                            THE VIDEOGRAPHER:         This is the beginning of
                                                                            10    Media 2.        The time is 11:50 a.m.            We are back on the
                                                                            11    record.
                                                                            12                             EXAMINATION (Continuing)
                                                                            13    BY MR. NEMELKA:
                                                                            14            Q.     Mr. Brockman, I'd like to point you to the
                                                                            15    email that you received from Mr. Anenen on July 2nd,
                                                                            16    2014.        Do you have that in front of you?
                                                                            17            A.     I do.
                                                                            18            Q.     And he wrote to you -- in the paragraph after
                                                                            19    his bullet points, he said, "I should point out that we
                                                                            20    have not been 'accessing R&R systems for decades' as you
                                                                            21    said.        Our businesses that access R&R systems came to us
                                                                            22    through an acquisition."              Do you see that?
                                                                            23                           MS. GULLEY:     Form.
                                                                            24            A.     Yes, I do.
                                                                            25            Q.     (By Mr. Nemelka)        And then he says, "In any
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                                                                            1     case, controlling data access has become a priority for
                                                                            2     R&R only within the last several years.                  I would be
                                                                            3     remiss not pointing out that R&R is accessing the ADP
                                                                            4     system through a contract with Authenticom, and has been
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                                                                            5     doing so for quite some time without an agreement from
                                                                            6     ADP."
                                                                            7                          Is Mr. Anenen correct in that, that -- that
                                                                            8     Reynolds was accessing the ADP system through a contract
                                                                            9     with Authenticom?
                                                                            10                         MS. GULLEY:      Objection; form.
                                                                            11            A.    Well, there are some things that I -- I
                                                                            12    disagree with in -- in this paragraph, starting with the
                                                                            13    first sentence.          I believe that when you acquire a
                                                                            14    company and you make it part of your organization, that,
                                                                            15    you know, the history of that company kind of goes with
                                                                            16    it and becomes part of your history.                 And for him to,
                                                                            17    you know, basically say that because DMI and Integra
                                                                            18    Link! are organizations they acquired, you know, that
                                                                            19    doesn't count.         I believe it does count.
                                                                            20            Q.    (By Mr. Nemelka)        That wasn't my question,
                                                                            21    Mr. Brockman.         My question was:        Is he correct in
                                                                            22    pointing out that R&R is accessing that CDK system
                                                                            23    through a contract with Authenticom?
                                                                            24                         MS. GULLEY:      Objection; form.
                                                                            25            A.    Yes.    I'm -- I concur with that -- comma --
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                                                                            1     however, there is an issue of degree here.                  What's been
                                                                            2     going on -- what ADP has been doing as far as, you know,
                                                                            3     hacking our systems has been on -- on a giant scale,
                                                                            4     whereas the -- the agreement with Authenticom for
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                                                                            5     information from CDK's systems, specifically around
                                                                            6     reminder cards, is -- is min- -- minuscule.                  And what
                                                                            7     he's doing is -- and that's, you know, this -- this is a
                                                                            8     negotiation -- a pretty heated negotiation, frankly --
                                                                            9     or at least kind of heated on my part -- and that he's
                                                                            10    endeavoring to dodge around.
                                                                            11          Q.    (By Mr. Nemelka)        You wouldn't have used
                                                                            12    Authenticom if they were insecure, would you have?
                                                                            13                      MS. GULLEY:       Objection; form.
                                                                            14          A.    For reminder cards, you know, there's no
                                                                            15    nonpublic personal information.              There's no accounting
                                                                            16    information.      It -- again, it is -- it's not an
                                                                            17    application that's sensitive.
                                                                            18          Q.    (By Mr. Nemelka)        Reynolds used Authenticom for
                                                                            19    more than just those reminders, right?
                                                                            20                      MS. GULLEY:       Objection; form.
                                                                            21          A.    I think that they started to do some work for
                                                                            22    the -- the ad agency.
                                                                            23          Q.    (By Mr. Nemelka)        Right.     Naked Line Marketing,
                                                                            24    right?
                                                                            25                      MS. GULLEY:       Objection; form.
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                                                                            1           A.     Yes.    That's the name of our ad agency.
                                                                            2           Q.     And Naked Line does have information -- does
                                                                            3     get information on customers; correct?
                                                                            4                         MS. GULLEY:        Objection; form.
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                                                                            5           A.     Again, the usage of -- that usage is -- has
                                                                            6     been extremely minor.
                                                                            7           Q.     (By Mr. Nemelka)          Again, you would not have
                                                                            8     used Authenticom if they were insecure, right?
                                                                            9                         MS. GULLEY:        Objection; form.
                                                                            10          A.     As far as I know, there's been -- there was no
                                                                            11    inquiry made with regards to their internal security
                                                                            12    procedures.
                                                                            13          Q.     (By Mr. Nemelka)          You're not aware of any data
                                                                            14    breaches that they've had, right?
                                                                            15                        MS. GULLEY:        Objection; form.
                                                                            16          A.     Not that I'm aware of.
                                                                            17          Q.     (By Mr. Nemelka)          They provided a reliable
                                                                            18    service; correct?
                                                                            19                        MS. GULLEY:        Objection; form.
                                                                            20          A.     And I'm not involved in -- in that part of our
                                                                            21    business.       It's -- I'm not in -- in a position to say
                                                                            22    whether it's reliable or not.
                                                                            23          Q.     (By Mr. Nemelka)          It's cost-effective for
                                                                            24    Reynolds to use Authenticom, right?
                                                                            25                        MS. GULLEY:        Objection; form.
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                                                                            1           A.    Again, I'm -- I'm not sufficiently involved in
                                                                            2     that part of the business to be able to comment on that.
                                                                            3           Q.    (By Mr. Nemelka)        And then he writes at the end
                                                                            4     of that paragraph, "We need to clean this up as well."
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                                                                            5     And you understood that to mean that Reynolds needed to
                                                                            6     stop using Authenticom, right?
                                                                            7                       MS. GULLEY:       Objection; form.
                                                                            8           A.    Frankly, I don't recall that I've ever focused
                                                                            9     on that -- on that sentence.            It's a little short one,
                                                                            10    kind of down at the end of the whole thing.                  And so --
                                                                            11          Q.    (By Mr. Nemelka)        What do you understand him to
                                                                            12    mean by saying, "We need to clean this up as well"?
                                                                            13                      MS. GULLEY:       Objection; form.         Please let
                                                                            14    him finish his answers.
                                                                            15          A.    It is -- it is not clear to me what that means
                                                                            16    and, frankly, when I received this, I didn't pay much
                                                                            17    attention to that, you know, little short sentence in
                                                                            18    the next-to-the-last paragraph.
                                                                            19          Q.    (By Mr. Nemelka)        Reynolds ultimately did agree
                                                                            20    to stop using Authenticom as part of its agreements with
                                                                            21    CDK, right?
                                                                            22                      MS. GULLEY:       Objection; form.
                                                                            23          A.    I -- I know that -- that we stopped using
                                                                            24    Authenticom.      Whether it was part of the -- of the
                                                                            25    stand-down agreement, I'm not sure.
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                                                                            1                       (By Mr. Nemelka)          I've handed you an
                                                                            2     exhibit marked Plaintiff's Exhibit 644.
                                                                            3                       (Exhibit 644 was marked for
                                                                            4                         identification.)
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                                                                            5           Q.    (By Mr. Nemelka)        And I will represent to you
                                                                            6     that this was produced to us by your counsel from your
                                                                            7     custodial files, with a date of July 14th, 2014.                       And
                                                                            8     the file name was "Aspen Meeting 2014 State of the
                                                                            9     Union."     And I'm only going to ask you about two
                                                                            10    sections.
                                                                            11                      So it's a multipage state of the union
                                                                            12    notes.     So do you -- do you recognize these as your --
                                                                            13    your notes for a state of the union meeting?
                                                                            14                      MS. GULLEY:       Form.
                                                                            15          A.    The context of this is -- and that's we have an
                                                                            16    annual meeting of sales -- you know -- vice-presidents,
                                                                            17    and we discuss a number of issues of general interest.
                                                                            18          Q.    (By Mr. Nemelka)        Okay.     If I could just point
                                                                            19    you to the section on "Security," on the next page.
                                                                            20                      MS. GULLEY:       Objection.
                                                                            21          A.    Well, I think that this -- this is a big
                                                                            22    document.     I think I would prefer to, you know, spend a
                                                                            23    little more time on it than that.              I -- I hesitate to,
                                                                            24    essentially, take things out of context.
                                                                            25          Q.    (By Mr. Nemelka)        All right.       I don't intend on
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                                                                            1     taking anything out of context.             I'm just going to ask
                                                                            2     you about the sections on security.               But -- you know, it
                                                                            3     is a long document.         And I don't intend on asking you
                                                                            4     about most of it.
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                                                                            5                       I guess, can I just ask you, first of
                                                                            6     all -- maybe I'll just do it this way.                Do you recognize
                                                                            7     these as your -- your speaking notes for that -- for
                                                                            8     that address?
                                                                            9                       MS. GULLEY:       Form.
                                                                            10          A.    These were, you know, talking points.                They
                                                                            11    covered a number of issues of interest, a lot of which
                                                                            12    are related.
                                                                            13          Q.    (By Mr. Nemelka)        I'll -- maybe if I could just
                                                                            14    ask you the questions on security, and if you feel like
                                                                            15    you need to review the rest of it to answer them,
                                                                            16    then -- then I'll give you the chance.                But if I could
                                                                            17    just try to -- you know, make this more efficient by
                                                                            18    pointing you to the security section?
                                                                            19                      MS. GULLEY:       Objection; form.
                                                                            20          A.    I think to make -- to make an intelligent
                                                                            21    decision as of what to do, I need to read it first.
                                                                            22                      MR. NEMELKA:        All right.      Well, while you
                                                                            23    do that, let's go off the record.
                                                                            24                      MS. GULLEY:       Objection.       We are staying on
                                                                            25    the record.      That's just the procedure that's been
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                                                                            1     followed by Kellogg, so I'm just trying to make it, you
                                                                            2     know, sort of goose/gander.
                                                                            3                      MR. NEMELKA:        All right.      We have a jury
                                                                            4     that's going to be watching this.             And I would just like
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                                                                            5     to state for the record, I've asked him to -- only asked
                                                                            6     him for a few questions to make this efficient.                  But he
                                                                            7     wants to review the whole -- whole documents.                  He's
                                                                            8     recognized that -- he's acknowledged that these are
                                                                            9     speaking notes for -- for that meeting.                And with that
                                                                            10    statement, Mr. Brockman, you can review the document.
                                                                            11                     MS. GULLEY:       I object.
                                                                            12                     MR. RYAN:       I object as well.
                                                                            13                     THE WITNESS:        I'd like to speak to my
                                                                            14    attorney about this document.
                                                                            15                     MR. NEMELKA:        Okay.
                                                                            16                     MS. GULLEY:       Does it relate to a matter of
                                                                            17    privilege -- potential privilege?
                                                                            18                     THE WITNESS:        This is very, very sensitive
                                                                            19    information.     You know --
                                                                            20                     MS. GULLEY:       Is there a question pending
                                                                            21    right now?     So we can go off the record?             There is not.
                                                                            22    There is not a question pending.
                                                                            23                     MR. RYAN:       There is no question.
                                                                            24                     MS. GULLEY:       Okay.     Thanks.     Let's go off
                                                                            25    the record.
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                                                                            1                         THE VIDEOGRAPHER:       The time is 12:01 p.m.
                                                                            2     We're off the record.
                                                                            3                         (Short recess 12:01 to 12:02 p.m.)
                                                                            4                         THE VIDEOGRAPHER:       Back on the record at
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                                                                            5     12:02 p.m.
                                                                            6                         MS. GULLEY:     Thank you for that short
                                                                            7     break.     Mr. Brockman had a question about the protective
                                                                            8     order.     And in light of the sensitive nature of this
                                                                            9     document, we ask that I remind everyone that this has
                                                                            10    been marked "Attorneys' Eyes Only," that this entire
                                                                            11    deposition is "Attorneys' Eyes Only."                In particular, to
                                                                            12    remind Mr. Ryan that executives within his company and
                                                                            13    all the parties are not to know about or be told about
                                                                            14    any of this document or the subject of this testimony.
                                                                            15    Thank you.
                                                                            16                          EXAMINATION (Continuing)
                                                                            17    BY MR. NEMELKA:
                                                                            18          Q.    Can I ask you some questions now, Mr. Brockman?
                                                                            19          A.    I'm almost done reading it.
                                                                            20          Q.    Okay.
                                                                            21          A.    Yes.
                                                                            22          Q.    If you can go to the section on "Security,"
                                                                            23    which is on the -- after the first page, on the back of
                                                                            24    the first page.        Do you see that bottom-of-the-page
                                                                            25    section on Security?
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                                                                            1           A.    Yes.
                                                                            2           Q.    I want to ask you about a few bullet points
                                                                            3     that start with "ADP" -- and CDK -- "has approached us
                                                                            4     about doing the same -- we are in the early stages of
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                                                                            5     negotiating a similar agreement."              Do you see that?
                                                                            6           A.    Yes.    I see that.
                                                                            7           Q.    So is it CDK that approached Reynolds about
                                                                            8     entering into an agreement with respect to its -- its
                                                                            9     data access on Reynolds system?
                                                                            10                       MS. GULLEY:      Form.
                                                                            11          A.    It's hard for me to -- to recall exactly how
                                                                            12    that, you know, came about, because I was not the first
                                                                            13    person to actually talk, you know, to CDK.                  And whether
                                                                            14    or not one of their people talked to one of our people,
                                                                            15    or one of our people talked to one of their people, I --
                                                                            16    I don't know the answer to that.
                                                                            17          Q.    (By Mr. Nemelka)        At least -- these notes,
                                                                            18    though, you -- you seem to indicate that ADP has
                                                                            19    approached "us," meaning CDK approached Reynolds, right?
                                                                            20                       MS. GULLEY:      Form.
                                                                            21          A.    Yes.    The -- that's what it says, but -- you
                                                                            22    know, as far as my, you know, hard knowledge, you know,
                                                                            23    behind that -- that statement, I don't have hard
                                                                            24    knowledge as to what actually -- and frankly, I don't
                                                                            25    think that's important.
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                                                                            1             Q.     (By Mr. Nemelka)        And then you write here,
                                                                            2     fourth bullet point, "This could put the security wars
                                                                            3     very much behind us."             Do you see that?
                                                                            4                            MS. GULLEY:     Form.
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                                                                            5             A.     Certainly, those two entities that belong to
                                                                            6     ADP are by far the worst and, matter of fact,
                                                                            7     probably -- in total, probably the amount of data
                                                                            8     hacking that goes on, they equal everybody else combined
                                                                            9     and more.
                                                                            10            Q.     (By Mr. Nemelka)        That wasn't my question.                The
                                                                            11    question here is:           Do you see that you wrote that "This
                                                                            12    could put the security wars very much behind us"?                         Do
                                                                            13    you see that?
                                                                            14                           MS. GULLEY:     Objection; form.
                                                                            15            A.     Yeah.     What I'm talking about there is -- and
                                                                            16    that's that, you know, the volume of hacking would be
                                                                            17    substantially reduced.
                                                                            18            Q.     (By Mr. Nemelka)        So you -- earlier this
                                                                            19    morning, you said that you never used the phrase
                                                                            20    "security wars."           Does this refresh your recollection
                                                                            21    that you actually do -- did?
                                                                            22                           MS. GULLEY:     Objection; form.
                                                                            23            A.     Well, it -- it looks like that -- that I
                                                                            24    actually have used it once.               I will admit, it's in lower
                                                                            25    case.        And when I write documents like this, it's just
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                                                                            1     very much kind of stream of consciousness, because I'm
                                                                            2     trying to give the best picture to the people that are
                                                                            3     listening to it.        Because they're my top people, and
                                                                            4     also the most expensive people.
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                                                                            5           Q.    (By Mr. Nemelka)        And you felt that you had
                                                                            6     been in a security war with CDK, right?
                                                                            7                       MS. GULLEY:       Objection; form.
                                                                            8           A.    I definitely had been in -- I had long-term
                                                                            9     issues with CDK over -- over, you know, just ban- --
                                                                            10    plain old banditry as far as our system is concerned.
                                                                            11          Q.    (By Mr. Nemelka)        This wasn't just about the
                                                                            12    access of your system, though, this was also about CDK's
                                                                            13    own policies, right?
                                                                            14                      MS. GULLEY:       Objection; form.
                                                                            15          A.    It also included, you know, the fact that they
                                                                            16    had outright lied to manufacturers about what data they
                                                                            17    were extracting from our systems.              And particularly,
                                                                            18    General Motors.        We discovered that they were fulfilling
                                                                            19    a request by General Motors for data, and they were
                                                                            20    talking to dealers saying, "This needs to be done
                                                                            21    because it's General Motors."             Well, the fact of the
                                                                            22    matter is, they were collecting way more than what
                                                                            23    General Motors ever asked for.
                                                                            24                      MS. GULLEY:       Wait.     Let him finish.
                                                                            25          A.    And so that is kind of -- the whole general
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                                                                            1     area is what I'm referring to.
                                                                            2           Q.    (By Mr. Nemelka)        That's not what I asked.
                                                                            3     What I'm saying is, this was not just about CDK's access
                                                                            4     on the Reynolds system.           It was also about CDK's own
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                                                                            5     policies with respect to access on the CDK system,
                                                                            6     right?
                                                                            7                       MS. GULLEY:       Objection to the form.
                                                                            8           A.    No.   It was -- it was -- it refers to
                                                                            9     situations where they were accessing dealership systems
                                                                            10    on behalf of OEMs.
                                                                            11          Q.    (By Mr. Nemelka)        The next bullet point, you
                                                                            12    write, "Since we have no idea of how ADP is going to
                                                                            13    charge 3rd parties for their version of RCI -- we will
                                                                            14    likely continue to have the issue of customers
                                                                            15    complaining that their costs from 3rd party vendors are
                                                                            16    more expensive with a DMS from Reynolds than ADP."
                                                                            17                      I wanted to ask you:           How did you know that
                                                                            18    CDK would have a version of RCI, like you did?
                                                                            19                      MS. GULLEY:       Objection; form.
                                                                            20          A.    I think at that point in time, it -- it
                                                                            21    looked -- it had become apparent -- it wasn't done, but
                                                                            22    it had become apparent that there was going to be a --
                                                                            23    an orderly stand-down agreement with ADP.                 That's --
                                                                            24    that's what I'm saying here.
                                                                            25          Q.    (By Mr. Nemelka)        All right.       I'm not talking
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                                                                            1     about the wind-down agreement.              What you write is,
                                                                            2     "Since we have no idea of how ADP is going to charge 3rd
                                                                            3     parties for their version of RCI."
                                                                            4                        And my question is:          How did you know that
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                                                                            5     CDK was going to have their version of an RCI?
                                                                            6                        MS. GULLEY:       Objection; form.
                                                                            7            A.    I think at that point, we were also
                                                                            8     understanding that we were going to be able to have RCI
                                                                            9     access into ADP dealership customers, not for the
                                                                            10    purposes of being a redistributor, but for the purposes
                                                                            11    of using it within one of our product offerings.                        And
                                                                            12    there was going to be a charge associated with that.
                                                                            13           Q.    (By Mr. Nemelka)        Reynolds was going to be
                                                                            14    getting five free years of access, no -- no charge to --
                                                                            15    to Reynolds, right?
                                                                            16                       MS. GULLEY:       Objection; form.
                                                                            17                       MR. RYAN:       Objection; form.
                                                                            18           A.    That -- that was -- that was what ended up
                                                                            19    being -- being part of the agreement.                 However, we had
                                                                            20    no, you know, specific idea that our usage would be
                                                                            21    limited to 600 dealerships.             It -- it would be -- it
                                                                            22    would be other products.            You know, their -- this
                                                                            23    marketplace is -- is constantly, you know, building more
                                                                            24    products.
                                                                            25                       And actually, in, you know, looking back,
                                                                                                                Veritext Legal Solutions
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                                                                            1     it's fortunate that we were able to achieve this kind of
                                                                            2     access as part of the agreement, because we bought an
                                                                            3     organization called Reverse Risk, which is a business
                                                                            4     intelligence system that has over 1,000 dealerships that
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                                                                            5     are CDK dealerships, that through an RCI type agreement,
                                                                            6     you know, with CDK, you know, we -- you know -- we
                                                                            7     downloaded accounting information for the purposes of
                                                                            8     making comparisons.
                                                                            9            Q.    (By Mr. Nemelka)        That wasn't my question,
                                                                            10    Mr. Brockman.
                                                                            11                       I'm asking you why, after you say it's
                                                                            12    going to be an end to the security wars, you list that
                                                                            13    ADP is going to have their own version of RCI?                    What is
                                                                            14    the connection?
                                                                            15                       MS. GULLEY:       Objection; form.
                                                                            16           A.    Again, I -- their -- their own version of RCI
                                                                            17    is -- is part of what the stand-down agreement is all
                                                                            18    about.
                                                                            19           Q.    (By Mr. Nemelka)        You don't talk about -- in
                                                                            20    that bullet point, you don't talk about the stand-down
                                                                            21    agreement.       You talk about third parties for their
                                                                            22    version of RCI, right?
                                                                            23                       MS. GULLEY:       Objection; form.
                                                                            24           A.    Well, again, I'm trying to tell you what I was
                                                                            25    thinking about when I wrote this thing and what I was
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                     Page 102
                                                                            1     trying to communicate.
                                                                            2             Q.    (By Mr. Nemelka)        And I'm just saying I'm just
                                                                            3     reading your words, "charge 3rd parties" -- not "charge
                                                                            4     Reynolds" -- "charge 3rd parties for their version of
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                                                                            5     RCI."
                                                                            6                         MS. GULLEY:       Objection; form.
                                                                            7             Q.    (By Mr. Nemelka)        And so my question is --
                                                                            8                         MS. GULLEY:       Let him finish his question.
                                                                            9                         THE WITNESS:        Yeah.
                                                                            10            Q.    (By Mr. Nemelka)        Go ahead and answer.
                                                                            11                        MS. GULLEY:       Answer what?
                                                                            12            Q.    (By Mr. Nemelka)        Mr. Brockman wants to talk.
                                                                            13                        MS. GULLEY:       Just wait for a question.
                                                                            14                        MR. RYAN:       Wait for a question.
                                                                            15            Q.    (By Mr. Nemelka)        My question is -- is:              You're
                                                                            16    not talking about what -- what CDK is going to charge
                                                                            17    Reynolds.       You're talking about what CDK is going to
                                                                            18    charge third parties for their version of RCI; correct?
                                                                            19                        MS. GULLEY:       Objection; form.
                                                                            20            A.    In -- in that context, I believe that I'm, you
                                                                            21    know, characterizing Reynolds as a third party.
                                                                            22            Q.    (By Mr. Nemelka)        You're not talking about all
                                                                            23    of the other vendors?
                                                                            24            A.    I -- I don't think that I'm -- I know,
                                                                            25    specifically, that I'm talking about, at least,
                                                                                                                 Veritext Legal Solutions
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                                                                                                                                                     Page 103
                                                                            1     Reynolds.
                                                                            2             Q.    Well, you go on, Mr. Brockman, "We will likely
                                                                            3     continue to have the issue of customers complaining that
                                                                            4     their costs from 3rd party vendors are more expensive
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                                                                            5     with a DMS from Reynolds than ADP."                 Are you referring
                                                                            6     only to the Reynolds applications?
                                                                            7                         MS. GULLEY:       Objection; form.
                                                                            8             A.    What I'm referring to is, in this, that, you
                                                                            9     know, we get beat up in the marketplace over, you know,
                                                                            10    third parties having to pay for a Reynolds-certified
                                                                            11    interface, and it looks like -- it looks like the way
                                                                            12    it's going is -- and that's that CDK is going to do it
                                                                            13    the same way.
                                                                            14            Q.    (By Mr. Nemelka)        All right.       Let's go to the
                                                                            15    first page.        I want to ask you about a bullet point
                                                                            16    here.
                                                                            17                        MS. GULLEY:       I'm sorry.       So we're on 644.
                                                                            18    You're talking about something other than the "Security"
                                                                            19    section?
                                                                            20                        MR. NEMELKA:        Andi, make your objections.
                                                                            21    I'm on the first --
                                                                            22                        MS. GULLEY:       I'm trying to figure out --
                                                                            23                        MR. NEMELKA:        I'm on the first page.           I'm
                                                                            24    on the first page.           That's not what you're doing.
                                                                            25                        MS. GULLEY:       Mr. Nemelka, I'm asking:
                                                                                                                 Veritext Legal Solutions
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                                                                            1     Are -- we're on the first page of what document?
                                                                            2                        MR. NEMELKA:        The document that's right in
                                                                            3     front of him, Andi.
                                                                            4                        MS. GULLEY:       Could you identify the exhibit
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                                                                            5     for the record, please.
                                                                            6                        MR. NEMELKA:        This is Exhibit 644.
                                                                            7                        MS. GULLEY:       Thank you.
                                                                            8            Q.    (By Mr. Nemelka)        Under the section on
                                                                            9     "Acquisitions" -- since you read the whole document -- I
                                                                            10    wanted to ask you about a sentence here where you write,
                                                                            11    "We need to quit talking about DMS systems and focus on
                                                                            12    RMS and the massive financial advantages of our
                                                                            13    offering."
                                                                            14                       And my first question is:            "RMS" stands for
                                                                            15    Retail Management Ser- -- is that Retail Management
                                                                            16    Services or Retail Management System?
                                                                            17                       MS. GULLEY:       Objection; form.
                                                                            18           A.    Retail Management System.
                                                                            19           Q.    (By Mr. Nemelka)        Okay.     And you said you need
                                                                            20    to -- and this is a speech to your salespeople; is that
                                                                            21    right?
                                                                            22                       MS. GULLEY:       Objection; form.
                                                                            23           A.    That's correct.
                                                                            24           Q.    (By Mr. Nemelka)        And you say they -- they need
                                                                            25    to quit talking about DMS systems and focus instead on
                                                                                                                Veritext Legal Solutions
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                                                                            1     RMS.    What did you mean by that?
                                                                            2                        MS. GULLEY:       Form.
                                                                            3            A.    What I mean by that is -- and that's the DMS
                                                                            4     systems are the -- the traditional, you know,
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                                                                            5     applications of -- of accounting, payroll, parts, you
                                                                            6     know, service, finance, vehicle inventory, factory
                                                                            7     communications.         That is a suite of applications which
                                                                            8     has been under long development and, frankly, it's
                                                                            9     gotten to the point where it's so good that there's
                                                                            10    nothing much more we can do to it.                I know that sounds a
                                                                            11    little strange but, I mean, that's the truth.                    The level
                                                                            12    of requests we have for software enhancement in those
                                                                            13    application areas is, you know, been kind of like this
                                                                            14    (indicating) for a long time.
                                                                            15                       The retail management system takes into
                                                                            16    consideration all of the other applications that
                                                                            17    surround the DMS, which is under active development.
                                                                            18    For instance, our docuPAD application and our imaging
                                                                            19    systems, our advanced service products have been under,
                                                                            20    you know, steady improvement.              And we have considerable
                                                                            21    competitive advantage in those areas.                 And so what I'm
                                                                            22    encouraging them to do is -- and that's to not focus on,
                                                                            23    you know, the older applications where we -- where
                                                                            24    everybody is kind of caught up.              To be focused -- to
                                                                            25    focus, instead, on the retail management system, which
                                                                                                                Veritext Legal Solutions
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                                                                            1     includes all of the other applications that integrate to
                                                                            2     the central core applications.
                                                                            3            Q.    Thank you for that explanation.
                                                                            4                        (Exhibit 645 was marked for
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                                                                            5                          identification.)
                                                                            6            Q.    (By Mr. Nemelka)        I've handed you Plaintiff's
                                                                            7     Exhibit 645.       And if you recognize -- the top email is
                                                                            8     an email from Mr. Schaefer to Ron Workman, dated January
                                                                            9     6, 2015.      But the chain starts with an email from you to
                                                                            10    Mr. Brockman, also dated January 6, 2015.                  So do you
                                                                            11    recognize this document?
                                                                            12           A.    I've got to -- I've got to read it.               Okay.
                                                                            13           Q.    So I need to ask you about your email where you
                                                                            14    write to Mr. Anenen -- this is now January 2015 -- "We
                                                                            15    have held off on a series of major security enhancements
                                                                            16    to our DMS systems at your request."                So are these the
                                                                            17    same security enhancements that we saw from 2014 that
                                                                            18    Reynolds had been holding off on?
                                                                            19                       MS. GULLEY:       Objection; form.
                                                                            20           A.    I'm sorry.      I don't know what specific ones are
                                                                            21    involved.      I don't -- I'm not a programmer.
                                                                            22           Q.    (By Mr. Nemelka)        But still -- Reynolds is
                                                                            23    still holding off on security enhancements, though,
                                                                            24    right?
                                                                            25                       MS. GULLEY:       Objection; form.
                                                                                                                Veritext Legal Solutions
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                                                                            1             A.    They're -- that's what I was saying to Steve
                                                                            2     Anenen in this -- in this email.                There's no question --
                                                                            3     you can tell my -- my frustration is increasing and, you
                                                                            4     know, this is -- this is an or-else kind of email.
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                                                                            5             Q.    (By Mr. Nemelka)        Right.     And you say, "We must
                                                                            6     proceed with the release of our security enhancements."
                                                                            7     You say that at the end, right?
                                                                            8             A.    That's correct.
                                                                            9             Q.    And these have been pending for a long time,
                                                                            10    given the documents we've been looking at, right?
                                                                            11                        MS. GULLEY:       Form.
                                                                            12            A.    That's correct.        It's been a very frustrating,
                                                                            13    you know, process.
                                                                            14            Q.    (By Mr. Nemelka)        And the security enhancements
                                                                            15    that you are going to release -- strike that.
                                                                            16                        MS. GULLEY:       For the room, the lunch is
                                                                            17    here.
                                                                            18                        MR. NEMELKA:        I want to ask him about one
                                                                            19    more document.         It might be more than one.
                                                                            20                        (Exhibit 646 was marked for
                                                                            21                          identification.)
                                                                            22            Q.    (By Mr. Nemelka)        I've handed you Plaintiff's
                                                                            23    Exhibit 646, which is an email from Bob Schaefer to you,
                                                                            24    Mr. Brockman, dated January 11, 2015.                  Do you recognize
                                                                            25    receiving this email from Mr. Schaefer?
                                                                                                                 Veritext Legal Solutions
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                                                                            1                           MS. GULLEY:       Form.
                                                                            2            A.     Give me a chance to -- to read it.                   I'll be
                                                                            3     with you shortly.
                                                                            4            Q.     (By Mr. Nemelka)          Okay.
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                                                                            5            A.     Okay.
                                                                            6            Q.     Okay, I want to ask you just about one issue
                                                                            7     here that he references.               First of all, do you recall
                                                                            8     getting this email from Mr. Schaefer, Mr. Brockman?
                                                                            9            A.     Yes.
                                                                            10           Q.     And the -- an issue -- and it's about the
                                                                            11    continuing negotiations between CDK and Reynolds;
                                                                            12    correct?
                                                                            13                          MS. GULLEY:       Form.
                                                                            14           A.     Yes.
                                                                            15           Q.     (By Mr. Nemelka)          And an issue that -- I mean,
                                                                            16    I've identified is -- I'm quoting -- "CDK committing to
                                                                            17    NEVER accessing the Reynolds DMS again."                      Do you see
                                                                            18    that at the bottom of the first page?
                                                                            19                          MS. GULLEY:       Form.
                                                                            20           Q.     (By Mr. Nemelka)          At bottom of the first page,
                                                                            21    the very last line.
                                                                            22                          MS. GULLEY:       Objection; form.
                                                                            23           Q.     (By Mr. Nemelka)          Are you there with me,
                                                                            24    Mr. Brockman?
                                                                            25           A.     I see that, and I'm -- and I'm looking at --
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                                                                                                                                                    Page 109
                                                                            1     what the reply was.
                                                                            2            Q.    And --
                                                                            3                         MS. GULLEY:      Objection; form.
                                                                            4            Q.    (By Mr. Nemelka)        What Mr. Schaefer explains to
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                                                                            5     you is, is that -- and I want to ask you, Mr. Brockman,
                                                                            6     about the next page, Mr. -- what Mr. Schaefer writes to
                                                                            7     you about that issue.           Second-to-last sentence of
                                                                            8     that first paragraph up top, he says, "We have added" --
                                                                            9     meaning Reynolds -- "have added after the 5 years they
                                                                            10    cannot access the system on behalf of any 3rd party
                                                                            11    forever."      Do you see that?
                                                                            12                        MS. GULLEY:      Form.
                                                                            13           A.    Yes.
                                                                            14           Q.    (By Mr. Nemelka)        And that's what Reynolds
                                                                            15    wanted, is for CDK to agree to never access the Reynolds
                                                                            16    system again on behalf of any third party, right?
                                                                            17                        MS. GULLEY:      Form.
                                                                            18           A.    That's certainly what we wanted to happen.
                                                                            19           Q.    (By Mr. Nemelka)        And CDK said, at least --
                                                                            20    current state of the negotiation was for five years.
                                                                            21    We'll have this wind-down period, but after that, we
                                                                            22    don't want to agree to the forever, right?
                                                                            23                        MS. GULLEY:      Objection; form.
                                                                            24           A.    That -- that was my understanding.               And this
                                                                            25    whole -- I've not been involved at this level of detail
                                                                                                                Veritext Legal Solutions
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                                                                            1     in this negotiation, which is basically formalizing what
                                                                            2     the stand-down agreement consists of.                 And I know what
                                                                            3     we asked for and -- and they're -- they're not agreeing.
                                                                            4            Q.    (By Mr. Nemelka)        Okay.     Reynolds was insisting
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                                                                            5     on forever never accessing.             And CDK, at least, wanted
                                                                            6     to keep that to five years, right?
                                                                            7                        MS. GULLEY:       Objection; form.
                                                                            8            Q.    (By Mr. Nemelka)        Right?     What was that -- what
                                                                            9     was the answer?
                                                                            10                       MS. GULLEY:       Objection; form.
                                                                            11           A.    That's my understanding.           That's what this is
                                                                            12    all about.
                                                                            13           Q.    (By Mr. Nemelka)        And in fact, in the wind-down
                                                                            14    agreement, it is forever, right?
                                                                            15                       MS. GULLEY:       Objection --
                                                                            16                       MR. NEMELKA:        Let me finish answering my
                                                                            17    question -- asking my question.
                                                                            18           Q.    (By Mr. Nemelka)        In fact, it is forever,
                                                                            19    correct, that CDK agreed to never access the Reynolds
                                                                            20    system, right?
                                                                            21                       MS. GULLEY:       Objection; form.         This is
                                                                            22    improper.
                                                                            23           A.    I would want to go look at that document, but I
                                                                            24    don't believe it says that.
                                                                            25                       MR. NEMELKA:        All right.      Let's pull it
                                                                                                                Veritext Legal Solutions
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                                                                            1     out.
                                                                            2                           (Exhibit 647 marked for identification.)
                                                                            3             Q.     (By Mr. Nemelka)        Mr. Brockman, I've handed you
                                                                            4     Plaintiff's Exhibit 647, which is the data exchange
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                                                                            5     agreement between CDK and Reynolds.                  And the first thing
                                                                            6     I'm going to do is point you to where you -- you --
                                                                            7     first of all, you signed this agreement, right, on
                                                                            8     behalf of Reynolds?
                                                                            9                           MS. GULLEY:      Objection; form.
                                                                            10            A.     Yes, I did.
                                                                            11            Q.     (By Mr. Nemelka)        So let's go there.          This is
                                                                            12    on Page -- on Page 11 of 13.               11 of 13, do you see that,
                                                                            13    Mr. Brockman, your signature there?
                                                                            14            A.     Yes.
                                                                            15            Q.     Dated February 18, 2015?
                                                                            16            A.     That's correct.
                                                                            17            Q.     And do you typically read contracts before you
                                                                            18    sign them?
                                                                            19                          MS. GULLEY:      Objection; form.
                                                                            20            A.     Umm, it depends.        In this particular case, I
                                                                            21    did not read this one extensively.                  I felt that the --
                                                                            22    you know, this particular issue had -- or, you know, a
                                                                            23    stand-down had -- had been, you know, worked on,
                                                                            24    negotiated at length.             And this one, I was ready to get
                                                                            25    done.        And so I was -- I had already made up my mind not
                                                                                                                  Veritext Legal Solutions
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                                                                            1     to go ask for any further changes and to agree to, you
                                                                            2     know, what CDK wanted, just to get it off the table so I
                                                                            3     could get on with the next project.
                                                                            4            Q.    (By Mr. Nemelka)        Did you read this before you
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                                                                            5     signed it?
                                                                            6                        MS. GULLEY:       Form.
                                                                            7            A.    I did not read it.         I -- I -- I skimmed it.
                                                                            8            Q.    (By Mr. Nemelka)        Okay.     So let's go to Section
                                                                            9     4.5.    And the Section 4.5 is "Prohibition on Knowledge
                                                                            10    Transfer and DMS Access."            Do you see that?
                                                                            11                       MS. GULLEY:       Form.
                                                                            12           A.    Yes, I see that paragraph.
                                                                            13           Q.    (By Mr. Nemelka)        All right.       And in this
                                                                            14    paragraph, CDK and Reynolds agreed to two things.
                                                                            15                       MS. GULLEY:       Form.
                                                                            16           Q.    (By Mr. Nemelka)        Let's look at the first.
                                                                            17    "Each of Reynolds and CDK further covenants and agrees
                                                                            18    not to sell, transfer, or assign to any affiliate or
                                                                            19    third party any technology, business process, or other
                                                                            20    such knowledge regarding integration with the other
                                                                            21    party's DMS or take any other steps to assist any person
                                                                            22    that it reasonably believes to have plans to access or
                                                                            23    integrate with the other party's DMS without other
                                                                            24    party's written consent."            Do you see that?
                                                                            25                       MS. GULLEY:       Form.
                                                                                                                Veritext Legal Solutions
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                                                                            1            A.    Yes, I see that.        And that -- that's a very
                                                                            2     important provision.
                                                                            3            Q.    (By Mr. Nemelka)        And -- and what --
                                                                            4                          MS. GULLEY:     Objection.
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                                                                            5            Q.    (By Mr. Nemelka)        What did you agree to there?
                                                                            6                          MS. GULLEY:     I'm sorry.       Were you finished
                                                                            7     answering the last question?
                                                                            8                          THE WITNESS:      Would you please repeat the
                                                                            9     last question?
                                                                            10           Q.    (By Mr. Nemelka)        My question is -- is --
                                                                            11    was -- was:       Did you see that?         You said, "Yes."            So my
                                                                            12    que- -- my pending question is:              What did you agree to
                                                                            13    there with CDK?
                                                                            14                         MS. GULLEY:     Objection; form.         He was not
                                                                            15    done answering the last question before that.
                                                                            16           A.    Okay.     What -- what's at work here is -- and
                                                                            17    that's that as a result of the, you know, the
                                                                            18    stand-down, you know, that -- to accomplish that, would
                                                                            19    require, you know, knowledge of how access is gained
                                                                            20    to a dealership system.            And so what we're doing is --
                                                                            21    and that's we're -- we're jointly agreeing with each
                                                                            22    other that we will not turn loose any kind of knowledge
                                                                            23    or technology that enables somebody to do that.
                                                                            24           Q.    All right.      And then the next sentence is, "For
                                                                            25    the avoidance of doubt, this Section 4.5 is not intended
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                                                                                                                                                    Page 114
                                                                            1     as a 'covenant not to compete,' but rather as a
                                                                            2     contractual restriction of access and attempted access
                                                                            3     intended to protect the operational and data security
                                                                            4     integrity of the Reynolds DMS and the CDK DMS and
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                                                                            5     protection of intellectual property."
                                                                            6                        And so my question is:           It was a
                                                                            7     contractual restriction of access that CDK and Reynolds
                                                                            8     agreed to, right?
                                                                            9                        MS. GULLEY:       Objection; form.
                                                                            10           A.    Well, okay.      I'm not -- I'm not -- I'm not
                                                                            11    seeing that here.         What -- what's intended here is --
                                                                            12    and that's that -- you know, what's happening is -- and
                                                                            13    that's that, you know, we're going to gain knowledge
                                                                            14    about how to get -- how to get into our systems, and
                                                                            15    they're going to get some knowledge about how to get
                                                                            16    into ours, okay?         We're agreeing not to disseminate that
                                                                            17    knowledge, okay?
                                                                            18                       And what we're further saying is -- is
                                                                            19    look, you know, this is an IP protection provision.                     It
                                                                            20    is not intended as a covenant not to compete, you know.
                                                                            21    We're going to compete.            But we're not going to -- we're
                                                                            22    not going to share, you know, the IP to other third
                                                                            23    parties or fourth parties, you know, as a result of --
                                                                            24    of this agreement.
                                                                            25           Q.    (By Mr. Nemelka)        Now, you just saw a document
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                                                                                                                                                    Page 115
                                                                            1     where Mr. Schaefer said to you that -- and you testified
                                                                            2     that Reynolds wanted CDK to agree to never access the
                                                                            3     Reynolds DMS again, right?
                                                                            4                        MS. GULLEY:       Objection; form.
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                                                                            5                        MR. RYAN:       Do you have an exhibit number?
                                                                            6            A.    There -- there -- that provision did not make
                                                                            7     it into the final agreement, I don't believe.
                                                                            8            Q.    (By Mr. Nemelka)        So what is this contractual
                                                                            9     restriction of access that we're looking at here in 4.5?
                                                                            10                       MS. GULLEY:       Objection; form.
                                                                            11           A.    It is not restriction of access.              It's
                                                                            12    restriction of the -- not to disseminate knowledge about
                                                                            13    how to access.
                                                                            14           Q.    (By Mr. Nemelka)        Mr. Brockman, it says --
                                                                            15           A.    It was --
                                                                            16           Q.    -- "contractual restriction of access and
                                                                            17    attempted access."          Correct?
                                                                            18                       MS. GULLEY:       Objection; form.
                                                                            19           A.    But -- but if you look at the heading for 4.5,
                                                                            20    it's "Provision on Knowledge Transfer" --
                                                                            21           Q.    Finish reading the -- the --
                                                                            22                       MS. GULLEY:       Objection; form.
                                                                            23           A.    -- "and DMS Access."
                                                                            24                       MR. NEMELKA:        Let -- let me finish my
                                                                            25    question.
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                                                                                                                                                    Page 116
                                                                            1            Q.    (By Mr. Nemelka)        Please finish reading the
                                                                            2     entire title of 4.5, Mr. Brockman.
                                                                            3                        MS. GULLEY:       Objection; form.         Just give me
                                                                            4     a chance to object, Mr. Brockman.
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                                                                            5            A.    It says "Prohibition on Knowledge Transfer and
                                                                            6     DMS Access."
                                                                            7            Q.    (By Mr. Nemelka)        All right.
                                                                            8            A.    And -- and you know, what -- what it's intended
                                                                            9     to mean is -- and that's that each party is going to
                                                                            10    have access to intellectual property of the other and
                                                                            11    that we're both jointly, you know, agreeing not to
                                                                            12    disclose that.        But, you know, it's not intended to be a
                                                                            13    covenant not to compete.            It's -- it's simply an issue
                                                                            14    of intellectual property.
                                                                            15           Q.    After covenant not to pete -- compete, it
                                                                            16    doesn't say it's simply an issue of intellectual
                                                                            17    property, does it?
                                                                            18                       MS. GULLEY:       Objection; form.
                                                                            19           A.    Yeah, I -- I think the 4.5 heading, you know,
                                                                            20    goes a long ways towards accomplishing that.
                                                                            21           Q.    (By Mr. Nemelka)        4.5 heading says "Prohibition
                                                                            22    of Knowledge Transfer and DMS Access"; correct?
                                                                            23                       MS. GULLEY:       Objection; form.
                                                                            24           A.    I believe that -- I believe that that's all one
                                                                            25    issue.      It's not two separate issues.
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                                                                                                                                                    Page 117
                                                                            1            Q.    (By Mr. Nemelka)        Prohibition on DMS access?
                                                                            2                        MS. GULLEY:       Objection; form.
                                                                            3            A.    I believe it's prohibition on knowledge
                                                                            4     transfer.      Yeah, that's what it's all about.
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                                                                            5            Q.    (By Mr. Nemelka)        But there's an "and" there,
                                                                            6     isn't there?
                                                                            7                        MS. GULLEY:       Objection; form.
                                                                            8            A.    I'm sorry.      I have to plead a little bit that
                                                                            9     I'm not a lawyer like you are, and -- and, you know,
                                                                            10    this document has got lots of words in it.                   And I do not
                                                                            11    believe that that was the intent of the drafter.
                                                                            12           Q.    (By Mr. Nemelka)        Even though -- well, if we go
                                                                            13    back to the document where -- well, this is -- what you
                                                                            14    testified is that CDK agreed not to access for five
                                                                            15    years.      It was just the "forever" part that they didn't
                                                                            16    agree to, right?
                                                                            17                       MS. GULLEY:       Objection; form.         What's the
                                                                            18    exhibit, as Mr. Ryan asked a while back.
                                                                            19                       MR. NEMELKA:        646.
                                                                            20           Q.    (By Mr. Nemelka)        I'm reminding Mr. Brockman of
                                                                            21    his testimony.
                                                                            22                       MS. GULLEY:       Objection.       That is not
                                                                            23    correct.      Objection to that statement.
                                                                            24           Q.    (By Mr. Nemelka)        It says here, that we just
                                                                            25    saw, "We have added" -- as we've -- as we've already
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                                                                            1     done, "We have added after the 5 years they cannot
                                                                            2     access the system on behalf of any 3rd party forever."
                                                                            3     Do you recall that?
                                                                            4                          MS. GULLEY:     Objection; form.
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                                                                            5            A.    That -- that's what it says.             That's what we're
                                                                            6     asking for.         We did not get that provision.
                                                                            7            Q.    (By Mr. Nemelka)        Are you aware of how long
                                                                            8     Section 4.5 lasts?
                                                                            9                          MS. GULLEY:     Objection; form.
                                                                            10           A.    Again, I'll confess that I'm not an attorney
                                                                            11    and I -- you know, as far as the duration of provisions,
                                                                            12    I don't know what it says.
                                                                            13           Q.    (By Mr. Nemelka)        All right.       Let's go to
                                                                            14    Section 6.1 of the agreement.              Are you there with me?
                                                                            15    6.1?
                                                                            16           A.    I'm sorry.      I thought I was.
                                                                            17           Q.    Are you there with me?
                                                                            18           A.    Yes.
                                                                            19           Q.    "With the exception of the obligations set
                                                                            20    forth in Sections 4.5" -- that was the section we were
                                                                            21    just looking at, right, Mr. Brockman?
                                                                            22                         MS. GULLEY:     Objection; form.
                                                                            23           Q.    (By Mr. Nemelka)        4.5 is the section we were
                                                                            24    just looking at; correct?
                                                                            25                         MS. GULLEY:     Form.
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                                                                                                                                                    Page 119
                                                                            1            A.    Yes.    "Prohibition of Knowledge Transfer."
                                                                            2            Q.    (By Mr. Nemelka)        "And DMS Access."         I know you
                                                                            3     want to leave off the last part.               But it says "and DMS
                                                                            4     access"; correct?
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                                                                            5                         MS. GULLEY:      Objection; form.
                                                                            6                         MR. RYAN:      Object to form.
                                                                            7                         MS. GULLEY:      And move to strike the
                                                                            8     instruction.
                                                                            9            Q.    (By Mr. Nemelka)        "With the exception of the
                                                                            10    obligations set forth in Sections 4.5" -- and it even
                                                                            11    identifies it as "[Prohibition on Knowledge Transfer and
                                                                            12    DMS Access]...this Agreement shall terminate at the end
                                                                            13    of the Wind Down Period."
                                                                            14                        MS. GULLEY:      Objection.
                                                                            15           Q.    (By Mr. Nemelka)        So --
                                                                            16           A.    I see what you're saying, but I've got to
                                                                            17    reiterate again, okay?           It's been a long war with ADP.
                                                                            18    The long war is -- has finally settled, okay?                    I heave a
                                                                            19    sigh of relief.         My guys, their guys, our attorneys,
                                                                            20    their attorneys, they build this document.                   It comes to
                                                                            21    me for signature.         And I said, "My God, I'm -- I'm
                                                                            22    happy -- I'm happy to sign this damn thing and have it
                                                                            23    off the list."        You know, I did not read it, certainly
                                                                            24    not at the level of detail that you're talking about.
                                                                            25                        You know, I would further support that the
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                                                                            1     stand-down worked.          You know, they, in fact, you know,
                                                                            2     got out of our systems.            They quit -- they quit hacking
                                                                            3     them, you know.         They quit -- quit being bandits.                They
                                                                            4     got out.
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                                                                            5                        And we accomplished the transition such
                                                                            6     that none of -- none of our mutual customers -- the
                                                                            7     dealerships that are our mutual customers, where we got
                                                                            8     the DMS but, you know, they've got a third party that's
                                                                            9     been doing something else -- nobody got mad.                   Nobody
                                                                            10    got -- I didn't get any letters.               I didn't get any angry
                                                                            11    phone calls.       So, you know, whatever this document is
                                                                            12    and whatever shortcomings it might have, it worked.
                                                                            13                       MR. NEMELKA:        We can take lunch.
                                                                            14                       MS. GULLEY:       Let's go off the record.
                                                                            15                       THE VIDEOGRAPHER:         The time is 12:38 p.m.
                                                                            16    We're off the record.
                                                                            17                       (Short recess 12:38 to 1:42 p.m.)
                                                                            18                       THE VIDEOGRAPHER:         The time is 1:42 p.m.
                                                                            19    We're back from lunch and we're back on the record.
                                                                            20                          EXAMINATION (Continuing)
                                                                            21    BY MR. NEMELKA:
                                                                            22           Q.    Good afternoon, Mr. Brockman.
                                                                            23           A.    I'm sorry we don't have a prettier day for
                                                                            24    you-all.
                                                                            25           Q.    It's still beautiful views.
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                                                                            1            A.    It has been really pretty.
                                                                            2            Q.    So after Reynolds and CDK concluded the -- the
                                                                            3     wind-down agreement, Reynolds then did release those
                                                                            4     security enhancements that it had been holding off on;
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                                                                            5     correct?
                                                                            6                        MS. GULLEY:       Form.
                                                                            7            A.    I'm not personally aware, but that's my --
                                                                            8     that's my belief.
                                                                            9            Q.    (By Mr. Nemelka)        And after the agreement,
                                                                            10    Reynolds protected the user IDs that CDK was using to
                                                                            11    access the Reynolds system; is that right?
                                                                            12                       MS. GULLEY:       Objection; form.
                                                                            13           A.    That was part of the stand-down agreement, and
                                                                            14    it's my understanding that's now all over.
                                                                            15           Q.    (By Mr. Nemelka)        So the security enhancements
                                                                            16    did not affect CDK's access to the sys- -- to the
                                                                            17    Reynolds system, right?
                                                                            18                       MS. GULLEY:       Form.
                                                                            19           A.    That's correct.        The whole goal of -- of the
                                                                            20    stand-down agreement was to provide for an orderly
                                                                            21    stand-down, and that -- and that meant enabling their
                                                                            22    customers to operate without issue during the stand-down
                                                                            23    period.
                                                                            24           Q.    (By Mr. Nemelka)        But those security
                                                                            25    enhancements did affect Authenticom, right?
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                                                                                                                                                    Page 122
                                                                            1                        MS. GULLEY:       Objection; form.
                                                                            2            A.    I -- I'm not aware.
                                                                            3            Q.    (By Mr. Nemelka)        They were intended to, right?
                                                                            4                        MS. GULLEY:       Objection; form.
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                                                                            5            A.    No.   Again, our security enhancements are --
                                                                            6     are not specifically aimed at any individual entity.
                                                                            7     The problem is, we can't, because when we see things
                                                                            8     happening, people coming into our system, we don't know
                                                                            9     who they are and -- and we can't track who they are.
                                                                            10    And therefore, unless they have put in their user ID,
                                                                            11    something that identifies them, we don't know who they
                                                                            12    are.
                                                                            13           Q.    (By Mr. Nemelka)        After you entered into this
                                                                            14    agreement with CDK, you started to approve some --
                                                                            15    strike that.
                                                                            16                       After you entered into the agreement with
                                                                            17    CDK, you believed that the logic had shifted somewhat
                                                                            18    with respect to pricing that you offered dealers who
                                                                            19    were coming on board, right?
                                                                            20                       MS. GULLEY:       Objection; form.
                                                                            21           A.    I -- I disagree with that.            I think that our --
                                                                            22    our position, as far as negotiating the discounts and
                                                                            23    whatever raised all the time.              And it depends a lot on
                                                                            24    the overall macroeconomic situation that we're facing
                                                                            25    nationwide or, specifically, what the -- the certain
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                                                                            1     states, certain market areas go through periods of
                                                                            2     tougher times, discounting various -- all over the
                                                                            3     point.
                                                                            4            Q.    (By Mr. Nemelka)        The logic had shifted
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                                                                            5     somewhat due to you getting the CDK RCI business, right?
                                                                            6                        MS. GULLEY:       Form.
                                                                            7            A.    I don't believe that's the case at all.                    I
                                                                            8     think that -- since I'm the one that's personally in
                                                                            9     charge of -- of approving this percentage discounts,
                                                                            10    they're part of the market conditions.                 The -- our
                                                                            11    competitors go through cycles.               If you can watch, for
                                                                            12    instance, CDK -- CDK in the month or two before their
                                                                            13    year-end -- their fiscal year-end, they'll be much more
                                                                            14    aggressive in discounting.
                                                                            15                       Other competitors have other, you know,
                                                                            16    closing of sales quota deadlines.               And they get really
                                                                            17    aggressive just before the deadline, because they're
                                                                            18    trying to, you know, meet their quotas so they get their
                                                                            19    bonuses.      And that's the drivers behind percentage
                                                                            20    discounts.
                                                                            21                       (Exhibit 648 marked for identification?)
                                                                            22           Q.    Mr. Schaefer, I've handed you Plaintiff's
                                                                            23    Exhibit 648 --
                                                                            24                       MS. GULLEY:       Brockman.
                                                                            25                       MR. NEMELKA:        Sorry.     Mr. Brockman.             What
                                                                                                                Veritext Legal Solutions
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                                                                            1     did I say?        Schaefer?
                                                                            2             Q.    (By Mr. Nemelka)        Mr. Brockman, I've handed you
                                                                            3     Plaintiff's Exhibit 648.             And the email I'm focusing on
                                                                            4     is your email dated Thursday, May 7th, 2015 to Agan,
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                                                                            5     where you write, "The logic has shifted somewhat due to
                                                                            6     us getting the CDK RCI business (and soon to get
                                                                            7     Authenticomas [sic] well)."              Do you see where you wrote
                                                                            8     that?
                                                                            9                         MS. GULLEY:       Form.
                                                                            10            A.    Yes, I do.
                                                                            11            Q.    (By Mr. Nemelka)        And then you wrote, "A deal
                                                                            12    with numbers of dealerships will have a number of
                                                                            13    additional RCI 3rd parties where we get that revenue if
                                                                            14    we have those dealership's DMS systems."                   Do you see
                                                                            15    that?
                                                                            16                        MS. GULLEY:       Form.
                                                                            17            A.    Yes, I do.
                                                                            18            Q.    (By Mr. Nemelka)        So the logic had shifted a
                                                                            19    little bit, because now you're going to be getting the
                                                                            20    additional RCI revenue if the dealers are using your
                                                                            21    DMS, right?
                                                                            22                        MS. GULLEY:       Objection; form.
                                                                            23            A.    I don't think this has anything to do with the
                                                                            24    percentage discounts on deals.                This is obviously
                                                                            25    talking about customers.
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                                                                            1             Q.    (By Mr. Nemelka)        Right.     DMS customers;
                                                                            2     correct?
                                                                            3             A.    Yes.
                                                                            4             Q.    If you turn to the next page, I believe that
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                                                                            5     Mr. Agan is asking you for your approval at the bottom.
                                                                            6     "Are you okay with a 55.38% discount?"
                                                                            7                          MS. GULLEY:      Form.
                                                                            8             Q.    (By Mr. Nemelka)        Do you see where he says
                                                                            9     that?
                                                                            10            A.    I see that --
                                                                            11                         MS. GULLEY:      Objection; form.
                                                                            12            A.    -- but I'm -- I'm reading the rest of it to see
                                                                            13    what, in context, that's all about.                 Could you repeat
                                                                            14    your question, please?
                                                                            15            Q.    (By Mr. Nemelka)        Sure.     Mr. Agan asked you if
                                                                            16    you would approve of 55.38 percent discount for this
                                                                            17    dealer that you were trying to sign; correct?
                                                                            18                         MS. GULLEY:      Form.
                                                                            19            A.    That's correct.
                                                                            20            Q.    (By Mr. Nemelka)        You approved it, because the
                                                                            21    logic had shifted somewhat, due to you getting the CDK
                                                                            22    RCI business and Authenticom's as well, right?
                                                                            23                         MS. GULLEY:      Objection; form.
                                                                            24            A.    I think I've already, you know, said that those
                                                                            25    two sentences you said, that I see them.
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                                                                            1            Q.    (By Mr. Nemelka)        Okay.     Your contract with
                                                                            2     CDK -- you can set that aside Mr. Brockman -- your
                                                                            3     contract with CDK required Reynolds to take over all of
                                                                            4     CDK's existing third-party relationships, regardless of
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                                                                            5     size; isn't that right?
                                                                            6                        MS. GULLEY:       Form.
                                                                            7            A.    Third-party relationships where they were, you
                                                                            8     know, hacking our systems, that's when I was talking
                                                                            9     about.
                                                                            10           Q.    (By Mr. Nemelka)        "Third parties," meaning the
                                                                            11    vendors to whom CDK was providing Reynolds dealer data,
                                                                            12    right?
                                                                            13                       MS. GULLEY:       Form.
                                                                            14           A.    Yes, that's correct.
                                                                            15           Q.    (By Mr. Nemelka)        You also wanted to take every
                                                                            16    Authenticom customer that came to you, regardless of
                                                                            17    size; correct?
                                                                            18                       MS. GULLEY:       Objection; form.
                                                                            19           A.    I -- I don't think that's correct.
                                                                            20                       (Exhibit 649 was marked for
                                                                            21                         identification.)
                                                                            22           Q.    (By Mr. Nemelka)        I've handed you what I've
                                                                            23    marked as Plaintiff's Exhibit 649, which is an email
                                                                            24    chain between you and Tommy Barras and Bob Schaefer.
                                                                            25    And the email I want to focus on, Mr. Brockman, is the
                                                                                                                Veritext Legal Solutions
                                                                                              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
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                                                                            1     one that you sent on Friday, August 21st, 2015, at the
                                                                            2     bottom, to Tommy Barras, where you write, "We also want
                                                                            3     to take every Authenticom customer that comes to us,
                                                                            4     regardless of size."          It's at the bottom of that page.
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                                                                            5     Do you see that?
                                                                            6                        MS. GULLEY:       Objection; form.
                                                                            7            A.    I think what's going on here is in -- as the --
                                                                            8     our agreement with CDK requires us to take over all
                                                                            9     their existing third-party relationships.                  That's an
                                                                            10    integral part of this stand-down.
                                                                            11                       Generally speaking, you know, we're not
                                                                            12    interested in just anything, as far as size is
                                                                            13    concerned.       You know, small dealers are not, you know,
                                                                            14    what our target market is.             You know, we're -- we live
                                                                            15    more in the larger dealer -- or larger group
                                                                            16    marketplace.       And so therefore, you know, the comments
                                                                            17    as far as Authenticom is concerned, you know, they all
                                                                            18    relate to size more than anything else.
                                                                            19           Q.    (By Mr. Nemelka)        You wrote here, "We also want
                                                                            20    to take every Authenticom customer that comes to us,
                                                                            21    regardless of size"; correct?
                                                                            22                       MS. GULLEY:       Objection; form.
                                                                            23           Q.    (By Mr. Nemelka)        Very bottom, last -- the last
                                                                            24    thing on the page.
                                                                            25                       MS. GULLEY:       Objection; form.
                                                                                                                Veritext Legal Solutions
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                                                                            1            Q.    (By Mr. Nemelka)        You wrote that; correct?
                                                                            2                        MS. GULLEY:       Form.
                                                                            3            A.    Yes, I did.      But I think that that was at -- at
                                                                            4     a point in time that that's not been our policy ongoing,
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                                                                            5     regardless of size -- to take people -- take customers
                                                                            6     that are -- regardless of size.              You can look at our --
                                                                            7     our customer base, you know, we're predominantly larger
                                                                            8     dealerships.
                                                                            9            Q.    (By Mr. Nemelka)        Authenticom customers are
                                                                            10    the -- are not dealerships.             They're -- they're ven- --
                                                                            11    they're vendors, right?
                                                                            12                       MS. GULLEY:       Form.
                                                                            13           Q.    (By Mr. Nemelka)        Well, they're both, but the
                                                                            14    customers you're talking about here are the vendors that
                                                                            15    need access to dealer data, right?
                                                                            16                       MS. GULLEY:       Form.
                                                                            17           A.    Yeah, but I think the -- certainly, you know,
                                                                            18    those types of customers vary greatly in size as well.
                                                                            19           Q.    (By Mr. Nemelka)        And so if -- if a vendor is
                                                                            20    small and doesn't serve that many dealers, you're not
                                                                            21    interested in -- in serving them, then?
                                                                            22                       MS. GULLEY:       Form.
                                                                            23           A.    It's a matter of priority.            We have, you know,
                                                                            24    great development resources, but all development
                                                                            25    resources are not without limit.               And therefore, from
                                                                                                                Veritext Legal Solutions
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                                                                            1     time to time, we get really busy and we get really
                                                                            2     behind.      And therefore, our -- our appetite for, you
                                                                            3     know, small situations, you know, varies.
                                                                            4            Q.    (By Mr. Nemelka)        In fact, after this agreement
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                                                                            5     with CDK, you had a lot of -- a lot of work to bring on
                                                                            6     all of the former CDK customers into the RCI program,
                                                                            7     right?
                                                                            8                        MS. GULLEY:       Objection; form.
                                                                            9            A.    That's correct.
                                                                            10           Q.    (By Mr. Nemelka)        You wrote that you had a
                                                                            11    mountain of work ahead of you, with over 100 RCI
                                                                            12    customers to convert, right?
                                                                            13                       MS. GULLEY:       Form.
                                                                            14           A.    I believe at one point in time, that I -- I
                                                                            15    made that statement because that was the case.
                                                                            16           Q.    (By Mr. Nemelka)        And by mid-2017, two years
                                                                            17    later, Reynolds had successfully converted many of those
                                                                            18    former CDK vendors into the RCI program, right?
                                                                            19                       MS. GULLEY:       Form.
                                                                            20           A.    I'm not sure about that specific date.                But I
                                                                            21    do know we made steady progress and... (Pause.)
                                                                            22                       (Exhibit 650 was marked for
                                                                            23    identification.)
                                                                            24           Q.    (By Mr. Nemelka)        I've handed you Plaintiff's
                                                                            25    Exhibit 650, which is an email from Tommy Barras to you,
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 130
                                                                            1     dated Friday, July 7th, 2017.              Who is Tommy Barras?
                                                                            2                         MS. GULLEY:      Form.
                                                                            3            A.    Tommy Barras is head of our -- our software
                                                                            4     group.
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                                                                            5            Q.    (By Mr. Nemelka)        And he wrote to you about CDK
                                                                            6     vendors that moved into the RCI program, right?
                                                                            7            A.    That's correct.
                                                                            8            Q.    And he writes, "Bob, In 2015 you challenged
                                                                            9     DEV" -- what is DEV, a development?
                                                                            10           A.    Development.
                                                                            11           Q.    Software development?
                                                                            12           A.    Yes.
                                                                            13           Q.    -- "and DSV" -- is that data services?
                                                                            14           A.    That's correct.
                                                                            15           Q.    -- "(Schaefer) with absorbing 157 CDK vendors
                                                                            16    into the RCI program."           Do you see that?
                                                                            17           A.    That's correct.
                                                                            18           Q.    Now, these are not vendors that CDK owned.
                                                                            19    These are former CDK customers, right?
                                                                            20                        MS. GULLEY:      Form.
                                                                            21           A.    That's correct.        These -- these are companies
                                                                            22    that had been employing CDK to enter our system as, you
                                                                            23    know, hackers.
                                                                            24           Q.    (By Mr. Nemelka)        And as part of the wind-down,
                                                                            25    CDK worked with you to transition those customers to
                                                                                                                Veritext Legal Solutions
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                                                                            1     Reynolds so that they could join the RCI program;
                                                                            2     correct?
                                                                            3                        MS. GULLEY:       Objection; form.
                                                                            4            A.    That's correct.
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                                                                            5            Q.    (By Mr. Nemelka)        And it was CDK's access to
                                                                            6     the Reynolds system on behalf of those customers that
                                                                            7     you protected during that five-year wind-down period,
                                                                            8     correct?
                                                                            9                        MS. GULLEY:       Objection; form.
                                                                            10           A.    That's correct.
                                                                            11           Q.    (By Mr. Nemelka)        You asked Mr. Schaefer to
                                                                            12    calculate the amount of revenue that Reynolds was
                                                                            13    supposed to realize out of this agreement with CDK,
                                                                            14    right?
                                                                            15                       MS. GULLEY:       Objection; form.
                                                                            16           A.    I don't know that I asked that specifically of
                                                                            17    Bob Schaefer.
                                                                            18           Q.    (By Mr. Nemelka)        You asked -- you asked
                                                                            19    somebody on -- on your team to calculate the amount of
                                                                            20    revenue that Reynolds was supposed to realize out of the
                                                                            21    CDK deal, right?
                                                                            22                       MS. GULLEY:       Objection; form.
                                                                            23           A.    I don't recall who that was, but it may well
                                                                            24    have -- it may well have occurred.
                                                                            25           Q.    (By Mr. Nemelka)        Regardless of who it was, you
                                                                                                                Veritext Legal Solutions
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                                                                            1     made that request.          You wanted to know how much
                                                                            2     Reynolds -- how much -- the amount of revenue that
                                                                            3     Reynolds was supposed to realize out of the deal, right?
                                                                            4                        MS. GULLEY:       Objection; form.
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                                                                            5            A.    That's correct.        We -- we had -- as I think
                                                                            6     we've -- before lunch, I talked about the fact that we
                                                                            7     had -- CDK had cost us a lot of -- a lot.                  And, you
                                                                            8     know, we were hoping to make back these, you know,
                                                                            9     third-party vendors coming directly to us through the
                                                                            10    RCI program as opposed to going through CDK.                   That was
                                                                            11    our way to ultimately dig out of the hole, you know,
                                                                            12    from a -- a money standpoint that we had been put
                                                                            13    through by CDK.
                                                                            14           Q.    (By Mr. Nemelka)        You testified earlier they
                                                                            15    cost you millions in this form of -- market -- market
                                                                            16    messaging about data security and losing dealer
                                                                            17    customers, right?
                                                                            18           A.    It's cust- --
                                                                            19                       MS. GULLEY:       Objection; form.
                                                                            20                       You just have to let him finish his
                                                                            21    question and then you can answer.
                                                                            22           A.    That consists of the revenue we lost by
                                                                            23    customers that we should have been able to sell but
                                                                            24    couldn't sell, or customers -- which was the -- the more
                                                                            25    minor group, customers that actually left us because
                                                                                                                Veritext Legal Solutions
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                                                                            1     of -- because of security.
                                                                            2            Q.    (By Mr. Nemelka)        And those customers you're
                                                                            3     referring to are the dealers, not --
                                                                            4            A.    That's right.
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                                                                            5                        MS. GULLEY:       Objection; form.
                                                                            6                        Just -- just -- for the court reporter and
                                                                            7     for the record, he'll ask his question and then you
                                                                            8     answer.
                                                                            9                        MR. NEMELKA:        We're doing okay, but --
                                                                            10           Q.    (By Mr. Nemelka)        And -- excuse me -- your team
                                                                            11    did calculate the val- -- the amount of revenue that
                                                                            12    Reynolds was supposed to realize out of the CDK deal,
                                                                            13    right?
                                                                            14                       MS. GULLEY:       Form.
                                                                            15           A.    I see that you're referring to documents that
                                                                            16    I'm not -- I'm not having the opportunity to look at.
                                                                            17           Q.    (By Mr. Nemelka)        Well, I'm just wondering --
                                                                            18    you remember if you made this request, and your team did
                                                                            19    actually make that calculation; correct?
                                                                            20                       MS. GULLEY:       Objection; form.
                                                                            21           A.    Yes, I believe they did.           It looks like -- if
                                                                            22    that's what you're looking at.               It's not being shared
                                                                            23    with me, which -- which I find, you know, a little
                                                                            24    unusual.
                                                                            25           Q.    (By Mr. Nemelka)        All right.       I'm just trying
                                                                                                                Veritext Legal Solutions
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                                                                            1     to get -- get through this efficiently.                   I'm not trying
                                                                            2     to do anything else.
                                                                            3                          MS. GULLEY:       Objection to the statement.
                                                                            4             Q.     (By Mr. Nemelka)        Okay.     Well, then, let's do
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                                                                            5     --
                                                                            6                          MR. NEMELKA:        69.
                                                                            7                          (Exhibit 651 was marked for
                                                                            8                            identification.)
                                                                            9             Q.     (By Mr. Nemelka)        I truly am only going to show
                                                                            10    you that one part about the -- this is a big, long
                                                                            11    document -- I'm only going to show you -- or ask you
                                                                            12    about the part that we just talked about, which is the
                                                                            13    team calculating the value of the CDK deal with you.                       If
                                                                            14    you intend on reading this whole thing, then I'll just
                                                                            15    skip.        So I'm --
                                                                            16                         THE WITNESS:        What's that about?
                                                                            17                         MS. GULLEY:       I object to everything you
                                                                            18    just said: Statements, instructions, et cetera.                      But
                                                                            19    first of all, can you at least hand it to him?
                                                                            20            Q.     (By Mr. Nemelka)        I'd like to mark Exhibit --
                                                                            21    Plaintiff's Exhibit 651, which is an email from Craig
                                                                            22    Moss to you, Mr. Brockman, dated Friday, August 25th,
                                                                            23    2017, the subject being "July 2017 Financials."                      Do you
                                                                            24    see that that's the subject, at least, of this?
                                                                            25                         MS. GULLEY:       Form.
                                                                                                                  Veritext Legal Solutions
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                                                                            1            Q.    (By Mr. Nemelka)        Mr. Brockman?
                                                                            2                          MS. GULLEY:     Form.
                                                                            3            A.    If I can just kind of leaf through what -- what
                                                                            4     this... (Pause.)
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                                                                            5                          This appears to be part of our confidential
                                                                            6     internal financial information.              And so, therefore, it's
                                                                            7     okay that I don't have to read every page of it.
                                                                            8            Q.    (By Mr. Nemelka)        Thank you.       So you received
                                                                            9     monthly financials like this from Mr. Moss?
                                                                            10                         MS. GULLEY:     Form.
                                                                            11           A.    They're not financial statements.               They're
                                                                            12    management reports concerning the finances.                   That's the
                                                                            13    technically accurate description.
                                                                            14           Q.    (By Mr. Nemelka)        And this is one from July
                                                                            15    2017, that you received?
                                                                            16                         MS. GULLEY:     Form.
                                                                            17           A.    Yes.
                                                                            18           Q.    (By Mr. Nemelka)        And if you could turn with me
                                                                            19    to Page 17.         There you are.      On the bottom-highlighted
                                                                            20    part, which is how it was produced to us -- you see the
                                                                            21    bottom-highlighted part that says, "We are expecting an
                                                                            22    annual revenue of approximately $30 million (original
                                                                            23    $21M, plus additional dealers, added interfaces and
                                                                            24    price increases, etc) generated from the CDK Deal."
                                                                            25           A.    Yeah, that means that --
                                                                                                                Veritext Legal Solutions
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                                                                            1                          MS. GULLEY:       Objection; form.
                                                                            2             A.     -- in 10 to 12 years, we might break out.
                                                                            3             Q.     (By Mr. Nemelka)        What do you mean by that?
                                                                            4                          MS. GULLEY:       Form.
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                                                                            5             A.     Well, as -- as I've stated before, CDK's
                                                                            6     position, as far as hacking our customers, has cost us
                                                                            7     millions.        And, you know, based upon this amount of
                                                                            8     money, we got a ways to go.
                                                                            9             Q.     (By Mr. Nemelka)        The annual revenue, though,
                                                                            10    is 30 million, that they calculated, correct?
                                                                            11                         MS. GULLEY:       Objection; form.
                                                                            12            A.     That's what it says.
                                                                            13            Q.     (By Mr. Nemelka)        And that includes added
                                                                            14    interfaces, which means additional RCI customers, right?
                                                                            15                         MS. GULLEY:       Form.
                                                                            16            A.     No.   I don't think that -- "additional
                                                                            17    interfaces" means additional datasets that third parties
                                                                            18    would want out of Reynolds systems.
                                                                            19            Q.     (By Mr. Nemelka)        That they were getting from
                                                                            20    CDK before?
                                                                            21                         MS. GULLEY:       Form.
                                                                            22            A.     No.   It's kind of like pitter-patter, like the
                                                                            23    rain.        Either OEMs or various third parties want more
                                                                            24    data or different types of data, and it's not related to
                                                                            25    the -- the stand-down agreement at all.                   It's just part
                                                                                                                  Veritext Legal Solutions
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                                                                            1     of their, you know, their desire for more data.
                                                                            2             Q.    (By Mr. Nemelka)        And now that they're
                                                                            3     customers of Reynolds, you get the financial benefit of
                                                                            4     that; correct?
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                                                                            5                         MS. GULLEY:       Form.
                                                                            6             A.    That's correct.
                                                                            7             Q.    (By Mr. Nemelka)        I skipped one.        "Plus
                                                                            8     additional dealers," meaning -- what -- what does that
                                                                            9     mean?
                                                                            10                        MS. GULLEY:       Objection; form.
                                                                            11            A.    Well, what I believe that means is -- and
                                                                            12    that's that there's constant movement as far as
                                                                            13    ownership of dealerships.             And if we have a group that
                                                                            14    has dealerships in it and they're all on Reynolds, if
                                                                            15    that dealer buys another dealer, so they -- he now has
                                                                            16    11, what's going to happen is -- and that's if that
                                                                            17    dealer is not already on Reynolds -- he's going to
                                                                            18    convert to Reynolds, likely, and vice versa.
                                                                            19                        If there's a group of -- of ten
                                                                            20    dealerships, all of which are on CDK, and they buy
                                                                            21    another dealership that's on Reynolds, you know, the
                                                                            22    odds are very, very, very high that that dealership will
                                                                            23    be converted to CDK.           And all that has some impact on
                                                                            24    what's going on in the world.
                                                                            25            Q.    (By Mr. Nemelka)        And then you list price,
                                                                                                                 Veritext Legal Solutions
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                                                                            1     here -- what is listed here is price increases.                    So
                                                                            2     price increases for -- for DMS and RCI?
                                                                            3                        MS. GULLEY:       Objection; form.
                                                                            4            A.    It's just -- it's part of our standard
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                                                                            5     pricing-based process.
                                                                            6            Q.    (By Mr. Nemelka)        But the price increases here
                                                                            7     would have referred to price increases for DMS, right?
                                                                            8                        MS. GULLEY:       Objection; form.
                                                                            9            A.    Our price increase policy covers all -- all
                                                                            10    products, you know, all services.
                                                                            11           Q.    (By Mr. Nemelka)        What is your price increase
                                                                            12    policy?
                                                                            13                       MS. GULLEY:       Objection; form.
                                                                            14           A.    It is -- you know, typically CPI plus 2, which
                                                                            15    represents the normal rate of CPI plus those things that
                                                                            16    cost us extra, because we're in the high tech business.
                                                                            17    Principally, salaries.
                                                                            18           Q.    (By Mr. Nemelka)        So you -- so for your DMS
                                                                            19    business, your standard price increases every year is
                                                                            20    CPI plus 2 percent?
                                                                            21           A.    That's correct.
                                                                            22                       MS. GULLEY:       Form.
                                                                            23           Q.    (By Mr. Nemelka)        And for -- okay.
                                                                            24                       And this 30 million is an annual number,
                                                                            25    it's not -- you said over 10 to 12 years.                  That -- that
                                                                                                                Veritext Legal Solutions
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                                                                            1     30 million is not over 10 to 12 years.                 That 30 million
                                                                            2     is an annual number, right?
                                                                            3            A.    That's not what I meant at all.              When I say
                                                                            4     that CDK has cost us in the millions, I'm not talking
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                                                                            5     about the 30 or 40 or 50 million, I'm talking in the
                                                                            6     hundreds of millions, over time.               And, you know, so it
                                                                            7     takes a while before $30 million worth of revenue out of
                                                                            8     this particular situation even begins to make up for
                                                                            9     what they've done.
                                                                            10           Q.    You said 10 to 12 years, so 30 times 10, about
                                                                            11    300 to $360 million?
                                                                            12           A.    Absolutely.
                                                                            13                       MS. GULLEY:       Objection; form.
                                                                            14           A.    Absolutely.
                                                                            15           Q.    (By Mr. Nemelka)        Is what CDK cost you as a
                                                                            16    result of them -- their data access on the Reynolds
                                                                            17    system?
                                                                            18           A.    Yeah, and the fact that they badmouthed, you
                                                                            19    know, our process, I think, unjustifiably.                   And they --
                                                                            20    and they did that, you know, high and wide, you know, in
                                                                            21    the -- in the market.
                                                                            22           Q.    Badmouthing your data access policies in the
                                                                            23    market; is that right?
                                                                            24                       MS. GULLEY:       Objection; form.
                                                                            25           A.    That's correct.
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                                                                            1            Q.    (By Mr. Nemelka)        CDK doesn't badmouth your
                                                                            2     data access policies anymore, does it?
                                                                            3                        MS. GULLEY:       Objection; form.
                                                                            4            A.    It's not been as prevalent as it was before.
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                                                                            5            Q.    (By Mr. Nemelka)        That badmouthing large- --
                                                                            6     largely stopped after you entered into this agreement
                                                                            7     with them, right?
                                                                            8                        MS. GULLEY:       Objection; form.
                                                                            9            A.    Again, I have no way of measuring that.
                                                                            10           Q.    (By Mr. Nemelka)        It wasn't just CDK and
                                                                            11    Authenticom that you wanted to get -- get rid of.                       You
                                                                            12    wanted to get rid of all independent data integrators
                                                                            13    that dealers were using for automated access to the
                                                                            14    Reynolds -- Reynolds system; correct?
                                                                            15                       MR. RYAN:       Object to form.
                                                                            16           A.    I -- I definitely want to eliminate, you know,
                                                                            17    completely, you know, all automated access to Reynolds
                                                                            18    systems.      It's -- it is a classic security breach.
                                                                            19           Q.    (By Mr. Nemelka)        Could Reynolds -- could CDK
                                                                            20    access your system today with their independent
                                                                            21    integrators?
                                                                            22                       MS. GULLEY:       Objection; form.
                                                                            23                       MR. RYAN:       Objection; form.
                                                                            24           A.    When you say "independent integrators," I don't
                                                                            25    recognize that term.
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                                                                            1            Q.    (By Mr. Nemelka)        Meaning DMI and Integra
                                                                            2     Link!.
                                                                            3                         MS. GULLEY:      Objection; form.
                                                                            4            A.    The people -- the guys that are in the hacking
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                                                                            5     business, the bandits?
                                                                            6            Q.    (By Mr. Nemelka)        Yeah.
                                                                            7            A.    Yeah, I don't know.         As I've said before, you
                                                                            8     know, security is a cat-and-mouse game, and it could
                                                                            9     well be that they, you know, figured out some new way,
                                                                            10    and it's -- where I -- it's not discernible to us who it
                                                                            11    actually is.        It could be in there today and --
                                                                            12    because that's the nature of it, of -- of the situation.
                                                                            13                        You know, somebody on the outside figures
                                                                            14    out a new way to come in.            We don't know who it is.           You
                                                                            15    know, we figure out how to block it.                You know, the only
                                                                            16    way we know for sure, you know, was when somebody
                                                                            17    squawks.
                                                                            18           Q.    One of the independent integrators was
                                                                            19    StoneEagle; correct?
                                                                            20                        MS. GULLEY:      Objection; form.
                                                                            21           A.    Yes.
                                                                            22           Q.    (By Mr. Nemelka)        I've handed you Plaintiff's
                                                                            23    Exhibit 652.
                                                                            24                        (Exhibit 652 was marked for
                                                                            25                         identification.)
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                                                                            1            Q.    (By Mr. Nemelka)        This is an email from you to
                                                                            2     Mr. Schaefer, dated April 14, 2016.                And your question
                                                                            3     is:    "Bob, When do we get rid of StoneEagle?"                  And
                                                                            4     that's referring to not allowing them to access dealer
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                                                                            5     data on the Reynolds DMS anymore, right?
                                                                            6                        MS. GULLEY:       Objection; form.
                                                                            7            A.    That -- that's correct.           We are -- we are now,
                                                                            8     finally -- you know, StoneEagle has joined the RCI
                                                                            9     program, and they had to make a -- a number of changes
                                                                            10    in their software, and all that's been accomplished.
                                                                            11    And they're now a -- in a peaceful situation as far as
                                                                            12    we're concerned.         They're -- they're in the RCI program.
                                                                            13    They're getting their data.             They're getting their
                                                                            14    business done.
                                                                            15           Q.    (By Mr. Nemelka)        For a while, Reynolds had
                                                                            16    been protecting their access to the -- to -- to the
                                                                            17    system; correct?
                                                                            18                       MS. GULLEY:       Objection; form.
                                                                            19           A.    It -- it is -- it is typical in the situation
                                                                            20    where we have a -- a -- a party, which is doing like
                                                                            21    StoneEagle was, which is, basically, hacking in.                        And
                                                                            22    they say, "Oh, well, we're sorry.               We'll do better.
                                                                            23    We'll sign up for RCI."            And they do, but they don't get
                                                                            24    it done.      They -- they don't -- they don't make the
                                                                            25    changes in on their side that's necessary for them to
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                                                                            1     access through the RCI program, and so they linger in
                                                                            2     this, you know, this -- this in-between mode.                    And, you
                                                                            3     know, of all the -- the one's where that issue came up,
                                                                            4     StoneEagle was the worst.            And it is with a sigh of
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                                                                            5     relief that that's fixed, done, over with.
                                                                            6                        (Exhibit 653 was marked for
                                                                            7                          identification.)
                                                                            8            Q.    (By Mr. Nemelka)        I've handed you Plaintiff's
                                                                            9     Exhibit 653, which is an email from you to Mr. Schaefer,
                                                                            10    dated Wednesday, April 19, 2017, where you write to
                                                                            11    Mr. Schaefer, "Bob, Give them written notice that we
                                                                            12    will shut down their current method of access for
                                                                            13    security reasons on June 1, 2017."                And that referred to
                                                                            14    StoneEagle; correct?
                                                                            15           A.    That first email doesn't say that it's
                                                                            16    StoneEagle, but I believe in context with the second
                                                                            17    email, it does indicate that it is StoneEagle.
                                                                            18           Q.    And up to the time, and for -- for several
                                                                            19    years, their method of access had been protected while
                                                                            20    they were applying for the RCI program, right?
                                                                            21                       MS. GULLEY:       Objection; form.
                                                                            22           A.    That's correct.
                                                                            23           Q.    (By Mr. Nemelka)        And their method of access
                                                                            24    was -- I'm sorry, Mr. Brockman.
                                                                            25           A.    I don't understand their method of access.                 It
                                                                                                                Veritext Legal Solutions
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                                                                            1     was their method.         They -- they were doing it all on
                                                                            2     their own.       You know, this indicates, you know, what
                                                                            3     I've been saying all along.             We were very, very
                                                                            4     frustrated by these people.             And I think this one line
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                                                                            5     here, which says, "I think its 2 years now we've been
                                                                            6     strung out......." -- we were not happy.
                                                                            7            Q.    Mr. Brockman, in 2015, you asked Mr. Schaefer
                                                                            8     about -- questions about the state of affairs before
                                                                            9     Authenticom got cut -- got shut off.                You wanted to know
                                                                            10    how many DMS providers' data does Authenticom provide
                                                                            11    Reynolds.      Two, and how many dealerships for each DMS
                                                                            12    providers was Authenticom serving Reynolds apps with?
                                                                            13    Do you recall asking Mr. Schaefer to compile that
                                                                            14    information?
                                                                            15                       MS. GULLEY:       Objection; form.
                                                                            16           A.    Not specifically, but I would -- not be unusual
                                                                            17    for me to ask that.
                                                                            18                       (Exhibit 654 was marked for
                                                                            19                         identification.)
                                                                            20           Q.    (By Mr. Nemelka)        Mr. Brockman, I've handed you
                                                                            21    Plaintiff's Exhibit 654, which is an email from
                                                                            22    Mr. Schaefer to you, dated Friday, November 20th, 2015.
                                                                            23    I will give you a chance to look at it, but your email
                                                                            24    to him starts the chain on the back page.
                                                                            25           A.    I'm looking on the back page.             If you recall,
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                                                                            1     earlier today, I mentioned the term "ReminderTrax."
                                                                            2            Q.     Mm-hmm.
                                                                            3            A.     It's a -- it's a service reminder program for
                                                                            4     dealerships, to remind their -- their customers to come
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                                                                            5     back in and have oil changed or other routine
                                                                            6     preventative maintenance.               And I said that, you know,
                                                                            7     that was a very minor thing that was going on, and it
                                                                            8     talks -- right here, it says, "16 CDK dealers," which,
                                                                            9     in the scope of things, is -- is a very, very small
                                                                            10    situation.
                                                                            11           Q.     Mr. Sch- -- Brockman, if you look at the first
                                                                            12    page, though, it's identified "ReminderTrax."                           There's
                                                                            13    199 CDK connections that Authenticom provides.                           Do you
                                                                            14    see that?
                                                                            15                          MS. GULLEY:       Objection; form.
                                                                            16           A.     Can you point that one out to me?
                                                                            17           Q.     (By Mr. Nemelka)          Sure.
                                                                            18           A.     I'm not --
                                                                            19           Q.     Right there (indicating).
                                                                            20           A.     Okay.
                                                                            21                          MS. GULLEY:       Objection; form.
                                                                            22           A.     Okay, I stand corrected.
                                                                            23           Q.     (By Mr. Nemelka)          And what's listed here
                                                                            24    are the various Reynolds applications -- are the -- are
                                                                            25    the columns, MMS, AIMDATA, ReminderTrax, IMN and so
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                   Page 146
                                                                            1     forth, right?
                                                                            2                           MS. GULLEY:       Form.
                                                                            3            Q.     (By Mr. Nemelka)          Those are the columns?
                                                                            4                           MS. GULLEY:       Form.
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                                                                            5            Q.     (By Mr. Nemelka)          Is that right?
                                                                            6                           MS. GULLEY:       Form.
                                                                            7            A.     Okay.     Would you repeat that again?
                                                                            8            Q.     (By Mr. Nemelka)          Sure.      These datas
                                                                            9     along these -- companies along the top, MMS, AIMDATA,
                                                                            10    ReminderTrax, IMN, Xtream, OnlineD and KeyTrack, those
                                                                            11    are Reynolds applications; correct?
                                                                            12           A.     Correct.
                                                                            13           Q.     And on the left are the DMSs that dealers use;
                                                                            14    correct?
                                                                            15           A.     Yes.     Okay.     I -- I understand that now.
                                                                            16           Q.     And what this is showing is the connections
                                                                            17    that Authenticom provides to the dealers using these
                                                                            18    DMSs; correct?
                                                                            19                          MS. GULLEY:       Objection; form.
                                                                            20           Q.     (By Mr. Nemelka) For -- for these various
                                                                            21    applications?
                                                                            22                          MS. GULLEY:       Objection; form.
                                                                            23           Q.     (By Mr. Nemelka)          Is that correct?
                                                                            24                          MS. GULLEY:       Form.
                                                                            25           A.     For instance, if he looks at the CDK line,
                                                                                                                Veritext Legal Solutions
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                                                                            1     that's where the 199 number is.              And I -- I'm afraid I'm
                                                                            2     not getting what you're trying to get at as far as
                                                                            3     this -- this chart is concerned.
                                                                            4            Q.    (By Mr. Nemelka)        All right.       Well, just --
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                                                                            5     what Mr. Schaefer is reflecting here are the number
                                                                            6     of -- he's answering your question, which is: "What DMS
                                                                            7     provider's data does Authenticom provide to us?                    How
                                                                            8     many dealerships are there from each DMS provider?"
                                                                            9     Those are the questions that you asked on the email that
                                                                            10    we looked at, right?
                                                                            11                        MS. GULLEY:      Form.
                                                                            12           A.    You -- you keep referring to the CDK line.
                                                                            13    What's that got to do with Authenticom?
                                                                            14           Q.    (By Mr. Nemelka)        These are the CDK -- numbers
                                                                            15    of -- that the dealers that use CDK for whom Authenticom
                                                                            16    is providing access to that data for these Reynolds
                                                                            17    applications.
                                                                            18                        MS. GULLEY:      Objection; form.         Is that a
                                                                            19    question?
                                                                            20                        Form.
                                                                            21           Q.    (By Mr. Nemelka)        If you look back at your
                                                                            22    que- -- at your email, you say, "Bob, Questions on the
                                                                            23    state of affairs before Authenticom got shutoff....."
                                                                            24    Do you see that?         Your email to Mr. Schaefer?
                                                                            25           A.    Yes.
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                                                                            1            Q.    And you say, "What DMS provider's data does
                                                                            2     Authenticom provide to us?"             Do you see that?
                                                                            3            A.    Yeah, but, you know, you keep referring to the
                                                                            4     CDK line, and that's not the Authenticom line.
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                                                                            5            Q.    Right.     But -- but your question was:               How many
                                                                            6     dealerships are there from each DMS provider that
                                                                            7     Authenticom provides you with access?
                                                                            8            A.    Okay.     But --
                                                                            9                          MS. GULLEY:     Objection; form.
                                                                            10           A.    Okay.     But the point that I'm -- I'm not -- I'm
                                                                            11    not getting is -- is what does Authenticom have to do
                                                                            12    with the CDK line on -- on this -- on this chart?                       These
                                                                            13    are -- it appears to me, that these are dealership's
                                                                            14    data that CDK is providing to ReminderTrax.                   For
                                                                            15    instance, that 199 number.             ReminderTrax is -- is the
                                                                            16    Reynolds application, and the 199 is -- is the
                                                                            17    dealerships that -- where CDK has been -- has been
                                                                            18    serving up -- up to that application.                 Authenticom is --
                                                                            19    is not related to that line.
                                                                            20           Q.    (By Mr. Nemelka)        Well, we can ask Mr. Schaefer
                                                                            21    what he did here.         My understanding was that he is
                                                                            22    providing with you the number -- he's answering your
                                                                            23    questions, which is:            "The state of affairs before
                                                                            24    Authenticom got cut off," "What DMS provider's data does
                                                                            25    Authenticom provide to us?" and "How many dealerships
                                                                                                                Veritext Legal Solutions
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                                                                            1     are there from each DMS provider" for that?
                                                                            2                           MS. GULLEY:     Objection to that.
                                                                            3             A.    Okay.
                                                                            4                           MS. GULLEY:     There's no question.
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                                                                            5             A.    I -- I understand the question.              I just don't
                                                                            6     see where that answer is -- the CDK line on the first
                                                                            7     page.
                                                                            8             Q.    (By Mr. Nemelka)        Okay.     We'll ask Mr. Schaefer
                                                                            9     about that.        You can put that aside.
                                                                            10                          Mr. Schaefer, are you aware --
                                                                            11                          MS. GULLEY:     Mr. Brockman.
                                                                            12                          MR. NEMELKA:      I'm sorry.      Strike that.
                                                                            13            Q.    (By Mr. Nemelka)        Mr. Brockman, are you aware
                                                                            14    that -- that Reynolds has an ERA DMS expiration
                                                                            15    opportunity close date list with respect to dealer
                                                                            16    customers?
                                                                            17                          MS. GULLEY:     Objection; form.
                                                                            18            A.    An ERA EXT?
                                                                            19            Q.    An ERA DMS expirations and opportunity close
                                                                            20    dates.
                                                                            21                          MS. GULLEY:     Objection; form.
                                                                            22            A.    I'm -- I'm not familiar with any kind of
                                                                            23    list with that kind of nomenclature.                 We've got lots of
                                                                            24    lists, but...
                                                                            25            Q.    (By Mr. Nemelka)        All right.       A list of those
                                                                                                                 Veritext Legal Solutions
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                                                                            1     dealers that have DMS contracts coming up for renewal
                                                                            2     within the next six months?
                                                                            3            A.    Okay.     You're talking about, you know, contract
                                                                            4     expiration.
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                                                                            5            Q.    Yes.
                                                                            6            A.    Okay.     Okay, I understand that term.
                                                                            7            Q.    And Reynolds keeps a list of those dealers that
                                                                            8     are coming up for renewal in six months, right?
                                                                            9            A.    That's right.
                                                                            10           Q.    And Reynolds has protected those dealers who
                                                                            11    use independent integrators like Authenticom from any
                                                                            12    type of interference with that during that six-month
                                                                            13    window; correct?
                                                                            14                         MS. GULLEY:     Form.
                                                                            15           A.    I -- I think we have done some of that.                    I
                                                                            16    don't know that policy is still in place, but I know as
                                                                            17    part of the -- the process of unwinding hacker-type kind
                                                                            18    of relationships, that what we've done is, is we've --
                                                                            19    we've taken measures to keep the things quiet from a
                                                                            20    customer's standpoint while we're in -- you know,
                                                                            21    contract renewal negotiation process.
                                                                            22           Q.    (By Mr. Nemelka)        And then once you close on
                                                                            23    that contract, then you stop that dealer from using the
                                                                            24    independent integrators, right?
                                                                            25                         MS. GULLEY:     Objection; form.
                                                                                                                Veritext Legal Solutions
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                                                                            1            A.    I think at that point in time, we -- we
                                                                            2     recommend more -- more strongly that they -- that they
                                                                            3     look at their -- their data security policies.
                                                                            4            Q.    (By Mr. Nemelka)        After closing of the
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                                                                            5     contract?
                                                                            6                        MS. GULLEY:       Objection; form.
                                                                            7            A.    It's an opportune time for that discussion to
                                                                            8     occur.
                                                                            9            Q.    (By Mr. Nemelka)        And if they want to continue
                                                                            10    to use independent integrators after the closing of the
                                                                            11    contract, did you -- did you let them?
                                                                            12                       MS. GULLEY:       Objection; form.
                                                                            13           A.    Not over a long period.
                                                                            14           Q.    (By Mr. Nemelka)        Mr. Brockman, what is
                                                                            15    syscheck?      Syscheck, s-y-s-c-h-e-c-k?
                                                                            16                       MS. GULLEY:       Form.
                                                                            17           A.    I understand about this one.             The -- the
                                                                            18    operating system that we use on the computers that
                                                                            19    operate the Arrow system -- it's Linux -- and Linux has
                                                                            20    an interesting attribute in that -- let's say you have a
                                                                            21    30-user system.         Linux will allow you to start running
                                                                            22    30 -- what we call "batch jobs."               This will be, like,
                                                                            23    end-of-month, general ledger, schedules, parts ordering,
                                                                            24    that sort of thing.
                                                                            25                       What's happens is -- and that's that the
                                                                                                                Veritext Legal Solutions
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                                                                            1     customer is -- is allowed to, unknowingly, kind of step
                                                                            2     off into a hole where response time is going to be
                                                                            3     terrible throughout the whole system because they let
                                                                            4     too many things get going.
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                                                                            5                      And what -- what this is -- is this
                                                                            6     typically is a battle between the accounting department
                                                                            7     and the parts and service departments.               Because the
                                                                            8     accounting department's end-of-month, they have all
                                                                            9     manner of big, long, huge reports they want to run, and
                                                                            10    they can basically gobble the capacity of the -- of the
                                                                            11    server completely so that the people in the parts
                                                                            12    department, when they're doing -- they're selling parts,
                                                                            13    printing invoices, whatnot, service advisors are writing
                                                                            14    repair orders and printing service invoices -- their
                                                                            15    response time is terrible.
                                                                            16                     So there is a -- a place inside the Linux
                                                                            17    operating system where you can go and interrogate and
                                                                            18    see how busy the whole system is.             And syscheck, what it
                                                                            19    does is in essence that it goes and checks that area,
                                                                            20    you know, meter -- think of it as a meter -- checks that
                                                                            21    meter to see how busy things are.             Things are too busy,
                                                                            22    it will not let somebody -- a user start a batch job,
                                                                            23    because if they do, they're going to destroy, you know,
                                                                            24    response times for the parts department and the service
                                                                            25    department.     That's what syscheck is all about.               It
                                                                                                              Veritext Legal Solutions
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                                                                                                                                                    Page 153
                                                                            1     works really good.
                                                                            2            Q.    (By Mr. Nemelka)        And you wrote that syscheck
                                                                            3     would be a way that we randomly cause Authenticom some
                                                                            4     grief.      How would you cause Authenticom grief through
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                                                                            5     syscheck?
                                                                            6                        MS. GULLEY:       Objection; form.
                                                                            7            A.    Because the -- they run batch jobs in order to,
                                                                            8     you know, get their -- get their business done, and
                                                                            9     syscheck does not know that it's -- it's -- it's
                                                                            10    Authenticom doing things.            All they know is that
                                                                            11    somebody is asking for a batch job and the system is
                                                                            12    already too busy.
                                                                            13                       (Exhibit 655 was marked for
                                                                            14                         identification.)
                                                                            15           Q.    (By Mr. Nemelka)        I've handed you Plaintiff's
                                                                            16    Exhibit 655, which is an email from you to Tommy Barras,
                                                                            17    dated August 15, 2017.           And the subject of the email is
                                                                            18    "Great day," and he's giving you an update on exemption
                                                                            19    numbers; correct?
                                                                            20           A.    That's correct.
                                                                            21           Q.    And these exemptions are user IDs that Reynolds
                                                                            22    had exempted for various data access points; correct?
                                                                            23                       MS. GULLEY:       Form.
                                                                            24           A.    That's correct.
                                                                            25           Q.    (By Mr. Nemelka)        And what he says is, "Today
                                                                                                                Veritext Legal Solutions
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                                                                            1     is a good day from the security standpoint.                        Number of
                                                                            2     exemption dropped from 932 to 526 in one week."                         So
                                                                            3     as -- in August 14, 2017, you still had 932 exempt user
                                                                            4     IDs, but that dropped to 527 in one week?                       Is that what
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                                                                            5     he's saying here?
                                                                            6                           MS. GULLEY:       Form.
                                                                            7            A.     That's correct.
                                                                            8            Q.     (By Mr. Nemelka)          And then, at the end he
                                                                            9     writes, "Been a long road but we went from 12,000[+]
                                                                            10    exemptions at the beginning to just over 500 ten years
                                                                            11    later."       Do you see that?
                                                                            12                          MS. GULLEY:       Form.
                                                                            13           A.     Yes, I do.
                                                                            14           Q.     (By Mr. Nemelka)          And then you respond, "I
                                                                            15    agree - it has been a long pull - good to get there."
                                                                            16    Right?
                                                                            17                          MS. GULLEY:       Form.
                                                                            18           A.     Umm... (Pause.)
                                                                            19           Q.     (By Mr. Nemelka)          Your email at the very top?
                                                                            20           A.     Okay.     Yes.     That -- that's what it says.                It
                                                                            21    has been a very long haul.
                                                                            22           Q.     All right.
                                                                            23           A.     A long haul.        And frankly, by now -- it's now
                                                                            24    down -- I think it's 300 or less.
                                                                            25           Q.     Today?
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 155
                                                                            1            A.    Today, uh-huh.        I will not be completely happy
                                                                            2     until it's zero.
                                                                            3            Q.    And these exemptions are the protected user
                                                                            4     IDs, right?
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                                                                            5                        MS. GULLEY:       Objection; form.
                                                                            6            A.    That's correct.
                                                                            7            Q.    (By Mr. Nemelka)        Mr. Brockman, you believed
                                                                            8     that for vendors to truly make their apps work, they're
                                                                            9     going to require RCI interface forever from Reynolds,
                                                                            10    and the equivalent from CDK as well, right?
                                                                            11                       MS. GULLEY:       Form.
                                                                            12           A.    I -- I think that would depend entirely on the
                                                                            13    type of interface.          And by that, there is -- there are
                                                                            14    certain interfaces that are what we call "batch jobs."
                                                                            15    And -- you know, these are situations where our
                                                                            16    reporting software will, you know, with ease, you know,
                                                                            17    create the data extracts that the dealer's looking for
                                                                            18    for these types of -- of batch jobs, where they can --
                                                                            19    they can run that batch job, you know, themselves and
                                                                            20    send it off themselves to whoev- -- you know, we --
                                                                            21    there's no restriction on that.
                                                                            22                       But if they want it to be done conveniently
                                                                            23    and happen every day with hands off, or whatever, that's
                                                                            24    where RCI interface takes place.
                                                                            25                       Now, there's -- there's a second type of
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                                                                            1     interface which is where the third party is -- is asking
                                                                            2     something to be done within our software.                  And the
                                                                            3     classic example of that is Xtime.               You know, Xtime, in
                                                                            4     order for their software to work, they have to be able
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                                                                            5     to create reservation records.              And they have to be able
                                                                            6     to look at, you know, service history.
                                                                            7                        Those types of applications, since they're
                                                                            8     actually part of our software, in order -- you know, for
                                                                            9     their application to -- to work, you know, their RCI to
                                                                            10    work, they got to keep doing it forever.                  As long as
                                                                            11    Xtime does what Xtime does, you know, they have to do it
                                                                            12    within our system.
                                                                            13           Q.    (By Mr. Nemelka)        And what if they were to get
                                                                            14    cut off by Reynolds?          What -- what -- how would they --
                                                                            15    how would they operate?
                                                                            16                       MS. GULLEY:       Objection; form.
                                                                            17           A.    Well, since their -- their -- their stuff
                                                                            18    actually runs inside our software, you know, they would
                                                                            19    basically be unable to use our software to accomplish,
                                                                            20    you know, what they do today.
                                                                            21           Q.    (By Mr. Nemelka)        You believe that the Reynolds
                                                                            22    DMS product is -- is a sticky product, right?
                                                                            23                       MS. GULLEY:       Objection; form.
                                                                            24           A.    I don't think I've ever used that term in
                                                                            25    relationship to the DMS.            I've used that -- that term in
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                                                                                                                                                    Page 157
                                                                            1     relationship to specific products.                By "stickiness,"
                                                                            2     what I mean is -- is they're so advantageous to the
                                                                            3     dealership from a financial standpoint that they would
                                                                            4     be -- they would have to think hard about changing to
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                                                                            5     another DMS provider.
                                                                            6            Q.    (By Mr. Nemelka)        And what you're referring to
                                                                            7     is the collection of the DMS, along with docuPAD and the
                                                                            8     other applications, as you were describing, that form
                                                                            9     the -- the retail management system; correct?
                                                                            10                       MS. GULLEY:       Objection; form.
                                                                            11           A.    That's -- that's close.           Okay?    That's not
                                                                            12    exactly correct, but it's pretty close.
                                                                            13           Q.    (By Mr. Nemelka)        Okay.     So finish it for me.
                                                                            14    What did I miss?
                                                                            15                       MS. GULLEY:       Form.
                                                                            16           A.    Well, we talk about stickiness in regards to
                                                                            17    specific products, like docuPAD, for instance.                    You
                                                                            18    know, we don't refer to the RMS itself as being -- which
                                                                            19    is the collection of everything -- as being sticky.                     We
                                                                            20    talk about specific products.
                                                                            21                       MS. GULLEY:       Were you done with your
                                                                            22    answer?
                                                                            23                       THE WITNESS:        Yeah.
                                                                            24                       MS. GULLEY:       Okay.
                                                                            25                       MR. NEMELKA:        I wasn't starting to ask a
                                                                                                                Veritext Legal Solutions
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                                                                            1     question.
                                                                            2            Q.    (By Mr. Nemelka)        And you believe that the
                                                                            3     value in your sticky products is so huge as to overcome
                                                                            4     any economic advantage offered by CDK and Cox in their
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                                                                            5     offerings; correct?
                                                                            6                        MS. GULLEY:       Objection to the form.
                                                                            7            A.    I believe that statement to be correct.
                                                                            8            Q.    (By Mr. Nemelka)        Let's go off the record.
                                                                            9                        THE VIDEOGRAPHER:         This is the end of Media
                                                                            10    2.   The time is 2:34 -- I'm sorry, 2:35 p.m.                  We're off
                                                                            11    the record.
                                                                            12                       (Short recess 2:35 to 2:50 p.m.)
                                                                            13                       THE VIDEOGRAPHER:         This is the beginning of
                                                                            14    Media 3.      The time is 2:50 p.m.          We're back on the
                                                                            15    record.
                                                                            16                       (Exhibit 656 was marked for
                                                                            17                         identification.)
                                                                            18           Q.    (By Mr. Nemelka)        Mr. Brockman, I just wanted
                                                                            19    to show you the document where you made that statement
                                                                            20    about stickiness.         It's Plaintiff's Exhibit 656.
                                                                            21                       MS. GULLEY:       I object to the statement.
                                                                            22           Q.    (By Mr. Nemelka)        This is an email that you
                                                                            23    sent to Keith Hill, Tuesday, November 28, 2017.                    Do you
                                                                            24    see that?
                                                                            25                       MS. GULLEY:       Objection; form.
                                                                                                                Veritext Legal Solutions
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                                                                            1            A.    Yeah, November 28th, 2017?
                                                                            2            Q.    (By Mr. Nemelka)        Yes.
                                                                            3            A.    Yes.
                                                                            4            Q.    And the second sentence says you -- or third
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                                                                            5     sentence -- whatever -- second line of your email is,
                                                                            6     "The value in our sticky products is so huge as to
                                                                            7     overcome any economic advantage offered by CDK and Cox."
                                                                            8     Do you see that?
                                                                            9                         MS. GULLEY:      Objection; form.
                                                                            10           A.    And what I'm talking about is -- and that's you
                                                                            11    take, for instance, docuPAD.             Average increase in gross
                                                                            12    profit per sale -- per new unit sold, docuPAD, is right
                                                                            13    at $200.      If you take a -- a typical finance manager
                                                                            14    will do 70-plus transactions a month.                 That's $14,000 a
                                                                            15    month worth of additional gross.               Now, if you got -- if
                                                                            16    you got five finance managers, that's 14,000 times 5.
                                                                            17    The numbers are crazy.
                                                                            18                        And that's -- the -- the stickiness issue
                                                                            19    is -- we're not, you know -- no, we're not putting
                                                                            20    sticky stuff on people.            It's -- it's the additional
                                                                            21    gross profit to the dealership is -- is compelling.
                                                                            22                        And -- and, you know, you perhaps have
                                                                            23    seen, you know, in Automotive News, where we run ads.
                                                                            24    These are direct quotes from people that you can call on
                                                                            25    the phone where they say, you know, "Reynolds product,
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 160
                                                                            1     docuPAD, pays my entire bill."
                                                                            2            Q.    (By Mr. Nemelka)        And they have to have the
                                                                            3     Reynolds DMS in order to use docuPAD; correct?
                                                                            4            A.    That's correct.
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                                                                            5            Q.    So that helps with the stickiness of the
                                                                            6     Reynolds DMS; correct?
                                                                            7                        MS. GULLEY:       Objection; form.
                                                                            8            A.    That's correct.
                                                                            9            Q.    (By Mr. Nemelka)        Okay.     You can set that
                                                                            10    aside.
                                                                            11                       Mr. Brockman, my last few questions are
                                                                            12    just about your -- your email accounts.                 You -- you've
                                                                            13    seen that we have an email account for -- for your
                                                                            14    Reynolds business, right?
                                                                            15           A.    I only have one email account, period.
                                                                            16           Q.    You don't have -- do you have any other -- do
                                                                            17    you have, like, a Gmail account?
                                                                            18           A.    No.
                                                                            19           Q.    The only email account you use is the -- is the
                                                                            20    single Reynolds?
                                                                            21           A.    That has all of my personal data in it.
                                                                            22           Q.    And -- so all of your personal emails go
                                                                            23    through your -- your Reynolds email account as well?
                                                                            24           A.    Yeah, I'm -- I've been planning now for several
                                                                            25    months to change that, but it is -- you know, the
                                                                                                                Veritext Legal Solutions
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                                                                            1     notification of senders is a big issue.                  And I haven't
                                                                            2     been able to find the time to bite down and get that
                                                                            3     done.
                                                                            4             Q.    And so do you have a doc- -- do your emails get
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                                                                            5     preserved -- that -- for your Reynolds email account?
                                                                            6                         MS. GULLEY:       Objection; form.
                                                                            7             A.    They are all being preserved, at this point.
                                                                            8             Q.    (By Mr. Nemelka)        And were they preserved back
                                                                            9     in 2016, 2015?
                                                                            10                        MS. GULLEY:       Objection; form.
                                                                            11            A.    My retention was somewhere between six -- six
                                                                            12    months and a year.           Now, based upon how full my
                                                                            13    Outlook.pst file was getting -- and I get mountains of
                                                                            14    email.       I mean, I spend half my life looking at email.
                                                                            15    And I don't smile at this, because I'm not intending it
                                                                            16    to be a joke, it's real.
                                                                            17                        In our organization, there's a lot of
                                                                            18    hunting, and a lot fishing goes on.                 And, you know, in
                                                                            19    my organization, almost all my friends are inside the
                                                                            20    organization, and we're hunting and fishing buddies, and
                                                                            21    we swap fish pictures and hunting pictures.                    And they're
                                                                            22    10 meg, and they're high res, and a good fish picture
                                                                            23    deserves a really high res picture, and all that takes
                                                                            24    up space.       And so therefore, I -- I find that I have to
                                                                            25    go back and delete --
                                                                                                                 Veritext Legal Solutions
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                                                                            1            Q.    (By Mr. Nemelka)        Do you have a laptop that you
                                                                            2     use for business-related matters?
                                                                            3                          MS. GULLEY:     Form.
                                                                            4            A.    I just have one computer.
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                                                                            5            Q.    (By Mr. Nemelka)        And is that a -- is that a
                                                                            6     laptop?
                                                                            7            A.    Yes.
                                                                            8            Q.    And do you download your email on to the
                                                                            9     laptop?
                                                                            10           A.    Correct.
                                                                            11           Q.    And did you do that back in 2016, 2015?
                                                                            12           A.    I've always done it that way.
                                                                            13           Q.    And do you have your emails backed up -- your
                                                                            14    historical emails backed up, then, on that laptop?
                                                                            15           A.    No.     I don't.    When -- when the things get
                                                                            16    purged, I'm -- I'm a -- still the old school.                    I -- I
                                                                            17    confess, it's perhaps my age; I like paper.                   And so
                                                                            18    anything that's -- that's worth keeping long term is
                                                                            19    printed and put in a file.
                                                                            20           Q.    So you print out your emails and documents that
                                                                            21    are worth preserving and they're put in files?
                                                                            22           A.    Yes.
                                                                            23           Q.    Okay.     Has Reynolds ever issued any external
                                                                            24    backup drive to either back up your -- your laptop?
                                                                            25           A.    No.     They did not.
                                                                                                                Veritext Legal Solutions
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                                                                            1            Q.    Apart from printing them out, do you print them
                                                                            2     out yourself or do you have your assistant print them
                                                                            3     out?
                                                                            4            A.    I do it myself.
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                                                                            5            Q.    Are those files kept at your home or in your
                                                                            6     office at Reynolds?
                                                                            7            A.    At home.
                                                                            8            Q.    Do you use any other method, besides that
                                                                            9     printout, to back up your emails or documents?
                                                                            10           A.    No.
                                                                            11           Q.    Do you use any tablets or mobile phones?
                                                                            12           A.    I have a mobile phone.
                                                                            13           Q.    Mobile phone.       Any tablets?
                                                                            14           A.    No.
                                                                            15           Q.    And did your attorneys provide you with a
                                                                            16    litigation hold notice?
                                                                            17                       MS. GULLEY:       Objection; form.
                                                                            18           A.    Yes, they did.
                                                                            19                       MR. NEMELKA:        All right.      I have no further
                                                                            20    questions today.
                                                                            21                       MS. GULLEY:       Okay.     Let's go off.
                                                                            22                       THE VIDEOGRAPHER:         This concludes today's
                                                                            23    proceeding for Mr. Robert Brockman.                The time is 2:56
                                                                            24    p.m., and we're off the record.
                                                                            25                       (Deposition adjourned at 2:56 p.m.)
                                                                                                                Veritext Legal Solutions
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                                                                            1                   IN THE UNITED STATES DISTRICT COURT
                                                                                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                            2                               EASTERN DIVISION
                                                                            3                                           )
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                                                                                     IN RE: DEALER MANAGEMENT           ) MDL NO. 2817
                                                                            4        SYSTEMS ANTITRUST                  )
                                                                                     LITIGATION,                        ) CASE NO. 18 C 864
                                                                            5                                           )
                                                                            6
                                                                            7
                                                                            8                         REPORTER'S CERTIFICATION
                                                                            9          ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN
                                                                            10                              January 16, 2019
                                                                            11                                   Volume 1
                                                                            12
                                                                            13                 I, SHAUNA L. BEACH, Certified Shorthand
                                                                            14    Reporter in and for the State of Texas, do hereby
                                                                            15    certify to the following:
                                                                            16                 That the witness, ROBERT BROCKMAN, was duly
                                                                            17    sworn by the officer and that the transcript of the oral
                                                                            18    deposition is a true record of the testimony given by
                                                                            19    the witness;
                                                                            20                 I further certify that pursuant to FRCP Rule
                                                                            21    30(e)(1) that the signature of the deponent:
                                                                            22                 _X_ was requested by the deponent or a party
                                                                            23    before the completion of the deposition and is to be
                                                                            24    returned within 30 days from the date of receipt of the
                                                                            25    transcript.      If returned, the attached Changes and
                                                                                                              Veritext Legal Solutions
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                                                                            1     Signature Page contains any changes and the reasons
                                                                            2     therefor;
                                                                            3                   ___ was not requested by the deponent or a
                                                                            4     party before the completion of the deposition.
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                                                                            5                   I further certify that I am neither counsel
                                                                            6     for, related to, nor employed by any of the parties or
                                                                            7     attorneys to the action in which this proceeding was
                                                                            8     taken.     Further, I am not a relative or employee of any
                                                                            9     attorney of record in this cause, nor am I financially
                                                                            10    or otherwise interested in the outcome of the action.
                                                                            11                    Subscribed and sworn to on this
                                                                            12                25th of January, 2019.
                                                                            13
                                                                            14
                                                                            15
                                                                                                              <%16953,Signature%>
                                                                            16                        ____________________________________
                                                                            17                        SHAUNA L. BEACH, RDR, CRR, CSR #8408
                                                                                                      Expiration Date:           12/31/2019
                                                                            18
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                                                                            1          In Re: Dealer Management Systems Antitrust Litigation v.
                                                                            2                                          Robert Brockman
                                                                            3            INSTRUCTIONS TO THE WITNESS
                                                                            4                  Please read your deposition over
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                                                                            5        carefully and make any necessary corrections.
                                                                            6        You should state the reason in the
                                                                            7        appropriate space on the errata sheet for any
                                                                            8        corrections that are made.
                                                                            9                  After doing so, please sign the errata
                                                                            10       sheet and date it.
                                                                            11                 You are signing same subject to the
                                                                            12       changes you have noted on the errata sheet,
                                                                            13       which will be attached to your deposition.
                                                                            14                 It is imperative that you return the
                                                                            15       original errata sheet to the deposing
                                                                            16       attorney within thirty (30) days of receipt
                                                                            17       of the deposition transcript by you.                If you
                                                                            18       fail to do so, the deposition transcript may
                                                                            19       be deemed to be accurate and may be used in
                                                                            20       court.
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                                                                            4                         I, ______________________, do
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                                                                            5        hereby certify that I have read the foregoing
                                                                            6        pages and that the same is a correct
                                                                            7        transcription of the answers given by
                                                                            8        me to the questions therein propounded,
                                                                            9        except for the corrections or changes in form
                                                                            10       or substance, if any, noted in the attached
                                                                            11       Errata Sheet.
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                                                                            as submitted by the court reporter. Veritext Legal
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                                                                            exhibits, if any, are true, correct and complete
                                                                            documents as submitted by the court reporter and/or
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                                                                            1                   IN THE UNITED STATES DISTRICT COURT
                                                                                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                            2                               EASTERN DIVISION
                                                                            3                                           )
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                                                                                     IN RE: DEALER MANAGEMENT           ) MDL NO. 2817
                                                                            4        SYSTEMS ANTITRUST                  )
                                                                                     LITIGATION,                        ) CASE NO. 18 C 864
                                                                            5                                           )
                                                                            6
                                                                            7
                                                                            8     ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN, VOL 2
                                                                            9              Highly Confidential - Attorneys' Eyes Only
                                                                            10                              January 17, 2019
                                                                            11
                                                                            12           ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN,
                                                                            13    VOLUME 2, produced as a witness at the instance of the
                                                                            14    PLAINTIFF(S), and duly sworn, was taken in the
                                                                            15    above-styled and numbered cause on the 17th day of
                                                                            16    January, 2019, from 9:07 a.m. to 4:43 p.m., via
                                                                            17    telephone, before Shauna L. Beach, RDR, CRR, CSR in and
                                                                            18    for the State of Texas, reported by machine shorthand,
                                                                            19    at the law offices of Gibbs & Bruns, LLP, 1100
                                                                            20    Louisiana, Suite 5300, Houston Texas              77002, pursuant to
                                                                            21    the Federal Rules of Civil Procedure and the provisions
                                                                            22    stated on the record or attached hereto.
                                                                            23
                                                                            24
                                                                            25
                                                                                                              Veritext Legal Solutions
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                                                                            1                       A P P E A R A N C E S
                                                                            2     FOR THE WITNESS:
                                                                            3          AUNDREA K. GULLEY
                                                                                       BRICE WILKINSON
                                                                            4          Gibbs & Bruns, LLP
                                                                                       1100 Louisiana
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                                                                                       bwilkinson@gibbsbruns.com
                                                                            7
                                                                                  FOR AUTHENTICOM, COX AUTOMOTIVE AND IT'S NAMED PLAINTIFF
                                                                            8     SUBSIDIARIES, MDSC, AUTOLOOP AS A REPRESENTATIVE OF THE
                                                                                  VENDOR CLASS:
                                                                            9
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                                                                            10         JOSEPH LONG
                                                                                       Kellogg Hansen Todd Figel & Frederick
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                                                                                       ROBERT WALLNER (appearing telephonically)
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                                                                            1                              A P P E A R A N C E S
                                                                            2     FOR THE WITNESS:
                                                                            3            MICHAEL P.A. COHEN
                                                                                         Sheppard Mullin
                                                                            4            2099 Pennsylvania Avenue
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                                                                                         Suite 100
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                                                                                         mcohen@sheppardmullin.com
                                                                            6
                                                                                  ALSO PRESENT:
                                                                            7
                                                                                         SCOTT CHERRY
                                                                            8            Vice President - General Counsel at The Reynolds
                                                                                         and Reynolds Company
                                                                            9
                                                                                         Ben Harwood, Videographer
                                                                            10
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                                                                            15    15
                                                                            16    16 It came to our attention earlier today that there was an
                                                                                  inadvertent mis-numbering of exhibits at the deposition of Ronald
                                                                            17    17    Lamb, causing a duplication of exhibits
                                                                            18    18 “Plaintiffs‘-670” through “Plaintiffs‘-679.” Accordingly,
                                                                            19    19    Veritext will be adjusting the numbering of the duplicate
                                                                            20    20     exhibits to reflect the deponent
                                                                            21    21
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                                                                                              Brockman dated November 9, 2016
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                                                                            4                 REYMDL00263304
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                                                                            5                 Eyes Only
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                                                                                              Christopher Rulon from Bob Brockman
                                                                            7                 dated September 17, 2013
                                                                                              REYMDL00611282 - REYMDL00611284
                                                                            8                 Highly Confidential - Attorneys'
                                                                                              Eyes Only
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                                                                            10                Bob Brockman from Ronald Lamb dated
                                                                                              September 2, 2015
                                                                            11                REYMDL00244021 - REYMDL00244025
                                                                                              Highly Confidential - Attorneys'
                                                                            12                Eyes Only
                                                                            13    Exhibit 658 Email chain ending with email to    201
                                                                                              Robert Schaefer from Bob Brockman
                                                                            14                dated April 30, 2015
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                                                                            15                Highly Confidential - Attorneys'
                                                                                              Eyes Only
                                                                            16
                                                                                  Exhibit 659 Email chain ending with email to    213
                                                                            17                Bob Brockman from Ron Workman dated
                                                                                              December 24, 2015
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                                                                            23    Exhibit 661 Email chain ending with email to    229
                                                                                              Bob Brockman from Robert Schaefer
                                                                            24                dated January 5, 2016
                                                                                              REYMDL00045556
                                                                            25            Highly Confidential - Attorneys'Eyes Only
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                                                                                              Keith Hill from Bob Brockman dated
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                                                                            8                 Highly Confidential - Attorneys'
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                                                                                              Bob Brockman from Robert Schaefer
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                                                                            21                Schaefer dated June 1, 2016
                                                                                              REYMDL00068321 - REYMDL00068325
                                                                            22                Highly Confidential - Attorneys'
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                                                                            5                 Eyes Only
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                                                                            7                 dated August 12, 2016
                                                                                              REYMDL00238490 - REYMDL00238491
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                                                                            12    12    Exhibit 677     Email chain ending with email to                  289
                                                                                        Brockman        Robert Schafer from Bob Brockman
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                                                                            1                           P R O C E E D I N G S
                                                                            2                      THE VIDEOGRAPHER:         Good morning.        Today is
                                                                            3     January 17th, 2019.        We're on the record at 9:07 a.m.
                                                                            4     This is the continued recorded deposition of Mr. Robert
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                                                                            5     Brockman in the matter of In Re: Dealer Management
                                                                            6     Systems Antitrust Litigation in the United States
                                                                            7     District Court for the Northern District of Illinois in
                                                                            8     the Eastern Division.
                                                                            9                      My name is Ben Harwood, and I'm the
                                                                            10    videographer present on behalf of Veritext.                 The court
                                                                            11    reporter is Shauna Beach, also present on behalf of
                                                                            12    Veritext.     This deposition is being held at Gibbs &
                                                                            13    Bruns, LLP, located at 1100 Louisiana Street, Suite
                                                                            14    5300, in Houston, Texas, ZIP Code 77002.
                                                                            15                     Will counsel please state their appearance
                                                                            16    and firm affiliation for the record.
                                                                            17                     MS. WEDGWORTH:        Peggy Wedgworth, from
                                                                            18    Milberg Tadler Phillips Grossman, on behalf of
                                                                            19    Dealership Class Plaintiffs.
                                                                            20                     MR. HUGHES:       John Hughes, Milberg Tadler
                                                                            21    Phillips Grossman, representing Dealership Class
                                                                            22    Plaintiffs.
                                                                            23                     MR. NEMELKA:        Mike Nemelka from Kellogg
                                                                            24    Hansen, representing the Individual and Dealership Class
                                                                            25    Plaintiffs, and with my colleague, Joe Long.
                                                                                                              Veritext Legal Solutions
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                                                                            1                        MS. GULLEY:       Andi Gulley, from Gibbs &
                                                                            2     Bruns, representing Mr. Brockman and the Reynolds and
                                                                            3     Reynolds Company.
                                                                            4                        MR. WILKINSON:        Brice Wilkinson, also with
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                                                                            5     Gibbs & Bruns.
                                                                            6                        MR. COHEN:       Michael Cohen, with Sheppard
                                                                            7     Mullin, representing the defendant, the Reynolds and
                                                                            8     Reynolds Company and the witness, Mr. Brockman.
                                                                            9                        MR. RYAN:       Mark Ryan, from Mayer Brown, on
                                                                            10    behalf of CDK Global.
                                                                            11                       THE VIDEOGRAPHER:         Will the court reporter
                                                                            12    please swear in the witness and we may proceed.
                                                                            13                            ROBERT THERON BROCKMAN,
                                                                            14    having been first duly sworn, testified as follows:
                                                                            15                                    EXAMINATION
                                                                            16    BY MS. WEDGWORTH:
                                                                            17           Q.    Good morning, Mr. Brockman.            As we started
                                                                            18    yesterday, I'll just ask you -- all of the rules we put
                                                                            19    in place yesterday, are you okay with continuing those
                                                                            20    same rules today?
                                                                            21           A.    Yes, ma'am.
                                                                            22           Q.    So if you answer a question, I'll assume you
                                                                            23    understand the question.            Is that fair?
                                                                            24           A.    Yes, ma'am.
                                                                            25           Q.    And if you don't understand, please, let me
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                                                                            1     know and I'll restate the question.                    And if you need to
                                                                            2     take a break at any time, please, let me know.                          I'm
                                                                            3     happy to take a break as long as there's a question not
                                                                            4     pending.       I'll ask that you answer the question before
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                                                                            5     we take a break, if that -- can you agree to that?
                                                                            6            A.     Yes, ma'am.
                                                                            7            Q.     Okay.     I wanted to start today on a different
                                                                            8     topic of converting dealerships.                   When they convert
                                                                            9     DMSs, does Reynolds track all dealerships who convert
                                                                            10    DMSs -- or switch DMSs?
                                                                            11                          MS. GULLEY:       Form.
                                                                            12           A.     I'm sorry.       I don't understand.
                                                                            13           Q.     (By Ms. Wedgworth)           Well, when a dealership
                                                                            14    switches, say, from a Reynolds DMS to a CDK DMS, does
                                                                            15    Reynolds track that conversion?
                                                                            16                          MS. GULLEY:       Form.
                                                                            17           A.     That's not -- we consider that a -- a lost
                                                                            18    customer.        The concept of conversion is not part of
                                                                            19    anything that we keep track of.
                                                                            20           Q.     (By Ms. Wedgworth)           So Reynolds --
                                                                            21           A.     When you lose a customer, I mean, it's implied
                                                                            22    that there's a -- obviously, there has to be a
                                                                            23    conversion involved, I suppose, so we don't think about
                                                                            24    it -- it in those terms.               And therefore, I can't say
                                                                            25    that -- that we track conversions.                    We track lost
                                                                                                                Veritext Legal Solutions
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                                                                            1     customers.
                                                                            2             Q.     When a dealership -- do you call it "converts"
                                                                            3     or "switches"?
                                                                            4             A.     We use either term.
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                                                                            5             Q.     So when a dealership converts DMS, there are
                                                                            6     risks, correct, to the dealership?
                                                                            7                          MS. GULLEY:       Objection; form.
                                                                            8             A.     A risk?
                                                                            9             Q.     (By Ms. Wedgworth)         Risk, yes.      Risk in loss of
                                                                            10    sales, loss of customers, loss of employees, are there
                                                                            11    risks when a DMS switches -- when a dealership switches
                                                                            12    DMS?
                                                                            13                         MS. GULLEY:       Objection; form.
                                                                            14            A.     I don't know that I would characterize it as
                                                                            15    risk.        There's certain overhead that is involved,
                                                                            16    because the dealership's employees have to learn new
                                                                            17    software.        And I'm sure you've been through situations
                                                                            18    where you had to change from one software package to
                                                                            19    another software package.
                                                                            20                         You know, you've got to learn how -- it's
                                                                            21    kind of like I have a new iPhone, and I -- I've never
                                                                            22    had iPhones before.            I've always had Androids.            And
                                                                            23    it's, you know, quite different.                 And so therefore,
                                                                            24    there's overhead.           I wouldn't call that "risk."
                                                                            25            Q.     (By Ms. Wedgworth)         Is it fair to say that in
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                                                                            1     the first year or two after a DMS conversion by a
                                                                            2     dealership, there is employee turnover at the dealership
                                                                            3     in nearly all cases?
                                                                            4                        MS. GULLEY:       Objection; form.
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                                                                            5            A.    I would not agree that that has anything to do
                                                                            6     with conversions.         Turnover in dealerships is
                                                                            7     astronomical.        For instance, in the sales department in
                                                                            8     the dealership, 100 percent turnover a year is quite
                                                                            9     common.      It's not that high a percentage in other parts
                                                                            10    of the dealership, but as an industry, the turnover by
                                                                            11    -- by my standards is horrible.
                                                                            12           Q.    (By Ms. Wedgworth)         And is some of that
                                                                            13    turnover for some dealerships a factor of a DMS
                                                                            14    conversion?
                                                                            15                       MS. GULLEY:       Objection; form.
                                                                            16           A.    Ma'am, I -- I don't know that I can say that.
                                                                            17    You know, certainly a conversion that -- that goes
                                                                            18    poorly -- frankly, the principal reason for a conversion
                                                                            19    going poorly is the people refuse to learn the new
                                                                            20    software.
                                                                            21           Q.    (By Ms. Wedgworth)         And that's a cost for the
                                                                            22    dealership; correct?
                                                                            23                       MS. GULLEY:       Form.
                                                                            24           A.    Certainly if the dealership personnel will not
                                                                            25    learn the new software, which causes the conversion to
                                                                                                                Veritext Legal Solutions
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                                                                            1     not go as smoothly as it should, certainly that's a cost
                                                                            2     to the dealership.
                                                                            3            Q.    (By Ms. Wedgworth)         Is it fair to say that for
                                                                            4     some dealerships, switching DMS can take years to
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                                                                            5     recover from?
                                                                            6                        MS. GULLEY:       Objection; form.
                                                                            7            A.    I think that that would be not a fair
                                                                            8     statement.       There's certainly -- that has happened, you
                                                                            9     know -- you know, several times in my experience in the
                                                                            10    business, but it's not -- it does not generally happen.
                                                                            11           Q.    (By Ms. Wedgworth)         Is it fair to say that
                                                                            12    there is employee turnover after a dealership switches
                                                                            13    DMS?
                                                                            14                       MS. GULLEY:       Objection; form.
                                                                            15           A.    I personally don't believe that, any more than
                                                                            16    usual, which is horrible.            The turnover by itself,
                                                                            17    absent anything, is -- is unsatisfactory, in my opinion.
                                                                            18           Q.    (By Ms. Wedgworth)         Is it fair to say there's
                                                                            19    customer disruption after a dealership switches DMS?
                                                                            20                       MS. GULLEY:       Objection; form.
                                                                            21           A.    Again, I think the source of disruption
                                                                            22    would -- would occur not because the conversion itself,
                                                                            23    but because of the -- the poor attention that dealership
                                                                            24    employees pay to learning the new system.                  It is -- it's
                                                                            25    one of our -- our chief problems in the business.
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                                                                            1            Q.    (By Ms. Wedgworth)         So when a dealership is
                                                                            2     considering switching DMS, they have to consider whether
                                                                            3     or not their employees can efficiently integrate into
                                                                            4     the new system; is that correct?
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                                                                            5                        MS. GULLEY:       Objection; form.
                                                                            6            A.    That is a correct statement.
                                                                            7            Q.    (By Ms. Wedgworth)         Is it fair to say that if a
                                                                            8     dealership does choose to convert, that that conversion
                                                                            9     cannot be done quickly?
                                                                            10                       MS. GULLEY:       Objection; form.
                                                                            11           A.    No, I don't agree with that.             The -- the
                                                                            12    conversion process, you know, properly done, where the
                                                                            13    dealership personnel do what they're supposed to do as
                                                                            14    far as learning the new system, that -- that conversion
                                                                            15    can go very quickly.          And again, I'll repeat again, if
                                                                            16    they're not diligent in learning the new software,
                                                                            17    conversion process can drag on until they finally, you
                                                                            18    know, give up and decide to accept the new system and to
                                                                            19    learn it.
                                                                            20           Q.    (By Ms. Wedgworth)         And when you say "drag on,"
                                                                            21    sometimes that can be up to two years; correct?
                                                                            22                       MS. GULLEY:       Objection; form.
                                                                            23           A.    No, I think that would be more -- more -- more
                                                                            24    on the line of two to three months.
                                                                            25           Q.    (By Ms. Wedgworth)         So when you say "drag on,"
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                                                                            1     you don't mean longer than two or three months?
                                                                            2                        MS. GULLEY:       Objection; form.
                                                                            3            A.    That's correct, ma'am.
                                                                            4            Q.    (By Ms. Wedgworth)         If a dealership changes
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                                                                            5     DMS, they may have to acquire new servers; correct?
                                                                            6            A.    That's correct.
                                                                            7            Q.    And they may have to acquire new printers;
                                                                            8     correct?
                                                                            9            A.    Typically not new printers.            Printers are
                                                                            10    pretty much universal pieces of equipment and,
                                                                            11    especially since everything is laser printers now, laser
                                                                            12    printers are very standard.
                                                                            13           Q.    So it's not typical when you change DMS that
                                                                            14    you would have to, as a dealer, acquire new printers?
                                                                            15           A.    That's correct.
                                                                            16           Q.    And are -- is there other equipment that
                                                                            17    dealers would have to acquire when they change DMSs?
                                                                            18                       MR. RYAN:       Object to the form.
                                                                            19           A.    No.   PCs are, again, you know, very much
                                                                            20    standardized, and whatever PCs they've got, work.                       I
                                                                            21    personally think that it's very advantageous to acquire
                                                                            22    a second monitor for users -- second monitors are $200.
                                                                            23    We don't even sell them.            Efficiency goes way up when
                                                                            24    you go from, you know, one monitor to two monitors.                         And
                                                                            25    that happens a lot in our installations, but it's just
                                                                                                                Veritext Legal Solutions
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                                                                            1     because we -- we -- you know, tell the dealer, look, if
                                                                            2     you want to have 20 percent more productivity, give
                                                                            3     people a second monitor.            But that's not a requirement.
                                                                            4            Q.    (By Ms. Wedgworth)         If a dealership changes
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                                                                            5     DMS, they also have to get their data transferred from
                                                                            6     the old DMS to the new DMS; correct?
                                                                            7            A.    That's correct.
                                                                            8            Q.    And it can take months for the staff at a
                                                                            9     dealership to get comfortable with that new DMS once the
                                                                            10    data is transferred over; correct?
                                                                            11                       MS. GULLEY:       Form.
                                                                            12           A.    Again, I -- I think that varies greatly by
                                                                            13    individual.       But in -- from a general statement,
                                                                            14    dealership personnel don't stand up and cheer -- jump up
                                                                            15    and down about having to learn a new system any more
                                                                            16    than you would.         It -- it's something that you -- you
                                                                            17    got to concentrate on, you got to pay attention and you
                                                                            18    got to do it.
                                                                            19           Q.    (By Ms. Wedgworth)         It's a complicated process;
                                                                            20    is that fair?
                                                                            21                       MS. GULLEY:       Form.
                                                                            22           A.    It's not a complicated process.              The complexity
                                                                            23    isn't -- people just are sitting in a chair and doing
                                                                            24    it.
                                                                            25           Q.    (By Ms. Wedgworth)         Mr. Brockman, I'll show you
                                                                                                                Veritext Legal Solutions
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                                                                            1     what's been marked as Plaintiff's Exhibit 657.
                                                                            2                        (Exhibit 657 was marked for
                                                                            3                          identification.)
                                                                            4                        MS. WEDGWORTH:        And for the record, it's a
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                                                                            5     document Bates-stamped REYMDL00244021 through 025.                      Have
                                                                            6     you had a chance to review the document?
                                                                            7            A.    Yes, ma'am.
                                                                            8            Q.    (By Ms. Wedgworth)         Is -- is this an email you
                                                                            9     wrote to Mr. Lamb around September 1st, 2015?
                                                                            10           A.    Yes, ma'am.
                                                                            11           Q.    And in this email, did you try to be truthful
                                                                            12    and accurate?
                                                                            13           A.    Yes, ma'am.
                                                                            14           Q.    So the attachment to the email is a letter
                                                                            15    dated November 24, 2014, addressed to Mr. Rick Hendrick
                                                                            16    and is signed by Ron Lamb.             Do you remember reviewing
                                                                            17    this letter?
                                                                            18           A.    Yes, ma'am.
                                                                            19           Q.    And is Mr. Hendrick an owner of the largest
                                                                            20    automotive group -- I'm sorry -- the largest client of
                                                                            21    Reynolds?
                                                                            22           A.    I'm not sure it's the largest client.                It, for
                                                                            23    sure, is the largest privately owned group in the
                                                                            24    country.
                                                                            25           Q.    Are you aware of any client for Reynolds that's
                                                                                                                Veritext Legal Solutions
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                                                                            1     larger than Hendrick?
                                                                            2             A.    I believe at that point in time, the Penske
                                                                            3     organization is -- and still is, because they're the
                                                                            4     second largest publicly owned group in the country.
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                                                                            5             Q.    And if we look at your email at the 1st to
                                                                            6     Mr. Lamb, you write, "Ron, the first half of this letter
                                                                            7     is brilliant.          I made just a slight addition."             Do you
                                                                            8     see that, at the email you wrote to Mr. Lamb?                     First
                                                                            9     sentence?
                                                                            10                          "The first half of this letter is
                                                                            11    brilliant.        I made just a slight addition."              Do you see
                                                                            12    that?
                                                                            13            A.    I saw it.      But now I'm trying to --
                                                                            14            Q.    On the first page, right under the --
                                                                            15            A.    Okay.     Yes, I found -- I found it.
                                                                            16            Q.    And -- and you say, "The first half of the
                                                                            17    letter is brilliant.           I made just a slight addition."
                                                                            18    And then you say, "However starting with 'Upgrade and
                                                                            19    Grow', it loses fire."            Do you see that?
                                                                            20            A.    Yes, ma'am.
                                                                            21            Q.    So if we go to the letter, the first page of
                                                                            22    the letter, under the heading -- this is a letter that
                                                                            23    Mr. Lamb wrote to Mr. Hendrick at a time when Hendrick
                                                                            24    was considering moving from Reynolds to CDK; is that
                                                                            25    correct?
                                                                                                                 Veritext Legal Solutions
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                                                                            1                          MS. GULLEY:      Objection; form.
                                                                            2             A.    Yes, ma'am.
                                                                            3             Q.    (By Ms. Wedgworth)         And, in trying to keep the
                                                                            4     business, Mr. Lamb sends this letter to Mr. Hendrick; is
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                                                                            5     that correct?
                                                                            6             A.    Yes, ma'am.      I think it was primarily intended
                                                                            7     for Mr. Brown.         Mr. Hendrick, at that point in time, was
                                                                            8     not actively involved in -- in this process.                    He was
                                                                            9     the -- the titular head.
                                                                            10                         But as you may or may not be aware, he's
                                                                            11    very involved in stock car racing and, at this point in
                                                                            12    time, he was fully consumed in running the stock car
                                                                            13    racing operation, not the dealership management
                                                                            14    operation.        Mr. Brown was in -- in charge of that.
                                                                            15            Q.    And Mr. Brown's title at Hendrick is -- do you
                                                                            16    know?
                                                                            17            A.    He was president of the automotive group.
                                                                            18            Q.    And in trying to keep the business of the
                                                                            19    Hendrick automotive group, Mr. Lamb writes this letter
                                                                            20    to Mr. -- I'm sorry -- Mr. Lamb writes the letter to
                                                                            21    Mr. Hendrick and Mr. Brown; correct?
                                                                            22            A.    Yes.
                                                                            23            Q.    And in this letter, on the first page, halfway
                                                                            24    down the page, there are "Convert with Risks" where
                                                                            25    Mr. Lamb writes, "Converting 95 dealerships and 29
                                                                                                                 Veritext Legal Solutions
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                                                                            1     collision centers is a major project with serious
                                                                            2     risks."      Do you agree with that statement?
                                                                            3                        MS. GULLEY:       Objection; form.
                                                                            4            A.    Yes, ma'am.      The sheer size of it is -- is what
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                                                                            5     makes it, you know, challenging.               It's one thing to
                                                                            6     convert one dealer or two dealers or four dealers or a
                                                                            7     dozen dealers, whatever, but to convert 95 and 29
                                                                            8     collision centers, the sheer scale, you know, causes it
                                                                            9     to be a -- a very serious project and with risks.
                                                                            10           Q.    (By Ms. Wedgworth)         One of those risks is it
                                                                            11    would take -- likely take years to recover?
                                                                            12                       MS. GULLEY:       Form.
                                                                            13           A.    Well, again, the issue is -- as I've -- as I've
                                                                            14    previously stated, is that the training and education of
                                                                            15    personnel is -- is the biggest problem, by far, in
                                                                            16    conversions.       And if you have, you know, 95 sets of
                                                                            17    personnel, with each dealership has its own personnel
                                                                            18    structure that has to be, you know, taught, they have
                                                                            19    to, you know, accept the fact that change is going to
                                                                            20    happen.      Get serious about learning the new software.
                                                                            21    Again, if you take that project for one dealer or two
                                                                            22    dealers or five dealers -- it's just way greater if it's
                                                                            23    95.    And that -- that causes, you know, the risk
                                                                            24    quotient to go up.
                                                                            25           Q.    (By Ms. Wedgworth)         Even at one dealer, though,
                                                                                                                Veritext Legal Solutions
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                                                                            1     you have the same issue of training the personnel;
                                                                            2     correct?
                                                                            3            A.    Yes.    But it's much smaller.           It could be, for
                                                                            4     instance, the number of people around this table.
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                                                                            5            Q.    Well, it also depends on the size of that
                                                                            6     dealership originally as well; correct?
                                                                            7            A.    That's correct.
                                                                            8            Q.    But here, Mr. Lamb says, "It will likely take
                                                                            9     years to recover."          You agree with that, right?
                                                                            10                        MS. GULLEY:      Form.
                                                                            11           A.    In this particular situation, the level of risk
                                                                            12    was such that, because of the number of people that have
                                                                            13    to be trained, it could take -- assuming it went wrong,
                                                                            14    it could take quite a while.
                                                                            15           Q.    (By Ms. Wedgworth)         The last sentence on this
                                                                            16    page says -- Mr. Lamb writes, "Reynolds tracks all
                                                                            17    dealerships who convert using publicly available data."
                                                                            18    Do you see that?
                                                                            19           A.    Yes, I do.
                                                                            20           Q.    Do you agree with that statement?
                                                                            21           A.    I think that -- that the statement is -- is
                                                                            22    somewhat less than complete, because publicly available
                                                                            23    data -- I think that the -- the number of dealerships
                                                                            24    that are public is less than ten.               I think the number is
                                                                            25    actually, like, seven.           And so while "Reynolds tracks
                                                                                                                Veritext Legal Solutions
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                                                                            1     all dealerships who convert using publicly available
                                                                            2     data" -- it sounds like a lot of dealers, but it's not.
                                                                            3     It's -- it's really only seven or eight.
                                                                            4            Q.    So in this letter that Mr. Lamb writes to the
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                                                                            5     Hendrick Automotive, he's less than complete on this
                                                                            6     statement?
                                                                            7                        MS. GULLEY:       Objection; form.
                                                                            8            A.    No.   I think the -- the state- -- the statement
                                                                            9     as written is true, okay?
                                                                            10           Q.    (By Ms. Wedgworth)         And complete?
                                                                            11                       MS. GULLEY:       Objection; form.
                                                                            12           A.    Well, when you say "complete," as a sentence,
                                                                            13    it certainly is complete.            Is it -- is it a paragraph,
                                                                            14    or is it a page that describes everything that go --
                                                                            15    goes into this statement?            No, it's not.
                                                                            16           Q.    (By Ms. Wedgworth)         Well, you commented that
                                                                            17    the first half of this letter was brilliant.                   Do you
                                                                            18    still stand by that?
                                                                            19                       MS. GULLEY:       Objection; form.
                                                                            20           A.    Well, first of all, I didn't detect any
                                                                            21    spelling errors and, you know, that pleased me a lot.
                                                                            22    Salespeople are not necessarily the greatest as far as
                                                                            23    grammar and, you know, punctuation and spelling and that
                                                                            24    sort of thing.
                                                                            25                       I thought it was brilliant in that it
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                                                                            1     identified the key issues, specifically, the fact that
                                                                            2     we had a windows-based DMS.              And even more specifically,
                                                                            3     that it talks about the products that we have that are
                                                                            4     extremely profitable for the dealer, which are --
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                                                                            5     docuPAD is, perhaps, the leading one.
                                                                            6             Q.    (By Ms. Wedgworth)         If we go to the next page
                                                                            7     of the letter, at the top, it says, "Here are examples
                                                                            8     of when a group converts from Reynolds."                   Do you see the
                                                                            9     chart at the top of the page?
                                                                            10                        And then underneath -- and it lists
                                                                            11    Herb's -- Herb Chambers, Prestige Management Services
                                                                            12    and Ed Morse and other auto dealerships.                   Do you see
                                                                            13    that?
                                                                            14            A.    Yes, I do.
                                                                            15            Q.    And then Mr. Lamb writes, "In nearly all cases,
                                                                            16    there is a significant drop in sales, which is expected
                                                                            17    the first year or two of a conversion given all the
                                                                            18    employee turnover and customer disruption."                    Do you see
                                                                            19    that?
                                                                            20            A.    Yes, I do.
                                                                            21            Q.    Do you agree with that statement?
                                                                            22            A.    I think, certainly, you can pick out cases
                                                                            23    where, you know, that -- that has been a -- a true
                                                                            24    statement.        And certainly in these cases here -- I know
                                                                            25    some of these customers.             Their problem was -- and
                                                                                                                 Veritext Legal Solutions
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                                                                                                                                                    Page 191
                                                                            1     that's they had, you know, turnover at the top, change
                                                                            2     in -- in dealership, you know, leaders.                 I don't know
                                                                            3     that that's the case in all of them, but I believe from
                                                                            4     a statistical standpoint, you know, the stats that are
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                                                                            5     shown here are true.          But to say that they're -- they're
                                                                            6     completely the result of -- of a conversion, it could be
                                                                            7     true; it could not be true.
                                                                            8            Q.    Well, you stand by the statement Mr. Lamb wrote
                                                                            9     in this letter, don't you?
                                                                            10                       MS. GULLEY:       Objection; form.
                                                                            11           A.    Yes, I do.      These -- these statistics -- or
                                                                            12    these particular dealerships are a matter of public
                                                                            13    record.
                                                                            14           Q.    (By Ms. Wedgworth)         So is it fair to say, in
                                                                            15    nearly all cases, there is a significant drop in sales,
                                                                            16    which is expected the first year or two of a conversion,
                                                                            17    given all the employee turnover and customer disruption?
                                                                            18                       MS. GULLEY:       Objection; form.
                                                                            19           A.    I -- I think that -- that there's no question
                                                                            20    that the statistics that are shown for these dealerships
                                                                            21    are true.      I don't agree that one can necessarily infer
                                                                            22    that all situations, that, you know, that's what's
                                                                            23    happening.
                                                                            24           Q.    (By Ms. Wedgworth)         Well, you approved this
                                                                            25    letter in this statement going to Hendrick Automotive
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                     Page 192
                                                                            1     Group; correct?
                                                                            2                           MS. GULLEY:     Objection; form.
                                                                            3             A.    Yes, I did.
                                                                            4             Q.    (By Ms. Wedgworth)         The next sentence says,
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                                                                            5     "What is really surprising is these groups have not
                                                                            6     recovered."          Do you see that?
                                                                            7             A.    Yes.
                                                                            8             Q.    And do you recall that these groups listed
                                                                            9     above, where they drop in sales from one year over the
                                                                            10    next, have yet to recover?
                                                                            11            A.    That, I -- I don't have knowledge of.
                                                                            12            Q.    So the last one on the chart, Gordon Auto
                                                                            13    Group, it had a conversion year in 2009.                   Do you see
                                                                            14    that?
                                                                            15            A.    Yes, I do.
                                                                            16            Q.    And then last year Aut- -- Automotive News
                                                                            17    ranked them as 110.           And in 2014, which is -- appears to
                                                                            18    be the most recent data for this letter -- they're at
                                                                            19    142 with a change, according to this chart, of going
                                                                            20    down 32 places.          Do you see that?
                                                                            21            A.    Yes, I do.
                                                                            22            Q.    Okay.     And in this chart, Mr. Lamb is
                                                                            23    representing to Hendrick Automotive Group that the
                                                                            24    conversion had something to do with their lowering in
                                                                            25    rank of sales; correct?
                                                                                                                 Veritext Legal Solutions
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                                                                            1            A.    That's what it's saying.           I have a little bit
                                                                            2     different belief as far as changes in Automotive News
                                                                            3     ranking.      Dealerships are inherently very competitive
                                                                            4     people.      And the -- the standard of measurement between
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                                                                            5     dealerships is typically number of cars sold, number of
                                                                            6     vehicles sold.
                                                                            7                        It happens continuously in this industry
                                                                            8     where a dealer will want to have his name in lights as
                                                                            9     far as his ranking is concerned, and so he'll do
                                                                            10    whatever it takes to sell more cars, which means he cuts
                                                                            11    price.      And he gets his name in lights, and he gets his
                                                                            12    Automotive News ranking up, and then he decides he's not
                                                                            13    making enough money.          And then he decides to tighten up
                                                                            14    on discounting and not to try to sell everybody every
                                                                            15    car.
                                                                            16                       But his -- so the sales numbers go down,
                                                                            17    but his profit -- his internal profit numbers -- go way
                                                                            18    up.    And then they kind of -- like this (indicating).
                                                                            19           Q.    And in spite of all that, Mr. Lamb -- with your
                                                                            20    approval, saying it was "brilliant" -- quotes Automotive
                                                                            21    News ranking with regard to sales in order to convince
                                                                            22    Hendrick to not convert; is that correct?
                                                                            23                       MS. GULLEY:       Form.
                                                                            24           A.    What I'm saying is -- and that's that,
                                                                            25    certainly, conversion issues, particularly with -- with
                                                                                                                Veritext Legal Solutions
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                                                                            1     big conversions, are a problem.              But what I'm saying is
                                                                            2     there's -- there's other factors that have to do with
                                                                            3     Automotive News ranking, and other motivations, other
                                                                            4     reasons.
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                                                                            5            Q.    (By Ms. Wedgworth)         Is it fair to say that, for
                                                                            6     some dealerships who convert, it takes at least one to
                                                                            7     two years to recover?
                                                                            8            A.    Certainly if they don't educate their people
                                                                            9     properly.      If they don't force their people to learn the
                                                                            10    new software promptly, you know, that can occur.
                                                                            11           Q.    You mentioned docuPAD in your previous answer
                                                                            12    and some yesterday.          If a dealership buys a docuPAD, is
                                                                            13    it -- is the price for that purchase and installation
                                                                            14    somewhere around $10,000 per unit?
                                                                            15                       MS. GULLEY:       Form.
                                                                            16           A.    Yes, it is.
                                                                            17           Q.    (By Ms. Wedgworth)         And is there a monthly
                                                                            18    maintenance fee per docuPAD of $1,000 a month?
                                                                            19           A.    Yes, ma'am.
                                                                            20           Q.    And as to any change on any form used on the
                                                                            21    docuPAD, is there a cost of -- of around $300 for any
                                                                            22    change?
                                                                            23           A.    I disagree that that's for any change.                A whole
                                                                            24    brand-new document, like, for instance, a new finance
                                                                            25    contract, the charge would be in that area.                   But to say
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 195
                                                                            1     that any change is in that area, that would not be
                                                                            2     correct.
                                                                            3            Q.    Can any change with regard to any docuPAD
                                                                            4     document be made for free at Reynolds?
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                                                                            5            A.    To the best of my knowledge, unless we have
                                                                            6     done something in error, in which case we would adjust,
                                                                            7     or if -- if the entity that produced the contract in the
                                                                            8     first place, if it was not working, you know, correctly
                                                                            9     after installation, we would fix that at no charge.                     But
                                                                            10    other than those kind of situations, it would be a
                                                                            11    charge.
                                                                            12           Q.    Is the average charge for any change on any
                                                                            13    document or form with regard to docuPAD roughly $300?
                                                                            14           A.    I -- I don't know that there is an average.                 We
                                                                            15    don't keep that.         You know, there's not a stat that --
                                                                            16    you know, that I know of or ever seen.
                                                                            17           Q.    Well, would it surprise you to say that -- I've
                                                                            18    heard dealers say that, for any change, when you use the
                                                                            19    docuPAD, everything is $300?
                                                                            20           A.    Ma'am, dealers will say most anything on any
                                                                            21    given day.
                                                                            22           Q.    Well, does it surprise you they say any change
                                                                            23    is $300 on a docuPAD form or document?
                                                                            24                       MS. GULLEY:       Objection.       I'm sorry.
                                                                            25                       Objection; form.
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                     Page 196
                                                                            1                         DEFENSE COUNSEL:         Objection.       (Inaudible.)
                                                                            2             A.    Again, ma'am, you know, dealers are prone day
                                                                            3     to day to say almost anything.               And I -- I have been in
                                                                            4     this business now -- the 10th of January this year, I've
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                                                                            5     been at it 53 years.           And I -- I haven't seen it all,
                                                                            6     but I've seen a lot.           And one of the things is -- is
                                                                            7     dealers will say most anything.
                                                                            8             Q.    (By Ms. Wedgworth)         If a dealership has
                                                                            9     Reynolds DMS and switches out of Reynolds, can they
                                                                            10    return the docuPAD and get a credit on an account?
                                                                            11            A.    No, ma'am.
                                                                            12            Q.    Can they sell the docuPAD?
                                                                            13            A.    Yes, ma'am.
                                                                            14            Q.    To -- can they sell it to another dealership
                                                                            15    who could then use it?
                                                                            16            A.    Yes, ma'am.
                                                                            17            Q.    And are you aware of any -- any incidences like
                                                                            18    that?
                                                                            19            A.    I think I've been exposed to just one.                You
                                                                            20    know, docuPAD is a -- an amazing profit producer.                        I
                                                                            21    don't know whether you've ever bought a car, you know,
                                                                            22    and been through the docuPAD experience and contrast
                                                                            23    that with a typical, you know, finance and information
                                                                            24    manager's, you know, closing techniques.
                                                                            25                        You know, docuPAD takes that all away.                   It
                                                                                                                 Veritext Legal Solutions
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                                                                                                                                                     Page 197
                                                                            1     is completely user driven in that you interact with --
                                                                            2     you know, the screen, with the stylus.                  And you make
                                                                            3     your choices with no pressure, you know, from the
                                                                            4     finance manager.          And customers love it.           The reason why
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                                                                            5     dealerships love it is -- and that's because customers
                                                                            6     have a chance to choose.             And a miracle occurs; they buy
                                                                            7     more.
                                                                            8                         And that's the reason why docuPAD produces,
                                                                            9     you know, profits on the average of $200 per trans- --
                                                                            10    per vehicle sales transaction.               And if you have a -- a
                                                                            11    typical finance manager will handle on the order of 70
                                                                            12    transactions a month.            At $200 additional profit, that's
                                                                            13    $14,000 a month, which means that you recover the
                                                                            14    initial cost of docuPAD very, very quickly.                    And then
                                                                            15    from that point on, it is a massive generator of
                                                                            16    profits.
                                                                            17                        We have dealers that are willing to, you
                                                                            18    know, have their picture in Automotive News and
                                                                            19    advertisements and say, "docuPAD paid for my entire
                                                                            20    Reynolds bill," which is --
                                                                            21                        You know, I didn't invent docuPAD, but I
                                                                            22    saw it and bought it.            And the results of -- are nigh on
                                                                            23    miraculous.
                                                                            24                        MS. WEDGWORTH:        Move to strike.
                                                                            25            Q.    (By Ms. Wedgworth)         Mr. Brockman, my question
                                                                                                                 Veritext Legal Solutions
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                                                                                                                                                     Page 198
                                                                            1     was simply:          Are you aware of any incidents like that,
                                                                            2     where a dealership can sell their docuPAD?                    That was my
                                                                            3     question.       It was -- it was straightforward.               "Yes" or
                                                                            4     "no"?
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                                                                            5                           MS. GULLEY:     Form.
                                                                            6             A.    Yes.
                                                                            7             Q.    (By Ms. Wedgworth)         And you said there was one
                                                                            8     occasion; is that right?
                                                                            9                           MS. GULLEY:     Form.
                                                                            10            A.    Well, there's one that I know of.
                                                                            11            Q.    (By Ms. Wedgworth)         Now, you've had a chance to
                                                                            12    review this letter that was sent by Mr. Lamb to Hendrick
                                                                            13    Automotive Group.          Is there anything in the letter that
                                                                            14    you're aware of that's inaccurate?
                                                                            15                          MS. GULLEY:     Objection; form.
                                                                            16            A.    I would want to read it again.
                                                                            17            Q.    (By Ms. Wedgworth)         Well, I'm not asking you to
                                                                            18    read it again.          As you reviewed it, did -- did anything
                                                                            19    stick out as being inaccurate to you?
                                                                            20                          MS. GULLEY:     Objection to the form and
                                                                            21    instruction.
                                                                            22            A.    Ma'am, I would really like to read it one more
                                                                            23    time.
                                                                            24            Q.    (By Ms. Wedgworth)         Well, then let's put it
                                                                            25    aside and we can go on to the next document.
                                                                                                                 Veritext Legal Solutions
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                                                                            1                        With regard to the Reynolds DMS contract,
                                                                            2     do you know the average length of the -- the DMS
                                                                            3     contract that a dealer signs today?
                                                                            4            A.    We don't keep an average number.              That's not a
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                                                                            5     stat that I keep or have kept.              What we see is -- and
                                                                            6     this is just a general, you know, observation, it's not
                                                                            7     at all a scientific average.             Typically, you know, five
                                                                            8     years to seven years.           It is rarely less than that.
                                                                            9            Q.    Does Reynolds offer a contract -- DMS contract
                                                                            10    to dealers less than five years?
                                                                            11           A.    We don't offer one.         In some cases, you know,
                                                                            12    we end up negotiating the one that -- where the length
                                                                            13    of contract relates to the whole process of -- of buying
                                                                            14    a DMS system is -- and that's the -- the level of
                                                                            15    discount that the dealership will achieve, it will be
                                                                            16    based upon the length of the contract.                 And that
                                                                            17    short-term contracts -- we'll say a 36-month contract --
                                                                            18    of the discount is appreciably less.                And the dealer has
                                                                            19    a choice.      They can go for a short-term contract, or
                                                                            20    they can go for a long-term contract; they get a better
                                                                            21    discount.
                                                                            22           Q.    Are there any DMS contracts at Reynolds longer
                                                                            23    than seven years?
                                                                            24           A.    Yes, ma'am.
                                                                            25           Q.    What's the longest contract that Reynolds has
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                      Page 200
                                                                            1     with the dealership concerning DMS?
                                                                            2                          MS. GULLEY:       Objection; form.
                                                                            3             A.     I -- I can't speak to what's the longest.                    I
                                                                            4     have seen them ten years and, in some cases, a little
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                                                                            5     over ten years.           But that's not a -- that's not a
                                                                            6     complete statement, because I don't see every contract.
                                                                            7     I just see some.
                                                                            8             Q.     (By Ms. Wedgworth)         Does Reynolds track the
                                                                            9     tenure that a dealership stays with Reynolds?
                                                                            10            A.     No.   We have no process for doing that.                   The
                                                                            11    only way to know is -- and that's to go to the contract
                                                                            12    file and see what prior contracts are in the contract
                                                                            13    file.        We don't -- we don't produce any reports in -- in
                                                                            14    that regard.
                                                                            15            Q.     And have you ever tried to determine
                                                                            16    the average tenure of a Reynolds dealership?
                                                                            17            A.     No, ma'am, I have not.
                                                                            18            Q.     Anyone at Reynolds tried that?
                                                                            19                         MS. GULLEY:       Objection; form.
                                                                            20            A.     Again, no way of knowing.
                                                                            21            Q.     (By Ms. Wedgworth)         Well, you said you could
                                                                            22    look at the contracts and make that determination?
                                                                            23                         MS. GULLEY:       Objection; form.
                                                                            24            A.     Yes, ma'am.
                                                                            25            Q.     (By Ms. Wedgworth)         And no one at Reynolds has
                                                                                                                  Veritext Legal Solutions
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                                                                                                                                                     Page 201
                                                                            1     done that?
                                                                            2             A.    There's not been any --
                                                                            3                         MS. GULLEY:       Objection; form.
                                                                            4             A.    -- any, you know, orchestrated plan or project
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                                                                            5     to go determine, you know, what the tenure is.                     On an
                                                                            6     individual basis, at contract renewal time, it may come
                                                                            7     up that this customer has been a customer for 22 years.
                                                                            8             Q.    (By Ms. Wedgworth)         Mr. Brockman, I'll show you
                                                                            9     what's been marked as Plaintiff's Exhibit 658.
                                                                            10                        (Exhibit 658 was marked for
                                                                            11                          identification.)
                                                                            12                        MS. WEDGWORTH:        Which is Bates-stamped
                                                                            13    REYMDL00045348.
                                                                            14            Q.    (By Ms. Wedgworth)         Have you had a chance to
                                                                            15    review the document?
                                                                            16            A.    Yes, ma'am.
                                                                            17            Q.    Is GuesTraq a third party here?
                                                                            18            A.    Yes, I believe they are a third party.
                                                                            19            Q.    And does this email reflect -- is this an email
                                                                            20    you wrote to Mr. Schaefer in response to an email he
                                                                            21    sent you on or about April 23rd, 2015 and April 30th,
                                                                            22    2015?
                                                                            23            A.    It appears to -- that to be correct.                Frankly,
                                                                            24    I don't remember this particular situation.
                                                                            25            Q.    So GuesTraq doesn't ring a bell to you as you
                                                                                                                 Veritext Legal Solutions
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                                                                                                                                                   Page 202
                                                                            1     sit here?
                                                                            2            A.     No, ma'am.
                                                                            3            Q.     Do you have any reason to believe this -- that
                                                                            4     you didn't receive and write this email?
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                                                                            5                          MS. GULLEY:        Objection; form.
                                                                            6            A.     No, ma'am.       I -- I presume it is.             It's not a
                                                                            7     forgery.       I -- I have no reason to -- to believe that
                                                                            8     it's not accurate.            But I -- I don't remember anything
                                                                            9     about -- GuesTraq is -- must be some very minor entity,
                                                                            10    because I sure don't remember anything about it.                        I
                                                                            11    don't know what it does.
                                                                            12           Q.     (By Ms. Wedgworth)           Is this an example of you
                                                                            13    granting exemption -- an exemption to a third party?
                                                                            14                         MS. GULLEY:        Objection; form.
                                                                            15           A.     I'd say, based on -- on what's in bold -- what
                                                                            16    I'm saying here -- and that's that I don't want to
                                                                            17    invest the time and trouble right now which, I would
                                                                            18    presume, that applies to an RCI interface.
                                                                            19           Q.     (By Ms. Wedgworth)           So it's fair to say that
                                                                            20    you are granting an exemption to GuesTraq here?
                                                                            21                         MS. GULLEY:        Objection; form.
                                                                            22           A.     Well, there's -- there's -- to discuss that,
                                                                            23    you've got to look at this next-to-the-last sentence,
                                                                            24    where it talks about Query Builder.                    Query Builder is
                                                                            25    a -- a piece of software.               It is -- it's a reporting
                                                                                                                Veritext Legal Solutions
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                                                                            1     software.      It's not really very good.             It's been around
                                                                            2     for quite a while.          And we're -- we've created a much
                                                                            3     better set of reporting software, and we're endeavoring
                                                                            4     to, you know, get Query Builder phased out.
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                                                                            5                          And in that kind of situation, there's --
                                                                            6     there's always times when it arises when somebody is
                                                                            7     using Query Builder and we'd rather they not use Query
                                                                            8     Builder because we want to get rid of all Query Builder
                                                                            9     usage.      We want to delete that software, because we have
                                                                            10    better software.         We don't want to continue to maintain,
                                                                            11    you know, very, very old and obsolete-type -- type
                                                                            12    software.
                                                                            13                         And so the question is, typically:                 Do
                                                                            14    these people convert to an RCI?              And that's what it
                                                                            15    looks like is the case here.             And what I'm saying is --
                                                                            16    in this -- I don't want to put them through RCI, you
                                                                            17    know, because that's -- that's a development effort.
                                                                            18    Instead, for the time being, let them continue operating
                                                                            19    the way they're operating.
                                                                            20           Q.    (By Ms. Wedgworth)         So you approve the ongoing
                                                                            21    exemption for GuesTraq; correct?
                                                                            22           A.    Yeah.     Temporarily.
                                                                            23           Q.    And do you limit the time of the exemption in
                                                                            24    this email?
                                                                            25           A.    Not in this email.         I worked very closely with
                                                                                                                Veritext Legal Solutions
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                                                                            1     Mr. Schaefer, and he understands what I'm doing is --
                                                                            2     and that's that I -- I'm being forced into a situation
                                                                            3     of expediency due to development processes.
                                                                            4            Q.    You can set that aside.           I want to talk a
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                                                                            5     little bit about ODE, Open Dealer Exchange.                   Are you
                                                                            6     familiar with that organization?
                                                                            7            A.    Yes, ma'am.
                                                                            8            Q.    And it's a joint venture between Reynolds and
                                                                            9     CDK; is that correct?
                                                                            10           A.    That's correct.
                                                                            11           Q.    Do Reynolds and CDK each own 50 percent of ODE?
                                                                            12           A.    That's correct.
                                                                            13           Q.    How did that come about, ODE?
                                                                            14                       MS. GULLEY:       Objection; form.
                                                                            15           Q.    (By Ms. Wedgworth)         How did ODE come about?
                                                                            16                       MS. GULLEY:       Objection; form.
                                                                            17           A.    I think it came about by the fact that there's
                                                                            18    a -- a process in the -- in the dealership world.                       It's
                                                                            19    like this:       You have a prospect that comes into the
                                                                            20    dealership.       They're looking for a certain kind of
                                                                            21    vehicle.      You have some of those type that they're
                                                                            22    looking for: different colors, different trim levels,
                                                                            23    different options.          You go out and you -- you walk the
                                                                            24    inventory.       And they get to visit the green one and the
                                                                            25    red one and the blue one and the silver one.                   And
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                                                                                                                                                    Page 205
                                                                            1     they -- they have different types of interiors, you
                                                                            2     know, more leather and less leather.
                                                                            3                        But any rate, the prospect finally decides,
                                                                            4     "I like this one here."            And the car salesman's heart
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                                                                            5     kind of takes a leap for the good.                They go back inside
                                                                            6     to see if they can work out a deal.                Well, an inherent
                                                                            7     part of -- you know, a giant percentage of car sales
                                                                            8     involves financing.          I don't know what the number is,
                                                                            9     but I wouldn't be surprised by an 80 or 90 percent car
                                                                            10    sales transactions that involve financing where the
                                                                            11    dealership has -- has to help get done.
                                                                            12                       So what happens is -- and that's the car
                                                                            13    salesperson gets an authorization form signed by the
                                                                            14    prospect to pull their credit.              They pull their credit
                                                                            15    and get their FICO score.            And then they go shopping for
                                                                            16    financing.       And Dealertrack has built up a -- a nifty
                                                                            17    application, and it's enjoyed very considerable success
                                                                            18    with it.      And what it does is -- and that's that you
                                                                            19    enter the -- you know, the information about this
                                                                            20    potential transaction, what kind of vehicle it is --
                                                                            21           Q.    (By Ms. Wedgworth)         I'm focusing on ODE, not
                                                                            22    Dealertrack.
                                                                            23                       MS. GULLEY:       Just let him finish his
                                                                            24    answer.
                                                                            25           A.    But you're asking me why ODE got started.
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                                                                                                                                                    Page 206
                                                                            1            Q.    (By Ms. Wedgworth)         How ODE got started.
                                                                            2                        MS. GULLEY:       Just let him finish his
                                                                            3     previous answer.
                                                                            4                        Just go ahead and finish the answer.
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                                                                            5            A.    The how, the first part about it is -- implies
                                                                            6     the why.      Okay?
                                                                            7            Q.    (By Ms. Wedgworth)         Actually, it doesn't.            It's
                                                                            8     a how.
                                                                            9                        MS. GULLEY:       Just let him finish.
                                                                            10                       MR. RYAN:       Let me -- let me just -- I know
                                                                            11    my object- -- her objections are good for me, but I
                                                                            12    believe the question was:            How did it come about?             And I
                                                                            13    think he's answering that question.
                                                                            14                       MS. GULLEY:       Correct.
                                                                            15           A.    That's certainly what I'm trying to do.
                                                                            16                       MS. GULLEY:       Go ahead and continue your
                                                                            17    response.
                                                                            18           A.    In any rate, at this point, the salesperson
                                                                            19    inputs the -- you know, the facts of the -- of the
                                                                            20    transaction, which is the -- you know, the type of car,
                                                                            21    what the sales price is, you know, what the down payment
                                                                            22    is, what -- what the consumer's FICO score is.                    And they
                                                                            23    can, with a -- not much more than a press of a button,
                                                                            24    send that package of information to a potential lender.
                                                                            25    And the lender can look at it and say "Yes" or "No" or
                                                                                                                Veritext Legal Solutions
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                                                                            1     "Maybe," or "Maybe with a little more down payment, it
                                                                            2     will work."       Or "We need to have some more proof of
                                                                            3     employment."
                                                                            4                        And it facilitates, you know, the whole
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                                                                            5     financing process.          And Dealertrack has done a very good
                                                                            6     job of -- of building that -- that product and has,
                                                                            7     basically, a near monopoly on that process.                   And so
                                                                            8     ODE's goal was, was to be able to replicate that process
                                                                            9     and become successful in that marketplace.
                                                                            10           Q.    (By Ms. Wedgworth)         Were you the decision maker
                                                                            11    to enter ODE as a joint venture with CDK?
                                                                            12           A.    I was responsible for the Reynolds side.
                                                                            13           Q.    Did you contact CDK or did CDK contact you,
                                                                            14    initially?
                                                                            15           A.    I don't specifically recall that, but I --
                                                                            16    my -- my belief is -- and that's they contacted us.
                                                                            17           Q.    Who contacted you at CDK?
                                                                            18           A.    I don't think that the contact was directly
                                                                            19    with me.      It was -- it -- it was somebody else in our
                                                                            20    organization.
                                                                            21           Q.    Who did you speak with about the joint venture
                                                                            22    from CDK, initially?
                                                                            23                       MS. GULLEY:       Objection; form.
                                                                            24           A.    I -- I would say that the -- the first
                                                                            25    conversation, again, was not between me and CDK.                        It
                                                                                                                Veritext Legal Solutions
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                                                                            1     was with other people in our organization, principally
                                                                            2     over in the product planning area.                And it was only
                                                                            3     after that, that I had conversation.                And the name that
                                                                            4     I recall I had a conversation with was Ron Workman.                     He
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                                                                            5     was a senior vice-president.
                                                                            6            Q.    (By Ms. Wedgworth)         Who at Reynolds, in product
                                                                            7     planning, spoke to CDK concerning forming ODE?
                                                                            8            A.    Certainly one of the people that would have
                                                                            9     been involved was Jon Strawsburg.
                                                                            10           Q.    Anyone other than Mr. Strawsburg?
                                                                            11           A.    I'm sure there was, but I can't remember
                                                                            12    specifically.
                                                                            13           Q.    You -- you said yesterday that CDK is your
                                                                            14    largest competitor; is that a fair statement?
                                                                            15           A.    That's correct.
                                                                            16           Q.    Why did Reynolds en- -- enter into a joint
                                                                            17    venture with its largest competitor?
                                                                            18           A.    Well, it wasn't because they were our largest
                                                                            19    competitor, I can assure you that.                But in the situation
                                                                            20    like this, one has to decide, is the opportunity, you
                                                                            21    know, worth it?         In this particular case, it appeared to
                                                                            22    be worth it.
                                                                            23                       The other principal factor is -- and that's
                                                                            24    that if you don't do it, what else might, you know, CDK
                                                                            25    do.    Who might they partner up with?              Might they partner
                                                                                                                Veritext Legal Solutions
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                                                                            1     up with somebody else, which would mean that we would be
                                                                            2     forever locked out of this very attractive business that
                                                                            3     Dealertrack has.         And so the decision was -- and that's
                                                                            4     we ought to proceed, but proceed carefully,
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                                                                            5     investigating, you know, the potential with ADP.
                                                                            6            Q.    Was ODE founded around 2009?
                                                                            7            A.    I don't remember the exact date, but it's been
                                                                            8     a while.
                                                                            9            Q.    And the decision to proceed with CDK was made
                                                                            10    by you?
                                                                            11           A.    Yes.
                                                                            12           Q.    And in making that decision, you said you spoke
                                                                            13    to Mr. Workman at CDK?
                                                                            14                        MS. GULLEY:      Objection; form.
                                                                            15           A.    That was one of the people that -- that I
                                                                            16    talked to.
                                                                            17           Q.    (By Ms. Wedgworth)         Who else at CDK did you
                                                                            18    speak to?
                                                                            19                        MS. GULLEY:      Objection; form.
                                                                            20           A.    I'm sorry.      I -- I don't remember the names.
                                                                            21    You know, I think that there's -- you know, there's
                                                                            22    been -- I know there's been turnover in that
                                                                            23    organization, but Ron Workman was the consistent person
                                                                            24    throughout.
                                                                            25                        MS. GULLEY:      Is this a good time for a
                                                                                                                Veritext Legal Solutions
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                                                                            1     break?
                                                                            2                        MS. WEDGWORTH:        Yes.     Let's take a break.
                                                                            3                        THE VIDEOGRAPHER:         The time is 9:57 a.m.,
                                                                            4     and we're off the record.
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                                                                            5                        (Short recess 9:57 to 10:17 a.m.)
                                                                            6                        THE VIDEOGRAPHER:         The time is 10:17 a.m.,
                                                                            7     and we're back on the record.
                                                                            8                           EXAMINATION (Continuing)
                                                                            9     BY MS. WEDGWORTH:
                                                                            10           Q.    Mr. Brockman, focusing you back on ODE, have
                                                                            11    CDK and Reynolds had meetings in person regarding ODE?
                                                                            12           A.    Yes, ma'am.
                                                                            13           Q.    How many?
                                                                            14           A.    Well, I -- I think in order to give the correct
                                                                            15    answer on that -- are -- are we talking about meetings
                                                                            16    where everybody that's involved are all together?                       Or
                                                                            17    where some of the folks that are involved are all
                                                                            18    together and some are on the phone?                You know, which
                                                                            19    definition of -- of "meeting," you know, would you like
                                                                            20    me to answer?
                                                                            21           Q.    Well, ODE has board of directors' meetings;
                                                                            22    correct?
                                                                            23           A.    That's correct.
                                                                            24           Q.    And are those board of directors' meetings in
                                                                            25    person or by phone?
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                                                                                                                                                    Page 211
                                                                            1            A.    Typically, by phone.
                                                                            2            Q.    And are those -- how often do those board of
                                                                            3     directors' meetings occur?
                                                                            4            A.    There -- there's not a -- a fixed schedule, but
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                                                                            5     my -- my guess is -- and that would be probably on -- on
                                                                            6     a quarterly basis, you know, three or four times a year.
                                                                            7            Q.    So on a quarterly basis, ODE holds telephonic
                                                                            8     board of directors' meetings; is this correct?
                                                                            9            A.    Not -- generally on a quarterly basis.                It's
                                                                            10    not a fixed, you know, first quarter, second quarter,
                                                                            11    third quarter, you know.
                                                                            12           Q.    And have you participated in meetings with CDK
                                                                            13    concerning ODE in person?
                                                                            14           A.    I have, but rarely.
                                                                            15           Q.    Approximately how many times?
                                                                            16                       MS. GULLEY:       Form.
                                                                            17           A.    No more than once a year, if that.               It -- it
                                                                            18    typically revolves around NADA, because we are -- we
                                                                            19    tend to all parties be present at NADA, and so we'll sit
                                                                            20    down and talk for half an hour.
                                                                            21           Q.    (By Ms. Wedgworth)         So at the NADA meetings,
                                                                            22    which are -- that's an annual conference?
                                                                            23           A.    Yes, ma'am.
                                                                            24           Q.    Held in, usually, late January, coming up?
                                                                            25           A.    Coming up.      I understand it's going to be Super
                                                                                                                Veritext Legal Solutions
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                                                                            1     Bowl Weekend.         It's going to be in San Francisco.
                                                                            2            Q.     So normally, at the NADA meetings, you meet
                                                                            3     with CDK people con- -- to discuss ODE?
                                                                            4                          MS. GULLEY:        Form.
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                                                                            5            A.     Yes.    And that meeting tends to be a very
                                                                            6     informal meeting, because we're -- there's not --
                                                                            7     there's no fixed agenda, there's no, you know, special
                                                                            8     place or whatever.            We just find time to, you know, get
                                                                            9     together, you know, for a half hour or so.
                                                                            10           Q.     (By Ms. Wedgworth)           And when you -- the last
                                                                            11    time you met with CDK, who did you meet with?
                                                                            12                         MS. GULLEY:        Objection; form.
                                                                            13           A.     The only person whose name I -- there's two
                                                                            14    people:       It was Steve Anenen and Ron Workman.
                                                                            15           Q.     (By Ms. Wedgworth)           And other than you meeting
                                                                            16    in person with CDK, do Reynolds people meet with CDK
                                                                            17    people regarding ODE in person?
                                                                            18           A.     Yes.    Yes.
                                                                            19           Q.     How often?
                                                                            20           A.     Again, there's no fixed schedule.                  It depends
                                                                            21    on, you know, what projects are at hand.                      You know, so
                                                                            22    it could be once or twice a year.                   It could be five,
                                                                            23    six, seven times a year.
                                                                            24           Q.     Have you met with anyone from ODE at places
                                                                            25    other than the NADA convention?
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                                                                            1            A.    I think that I have, but I can't recall a
                                                                            2     specific, you know, time or place.                Steve Lloyds is
                                                                            3     the -- is the, you know, the CEO of ODE.                  I talk to him
                                                                            4     mostly on the phone or, you know, over Skype.                    But as
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                                                                            5     far as other people, I think I've -- I've been on
                                                                            6     telephone calls with their head of software development,
                                                                            7     Tom -- and I can't remember his last name right now.
                                                                            8     That -- you know, maybe once a year.
                                                                            9                        (Exhibit 659 was marked for
                                                                            10                         identification.)
                                                                            11           Q.    (By Ms. Wedgworth)         I'd like to show you what's
                                                                            12    been marked as Plaintiff's Exhibit 659.                 My initial
                                                                            13    question is:       Have you seen this document before?
                                                                            14           A.    No, ma'am.
                                                                            15           Q.    You have not?
                                                                            16           A.    Not this specific document, I don't believe.
                                                                            17           Q.    The cover email says that Mr. Workman sent it
                                                                            18    to you on December 24th, 2015.              The cover email.            Is
                                                                            19    this an email you received from Mr. Workman on or about
                                                                            20    December 24th, 2015?
                                                                            21                       MS. GULLEY:       Objection; form.
                                                                            22           A.    Again, you know, this -- this cover email
                                                                            23    with -- would tend to indicate that, but I honestly
                                                                            24    don't recall, yeah, this specific email.
                                                                            25           Q.    (By Ms. Wedgworth)         Do you have any reason to
                                                                                                                Veritext Legal Solutions
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                                                                            1     believe that this is not the board meeting minutes
                                                                            2     of ODE for December 2015?
                                                                            3                         MS. GULLEY:      Form.
                                                                            4            A.    Ma'am, I don't have, you know -- you know,
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                                                                            5     clear enough memory of -- of that particular time, you
                                                                            6     know, several years back.            That's three years back.
                                                                            7     This -- these are exactly what went on at -- it looks
                                                                            8     like it, but... (Pause.)
                                                                            9            Q.    (By Ms. Wedgworth)         There's someone here you
                                                                            10    haven't mentioned for CDK: Bihner -- Bihner,
                                                                            11    B-i-h-n-e-r.        Do you know Mr. Bihner?
                                                                            12           A.    I have been on telephone conversations with
                                                                            13    him, but I don't know.           I think his first name is Joe.
                                                                            14    But I've -- I've -- and I may have met him at NADA and
                                                                            15    shaken hands with him, but I -- I couldn't pick him out
                                                                            16    of a crowed.
                                                                            17           Q.    And Mr. Bihner is a CDK person?
                                                                            18           A.    Yes.
                                                                            19           Q.    Manager?
                                                                            20           A.    I would think, maybe, perhaps he might even be
                                                                            21    an officer.
                                                                            22           Q.    And for R&R, on these board meeting minutes has
                                                                            23    Mr. Pontis listed.          Is he also someone from Reynolds who
                                                                            24    interacts with CDK concerning ODE?
                                                                            25           A.    Yes.    He works for Jon Strawsburg.
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                                                                            1            Q.    You can put that aside.
                                                                            2                        Is there any reason to believe that these
                                                                            3     minutes are inaccurate?
                                                                            4                        MS. GULLEY:       Objection; form.
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                                                                            5            A.    No, ma'am.
                                                                            6            Q.    (By Ms. Wedgworth)         Now, Reynolds also has a
                                                                            7     relationship with CDK concerning CDR; correct?
                                                                            8                        MS. GULLEY:       Form.
                                                                            9            A.    Yes, ma'am.
                                                                            10           Q.    (By Ms. Wedgworth)         And that relationship is,
                                                                            11    again, a joint venture between Reynolds and CDK?
                                                                            12           A.    That's my understanding.           I -- I'm not --
                                                                            13    generally much less familiar with CVR, because that
                                                                            14    is something that was entered into considerably before
                                                                            15    my time at Reynolds.          And it is, you know, completely
                                                                            16    controlled by CDK, because they have the -- the dominant
                                                                            17    ownership interest.
                                                                            18           Q.    And CVR is 80 percent owned by CDK and 20
                                                                            19    percent owned by Reynolds; is that correct?
                                                                            20           A.    That's my understanding.           Although I'm not in a
                                                                            21    position where I can say for sure that's exactly how it
                                                                            22    is, because I was not there when it was -- when it was
                                                                            23    founded.
                                                                            24           Q.    So other than ODE and CVR, does Reynolds have
                                                                            25    any other formal relationships with CDK?
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                                                                                                                                                    Page 216
                                                                            1                         MR. RYAN:      Objection.
                                                                            2            A.    I don't think so.
                                                                            3            Q.    (By Ms. Wedgworth)         Does Reynolds have any
                                                                            4     informal relationships with CDK currently?
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                                                                            5                         MS. GULLEY:      Objection; form.
                                                                            6            A.    Yes.     Probably one.
                                                                            7            Q.    (By Ms. Wedgworth)         What is that?
                                                                            8            A.    It is a -- again, this is something that, you
                                                                            9     know, began considerably before my time.                  But I came --
                                                                            10    became aware of its existence, you know, after we
                                                                            11    acquired Reynolds.          It has to do with -- when a customer
                                                                            12    decides to leave, you know, one of us, as long as that
                                                                            13    customer pays all their bills, honors all of their
                                                                            14    contractual obligations, we will turn over to the
                                                                            15    assuming company copies of data files for that
                                                                            16    dealership.
                                                                            17           Q.    And that relationship, you have with CDK?
                                                                            18           A.    Yes, ma'am.
                                                                            19           Q.    And --
                                                                            20           A.    And I might add that it is unwritten, informal.
                                                                            21    And I wouldn't go so far as to characterize it as a
                                                                            22    relationship.         What it is -- it is a practice.             And
                                                                            23    it -- it has no specified duration.                It's something
                                                                            24    that, you know, either one of us could, you know, quit
                                                                            25    tomorrow.
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                                                                            1            Q.    So you would not call it an informal
                                                                            2     relationship?
                                                                            3            A.    No, ma'am.      I would call it a practice.
                                                                            4            Q.    Is the inform- -- the practice reciprocal?
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                                                                            5                        MS. GULLEY:       Objection; form.
                                                                            6            A.    Yes, ma'am.
                                                                            7            Q.    (By Ms. Wedgworth)         Who for CDK -- who for
                                                                            8     Reynolds implements this reciprocal practice?
                                                                            9                        MS. GULLEY:       Form.
                                                                            10           Q.    (By Ms. Wedgworth)         Between CDK and Reynolds?
                                                                            11                       MS. GULLEY:       Form.
                                                                            12           A.    I honestly don't know which department actually
                                                                            13    handles it.       It's my belief that it gets done but, you
                                                                            14    know, exactly where in the organization it occurs, I --
                                                                            15    I can't tell you.
                                                                            16           Q.    (By Ms. Wedgworth)         Would it be under
                                                                            17    Mr. Schaefer's role?          His team?
                                                                            18           A.    It could be.       But for some reason, I think
                                                                            19    that -- that that's not where it happens.                  I think it --
                                                                            20    it's more likely to happen over in part of the
                                                                            21    operations department of the organization.
                                                                            22           Q.    Do you have a similar reciprocal relationship
                                                                            23    with any other DMS providers?
                                                                            24           A.    Do not.
                                                                            25           Q.    So the only reciprocal relationship you have
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                                                                                                                                                    Page 218
                                                                            1     regarding this DMS agreement is with CDK?
                                                                            2                         MS. GULLEY:      Objection; form.
                                                                            3            A.    That -- that's correct.
                                                                            4            Q.    (By Ms. Wedgworth)         I'd like to show you what's
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                                                                            5     been previously marked as Exhibit 504.                 I don't think we
                                                                            6     have to mark it again.
                                                                            7                         MS. GULLEY:      You don't.
                                                                            8            Q.    (By Ms. Wedgworth)         Previously marked Exhibit
                                                                            9     504, Mr. Brockman.          Document Bates-stamped
                                                                            10    REYMDL00263055.         Have you had time to review the
                                                                            11    document, Mr. Brockman?
                                                                            12           A.    I've never seen this before.             Could you give me
                                                                            13    just a moment more?
                                                                            14           Q.    Yes.
                                                                            15           A.    Yes.
                                                                            16           Q.    Is this an email you received and responded to
                                                                            17    on or around May 30, 2017?
                                                                            18           A.    Yes, ma'am, it appears to be that.
                                                                            19           Q.    And was it your intent to be truthful and
                                                                            20    accurate in writing the email?
                                                                            21                        MR. RYAN:      Objection.
                                                                            22           A.    Yes, ma'am.
                                                                            23           Q.    (By Ms. Wedgworth)         And here you're responding
                                                                            24    to a question from Mr. Strawsburg; correct?
                                                                            25           A.    That's correct.
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                                                                            1            Q.    And in the email you write, "Other than our
                                                                            2     informal relationship with CDK, we provide no assistance
                                                                            3     to any third party."          Do you see that?
                                                                            4            A.    Yes.
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                                                                            5            Q.    Is this the informal relationship with CDK you
                                                                            6     just testified about?
                                                                            7            A.    Yes, ma'am.
                                                                            8            Q.    So in -- in the response to Mr. Strawsburg, you
                                                                            9     referred to it as an informal relationship?
                                                                            10           A.    Yes, ma'am, in that case, I did.
                                                                            11           Q.    And did this informal relationship with CDK
                                                                            12    allow CDK to access Reynolds software in May 2017?
                                                                            13                        MS. GULLEY:      Objection; form.
                                                                            14           A.    The answer to that is "not correct."
                                                                            15           Q.    (By Ms. Wedgworth)         Did this informal
                                                                            16    relationship with CDK allow CDK to -- to work with
                                                                            17    Reynolds regarding the -- both DMS systems?
                                                                            18                        MS. GULLEY:      Objection; form.
                                                                            19           A.    There -- we need to talk some more about, you
                                                                            20    know, what, you know, the informal relationship -- or
                                                                            21    this involves.        We receive notification, typically
                                                                            22    from the customer, that they're -- that they're
                                                                            23    converting to CDK.          And our first question is -- is:
                                                                            24    "Well, have you decided when?"              And with that
                                                                            25    information, we also ask them to -- to notify CDK --
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                                                                            1     actually, CDK is notifying them as to when their
                                                                            2     conversion is going to take place.
                                                                            3                         And there's a scheduling process that takes
                                                                            4     place where -- when the conversion data is going to be
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                                                                            5     outputted on to a tape, and that tape is -- can then --
                                                                            6     then be given, you know, to CDK.               They don't actually
                                                                            7     access our systems at all.
                                                                            8                         There -- there's an inter- -- intermediate
                                                                            9     step in there where the accounts receivable position
                                                                            10    of -- of the customer is verified by our accounting
                                                                            11    department.        And it's not just, you know, what
                                                                            12    they might be currently due, but also what's going to be
                                                                            13    due by the time the conversion occurs.                 And so
                                                                            14    there's -- there then -- there's then a dollar amount
                                                                            15    which represents the total remaining obligation of the
                                                                            16    customer, and that's from a financial standpoint.                       And
                                                                            17    before the tape is actually cut, we get a check for
                                                                            18    their remaining financial obligation.
                                                                            19           Q.    (By Ms. Wedgworth)         And then CDK and Reynolds
                                                                            20    have a conversation; is that correct?
                                                                            21           A.    No.    There -- there's been a conversation prior
                                                                            22    to that, but it will be a -- a subsequent conversation.
                                                                            23    It -- it's a multistep, and I -- I'm not in a position,
                                                                            24    from a knowledge standpoint, to describe that with
                                                                            25    perfect accuracy.         But generally, that's what happens.
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                                                                            1            Q.    And Reynolds does not have that relationship
                                                                            2     with any other DMS provider; is that correct?
                                                                            3                        MS. GULLEY:       Objection; form.
                                                                            4            A.    That's correct.        What the other -- other
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                                                                            5     providers have to do is -- and that's they have to ask
                                                                            6     the customer to, you know, run reports of things like
                                                                            7     parts inventory and vehicle inventory and general ledger
                                                                            8     balances, for the -- for the customer to copy those
                                                                            9     reports out to a -- a thumb drive or a small hard disk
                                                                            10    and -- and give that to the vendor that they're going
                                                                            11    to, that they're converting to.              And then those reports
                                                                            12    are run through data conversion programs to accomplish
                                                                            13    the same thing.
                                                                            14                       MS. WEDGWORTH:        Move to strike everything
                                                                            15    after "That's correct."
                                                                            16           Q.    (By Ms. Wedgworth)         You can set that document
                                                                            17    aside, Mr. Brockman.          Mr. Brockman, I'll show you what's
                                                                            18    been marked as Plaintiff's Exhibit 660.
                                                                            19                       (Exhibit 660 was marked for
                                                                            20                         identification.)
                                                                            21           Q.    (By Ms. Wedgworth)         I believe yesterday you
                                                                            22    testified this type of document is a management report
                                                                            23    concerning finances at Reynolds; is that correct?
                                                                            24           A.    That -- that's correct.
                                                                            25           Q.    And do you receive these reports on a monthly
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 222
                                                                            1     basis?
                                                                            2            A.    Yes, ma'am.
                                                                            3            Q.    And the purpose of this report is for Reynolds
                                                                            4     to understand the financial analysis going on, overall,
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                                                                            5     at the company; is that correct?
                                                                            6            A.    That's correct.        It's prepared for senior level
                                                                            7     vice-presidents.         And it -- it's not financial
                                                                            8     statements, but it's financial information.                   And to say
                                                                            9     that it's used to run the company is probably a
                                                                            10    mischaracterization.
                                                                            11                        I get this report once a month.              I probably
                                                                            12    spend 30 minutes on it.            And the reason why I only spend
                                                                            13    30 minutes on it is because it's historical information.
                                                                            14    It is -- has been -- very little bearing as what I
                                                                            15    should be doing on a day-to-day.               Reynolds is the type
                                                                            16    of company where what happened five years ago has way
                                                                            17    more impact on what we see in here than what happened --
                                                                            18    than what's happened in the last month.
                                                                            19           Q.    And these reports show that -- whether or not
                                                                            20    Reynolds is -- what their sales are; is that correct?
                                                                            21                        MS. GULLEY:      Form.
                                                                            22           A.    Yes.    That -- that is one of the sta- --
                                                                            23    statistics that it provides.             But, again, from an
                                                                            24    important standpoint, as far as running the company,
                                                                            25    this report is very little used by me.                 I'm much more
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 223
                                                                            1     interested in who we've hired, the customers we've sold,
                                                                            2     what projects we're accomplishing as far as new product
                                                                            3     development.         Those are all way more -- way more
                                                                            4     important for the success of the organization.
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                                                                            5            Q.    (By Ms. Wedgworth)         Well, these are prepared by
                                                                            6     Reynolds at least on a monthly basis; correct?
                                                                            7            A.    That's correct.
                                                                            8            Q.    And they are sent to you at least on a monthly
                                                                            9     basis?
                                                                            10           A.    That's correct.
                                                                            11           Q.    And it's -- there is a team at Reynolds who
                                                                            12    prepares these financials; is that correct?
                                                                            13           A.    That's correct.
                                                                            14           Q.    If we go to Page 12 of this document, which has
                                                                            15    a Bates ending 712.           And this document, at the top, is
                                                                            16    "NA DMS Product Solution Data Services P&L."                   Do you see
                                                                            17    that at the top?
                                                                            18           A.    Yes, ma'am.
                                                                            19           Q.    Under the "One Time Revenue" for RCI, you'll
                                                                            20    see that there's a variance of 354 percent here.                        Do you
                                                                            21    see that?
                                                                            22           A.    I'm sorry that I'm not quite -- could you --
                                                                            23           Q.    So it would be the third line of numbers down.
                                                                            24           A.    Okay.     Yes.    Okay.    I see the third line of
                                                                            25    numbers down.
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                                                                            1            Q.    Where it looks like in January of 2015 there
                                                                            2     were 150 RCI customers.            And then for 2016, there's 681
                                                                            3     customers.       Do you see that?        Or sales?
                                                                            4                        MS. GULLEY:       Objection; form.
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                                                                            5            A.    I'm seeing that.        I'm not sure that it says
                                                                            6     that's customers.
                                                                            7            Q.    (By Ms. Wedgworth)         Or sales -- of 150 sales
                                                                            8     versus 681 in 2016?
                                                                            9                        MS. GULLEY:       Objection; form.
                                                                            10           A.    What my issue is -- and that's -- it's just I'm
                                                                            11    not really familiar with this report.                 I don't know
                                                                            12    whether that means -- whether that's a sales number or
                                                                            13    whether that's a customer number.
                                                                            14           Q.    (By Ms. Wedgworth)         In either event, it's
                                                                            15    increased 354 percent; you would agree?
                                                                            16                       MS. GULLEY:       Objection; form.
                                                                            17           A.    Whatever it is, it's got "354%" beside it.
                                                                            18           Q.    So the heading on the left-hand side says, "One
                                                                            19    Time Revenue."        Do you see the heading?
                                                                            20                       MS. GULLEY:       Objection; form.
                                                                            21           A.    Yes, I see that.
                                                                            22           Q.    (By Ms. Wedgworth)         And so for RCI, for January
                                                                            23    2016, it's 681 versus 150 in the month a year earlier.
                                                                            24                       MS. GULLEY:       Form.
                                                                            25           A.    Yes, that's what it looks like.              You're
                                                                                                                Veritext Legal Solutions
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                                                                            1     obviously more familiar with this report than I am.
                                                                            2            Q.    (By Ms. Wedgworth)         Well --
                                                                            3                        MS. GULLEY:       Move to strike.         It's a joke.
                                                                            4     I'm sorry.
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                                                                            5            Q.    (By Ms. Wedgworth)         Going -- going down to the
                                                                            6     recurring revenue, for the RCI number, it's -- appears
                                                                            7     to be $5,910,000 for 2016, whereas the previous year,
                                                                            8     for 2015, was $3,104,000.            Do you see that?
                                                                            9                        MS. GULLEY:       Form.
                                                                            10           A.    I wonder if somebody has a straightedge.                   I'm
                                                                            11    77 years old, and my vision is not as good as it used to
                                                                            12    be.
                                                                            13                       MS. WEDGWORTH:        Well, even at my age, which
                                                                            14    I won't put it on the record -- I highlighted.                    To keep
                                                                            15    my -- I'm mean, that's how I read it.                 But -- but you
                                                                            16    didn't have the highlight.             So I -- what I'm saying is,
                                                                            17    I need aid, too.
                                                                            18                       MS. GULLEY:       Which line are we, I'm sorry.
                                                                            19                       MS. WEDGWORTH:        So RCI, "Recurring
                                                                            20    Revenue."
                                                                            21                       MS. GULLEY:       Got it.
                                                                            22           Q.    (By Ms. Wedgworth)         Of $5,910,000 versus
                                                                            23    $3,104,000 the previous year.              Do you see that?
                                                                            24           A.    Thanks to the straightedge, yes, I do.
                                                                            25           Q.    And that's an increase of 90 percent?                Do you
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                      Page 226
                                                                            1     see that?
                                                                            2             A.     Yes, I see that.
                                                                            3             Q.     Okay.     So is it fair to say that, after the
                                                                            4     February 2015 agreements, that revenue for RCI jumped
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                                                                            5     dramatically?
                                                                            6                            MS. GULLEY:     Objection; form.
                                                                            7             A.     Well, when you referred to agreements, I'm --
                                                                            8     I'm -- can you describe which agreement that you're
                                                                            9     talking about?
                                                                            10            Q.     (By Ms. Wedgworth)         Well, the data exchange
                                                                            11    agreements and the other two agreements in February of
                                                                            12    2015.        We looked at the exhibit yesterday that you
                                                                            13    signed.
                                                                            14            A.     Okay.     The --
                                                                            15                           MS. GULLEY:     Objection; form.
                                                                            16            A.     -- this -- this is the stand-down agreement,
                                                                            17    you know, with CDK.
                                                                            18            Q.     (By Ms. Wedgworth)         Okay.     So after the
                                                                            19    stand-down agreement, is it fair to say that RCI
                                                                            20    revenues jumped?
                                                                            21                           MS. GULLEY:     Objection; form.
                                                                            22                           MR. RYAN:     Objection.
                                                                            23            A.     Again, I -- I would not think that a percentage
                                                                            24    basis -- that they jumped that much.                  So I would be
                                                                            25    surprised if there's not some other, you know,
                                                                                                                  Veritext Legal Solutions
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                                                                            1     customers, you know, third parties that -- that have
                                                                            2     come under RCI contracts.             I don't think it's just those
                                                                            3     ones that came to us as a result of the stand-down
                                                                            4     agreement.        Again, looking at this, I can't tell.
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                                                                            5             Q.    (By Ms. Wedgworth)         Has RCI been profitable in
                                                                            6     2016?
                                                                            7                         MS. GULLEY:       Objection; form.
                                                                            8             A.    We -- we don't have profit numbers on RCI.                 And
                                                                            9     I need to explain some about -- we don't have any
                                                                            10    internal cost accounting.
                                                                            11            Q.    (By Ms. Wedgworth)         So you don't know if RCI is
                                                                            12    profitable?
                                                                            13                        MS. GULLEY:       Wait a minute.        He's going to
                                                                            14    finish his answer.
                                                                            15            A.    What I'm saying is -- and that's that if RCI is
                                                                            16    profitable, I have no way of knowing, you know, if it is
                                                                            17    or how much.        The reason why is because we don't have
                                                                            18    internal cost accounting.             And organizationally -- and I
                                                                            19    realize for somebody that's used to dealing with larger
                                                                            20    corporations, you know, that sounds kind of crazy.
                                                                            21                        But you have to remember that I came from a
                                                                            22    very small organization, and I'm very sensitive to, you
                                                                            23    know, the use -- efficient use of personnel, of
                                                                            24    overhead.       And the cost accounting imposes an
                                                                            25    overhead -- much like in a law firm, you know, you have
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                                                                                                                                                    Page 228
                                                                            1     to keep time accounting records, you know, billing
                                                                            2     records and that sort of thing.              That takes probably 5
                                                                            3     or 6 percent.        Well, if we were to have cost accounting,
                                                                            4     it would do the same thing to us.               And I, frankly, would
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                                                                            5     rather have the productivity, you know, than the
                                                                            6     information.
                                                                            7                        And that's the reason why that -- I -- I
                                                                            8     don't have a number as far as profitability for RCI.
                                                                            9     It's part of the overall, you know, organizational
                                                                            10    numbers, because you don't have, you know, one
                                                                            11    piece that operates as a whole entity.                 We keep track of
                                                                            12    sales numbers but not profit numbers, because we don't
                                                                            13    have any profit numbers.
                                                                            14           Q.    (By Ms. Wedgworth)         I'd like to show you what
                                                                            15    was marked yesterday as Plaintiff's Exhibit 651, on Page
                                                                            16    17.    And yesterday, I think we looked at the footnote on
                                                                            17    Page 17 that says, "We are expecting an annual revenue
                                                                            18    of approximately $30 million from" -- "generated from
                                                                            19    the CDK Deal."        Do you see that?
                                                                            20           A.    Yes, ma'am.
                                                                            21           Q.    Is that a number that you asked to be tracked?
                                                                            22           A.    I did not.
                                                                            23           Q.    Were you interested in the annual revenue
                                                                            24    concerning the CDK deal?
                                                                            25           A.    Revenue-wise, yes.
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                                                                                                                                                    Page 229
                                                                            1            Q.    And when you say "CDK Deal," what do you refer
                                                                            2     to?
                                                                            3            A.    That is the -- the stand-down agreement where
                                                                            4     they agreed to cease and desist hacking our systems.
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                                                                            5            Q.    So due to the CDK deal, Reynolds expects annual
                                                                            6     revenue of approximately $30 million; is that correct?
                                                                            7                          MS. GULLEY:     Objection; form.
                                                                            8            A.    That's what this says --
                                                                            9            Q.    Is there any reason to --
                                                                            10                         MS. GULLEY:     Let him finish his answer.
                                                                            11           A.    That -- that is not -- not my expectation,
                                                                            12    though, this is something our chief financial officer,
                                                                            13    you know, decided he would throw in.                But it's -- again,
                                                                            14    it's not a number that I would routinely track.
                                                                            15           Q.    (By Ms. Wedgworth)         Was that a number you were
                                                                            16    interested in?
                                                                            17           A.    Yes, ma'am.
                                                                            18           Q.    Is that a number that you -- you asked your CFO
                                                                            19    and/or Mr. Schaefer to analyze and come up with?
                                                                            20           A.    No --
                                                                            21                         MS. GULLEY:     Objection; form.
                                                                            22           A.    -- I did not.       I thought -- I just said that
                                                                            23    I -- I didn't ask, for instance, for this footnote to be
                                                                            24    inserted.
                                                                            25                         (Exhibit 661 was marked for
                                                                                                                Veritext Legal Solutions
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                                                                                                         HIGHLY CONFIDENTIAL
                                                                                                                                                    Page 230
                                                                            1                          identification.)
                                                                            2            Q.    (By Ms. Wedgworth)         I'd like to show you what's
                                                                            3     been marked as Plaintiff's Exhibit 661, a one-paged
                                                                            4     document, Bates-stamped REYMDL00045556.
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                                                                            5                        Mr. Brockman, have you had time to review
                                                                            6     the document?
                                                                            7            A.    Yes, ma'am.
                                                                            8            Q.    Have you seen it before?
                                                                            9            A.    Yes, ma'am.
                                                                            10           Q.    Did you write this email to Mr. Schaefer on or
                                                                            11    about January 5th, 2016?
                                                                            12           A.    Yes, I did.
                                                                            13           Q.    The subject line, when you write the email, is
                                                                            14    blank.      And then you write, "Bob, From a policy
                                                                            15    standpoint, the term 'profitability' (and any of its
                                                                            16    variants) in relation to RCI are never to be uttered in
                                                                            17    front of anyone inside or outside the company.                    Your
                                                                            18    people need to understand this as well.                 Bob."
                                                                            19                       Is that an accurate statement of what you
                                                                            20    wrote to Mr. Schaefer and Mr. Lamb?
                                                                            21           A.    Yes, ma'am.      And the reason why that I -- I
                                                                            22    wrote it is because we don't track profitability,
                                                                            23    because we don't have cost accounting.                 Without cost
                                                                            24    accounting, it's impossible to accurately track
                                                                            25    profitability.
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                                                                                                                                                  Page 231
                                                                            1                      Secondly, you know, from a policy
                                                                            2     standpoint, Reynolds is run very, very much like a small
                                                                            3     company where, you know, the CEO, which is me, and a
                                                                            4     handful of other people actually understand how
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                                                                            5     profitable the company is.           We keep that information
                                                                            6     very closely held.        It's nobody's business.
                                                                            7                      It -- which is completely different than
                                                                            8     the way Reynolds used to be operated.               Of course, as a
                                                                            9     public company, everybody had access to the -- to the
                                                                            10    financials, because they were -- they were publicly --
                                                                            11    published.
                                                                            12                     I believe that, from an operating
                                                                            13    standpoint, that that is very deleterious to the
                                                                            14    successful operation of the business.               And the reason
                                                                            15    why I feel that way is because everything we do, you
                                                                            16    know, is involved in long-term success.               For example,
                                                                            17    a -- a software package, you know, may take five years
                                                                            18    to develop, get into the marketplace and have -- become
                                                                            19    accepted in the marketplace.           You know, that -- that's a
                                                                            20    direct expense to profit.          You know, if you don't
                                                                            21    understand, you know, how the company operates, you're
                                                                            22    liable to think that things aren't doing well.                  Well,
                                                                            23    the reality is, we're developing a lot of software,
                                                                            24    which costs a lot.
                                                                            25                     So I think that, you know, having profit
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                                                                            1     numbers being thrown around the company -- and
                                                                            2     particularly in this case, where we don't have any cost
                                                                            3     accounting to support what profit might be, is -- is
                                                                            4     dangerous for morale, for the whole organization.                       I
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                                                                            5     have followed that policy religiously.                 And as a result,
                                                                            6     you know, Reynolds is a -- a -- a very profitable
                                                                            7     company.
                                                                            8            Q.    Is there any reason you limited this email
                                                                            9     concerning your prohibition on discussing profitability
                                                                            10    to RCI?
                                                                            11           A.    That -- that's where I saw the most recent
                                                                            12    violation.
                                                                            13           Q.    What violation did you see?
                                                                            14           A.    I saw someone in Bob Schaefer's organization
                                                                            15    mumbling about profitability when they're in no position
                                                                            16    to do so because -- since we have no cost accounting,
                                                                            17    they don't know how profitable it is -- or unprofitable,
                                                                            18    for that matter.
                                                                            19           Q.    Who was the person commenting on profitability
                                                                            20    concerning RCI in Mr. Schaefer's organization?
                                                                            21           A.    I'm sorry.      I don't remember the name of the
                                                                            22    person.
                                                                            23           Q.    And what was the comment?
                                                                            24           A.    The comment was something in regard to RCI
                                                                            25    being, you know, very, very profitable.                 Well, there's
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                                                                            1     no way to know, in the first place.                And secondly, the
                                                                            2     discussion of profits openly at that level is -- you
                                                                            3     know, we don't do that.
                                                                            4            Q.    But you're certainly interested in RCI revenue;
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                                                                            5     correct?
                                                                            6                        MS. GULLEY:       Objection; form.
                                                                            7            A.    Yes, ma'am.      And the reason why I'm interested
                                                                            8     in RCI revenue, particularly in regards to the CDK
                                                                            9     stand-down agreement, is because CDK's attitude and, you
                                                                            10    know, talk and discussion in the marketplace regarding
                                                                            11    data security, and specifically our data security
                                                                            12    procedures, has been very hurtful over the years.                       And
                                                                            13    I'm looking forward to, you know, recovering from some
                                                                            14    of the hurt that we endured over a number of years.
                                                                            15           Q.    (By Ms. Wedgworth)         So you specifically do want
                                                                            16    to track revenue at RCI as it relates to the stand-down
                                                                            17    agreement with CDK?
                                                                            18                       MS. GULLEY:       Objection; form.
                                                                            19           A.    Yes, ma'am.      I made inquiries about that.
                                                                            20    Since that's over with now, it's of less importance, you
                                                                            21    know, currently.         I -- I really don't follow it that
                                                                            22    much anymore.        But during this time period, I was.
                                                                            23           Q.    (By Ms. Wedgworth)         Well, Reynolds currently
                                                                            24    follows that; correct?
                                                                            25                       MS. GULLEY:       Objection; form.
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                                                                                                                                                    Page 234
                                                                            1            Q.    (By Ms. Wedgworth)         In the financial
                                                                            2     statements?
                                                                            3                        MS. GULLEY:       Form.
                                                                            4            A.    They do not follow any financial statements,
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                                                                            5     you know, incomes, to that level of detail.                   You know,
                                                                            6     there is a -- a gross, you know, revenue number that
                                                                            7     goes in the audits -- goes in -- which is where the
                                                                            8     financial statements are.
                                                                            9            Q.    (By Ms. Wedgworth)         You said the comment that
                                                                            10    someone made in Mr. Schaefer's organization was that RCI
                                                                            11    is very, very profitable; is that correct?
                                                                            12                       MS. GULLEY:       Objection; form.
                                                                            13           A.    That -- that's what gave rise to this
                                                                            14    particular email.
                                                                            15           Q.    (By Ms. Wedgworth)         And you don't recall who
                                                                            16    that person is?
                                                                            17                       MS. GULLEY:       Objection; form.
                                                                            18           A.    No, ma'am.
                                                                            19           Q.    (By Ms. Wedgworth)         I'd like to show you what's
                                                                            20    been marked as Plaintiff's Exhibit 662.
                                                                            21                       (Exhibit 662 was marked for
                                                                            22                         identification.)
                                                                            23                       MS. WEDGWORTH:        Can I have one back?
                                                                            24           Q.    (By Ms. Wedgworth)         Mr. Brockman, as you read,
                                                                            25    I'm going to let you know that I'm going to reference
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                                                                            1     questions to the second page of the document where --
                                                                            2     where you write in it.
                                                                            3                            Mr. Brockman, have you had a chance to
                                                                            4     review the document?
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                                                                            5             A.     I'm almost there.         Yes, ma'am.
                                                                            6             Q.     And on the second page, where you wrote an
                                                                            7     email in response to Mr. Schaefer and Mr. Schaefer wrote
                                                                            8     you back, did you write this email in ordinary course of
                                                                            9     your business around August 9th, 2016?
                                                                            10            A.     Okay.     Is this -- can you point out
                                                                            11    specifically --
                                                                            12            Q.     Your email, kind of in the middle of the page.
                                                                            13            A.     Okay.     It's the one in bold print?
                                                                            14            Q.     Yes.
                                                                            15            A.     Okay.
                                                                            16            Q.     And you wrote it to Mr. Schaefer on about
                                                                            17    August 9, 2016?
                                                                            18            A.     Yes, ma'am.      That's -- that's what the email
                                                                            19    says.        I don't remember specifically but, you know,
                                                                            20    that's what it says.
                                                                            21            Q.     And the email says, "I am still needing an
                                                                            22    answer as to where we stand on the amount of revenue
                                                                            23    that we were supposed to realize out of the CDK deal."
                                                                            24    Do you see that?
                                                                            25            A.     Yes.
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                                                                            1            Q.    And the CDK deal you're referring to there is
                                                                            2     what you call the "stand-down agreement"?
                                                                            3            A.    That's correct.
                                                                            4            Q.    And you're asking Mr. Schaefer, here, to answer
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                                                                            5     a question you -- you're waiting on concerning the
                                                                            6     revenue realized from that stand-down deal; is that
                                                                            7     correct?
                                                                            8                        MS. GULLEY:       Objection; form.
                                                                            9            A.    That's correct.        And as I pointed out
                                                                            10    previously, the reason why I'm interested in that is
                                                                            11    because I believe that we suffered greatly from ADP's
                                                                            12    actions over the years.            And one of -- one of the
                                                                            13    reasons why I'm concerned about this revenue is because
                                                                            14    this is a recompense for the things that they did to us.
                                                                            15    And I'm -- I'm curious as to this coming out at -- as
                                                                            16    the way that it was planned to come out.
                                                                            17           Q.    (By Ms. Wedgworth)         Meaning it was planned to
                                                                            18    come out to -- to generate revenue?
                                                                            19                       MS. GULLEY:       Objection; form.
                                                                            20           A.    That's -- that's correct.            That was one of
                                                                            21    our -- our motivations for, you know, the whole
                                                                            22    stand-down agreement in the first place.                  It was to
                                                                            23    stop, you know, ADP from hacking in, banditing our
                                                                            24    systems and to, you know, recompense us for the damage
                                                                            25    they've done to us over the years on the subject of data
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 237
                                                                            1     security.
                                                                            2                        MS. GULLEY:       Thank you.       Robert emailed me
                                                                            3     and said he was disconnected.               Just letting you know.
                                                                            4                        MS. WEDGWORTH:        Can we go off the record?
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                                                                            5                        THE VIDEOGRAPHER:          This is the end of Media
                                                                            6     1.   The time is 11:02 a.m., and we are off the record.
                                                                            7                        (Short recess 11:02 to 11:09 a.m.)
                                                                            8                        THE VIDEOGRAPHER:          This is the beginning of
                                                                            9     Media 2.      The time is 11:09 a.m.           We're back on the
                                                                            10    record.
                                                                            11                          EXAMINATION (Continuing)
                                                                            12                       (Exhibit 663 was marked for
                                                                            13                         identification.)
                                                                            14    BY MS. WEDGWORTH:
                                                                            15           Q.    Mr. Brockman, I'll show you what's been marked
                                                                            16    as Plaintiff's Exhibit 663.             Have you had an opportunity
                                                                            17    to review it?
                                                                            18           A.    I'm almost done.        Yes.
                                                                            19           Q.    Are there any awards at Reynolds that are given
                                                                            20    to reward high-performing teams?
                                                                            21           A.    Yes, there are.
                                                                            22           Q.    What are those awards?
                                                                            23           A.    The rewards are numerically, you know,
                                                                            24    principally, individual awards.
                                                                            25           Q.    I asked just for teams, team awards.
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                                                                                                                                                    Page 238
                                                                            1            A.    Teams?     There's really only one team award
                                                                            2     that's been in place for quite a while, which is a
                                                                            3     department of the year.            And we give that out twice.          We
                                                                            4     give it once in Dayton and we give it once in Houston.
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                                                                            5            Q.    Dayton is toward the end of the year?
                                                                            6            A.    No, they're both -- one of them is on a
                                                                            7     Wednesday in November and on a Friday, the following
                                                                            8     Friday.
                                                                            9            Q.    And is there any monetary compensation for the
                                                                            10    team with -- that goes with that award?
                                                                            11           A.    No.
                                                                            12           Q.    Is there any trip or -- or benefit to that
                                                                            13    award for the team?
                                                                            14           A.    There -- there's no direct prize or -- you
                                                                            15    know, as there are with some of our awards, individual
                                                                            16    awards.      This particular award, there's no prize.
                                                                            17    There's a plaque.         You know, there's no trip.             However,
                                                                            18    people that are in that department, especially our key
                                                                            19    people in that department are -- in due course, and --
                                                                            20    and because it's the right thing to do, they will
                                                                            21    inevitably, you know, receive better salary increases
                                                                            22    than -- than they otherwise might.                It's a very
                                                                            23    prestigious award to get, the department of the year.
                                                                            24           Q.    In Plaintiff's Exhibit 663, is this an email
                                                                            25    you received from Mr. Schaefer around November 10, 2016
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 239
                                                                            1     where he writes to you to make a pitch that his team win
                                                                            2     that 2016 team -- team award.
                                                                            3            A.    Yes.    That's what it is.
                                                                            4            Q.    And did you receive this email?
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                                                                            5            A.    Yes, ma'am.
                                                                            6            Q.    The second paragraph of this email that
                                                                            7     Mr. Schaefer writes to you says, "This organiza-" --
                                                                            8     well, the first paragraph says, "Several years ago
                                                                            9     (about 9) you met with the Data Services team" -- which
                                                                            10    is also known as DSV; correct?
                                                                            11           A.    That's correct.
                                                                            12           Q.    -- "you met with the Data Services team and we
                                                                            13    discussed our role with[in] the company.                  At this [the]
                                                                            14    time, we were just starting the security enhancements,
                                                                            15    RCI was just in it's infancy in the new company.                        We
                                                                            16    discussed our role and at the time you quoted the
                                                                            17    following to the team:
                                                                            18                        "'This organization is like the CIA, I
                                                                            19    (meaning you) understand what this organization is and
                                                                            20    will be doing but we cannot communicate to the rest of
                                                                            21    organization what specifically is being done, how it is
                                                                            22    being done and any the successes that are accomplished.
                                                                            23    You will receive[d] medals behind the scenes.                    Someday,
                                                                            24    we will be able to communicate and celebrate your
                                                                            25    successes.       I can assure you of that!'"
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 240
                                                                            1                        Did you say that?
                                                                            2            A.    Yes, I did.
                                                                            3            Q.    You can put that document aside.              Did
                                                                            4     Mr. Schaefer's team win the 2016 team award?
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                                                                            5            A.    I honestly can't remember.            I don't -- I don't
                                                                            6     think they did.
                                                                            7            Q.    Has Mr. Schaefer's DSV team ever won the award?
                                                                            8            A.    I don't remember clearly yes or no, but -- I --
                                                                            9     my belief would be, no.
                                                                            10           Q.    Mr. Schaefer would know for sure, I presume?
                                                                            11           A.    I know for sure he would.            And I might add, I
                                                                            12    get a number of letters like this from all corners of
                                                                            13    the company.
                                                                            14                       MS. WEDGWORTH:        Why don't we take a break
                                                                            15    now.    Can we take a 10-minute break?
                                                                            16                       MS. GULLEY:       That's fine.
                                                                            17                       THE VIDEOGRAPHER:         The time is 11:15 a.m.,
                                                                            18    and we're off the record.
                                                                            19                       (Short recess 11:15 to 11:31 a.m.)
                                                                            20                       THE VIDEOGRAPHER:         Back on the record at
                                                                            21    11:31 a.m.
                                                                            22                          EXAMINATION (Continuing)
                                                                            23                       (Exhibit 664 was marked for
                                                                            24                         identification.)
                                                                            25    BY MS. WEDGWORTH:
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 241
                                                                            1            Q.    Mr. Brockman, I'll show you what's been marked
                                                                            2     as Plaintiff's Exhibit 664.
                                                                            3            A.    May I tell you the news first?
                                                                            4            Q.    Yes.    Well, off the record, then.
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                                                                            5                         MS. GULLEY:      Let's just stay on the record.
                                                                            6     We'll do this in a little bit.              Let's proceed with --
                                                                            7                         MS. WEDGWORTH:       Sadly, we're on the record.
                                                                            8     So if you will take a look at the exhibit.
                                                                            9                         (Brief discussion.)
                                                                            10           A.    664 is the one we're supposed to be looking at
                                                                            11    it?
                                                                            12           Q.    (By Ms. Wedgworth)         Yes.
                                                                            13                        MS. GULLEY:      Thank you.
                                                                            14           Q.    (By Ms. Wedgworth)         A document Bates-stamped
                                                                            15    REYMDL00333091 through 092.             And Mr. Brockman, as you
                                                                            16    review the document, I'll let you know my questions
                                                                            17    relate to the second page of the document.
                                                                            18                        Mr. Brockman, have you had a chance to
                                                                            19    review --
                                                                            20           A.    Yes, ma'am.
                                                                            21           Q.    -- Exhibit 664?        Did you receive and write this
                                                                            22    email on or about April 19, 2016?
                                                                            23           A.    Yes, that -- I believe that's what it says.
                                                                            24           Q.    And if we start on the second page of the email
                                                                            25    where Mr. Bauer writes to you and some others.                    The
                                                                                                                Veritext Legal Solutions
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                                                                            1     subject is:        "Draft ASB: New Features for MMS Data
                                                                            2     Synchronization (Sync) - Review Due by April 26."                        Do
                                                                            3     you recognize this email?
                                                                            4             A.    Yes, ma'am.      But I -- I -- I'm sitting here
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                                                                            5     searching my mind, and I -- I don't recall, frankly,
                                                                            6     what I was talking about.             It was talking about
                                                                            7     something having to do with Data Sync, but what it's
                                                                            8     talking about, I don't remember.
                                                                            9             Q.    Well, Mr. Bauer writes to you and others,
                                                                            10    "Please review the attached draft ASB announcing New
                                                                            11    Features for MMS Data Synchronization (Sync).                     Forward
                                                                            12    any edits/comments to my attention."
                                                                            13                        And then you respond, "Tom, This is
                                                                            14    absolutely not to be released.               I have no idea why it
                                                                            15    was ever built.          The policy all along has been to not
                                                                            16    make further enhancements to MMS that make the dealer's
                                                                            17    DMS data more valuable - so it is easier to leave us and
                                                                            18    not feel the pain.           Notify all of those concerned.
                                                                            19    Bob."
                                                                            20                        Did you write that?
                                                                            21            A.    Yes, ma'am, I did.         But the point I'm trying to
                                                                            22    make is -- is whatever the feature was, I can't tell
                                                                            23    you.     I don't remember.
                                                                            24            Q.    Is it fair to say that you did not approve of
                                                                            25    further MMS enhancements to the dealer's DMS data?
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                                                                                                                                                    Page 243
                                                                            1                        MS. GULLEY:       Objection; form.
                                                                            2            A.    What -- that's correct.           What -- what's
                                                                            3     happening here is --
                                                                            4            Q.    (By Ms. Wedgworth)         Actually, there's no
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                                                                            5     question pending.
                                                                            6                        Is it fair to say that the policy at
                                                                            7     Reynolds was to not make further enhancements to the MMS
                                                                            8     to make the dealer's data more valuable?
                                                                            9                        MS. GULLEY:       Objection; form.
                                                                            10           A.    That's what I'm -- I'm endeavoring to explain.
                                                                            11           Q.    (By Ms. Wedgworth)         And I just asked a
                                                                            12    yes-or-no question.
                                                                            13                       MS. GULLEY:       You can answer the question.
                                                                            14                       MR. RYAN:       I object to cutting the witness
                                                                            15    off.
                                                                            16                       MS. GULLEY:       Go ahead and answer.
                                                                            17           A.    Well, okay.      There -- there's two databases.
                                                                            18    There's -- there's the DMS database, which every
                                                                            19    dealership has.         MMS is -- is a marketing database,
                                                                            20    which we sell under the Naked Lime Marketing MS tag, and
                                                                            21    these databases are -- are different in -- in the amount
                                                                            22    of data that they contain.
                                                                            23                       As we, you know, make investments
                                                                            24    to improve the product offering for Naked Lime
                                                                            25    Marketing, which is the MMS database, we want to do that
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 244
                                                                            1     so that product will sell more.              That's -- that's what
                                                                            2     our investment is -- is, you know, based upon.
                                                                            3                        What's happened here appears -- and that's
                                                                            4     we have done something that's an enhancement to MMS.
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                                                                            5     And for some reason, you know, we have, in the
                                                                            6     synchronization process, you know, made that -- made
                                                                            7     that information, which we're buying and building on our
                                                                            8     own, we're moving that over to the dealership's DMS.
                                                                            9     And we don't intend to do that.              So what's happened
                                                                            10    is -- is the development is going to stray from what is
                                                                            11    logical from a business standpoint.
                                                                            12           Q.    (By Ms. Wedgworth)         You -- so the developer --
                                                                            13    did you say "developer" or "development"?
                                                                            14           A.    Somebody in the development area.
                                                                            15           Q.    And this is your email reining that
                                                                            16    development -- or developer back in?
                                                                            17                       MS. GULLEY:       Form.
                                                                            18           A.    That's correct.        It says, "This is absolutely
                                                                            19    not to be released."
                                                                            20           Q.    (By Ms. Wedgworth)         Mr. Brockman, I'd like to
                                                                            21    show you what's been marked as Plaintiff's Exhibit 665.
                                                                            22                       (Exhibit 665 was marked for
                                                                            23                         identification.)
                                                                            24           Q.    (By Ms. Wedgworth)         Have you had a chance to
                                                                            25    review Plaintiff's Exhibit 665?
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                                                                                                                                                    Page 245
                                                                            1            A.    I'm just about there.          Yes, ma'am.
                                                                            2            Q.    Did you write this email on or -- and its
                                                                            3     attachment on or about May 8, 2016?
                                                                            4            A.    I -- I'm sorry.        I'm not seeing where -- where
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                                                                            5     I -- I wrote it.         Unless it's this little short email
                                                                            6     down at the bottom of Page 1 that you're talking about.
                                                                            7            Q.    Yes.    Yes.
                                                                            8            A.    Yes, I understand and I -- I did write that.
                                                                            9            Q.    Page 2 of the document, did you write this as
                                                                            10    well, dated May 9, 2019, entitled "Security
                                                                            11    Improvements"?
                                                                            12           A.    I don't think I actually wrote that.                I think
                                                                            13    that it was written by somebody else, and I attached it
                                                                            14    on to my email.
                                                                            15           Q.    And in your email that has no subject, you
                                                                            16    write, "This is what needs to be done"; is that correct?
                                                                            17           A.    That's correct.
                                                                            18           Q.    And in the attachment, which is entitled
                                                                            19    "Security Improvements," are these security improvements
                                                                            20    that you wanted Reynolds to implement in the May 2016
                                                                            21    time frame?
                                                                            22           A.    Yes, ma'am.      Specifically, what -- what's
                                                                            23    involved here is -- and that's that we're endeavoring,
                                                                            24    as part of our research, to figure out what third-party
                                                                            25    hackers, bandits, look like.             And one of the things they
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 246
                                                                            1     look like is -- and that's they come in in the middle of
                                                                            2     the night.       And we're -- we're very suspicious about
                                                                            3     people coming in in the middle of the night.                   That's
                                                                            4     just doesn't look like ordinary business use of the
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                                                                            5     software.      It looks like something foreign.
                                                                            6                        And what they're saying is -- and that's
                                                                            7     that we want them to enter CAPTCHA individually, which
                                                                            8     has been a -- a pretty successful way to turn back, you
                                                                            9     know, interlopers.          They even have gone so far -- and
                                                                            10    this is hard to believe -- they'll have the software --
                                                                            11    their software, when they come across CAPTCHA, which
                                                                            12    they can't fix with their software -- they can't detect.
                                                                            13                       You know, when you look at a CAPTCHA, a
                                                                            14    series of pictures.          You know, humans can pick them out
                                                                            15    pretty well, so what they'll do is -- and that's they'll
                                                                            16    send a quickie message to some place in India.                    And some
                                                                            17    place in India, somebody is staying up all night or all
                                                                            18    day and, you know, they'll look at the CAPTCHA on their
                                                                            19    screen and they can answer it.              And then they -- they
                                                                            20    send that back to -- where all of this is occurring in
                                                                            21    the U.S.      And they get in.         I mean, it's -- it's --
                                                                            22    they've gone to that extreme to try and dig their way
                                                                            23    in.
                                                                            24           Q.    So in these security improvements that
                                                                            25    you've -- want Reynolds to implement, one of those
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                                                                                                                                                    Page 247
                                                                            1     security improvements is CAPTCHA would have to be
                                                                            2     entered individually for each report to be exported;
                                                                            3     correct?
                                                                            4            A.    That's correct.
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                                                                            5            Q.    And the other security improvement would be
                                                                            6     that no exports could be done from 7 p.m. Saturday until
                                                                            7     8 a.m. Monday; correct?
                                                                            8            A.    Correct.     And it says, you know, "Bulk export
                                                                            9     functionality has been removed for data security
                                                                            10    reasons."      That's the error message.
                                                                            11           Q.    And the additional time limit, also, was that
                                                                            12    no exports could be done, of any kind, from 7 p.m. to 8
                                                                            13    a.m.; correct?
                                                                            14           A.    That's correct.
                                                                            15           Q.    And Reynolds implemented these security
                                                                            16    improvements at the end of May; correct?
                                                                            17           A.    I'm not sure, you know, what got done when.
                                                                            18    I'm not -- I'm not in the loop at that part.
                                                                            19           Q.    Is it fair to say, when these security
                                                                            20    improvements were implemented, your main concern was
                                                                            21    security?
                                                                            22           A.    Absolutely.
                                                                            23                       (Exhibit 666 was marked for
                                                                            24                         identification.)
                                                                            25           Q.    (By Ms. Wedgworth)         I'd like to show you what's
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 248
                                                                            1     been marked as Plaintiff's Exhibit 666.
                                                                            2                         Mr. Brockman, have you had a chance to
                                                                            3     review Plaintiff's Exhibit 666?
                                                                            4            A.    Yes.
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                                                                            5            Q.    And is this an email you received and wrote in
                                                                            6     May 31, 2016?
                                                                            7            A.    Yes.
                                                                            8            Q.    And this email concerns security enhancements;
                                                                            9     correct?
                                                                            10           A.    What it concerns is -- and that's that, as I've
                                                                            11    testified, you know, previously -- yesterday, that the
                                                                            12    detection of the techniques that, you know, bandits use
                                                                            13    to get in our system is not a perfect process.                    In other
                                                                            14    words, we can't look at what they're doing and say,
                                                                            15    "Okay, that's a bad guy and, you know, what's happening
                                                                            16    is wrong."
                                                                            17                        We -- in the course of continuing to
                                                                            18    improve our -- our security controls, we make them a
                                                                            19    little too tight, and it's because there's things
                                                                            20    happening that we don't -- we had not anticipated.                      For
                                                                            21    instance, here it talks about the fact that, you know,
                                                                            22    people come in early to run reports.                And I never
                                                                            23    perceived that that would actually be happening.
                                                                            24           Q.    You never understood that?
                                                                            25           A.    No.    I did not understand in the -- in the
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                                                                                                                                                      Page 249
                                                                            1     dealership world, that people would come in at 5 a.m. in
                                                                            2     the morning and run reports.               I just didn't perceive
                                                                            3     that.        And sure enough, that was a little too tight.
                                                                            4     And so what we're doing here is -- and that's where
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                                                                            5     we're -- we're issuing, you know, temporary rollbacks
                                                                            6     for specific dealers of -- of that particular security
                                                                            7     change until such time as we can, you know, make it an
                                                                            8     overall change to -- to the -- to the security process.
                                                                            9             Q.     And you gave temporary exemptions to all of
                                                                            10    these major accounts listed in Exhibit 666 with regard
                                                                            11    to your security improvements; correct?
                                                                            12                         MS. GULLEY:       Objection; form.
                                                                            13            A.     These are -- these are the people that -- you
                                                                            14    know, that call our support center and -- and register,
                                                                            15    you know, what we consider to be a valid complaint.                       And
                                                                            16    therefore, these people, we issued a -- a temporary
                                                                            17    bypass to this particular security change.
                                                                            18            Q.     (By Ms. Wedgworth)         And the groups listed here
                                                                            19    are major accounts; is that a fair statement?
                                                                            20            A.     I've not looked at each specific one.
                                                                            21            Q.     Well, you don't have any reason to believe that
                                                                            22    Mr. Bates is inaccurate when he says, "Terry and Willie,
                                                                            23    Below is a list of Major Accounts who have expressed
                                                                            24    frustration and disappointment with the changes that
                                                                            25    have occurred."           Do you see that?
                                                                                                                  Veritext Legal Solutions
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                                                                                                                                                    Page 250
                                                                            1            A.    Yeah.     Mr. Bates is a -- a -- a credible
                                                                            2     person.
                                                                            3            Q.    So it's fair to say this list below is of major
                                                                            4     accounts at Reynolds?
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                                                                            5            A.    Yeah, based on Dave Bates' opinion, yeah, I
                                                                            6     would agree.         His opinion would be a good opinion.
                                                                            7            Q.    And so the major accounts at Reynolds were
                                                                            8     given exemptions for the new security enhancements; is
                                                                            9     that correct?
                                                                            10                         MR. RYAN:     Object to form.
                                                                            11           A.    No.     Just these specific ones.
                                                                            12           Q.    (By Ms. Wedgworth)         The major accounts listed
                                                                            13    in Exhibit 666 --
                                                                            14           A.    Yes.
                                                                            15                         MS. GULLEY:     Objection.
                                                                            16           Q.    (By Ms. Wedgworth) -- are the ones who received
                                                                            17    exemptions to the security enhancements?
                                                                            18                         MS. GULLEY:     Objection; form.
                                                                            19           A.    Just the people on this list.
                                                                            20           Q.    (By Ms. Wedgworth)         Do you recall, when the
                                                                            21    security enhancement was put into place, it was done
                                                                            22    over the weekend?
                                                                            23                         MS. GULLEY:     Objection; form.
                                                                            24           A.    I'm sorry.      I -- I don't recall and I -- I
                                                                            25    would not know.
                                                                                                                Veritext Legal Solutions
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                                                                            1             Q.    (By Ms. Wedgworth)         Do -- do you recall that
                                                                            2     dealers were not informed of these security enhancements
                                                                            3     in advance?
                                                                            4                         MS. GULLEY:       Objection; form.
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                                                                            5             A.    I would say it's our general policy not to
                                                                            6     announce security enhancements in advance.
                                                                            7             Q.    (By Ms. Wedgworth)         With regard to these
                                                                            8     security enhancements that were put in place at the end
                                                                            9     of May 2016, they were ultimately withdrawn, weren't
                                                                            10    they?
                                                                            11                        MS. GULLEY:       Form.
                                                                            12            A.    I'm not in a position to be able to say.                   I --
                                                                            13    I don't know.
                                                                            14            Q.    (By Ms. Wedgworth)         Do you recall during this
                                                                            15    time period that Reynolds received a lot of complaints
                                                                            16    from dealerships concerning the -- the security
                                                                            17    enhancements that Reynolds released at this time?
                                                                            18            A.    Ma'am, I'm not aware of -- you know, of what
                                                                            19    went on in that period of time, other than if I would be
                                                                            20    notified, such as this email right here.
                                                                            21            Q.    You would be notified?
                                                                            22            A.    I would only be notified of situations like
                                                                            23    this one here.
                                                                            24            Q.    Would Mr. Schaefer be notified on a -- on a
                                                                            25    normal basis concerning this?
                                                                                                                 Veritext Legal Solutions
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                                                                            1            A.    Yeah, he would be more likely to than I.
                                                                            2                          (Exhibit 667 was marked for
                                                                            3                           identification.)
                                                                            4            Q.    (By Ms. Wedgworth)         Mr. Schaefer, I'll show you
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                                                                            5     what's been marked as Plaintiff's Exhibit 667.
                                                                            6            A.    You mean me?
                                                                            7            Q.    Mr. Brockman.
                                                                            8            A.    Okay.
                                                                            9            Q.    I'm trying to see if I can outdo Mr. Nemelka.
                                                                            10                         Mr. Brockman, have you reviewed Plaintiff's
                                                                            11    Exhibit 667?
                                                                            12           A.    Not quite.      It's five pages.
                                                                            13           Q.    The good news is the last two are screenshots,
                                                                            14    I think.
                                                                            15           A.    You're right.
                                                                            16           Q.    Have you had a chance to review Exhibit 667?
                                                                            17           A.    Yes, ma'am.
                                                                            18           Q.    And did you receive and write this email on or
                                                                            19    about May 31st, 2016?
                                                                            20                         MS. GULLEY:     Form.
                                                                            21           A.    Yes, ma'am.
                                                                            22           Q.    (By Ms. Wedgworth)         And in all your emails that
                                                                            23    you wrote, do you try to be truthful and accurate?
                                                                            24           A.    Yes, ma'am.
                                                                            25           Q.    On the first page, where the subject is "Data
                                                                                                                Veritext Legal Solutions
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                                                                            1     Security impact," and the earlier emails are May 31st,
                                                                            2     with your email being May 31st.               And then Mr. Schaefer
                                                                            3     ultimately responding on June 1st, where you -- where
                                                                            4     the email from Mr. Agan, before yours, says, "Bob, I'm
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                                                                            5     hearing from several AVPs that whatever action we took
                                                                            6     recently has got a number of customers quite upset.
                                                                            7     There is an email from the IT Support Director for John
                                                                            8     Eagle dealerships below.             Dan."    Are you familiar with
                                                                            9     John Eagle dealerships?
                                                                            10            A.    Not very much beforehand but, certainly, this
                                                                            11    one here -- this dear lady -- and I'll refer to her as a
                                                                            12    "dear lady" -- "I leave my house before 5am to get to
                                                                            13    the store before 6am."            And -- and she's coming in to be
                                                                            14    there at 6 a.m., and the list of reports that she's
                                                                            15    running manually is remarkable.               She's clearly a very
                                                                            16    dedicated person.
                                                                            17            Q.    Referring to your email, on the front page,
                                                                            18    about her remarkable abilities, you write, "Bob, This"
                                                                            19    is one -- "This one is worthy of an exception even
                                                                            20    considering the CarFax 3rd party usage."                   Do you see
                                                                            21    that?
                                                                            22            A.    Yes.
                                                                            23            Q.    Do you know what the CarFax third-party usage
                                                                            24    reference is?
                                                                            25                         MS. GULLEY:      Objection; form.
                                                                                                                 Veritext Legal Solutions
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                                                                            1            A.    I don't know specifically what's going on
                                                                            2     there, but my decision was based on what takes up most
                                                                            3     of the second page.          It's -- this one was clearly worthy
                                                                            4     of an exception, period.
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                                                                            5            Q.    (By Ms. Wedgworth)         So you granted this
                                                                            6     exception; is that correct?
                                                                            7                        MS. GULLEY:       Form.
                                                                            8            A.    Yes, ma'am.      And I -- the -- I don't know --
                                                                            9     this happened back in 2016, two -- two and a half years
                                                                            10    ago.    I don't know exactly what the state of affairs is
                                                                            11    regarding data security in this particular area, but I
                                                                            12    do know that, you know, this has quieted down and is no
                                                                            13    longer an issue.         And Ms. Lisa Wood continues to be our
                                                                            14    friend and good customer.
                                                                            15           Q.    (By Ms. Wedgworth)         Well, on the "quieted down
                                                                            16    and no longer an issue," let me show you what we're
                                                                            17    marking as Plaintiff's Exhibit 668.
                                                                            18                       (Exhibit 668 was marked for
                                                                            19                         identification.)
                                                                            20           Q.    (By Ms. Wedgworth)         Have you reviewed
                                                                            21    Plaintiff's Exhibit 668?
                                                                            22           A.    Not quite through, but so far I'm really
                                                                            23    enjoying it.       I'm serious.        Yes, ma'am.
                                                                            24           Q.    Did you receive and write this email on or
                                                                            25    about June 2nd, 2016?
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 255
                                                                            1            A.    Yes, I did.
                                                                            2            Q.    And you write to Mr. Schaefer, "Please see
                                                                            3     changes that I have made."             And this attachment is
                                                                            4     "DRAFT - CAPTCHA Suspension Talk Track."
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                                                                            5                         If we go to the second page of the
                                                                            6     document, "Sales Breaking News," it says, "We have
                                                                            7     suspended the CAPTCHA and time restriction updates
                                                                            8     released earlier this week.             Read below for the
                                                                            9     authorized talk track to discuss with customers."
                                                                            10                        Does this refresh your recollection that in
                                                                            11    early June 2016, Reynolds suspended the security
                                                                            12    enhancements they had put in place late May?
                                                                            13                        MS. GULLEY:      Objection; form.
                                                                            14           A.    Yes.    That -- that is correct.           And certainly,
                                                                            15    you know, the whole rest of what I wrote here is -- is
                                                                            16    worth going through.
                                                                            17           Q.    (By Ms. Wedgworth)         I just want to focus on the
                                                                            18    last bullet point to get to the end of the story.
                                                                            19    "Effective immediately the two enhancements regarding
                                                                            20    restricted hours and CAPTCHA have been suspended."                      Were
                                                                            21    both suspended on or around June 1, 2016?
                                                                            22                        MS. GULLEY:      Object to the form and the
                                                                            23    instruction.
                                                                            24           A.    I'm not aware of the exact date that that was
                                                                            25    done, but I would presume sometime in that time frame.
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 256
                                                                            1            Q.    (By Ms. Wedgworth)         And in that bullet
                                                                            2     referencing two enhancements, that references the
                                                                            3     security enhancements; correct?
                                                                            4            A.    I think it represents two of the security --
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                                                                            5     security enhancements and, probably, it's not likely all
                                                                            6     of them because, you know, we do them in batches.                       We
                                                                            7     don't do them individually.             So there -- there's more
                                                                            8     than likely others which, you know, stayed in place.
                                                                            9            Q.    This does not reference any, does it?
                                                                            10                       MS. GULLEY:       Form.
                                                                            11           A.    No, it does not.
                                                                            12           Q.    (By Ms. Wedgworth)         So this "Sales Breaking
                                                                            13    News" talking points references two data security
                                                                            14    enhancements that were being suspended; correct?
                                                                            15                       MS. GULLEY:       Objection; form.
                                                                            16           A.    Yeah, but it primarily references the reasons
                                                                            17    why that we do what we do and the reasons why we operate
                                                                            18    the way we do.
                                                                            19                       (Exhibit 669 was marked for
                                                                            20                         identification.)
                                                                            21           Q.    (By Ms. Wedgworth)         I'd like to show you what
                                                                            22    we've marked as Plaintiff's Exhibit 669.                  Mr. Brockman,
                                                                            23    have you had a chance to review Plaintiff's Exhibit 669?
                                                                            24           A.    I'm just about there.           Yes.
                                                                            25           Q.    Did you receive and write this email on or
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 257
                                                                            1     about August 12th, 2016 that is Plaintiff's Exhibit 669?
                                                                            2            A.    Yes, ma'am.
                                                                            3            Q.    I take it you are familiar with AutoAlert as a
                                                                            4     third-party vendor?
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                                                                            5            A.    In name only.       I've never been to their place.
                                                                            6     Never talked to them.
                                                                            7            Q.    Does the Reynolds contract with vendors prevent
                                                                            8     the vendor from disclosing data integration fees to the
                                                                            9     dealerships?
                                                                            10                        MS. GULLEY:      Objection; form.
                                                                            11           A.    That -- that contract specifies that they --
                                                                            12    they cannot specifically, you know, cite what our
                                                                            13    monthly fee is to them, which is what appears to have
                                                                            14    occurred in this particular case.
                                                                            15           Q.    (By Ms. Wedgworth)         And you have --
                                                                            16    Mr. Strawsburg writes to you about this particular case
                                                                            17    of AutoAlert?
                                                                            18           A.    Yes.
                                                                            19                        MS. GULLEY:      Objection; form.
                                                                            20           A.    And I'd like to point out as well, this is not
                                                                            21    an ordinary RCI, you know, application.                 It was a very
                                                                            22    special one where it actually, you know, requires us to,
                                                                            23    you know, insert into our mainline software the
                                                                            24    functionality that they're asking here.
                                                                            25                        Because they -- they cite "Repair orders
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 258
                                                                            1     will now be in real-time, which will enable the system
                                                                            2     to identify upgrade opportunities in the timeliest
                                                                            3     fashion," which makes the AutoAlert product a whale of a
                                                                            4     lot better.       And so we're doing a lot more than just
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                                                                            5     providing data to them.            We're actually inserting
                                                                            6     functionality into our operating software that makes
                                                                            7     their product better.
                                                                            8            Q.    (By Ms. Wedgworth)         In the top email, you
                                                                            9     write, "They are clearly over the line.                 Exercise our
                                                                            10    termination for convenience."              Is this you request- --
                                                                            11    ordering that AutoAlert's contract be terminated?
                                                                            12           A.    That's correct.
                                                                            13           Q.    And are you ordering that their contract be
                                                                            14    terminated due to the fact that they're informing
                                                                            15    dealerships of their monthly data integration fee that
                                                                            16    they are passing along to the dealers?
                                                                            17                       MS. GULLEY:       Objection; form.
                                                                            18           A.    That's correct.        That is clearly prohibited in
                                                                            19    our contract.        Now, they are perfectly within their
                                                                            20    rights to disclose the cost of their -- of their
                                                                            21    product, you know, the price that they charge the
                                                                            22    dealer.      You know, they are not permitted, underneath
                                                                            23    our contract, to -- you know, publish the price that we
                                                                            24    charge them.
                                                                            25           Q.    (By Ms. Wedgworth)         You would agree with me
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 259
                                                                            1     that the vendor market is compet- -- is a competitive
                                                                            2     market; correct?
                                                                            3            A.    When it comes to car sales, yes, that's
                                                                            4     necessarily true.
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                                                                            5            Q.    I'd like to show you what's been marked as
                                                                            6     Plaintiff's Exhibit 670.
                                                                            7                        (Exhibit 670 Brockman was marked for
                                                                            8                          identification.)
                                                                            9            Q.    (By Ms. Wedgworth)         Mr. Brockman, have you
                                                                            10    reviewed Exhibit 670 Brockman?
                                                                            11           A.    Yes, ma'am.
                                                                            12           Q.    And did you receive and write this email around
                                                                            13    August 12th, 2016?
                                                                            14           A.    Yes, ma'am.
                                                                            15           Q.    And -- and if you will note the previous
                                                                            16    Exhibit, 669, was on the same day as well.
                                                                            17           A.    That -- that's correct.           And since there's
                                                                            18    reference to that -- that's important -- is the reason I
                                                                            19    just pulled it back out of the pile, so I can open it up
                                                                            20    and look at it again.
                                                                            21           Q.    So at this time, meaning August 12th, 2016, did
                                                                            22    AutoAlert have a "real-time service drive lead feature"?
                                                                            23           A.    No, they did not.         They were not even
                                                                            24    certified.       They were not even part of RCI at that
                                                                            25    point.
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 260
                                                                            1            Q.    Your email at the top says, "Take away the
                                                                            2     RO's" -- RO's means repair orders?
                                                                            3            A.    Yes.    That's what it means, but what -- what's
                                                                            4     important is -- is the paragraph just below that, in
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                                                                            5     bold, where it says, "They're not even certified???"
                                                                            6     Good God.      And now yet in -- in their June 27th, you
                                                                            7     know, notification, you know, they're -- they're
                                                                            8     bragging about the fact they're now associated with --
                                                                            9     we've "completed the process to become RCI certified
                                                                            10    with your DMS provider, Reynolds & Reynolds.                   As you
                                                                            11    know, the RCI certification program was designed to
                                                                            12    ensure the highest level of data security for you and
                                                                            13    your customers, and our certification has been a request
                                                                            14    by many of our dealers."
                                                                            15                        But they haven't got it.
                                                                            16           Q.    Well, they do have -- real time has been opened
                                                                            17    for them, right?
                                                                            18                        MS. GULLEY:      Objection; form.
                                                                            19           A.    No.
                                                                            20           Q.    (By Ms. Wedgworth)         Well, you -- you say, "Take
                                                                            21    away the RO's opened real time," so something must be in
                                                                            22    place for AutoAlert; correct?
                                                                            23                        MS. GULLEY:      Objection; form.
                                                                            24           A.    What's happening is -- certainly appears, you
                                                                            25    know, from -- from the documents in front of me --
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                                                                                                         HIGHLY CONFIDENTIAL
                                                                                                                                                    Page 261
                                                                            1     that they are using it from a sales standpoint the fact
                                                                            2     that they are certified -- RCI certified.                  And they're
                                                                            3     not RCI certified.          They haven't achieved certification
                                                                            4     yet.
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                                                                            5                        And so therefore, I'm saying that, going
                                                                            6     forward, for a third-party to do this means that -- that
                                                                            7     they're not really quite straightforward-kind-of folks.
                                                                            8     And therefore, what we're going to do is -- and that's
                                                                            9     we're not going to give them their real-time repair
                                                                            10    order opening, because that is a special thing that's
                                                                            11    over and above what a normal RCI -- normal RCI would be
                                                                            12    just for data movement.
                                                                            13                       The real-time opening of repair orders
                                                                            14    means that they're now into our mainline software, and
                                                                            15    they're writing on our software to -- to feed to them
                                                                            16    the repair order has just been opened, real time.                       And
                                                                            17    what's happening is -- and that's that I'm -- I'm
                                                                            18    directing Bob Schaefer:            When somebody is -- is
                                                                            19    basically being dishonest with us, there's no way we're
                                                                            20    going to let them into our main software.
                                                                            21           Q.    (By Ms. Wedgworth)         When you write, "Take away
                                                                            22    the ROs opened real time from them," you've already
                                                                            23    given them something; is that correct?
                                                                            24                       MS. GULLEY:       Objection; form.
                                                                            25           A.    The contract which has obviously not been done
                                                                                                                Veritext Legal Solutions
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                                                                            1     yet -- it it's not finished, they're not RCI certified.
                                                                            2     We have decided rather than to go forward as we had
                                                                            3     planned, based upon their actions, we're not.
                                                                            4             Q.    (By Ms. Wedgworth)         Did AutoAlert become RCI
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                                                                            5     certified?
                                                                            6             A.    I'm not aware of whether they have or not.
                                                                            7     I -- I would presume they did, but I don't know.
                                                                            8             Q.    Mr. Brockman, have any data breaches of dealer
                                                                            9     DMS occurred in the past three years?
                                                                            10                        MS. GULLEY:       Objection; form.
                                                                            11            A.    I believe so.       There's -- there's one that I
                                                                            12    recall involving DealerBuilt that was pretty
                                                                            13    substantial.
                                                                            14            Q.    (By Ms. Wedgworth)         Is that the only one you
                                                                            15    recall?
                                                                            16                        MS. GULLEY:       Objection; form.
                                                                            17            A.    Of size, you know, that's the only one that,
                                                                            18    you know, that was a very, very good-sized one.                     It was
                                                                            19    huge.
                                                                            20                        (Exhibit 671 Brockman was marked for
                                                                            21                          identification.)
                                                                            22            Q.    (By Ms. Wedgworth)         Mr. Brockman, I'll show you
                                                                            23    what's been marked as Plaintiff's Exhibit 671.
                                                                            24    Mr. Brockman, have you had time to review Plaintiff's
                                                                            25    Exhibit 671?
                                                                                                                 Veritext Legal Solutions
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                                                                                                                                                    Page 263
                                                                            1            A.    Not quite yet, ma'am, but very close.                Yes,
                                                                            2     ma'am.
                                                                            3            Q.    Did you receive this email on or about June
                                                                            4     20th, 2017?
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                                                                            5            A.    Yes.
                                                                            6            Q.    Do you recall if you approved this deal?
                                                                            7            A.    I don't have any direct recollection of that.
                                                                            8     As I read it, it's probably likely that I did, because
                                                                            9     the ShowroomMagnet actually is -- is a -- is part of the
                                                                            10    company that we acquired.            It's a product.         And so
                                                                            11    therefore, doing something for that particular product
                                                                            12    area would be something that I would likely approve.
                                                                            13           Q.    Naked Lime -- ShowroomMagnet is part of the
                                                                            14    Naked Lime entity?
                                                                            15                        MS. GULLEY:      Objection; form.
                                                                            16           A.    Yes.    What ShowroomMagnet is, as I recall,
                                                                            17    it -- it is a marketing system which is employed to
                                                                            18    motivate people that come in and get a test drive.                       And
                                                                            19    to basically show up in the showroom and talk to a
                                                                            20    salesperson and take a test drive for which they get
                                                                            21    a -- a small, you know, cash payment.                 And it's -- it
                                                                            22    has been found to be fairly decently and effective way
                                                                            23    to get people to come into the dealership and take a
                                                                            24    test drive.
                                                                            25           Q.    (By Ms. Wedgworth)         And the situation described
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 264
                                                                            1     at the top, "ShowroomMagnet has been utilizing a data
                                                                            2     broker for the extraction of DMS transactional data for
                                                                            3     clients.      The purpose of this data is for market area
                                                                            4     evaluations."
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                                                                            5                        Did Reynolds, with regard to
                                                                            6     ShowroomMagnet, agree to eliminate the use of a data
                                                                            7     broker to access CDK DMS?
                                                                            8                        MS. GULLEY:       Objection; form.
                                                                            9            A.    I -- I don't recall, you know, that specific
                                                                            10    action.      But I know it was our intention to, where
                                                                            11    possible, use -- get -- get data feeds directly from
                                                                            12    CDK.    And my reason for doing that is -- and that's
                                                                            13    that, as I think is -- is readily apparent, there's some
                                                                            14    substantial potential liabilities involved.                   Anytime
                                                                            15    that you start, you know, moving data around, that
                                                                            16    potentially has personal- -- personally identifiable
                                                                            17    information.       I want to be doing business with people
                                                                            18    that, if there is some kind of lawsuit, they can -- if
                                                                            19    they're found liable, you know, that they can pay the
                                                                            20    judgment.
                                                                            21           Q.    Do you know that the data broker mentioned here
                                                                            22    was Authenticom?
                                                                            23                       MS. GULLEY:       Objection; form.
                                                                            24           A.    I'm not aware of that.          This is a general
                                                                            25    policy decision.
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 265
                                                                            1            Q.    (By Ms. Wedgworth)         Where does it say that?
                                                                            2                         MS. GULLEY:      Objection; form.
                                                                            3            A.    That's my belief.
                                                                            4                         MS. GULLEY:      Peggy, if you're between
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                                                                            5     documents, lunch has been here about 30 minutes.
                                                                            6                         MS. WEDGWORTH:       It's here?
                                                                            7                         MS. GULLEY:      Yeah, it is.
                                                                            8                         MS. WEDGWORTH:       Yeah, let's break for
                                                                            9     lunch.      Thank you.
                                                                            10                        THE VIDEOGRAPHER:        This is the end of Media
                                                                            11    2.   The time is 12:17 p.m.            We're off the record.
                                                                            12                        (Lunch recess 12:17 to 1:36 p.m.)
                                                                            13                        THE VIDEOGRAPHER:        We're back from lunch.
                                                                            14    This is the beginning of Media 3.               The time is 1:36 p.m.
                                                                            15    We're back on the record.
                                                                            16                          EXAMINATION (Continuing)
                                                                            17    BY MS. WEDGWORTH:
                                                                            18           Q.    Good afternoon, Mr. Brockman.             Does Reynolds'
                                                                            19    service product have real-time repair order
                                                                            20    functionality?
                                                                            21                        MS. GULLEY:      Objection; form.
                                                                            22           A.    Does Reynolds' service product have
                                                                            23    real-time --
                                                                            24           Q.    (By Ms. Wedgworth)         Repair order functionality?
                                                                            25           A.    Yes.    And that's an integral part of it.
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 266
                                                                            1                        MS. GULLEY:       Objection.
                                                                            2            Q.    (By Ms. Wedgworth)         I'm sorry?
                                                                            3            A.    That's an integral part of it.
                                                                            4            Q.    Does Reynolds currently allow third part- --
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                                                                            5     any third party to have real-time repair order
                                                                            6     functionality?
                                                                            7                        MS. GULLEY:       Objection; form.
                                                                            8            A.    When you talk about functionality, I know we
                                                                            9     have some interfaces that allow look-only repair work.
                                                                            10    But there is -- you know, there's no, outside of our
                                                                            11    application software, actually creating repair orders or
                                                                            12    updating repair orders.
                                                                            13           Q.    (By Ms. Wedgworth)         So is that a "no" to the
                                                                            14    question?
                                                                            15                       MS. GULLEY:       Objection; form.
                                                                            16           A.    No.   I think my answer is my answer.               And I
                                                                            17    understand that's a little bit long but, I mean, I can't
                                                                            18    say it yes or no.
                                                                            19           Q.    (By Ms. Wedgworth)         So does -- does any third
                                                                            20    party have the same ability with regard to real-time
                                                                            21    repair order in the Reynolds system as Reynolds does?
                                                                            22                       MS. GULLEY:       Objection; form.
                                                                            23           A.    That's a much better restatement.
                                                                            24           Q.    (By Ms. Wedgworth)         Thank you.
                                                                            25           A.    And -- yeah.       And the answer is, no.           There's
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 267
                                                                            1     no outside third party that has identical access or has
                                                                            2     identical functionality.            We do -- because remember, you
                                                                            3     know, repair order -- you know, functionality, that's an
                                                                            4     integral part.        That's what the service system does, is
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                                                                            5     it creates repair orders.            And, you know, uses them to,
                                                                            6     you know, process the information and help run the shop.
                                                                            7     It's not an interface at all.              That's -- that's it.
                                                                            8            Q.    Has any third party other than AutoAlert had
                                                                            9     real-time repair order functionality?
                                                                            10                       MS. GULLEY:       Objection; form.
                                                                            11           A.    Again, you know, repair order functionality, as
                                                                            12    you're using it, is a very broad statement, okay?                       There
                                                                            13    is certainly some functionality that, you know, other
                                                                            14    third parties have in terms of, you know, looked-at kind
                                                                            15    of access.       But to actually start a repair order -- you
                                                                            16    know, make a repair order -- what you call "repair order
                                                                            17    functionality," that's the integral part of -- of the
                                                                            18    service system.         And no other third party has that.
                                                                            19           Q.    (By Ms. Wedgworth)         The functionality you're
                                                                            20    speaking about is to create and edit a repair order?
                                                                            21                       MS. GULLEY:       Objection; form.
                                                                            22           A.    There is the -- the way that I describe it
                                                                            23    is -- and that's there's -- there's repair order
                                                                            24    functionality, using a broad word like -- like you --
                                                                            25    like you stated.         Only, you know, Reynolds software has
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 268
                                                                            1     that, because that is the integral part, you know.
                                                                            2     That's the center functions of Reynolds service
                                                                            3     software, okay?         Any other access to repair order
                                                                            4     functions is -- is much more limited.                 It's limited to
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                                                                            5     look only, that type of access.              That's the kind of
                                                                            6     access the third party had -- have.                None of them have,
                                                                            7     you know, the first type of access, which is the guts of
                                                                            8     Reynolds service system.
                                                                            9            Q.    (By Ms. Wedgworth)         With regard to pricing in
                                                                            10    June of 2016, did Reynolds implement a transaction fee
                                                                            11    with regard to RCI to their vendors?
                                                                            12                       MS. GULLEY:       Objection; form.
                                                                            13           A.    The time frame was when?
                                                                            14           Q.    (By Ms. Wedgworth)         Mid-2016.
                                                                            15                       MS. GULLEY:       Form.
                                                                            16           A.    Is that around the date of -- of the Xtime
                                                                            17    issue?
                                                                            18           Q.    (By Ms. Wedgworth)         You'd know that better than
                                                                            19    me, so I don't know the answer to the question.                    But I
                                                                            20    will show you a document that will be Plaintiff's
                                                                            21    Exhibit 672.
                                                                            22                       (Exhibit 672 Brockman was marked for
                                                                            23                         identification.)
                                                                            24           Q.    (By Ms. Wedgworth)         I'll show you what's been
                                                                            25    marked as Plaintiff's Exhibit 672.
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 269
                                                                            1                         Mr. Brockman, have you reviewed Plaintiff's
                                                                            2     Exhibit 672?
                                                                            3            A.    Yes.    And which is very helpful, as a matter of
                                                                            4     fact, because it does, you know, allow correct focus
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                                                                            5     on -- on the timelines in that, you know -- this
                                                                            6     particular document is partially in reference to exactly
                                                                            7     what I thought, which is around the Xtime incident --
                                                                            8     subsequent to the Xtime incident.
                                                                            9            Q.    So is it fair to say that in mid-2016, Reynolds
                                                                            10    raised RCI pricing?
                                                                            11                        MS. GULLEY:      Objection; form.
                                                                            12           A.    No.    That's not correct.
                                                                            13           Q.    (By Ms. Wedgworth)         Is it fair to say that they
                                                                            14    implemented a transaction fee?
                                                                            15                        MS. GULLEY:      Objection; form.
                                                                            16           A.    No.    That's not correct.         You know, what
                                                                            17    happened was -- and that's that -- and this affects only
                                                                            18    a very small number of RCI, you know, customers.                        Again,
                                                                            19    it also -- it only affects those that actually try to
                                                                            20    have update capability that could cause the kind of
                                                                            21    problem that occurred with Xtime.
                                                                            22           Q.    (By Ms. Wedgworth)         So with regard to those
                                                                            23    vendors who were subject to the transaction fee, is that
                                                                            24    something sometimes called a "ping fee"?
                                                                            25                        MS. GULLEY:      Objection; form.
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                                                                                                                                                    Page 270
                                                                            1            A.    No.    It -- it is called -- and I don't even
                                                                            2     know that we call it a "transaction fee."                  It is -- it
                                                                            3     is a fee for each time a record is -- is added, changed
                                                                            4     or deleted.        And it's only where they have write-back
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                                                                            5     access.      You know, in order to talk about this, it's
                                                                            6     important to talk about what happened to Xtime and --
                                                                            7            Q.    (By Ms. Wedgworth)         Actually, I didn't ask that
                                                                            8     question.      I'm just simply asking if there was a
                                                                            9     transaction fee implemented in mid-2016.
                                                                            10           A.    The answer to that is -- and that's no.                    That's
                                                                            11    not the case.
                                                                            12           Q.    A transaction fee was not implemented to
                                                                            13    vendors with write-back interface?
                                                                            14                        MS. GULLEY:      Objection; form.
                                                                            15           A.    It's a transaction fee only if they did an add,
                                                                            16    change or delete.
                                                                            17           Q.    (By Ms. Wedgworth)         And was that fee five cents
                                                                            18    per transaction?
                                                                            19           A.    That's correct.
                                                                            20           Q.    And a year later, was that
                                                                            21    five-cent-per-transaction fee increased?
                                                                            22           A.    Yes, it was increased as part of our -- our
                                                                            23    normal, you know, annual price increase.
                                                                            24           Q.    Are you the ultimate decision maker on that
                                                                            25    price increase?
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 271
                                                                            1                         MR. RYAN:      Object to the form.
                                                                            2            A.    Yes and no.      The answer is general -- in
                                                                            3     general terms, yes.          I do not actually, you know -- I'm
                                                                            4     not involved in the actual price increase of each
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                                                                            5     individual, you know, item number that we sell.                    My
                                                                            6     involvement has only to do with, you know, what the
                                                                            7     general percentage is going to be, which is CPI plus 2.
                                                                            8     And, you know, this year it's -- CPI plus 2 is 4.1
                                                                            9     percent.
                                                                            10           Q.    (By Ms. Wedgworth)         Did you receive and write
                                                                            11    this email, 672, on or about July 4, 2016?
                                                                            12           A.    Yes, I did.
                                                                            13                        (Exhibit 673 Brockman was marked for
                                                                            14                         identification.)
                                                                            15           Q.    (By Ms. Wedgworth)         Mr. Brockman, I'll show you
                                                                            16    what's been marked as Plaintiff's Exhibit 673.
                                                                            17           A.    Yes.
                                                                            18           Q.    Did you receive and write this email in 673 on
                                                                            19    or about May 9, 2017?
                                                                            20           A.    Yes, that's correct.
                                                                            21           Q.    And does this document reflect your approval of
                                                                            22    a price increase with regard to the transaction fee?
                                                                            23                        MS. GULLEY:      Objection; form.
                                                                            24           A.    I don't see that it -- okay.             It does address
                                                                            25    the per transaction price increase.
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                      Page 272
                                                                            1             Q.     (By Ms. Wedgworth)         And you approved that price
                                                                            2     increase?
                                                                            3             A.     Yes, I did.
                                                                            4             Q.     Do you know how the price increase of a quarter
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                                                                            5     of a cent was determined?
                                                                            6                          MS. GULLEY:       Objection; form.
                                                                            7             A.     It looks to me like -- it says here, it
                                                                            8     was a -- a 5 percent -- which was CPI plus 2 -- for that
                                                                            9     year.
                                                                            10            Q.     (By Ms. Wedgworth)         Does Reynolds track RCI
                                                                            11    cost in any way?
                                                                            12                         MS. GULLEY:       Objection; form.
                                                                            13            A.     We do not.
                                                                            14            Q.     (By Ms. Wedgworth)         I'm sorry?
                                                                            15            A.     We do not.
                                                                            16            Q.     With regard to RCI cost, do those -- do the
                                                                            17    costs include the developing of interfaces?
                                                                            18            A.     Yes, that would be one of the costs.
                                                                            19            Q.     Is another cost server maintenance?
                                                                            20            A.     Server maintenance, server heat, light, power,
                                                                            21    server amortization, server repair, replacement, you
                                                                            22    know, the -- the manpower it takes to supervise all
                                                                            23    that.        I'm sure that there's more factors than that, but
                                                                            24    those are the ones that come right off the top of my
                                                                            25    head.
                                                                                                                  Veritext Legal Solutions
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                                                                                                                                                    Page 273
                                                                            1            Q.    Is one of the costs of RCI the DSV personnel
                                                                            2     compensation?
                                                                            3            A.    Yes.
                                                                            4            Q.    Is Bob Schaefer's salary part of RCI costs?
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                                                                            5            A.    I would imagine so.         But, again, I repeat which
                                                                            6     I talked about several times, we do not have cost
                                                                            7     accounting.
                                                                            8            Q.    I understand.
                                                                            9            A.    But -- but from a theoretical standpoint, yes,
                                                                            10    you know, his compensation would -- would be something
                                                                            11    that would -- it would be -- would be included, you
                                                                            12    know, if we had cost accounting, which we don't.
                                                                            13           Q.    Are there any other RCI costs you're aware of,
                                                                            14    other than the developing of interfaces, the service --
                                                                            15    server maintenance costs, the DSV personnel comp, such
                                                                            16    as Mr. Schaefer's salary?            Anything else for RCI costs?
                                                                            17                        MS. GULLEY:      Form.
                                                                            18           A.    I think it's a considerable more number of
                                                                            19    things.      Because, you know, for instance, Internet
                                                                            20    bandwidth is -- would be an important, you know,
                                                                            21    component, because all these transactions flow through
                                                                            22    what we refer to as "the hub."               And it -- in itself is a
                                                                            23    completely separate system.             It's designed for -- for
                                                                            24    moving packets of data between servers.
                                                                            25                        We have the issue of -- of fire
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 274
                                                                            1     insurance -- there's probably -- if I had an opportunity
                                                                            2     to sit down and think about it for a while, I -- I could
                                                                            3     build a much longer list.            But it's -- it's much more in
                                                                            4     terms of numbers of the things to be considered than
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                                                                            5     what you have there.
                                                                            6            Q.    (By Ms. Wedgworth)         And no one at Reynolds has
                                                                            7     done this list of costs with regard to RCI?
                                                                            8                        MS. GULLEY:       Objection; form.
                                                                            9            A.    That's correct.        We do not have cost
                                                                            10    accounting.
                                                                            11           Q.    (By Ms. Wedgworth)         Do dealers, as part of
                                                                            12    their Reynolds contracts, pay Reynolds for storage of
                                                                            13    their data?
                                                                            14           A.    Only in -- in certain situations.               We have a --
                                                                            15    a product offering, which is called -- the acronym for
                                                                            16    it is RBDR.       And what it does is -- and that's that it
                                                                            17    provides for backup of -- of dealership's data on a
                                                                            18    remote automatic basis.            This -- if -- if the customer
                                                                            19    has their own server, they have to have an employee
                                                                            20    which is charged with running the backups every night
                                                                            21    and filing the tape away in a fireproof vault.
                                                                            22                       The RBDR product, you know, takes the
                                                                            23    responsibility of remotely accessing the dealership's
                                                                            24    server and backing up its data files into our Dayton,
                                                                            25    Ohio research park office.             And that -- that service
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 275
                                                                            1     also provides for -- in the event of disaster recovery,
                                                                            2     will air freight them a -- a new server and load it with
                                                                            3     their most recent backup data so they can get back in
                                                                            4     business.
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                                                                            5            Q.    So if the dealership has their own server for
                                                                            6     storage of their data, is there any cost to the
                                                                            7     dealership from Reyn- -- that they must pay to Reynolds?
                                                                            8                         MS. GULLEY:      Objection; form.
                                                                            9            A.    I'm not -- not quite understanding.               Could
                                                                            10    you --
                                                                            11           Q.    (By Ms. Wedgworth)         So -- so if the dealership
                                                                            12    stores their own data and doesn't use RBDR, is there a
                                                                            13    cost to the dealership that Reynolds charges?
                                                                            14                        MS. GULLEY:      Object to form.
                                                                            15           A.    There -- there's a maintenance charge for --
                                                                            16    for that server.         And what that covers is -- that covers
                                                                            17    onsite maintenance repair and replacement.
                                                                            18           Q.    (By Ms. Wedgworth)         So that's a monthly charge?
                                                                            19                        MS. GULLEY:      Form.
                                                                            20           A.    Yes.
                                                                            21           Q.    (By Ms. Wedgworth)         To the dealership?
                                                                            22           A.    Yes, that's correct.
                                                                            23           Q.    And that monthly charge to the dealership is
                                                                            24    for dealer storage of their own data on their own
                                                                            25    server; is that correct?
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 276
                                                                            1                        MS. GULLEY:       Objection; form.
                                                                            2            A.    No.   It's not a charge for dealership -- it's
                                                                            3     charged for hardware maintenance for -- for that server.
                                                                            4            Q.    (By Ms. Wedgworth)         If a dealership doesn't use
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                                                                            5     the RBDR program you described, is there any cost to the
                                                                            6     dealership to -- to store the data?
                                                                            7                        MS. GULLEY:       Objection; form.
                                                                            8            A.    Again, the -- the charge for the server is for
                                                                            9     hardware maintenance.           There are software monthly fees,
                                                                            10    which are under contract.            Each element of software
                                                                            11    generally has some requirement to store data, but
                                                                            12    there's no, you know, fee that is identified as -- as
                                                                            13    data storage.
                                                                            14                       (Exhibit 674 Brockman was marked for
                                                                            15                         identification.)
                                                                            16           Q.    (By Ms. Wedgworth)         Mr. Brockman, I'll show you
                                                                            17    what's been marked as Plaintiff's Exhibit 674.                    It's
                                                                            18    Bates number:        REYMDL00503332 through 35.
                                                                            19                       Mr. Brockman have you had a chance to
                                                                            20    review Plaintiff's Exhibit 674?
                                                                            21           A.    Yes, ma'am.      My comment to this one is really
                                                                            22    getting down to the weeds.             It's going to take a while
                                                                            23    to talk about this one.
                                                                            24           Q.    I'm going to try to stay high-level on this
                                                                            25    one.
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 277
                                                                            1            A.    I don't know that's going to be possible.
                                                                            2            Q.    Well, we'll give it a whirl.
                                                                            3                          So did you write and receive this email on
                                                                            4     or about July 19th, 2017?
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                                                                            5                          MS. GULLEY:     Objection; form.
                                                                            6            Q.    (By Ms. Wedgworth)         Let me try it again.
                                                                            7                          Did you write and receive this email on
                                                                            8     about the time period of July 16 through July 19, 2017?
                                                                            9                          MS. GULLEY:     Form.
                                                                            10           A.    Well, there's -- I've got to go back.                There --
                                                                            11    there's lots of emails on this string.                 And if you give
                                                                            12    me a moment, I'll try and count the ones that -- that --
                                                                            13    I actually sent.
                                                                            14           Q.    (By Ms. Wedgworth)         I think the one you sent
                                                                            15    was on the first page.
                                                                            16                         MS. GULLEY:     Form.
                                                                            17           Q.    (By Ms. Wedgworth)         And my question -- we'll
                                                                            18    just limit it to that -- the email on the first page,
                                                                            19    July 18, 2017.         Did you write this?
                                                                            20           A.    Is this July 18th?
                                                                            21           Q.    Yes.
                                                                            22           A.    Yes.     That -- That's correct.          What's saying
                                                                            23    here is -- and that's that we're concerned about -- you
                                                                            24    know, caps.         Daily caps, monthly caps.          What -- what
                                                                            25    this relates to is -- and that's that we have a -- a
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 278
                                                                            1     product called "Consumer Reach."               That's what you see
                                                                            2     abbreviated as CR.
                                                                            3            Q.    Mr. Brockman, there's no question pending right
                                                                            4     now.
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                                                                            5            A.    Well, I -- I guess if you're interested in
                                                                            6     knowing what's going on --
                                                                            7            Q.    I --     I'm definitely interested in some things,
                                                                            8     but -- but the way it works is I ask the question and
                                                                            9     you answer.         It's just the way the process works.
                                                                            10                         So my question is:        Is this part of
                                                                            11    Reynolds' suite of products to allow email blasts on the
                                                                            12    part of dealers to customers?
                                                                            13                         MS. GULLEY:     Objection; form.         And to the
                                                                            14    prior thing.
                                                                            15           A.    It relates to a -- a Reynolds product, which is
                                                                            16    being misused by the customer, which is resulting in
                                                                            17    great dislocation, both to Reynolds and to the customer.
                                                                            18    Their email traffic is blacklisted, which means it falls
                                                                            19    in a black hole.         They don't know if it's transmitted or
                                                                            20    not.    It's a very serious issue.
                                                                            21           Q.    (By Ms. Wedgworth)         Has Reynolds ever attempted
                                                                            22    to limit or reduce the number of recipients of a
                                                                            23    dealer's email blast?
                                                                            24                         MS. GULLEY:     Objection; form.
                                                                            25           A.    Yeah, prior to this, we had not.              Okay?        But
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 279
                                                                            1     what's happened is -- and that's they're buying outside
                                                                            2     direct mail lists that have bad email addresses in them.
                                                                            3     And then they send out an email blast.                 And the email,
                                                                            4     you know, provider gets upset about that, and they
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                                                                            5     blacklist the address.           They blacklist the -- you know,
                                                                            6     the -- the dealership's address.               And in this case, what
                                                                            7     they're doing is they're getting ours blacklisted, which
                                                                            8     means that we have a whole bunch of customers that get
                                                                            9     disabled, you know, because one dealer has done
                                                                            10    something stupid.
                                                                            11           Q.    (By Ms. Wedgworth)         And is it fair to say
                                                                            12    somebody at Reynolds says the problem can be solved by
                                                                            13    contacting a Reynolds product called Naked Lime?
                                                                            14                       MS. GULLEY:       Objection; form.
                                                                            15           A.    If you will point that out to me.
                                                                            16           Q.    (By Ms. Wedgworth)         The first paragraph at the
                                                                            17    bottom, Mr. Barras writes to you.
                                                                            18                       MS. GULLEY:       Objection; form.
                                                                            19           A.    That's correct.        That's what it says.          The
                                                                            20    Naked Lime product has a more sophisticated way of
                                                                            21    handling emails than the consumer reach product.                        The
                                                                            22    consumer reach product is a very old product.                    And
                                                                            23    the -- the Naked Lime product, it has license built into
                                                                            24    it that since -- when email service provider is throwing
                                                                            25    away emails and -- to stop the whole process before
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 280
                                                                            1     blacklisting occurs.
                                                                            2            Q.    (By Ms. Wedgworth)         So you respond to
                                                                            3     Mr. Barras by saying, "I think there should be daily
                                                                            4     caps as well as monthly caps"; is that correct?
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                                                                            5                         MS. GULLEY:      Objection; form.
                                                                            6            A.    Yes.    And that -- that's a -- again, this is --
                                                                            7     in an effort to stop sending junk to the email service
                                                                            8     provider, to avoid getting blacklisted.
                                                                            9            Q.    (By Ms. Wedgworth)         So Reynolds did limit the
                                                                            10    number of recipients of a dealer's email blast; correct?
                                                                            11                        MS. GULLEY:      Objection; form.
                                                                            12           A.    I'm not sure, you know, what the final
                                                                            13    disposition was of this problem.               I know that -- I do
                                                                            14    know that now it's no longer the issue it was when this
                                                                            15    happened.      When this happened it was a disaster.
                                                                            16           Q.    (By Ms. Wedgworth)         Was the quota done to both
                                                                            17    legacy and new customers?
                                                                            18                        MS. GULLEY:      Objection; form.
                                                                            19           A.    I -- I don't know exactly, you know, what
                                                                            20    the -- what the final resolution was.                 You know, these
                                                                            21    emails relate to a moment in time when the product was,
                                                                            22    you know -- or when the problem was at its worse.
                                                                            23           Q.    (By Ms. Wedgworth)         Well, there was no
                                                                            24    recommendation to put a quota on Naked Lime; correct?
                                                                            25                        MS. GULLEY:      Objection; form.
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                                                                            1            A.    It's my understanding that Naked Lime did not
                                                                            2     suffer from the problem.
                                                                            3            Q.    (By Ms. Wedgworth)         So there was no quota put
                                                                            4     on Naked Lime?
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                                                                            5                         MS. GULLEY:      Objection; form.
                                                                            6            A.    Again, I don't know, you know, what was done,
                                                                            7     you know, subsequent to this email.                I'm -- it is a --
                                                                            8     it is -- it's one of, you know, of the issues that goes
                                                                            9     on in the company with 5,000 employees and tens of
                                                                            10    thousands of customers.            And I -- I see moments in time,
                                                                            11    but I -- I don't know everything that's going on.
                                                                            12           Q.    (By Ms. Wedgworth)         Mr. Brockman, I'll show you
                                                                            13    what has been previously marked as Plaintiff's Exhibit
                                                                            14    226.    I'm going to focus you on the last page to ask you
                                                                            15    if it's your handwriting.
                                                                            16           A.    You said the last -- the last, last page?
                                                                            17           Q.    Yes.
                                                                            18                        MS. GULLEY:      Objection; form.
                                                                            19           Q.    (By Ms. Wedgworth)         Is this your handwriting,
                                                                            20    Mr. Brockman?
                                                                            21           A.    Yes, it is.
                                                                            22           Q.    And at the top of the page, it says, "AutoAlert
                                                                            23    Irvine California."          And then the handwriting you have
                                                                            24    in the middle of the page, "per dealer installation
                                                                            25    fee," the typewritten is "150."              It -- it's scratched
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 282
                                                                            1     out to "300."        Is that you scratching out "150" and
                                                                            2     inserting "300"?
                                                                            3                        MS. GULLEY:       Objection; form.
                                                                            4            A.    Yes, ma'am.
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                                                                            5            Q.    (By Ms. Wedgworth)         Is that true for all the
                                                                            6     other numbers that are handwritten?
                                                                            7            A.    Yes, ma'am.
                                                                            8                        MS. GULLEY:       Form.
                                                                            9            Q.    (By Ms. Wedgworth)         And then handwritten, "For
                                                                            10    installation of monthly support fees for Canadian
                                                                            11    dealers," it's -- "20%" is crossed out.                 "30%" -- is
                                                                            12    that your handwriting?
                                                                            13           A.    Yes, it is.
                                                                            14           Q.    And then "Per dealer install fee is per the
                                                                            15    table," your handwriting again?
                                                                            16           A.    Yes, that's correct.
                                                                            17           Q.    How did you determine to raise the per dealer
                                                                            18    installation fee for package going from $150 to $300?
                                                                            19                       MS. GULLEY:       Objection; form.
                                                                            20           A.    This particular customer has a number of -- of
                                                                            21    real-time interfaces, which means they're very heavily
                                                                            22    dependent upon, you know, our software functionality to,
                                                                            23    you know, get done what they want to have done.                    Every
                                                                            24    time that we do one of these, we run into the issue of
                                                                            25    increasing the complexity in our application software.
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                                                                            1     And part of -- part of my decision-making responsibility
                                                                            2     is -- and that's that there is all kinds of requests
                                                                            3     for, you know, this and that to be done to our
                                                                            4     application software.
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                                                                            5                        Now, if I say yes to them all, in the last
                                                                            6     act, everybody goes crazy, because it's become too big
                                                                            7     and too complex.         It's my job to actually think about
                                                                            8     all the time, you know, what is it that we're doing
                                                                            9     that's going to increase complexity in our application
                                                                            10    software?      In this particular case, I believe that
                                                                            11    the -- the complexity load that this particular customer
                                                                            12    was going to put on us, you know, really required a
                                                                            13    little bit higher price.
                                                                            14                       And -- you know, that's just, you know, the
                                                                            15    sum and substance of it.            You know, we cannot do, you
                                                                            16    know, everything that everybody likes -- would like to
                                                                            17    have without cost, which means we've got to increase the
                                                                            18    prices a little bit.
                                                                            19           Q.    (By Ms. Wedgworth)         Was one of the real-time
                                                                            20    interfaces for AutoAlert the repair order?
                                                                            21                       MS. GULLEY:       Objection; form.
                                                                            22           A.    It is the -- it is the publish repair order,
                                                                            23    which is taking the -- the -- it's notifying the third
                                                                            24    party that there's been activity on a repair order.
                                                                            25    It's either been opened or closed.                And they want to --
                                                                                                                Veritext Legal Solutions
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                                                                            1     they want to know that, really, right at the instant
                                                                            2     that it occurs, it's real time.
                                                                            3            Q.    (By Ms. Wedgworth)         Did you consult any
                                                                            4     particular documents, or specific information, when you
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                                                                            5     made these changes?
                                                                            6            A.    No.
                                                                            7            Q.    Did you speak to anyone, specifically, about
                                                                            8     making these changes?
                                                                            9            A.    Not that I recall.
                                                                            10           Q.    Mr. Brockman, I'll show you what's been marked
                                                                            11    as Plaintiff's Exhibit 675.
                                                                            12                       (Exhibit 675 Brockman was marked for
                                                                            13                         identification.)
                                                                            14           Q.    (By Ms. Wedgworth)         Which is the July 2018
                                                                            15    financial page -- package.             And I'm going to ask you to
                                                                            16    turn to Page 16 of the document which is, again, going
                                                                            17    down under the RCI numbers for July through 2000- --
                                                                            18    2018, there's a "14%" on "Recurring Revenue" for RCI?
                                                                            19                       MS. GULLEY:       Objection.
                                                                            20           Q.    (By Ms. Wedgworth)         From the previous year?
                                                                            21                       MS. GULLEY:       Objection; form.
                                                                            22           A.    Thank you very much.
                                                                            23           Q.    (By Ms. Wedgworth)         It's about six lines down
                                                                            24    from the top.        RCI "Recurring" -- "Recurring Revenue" --
                                                                            25    further up.
                                                                                                                Veritext Legal Solutions
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                                                                            1                          MS. GULLEY:     Is there a question?
                                                                            2            Q.    (By Ms. Wedgworth)         Do you see the "14%"?
                                                                            3                          MS. GULLEY:     Objection; form.
                                                                            4            A.    I'm not seeing a -- a percentage on the line
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                                                                            5     that I'm looking at anywhere.
                                                                            6            Q.    (By Ms. Wedgworth)         If you start at the top of
                                                                            7     the page and go six lines down.
                                                                            8            A.    Oh, the top of the page?
                                                                            9            Q.    Yes.
                                                                            10           A.    I'm sorry, I was distracted by the highlighting
                                                                            11    that you have.         It's further down towards the bottom of
                                                                            12    the page.
                                                                            13           Q.    So there's "One Time Revenue," and beneath it
                                                                            14    is "Recurring Revenue."            Keep going down to RCI, under
                                                                            15    "Recurring Revenue."          Not "One Time," but "Recurring."
                                                                            16           A.    Okay.     I -- I found --
                                                                            17           Q.    Do you see the "14%"?
                                                                            18                         MS. GULLEY:     Objection; form.
                                                                            19           A.    Yes.
                                                                            20           Q.    (By Ms. Wedgworth)         And does that -- is this a
                                                                            21    number that you would look at on a monthly basis?
                                                                            22           A.    Not really.      As I've stated before, I spend, on
                                                                            23    this particular package that comes out once a month,
                                                                            24    half-hour or less.          Because this is not where the action
                                                                            25    is as far as I'm concerned.             I'm much more interested in
                                                                                                                Veritext Legal Solutions
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                                                                            1     new projects, new software, new hires, new customer
                                                                            2     relationships.        Those are much more important to me than
                                                                            3     these detailed numbers.
                                                                            4            Q.    At the bottom of this page where there are
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                                                                            5     three asterisks, at the very bottom, beneath the
                                                                            6     highlighted numbers that you looked at earlier, there's
                                                                            7     a note with three asterisks.             "Legal Fees for Data
                                                                            8     Services are $1,034k in July, $10,690k YTD or $18.3M
                                                                            9     annualized.       Case to date (Aug 2017-current) costs total
                                                                            10    $16.3M."      Do you see that?
                                                                            11                       MS. GULLEY:       Objection; form.
                                                                            12           A.    Yes, I do.
                                                                            13           Q.    (By Ms. Wedgworth)         Have you looked at that
                                                                            14    before?
                                                                            15           A.    I think I've actually -- probably as a thumbed
                                                                            16    through, I probably noticed that one.
                                                                            17           Q.    Are those -- are those costs with regard to the
                                                                            18    current litigation we're in now?
                                                                            19                       MS. GULLEY:       Objection; form.
                                                                            20           A.    I believe that to be the case.             Though it
                                                                            21    doesn't specifically say that, but that -- I would think
                                                                            22    that would probably be true.
                                                                            23           Q.    (By Ms. Wedgworth)         Is this a -- a figure
                                                                            24    you've requested to be put in the data?
                                                                            25                       MS. GULLEY:       Objection; form.
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                                                                            1            A.    No, it is not.
                                                                            2                         MS. WEDGWORTH:       If we just a very short
                                                                            3     break, I want to confer with co-counsel for just a
                                                                            4     minute.      Off the record.
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                                                                            5                         MS. GULLEY:      Off the record.
                                                                            6                         THE VIDEOGRAPHER:          Off the record at 2:15
                                                                            7     p.m.
                                                                            8                         (Short recess 2:15 to 2:21 p.m.)
                                                                            9                         THE VIDEOGRAPHER:          Time is 2:21 p.m.        We're
                                                                            10    back on the record.
                                                                            11                          EXAMINATION (Continuing)
                                                                            12    BY MS. WEDGWORTH:
                                                                            13           Q.    Mr. Brockman, other than the ODE relationship,
                                                                            14    the CBR relationship and the informal relationship you
                                                                            15    spoke about earlier today, does Reynolds have any other
                                                                            16    relationships with CDK?
                                                                            17                        MS. GULLEY:      Objection; form.
                                                                            18           A.    If you could repeat that list?             It's OD
                                                                            19    relationship...
                                                                            20           Q.    (By Ms. Wedgworth)         CBR.
                                                                            21           A.    CBR.
                                                                            22           Q.    And the informal relationship you discussed
                                                                            23    today.
                                                                            24                        MS. GULLEY:      Objection; form.
                                                                            25           A.    That's all that I'm aware of.
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                                                                            1            Q.    (By Ms. Wedgworth)         Are you aware of any other
                                                                            2     relationships before -- that existed with CDK that no
                                                                            3     longer exist?
                                                                            4                          MS. GULLEY:     Objection; form.
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                                                                            5            A.    Not that I'm aware of.
                                                                            6            Q.    (By Ms. Wedgworth)         I want to show you
                                                                            7     Plaintiff's Exhibit 676, which is the last financial
                                                                            8     statement we'll look at.            And it's "December YTD 2017."
                                                                            9     And I just have a simple question:                Is -- this -- did
                                                                            10    you receive this document in the ordinary course of your
                                                                            11    job after December 2017?
                                                                            12                         MS. GULLEY:     Objection; form.
                                                                            13                         (Exhibit 676 Brockman was marked for
                                                                            14                          identification.)
                                                                            15           A.    I -- I don't know what the legal definition is
                                                                            16    of "in the ordinary course of my job."
                                                                            17           Q.    (By Ms. Wedgworth)         Well, as part of your job,
                                                                            18    did you -- it -- was this the document you would receive
                                                                            19    on a regular basis?
                                                                            20           A.    Yeah.     Stated that way --
                                                                            21                         MS. GULLEY:     Form.
                                                                            22           A.    -- yes, I agree.
                                                                            23                         MS. WEDGWORTH:      At this point, I'm going to
                                                                            24    reserve my remaining time.             And I think Mr. Nemelka has
                                                                            25    a couple of questions.
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                                                                            1                         MS. GULLEY:      Could I just ask you a
                                                                            2     question?      When you say you reserve you're remaining
                                                                            3     time, do you -- you mean reserve whatever remaining time
                                                                            4     there is after Mr. Nemelka, right?
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                                                                            5                         MR. NEMELKA:       Right.
                                                                            6                         MS. WEDGWORTH:       Yes.
                                                                            7                         MS. GULLEY:      Just to clarify.
                                                                            8                                     EXAMINATION
                                                                            9     BY MR. NEMELKA:
                                                                            10           Q.    Good afternoon, Mr. Brockman.             Mike Nemelka.
                                                                            11           A.    Good morning.       (Inaudible.)
                                                                            12           Q.    I just have a few questions for you about just
                                                                            13    a few documents here at the end of the day.                   I'd hand
                                                                            14    you Plaintiff's Exhibit 677, which is an email from you
                                                                            15    to Mr. Schaefer, forwarding a correspondence that you
                                                                            16    had with Mr. Anenen in February of 2013.                  I'll give you
                                                                            17    a moment to read it.
                                                                            18                        (Exhibit 677 Brockman was marked for
                                                                            19                         identification.)
                                                                            20           A.    Yes.
                                                                            21           Q.    (By Mr. Nemelka)        Thank you.       So the bottom
                                                                            22    email is an email from you to Mr. Steve Anenen dated
                                                                            23    February 5th [sic], 2015; correct?
                                                                            24           A.    Yes.
                                                                            25           Q.    And this was around the time when CDK and
                                                                                                                Veritext Legal Solutions
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                                                                            1     Reynolds were negotiating the wind-down agreement; is
                                                                            2     that right?
                                                                            3                         MS. GULLEY:      Objection; form.
                                                                            4            A.    I believe that's correct.
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                                                                            5            Q.    (By Mr. Nemelka)        And here, the second sentence
                                                                            6     that you write is, "We need to conclude our deal -- or
                                                                            7     not -- as I have issues that can no longer wait to be
                                                                            8     dealt with."        Are those issues the security enhancements
                                                                            9     that you've been holding off on?
                                                                            10           A.    That's correct.
                                                                            11           Q.    And then you relate to him that some "bright,
                                                                            12    mostly young Harvard MBA-types" have been wanting to
                                                                            13    talk to you about CDK, right?
                                                                            14           A.    They really -- they start out, they want to be
                                                                            15    taught about the industry.
                                                                            16           Q.    But then they turned and wanted to talk to you
                                                                            17    about CDK?
                                                                            18                        MS. GULLEY:      Objection; form.
                                                                            19           A.    Yes.    That -- That's what it says and that's --
                                                                            20    that's exactly what was happening.
                                                                            21           Q.    (By Mr. Nemelka)        And what they wanted to know
                                                                            22    is -- and as you write, "What they really want to know
                                                                            23    about is CDK -- how you operate -- and not very
                                                                            24    subtly -- what could be done to improve things."                        That's
                                                                            25    what they wanted to talk to you about, right?
                                                                                                                Veritext Legal Solutions
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                                                                            1                         MS. GULLEY:      Form.
                                                                            2            A.    These are unsolicited calls.             You know, the
                                                                            3     phone rang, as I pick it up and, you know, there's
                                                                            4     somebody that wants to talk to me.                And this is what was
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                                                                            5     happening.
                                                                            6            Q.    (By Mr. Nemelka)        And you told them, as you
                                                                            7     write here, "I am exactly the right person that you want
                                                                            8     to talk to -- but I am very busy -- and am not talking."
                                                                            9     Is that what you told them?
                                                                            10                        MS. GULLEY:      Form.
                                                                            11           A.    That's correct.
                                                                            12           Q.    (By Mr. Nemelka)        When you say you were exactly
                                                                            13    the right person that they wanted to talk to about CDK
                                                                            14    and how they could improve things, what did you mean?
                                                                            15                        MS. GULLEY:      Form.
                                                                            16           A.    No question, I -- I've not been in this
                                                                            17    business for the number of years I have and not learned
                                                                            18    things about how to run this type of business.                    I don't
                                                                            19    know about other business, but I know about this kind of
                                                                            20    business.
                                                                            21           Q.    (By Mr. Nemelka)        And then you conclude in your
                                                                            22    email to Mr. Anenen, "Just so you know when someone is
                                                                            23    throwing darts at you -- it isn't me providing them the
                                                                            24    ammunition."
                                                                            25           A.    Yes.
                                                                                                                Veritext Legal Solutions
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                                                                            1            Q.    So what did you mean by that?
                                                                            2                        MS. GULLEY:       Form.
                                                                            3            A.    Well, I think exactly that.            I mean, you know,
                                                                            4     I think Steve Anenen was under a lot of pressure from,
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                                                                            5     you know -- you know, dissident stockholders who were
                                                                            6     mostly hedge fund-type kind of folks.                 And Steve is a
                                                                            7     very nice person.         I personally like the guy.             He always
                                                                            8     has been polite, gentlemanly with me, and I've tried to
                                                                            9     be so with him.         And I wouldn't be in a hurry to see him
                                                                            10    be ambushed.       And so I couldn't help him other than say,
                                                                            11    "Look, it ain't me, but somebody is gunning at you."
                                                                            12           Q.    (By Mr. Nemelka)        Okay.     You can put that
                                                                            13    aside.
                                                                            14                       (Exhibit 678 Brockman was marked for
                                                                            15                         identification.)
                                                                            16           Q.    (By Mr. Nemelka) I've handed you a document --
                                                                            17    first of all, before I do -- yesterday we talked about
                                                                            18    how certain applications would need RCI and 3PA
                                                                            19    interfaces forever from you and CDK.                Do you recall when
                                                                            20    we talked about -- talked about that?
                                                                            21                       MS. GULLEY:       Objection; form.
                                                                            22           A.    I think I -- I referred to the fact that, as
                                                                            23    certain applications -- like, for instance, ReverseRisk,
                                                                            24    which has a -- a substantial number of, you know, ADP or
                                                                            25    CDK DMS systems.         In order to provide that particular
                                                                                                                Veritext Legal Solutions
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                                                                            1     product to them, it would require, on a long -- because
                                                                            2     as long as they use that product, you know, in order for
                                                                            3     it to work, it has to have accounting data.
                                                                            4            Q.    (By Mr. Nemelka) And there is some Cox
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                                                                            5     Automotive applications that you believe would need RCI
                                                                            6     and 3PA interfaces forever from Reynolds and CDK, right?
                                                                            7                         MS. GULLEY:      Objection; form.
                                                                            8            A.    There -- there are -- again, using the
                                                                            9     ReverseRisk example, a dealership that uses the
                                                                            10    Dealertrack accounting system in order to be able to,
                                                                            11    you know, have and utilize a ReverseRisk business
                                                                            12    intelligence system would need to have some manner of --
                                                                            13    of data access or accounting data.
                                                                            14           Q.    (By Mr. Nemelka) I've handed you Plaintiff's
                                                                            15    Exhibit 678.        Which is an email from you to Ron Lamb,
                                                                            16    dated June 30, 2015, the subject being "Cox/DT Merger."
                                                                            17    And I will give you a moment to review it.
                                                                            18           A.    Yes.
                                                                            19           Q.    So this email chain between you and Mr. Lamb
                                                                            20    relates to Cox Automotive's acquisition of Dealertrack;
                                                                            21    correct?
                                                                            22           A.    That's correct.
                                                                            23           Q.    And the combining of certain applications
                                                                            24    already owned by Cox Automotive and those who are owned
                                                                            25    by Dealertrack; correct?
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                                                                            1                          MS. GULLEY:     Form.
                                                                            2            A.    I don't know --
                                                                            3            Q.    (By Mr. Nemelka)        Strike that.       I think that
                                                                            4     was a bad question.
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                                                                            5            A.    Would you like to s- -- have another question?
                                                                            6            Q.    Yes, I do have another question.
                                                                            7            A.    Okay.
                                                                            8            Q.    And you recognized that there were some
                                                                            9     benefits to Cox Automotive and its ac- -- acquisition of
                                                                            10    Dealertrack in -- in combining those assets; correct?
                                                                            11                         MS. GULLEY:     Objection; form.
                                                                            12           A.    I think as a -- as just a matter of normal
                                                                            13    course, when there's a major transaction happen amongst
                                                                            14    other companies that are in the same industry that we're
                                                                            15    in, I kind of -- I read those articles.                 And certainly,
                                                                            16    you know, any good size acquisition, such as this one
                                                                            17    was -- at the heart of it -- it had to be some manner of
                                                                            18    synergies.       And that's what I said.
                                                                            19           Q.    (By Mr. Nemelka)        And what you write here is
                                                                            20    that -- to Mr. Lamb -- "I think [that] there is no
                                                                            21    question that they will achieve some more market power
                                                                            22    by combining VAuto and AAX.             However to make these apps
                                                                            23    really work right, they will require RCI interfaces
                                                                            24    forever from us and CDK."            You wrote that, right?
                                                                            25                         MS. GULLEY:     Form.
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                                                                            1            A.    Yes, that's correct.
                                                                            2            Q.    (By Mr. Nemelka)        And when you say "RCI
                                                                            3     interfaces," what you mean is RCI interface from
                                                                            4     Reynolds and a 3PA interface from CDK, right?
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                                                                            5                        MS. GULLEY:       Form.
                                                                            6            A.    That's correct.        And -- and this -- and there
                                                                            7     is an opinion statement here when I say, "However to
                                                                            8     make these apps really work right."                That's my opinion.
                                                                            9            Q.    (By Mr. Nemelka)        Right.
                                                                            10           A.    That's not necessarily a decided fact.                And --
                                                                            11    and the fact these products continue to work as they are
                                                                            12    today -- but they could also work a little better.
                                                                            13           Q.    And it's because they have -- but in your
                                                                            14    opinion, is that they would need interfaces with RCI and
                                                                            15    3PA forever in order to work properly; correct?
                                                                            16                       MS. GULLEY:       Objection; form.
                                                                            17           A.    That's my opinion.         It would be very much like
                                                                            18    the ReverseRisk product that we have today, which
                                                                            19    is an -- an accounting business intelligence software.
                                                                            20    In order to work, it relies on a continuing source of,
                                                                            21    you know, accounting data.
                                                                            22           Q.    (By Mr. Nemelka) Does VAuto need -- need
                                                                            23    accounting data in order --
                                                                            24                       MS. GULLEY:       Form.
                                                                            25           A.    No.   It doesn't, but -- well, I say it doesn't
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                                                                            1     need it, but it's nice.
                                                                            2            Q.    (By Mr. Nemelka)        All right.
                                                                            3            A.    It -- it would be -- you know, you can keep
                                                                            4     track of what your accounting basis is from a tax
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                                                                            5     standpoint, from a -- a gap accounting standpoint.                      You
                                                                            6     can do that by hand in the VAuto system.                  But it'd be a
                                                                            7     little nicer if it automatically went over and sniffed
                                                                            8     the accounting system and came back with a number and
                                                                            9     put it in VAuto system.
                                                                            10           Q.    All right.      You can set that aside.
                                                                            11                        I've handed you what I've marked as Exhibit
                                                                            12    679, which is an email from you to Bob -- to Bob
                                                                            13    Schaefer, dated July 1, 2017, with the subject being
                                                                            14    "Data Access Direction."            I'll give you a moment to
                                                                            15    review.
                                                                            16                        (Exhibit 679 Brockman was marked for
                                                                            17                         identification.)
                                                                            18           Q.    (By Mr. Nemelka)        Finished, Mr. Brockman?
                                                                            19           A.    Yes.
                                                                            20           Q.    So Mr. Schaef- -- this -- July 1st, 2017, this
                                                                            21    was after Authenticom had filed the lawsuit against
                                                                            22    Reynolds and CDK; correct?
                                                                            23           A.    Yes, that's correct.
                                                                            24           Q.    This is after, also, the preliminary injunction
                                                                            25    hearing involving that lawsuit; correct?
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                                                                            1            A.    Yes, that's correct.
                                                                            2            Q.    And Mr. Schaefer is writing you to say that
                                                                            3     Reynolds should terminate any of its relationships with
                                                                            4     Authenticom services; correct?
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                                                                            5            A.    That -- that's what he's recommending.
                                                                            6            Q.    And what he says here in the first sentence is
                                                                            7     that Reynolds is still using Authenticom for MMS.                       And
                                                                            8     that's a Reynolds application; correct?
                                                                            9                        MS. GULLEY:       Objection; form.
                                                                            10           A.    It is a Reynolds application.             It's sold to a
                                                                            11    fairly small number of -- of dealers that use CDK
                                                                            12    systems.
                                                                            13           Q.    (By Mr. Nemelka)        All right.       And IDS
                                                                            14    ReminderTrax, that's a Reynolds application; correct?
                                                                            15                       MS. GULLEY:       Objection; form.
                                                                            16           A.    That's -- that's a service reminder card.                   It's
                                                                            17    an application that we sell to service departments.                       And
                                                                            18    in some cases, those service departments are -- use CDK
                                                                            19    software.
                                                                            20           Q.    (By Mr. Nemelka)        RepMan, that's also a
                                                                            21    Reynolds application; correct?
                                                                            22                       MS. GULLEY:       Objection; form.
                                                                            23           A.    RepMan is really a General Motors application.
                                                                            24    It's not -- not really ours.             It's reputation
                                                                            25    management.
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                                                                            1            Q.    (By Mr. Nemelka)        And ShowroomMagnet -- and
                                                                            2     that's a Reynolds application; correct?
                                                                            3                        MS. GULLEY:       Objection; form.
                                                                            4            A.    And that's a Reynolds application.               It is a --
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                                                                            5     it's a very small one.           It's the one that provides a
                                                                            6     cash voucher, a motivation, to get prospective car
                                                                            7     buyers to come in and take a -- a test drive.
                                                                            8            Q.    (By Mr. Nemelka)        And he says for that one,
                                                                            9     Authenticom was currently pulling data from Reynolds
                                                                            10    DMSs, right?
                                                                            11                       MS. GULLEY:       Objection; form.
                                                                            12           Q.    (By Mr. Nemelka)        Do you see that?         After -- at
                                                                            13    Showroom Management -- or ShowroomMagnet?
                                                                            14                       MS. GULLEY:       Form.
                                                                            15           Q.    (By Mr. Nemelka)        He writes, "Currently pulling
                                                                            16    from Reynolds DMS."          Do you see that?
                                                                            17                       MS. GULLEY:       Objection; form.
                                                                            18           A.    I see that.
                                                                            19           Q.    (By Mr. Nemelka)        So Reynolds was using
                                                                            20    Authenticom to pull data from Reynolds dealers; correct?
                                                                            21                       MS. GULLEY:       Objection; form.
                                                                            22           A.    I think what's happening there is -- and that's
                                                                            23    this was a -- a result of an acquisition of a --
                                                                            24    evidently, fairly recent acquisition.                 And it, you
                                                                            25    know -- it had, prior to us acquiring this little
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                                                                            1     product, this little company, that they had been -- they
                                                                            2     were doing business, obviously, independently with us.
                                                                            3     And so therefore, they -- since they weren't RCI
                                                                            4     certified, they were going to a third party to -- to
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                                                                            5     acquire data for them.           Which -- this is something I'm
                                                                            6     not ever happy to see happening.               But whenever you have
                                                                            7     an acquisition, things are not operated in the most
                                                                            8     efficient manner, and there are stupid things going on.
                                                                            9     And that would be classified as a stupid thing going on.
                                                                            10           Q.    (By Mr. Nemelka)        And you -- and in -- in
                                                                            11    response to Mr. Schaefer's recommendation to terminate
                                                                            12    all relationships with Authenticom after they had
                                                                            13    initiated this litigation, you wrote, "I agree -- do
                                                                            14    what needs to be done."            That's what you wrote; correct?
                                                                            15                        MS. GULLEY:      Objection; form.
                                                                            16           A.    Yes.    And I might add on that, I obviously
                                                                            17    wasn't happy about the fact that we've been -- we were
                                                                            18    sued, in my opinion, without good reason.                  But it --
                                                                            19    it's also important, I think, to do business with
                                                                            20    people, or with entities, that have substance.                    I don't
                                                                            21    think Authenticom has much in the way of substance.                     And
                                                                            22    I prefer to do business with some folks, particularly
                                                                            23    when it comes to data.           If there's a lawsuit that goes
                                                                            24    on and there's a big judgement, I'm not the only one
                                                                            25    standing there.
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                                                                            1                         MR. NEMELKA:       I have no further questions.
                                                                            2     I'll reserve the remainder of our time.
                                                                            3                         MS. GULLEY:      Thanks.      I have some questions
                                                                            4     before I get started.           By my count, you have six
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                                                                            5     minutes.
                                                                            6                         All right.      Thank you, Mr. Brockman.
                                                                            7                         Peggy, can you tell me where the exhibits
                                                                            8     are from yesterday?          Are they sort of that sea of
                                                                            9     information?
                                                                            10                        MS. WEDGWORTH:       I think in this area.
                                                                            11                        (Brief discussion.)
                                                                            12                                    EXAMINATION
                                                                            13    BY MS. GULLEY:
                                                                            14           Q.    Let's stick with the document Mr. Nemelka was
                                                                            15    asking you about.         That would be Plaintiff's Exhibit
                                                                            16    679.    All right.       Do you have Plaintiff's Exhibit 679 in
                                                                            17    front of you, sir?
                                                                            18           A.    Yes.
                                                                            19           Q.    One of Mr. Schaefer's statements to you related
                                                                            20    to having relationships directly with the DMS
                                                                            21    provider -- do you see it in parentheses?                  He's list DMS
                                                                            22    providers CDK, Dealertrack, Automate and Autosoft?
                                                                            23           A.    Uh-huh.     (Witness answers affirmatively.)
                                                                            24    That's correct.
                                                                            25           Q.    And you -- you agreed that he should do what
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                                                                            1     needs -- you agreed that he should do what needs to be
                                                                            2     done in terms of entering into relationships with those
                                                                            3     DMS providers; correct?
                                                                            4                          MS. WEDGWORTH:          Objection.
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                                                                            5                          MR. NEMELKA:         Objection.
                                                                            6            A.     That's correct.
                                                                            7            Q.     (By Ms. Gulley)          And you did, in fact, ent- --
                                                                            8     you did, in fact, direct others to enter into
                                                                            9     relationships with the other DMS providers; correct?
                                                                            10                         MS. WEDGWORTH:          Objection.
                                                                            11           A.     That's correct.
                                                                            12           Q.     (By Ms. Gulley)          Now, did the other -- did
                                                                            13    Dealertrack sue Reynolds?               Did -- has anybody sued
                                                                            14    Reynolds over their relationship with Dealertrack?
                                                                            15                         MS. WEDGWORTH:          Objection.
                                                                            16                         MR. NEMELKA:         Objection.
                                                                            17           A.     Not that I'm aware of.
                                                                            18           Q.     (By Ms. Gulley)          Do you know who Dealertrack's
                                                                            19    lawyer is?
                                                                            20                         MR. NEMELKA:         Objection.
                                                                            21           A.     No.    Am I supposed to?
                                                                            22           Q.     (By Ms. Gulley)          Not necessarily.          All right.
                                                                            23    You were asked some questions about the financial
                                                                            24    information that you received.                  Do you recall those
                                                                            25    questions, in general terms?
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                                                                                                                                                    Page 302
                                                                            1            A.    In general terms, they seem to be clustered
                                                                            2     around RCI.
                                                                            3            Q.    Okay.     And one of the things that you have
                                                                            4     testified about in the last couple of days is that
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                                                                            5     Reynolds does not have cost accounting; correct?
                                                                            6                          MS. WEDGWORTH:      Objection.
                                                                            7            A.    That's correct.
                                                                            8            Q.    (By Ms. Gulley)        And Ms. Wedgworth was asking
                                                                            9     you questions about some of the costs of RCI.                    There are
                                                                            10    costs associated with RCI; correct?
                                                                            11                         MS. WEDGWORTH:      Objection.
                                                                            12           A.    Absolutely.
                                                                            13           Q.    (By Ms. Gulley)        What -- what about Reynolds'
                                                                            14    efforts to secure its enterprise system?                  What are the
                                                                            15    costs associated with Reynolds' efforts to secure its
                                                                            16    enterprise system, in general terms?
                                                                            17                         MS. WEDGWORTH:      Objection.
                                                                            18                         MR. NEMELKA:      Objection.
                                                                            19           A.    Well, probably the first category has to do
                                                                            20    with it takes a whole bunch of executive attention, mine
                                                                            21    included, to focus on the issue of data security.                       And
                                                                            22    deciding, you know, what needs to be done, how -- how to
                                                                            23    get it done, how to react in the marketplace to data
                                                                            24    security issues, certainly requires us to spend some
                                                                            25    more money on advertising, you know, to -- to counteract
                                                                                                                Veritext Legal Solutions
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                                                                            1     some of the effects of what we've been -- what's been
                                                                            2     necessary to do from a data security standpoint.
                                                                            3                         You know, that's kind of, you know, the top
                                                                            4     level.      And -- and to go down and enumerate a list of
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                                                                            5     things, it would take -- take a little while.                    But
                                                                            6     that's one of the categories that we didn't talk very
                                                                            7     much about in -- in the previous, you know, questions
                                                                            8     this afternoon.
                                                                            9            Q.    (By Ms. Gulley)        Have you made a conscious
                                                                            10    choice to invest in system security since the merger by
                                                                            11    acquisition with the Reynolds and Reynolds company?
                                                                            12                        MS. WEDGWORTH:       Objection.
                                                                            13           A.    Yes.    I come, originally, from IBM.             And the
                                                                            14    IBM philosophy was very, very much oriented towards
                                                                            15    security.      And in all the software design and
                                                                            16    development, you know, that I was a part of in the UCS
                                                                            17    company, data security was extremely important.                    And I'm
                                                                            18    very, very pleased to state that, so far as I know --
                                                                            19    because we never know what we don't know -- that system
                                                                            20    is totally tight and enjoys that reputation in the
                                                                            21    marketplace, that it's, from a security standpoint, way
                                                                            22    ahead of everybody else.
                                                                            23                        When I got to Reynolds, it's kind of like I
                                                                            24    had been spending my life, you know, mopping and
                                                                            25    polishing the floor.          And I inherited this house, and it
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                                                                            1     has two inches of water on the floor.                 And we don't need
                                                                            2     to think about mops and brushes, we need pumps, because
                                                                            3     that was the situation from a data security standpoint.
                                                                            4     It was just terrible.
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                                                                            5                         And it's been my goal, you know, since that
                                                                            6     day that -- to get it into the right kind of shape.                     And
                                                                            7     it's -- it's vastly improved.              Still not there, you
                                                                            8     know, there's still more work to do.                And that's caused
                                                                            9     by the fact that there are people on the outside, and
                                                                            10    more of them every day, you know, that want to invade
                                                                            11    your systems.        Starting from PCs up.
                                                                            12           Q.    (By Ms. Gulley)        Did you keep that goal a
                                                                            13    secret in 2006 when UCS acquired the Reynolds and
                                                                            14    Reynolds company?
                                                                            15                        MS. WEDGWORTH:       Objection.
                                                                            16                        MR. NEMELKA:       Objection.
                                                                            17           A.    Absolutely not.        It's been -- it's known, you
                                                                            18    know, that that was going to be one of the goals.
                                                                            19           Q.    (By Ms. Gulley)        Reporters ever ask you about
                                                                            20    it?
                                                                            21                        MS. WEDGWORTH:       Objection.
                                                                            22           A.    Yes.
                                                                            23           Q.    (By Ms. Gulley)        What did you tell them?
                                                                            24                        MS. WEDGWORTH:       Objection.
                                                                            25           A.    I told them we were going to improve security.
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                                                                            1            Q.    (By Ms. Gulley)        Since that time, late Oct- --
                                                                            2     late 2006, when the acquisition occurred, how much would
                                                                            3     you estimate you have invested in data security at the
                                                                            4     Reynolds and Reynolds company?
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                                                                            5                        MS. WEDGWORTH:        Objection.
                                                                            6            A.    Probably, counting everything, which would
                                                                            7     include, you know, my time, other executives' time, you
                                                                            8     know, load on the technical support center answering
                                                                            9     questions and issues, sales -- salemen's time dealing
                                                                            10    with customers over the issue of data security,
                                                                            11    additional advertising, you know, that we felt compelled
                                                                            12    to -- to do simply from a -- to keep our image up in the
                                                                            13    public, you know, marketplace, I wouldn't be surprised
                                                                            14    if the total number, if we ever sat down to figure it
                                                                            15    out, would be half a million dollars.
                                                                            16           Q.    (By Ms. Gulley)        In response to some of the
                                                                            17    questions you had begun explaining about the cost of
                                                                            18    some issues related to Xtime, and you were unable to
                                                                            19    finish your answer and were told that you'd be able to
                                                                            20    finish it later -- so here is your chance -- what were
                                                                            21    you -- what were you talking about with respect to
                                                                            22    Xtime?
                                                                            23                       MS. WEDGWORTH:        Objection.
                                                                            24                       MR. NEMELKA:        Objection.
                                                                            25           A.    Well, the issue started on -- came up on a
                                                                                                                Veritext Legal Solutions
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                                                                            1     Monday afternoon.       And we started receiving complaints
                                                                            2     from some customers saying, "What have you done?" and
                                                                            3     "Why is our system running so slowly?" and "We're" --
                                                                            4     "We've checked around and we're not running any specific
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                                                                            5     batch jobs," you know, "What is" -- "What on earth is
                                                                            6     going on?"
                                                                            7                      And, you know, we started, you know,
                                                                            8     accessing some of those systems, and we discovered there
                                                                            9     was something going on, that there was a piece of
                                                                            10    software in -- in the Reynolds server.               It wasn't -- it
                                                                            11    was running, actually, in -- in the -- in the -- in
                                                                            12    the -- the outside part of the server.               But what it was
                                                                            13    doing, it was -- it was adding records at a high rate to
                                                                            14    the Reynolds server in the customer's location.                  And we
                                                                            15    discovered what was happening was -- and that's that
                                                                            16    Xtime was -- "abusing" would be the right word -- they
                                                                            17    were just trampling their -- their permission to have
                                                                            18    access to add, change and delete records.                And they were
                                                                            19    adding, you know, dummy, bo- -- bogus customer records
                                                                            20    at a high rate.       And they added some 700,000.             You know,
                                                                            21    just trashed customer records.
                                                                            22                     And that was what was slowing down the
                                                                            23    servers who had called and complained.               Fortunately, we
                                                                            24    were able to get it shut off before it went any further.
                                                                            25                     Then came the cleanup problem, or the
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                                                                            1     cleanup issue.      We found that -- that some of the --
                                                                            2     that there were some pieces of -- of junk in -- in
                                                                            3     the -- these customer records that was consistent across
                                                                            4     all of them.     And, you know, we found that it took us
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                                                                            5     several days to figure this out, that we could write
                                                                            6     software and we could go read the entire customer file
                                                                            7     on those servers and find bad records and throw them
                                                                            8     out.
                                                                            9                      The problem was -- and that's that, in the
                                                                            10    meantime, the customers continued to operate.                  And as
                                                                            11    the customers continued to operate, they would actually
                                                                            12    transact business on some of these, you know, bogus, you
                                                                            13    know, customer records.          And so we were faced with the
                                                                            14    issue of it wasn't just a matter of -- of going back
                                                                            15    and -- and deleting customer records that we could
                                                                            16    identify, we also had to identify whether or not they
                                                                            17    had had any business transacted on them.                Because if we
                                                                            18    did, then we would lose that -- lose that data
                                                                            19    completely.
                                                                            20                     So we ended up having a situation where
                                                                            21    once we got done doing everything we could from the
                                                                            22    programming standpoint, the customers had to go back and
                                                                            23    find the duplicates.        Because there would be a
                                                                            24    duplicate, you know, customer record that was bad, but
                                                                            25    yet it was still good, because it had some -- some --
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                                                                            1     tracking some business transactions involved.
                                                                            2                       And then in the last act, the customers
                                                                            3     were actually responsible for cleaning all of that up by
                                                                            4     hand.     Now, what that's like -- it's like, you know,
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                                                                            5     somebody that lives next door who's about half crazy and
                                                                            6     likes to shoot, and all they did is kill your dog, but
                                                                            7     they didn't hit you.         I mean, so you could be happy
                                                                            8     about that.      Well, but as somebody that's, you know, in
                                                                            9     charge of -- I'm kind of the executive in charge of loss
                                                                            10    prevention -- I'm saying, "Well, good God, what could
                                                                            11    have happened?"
                                                                            12                      Because that same kind of logic could have
                                                                            13    occurred where they deleted all of our stuff instead of
                                                                            14    adding.     They could have just as well been deleting,
                                                                            15    because they had write-back access, and if they had sat
                                                                            16    and deleted, you know, they could have destroyed God
                                                                            17    knows how much, you know, information.                Why did they
                                                                            18    only get at 400 or so dealerships?               I don't know.         You
                                                                            19    know -- you know, the grace of God.               You know, it could
                                                                            20    have been thousands.
                                                                            21                      And so that's the reason why -- that I sat
                                                                            22    and thought, "How the hell can we put -- you know, we
                                                                            23    can't prevent this, because we can't stop them.                   But how
                                                                            24    can we fix it?"        What we did was -- is we went into the
                                                                            25    software that we allowed them, you know,
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                                                                            1     delete/add/change access to, and we created journalling.
                                                                            2     And what "journalling" means is -- is we take -- let's
                                                                            3     say you've got a change, you know, function going to
                                                                            4     happen.      What we do is we take a snapshot of the record
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                                                                            5     before they change it, log it off, and then we take a
                                                                            6     snapshot of it after -- after -- after change and log it
                                                                            7     off.    And that means that we can go back and we can tell
                                                                            8     what happened.        And in many cases, probably be able to
                                                                            9     restore.
                                                                            10                       Unfortunately, we run into the situation
                                                                            11    where what happens in the time interval from when the
                                                                            12    incident occurs versus when we discovered they want to
                                                                            13    fix it -- which is business transactions happen on
                                                                            14    records in between.
                                                                            15                       Now, the -- the logging -- you know, we can
                                                                            16    tell you which ones they stepped on, but we can't fix
                                                                            17    it.    We can't do an automatic fix, because there's been
                                                                            18    business transactions that happened that, you know, we
                                                                            19    don't know about.
                                                                            20                       So that's all part and parcel of -- of the
                                                                            21    Xtime story.       It was a -- a rude awakening to us that --
                                                                            22    that third-party programmers could be so -- so lax and
                                                                            23    so stupid as to let something like that happen.
                                                                            24           Q.    (By Ms. Gulley)        How much did it cost you to
                                                                            25    build out this new protection?
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                                                                                                                                                     Page 310
                                                                            1                         MS. WEDGWORTH:        Objection.
                                                                            2                         MR. NEMELKA:        Objection.
                                                                            3             A.    I don't know, because we had to go back in to
                                                                            4     every application program that we allowed read/write
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                                                                            5     access to and build it in.              And then we also had to
                                                                            6     build the -- the database for these log transactions.
                                                                            7     And then, of course, the -- the interesting part of
                                                                            8     these log transactions -- how long do you have to keep
                                                                            9     them?
                                                                            10            Q.    (By Ms. Gulley)        So it's an ongoing expense?
                                                                            11                        MS. WEDGWORTH:        Objection.
                                                                            12            A.    It's an ongoing expense, and we don't know how
                                                                            13    long we have to keep them because, in some cases that --
                                                                            14    they could have a bust where, you know, the -- the loss
                                                                            15    was minor.        But yet you could have a situation, you
                                                                            16    know, where they decided -- or not decided, but where
                                                                            17    they -- through lack of programming skill, they could --
                                                                            18    they could walk on email addresses.
                                                                            19                        Well, you know, you might not notice that
                                                                            20    for a couple of months.             And then you'd have to go and
                                                                            21    try and fix it, which means that -- we keep a lot -- lot
                                                                            22    of file stuff, I think, for retention, seven years.                      I
                                                                            23    hope to God we never have to go that far back to fix
                                                                            24    anything, but somebody had to make a decision as to how
                                                                            25    long we were going to keep it, so I said seven years.
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                                                                                                                                                    Page 311
                                                                            1            Q.    (By Ms. Gulley)        In terms of what you've had to
                                                                            2     spend already in building the log-in functionality and
                                                                            3     the service base so far, are we talking thousands,
                                                                            4     millions?
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                                                                            5                        MS. WEDGWORTH:        Objection.
                                                                            6                        MR. NEMELKA:        Objection.
                                                                            7            A.    I would say not -- not as much as a million,
                                                                            8     but probably -- probably made a pretty good hole in
                                                                            9     700,000 or 800,000.
                                                                            10           Q.    (By Ms. Gulley)        Earlier, I had asked you --
                                                                            11           A.    And then there's the ongoing cost.               I mean,
                                                                            12    there's -- you know, the stuff that you vaulted, you've
                                                                            13    got to keep it.         You've got to sell on it, you've got --
                                                                            14    you've got to spin it.
                                                                            15           Q.    Earlier, I had asked you what you -- you
                                                                            16    estimated the investment in system security, and
                                                                            17    the rec- -- the -- and we just saw the transcript looked
                                                                            18    like you had said half a million.               I wanted to make sure
                                                                            19    I got that right.
                                                                            20           A.    No.   It's half a billion.
                                                                            21                       MS. WEDGWORTH:        Objection.
                                                                            22           Q.    (By Ms. Gulley)        Say it again.
                                                                            23                       MS. WEDGWORTH:        Objection.
                                                                            24           A.    Our total investment for data security forever
                                                                            25    and a day probably is in the order of half a billion.
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                                                                                                                                                    Page 312
                                                                            1            Q.    (By Ms. Gulley)        How do you feel about data
                                                                            2     brokers?
                                                                            3                        MS. WEDGWORTH:        Objection.
                                                                            4                        MR. NEMELKA:        Objection.
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                                                                            5            A.    The same way I feel about the unprintable --
                                                                            6     but, you know, certainly, in polite company --
                                                                            7            Q.    (By Ms. Gulley)        "The elevator speech"?
                                                                            8                        MS. WEDGWORTH:        Objection.
                                                                            9            A.    You know, the problem with data brokers is --
                                                                            10    is -- you know, it starts off from a legal standpoint.
                                                                            11    You know, according to Gramm-Leach-Bliley, you know,
                                                                            12    dealerships are considered financial institutions.                      And
                                                                            13    as such, they have certain responsibilities.
                                                                            14                       There's also another act that -- that
                                                                            15    applies directly.         And what it says in -- in short order
                                                                            16    is -- and that's that a dealership is considered a
                                                                            17    financial institution.           And they're responsible for the
                                                                            18    security of the data that they accumulate in their
                                                                            19    process of arranging financing.              If they are to use a
                                                                            20    third-party service provider, they must have a contract
                                                                            21    with that service provider, you know, that specifies
                                                                            22    who's responsible for what, who indemnifies who and what
                                                                            23    the liabilities are and so forth.
                                                                            24                       A data broker, in the -- in the simplest
                                                                            25    sense, what they're doing is they're extracting data out
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                                                                            1     of a dealership system.          It's got to be a contract
                                                                            2     there.    And then, you know, whoever that they send the
                                                                            3     data to, there's got to be another contract there.                    So
                                                                            4     there -- there's this, you know, myriad of -- of
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                                                                            5     contracts that are required in order to be legal.
                                                                            6                      Data brokers is -- you know, they're --
                                                                            7     they're little, small companies for the most part,
                                                                            8     and they don't have the resources to do that.                  They, in
                                                                            9     many cases, are kind of oblivious to -- to the fact
                                                                            10    that, you know, they are required to do all of these --
                                                                            11    these things according to the law.
                                                                            12                     And so therefore, in my opinion, they're
                                                                            13    absolute outliers.        Secondly, there's called a -- it's
                                                                            14    called a Computer Fraud and Abuse Act.               Computer Fraud
                                                                            15    and Abuse Act is very, very clear that if you enter into
                                                                            16    a computer system, and the software on a computer
                                                                            17    system, if you're not you authorized to do so, you're in
                                                                            18    violation of that law.
                                                                            19                     Well, people don't pay a lot of attention
                                                                            20    to the fact that -- that Reynolds owns the software
                                                                            21    that's on every dealership system.              If they license that
                                                                            22    software to the dealer and the license is not an
                                                                            23    unlimited license, it's very much a limited license that
                                                                            24    says that you cannot, you know, allow a third party to
                                                                            25    access or to use that software because you have no
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                                                                                                                                                    Page 314
                                                                            1     license to do that, your license covers only your
                                                                            2     employees and direct agents.
                                                                            3            Q.    (By Ms. Gulley)        How long have you had those
                                                                            4     restrictions against the use of third-party data
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                                                                            5     brokers?
                                                                            6                        MS. WEDGWORTH:        Objection.
                                                                            7            A.    I think in the case of UCS software, it's been
                                                                            8     at least 25 or 30 years.            As far as Reynolds is
                                                                            9     concerned, when I got there 12 years ago, they were
                                                                            10    already there, and had been around for a while.                    But I
                                                                            11    don't know how long.
                                                                            12           Q.    (By Ms. Gulley)        If -- during this deposition,
                                                                            13    we've heard you, on numerous occasion, call data
                                                                            14    brokers, like, Authenticom "hackers and bandits"; is
                                                                            15    that correct?
                                                                            16                       MS. WEDGWORTH:        Objection.
                                                                            17                       MR. NEMELKA:        Objection.
                                                                            18           A.    That's correct.
                                                                            19           Q.    (By Ms. Gulley)        Why do you feel -- what --
                                                                            20    what are the risks to Reynolds system such that you
                                                                            21    would give them those names, "hackers and bandits"?
                                                                            22                       MS. WEDGWORTH:        Objection.
                                                                            23                       MR. NEMELKA:        Objection.
                                                                            24           A.    Well, first of all, what they're doing is --
                                                                            25    and that's that they have used -- and Steve Cottrell has
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                                                                                                                                                   Page 315
                                                                            1     admitted in open court how often that he had worked, you
                                                                            2     know, gaining entrance, you know, getting passed the
                                                                            3     security barriers, to access Reynolds software.                   And I
                                                                            4     think that qualifies him for the name "hacker."
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                                                                            5                       You know, what the big worry is -- and
                                                                            6     that's that to the extent that a third-party hacker is
                                                                            7     involved, there's a security breach and that there's
                                                                            8     going to be all hell to pay.            And, you know, we've been
                                                                            9     through this.       You know -- this is -- was my first --
                                                                            10    matter of fact, that's how I met Michael.                 It was a
                                                                            11    Chevrolet dealership by the name of Franklin, and I
                                                                            12    don't know where they were in the company -- in the
                                                                            13    country, but the general manager of that dealership had
                                                                            14    access to a master password.            And he could run any kind
                                                                            15    of reports or any kind of listings that -- that he
                                                                            16    wanted.     Which, that's not unusual for, you know -- he
                                                                            17    was the onsite person in charge.              He was the general
                                                                            18    manager.
                                                                            19                      Well, he used that -- that password
                                                                            20    authority to download the entire customer files of that
                                                                            21    customer -- of that dealership onto his laptop.                   And
                                                                            22    when he left -- and I don't know under what
                                                                            23    circumstances he left, but it kind of sounds like maybe
                                                                            24    not nice circumstances -- he saw fit to post the
                                                                            25    customer database in its entirety on the Internet.
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                                                                            1                        And there were, you know, people whose
                                                                            2     names and information was posted that were not happy,
                                                                            3     and they called the FDC.            And the FDC came down on that
                                                                            4     dealer and said, you know -- I don't know whether they
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                                                                            5     had their guns drawn or not, but I mean, they -- they
                                                                            6     were -- it was -- it was very shocking -- and asked the
                                                                            7     dealer what on earth he had done.               The dealer was, like,
                                                                            8     completely unknowledgeable of what all happened.                        And as
                                                                            9     they talked to him some more, he said, "Look, I
                                                                            10    understand what you're talking about.                 You need to talk
                                                                            11    to Reynolds.       They're our computer guys, they'll know
                                                                            12    everything."
                                                                            13                       So the next thing we know, we have FTC on
                                                                            14    our door, and we don't know much about dealing with the
                                                                            15    FTC.    Matter of fact, never been around them at all.
                                                                            16    And -- but fortunately -- fortunately, we got a good
                                                                            17    piece of advice from one of -- one of our outside
                                                                            18    attorneys --
                                                                            19                       MS. GULLEY:       Okay.     So you can't talk about
                                                                            20    privileged information.            I'm sorry, sir.
                                                                            21                       THE WITNESS:        Oh, okay.
                                                                            22           Q.    (By Ms. Gulley)        But -- but you're talking
                                                                            23    about the FTC.        You're not talking about antitrust,
                                                                            24    you're talking about the privacy people; is that right?
                                                                            25           A.    I'm talking about the privacy people.                Can I
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                                                                                                                                                    Page 317
                                                                            1     talk about that?
                                                                            2            Q.    No.
                                                                            3            A.    No?
                                                                            4            Q.    You cannot reveal privileged information.
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                                                                            5                        MS. WEDGWORTH:        Objection.
                                                                            6            Q.    (By Ms. Gulley)        But --
                                                                            7            A.    I can say, you know, what -- what the effect
                                                                            8     was on us.
                                                                            9            Q.    What was the effect on you of the FTC's
                                                                            10    investigation into --
                                                                            11           A.    Well, we obviously --
                                                                            12           Q.    -- Franklin?
                                                                            13                       MS. WEDGWORTH:        Objection.
                                                                            14                       MR. NEMELKA:        Objection.
                                                                            15           A.    We obviously started spending a bunch of money,
                                                                            16    a whole pile, simply to convince the FTC that we did
                                                                            17    nothing wrong.        The computer system was not in any way
                                                                            18    at fault or involved.
                                                                            19                       But it doesn't take much of a leap in my
                                                                            20    mind to think about, "Well, what if the computer system
                                                                            21    was involved?        What -- what if something happened that
                                                                            22    caused a breach?         We better be prepared for all hell to
                                                                            23    break loose and then it would be really expensive."                     And
                                                                            24    so the idea of having any kind of data broker involved
                                                                            25    in any of that kind of process to me is not smart --
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                                                                                                                                                    Page 318
                                                                            1                        (Brief discussion.)
                                                                            2                        (Exhibit 274 was marked for
                                                                            3                          identification.)
                                                                            4            Q.    (By Ms. Gulley)        I'm marking and handing to you
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                                                                            5     Defendant's Exhibit 274.            Less you think the plaintiff's
                                                                            6     and defendants' numbers are widely disparate, the
                                                                            7     plaintiff's skipped numbers.             Ours -- we did not.
                                                                            8     Here's Defendant's 274.
                                                                            9                        (Brief discussion.)
                                                                            10           Q.    (By Ms. Gulley)        Take a minute to review
                                                                            11    Defendant's 274.
                                                                            12           A.    I'm -- I'm familiar with this.
                                                                            13           Q.    Who's Robert T. Brockman, II?
                                                                            14           A.    He's my son.
                                                                            15           Q.    We were discussing a moment ago the Franklin
                                                                            16    incident.      What is -- what is this about, the --
                                                                            17    Defendant's Exhibit 274?
                                                                            18                       MS. WEDGWORTH:        Objection.
                                                                            19           A.    This one here is -- is -- I believe is
                                                                            20    DealerBuilt.       DealerBuilt, if I can recall what happened
                                                                            21    on that one, they had a lot of very sizeable customers.
                                                                            22    And they were sending backups of the local server in the
                                                                            23    dealership back to a central point.                And when they
                                                                            24    transmitted the data, it wasn't encrypted.                   And it
                                                                            25    caused the exposure of -- I want to say, like, 400,000
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                                                                                                                                                  Page 319
                                                                            1     or so, that they know of, you know, individual customer
                                                                            2     records were exposed.
                                                                            3                      And that meant that -- in any kind of data
                                                                            4     exposure, you know, the first -- the first cost is $2
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                                                                            5     apiece it costs you per name to send a registered letter
                                                                            6     to the person whose data was exposed and to tell them
                                                                            7     that their data has been exposed and they should be
                                                                            8     cautious about, you know, what's happening.                 Because
                                                                            9     their -- you know, their personal information may have
                                                                            10    gotten into the wrong hands of some bad people.
                                                                            11                     And then, after that, you start dealing
                                                                            12    with the FTC, which I -- I don't have any knowledge to
                                                                            13    what that cost in this particular situation, but I bet
                                                                            14    it was a bunch.       And I think this was one of the first
                                                                            15    wake-up calls of a really large data breach in the
                                                                            16    automotive business that we know about.
                                                                            17                     Because we always have to remember -- it's
                                                                            18    kind of like in -- in the banks where they have worries
                                                                            19    about bad people stealing money from the banks
                                                                            20    internally.     You never hear about those.             Now, maybe
                                                                            21    that's because none of them ever happen.                I don't think
                                                                            22    that's the case.       I think they're concerned about the
                                                                            23    publicity.     I think they're concerned about bad guys
                                                                            24    getting ideas.      And, you know, that's certainly what
                                                                            25    could be happening here.
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                                                                            1             Q.     (By Ms. Gulley)        Would you read what you sent
                                                                            2     to your son, for the record?
                                                                            3             A.     Yeah.     It's short.      Three words.       "It finally
                                                                            4     happened.        Love, Dad."
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                                                                            5             Q.     What did you mean when you said that?
                                                                            6                            MS. WEDGWORTH:      Objection.
                                                                            7             A.     Well, he and I have had conversations about
                                                                            8     this a lot.         You know, my son has a degree in computer
                                                                            9     science from Rice University, along with a master's in
                                                                            10    electrical engineering and an MBA.                  And he's -- he's
                                                                            11    interested in these kind of things, so we talk about
                                                                            12    them.        He's 44 years old.        I don't know if he's quite
                                                                            13    grown yet, but he's getting there.
                                                                            14            Q.     (By Ms. Gulley)        What do you mean by "finally"?
                                                                            15            A.     Well, I -- I've been predicting it for a long
                                                                            16    time, and so it -- it was -- while it was an unhappy
                                                                            17    situation, at least it serves the fact that I've not
                                                                            18    been worrying in vain.             We have -- we have -- in terms
                                                                            19    of numbers of dealerships, you know, numbers of customer
                                                                            20    records and whatever, we obviously has vastly more than
                                                                            21    DealerBuilt did.
                                                                            22            Q.     Have you been criticized for that?
                                                                            23            A.     I've been criticized a lot for -- for data
                                                                            24    security, which is incredible.                But I think what really
                                                                            25    happens in -- in the dealership world is -- and that's
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                                                                            1     that it's not the dealer.              It is the -- it is the
                                                                            2     department head who, short term, you know, wants to get
                                                                            3     his -- what he wants to get done, what he wants to get
                                                                            4     done.        He doesn't care about security.             He may not even
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                                                                            5     be around that dealership next year.                  He has a very
                                                                            6     short-term outlook.
                                                                            7                          He is completely -- from a liability
                                                                            8     standpoint, it's not going to be his personal liability.
                                                                            9     He's worried about getting done whatever he can get done
                                                                            10    so his bonuses at the end of the month is -- is good
                                                                            11    at -- as good as it could be.                He's a very short-term
                                                                            12    thinker.        And those are the people that make the most
                                                                            13    noise, you know, when -- when security enhancements take
                                                                            14    place.
                                                                            15                         Inevitably, when you -- when you get to the
                                                                            16    dealer and explain to him the liabilities that are
                                                                            17    floating around and -- and what -- what -- what's going
                                                                            18    on, what we're trying to prevent, you know, the dealer
                                                                            19    says, "Okay, we understand."
                                                                            20            Q.     I'm going to hand you Defendant's 275.                Take a
                                                                            21    moment to look at that.
                                                                            22                         (Exhibit 275 was marked for
                                                                            23                           identification.)
                                                                            24            Q.     (By Ms. Gulley)        Have you had a chance to look
                                                                            25    at that?
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                                                                            1            A.     Yes.
                                                                            2            Q.     All right.       This is a series of emails and a
                                                                            3     report relating to the Randall Reed dealership.                         Do you
                                                                            4     recall this exchange?
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                                                                            5                          MS. WEDGWORTH:          Objection.
                                                                            6            A.     Yes, I do.
                                                                            7            Q.     (By Ms. Gulley)          In the very top email, sent
                                                                            8     September 17, 2013, from you, you say, "Chris, the
                                                                            9     attached report shows the scheduled unattached
                                                                            10    automatically run reports being run on Randolph Reed's
                                                                            11    345 server."         Do you see that?
                                                                            12                         MR. NEMELKA:         Objection.
                                                                            13           A.     Yes, I do.
                                                                            14           Q.     (By Ms. Gulley)          And then what did you say?
                                                                            15                         MS. WEDGWORTH:          Objection.
                                                                            16           A.     It says, "It's a wonder that this box runs at
                                                                            17    all, much less running docuPAD with acceptable response
                                                                            18    times."
                                                                            19           Q.     (By Ms. Gulley)          What does that mean?
                                                                            20                         MS. WEDGWORTH:          Objection.
                                                                            21           A.     Well, what's happened here in this -- the
                                                                            22    customer, this Randall Reed company has called up, you
                                                                            23    know, very, very, very unhappy that their 345 server --
                                                                            24    and this is an older server.                 This is a server that
                                                                            25    probably -- the last one was manufactured 15 years ago.
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                                                                            1     It's that old.        And it is overrun with batch jobs such
                                                                            2     that docuPAD response time is not as good as it ought to
                                                                            3     be.    Of course, when you run this report --
                                                                            4            Q.    (By Ms. Gulley)        And just for the record,
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                                                                            5     you're looking at the attachment?
                                                                            6                        MR. NEMELKA:        Objection.
                                                                            7            A.    These are a list of -- of -- of what we call
                                                                            8     "scheduled batch jobs."            And it -- it shows the user ID
                                                                            9     that set it up in the first place, and then a
                                                                            10    description of what it is, and then how many stores it's
                                                                            11    located -- not how many -- which store numbers -- which
                                                                            12    store number -- this first one is in Store No. 9.
                                                                            13                       And then it shows whether it's a report
                                                                            14    generator or query builder or a download.                  And then how
                                                                            15    many hours a day did that -- did it run?                  It runs every
                                                                            16    1 and 1/2 minutes, 13 and 1/2 hours a day.
                                                                            17                       So what's happened is -- and that's -- and
                                                                            18    this reports an available report on -- on every system.
                                                                            19    The customer has completely dumb-assed themselves.
                                                                            20    And -- and what they've done is they've completely
                                                                            21    ignored the fact that all computers have finite
                                                                            22    resources, and you cannot load on them, you know,
                                                                            23    immense amounts of work.            And this is probably the worst
                                                                            24    example I've ever seen about this.
                                                                            25                       And it's -- typically, a lot of these --
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                                                                            1     these automatically scheduled reports, that is a sure
                                                                            2     sign of a hacker.         Because what they're doing is -- and
                                                                            3     that's they want the report run at a specific time where
                                                                            4     they can go back and get it and -- and pull it off to,
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                                                                            5     you know, their computer in the sky.
                                                                            6                          So I found this one interesting.             I mean,
                                                                            7     it, you know -- this one's so bad, you got to laugh.
                                                                            8     Just -- it's -- it's, you know, just beyond the pale.                        I
                                                                            9     mean, this one here, when we have a -- a place on the
                                                                            10    wall of our computer history where we have an example of
                                                                            11    the worst use ever of remotely unattended batch jobs,
                                                                            12    this is it right here.
                                                                            13           Q.    (By Ms. Gulley)        Look at the -- the -- you see
                                                                            14    that the rows are numbered -- Row 9?                Maybe yours aren't
                                                                            15    numbered.      So going down nine spots -- guys, I've just
                                                                            16    put an arrow -- so one, two, three, four, five -- and
                                                                            17    for the record, I've put an arrow at "Superior."                        That's
                                                                            18    where I want you to look.
                                                                            19           A.    Okay.
                                                                            20           Q.    Who is that?       What is that?       What do you think
                                                                            21    that is?
                                                                            22           A.    I think that's Phil Bautista.
                                                                            23           Q.    So is Superior Solutions a hostile data broker?
                                                                            24                         MS. WEDGWORTH:      Objection.
                                                                            25                         MR. NEMELKA:      Objection.
                                                                                                                Veritext Legal Solutions
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                                                                            1             A.    They are.      Of the worst kind.
                                                                            2             Q.    (By Ms. Gulley)        Are they -- are they in the
                                                                            3     same space as Authenticom?
                                                                            4                          MR. NEMELKA:       Objection.
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                                                                            5             A.    Yes.
                                                                            6             Q.    (By Ms. Gulley)        All right.      And so how
                                                                            7     frequently was SIS accessing this Reynolds system at
                                                                            8     this time?
                                                                            9                          MS. WEDGWORTH:       Objection.
                                                                            10            A.    Every two and a half minutes.             And accumulating
                                                                            11    four and a half hours a day worth of compute time.
                                                                            12            Q.    (By Ms. Gulley)        What impact can that have on
                                                                            13    Reynolds technology?
                                                                            14                         MS. WEDGWORTH:       Objection.
                                                                            15                         MR. NEMELKA:       Objection.
                                                                            16            A.    It -- it overloads it.          Even a really good
                                                                            17    server, you know, shouldn't have anything like that
                                                                            18    running.       And you're pretty good.           I didn't catch that.
                                                                            19                         MS. GULLEY:      Let's go off the record and
                                                                            20    take a break.         We've been going a while without a good
                                                                            21    break.       I'm going to still be on when I -- when we come
                                                                            22    back.
                                                                            23                         THE VIDEOGRAPHER:        This is the end of Media
                                                                            24    3.   The time is 3:16 p.m.            We're off the record.
                                                                            25                         (Short recess 3:16 to 3:31 p.m.)
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                                                                            1                          THE VIDEOGRAPHER:         This is the beginning of
                                                                            2     Media 4.        We're back on the record at 3:31 p.m.
                                                                            3                             EXAMINATION (Continuing)
                                                                            4     BY MS. GULLEY:
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                                                                            5             Q.     When we were talking about Xtime earlier, I
                                                                            6     don't think I circled around to this question.                      The
                                                                            7     Xtime situation that you described, how does that relate
                                                                            8     to the transaction fee issue that Ms. Wedgworth was
                                                                            9     asking you about?
                                                                            10            A.     The -- the process of -- of somebody -- some
                                                                            11    entity like Xtime doing add/change/delete write-back
                                                                            12    information, what that does is that generates a bunch of
                                                                            13    extra work we've got to do.               Plus, we've got to save the
                                                                            14    before-and-after images.              And we did it on a
                                                                            15    per-transaction basis simply because we believed that it
                                                                            16    would always be a number of RCI customers that don't
                                                                            17    need that, because they're not doing add/change/delete
                                                                            18    write-back.
                                                                            19                         And therefore, it would be unfair just to
                                                                            20    have a cover-blanket increase to cover the cost of doing
                                                                            21    that.        We put it on -- on the third parties that are
                                                                            22    actually using that -- that facility.
                                                                            23            Q.     Do you know what the impact of that transaction
                                                                            24    fee has been on the number of write-back transactions?
                                                                            25                         MS. WEDGWORTH:        Objection.
                                                                                                                  Veritext Legal Solutions
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                                                                            1            A.    I -- I'm sure that it has been reduced, because
                                                                            2     I think before that, there were -- there was no -- no
                                                                            3     charge for write-back transactions.                And so once there
                                                                            4     became a charge, they came back and changed how they --
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                                                                            5     how they did things.          Some cases, you know, for
                                                                            6     instance, they would want to update a repair order or
                                                                            7     update a service reservation, you know, frequently.                     You
                                                                            8     didn't really need to do that.
                                                                            9            Q.    (By Ms. Gulley)        So what's the impact on the
                                                                            10    system load now?
                                                                            11                       MS. WEDGWORTH:        Objection.
                                                                            12                       MR. NEMELKA:        Objection.
                                                                            13           A.    It -- it improved the situation from the system
                                                                            14    load but, you know, the -- there's still the logging.
                                                                            15    You know, it is a fair amount of overhead.
                                                                            16           Q.    (By Ms. Gulley)        Another topic you talked about
                                                                            17    over the last couple of days is the automated access to
                                                                            18    the Reynolds system.          Does Reynolds allow its customers
                                                                            19    to provide automated access to third parties?
                                                                            20                       MS. WEDGWORTH:        Objection.
                                                                            21           Q.    (By Ms. Gulley)        Themselves?
                                                                            22                       MS. WEDGWORTH:        Objection.
                                                                            23           A.    No.   They're -- they're not allowed to do that
                                                                            24    and the security changes won't -- won't let that happen.
                                                                            25           Q.    (By Ms. Gulley)        But what if an automated third
                                                                                                                Veritext Legal Solutions
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                                                                            1     party says, "Oh, no, we're the agent of the dealer."
                                                                            2     Does Reynolds allow that?
                                                                            3                          MS. WEDGWORTH:          Objection.
                                                                            4            A.     No.
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                                                                            5            Q.     (By Ms. Gulley)          You also mentioned, several
                                                                            6     times, Reynolds reporting functionality.                      Can dealers
                                                                            7     give their operational data out to third parties?
                                                                            8                          MS. WEDGWORTH:          Objection.
                                                                            9            A.     Yes.
                                                                            10           Q.     (By Ms. Gulley)          And so on the one hand, we
                                                                            11    talked about system access, no automated access, but
                                                                            12    they can provide their data.                 How can they do that?
                                                                            13                         MS. WEDGWORTH:          Objection.
                                                                            14           A.     We have a -- a data reporting facility.                   And
                                                                            15    what they can do is -- and that's they can -- say, for
                                                                            16    instance, run a print job that's not ever printed.
                                                                            17    Instead, it's sent to disk and then they -- they
                                                                            18    transmit that data in that dataset outside in -- as far
                                                                            19    as we're concerned, you know, once they do it
                                                                            20    themselves, we're out of the track.
                                                                            21           Q.     (By Ms. Gulley)          So if Authenticom was the
                                                                            22    recipient of that data from the dealer, is that
                                                                            23    permitted?
                                                                            24                         MS. WEDGWORTH:          Objection.
                                                                            25                         MR. NEMELKA:         Objection.
                                                                                                                Veritext Legal Solutions
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                                                                            1            A.     Yes.
                                                                            2            Q.     (By Ms. Gulley)          I'm sorry?
                                                                            3            A.     Yes.     I think there was one -- one of the, you
                                                                            4     know, big users of -- I can't remember.                      It's -- it's
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                                                                            5     not a good example.
                                                                            6            Q.     What -- what about CarFax?               If the dealer
                                                                            7     wanted to download its information and send it to
                                                                            8     CarFax --
                                                                            9            A.     That's what I was thinking about.
                                                                            10                          MS. WEDGWORTH:         Objection.
                                                                            11                          MR. NEMELKA:        Objections.
                                                                            12           A.     And they do.
                                                                            13           Q.     (By Ms. Gulley)          I did not know you were
                                                                            14    thinking that, by the way.
                                                                            15           A.     Yeah.     They do.       They use -- they use a
                                                                            16    reporting mechanism and download their data to CarFax
                                                                            17    and, as a result, CarFax is -- never became an RCI
                                                                            18    customer.        And that's fine.
                                                                            19           Q.     (By Ms. Gulley)          As well?
                                                                            20                          MS. WEDGWORTH:         Objection.
                                                                            21           A.     Yes.     (Inaudible.)
                                                                            22           Q.     (By Ms. Gulley)          Is the wind-down agreement
                                                                            23    between Reynolds and CDK from 2015 still in effect?
                                                                            24                          MS. WEDGWORTH:         Objection.
                                                                            25           A.     No.
                                                                                                                Veritext Legal Solutions
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                                                                            1            Q.    (By Ms. Gulley)        Ms. Wedgworth had said -- or,
                                                                            2     no, I'm sorry, it was Mr. Nemelka had called it a
                                                                            3     "five-year agreement."           The agreement was 2015, five
                                                                            4     years is 2020.        Was it a five-year agreement?
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                                                                            5                        MR. NEMELKA:        Objection.
                                                                            6                        MS. WEDGWORTH:        Objection.
                                                                            7            A.    No.   It was an agreement until the -- the
                                                                            8     stand-down process had been -- had been completed, which
                                                                            9     it was completed, satisfactorily.
                                                                            10           Q.    (By Ms. Gulley)        Ms. Wedgworth asked you about
                                                                            11    exempted user IDs in various contexts.                 Are exempted IDs
                                                                            12    exempted from all Reynolds security policies?
                                                                            13                       MS. WEDGWORTH:        Objection.
                                                                            14           A.    No.   Only for specific security policy issues.
                                                                            15           Q.    (By Ms. Gulley)        Who's knowledgeable on that --
                                                                            16    those issues?
                                                                            17                       MS. WEDGWORTH:        Objection.
                                                                            18           A.    Maybe Kelly Hall.
                                                                            19           Q.    (By Ms. Gulley)        All right.      We've also talked
                                                                            20    about DMS competition.           Do dealers change DMS providers?
                                                                            21           A.    Yes, they do.
                                                                            22           Q.    Do dealers switch away from Reynolds?
                                                                            23           A.    Yes, they do.
                                                                            24           Q.    Do dealers switch away from CDK?
                                                                            25                       MR. NEMELKA:        Objection.
                                                                                                                Veritext Legal Solutions
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                                                                            1             A.     Yes, they do.
                                                                            2             Q.     (By Ms. Gulley)        Do they switch away from Cox
                                                                            3     Automotive Dealertrak?
                                                                            4                          MS. WEDGWORTH:        Objection.
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                                                                            5                          MR. NEMELKA:        Objection.
                                                                            6             A.     Yes, they do.
                                                                            7             Q.     (By Ms. Gulley)        Now, you had mentioned there,
                                                                            8     you do not have an agreement between Reynolds and Cox
                                                                            9     Automotive Dealertrack with respect to conversions; is
                                                                            10    that right?
                                                                            11                         MS. WEDGWORTH:        Objection.
                                                                            12            A.     Correct.
                                                                            13            Q.     (By Ms. Gulley)        But dealers, nevertheless,
                                                                            14    leave Cox Aut- -- are able to switch between Reynolds
                                                                            15    and Cox; correct?
                                                                            16                         MS. WEDGWORTH:        Objection.
                                                                            17            A.     That's correct.        That process is -- is really,
                                                                            18    you know, relatively simple.               What you do is -- and
                                                                            19    that's that you -- you print off a bunch of reports --
                                                                            20    and I say "print off" -- you run a bunch of print jobs,
                                                                            21    but don't print them off.              Instead, you send them to
                                                                            22    disk.        And then that disk or thumb drive goes to the
                                                                            23    assuming, you know, competitive system, and then they
                                                                            24    run a series of software programs that parse the printed
                                                                            25    information and put it into data records.                    And that
                                                                                                                  Veritext Legal Solutions
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                                                                            1     is -- that's how we convert any non-CDK, you know,
                                                                            2     customer.      For instance, if we convert a Dealertrack
                                                                            3     customer, we do it all with print jobs, and are very
                                                                            4     familiar with it doing it.             It's really very simple
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                                                                            5     programming.        It's Tab A, Slot B.         You know, it's very,
                                                                            6     very simple programming.
                                                                            7            Q.    (By Ms. Gulley)        Let me hand you what
                                                                            8     Ms. Wedgworth marked Plaintiff's 657.                 This is the draft
                                                                            9     letter to Hendrick discussed between you and Mr. Lamb.
                                                                            10    Do you recall that area of questioning?
                                                                            11           A.    Yes.
                                                                            12           Q.    So just now, you gave an example of a dealer --
                                                                            13    how -- how you would convert a dealer other than a CDK
                                                                            14    dealer; is that accurate?
                                                                            15                        MS. WEDGWORTH:       Objection.
                                                                            16           A.    That's right.       (Inaudible.)
                                                                            17           Q.    (By Ms. Gulley)        Now, in this draft letter that
                                                                            18    Mr. Lamb wrote, he discusses a -- a drop in sales and
                                                                            19    other costs of a conversion away from Reynolds.                    Do you
                                                                            20    remember that?        And I'm looking at this -- this page
                                                                            21    with the chart ending in 023.
                                                                            22                        MS. WEDGWORTH:       Objection.
                                                                            23           A.    Yes.
                                                                            24           Q.    (By Ms. Gulley)        Now, would you expect a dealer
                                                                            25    that was switching away from a different DMS provider
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                                                                                                                                                    Page 333
                                                                            1     into Reynolds to have the same sort of costs?
                                                                            2                         MS. WEDGWORTH:       Objection.
                                                                            3            A.    Yes.    You know, if we were converting them off
                                                                            4     of Dealertrack, you know, we would go through the same
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                                                                            5     process.      And I -- I've tried to make the point that the
                                                                            6     greatest variable in any kind of conversion is whether
                                                                            7     or not, you know, the dealership personnel are motivated
                                                                            8     and actually take their courses, pass their tests and
                                                                            9     learn how to new -- use the new software.                  And that's
                                                                            10    key.    And it's more important than anything else.
                                                                            11           Q.    (By Ms. Gulley)        Does Reynolds help customers
                                                                            12    do that?
                                                                            13                        MS. WEDGWORTH:       Objection.
                                                                            14           A.    Yes.    We have an education department and we
                                                                            15    have onsite installers, and we have remote install
                                                                            16    support people as well.
                                                                            17           Q.    (By Ms. Gulley)        Would you consider yours
                                                                            18    superior or inferior to CDK's?
                                                                            19                        MS. WEDGWORTH:       Objection.
                                                                            20           A.    Well, I think that without question.                We're
                                                                            21    superior.      But that's -- you know, that -- that's the
                                                                            22    nature of -- of our business model.                What we try to do
                                                                            23    is -- is -- we're not the cheapest.                Don't want to be
                                                                            24    the cheapest.        We want to be the best.
                                                                            25           Q.    (By Ms. Gulley)        Turn back to that first page.
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                                                                            1     So the date of this email exchange is in early September
                                                                            2     2015.        What does Hendrick do after September 2015, after
                                                                            3     this pitch was made?
                                                                            4                          MS. WEDGWORTH:        Objection.
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                                                                            5                          MR. NEMELKA:        Objection.
                                                                            6             A.     Really, really, you know, unhappy thing.
                                                                            7     They -- they issued termination notices to us and
                                                                            8     announced that they're going to CDK.                  And I was very
                                                                            9     disappointed.
                                                                            10            Q.     (By Ms. Gulley)        Did they sign a contract with
                                                                            11    CDK?
                                                                            12                         MS. WEDGWORTH:        Objection.
                                                                            13            A.     Yes, they did.
                                                                            14            Q.     (By Ms. Gulley)        So they switched to CDK?
                                                                            15                         MS. GULLEY:       Objection.
                                                                            16            A.     They didn't.       They didn't switch yet.
                                                                            17            Q.     (By Ms. Gulley)        They decided to switch?
                                                                            18                         MS. WEDGWORTH:        Objection.
                                                                            19            A.     They decided to switch.           They contracted to
                                                                            20    switch.        And then -- which is a further, you know,
                                                                            21    longer story -- they decided to switch.                   And then, as
                                                                            22    the switch began, it began first with a very small
                                                                            23    dealership that was, basically, a new start.                     And they
                                                                            24    had all new people and it was -- you know, therefore
                                                                            25    pretty easy, pretty simple conversion job, which went
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                                                                                                                                                  Page 335
                                                                            1     okay.
                                                                            2                      The second dealership that they converted
                                                                            3     was a monster Toyota dealer, which is within eyesight of
                                                                            4     Hendrick's headquarters.          And it was a -- an absolute
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                                                                            5     disaster from the conversion standpoint.                But not
                                                                            6     because of the software, not because of the systems, not
                                                                            7     because of the data conversion, not because of anything
                                                                            8     like that.
                                                                            9                      There is a process that is very, very
                                                                            10    important in the service department, which it's called
                                                                            11    "opcodes."     And opcodes are -- they're unique to each
                                                                            12    dealership.     Each dealership has kind of built their own
                                                                            13    opcode structure.       And typically, it's a two-digit or a
                                                                            14    three-digit number.        And its whole purpose is -- is to
                                                                            15    save time in typing.        When you're opening up a repair
                                                                            16    order, there's a tremendous amount of keystroke-kind of
                                                                            17    work that has to be done.          And the opcodes shorten that
                                                                            18    dramatically.
                                                                            19                     Well, there had been an initiative inside
                                                                            20    Hendrick, which had not been accomplished or even
                                                                            21    attempted, which was to standardize opcodes amongst all
                                                                            22    105 dealerships.       And the goal -- or the reason to do
                                                                            23    that was, that way you could move a service advisor from
                                                                            24    one dealership to another dealership, and he would not
                                                                            25    have to relearn the opcodes.           Because if you put a
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                                                                            1     service adviser into an environment where there's all
                                                                            2     new opcodes, he's crippled, because he has to look up
                                                                            3     whatever opcode it is.          And -- and he has to keep doing
                                                                            4     that until he's finally memorized, you know, whatever
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                                                                            5     the new set of opcodes are from the place he's been
                                                                            6     transferred to.
                                                                            7                       They wanted to avoid that forever and all
                                                                            8     time.     Unfortunately -- and I don't know the exact --
                                                                            9     who talked to who about what, but the upshot was -- and
                                                                            10    that's that Hendrick decided -- and -- and CDK let them
                                                                            11    change the opcodes on the day of conversion to the new
                                                                            12    system.
                                                                            13                      And the result was -- and that's that, you
                                                                            14    know -- it's always been on Monday mornings, people
                                                                            15    always bring their cars in, and they've kind of made
                                                                            16    their to-do list over the weekend and -- you know, day
                                                                            17    one is, you know, you bring your car into do this or do
                                                                            18    that.     So there's a lot of -- right -- typical Monday
                                                                            19    morning.
                                                                            20                      The process of opening a repair order was
                                                                            21    absolutely crippled, because it was all new opcodes and,
                                                                            22    you know, the service advisors had to look up every
                                                                            23    opcode, which just, you know, really made it proceed at
                                                                            24    a snail's pace.        Which meant that the -- the technicians
                                                                            25    who were paid on incentive programs, they did not get
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                                                                            1     work to do until almost noon.             And they were not happy
                                                                            2     about that.      They lost half a day's pay.
                                                                            3                       But everybody, I think, had a little bit
                                                                            4     of, you know, forgiveness built in, because, after all,
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                                                                            5     they were converted to the new system and it was --
                                                                            6     they -- they expected some things not to go right.
                                                                            7                       The second day, it didn't get any better.
                                                                            8     And by noontime, you know, the techs were absolutely up
                                                                            9     in arms.     It was an absolute up rising.             And they were
                                                                            10    saying -- which is absolutely true -- they were top
                                                                            11    technicians, some of them had been with Hendrick 25
                                                                            12    years or more, and they were just wailing.                  And so the
                                                                            13    call for help went out to -- Mr. Hendrick needed to come
                                                                            14    and address the group, which he did.               And he did a smart
                                                                            15    thing.     He said, "Guys, I promise you, you're going to
                                                                            16    make 10 percent more this month than you've ever this
                                                                            17    year.     Be patient with us."
                                                                            18                      The techs said, "Okay, we understand."
                                                                            19                      And then another interesting thing
                                                                            20    happened.     Success of data conversions has a lot to do
                                                                            21    with the quality of personnel, experienced personnel,
                                                                            22    really.     Obviously, there was -- there was some real
                                                                            23    lack of experience, because the CDK conversion group
                                                                            24    should have resisted this idea -- this crazy idea of
                                                                            25    changing opcodes on the first day of installation.                     So
                                                                                                               Veritext Legal Solutions
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                                                                                                                                                  Page 338
                                                                            1     "Mr. H.," as he's called -- he's very low-key kind of
                                                                            2     guy.    And he -- he went around and just kind of talked
                                                                            3     to folks, you know, after, you know, the initial fire
                                                                            4     had been quenched.        And he walked up to a -- a CDK
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                                                                            5     installer and, you know, talked to him, you know, "Well,
                                                                            6     how are you?     My name is Rick Hendrick."             Shook his
                                                                            7     hand.    Rick's -- you know, Rick's a hero figure in -- in
                                                                            8     car racing.     He's one of "the" guys.           And he was talking
                                                                            9     to this one young person and, you know, in the course of
                                                                            10    the conversation, he's -- he asked, well, "How long have
                                                                            11    you been with CDK?"
                                                                            12                     And the person answers, "Well, I'm not with
                                                                            13    CDK.    I'm -- I'm a contractor."
                                                                            14                     "Oh, really?        Okay.    How long have you been
                                                                            15    a contractor?" and so forth.           And he talked to several
                                                                            16    others, you know, kind of got the same answer.                  And he
                                                                            17    realized that he had been promised the best install team
                                                                            18    and he had not gotten it.          And Rick Hendrick's the kind
                                                                            19    of person -- he's a very simple person.               You only get to
                                                                            20    lie to him once.
                                                                            21                     And the next day he called us up and said,
                                                                            22    "Bob," you know, "we've got problems.               If you won't
                                                                            23    punish us, we'd like to come back."
                                                                            24                     And the answer is, obviously, "Whatever our
                                                                            25    last proposal is, that's it."
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                                                                            1                        And so they came back.           And, you know,
                                                                            2     that's probably one of the most amazing, you know,
                                                                            3     conversion stories that I've ever heard and -- and the
                                                                            4     software, our software, had nothing to do with it.                        You
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                                                                            5     know, CDK's software had nothing to do with it.                    There
                                                                            6     was nothing wrong with the hardware.                Probably not that
                                                                            7     much wrong with the people.             If they had just not
                                                                            8     changed opcodes.
                                                                            9            Q.    (By Ms. Gulley)        Why did you lose Hendrick in
                                                                            10    the first place?
                                                                            11                       MS. WEDGWORTH:        Objection.
                                                                            12           A.    Well, that's a very pertinent question.                    Mr. Ed
                                                                            13    Brown is, nominally, the president, is a required
                                                                            14    banker.      He was with Bank of America there in Charlotte
                                                                            15    for 30 some-odd years.           He retired.       And he had banked
                                                                            16    Rick over the years and knew him well.
                                                                            17                       And Rick decided that he wanted to spend
                                                                            18    more time racing, and he hired Ed Brown.                  And Ed Brown
                                                                            19    knows nothing about computers.              He probably -- by now,
                                                                            20    he knows a little bit about dealerships but, you know,
                                                                            21    that's not been -- he's definitely not what you would
                                                                            22    call a -- an experienced automotive executive.                    And I
                                                                            23    think what he wanted to do is he wanted to go do
                                                                            24    business with CDK because they were a big public company
                                                                            25    and we're not.
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 340
                                                                            1            Q.    (By Ms. Gulley)        So he just decided to switch?
                                                                            2                        MS. WEDGWORTH:        Objection.
                                                                            3            A.    So he decided to switch.           And, you know, Mr. H.
                                                                            4     had promised me -- he said, "Bob, I promise you that I
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                                                                            5     will never, ever let the decision of this magnitude go
                                                                            6     by without me personally being involved."
                                                                            7                        And I said, "Rick, you really need to do
                                                                            8     that."
                                                                            9            Q.    (By Ms. Gulley)        Did he promise he'll stay with
                                                                            10    you?
                                                                            11                       MS. WEDGWORTH:        Objection.
                                                                            12           A.    Well, he signed a five-year contract, and he
                                                                            13    has almost doubled their billing with additional stuff
                                                                            14    that they bought.         They bought over 400 docuPADs.
                                                                            15           Q.    (By Ms. Gulley)        Let's talk about docuPAD for a
                                                                            16    minute.      Does every Reynolds dealer have a docuPAD?
                                                                            17                       MS. WEDGWORTH:        Objection.
                                                                            18                       MR. NEMELKA:        Objection.
                                                                            19           A.    No.   That -- That's our goal, but I mean --
                                                                            20    we've not yet achieved that.
                                                                            21           Q.    (By Ms. Gulley)        Now, if dealer -- if a dealer
                                                                            22    wanted to use docuPAD with another DMS, would you
                                                                            23    consider that?
                                                                            24                       MS. WEDGWORTH:        Objection.
                                                                            25           A.    There -- there's technical issues that just
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                                                                            1     prohibit that.          You know, there's -- one of the -- one
                                                                            2     of the magic screens in -- in docuPAD is a screen
                                                                            3     where -- will be displayed of some add-on.
                                                                            4                          You know, for instance, like an extended
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                                                                            5     warning for, you know, repair.                There will be a
                                                                            6     good/better/best -- that kind of choice and -- and the
                                                                            7     consumer, with their -- with their stylus on their side
                                                                            8     of the table actually checks which one they want, and
                                                                            9     they will instantly display what their payment is in the
                                                                            10    corner.
                                                                            11                         And then they can -- they can tap on the
                                                                            12    "Better Policy," and it will change the payment for
                                                                            13    them.        And then it will check -- they'll tap on the
                                                                            14    "Best Policy" and it will give them what the payment is.
                                                                            15    And they can choose which one they want or none.
                                                                            16                         They can -- they -- go back and click on
                                                                            17    the "None" button, and it will (verbally indicating) --
                                                                            18    it will keep on changing, you know, the payment.
                                                                            19                         Well, how does he get that done?               What it
                                                                            20    does is -- is it -- it is built right into the Reynolds
                                                                            21    F&I system.         And, you know, therefore, we can't -- we'd
                                                                            22    like to consider selling it to, you know, non-Reynolds
                                                                            23    customers, but we can't from a technical standpoint.                      It
                                                                            24    would just -- the rework would be just huge.
                                                                            25            Q.     (By Ms. Gulley)        Also in talking about docuPAD
                                                                                                                  Veritext Legal Solutions
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                                                                                                                                                    Page 342
                                                                            1     with Ms. Wedgworth, you used a number of terms like
                                                                            2     "profit producer" or "revenue generator."                  Do you
                                                                            3     remember that discussion?
                                                                            4            A.    Yes.
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                                                                            5                         MS. WEDGWORTH:       Objection.
                                                                            6            Q.    (By Ms. Gulley)        You called it "sticky," right?
                                                                            7                         MS. WEDGWORTH:       Objection.
                                                                            8            A.    Yeah, it is -- it is so compelling from a money
                                                                            9     standpoint that we think that dealers will stick with it
                                                                            10    simply because it would make economic -- you know, it
                                                                            11    wouldn't be sensible to change.
                                                                            12           Q.    (By Ms. Gulley)        So I think the -- so the
                                                                            13    record is clear -- it's not entirely clear in the
                                                                            14    record, who you're talking about.               Who is making all of
                                                                            15    this revenue?        Who is generating all of this -- who's
                                                                            16    producing all of this profit?
                                                                            17                        MS. WEDGWORTH:       Objection.
                                                                            18           A.    The dealer is.        And -- and it's occurring
                                                                            19    because of what, you know, what I think is nigh onto a
                                                                            20    miracle.      Because I -- I -- in the original conception,
                                                                            21    I never dreamed it would do it.
                                                                            22                        What happens is -- and that's that the
                                                                            23    finance and insurance part of the business is typically
                                                                            24    called a "business office."             And, you know, the part of
                                                                            25    the sales process of buying a car -- where it occurs is
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                                                                            1     after you've decided what car that you want.                 It's after
                                                                            2     you've decided what kind of financing, it's after you've
                                                                            3     decided on what trade-in value you're going to have.
                                                                            4     All that's done and everybody kind of shakes hands on
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                                                                            5     the deal.
                                                                            6                      And then, after a little bit, you're sent
                                                                            7     to the business office to finalize the paperwork.                     Okay?
                                                                            8     That's where there's this final attempt to sell you
                                                                            9     things.     And it's all kinds of things.            It's extended
                                                                            10    warranties.     It is tire and wheel protection.               It's, you
                                                                            11    know, electronic key, locks.           It's -- it's windshield
                                                                            12    cracks.     It is what they call "rust and dust," which is,
                                                                            13    you know -- it's fabric protectant inside.                 It used to
                                                                            14    be undercoating, but nobody undercoats anymore.
                                                                            15                     But it -- it's a very, very essential
                                                                            16    profit center for the dealership.             Unfortunately, it is
                                                                            17    ranked very, very high in customer dissatisfaction.                     And
                                                                            18    people who have been through the process are warned that
                                                                            19    what you do is you cross your arms like this
                                                                            20    (indicating) when you go in there, and the answer to
                                                                            21    everything they say is, "No."            "No."    "No."     "No."      And
                                                                            22    you do that long enough, they'll finally let you loose
                                                                            23    and you can go away with your new car.
                                                                            24                     What happens in the docuPAD situation is we
                                                                            25    completely changed that whole process.               Instead, you
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                                                                            1     know, the consumer comes in, they sit on their side of
                                                                            2     the table, and there's this big flat screen that's about
                                                                            3     so high (indicating) and the whole transaction is --
                                                                            4     takes place there.            And the customer is given a stylus,
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                                                                            5     and they basically -- it's a menu system.                    They get to
                                                                            6     pick the stuff off the menu that they want.
                                                                            7                          And the miracle is that they buy more
                                                                            8     because they don't hate the process.                  They're -- they're
                                                                            9     so completely disarmed, you know, they -- they go from
                                                                            10    this posture here, saying -- telling them, "No."                          "No."
                                                                            11    "No."        Instead, they get handed a stylus, and say --
                                                                            12    "You" -- "You run the system.                You make your choices."
                                                                            13                         And that amounts to, typically, 200 bucks
                                                                            14    per transaction more gross profit to the dealer.                          So if
                                                                            15    you have a -- a typical finance manager who will handle
                                                                            16    70 transactions a month at 200 bucks apiece, that's
                                                                            17    $14,000 a month in additional gross profit -- per F&I
                                                                            18    managers.        If you've got five, then it's five times that
                                                                            19    a month.
                                                                            20            Q.     (By Ms. Gulley)        Is that more than the -- what
                                                                            21    they're paying to license the DMS, the whole DMS?
                                                                            22            A.     Correct.
                                                                            23                         MR. NEMELKA:        Objection.
                                                                            24            A.     We have customers that will stand up and swear,
                                                                            25    and take calls, you know, and go visit -- that that's
                                                                                                                  Veritext Legal Solutions
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                                                                            1     what it does.          It's that good.        It's one of those
                                                                            2     situations where -- I've been in this business a long
                                                                            3     time, and my daily prayer is, "Oh, Lord, please give me
                                                                            4     one more killer ap."            And he gave it to me.           I -- I
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                                                                            5     didn't -- I didn't invent it.                I can't take credit for
                                                                            6     that.        But I saw it, and I said, "God, we've got to have
                                                                            7     this."
                                                                            8             Q.     (By Ms. Gulley)        All right.      Let's switch gears
                                                                            9     a little bit.          Mr. Nemelka just shortly -- this
                                                                            10    afternoon, put in front of you an email between you and
                                                                            11    Mr. Anenen.         Do you remember that?
                                                                            12            A.     Uh-huh.     (Witness answers affirmatively.)
                                                                            13            Q.     How do you feel about CDK/ADP?
                                                                            14                         MS. WEDGWORTH:        Objection.
                                                                            15                         MR. NEMELKA:        Objection.
                                                                            16            A.     Well, that is -- that is a -- a complex
                                                                            17    question.        There's individual people inside CDK that are
                                                                            18    decent people.           Ron Workman was a decent person.                 I
                                                                            19    mean, Steve Anenen is a decent person.                   Corporately,
                                                                            20    they're -- I don't have good feelings about them at all,
                                                                            21    and it goes back to many, many, many years ago.                      I've
                                                                            22    been competing against them directly in the marketplace
                                                                            23    for well in excess of 40 years.                And, you know, they did
                                                                            24    some things, you know, back early on that I'm still mad
                                                                            25    about.
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                                                                                                                                                    Page 346
                                                                            1            Q.    (By Ms. Gulley)        Are we talking '70s, the
                                                                            2     1970s?
                                                                            3                        MS. WEDGWORTH:        Objection.
                                                                            4            A.    1970s.     1970s.     I have very, very bad
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                                                                            5     experience with them, and I'm, you know, still bent out
                                                                            6     of shape about that.
                                                                            7                        And then about -- about 20 years ago, there
                                                                            8     was a small company in Houston that, you know, copied
                                                                            9     our system and built a new one based upon -- they --
                                                                            10    they stole our -- our screen layouts, our report
                                                                            11    layouts, our -- our field -- our field layouts, our data
                                                                            12    fields inside the field -- inside the -- inside the
                                                                            13    records, and sold it to, you know, ADP for $67 million.
                                                                            14    And for some reason -- or a reason we don't know, ADP
                                                                            15    decided to hold back $27 million out of that
                                                                            16    transaction.       For some reason.
                                                                            17                       We sued ADP as a result, and I wasted a
                                                                            18    year in depositions, arbitration and whatnot.                    You know,
                                                                            19    finally lost.         I'm still amazed that I did.            But in
                                                                            20    my -- I was dispirited about that.                But the Lord decided
                                                                            21    that he will help me.
                                                                            22                       And it went like this:           After ADP won, they
                                                                            23    put in -- they ran a whole floor in a big office
                                                                            24    building out of Westmark in Houston.                And they hired
                                                                            25    about 150 programmers.           This was going to be the next
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                                                                            1     generation system.            They told their sales force all
                                                                            2     about the next generation system.                 And they worked at it
                                                                            3     and they worked at it and they worked at it, and it all
                                                                            4     looked great, and it would run four terminals well.
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                                                                            5     Four.        You put 20 on it, it wouldn't work at all.                   And
                                                                            6     they could not scale it up.
                                                                            7                          But they worked -- they didn't stop
                                                                            8     working.        They said, "Well, we can fix this.               We can do
                                                                            9     this."        And they worked and they worked and they worked
                                                                            10    and they worked, and finally, five years after their --
                                                                            11    their, quote, "victory" over Bob Brockman, they scrapped
                                                                            12    the whole thing.
                                                                            13                         And as close as I can estimate that cost
                                                                            14    them, including the original purchase price, plus the
                                                                            15    legal fees for fighting me off, it cost them $250
                                                                            16    million and cost them five years in market, because all
                                                                            17    of a sudden, they had to start over on what their next
                                                                            18    generation piece of software was going to be.
                                                                            19                         So obviously, I have a lot of very, very
                                                                            20    strong feelings about it -- about ADP or CDK.                      I don't
                                                                            21    like them, and I don't like them a lot.
                                                                            22            Q.     (By Ms. Gulley)        Do you want help them make
                                                                            23    more profits?
                                                                            24                         MS. WEDGWORTH:        Objection.
                                                                            25                         MR. NEMELKA:        Objection.
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                                                                                                                                                    Page 348
                                                                            1            A.    Only if -- if I make more profit, you know,
                                                                            2     right alongside them.
                                                                            3            Q.    (By Ms. Gulley)        Well, in this case, the
                                                                            4     plaintiffs have alleged that you and CDK have gotten
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                                                                            5     together in some sort of conspiracy.                I want to kind of
                                                                            6     talk through some of that.             Are you the leader of
                                                                            7     Reynolds and Reynolds?
                                                                            8                         MS. WEDGWORTH:       Objection.
                                                                            9            A.    Unequivocally.
                                                                            10           Q.    (By Ms. Gulley)        When did you learn that CDK
                                                                            11    was going to require vendors to access its system
                                                                            12    through the 3PA program rather than any other method?
                                                                            13                        MS. WEDGWORTH:       Objection.
                                                                            14           A.    I don't know the exact day, but it was
                                                                            15    substantially after the stand-down agreement.
                                                                            16           Q.    (By Ms. Gulley)        So it was after February 2015?
                                                                            17           A.    Yes.
                                                                            18                        MS. WEDGWORTH:       Objection.
                                                                            19           Q.    (By Ms. Gulley)        Did you personally agree with
                                                                            20    anyone at CDK that you would get together to block
                                                                            21    Authenticom?
                                                                            22                        MS. WEDGWORTH:       Objection.
                                                                            23                        MR. NEMELKA:       Objection.
                                                                            24           A.    Did not.
                                                                            25           Q.    (By Ms. Gulley)        That you would get together to
                                                                                                                Veritext Legal Solutions
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                                                                            1     block anyone in Authenticom's business line?
                                                                            2                        MS. WEDGWORTH:        Objection.
                                                                            3            A.    No.   Did not.
                                                                            4            Q.    (By Ms. Gulley)        Did you personally agree with
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                                                                            5     anyone at CDK that you would destroy Authenticom
                                                                            6     together?
                                                                            7                        MS. WEDGWORTH:        Objection.
                                                                            8            A.    Absolutely not.
                                                                            9            Q.    (By Ms. Gulley)        Have you ever discussed CDK's
                                                                            10    policies about system access to their DMS with CDK?
                                                                            11                       MS. WEDGWORTH:        Objection.
                                                                            12           A.    I have not.
                                                                            13           Q.    (By Ms. Gulley)        Are you aware of any agreement
                                                                            14    between anyone at Reynolds and CDK to eliminate
                                                                            15    third-party data brokers, like Authenticom?
                                                                            16                       MS. WEDGWORTH:        Objection.
                                                                            17           A.    I have not.
                                                                            18           Q.    (By Ms. Gulley)        Did you and CDK ever meet to
                                                                            19    even discuss the two firm's data access policies?
                                                                            20                       MS. WEDGWORTH:        Objection.
                                                                            21           A.    We have not.
                                                                            22           Q.    (By Ms. Gulley)        Are you aware of anyone having
                                                                            23    those kind of conversations with CDK?
                                                                            24           A.    No.
                                                                            25                       MS. WEDGWORTH:        Objection.
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 350
                                                                            1            A.    I -- I didn't come to understand their data
                                                                            2     access policy, really, until we bought ReverseRisk,
                                                                            3     which is -- which was a customer.               They -- they acquired
                                                                            4     data downloads for accounting data from CDK, and it
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                                                                            5     wasn't until that time that I understood, even, how it
                                                                            6     all worked.
                                                                            7            Q.    (By Ms. Gulley)        These -- in terms of an
                                                                            8     agreement between Reynolds and CDK related to companies
                                                                            9     like Authenticom, if there was any such agreement about
                                                                            10    how the two firms were going to jointly treat somebody
                                                                            11    like Authenticom, would you know about it?
                                                                            12                       MS. WEDGWORTH:        Objection.
                                                                            13           A.    Absolutely.      As you probably can tell, I'm --
                                                                            14    I'm into the details, big time.              And there's no way in
                                                                            15    the world anything like that would happen without my --
                                                                            16    without my knowledge.
                                                                            17           Q.    (By Ms. Gulley)        What about any agreement
                                                                            18    between Reynolds and CDK related to the two firms' data
                                                                            19    access policies?         If there were any agreement like that,
                                                                            20    would you know about it?
                                                                            21           A.    Absolutely.
                                                                            22                       MS. WEDGWORTH:        Objection.
                                                                            23           A.    Absolutely.
                                                                            24           Q.    (By Ms. Gulley)        Did you enter into an
                                                                            25    agreement with CDK to create a market where Reynolds
                                                                                                                Veritext Legal Solutions
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                                                                            1     controlled all of the access to data stored on a
                                                                            2     Reynolds DMS and CDK would control all of the access to
                                                                            3     data stored on CDK's DMS?
                                                                            4                        MS. WEDGWORTH:        Objection.
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                                                                            5            A.    I did not.
                                                                            6            Q.    (By Ms. Gulley)        Are you aware of any such
                                                                            7     agreement?
                                                                            8                        MS. WEDGWORTH:        Objection.
                                                                            9            A.    There is no -- there is no such agreement.
                                                                            10           Q.    (By Ms. Gulley)        As soon as we find it, I'll
                                                                            11    hand you Exhibit 644, from plaintiffs, earlier marked.
                                                                            12    It's notes from a sales meeting in Aspen.                  Ms. Wedgworth
                                                                            13    had asked you some questions about this.                  I'd like to
                                                                            14    direct you to the page ending 632.                I -- I don't
                                                                            15    actually know if it was Ms. Wedgworth or Mr. Nemelka as
                                                                            16    I sit here, but do you recall looking at this document
                                                                            17    before?
                                                                            18           A.    Yes, I do.
                                                                            19           Q.    And again, these are -- I believe you
                                                                            20    testified, in sum and substance, that these are your
                                                                            21    notes in preparation of speaking to the top salespersons
                                                                            22    at Reynolds in --
                                                                            23                       MS. WEDGWORTH:        Objection.
                                                                            24           Q.    (By Ms. Gulley) -- July 2014.
                                                                            25                       MS. WEDGWORTH:        Objection.
                                                                                                                Veritext Legal Solutions
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                                                                            1             A.    Yes, it would be the sales VPs.
                                                                            2             Q.    (By Ms. Gulley)        And how many sales VPs are
                                                                            3     there?
                                                                            4                           MS. WEDGWORTH:        Objection.
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                                                                            5             A.    All total, like, 12.
                                                                            6             Q.    (By Ms. Gulley)        All right.      There's a line
                                                                            7     here -- Bullet 1, 2, 3, 4 -- Bullet 4, "This could put
                                                                            8     the security wars very much behind us."                  Do you see
                                                                            9     that?
                                                                            10                          MS. WEDGWORTH:        Objection.
                                                                            11            A.    Is this 632?
                                                                            12            Q.    (By Ms. Gulley)        632.     Do you see where it says
                                                                            13    "Security" at the bottom?
                                                                            14            A.    Okay.
                                                                            15            Q.    And then there's a number of bullet points.
                                                                            16    I'm looking at the penultimate -- the second from the
                                                                            17    bottom.       "This could put the security wars very much
                                                                            18    behind us."          Do you see where I am?
                                                                            19                          MS. WEDGWORTH:        Objection.
                                                                            20            A.    Yes.
                                                                            21            Q.    (By Ms. Gulley)        You were asked a lot about
                                                                            22    this section in earlier questioning.                 I'd like you to
                                                                            23    explain what you meant by "security wars" in this
                                                                            24    document.
                                                                            25                          MS. WEDGWORTH:        Objection.
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                                                                                                                                                      Page 353
                                                                            1                          MR. NEMELKA:        Objection.
                                                                            2             A.     The subject of data security, when it comes to
                                                                            3     third-party data brokers, hackers, whatever you want to
                                                                            4     call them, has been, over the years, very much a
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                                                                            5     cat-and-mouse kind of situation where we will detect a
                                                                            6     method by which somebody is getting into the system.
                                                                            7     And we will devise a countermeasure.                  And that will
                                                                            8     cause them to be unable to get into the system for a
                                                                            9     while.
                                                                            10                         And then they -- they're -- they're not --
                                                                            11    you know, dummies.            What they'll do is they'll figure
                                                                            12    out a different way.            And that will work for a while,
                                                                            13    and we will, ultimately, observe that one, and we'll
                                                                            14    then go about employing countermeasures.
                                                                            15                         Now, what that is -- is that -- that's --
                                                                            16    that's kind of a seesaw, you know, kind of back and
                                                                            17    forth like a war.           And that's where the inference comes
                                                                            18    from.        There's not a -- a -- we don't have a declaration
                                                                            19    of war per se.          You know, we don't have a -- a, quote,
                                                                            20    "War room" with a capital W, that sort of thing.                          It --
                                                                            21    it's a figure of speech.              And it applies to this, you
                                                                            22    know, back and forth nature of -- of data security
                                                                            23    and -- and its countermeasures.
                                                                            24            Q.     (By Ms. Gulley)        So -- so the security war was
                                                                            25    with DMI and Integra Link!! and Authenticom and SIS,
                                                                                                                  Veritext Legal Solutions
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                                                                                                                                                    Page 354
                                                                            1     those folks?       Or something else?
                                                                            2                        MS. WEDGWORTH:        Objection.
                                                                            3                        MR. NEMELKA:        Objection.
                                                                            4            A.    Probably, you know, Phil Bautista was -- was
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                                                                            5     one of the early and one of the worst ones.                   And is
                                                                            6     still -- he's still regrowing his fangs.
                                                                            7                        MS. GULLEY:       I thank you for your time.               I
                                                                            8     have nothing further.           I believe the plaintiffs have a
                                                                            9     few minutes left.
                                                                            10                              FURTHER EXAMINATION
                                                                            11    BY MR. NEMELKA:
                                                                            12           Q.    Mr. Brockman, you testified about an -- an
                                                                            13    Xtime incident, and I have a question about that.                       The
                                                                            14    Xtime incident happened through the RCI interface, not
                                                                            15    because of any data integrator; correct?
                                                                            16                       MS. GULLEY:       Form.
                                                                            17           A.    That's correct.
                                                                            18           Q.    (By Mr. Nemelka)        So your answers with respect
                                                                            19    to the Xtime incident have nothing to do with use of
                                                                            20    data innovators, right?
                                                                            21                       MS. GULLEY:       Form.
                                                                            22           A.    That particular situation, yeah, did not
                                                                            23    involve data integrator.            Come, however, any data
                                                                            24    integrator that employed any kind of write-back
                                                                            25    strategy, you know, could, potentially, the same thing
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                    Page 355
                                                                            1     happen.
                                                                            2            Q.    (By Mr. Nemelka)        All right.       And then
                                                                            3     Ms. Gulley put a document in front of you with your son
                                                                            4     about the DealerBuilt situation.               The DealerBuilt
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                                                                            5     situation also had nothing to do with dealers using data
                                                                            6     integrators, right?
                                                                            7            A.    That's correct.
                                                                            8            Q.    And so you wrote your son, "It finally
                                                                            9     happened."       It had nothing -- but that had nothing to do
                                                                            10    with Data Integrators, right?
                                                                            11                       MS. GULLEY:       Objection; form.
                                                                            12           A.    It has to do with a data breach situation,
                                                                            13    which is a very distinct possibility with a data
                                                                            14    integrator.
                                                                            15           Q.    (By Mr. Nemelka)        But that incident with
                                                                            16    DealerBuilt had nothing to do with a data integrator,
                                                                            17    right?
                                                                            18                       MS. GULLEY:       Objection; form.
                                                                            19           A.    That particular incident did not have anything
                                                                            20    to do with a data integrator.
                                                                            21           Q.    (By Mr. Nemelka)        And still today, you haven't
                                                                            22    -- you're not aware of any data breach caused by
                                                                            23    Authenticom; correct?
                                                                            24                       MS. GULLEY:       Objection; form.
                                                                            25           A.    That's come to my attention.
                                                                                                                Veritext Legal Solutions
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                                                                            1             Q.    (By Mr. Nemelka)        You also testified about --
                                                                            2     you estimated that you wouldn't be surprised -- I wrote
                                                                            3     it down -- you wouldn't be surprised, you said, if the
                                                                            4     number was 500 million with respect to what Reynolds had
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                                                                            5     spent with respect to security.               Do you recall that
                                                                            6     testimony?
                                                                            7                         MS. GULLEY:       Billion.      Not millions.        He
                                                                            8     said billion, not million.
                                                                            9                         MR. NEMELKA:        500 billion?
                                                                            10                        MS. GULLEY:       Oh, I'm sorry.        Half a
                                                                            11    billion.       I'm sorry, Counselor, it's late.               I'm sorry,
                                                                            12    Mike.
                                                                            13            Q.    (By Mr. Nemelka)        You never actually calculated
                                                                            14    that number, did you?
                                                                            15            A.    That's correct.
                                                                            16            Q.    Nobody in Reynolds actually calculated that
                                                                            17    number, have they?
                                                                            18                        MS. GULLEY:       Objection; form.
                                                                            19            A.    That's correct.
                                                                            20            Q.    (By Mr. Nemelka)        There are no documents
                                                                            21    reflecting that calculation, are there?
                                                                            22            A.    No.
                                                                            23                        MS. GULLEY:       Form.
                                                                            24            A.    That's -- that's correct.            I -- I'm making
                                                                            25    that, you know, guesstimate based on my knowledge and
                                                                                                                 Veritext Legal Solutions
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                                                                            1     experience in the business.
                                                                            2            Q.    (By Mr. Nemelka)        All right.       That number is
                                                                            3     just a guesstimate, right?
                                                                            4                         MS. GULLEY:      Objection; form.
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                                                                            5            A.    That's correct.        But I think it's a pretty good
                                                                            6     one.
                                                                            7            Q.    (By Mr. Nemelka)        But it's still speculative,
                                                                            8     right?
                                                                            9                         MS. GULLEY:      Objection; form.
                                                                            10           A.    It's still speculative.           But I would -- I would
                                                                            11    add that I'm, you know, probably uniquely qualified to
                                                                            12    be able to make that kind of guesstimate.
                                                                            13                        MR. NEMELKA:       All right.
                                                                            14                              FURTHER EXAMINATION
                                                                            15    BY MS. WEDGWORTH:
                                                                            16           Q.    Mr. Brockman, you stated earlier that the
                                                                            17    exemptions are only for specific security policy.                       Do
                                                                            18    you remember saying that when Ms. Gulley was asking you
                                                                            19    questions?
                                                                            20           A.    Yes, I did.
                                                                            21           Q.    If you could look at -- at Exhibit 665 of
                                                                            22    Plaintiff's.        Here's 665.      Mr. Brockman, this document,
                                                                            23    halfway down the page, the top email, if you'll note, is
                                                                            24    from Mr. Schaefer to you.            Do you see that?
                                                                            25           A.    Yes.
                                                                                                                Veritext Legal Solutions
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                                                                            1            Q.    And the email which is dated May 8, 2016, you
                                                                            2     might recall that dealt with security enhancements that
                                                                            3     you wanted to implement and did implement that month.
                                                                            4     Do you recall that?
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                                                                            5                         MS. GULLEY:      Form.
                                                                            6            A.    Excuse me.      Let me read this again.           Yes, I --
                                                                            7     I've read this.         I'm not sure that I understand it
                                                                            8     completely, but --
                                                                            9            Q.    (By Ms. Wedgworth)         So here, Mr. Schaefer asked
                                                                            10    you, toward the bottom of the email, talking about the
                                                                            11    new security enhancements to be implemented by Reynolds.
                                                                            12    It states, "I am trying to understand if there will be
                                                                            13    any exceptions?         Which we have always had?            For example,
                                                                            14    PAG, Hendrick, AMSI, Rahal, Wyler, etc."
                                                                            15                        PAG and Hendrick, AMSI, Rahal and Wyler,
                                                                            16    those are all dealerships; correct?
                                                                            17                        MS. GULLEY:      Objection; form.
                                                                            18           A.    That's correct.
                                                                            19           Q.    (By Ms. Wedgworth)         And they are large
                                                                            20    dealerships, right?
                                                                            21           A.    Yes.    They are some of the largest.
                                                                            22           Q.    And here, Mr. Schaefer says that those
                                                                            23    dealerships have always had exemptions; is that correct?
                                                                            24                        MS. GULLEY:      Form.
                                                                            25           A.    For certain, you know, PAG, Hendrick, AMSI, I'm
                                                                                                                Veritext Legal Solutions
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                                                                                 Case 3:20-cr-00371-WHA Document 69-20 Filed 12/15/20 Page 397 of 459
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                                                                                                                                                    Page 359
                                                                            1     personally aware of always had some exceptions.                    These
                                                                            2     are very large organizations, amongst the largest, and
                                                                            3     have very extensive IT staffs of their own.                   And they're
                                                                            4     what I would call quite sophisticated.
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                                                                            5                        Rahal and Wyler are a little smaller, but
                                                                            6     they still have -- not a large number of individuals,
                                                                            7     but they have a small number of individuals that are
                                                                            8     really, really savvy and know what they're doing.
                                                                            9                        And in those particular cases, we've always
                                                                            10    allowed them, you know, some specific exceptions as far
                                                                            11    as, you know, downloading of data and that sort of
                                                                            12    thing.
                                                                            13                       MS. GULLEY:       That's -- that's the end of
                                                                            14    your time.
                                                                            15           A.    And what -- what --
                                                                            16           Q.    (By Ms. Wedgworth)         Well --
                                                                            17           A.    What Bob Schaefer is doing and that's he wants
                                                                            18    to know, you know, what kind of exception is -- is going
                                                                            19    to be.      And he's asking, he's saying, "Please advise."
                                                                            20           Q.    And he's saying, We have always had these
                                                                            21    exceptions for these dealerships, correct?
                                                                            22           A.    The -- the --
                                                                            23                       MS. GULLEY:       Objection; form.
                                                                            24           A.    -- for these, five dealerships, there's always
                                                                            25    been some kind of exception.             Without going back in to
                                                                                                                Veritext Legal Solutions
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                                                                                                                                                     Page 360
                                                                            1     the details, I can't tell you exactly what.
                                                                            2             Q.    (By Ms. Wedgworth)         And in addition to --
                                                                            3                         MS. GULLEY:       Peggy, that's the end of your
                                                                            4     time.
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                                                                            5                         MS. WEDGWORTH:        I'm going to continue.               You
                                                                            6     took a long time, you went over a lot of topics.                         You
                                                                            7     covered lots of -- a lot of topics.
                                                                            8                         MS. GULLEY:       You had to reserve your time
                                                                            9     for that.       I'm sorry, Peggy.         We're not going to
                                                                            10    continue.       I told you that there was a limit to how long
                                                                            11    you could go.         I just didn't cut him off when he was
                                                                            12    answering.
                                                                            13                        MS. WEDGWORTH:        Nor did I when I was
                                                                            14    questioning him.          So I -- I'm going to continue my
                                                                            15    questioning.
                                                                            16                        MR. NEMELKA:        We have two more minutes.
                                                                            17    You're wrong about your calculation anyway, Andi.
                                                                            18            Q.    (By Ms. Wedgworth)         So -- so other than the
                                                                            19    five dealerships, there's also an "etc." at the end,
                                                                            20    Mr. Brockman.         Do you see that?
                                                                            21                        MS. GULLEY:       Objection; form.
                                                                            22            A.    Yes, ma'am, I do.
                                                                            23            Q.    (By Ms. Wedgworth)         And so that doesn't limit
                                                                            24    it to just the five dealerships who always have
                                                                            25    exemptions; is that correct?
                                                                                                                 Veritext Legal Solutions
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                                                                                                                                                    Page 361
                                                                            1                        MS. GULLEY:       Objection; form.
                                                                            2            A.    Ma'am, I -- I don't know, you know, if there's
                                                                            3     one more, or no more, or multiple that more.                   I can't
                                                                            4     tell from looking at this.             And, again, we -- I think
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                                                                            5     we've also talked about in the last two days about the
                                                                            6     total number of exceptions that are out there and how
                                                                            7     that number keeps coming down, down, down, down, down.
                                                                            8     And we're not all the way there yet.
                                                                            9            Q.    (By Ms. Wedgworth)         And the biggest drop of
                                                                            10    those exemptions coming down --
                                                                            11                       MS. GULLEY:       Objection.
                                                                            12           Q.    (By Ms. Wedgworth)         -- came after the
                                                                            13    stand-down agreement; correct?
                                                                            14           A.    That's correct.
                                                                            15           Q.    So if we now go to the first exhibit that you
                                                                            16    -- that I used with you today -- and let's see if I can
                                                                            17    find it.
                                                                            18                       MR. NEMELKA:        I can try to find it for you.
                                                                            19                       MS. WEDGWORTH:        Okay.     It's the Ron Lamb
                                                                            20    exhibit.      But I -- I'll try to do it without looking for
                                                                            21    the exhibit.       It was the very first one today, which
                                                                            22    would be 657.
                                                                            23           Q.    (By Ms. Wedgworth)         But it's -- it's the letter
                                                                            24    that Ms. Gulley referred you to that you reviewed, where
                                                                            25    you said Mr. Lamb has written the letter and the first
                                                                                                                Veritext Legal Solutions
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                                                                                                         HIGHLY CONFIDENTIAL
                                                                                                                                                     Page 362
                                                                            1     half of it was brilliant?
                                                                            2                         MS. GULLEY:       Object to everything you just
                                                                            3     said.
                                                                            4                         MS. WEDGWORTH:        Here's a copy of it for
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                                                                            5     you.     677.
                                                                            6                         MR. NEMELKA:        I found it.
                                                                            7                         MS. WEDGWORTH:        657.     There we go.
                                                                            8             Q.    (By Ms. Wedgworth)         Mr. Brockman, do you recall
                                                                            9     this document?
                                                                            10            A.    Yes, ma'am.
                                                                            11            Q.    So on the second page, those dealerships that
                                                                            12    are listed there, those are all privately held
                                                                            13    dealerships, correct --
                                                                            14                        MS. GULLEY:       Objection; form.
                                                                            15            Q.    (By Ms. Wedgworth)         -- in that box, in the
                                                                            16    chart?
                                                                            17                        MS. GULLEY:       Form.
                                                                            18            Q.    (By Ms. Wedgworth)         Second page.
                                                                            19                        MS. GULLEY:       Form.
                                                                            20            A.    And what -- what is your question again,
                                                                            21    please, ma'am?
                                                                            22            Q.    (By Ms. Wedgworth)         The dealerships listed in
                                                                            23    the chart are all privately held dealerships; is that
                                                                            24    right?
                                                                            25                        MS. GULLEY:       Form.
                                                                                                                 Veritext Legal Solutions
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                                                                                                                                                     Page 363
                                                                            1             A.    Ma'am, I -- I don't know that.             I -- I --
                                                                            2     there's some of them -- Herb Chambers, I'm -- I'm
                                                                            3     familiar with.          And I'm pretty sure that one is
                                                                            4     privately owned.          The status of the rest of them, I --
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                                                                            5     I'm unaware.
                                                                            6             Q.    (By Ms. Wedgworth)         Well, do you have -- do you
                                                                            7     have any knowledge that any of those others are publicly
                                                                            8     held companies?
                                                                            9             A.    Ma'am, I'm -- I'm sorry.           I -- I just don't
                                                                            10    know.
                                                                            11            Q.    Okay.     With regard to this letter, I think you
                                                                            12    answered some questions from Ms. Gulley.                   You -- do you
                                                                            13    stand by this letter as Mr. Ron Lamb wrote it and you
                                                                            14    edited it?
                                                                            15                          MS. GULLEY:     Objection; form.
                                                                            16            A.    Yeah, I acknowledge the fact that he wrote it.
                                                                            17    This is a sales letter.             And I looked at it from a
                                                                            18    topical standpoint.           As I think I remember stating, I
                                                                            19    was very pleased that there were no misspellings, and
                                                                            20    punctuation also looked pretty good.                 But as far as
                                                                            21    the -- the exact, you know, last, you know, comment in
                                                                            22    the paragraph, I did not read it for that -- that level
                                                                            23    of content.
                                                                            24            Q.    (By Ms. Wedgworth)         Well, when you say it's a
                                                                            25    sales letter --
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                                                                                                                                                  Page 364
                                                                            1                      MS. GULLEY:       Ms. Wedgworth, we're way
                                                                            2     beyond your time.       You can finish the -- you are way
                                                                            3     beyond your time.       For the record, we have asked
                                                                            4     questions of all of our witnesses.              You just did not
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                                                                            5     reserve enough.
                                                                            6                      MS. WEDGWORTH:        Well, I'm going to -- I'm
                                                                            7     going to keep this deposition open for many reasons.
                                                                            8     The least of which is that we -- we let him answer every
                                                                            9     single question.       We let him take as long as we want.
                                                                            10    You've asked a lot of questions.             He's given very long
                                                                            11    answers and we're entitled to respond to all of that.
                                                                            12    In addition, you produced over 2,000 -- 200,000
                                                                            13    documents --
                                                                            14                     MR. NEMELKA:        Pages of documents.
                                                                            15                     MS. WEDGWORTH:        -- pages of documents over
                                                                            16    the weekend.     And for all those reasons, we are going
                                                                            17    to --
                                                                            18                     MS. GULLEY:       You knew that those documents
                                                                            19    were coming in advance, because we --
                                                                            20                     MS. WEDGWORTH:        Actually, we did not.          And
                                                                            21    we certainly didn't see them coming in on Friday night.
                                                                            22                     MS. GULLEY:       You compelled them and the
                                                                            23    court ruled that they would be produced after the motion
                                                                            24    to compel.     As you know, we're all still producing
                                                                            25    documents in response to the Court's ruling on the
                                                                                                              Veritext Legal Solutions
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                                                                                                                                                  Page 365
                                                                            1     motion to compel.       You put these depositions on the
                                                                            2     docket in -- in any event.           That's our entire point, is
                                                                            3     why plaintiffs are so far ahead of us on the number of
                                                                            4     depositions, because plaintiffs do not produce
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                                                                            5     documents.     And we understand that we can only take
                                                                            6     depositions once.
                                                                            7                      We are not holding the deposition open
                                                                            8     longer.    You have used the entire seven hours.                We split
                                                                            9     this over two days, not to give you a one-and-a-half day
                                                                            10    deposition, but rather because of health -- of attorney
                                                                            11    eyes only -- as we said before -- health considerations
                                                                            12    that mean Mr. Brockman really cannot be here any longer.
                                                                            13                     And therefore, this deposition is not going
                                                                            14    to stay here open.        I was actually going to tell you we
                                                                            15    were out of time; if you would like to finish this
                                                                            16    series of questions for the next two or three minutes,
                                                                            17    that's fine, until you jumped down my throat and said
                                                                            18    you're not going to close it at all.              That's nonsense.
                                                                            19    That's -- we have an agreed protocol order.
                                                                            20                     MS. WEDGWORTH:        Well, I am not agreeing to
                                                                            21    it, and I will be making a motion to the court to finish
                                                                            22    this deposition.
                                                                            23                     MS. GULLEY:       How much longer do you need,
                                                                            24    Ms. Wedgworth?
                                                                            25                     MS. WEDGWORTH:        I'm not sure.        It's
                                                                                                              Veritext Legal Solutions
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                                                                                                                                                  Page 366
                                                                            1     depending on his answers.
                                                                            2                      MS. GULLEY:       What are you going to ask the
                                                                            3     court for, an unlimited deposition?
                                                                            4                      MS. WEDGWORTH:        Nope.     Not unlimited at
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                                                                            5     all.    I would think at least an hour could cover all of
                                                                            6     this.
                                                                            7                      MS. GULLEY:       Well, I believe that we need
                                                                            8     to go off the record.         You're asking me before we go off
                                                                            9     the record for an extension of one hour.                Otherwise,
                                                                            10    you're filing a motion to just to be clear on the
                                                                            11    record, for the future.
                                                                            12                     MS. WEDGWORTH:        Correct.      Correct.
                                                                            13                     MS. GULLEY:       And you'll be asking the Court
                                                                            14    for one hour, additional?
                                                                            15                     MS. WEDGWORTH:        Certainly one hour, yes.
                                                                            16                     MS. GULLEY:       Okay.     Off the record.
                                                                            17                     THE VIDEOGRAPHER:         Off the record at 4:20
                                                                            18    p.m.
                                                                            19                     (Short recess 4:20 to 4:42 p.m.)
                                                                            20                     THE VIDEOGRAPHER:         Back on the record at
                                                                            21    4:42 p.m.
                                                                            22                     MS. GULLEY:       While we were off the record,
                                                                            23    there was discussion back and forth among counsel about
                                                                            24    next steps.     Counsel for plaintiffs approached me and
                                                                            25    said, you know, if we could go ten more minutes, they
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                                                                            1     would, you know, withdraw their objection to keep the
                                                                            2     deposition open.       We were agreeable to that extra ten
                                                                            3     minutes, and we're willing to put Mr. Brockman on the
                                                                            4     stand for an extra ten minutes.
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                                                                            5                      However, during that time period, he
                                                                            6     suffered an incident with his health, verified by a
                                                                            7     test.    And unfortunately, he's unable to come back into
                                                                            8     the room to proceed for those ten minutes.                 My
                                                                            9     understanding is that plaintiffs are okay closing the
                                                                            10    deposition for today, subject to your statements.
                                                                            11                     MS. WEDGWORTH:        We just reserve our rights
                                                                            12    to pursue whatever we may need in the future.                   And we
                                                                            13    certainly appreciate that his health is paramount and
                                                                            14    don't feel it appropriate.           If the -- if he can't
                                                                            15    testify today, it wouldn't be appropriate to do it
                                                                            16    today, due to his health.
                                                                            17                     MR. NEMELKA:        And I have no further
                                                                            18    questions.
                                                                            19                     MS. GULLEY:       No, just in response to
                                                                            20    Ms. Wedgworth, obviously, Mr. Brockman is the chairman
                                                                            21    of the company, and he made himself available for the
                                                                            22    entire seven hours.        We would object to keeping the
                                                                            23    deposition open in any way.           I understand we've agreed
                                                                            24    to disagree on that point.
                                                                            25                     MS. WEDGWORTH:        Off the record.
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                                                                                                                                                 Page 368
                                                                            1                        THE VIDEOGRAPHER:           This will conclude
                                                                            2     today's deposition for Mr. Robert Brockman.                      We are off
                                                                            3     the record at 4:43 p.m.
                                                                            4                        (Deposition concluded at 4:43 p.m.)
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                                                                             1                      CHANGES AND SIGNATURE
                                                                             2    WITNESS NAME: ROBERT BROCKMAN    DATE: January 17, 2019
                                                                             3    PAGE      LINE    CHANGE              REASON
                                                                             4    ________________________________________________________
                                                                             5    ________________________________________________________
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                                                                             6    ________________________________________________________
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                                                                             9    ________________________________________________________
                                                                            10    ________________________________________________________
                                                                            11    ________________________________________________________
                                                                            12
                                                                                       I, ROBERT BROCKMAN, have read the foregoing
                                                                            13    deposition and hereby affix my signature that same is
                                                                                  true and correct, except as noted above.
                                                                            14                      _____________________________________
                                                                                                    ROBERT BROCKMAN
                                                                            15
                                                                                  THE STATE OF                )
                                                                            16    COUNTY OF                   )
                                                                            17              BEFORE ME, _________________________ , on this
                                                                                  day personally appeared ROBERT BROCKMAN, known to me (or
                                                                            18    proved to me under oath or through
                                                                                  __________________________ ) (description of identity
                                                                            19    card or other document) to be the person whose name is
                                                                                  subscribed to the foregoing instrument and acknowledged
                                                                            20    to me that they executed the same for the purposes and
                                                                                  consideration therein expressed.
                                                                            21              Given under my hand and seal of office this
                                                                                  _______ day of _________________________ ,___________ .
                                                                            22
                                                                                                         _____________________________________
                                                                            23                           NOTARY PUBLIC IN AND FOR
                                                                                                         THE STATE OF ______________________
                                                                            24                           COMMISSION EXPIRES: _________________
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                                                                                                              Veritext Legal Solutions
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                                                                            1                   IN THE UNITED STATES DISTRICT COURT
                                                                                               FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                            2                               EASTERN DIVISION
                                                                            3                                           )
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                                                                                     IN RE: DEALER MANAGEMENT           ) MDL NO. 2817
                                                                            4        SYSTEMS ANTITRUST                  )
                                                                                     LITIGATION,                        ) CASE NO. 18 C 864
                                                                            5                                           )
                                                                            6
                                                                            7
                                                                            8                         REPORTER'S CERTIFICATION
                                                                            9          ORAL AND VIDEOTAPED DEPOSITION OF ROBERT BROCKMAN
                                                                            10                              January 17, 2019
                                                                            11                                   Volume 2
                                                                            12
                                                                            13                 I, SHAUNA L. BEACH, Certified Shorthand
                                                                            14    Reporter in and for the State of Texas, do hereby
                                                                            15    certify to the following:
                                                                            16                 That the witness, ROBERT BROCKMAN, was duly
                                                                            17    sworn by the officer and that the transcript of the oral
                                                                            18    deposition is a true record of the testimony given by
                                                                            19    the witness;
                                                                            20                 I further certify that pursuant to FRCP Rule
                                                                            21    30(e)(1) that the signature of the deponent:
                                                                            22                 _X_ was requested by the deponent or a party
                                                                            23    before the completion of the deposition and is to be
                                                                            24    returned within 30 days from the date of receipt of the
                                                                            25    transcript.      If returned, the attached Changes and
                                                                                                              Veritext Legal Solutions
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                                                                            1     Signature Page contains any changes and the reasons
                                                                            2     therefor;
                                                                            3                   ___ was not requested by the deponent or a
                                                                            4     party before the completion of the deposition.
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                                                                            5                   I further certify that I am neither counsel
                                                                            6     for, related to, nor employed by any of the parties or
                                                                            7     attorneys to the action in which this proceeding was
                                                                            8     taken.     Further, I am not a relative or employee of any
                                                                            9     attorney of record in this cause, nor am I financially
                                                                            10    or otherwise interested in the outcome of the action.
                                                                            11                    Subscribed and sworn to on this
                                                                            12               30th Day of       January , 2019.
                                                                            13
                                                                            14
                                                                            15
                                                                                                              <%16953,Signature%>
                                                                            16                        ____________________________________
                                                                            17                        SHAUNA L. BEACH, RDR, CRR, CSR #8408
                                                                                                      Expiration Date:           12/31/2019
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                                                                                           VERITEXT LEGAL SOLUTIONS
                                                                                 COMPANY CERTIFICATE AND DISCLOSURE STATEMENT
                                                                            Veritext Legal Solutions represents that the
                                                                            foregoing transcript is a true, correct and complete
                                                                            transcript of the colloquies, questions and answers
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                                                                            Solutions further represents that the attached
                                                                            exhibits, if any, are true, correct and complete
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                                                                            attorneys in relation to this deposition and that
                                                                            the documents were processed in accordance with
                                                                            our litigation support and production standards.
                                                                            Veritext Legal Solutions is committed to maintaining
                                                                            the confidentiality of client and witness information,
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                                                                            Act (HIPAA), as amended with respect to protected
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                                                                            Information (PII). Physical transcripts and exhibits
                                                                            are managed under strict facility and personnel access
                                                                            controls. Electronic files of documents are stored
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                                                                            Associates indicated on the cover of this document or
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  UNITED STATES DISTRICT COURT                                                                            TRANSCRIPT ORDER                                                                         COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                 Please use one form per court reporter.                                                              DUE DATE:
                  CAND 435                                                                         CJA counsel please use Form CJA24
              (CAND Rev. 02/2015)                                                                Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                                2a. CONTACT PHONE NUMBER                                                   3. CONTACT EMAIL ADDRESS
 Jessica Leung                                                                            (408) 535-5588                                                       jessica.leung@usdoj.gov
1b. ATTORNEY NAME (if different)                                                 2b. ATTORNEY PHONE NUMBER                                                  3. ATTORNEY EMAIL ADDRESS
 Michael Pitman                                                                           (408) 535-5040                                                       michael.pitman@usdoj.gov
4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                    5. CASE NAME                                                                             6. CASE NUMBER

U.S. Attorney's Office                                                                                        US v Brockman                                                                           3:20-CR-00371
150 Almaden Blvd, Suite 900
                                                                                                             8. THIS TRANSCRIPT ORDER IS FOR:
San Jose CA 95113
7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)ȹ ޫ FTR                                          倯 APPEAL             ✔ CRIMINAL
                                                                                                                                  倯               倯 In forma pauperis (NOTE: Court order for transcripts must be attached)

 Ana Dub                                                                                                     倯 NON-APPEAL         倯 CIVIL         CJA: Do not use this form; use Form CJA24.

9. TRANSCRIPT(S) REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested), format(s) & quantity and delivery type:

 a.          HEARING(S) (OR PORTIONS OF HEARINGS)                                         b.             SELECT FORMAT(S) (NOTE: ECF access is included          c.         DELIVERY TYPE ( Choose one per line)
                                                                                                         with purchase of PDF, text, paper or condensed.)

      DATE           JUDGE             TYPE                    PORTION                           PDF        TEXT/ASCII    PAPER       CONDENSED   ECF ACCESS     ORDINARY     14-Day   EXPEDITED       DAILY      HOURLY     REALTIME
                                                  If requesting less than full hearing,        (email)        (email)                   (email)      (web)       (30-day)                (7-day)     (Next day)    (2 hrs)
                     (initials)     (e.g. CMC)   specify portion (e.g. witness or time)

12/15/2020           WHA            Motion                                                      ●
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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                               12. DATE

11. SIGNATURE
                    /s/                                                                                                                                                           12/15/2020

DISTRIBUTION:                                倯 COURT COPY                                                倯 TRANSCRIPTION COPY                               倯 ORDER RECEIPT                                倯 ORDER COPY
                                              Case 3:20-cr-00371-WHA
                                         Case 4:21-cr-00009            Document
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 CAND 435
 (Rev. 02/2015)                                                                         INSTRUCTIONS


 Use this form to order the transcription of proceedings. CJA counsel should use Form CJA24. Before completing this form, please visit cand.uscourts.gov/transcripts for complete
 transcript ordering information. THESE INSTRUCTIONS SUPPLEMENT THE WEBSITE INFORMATION.
      1.       Complete a separate order form for each case number for which transcripts are ordered.
      2.       Complete a separate order form for each court reporter who reported proceedings in the case.
      3.       Complete Items 1-12. Keep a copy of your completed order form for your records.
      4.       E-file this form in the U.S. District Court CM/ECF system. Exceptions to e-filing: (a) sealed cases/proceedings; (b) non-parties; (c) pro se parties who are not e-filers.
               In such cases, mail or hand-deliver a hard copy addressed to the court reporter c/o the Clerk’s Office at the Court division where the proceeding was held.
      5.       Email the court reporter (email list available at cand.uscourts.gov/courtreportercontact) promptly after this Transcript Order Form is e-filed to obtain the amount of
               the required deposit.. Deliver payment to the court reporter promptly. Upon receipt of the deposit, the court reporter will begin work on the transcript. Exceptions:
               (a) orders for FTR transcripts and (b) daily trial transcript orders.
      6.       Unless prepayment is waived, delivery time is computed from the date the court reporter receives the deposit, authorized CJA 24 Form, authorization from Federal
               Public Defender’s Office or, for transcripts ordered by the U.S. government, from the date of receipt of the DCN number.
      7.       The deposit fee is an estimate. Any overage will be refunded; any shortage will be due from you.
                                                                             ITEM-BY-ITEM INSTRUCTIONS (ITEMS 1-12):
 Items 1-3        In fields 1a, 2a & 3a, please provide the contact name and information for the person responsible for ordering the transcript. In a law office, this is usually a
                  paralegal or administrative assistant, not the attorney. In fields 1b, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
 Items 5-6.       Only one case number may be listed per order.
 Item 7.          Visit cand.uscourts.gov/transcripts for instructions for determining the name of the court reporter who reported the proceeding or if the proceeding was
                  audiorecorded. If minutes have not been filed, contact judge’s courtroom deputy.
 Item 8.          Check appeal OR non-appeal AND criminal OR civil. In forma pauperis: a court order specifically authorizing transcripts is required before transcripts may be
                  ordered in forma pauperis.
 Item 9a.         List specific date(s) of the proceedings for which transcript is requested. A transcript of only a portion of a proceeding may be ordered, if the description is clearly
                  written to facilitate processing. Under “type,” indicate briefly what type of proceeding it was, such as “motion,” “sentencing,” or “CMC.”
tem 9b.           Select desired FORMAT(S) for transcript. There is an additional charge for each format ordered. Visit cand.uscourts.gov/transcriptrates for details. Unlock ECF/web
                  access is included at no extra charge with each of the other formats.
 Item 9c.         There are 6 DELIVERY TYPES to choose from (times are computed from date of receipt of the deposit fee or DCN number). NOTE: Full price may be charged only if
                  the transcript is delivered within the required time frame. For example, if an order for expedited transcript is not completed and delivered within 7 calendar days,
                  the 14-day delivery rate would be charged.
                    TRANSCRIPT DELIVERY TIMES:
                    ORDINARY Ʌ 30 calendar days.
                    14-DAY Ʌ 14 calendar days.
                    EXPEDITED Ʌ 7 calendar days.
                    DAILY (NEXT DAY) Ʌ Following adjournment and prior to the normal opening hour of the court on the following morning whether or not it actually is a court day.
                    HOURLY (SAME DAY) Ʌ within two (2) hours.
                    REALTIME Ʌ A draft unedited, uncertified transcript produced by a certified realtime reporter as a byproduct of realtime to be delivered electronically during
                    proceedings or immediately following adjournment.
 Item 11.         Sign in this space to certify that you will pay all charges (the deposit plus any additional charges.) An electronic or conformed (/s/) signature is acceptable.
 Item 12.         Enter the date of signing the order and certification.
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                                                                             1   Jason S. Varnado (State Bar No. 211067)         Kathryn Keneally (appearance pro hac vice)
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                                                                                 Telephone: +1-832-239-3939                      New York, NY 10281.1047
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                                                                                                                                 Facsimile: +1-212-755-7306
                                                                             5   Neal J. Stephens (State Bar No. 152071)
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                                                                             6   Vincent Doctor (State Bar No. 319408)
                                                                                 vdoctor@jonesday.com
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                                                                             9   Telephone: +1-650-739-3939
                                                                                 Facsimile: +1-650-739-3900
                                                                            10
                                                                                 Attorneys for Defendant
                                                                            11   ROBERT T. BROCKMAN
                                                                            12                                  UNITED STATES DISTRICT COURT
                                                                            13                             NORTHERN DISTRICT OF CALIFORNIA
                                                                            14                                     SAN FRANCISCO DIVISION
                                                                            15   UNITED STATES OF AMERICA,                        Case No. 3:20-cr-00371-WHA
                                                                            16                     Plaintiff,                     DEFENDANT ROBERT T. BROCKMAN’S
                                                                                                                                  REPLY IN SUPPORT OF MOTION FOR A
                                                                            17           v.                                       HEARING TO DETERMINE WHETHER
                                                                                                                                  MR. BROCKMAN IS COMPETENT TO
                                                                            18   ROBERT T. BROCKMAN,                              ASSIST IN HIS DEFENSE
                                                                            19                     Defendant.                     Date:             January 12, 2021
                                                                                                                                  Time:             2 p.m.
                                                                            20                                                    Judge:            Hon. William Alsup
                                                                                                                                  Place:            Courtroom 12
                                                                            21
                                                                            22             DEFENDANT ROBERT T. BROCKMAN’S REPLY IN SUPPORT OF
                                                                                        MOTION FOR A HEARING TO DETERMINE WHETHER MR. BROCKMAN
                                                                            23                     IS COMPETENT TO ASSIST IN HIS DEFENSE
                                                                            24   I.      THE GOVERNMENT HAS CONCEDED THAT THE MOTION SHOULD BE
                                                                                         GRANTED
                                                                            25
                                                                            26           The government has conceded the sole issue raised on the defense’s motion: pursuant to
                                                                            27   18 U.S.C. § 4241(a), Mr. Brockman must be accorded a hearing to determine whether he is
                                                                            28   competent to assist in his own defense. Gov’t Resp. at 1 (the “Response”), ECF No. 69; see also
                                                                                                                                                               REPLY IN SUPPORT OF MOT.
                                                                                                                                     FOR HEARING TO DETERMINE WHETHER MR. BROCKMAN
                                                                                                                                 IS COMPETENT TO ASSIST IN HIS DEFENSE 3:20-CR-00371-WHA
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                                                                             1   Gov’t Resp. at 2 (“As the Motion explained, the threshold for holding a competency hearing is
                                                                             2   low, and it is satisfied in this case.”).
                                                                             3            The government could have saved this Court’s and the defense’s time by agreeing to the
                                                                             4   hearing without a contested motion, and then turning to the next steps as to how the hearing
                                                                             5   should proceed. Now that the government has abandoned its indefensible position that no
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                                                                             6   competency proceedings should be conducted in this case, the defense has asked the prosecutors
                                                                             7   to meet and confer over appropriate, reciprocal discovery of evidence relevant to competency and
                                                                             8   proposed for admission at a hearing, the sequence and timing of further examinations of
                                                                             9   Mr. Brockman, a proposed schedule for the actual competency hearing and other proceedings,
                                                                            10   and any other issues relevant to competency proceedings.
                                                                            11   II.      AN INDEPENDENT EXAMINATION OF MR. BROCKMAN MUST TAKE
                                                                                          PLACE IN A NON-CUSTODIAL SETTING
                                                                            12
                                                                            13            It would appear that the only remaining open issue, apart from scheduling, is the manner
                                                                            14   in which an examination of Mr. Brockman should take place.
                                                                            15            The government had unhindered access to Mr. Brockman’s medical records, and could
                                                                            16   have had an independent medical examination conducted, during a nearly six-month period prior
                                                                            17   to the Indictment: In early April 2020, defense counsel provided medical reports and letters from
                                                                            18   Mr. Brockman’s four diagnostic and treating doctors, setting out their medical conclusion that
                                                                            19   Mr. Brockman lacks the ability to assist in his defense, along with the results of a DaTscan
                                                                            20   performed on Mr. Brockman, which showed irrevocable damage to critical neurons responsible
                                                                            21   for producing dopamine—a visible, measurable marker for dementia caused by Parkinson’s
                                                                            22   disease or Lewy body dementia. 1 Keneally Decl. ¶ 28, Ex. J at 1–2, 7, Ex. P at 1. 2 Defense
                                                                            23   counsel asked that the government interview the doctors, with a pledge that the defense would not
                                                                            24             1
                                                                                             A DaTscan is “the first and only FDA-approved aid in differentiating a relatively benign condition,
                                                                                 essential tremor, from Parkinsonian syndromes (PS).” https://www.cedars-sinai.org/programs/imaging-
                                                                            25   center/exams/nuclear-medicine/datscan.html (last visited Dec. 17, 2020); see also
                                                                                 https://www.hopkinsmedicine.org/health/conditions-and-diseases/dementia/dementia-with-lewy-bodies (last visited
                                                                            26   Dec. 18, 2020) (summarizing relationship between damage to dopamine transmitters and Parkinson’s disease and
                                                                                 Lewy body dementia).
                                                                            27
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                                                                                            “Keneally Decl.” refers to the Declaration of Kathryn Keneally, affirmed December 8, 2020 and submitted
                                                                            28   in support of the Motion. ECF No. 64-1.
                                                                                                                                                                        REPLY IN SUPPORT OF MOT.
                                                                                                                                              FOR HEARING TO DETERMINE WHETHER MR. BROCKMAN
                                                                                                                                          IS COMPETENT TO ASSIST IN HIS DEFENSE 3:20-CR-00371-WHA
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                                                                             1   participate, either by preparing the witnesses in advance or attending the interviews, and provided
                                                                             2   waivers pursuant to the Health Insurance Portability and Accountability Act (“HIPAA waivers”)
                                                                             3   to allow full access to Mr. Brockman’s medical information. Keneally Decl. ¶ 28. Defense
                                                                             4   counsel also offered to make Mr. Brockman available for examination by medical experts of the
                                                                             5   government’s choosing. Keneally Decl. ¶ 28.
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                                                                             6           Despite having access to all of this information, and the proffer of full cooperation from
                                                                             7   defense counsel, the government has never—not before Indictment and not now—identified any
                                                                             8   expert to conduct an independent examination of Mr. Brockman. Instead, citing no medical or
                                                                             9   legal basis for its position, the government now makes the stunning request that the Court invoke
                                                                            10   discretionary authority to “‘commit [Mr. Brockman] to be examined for a reasonable period, but
                                                                            11   not to exceed thirty days’” for observation by “trained Bureau of Prisons mental health
                                                                            12   professionals and staff.” Gov’t Resp. at 2–3 (quoting 18 U.S.C. § 4247(b)); 18 U.S.C. § 4241(b).
                                                                            13           The law is to the contrary. Due process mandates that a defendant be deprived of his
                                                                            14   liberty only if the government establishes “compelling governmental interests” that cannot be
                                                                            15   served by outpatient evaluation. 3 United States v. Neal, 679 F.3d 737, 741 (8th Cir. 2012); see
                                                                            16   also United States v. Deters, 143 F.3d 577, 582–84 (10th Cir. 1998) (explaining due process
                                                                            17   limits on custodial competency examination); In re Newchurch, 807 F.2d 404, 408–
                                                                            18   09 (5th Cir. 1986) (same). Such compelling interests must be substantiated by specific evidence
                                                                            19   and findings of fact following a hearing. Neal, 679 F.3d at 741–42; Deters, 143 F.3d at 582–84;
                                                                            20   see also United States v. Song, 530 F. App’x 255, 260–61 (4th Cir. 2013). The generalized
                                                                            21   conclusion that “‘an in-custody evaluation is likely to be more comprehensive than an out-of-
                                                                            22   custody evaluation’ . . . is not sufficient to demonstrate the necessity of a custodial examination.”
                                                                            23   United States v. Parks, 2018 WL 2090821, *4 (W.D. Ky. May 4, 2018) (quoting United States v.
                                                                            24   Krauth, 2010 WL 428969, at *5 (N.D. Iowa Feb. 2, 2010)).
                                                                            25           These prosecutors’ desire to have Mr. Brockman remanded also contradicts Department of
                                                                            26            3
                                                                                            Due process safeguards also make orders remanding defendants for custodial evaluation under § 4241(b)
                                                                                 subject to immediate appeal. See, e.g., United States v. Deters, 143 F.3d 577, 581 (10th Cir. 1998) (holding
                                                                            27   commitment under § 4241(b) is immediately appealable); United States v. Davis, 93 F.3d 1286, 1288–
                                                                                 89 (6th Cir. 1996) (same, reversing commitment order); United States v. Neal, 679 F.3d 737, 740 (8th Cir. 2012)
                                                                            28   (vacating and remanding § 4241(b) commitment order on interlocutory appeal).
                                                                                                                                                                        REPLY IN SUPPORT OF MOT.
                                                                                                                                              FOR HEARING TO DETERMINE WHETHER MR. BROCKMAN
                                                                                                                                          IS COMPETENT TO ASSIST IN HIS DEFENSE 3:20-CR-00371-WHA
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                                                                                   Case 3:20-cr-00371-WHA Document 74 Filed 12/21/20 Page 4 of 8
                                                                             1   Justice policy. “Since the requirements of these provisions stretch the Bureau of Prison’s mental
                                                                             2   health resources to their limits, incompetency (Section 4241) and insanity (Section 4242) studies
                                                                             3   should, wherever possible, be done in the community by local psychologists/psychiatrists, with
                                                                             4   commitments to the custody of the Attorney General being reserved for those individuals who
                                                                             5   cannot safely be examined in the community.” U.S. Dep’t of Justice, Just. Manual, Organization
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                                                                             6   and Functions Manual § 8, available at https://www.justice.gov/jm/organization-and-functions-
                                                                             7   manual-8-bureau-prisons (last visited Dec. 21, 2020).
                                                                             8          The government’s assertion here that “[a] custodial placement is appropriate in cases
                                                                             9   where malingering is a concern,” Gov’t Resp. at 2, is equally unsupported and insufficient. To
                                                                            10   the contrary, courts routinely accept non-custodial evaluations that include built-in testing to
                                                                            11   address malingering. See United States v. Buckingham, 2020 WL 7238273, *2–3, 10–
                                                                            12   12 (N.D. Ala. Dec. 9, 2020) (finding defendant incompetent based on outpatient evaluations that
                                                                            13   included conclusion that defendant was not malingering); United States v. Hernandez,
                                                                            14   2018 WL 2738880, *8–15 (N.D. Ohio June 7, 2018) (finding outpatient evaluator’s conclusion
                                                                            15   that defendant was not malingering more reliable than custodial evaluator’s conclusion that
                                                                            16   defendant was malingering). Dr. York’s forensic testing of Mr. Brockman included these
                                                                            17   safeguards, Keneally Decl. Ex. O at 4, 7, Ex. R. at 5, 7, and the government nowhere addresses
                                                                            18   why an independent expert cannot meet this standard in a non-custodial setting.
                                                                            19          There is no reason, much less a compelling reason, for Mr. Brockman to be subjected to
                                                                            20   custodial examination prior to the competency hearing. First, and “[m]ost importantly,”
                                                                            21   Mr. Brockman “is currently on pretrial release,” and “should not lose his freedom simply by
                                                                            22   raising the issue” of competence. Parks, 2018 WL 2090821, at *5. Nor is there any reason to
                                                                            23   believe that a custodial evaluation could be completed more quickly than an outpatient
                                                                            24   examination. See Krauth, 2010 WL 428969, at *4 n.4 (noting that it is “more likely that an in-
                                                                            25   custody examination would take longer”).
                                                                            26          Further, in the midst of the COVID-19 pandemic the risk to Mr. Brockman’s health far
                                                                            27   outweighs any “benefit” of incarceration. As a 79 year-old cancer survivor with a heart condition
                                                                            28   as well as progressive dementia, remanding Mr. Brockman to the custody of the Bureau of
                                                                                                                                                                  REPLY IN SUPPORT OF MOT.
                                                                                                                                        FOR HEARING TO DETERMINE WHETHER MR. BROCKMAN
                                                                                                                                    IS COMPETENT TO ASSIST IN HIS DEFENSE 3:20-CR-00371-WHA
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                                                                                    Case 3:20-cr-00371-WHA Document 74 Filed 12/21/20 Page 5 of 8
                                                                             1   Prisons would dramatically increase his risk of contracting the disease. See Keneally Decl. Ex. G
                                                                             2   at ¶ 9; see also https://www.bop.gov/coronavirus/ (last visited Dec. 17, 2020) (reporting that
                                                                             3   nearly a quarter of all federal inmates have been diagnosed with COVID-19 over the course of the
                                                                             4   pandemic).
                                                                             5           The defense submits, instead, that the court-ordered examination of Mr. Brockman should
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                                                                             6   occur on an out-patient basis near his home in Houston, the fourth-largest city in the United
                                                                             7   States, with over 18,000 licensed physicians. 4 Houston’s Texas Medical Center is the largest
                                                                             8   medical facility in the world, and its hospitals have reliably been ranked among the nation’s best. 5
                                                                             9   Surely “the United States can locate, within a driving distance of [Mr. Brockman’s] home that
                                                                            10   would allow him to travel to and from the appointment each day, a qualified psychologist or
                                                                            11   psychiatrist to conduct the forensic examination.” Parks, 2018 WL 2090821, at *5. There is
                                                                            12   nothing to be gained, and considerable risk, by requiring Mr. Brockman to travel to a distant
                                                                            13   location, much less to be incarcerated.
                                                                            14   III.    THE GOVERNMENT’S CONCESSION THAT A HEARING IS REQUIRED
                                                                                         SUPPORTS THE DEFENSE’S MOTION FOR TRANSFER
                                                                            15
                                                                            16           The government conceded for the first time that a competency hearing is necessary in its
                                                                            17   Response filed on the evening of December 15, 2020, following a hearing on that same day
                                                                            18   before this Court on the defense’s Motion to Dismiss in Part for Lack of Venue and to Transfer to
                                                                            19   the Southern District of Texas (the “Transfer Motion”), ECF No. 49. The defense set out, as one
                                                                            20   of many grounds supporting transfer, that a competency hearing should be held in the Southern
                                                                            21   District of Texas, where Mr. Brockman resides and where all of his doctors practice. 6 Transfer
                                                                            22           4
                                                                                             https://www.houston.org/houston-data/health-care-houston (last visited Dec. 20, 2020).
                                                                            23             5
                                                                                             https://www.tmc.edu/news/2019/07/seven-tmc-institutions-ranked-as-best-hospitals-by-u-s-news-world-
                                                                                 report/ (last visited Dec. 20, 2020).
                                                                            24            6
                                                                                            In opposing the Transfer Motion, the government argued that venue should not be determined by the
                                                                                 location of the defense’s “experts.” Gov’t Opp’n to the Mot. to Dismiss in Part for Lack of Venue and to Transfer to
                                                                            25   the Southern District of Texas at 9, 12, ECF No. 63. The doctors whose medical reports were included in support of
                                                                                 the instant Motion are not, as the government depicts, experts “retained” by the defense. See Gov’t Resp. at 2. While
                                                                            26   the defense will present them for their expertise, they are third-party witnesses. Each doctor examined
                                                                                 Mr. Brockman for diagnostic and treatment purposes. Keneally Decl. Ex. G at ¶ 4, Ex. H, Ex. I, Ex. J, Ex. K. Even
                                                                            27   Dr. York, a neuropsychologist, who performed subsequent forensic testing at the request of defense counsel,
                                                                                 examined Mr. Brockman in the first instance in response to a referral by his personal doctor to determine a diagnosis
                                                                            28   and course of treatment. Keneally Decl. Ex. G at ¶ 4.
                                                                                                                                                                          REPLY IN SUPPORT OF MOT.
                                                                                                                                                FOR HEARING TO DETERMINE WHETHER MR. BROCKMAN
                                                                                                                                            IS COMPETENT TO ASSIST IN HIS DEFENSE 3:20-CR-00371-WHA
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                                                                                    Case 3:20-cr-00371-WHA Document 74 Filed 12/21/20 Page 6 of 8
                                                                             1   Mot. at 11–13; see also Reply in Supp. of Transfer Mot. at 9–10, ECF No. 66. The government’s
                                                                             2   conspicuous silence concerning its decision to concede the need for a competency hearing before
                                                                             3   or during the argument on the Transfer Motion is particularly telling: this concession greatly
                                                                             4   undercuts the government’s opposition to the Transfer Motion. 7
                                                                             5   IV.      THE BALANCE OF THE GOVERNMENT’S “RESPONSE” HAS NO BEARING
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                                                                                          ON THE ISSUES ON THIS MOTION
                                                                             6
                                                                             7            Given its concession on the only issue raised by the Motion, the government captions its
                                                                             8   current submission not as an “Opposition,” but as a “Response,” which it then uses to
                                                                             9   mischaracterize the defense’s position and to “preview” its “skepticism” about the defense’s
                                                                            10   medical evidence.
                                                                            11            Having “spurned” the defense offer of a cooperative approach at each step so as to force
                                                                            12   this adversarial proceeding, 8 the government now adds gratuitous but bogus complaints that the
                                                                            13   defense is “hiding relevant evidence.” Gov’t Resp. at 3, 6. In addition to the unilateral discovery
                                                                            14   provided so far, the defense previously stated its support for “an independent expert selected by
                                                                            15   the court, asking only that the examination take place proximate to Mr. Brockman’s home in
                                                                            16   Houston,” and acknowledged the government’s right to cross-examine the doctors and other
                                                                            17   witnesses and present its evidence. Def.’s Mot. at 19.
                                                                            18            While ignoring the medical evidence, the government propounds a layman’s analysis as to
                                                                            19   what may be relevant to a competency determination. Thus the government unloads for seven
                                                                            20   pages in its “Response” and 536 pages of exhibits, “the government’s skepticism [that] will be
                                                                            21   further developed throughout these competency proceedings” because “it is worth orienting the
                                                                            22   Court to some of them at the outset.” See Gov’t Resp. at 4–11.
                                                                            23            The government’s “skepticism” is distorted, misleading, and at times flatly incorrect on
                                                                            24   the face of its own “evidence.” It is also premature and not germane to the sole issue before this
                                                                            25
                                                                                          7
                                                                                            In its groundless contention that Mr. Brockman be remanded for custodial examination, the government
                                                                            26   references a facility in Fort Worth, Texas, implicitly acknowledging that Texas, where Mr. Brockman resides, is
                                                                                 where his medical issues should be addressed. Gov’t Resp. at 2–3.
                                                                            27            8
                                                                                            The Court: “is it true that they [the defense] offered to let you [the government] talk to the medical people
                                                                                 without even the defense being there and you spurned that opportunity?” AUSA Pitman: “That is true, Your
                                                                            28   Honor.” Dec. 15, 2020 Hr’g Tr. at 33:1–33:4.
                                                                                                                                                                           REPLY IN SUPPORT OF MOT.
                                                                                                                                                 FOR HEARING TO DETERMINE WHETHER MR. BROCKMAN
                                                                                                                                             IS COMPETENT TO ASSIST IN HIS DEFENSE 3:20-CR-00371-WHA
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                                                                                      Case 3:20-cr-00371-WHA Document 74 Filed 12/21/20 Page 7 of 8
                                                                             1   Court that the government has now conceded in its Response—a competency hearing is necessary
                                                                             2   in this matter. It is sufficient for present purposes to note that the accurate facts will be presented,
                                                                             3   and the government’s version rigorously disputed—in the full evidentiary presentation at the
                                                                             4   hearing. Now that the government has dropped its strategic opposition to that hearing, the parties
                                                                             5   and the Court can get on with the proceeding guaranteed to Mr. Brockman by due process.
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                                                                             6   V.      THE GOVERNMENT IS WRONG THAT IT WOULD HAVE BEEN
                                                                                         INAPPROPRIATE TO EVALUATE THIS ISSUE PRE-INDICTMENT
                                                                             7
                                                                             8           The government’s final point in its Response is an attempt to assert that it would have
                                                                             9   been “inappropriate” for the government to consider Mr. Brockman’s competency pre-indictment.
                                                                            10   Gov’t Resp. at 11.
                                                                            11           It is the essence of a prosecutor’s job to review all of the circumstances of the
                                                                            12   government’s investigation when making a decision to indict. See U.S. Dep’t of Justice, Just.
                                                                            13   Manual § 9-27.110 & Comment; see also § 9-27.220, available at https://www.justice.gov/jm/jm-
                                                                            14   9-27000-principles-federal-prosecution (last visited Dec. 21, 2020). The Department of Justice
                                                                            15   has made clear that this fundamental responsibility extends to the consideration of an individual’s
                                                                            16   health and competency: the United States Justice Manual provides that a “person’s personal
                                                                            17   circumstances” should be considered in determining whether there is a substantial federal interest
                                                                            18   supporting prosecution. U.S. Dep’t of Justice, Just. Manual § 9-27.230, see also § 9-27.220.
                                                                            19   Circumstances particular to the accused which “may suggest that prosecution is not the most
                                                                            20   appropriate response” include “advanced age, or mental or physical impairment.” U.S. Dep’t of
                                                                            21   Justice, Just. Manual § 9-27.230, Comment 7; see also United States v. Lovasco, 431 U.S. 783,
                                                                            22   795 (1977) (“Rather than deviating from elementary standards of ‘fair play and decency,’ a
                                                                            23   prosecutor abides by them if he refuses to seek indictments until he is completely satisfied that he
                                                                            24   should prosecute and will be able promptly to establish guilt beyond a reasonable doubt.”). Thus
                                                                            25   the government’s contention that it is only for “the Courts, not prosecutors, to make competency
                                                                            26   determinations[,]” Gov’t Resp. at 11, fails in the face of the Department’s express policy.
                                                                            27           The government has conceded at least this much: Mr. Brockman is entitled to have the
                                                                            28   issue of his competency addressed before this prosecution may proceed. Given the government’s
                                                                                                                                                                   REPLY IN SUPPORT OF MOT.
                                                                                                                                         FOR HEARING TO DETERMINE WHETHER MR. BROCKMAN
                                                                                                                                     IS COMPETENT TO ASSIST IN HIS DEFENSE 3:20-CR-00371-WHA
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                                                                                   Case 3:20-cr-00371-WHA Document 74 Filed 12/21/20 Page 8 of 8
                                                                             1   abdication of a pre-indictment review of the evidence, the issue is now squarely for a court to
                                                                             2   decide.
                                                                             3   VI.       CONCLUSION
                                                                             4             The central issue for the hearing is Mr. Brockman’s fundamental right to present a
                                                                             5   defense. A defendant who “lacks the capacity to understand the nature and object of the
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                                                                             6   proceedings against him, to consult with counsel, and to assist in preparing his defense may not
                                                                             7   be subjected to a trial.” Drope v. Missouri, 420 U.S. 162, 171 (1975). This principle is embodied
                                                                             8   in 18 U.S.C. § 4241(a).
                                                                             9             Now that the government has dropped its opposition, the parties agree that a court should
                                                                            10   hold a hearing under 18 U.S.C. § 4241 to determine whether he lacks the capacity to assist in his
                                                                            11   defense. The defense is scheduled to meet and confer with the government on December 22, and
                                                                            12   will propose to the Court appropriate, reciprocal discovery of evidence relevant to competency
                                                                            13   and proposed for admission at a hearing, the sequence and timing of further examinations of
                                                                            14   Mr. Brockman, a proposed schedule for the hearing and other proceedings, and other issues
                                                                            15   relevant to competency proceedings. The defense continues to believe that the competency
                                                                            16   proceeding should take place in the Southern District of Texas, for the reasons stated in support of
                                                                            17   the Transfer Motion.
                                                                            18
                                                                            19   Dated: December 21, 2020                           Respectfully submitted,
                                                                            20                                                      Jones Day
                                                                            21
                                                                            22                                                      s/ Neal J. Stephens
                                                                                                                                    NEAL J. STEPHENS
                                                                            23
                                                                                                                                    Counsel for Defendant
                                                                            24                                                      ROBERT T. BROCKMAN
                                                                            25
                                                                            26
                                                                            27
                                                                            28
                                                                                                                                                                  REPLY IN SUPPORT OF MOT.
                                                                                                                                        FOR HEARING TO DETERMINE WHETHER MR. BROCKMAN
                                                                                                                                    IS COMPETENT TO ASSIST IN HIS DEFENSE 3:20-CR-00371-WHA
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                                                                                                                                                                                                  Clear Form


  UNITED STATES DISTRICT COURT                                                                           TRANSCRIPT ORDER                                                                        COURT USE ONLY
 NORTHERN DISTRICT OF CALIFORNIA                                                                Please use one form per court reporter.                                                             DUE DATE:
                  CAND 435                                                                        CJA counsel please use Form CJA24
              (CAND Rev. 7/2013)                                                                Please read instructions on next page.
1a. CONTACT PERSON FOR THIS ORDER                                               2a. CONTACT PHONE NUMBER                                                   3D. CONTACT EMAIL ADDRESS
       Lindsay VanHulle                                                                  (313) 446-0374                                                             lvanhulle@crain.com
1b. ATTORNEY NAME (if different)                                                2b. ATTORNEY PHONE NUMBER                                                  3E. ATTORNEY EMAIL ADDRESS


4. MAILING ADDRESS (INCLUDE LAW FIRM NAME, IF APPLICABLE)                                                   5. CASE NAME                                                                            6. CASE NUMBER

1155 Gratiot Ave.                                                                                            USA v. Brockman                                                                        3:20-cr-00371
Detroit, MI 48207
                                                                                                            8. THIS TRANSCRIPT ORDER IS FOR:

7. COURT REPORTER NAME ( FOR FTR, LEAVE BLANK AND CHECK BOX)ȹ ޫ FTR                                         倯 APPEAL             ✔ CRIMINAL
                                                                                                                                 倯               倯 In forma pauperis (NOTE: Court order for transcripts must be attached)

Ana Dub                                                                                                     倯 NON-APPEAL         倯 CIVIL          CJA: Do not use this form; use Form CJA24

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      DATE           JUDGE            TYPE                    PORTION                           PDF        TEXT/ASCII    PAPER       CONDENSED   ECF ACCESS   ORDINARY      14-Day   EXPEDITED       DAILY      HOURLY     REALTIME
                                                 If requesting less than full hearing,        (email)        (email)                   (email)      (web)      (30-day)               (7-day)      (Next day)    (2 hrs)
                      (initials)   (e.g. CMC)   specify portion (e.g. witness or time)

 12/15/20              WA          motion        full                                          ●
                                                                                               F              F            F               F        F
                                                                                               F              F            F               F        F
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10. ADDITIONAL COMMENTS, INSTRUCTIONS, QUESTIONS, ETC:



ORDER & CERTIFICATION (11. & 12.) By signing below, I certify that I will pay all charges (deposit plus additional).                                                            12. DATE

11. SIGNATURE
                    Lindsay VanHulle                                                                                                                                            12/23/2020

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                                       Case 4:21-cr-00009            Document
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                                                                        Filed on   Filed 12/23/20
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 CAND 435
 (Rev. 06/13)                                                                         INSTRUCTIONS


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      2.       Complete a separate order form for each court reporter who reported proceedings in the case.
      3.       Complete Items 1-12. Keep a copy of your completed order form for your records.
      4.       E-file this form in the U.S. District Court CM/ECF system. Exceptions to e-filing: (a) sealed cases/proceedings; (b) non-parties; (c) pro se parties who are not e-filers.
               In such cases, mail or hand-deliver a hard copy addressed to the court reporter c/o the Clerk’s Office at the Court division where the proceeding was held.
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 Items 1-3      In fields 1a, 2a & 3a, please provide the contact name and information for the person responsible for ordering the transcript. In a law office, this is usually a
                paralegal or administrative assistant, not the attorney. In fields 1b, 2b & 3b, provide the attorney name and contact info, if the attorney is not the contact person.
 Items 5-6.     Only one case number may be listed per order.
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                audiorecorded. If minutes have not been filed, contact judge’s courtroom deputy.
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                written to facilitate processing. Under “type,” indicate briefly what type of proceeding it was, such as “motion,” “sentencing,” or “CMC.”
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 Item 12.       Enter the date of signing the order and certification.
                                                                                 Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 1 of 13
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                                                                             7                                UNITED STATES DISTRICT COURT
                                                                             8
                                                                                                             NORTHERN DISTRICT OF CALIFORNIA
                                                                             9
                                                                            10
                                                                            11   UNITED STATES OF AMERICA,
                                                                                                                               No. CR 20-00371 WHA
                                                                            12                  Plaintiff,
                   Northern District of California
                    United States District Court




                                                                            13           v.
                                                                                                                               ORDER GRANTING RULE 21(b) MOTION
                                                                            14   ROBERT T. BROCKMAN,                           TO TRANSFER, DENYING MOTION TO
                                                                                                                               DISMISS IN PART FOR LACK OF VENUE,
                                                                            15                  Defendant.                     AND ORDERING IMMEDIATE
                                                                                                                               TRANSFER OF ENTIRE CRIMINAL
                                                                            16                                                 ACTION TO THE UNITED STATES
                                                                                                                               DISTRICT COURT FOR THE SOUTHERN
                                                                            17                                                 DISTRICT OF TEXAS
                                                                            18
                                                                            19                                         INTRODUCTION
                                                                            20        In this prosecution for tax evasion, FBAR violations, conspiracy, wire fraud, money
                                                                            21   laundering, and destruction of and tampering with evidence, this order TRANSFERS the entire
                                                                            22   criminal matter to the United States District Court for the Southern District of Texas.
                                                                            23                                           STATEMENT
                                                                            24        Defendant Robert Brockman allegedly invested more than a billion dollars through Vista
                                                                            25   Equity Partners and sequestered his billions in capital gains abroad to evade taxation. The
                                                                            26   indictment outlines an elaborate scheme, wide-ranging in both time and place (Ind. ¶ 36–38).
                                                                            27        Since 1999, Brockman earned interest through his investments with Vista, a firm with an
                                                                            28   office in the Northern District of California. He stands accused of concealing those capital gains
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                                                                             1   from the IRS by directing his earnings into other financial entities, real property, and accounts,
                                                                             2   many abroad. The prosecutors include three with the Tax Division (in Washington, D.C.) and
                                                                             3   one AUSA based in this district. Contrary to its written policy of prosecuting tax-evasion cases
                                                                             4   where the alleged evader lives (for deterrence purposes), the government presented this case to a
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                                                                             5   grand jury in San Francisco, rather than Houston where Brockman has long resided. In October
                                                                             6   2020, the San Francisco grand jury returned an indictment charging that Brockman failed to
                                                                             7   report his capital gains in his returns for tax years 2012–2018; engaged in a twenty-year
                                                                             8   conspiracy to defraud the United States and evade taxes; willfully failed to file Reports of
                                                                             9   Foreign Bank and Financial Accounts (FBARs) to the IRS 2013–2018; committed wire fraud
                                                                            10   affecting a financial institution (Deutsche Bank); and laundered money, primarily by direction to
                                                                            11   his nominees. These were, most notably, three people with monikers “Individual One,”
                                                                            12   “Individual Two,” and “Individual Three.” Finally, in June 2016, Brockman is said to have
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                                                                            13   learned of the government’s investigation into his actions and he (or his nominees at his
                                                                            14   direction) destroyed, altered, corrupted, or tampered with evidence relevant to the grand jury
                                                                            15   investigation.
                                                                            16        Brockman is 79 and resides in Houston, Texas. He has never lived in this district. His
                                                                            17   health now declines. In late 2018, Brockman underwent testing for abnormal cognitive and
                                                                            18   physical symptoms. In a declaration filed in support of the instant motion, Brockman’s treating
                                                                            19   physician calls his symptoms “consistent with” one of three conditions, or a combination thereof:
                                                                            20   (1) Parkinson’s disease, (2) Parkinsonism (a condition causing physical tremors), and (3) Lewy
                                                                            21   body dementia (a condition in which protein deposits in nerve cells cause dementia and impair
                                                                            22   movement) (Keneally Decl. ¶ 10, Pool Decl. ¶¶ 5–7, 9–10).
                                                                            23        A grand jury indicted Brockman in October 2020:
                                                                            24            x   Count 1: Conspiracy to defraud the United States and commit tax evasion, in
                                                                            25                violation of 18 U.S.C. § 371;
                                                                            26            x   Counts 2 through 8: Tax evasion, in violation of 26 U.S.C. § 7201;
                                                                            27            x   Counts 9 through 14: Violation of Reports of Foreign Bank and Financial Accounts
                                                                            28                (FBAR) filing requirements, in violation of 31 U.S.C. §§ 5314 and 5322;
                                                                                                                                 2
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                                                                             1             x   Counts 15–34: Wire fraud affecting a financial institution, in violation of 18 U.S.C.
                                                                             2                 § 1343;
                                                                             3             x   Counts 35–37: Concealment money laundering, in violation of 18 U.S.C.
                                                                             4                 § 1956(a)(1)(B)(i), tax evasion money laundering, in violation of 18 U.S.C.
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                                                                             5                 § 1956(a)(1)(A)(ii), and international concealment money laundering, in violation
                                                                             6                 of 18 U.S.C. § 1956(a)(2)(B)(i);
                                                                             7             x   Counts 38–39: Evidence tampering and destruction of evidence in violation of 18
                                                                             8                 U.S.C §§ 1512(b)(2)(B) and 1512(c)(1); and
                                                                             9             x   Forfeiture allegations, in violation of 18 U.S.C. §§ 982(a)(1) and 982(a)(2)(A), and
                                                                            10                 28 U.S.C. § 2461(c).
                                                                            11        In November 2020, Brockman moved to change venue on the tax-evasion counts pursuant
                                                                            12   to 18 U.S.C. § 3237(b). He renews that motion here, but an order herein has since denied it (Dkt.
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                                                                            13   53). He now also moves to dismiss or transfer the FBAR counts and to transfer the entire matter
                                                                            14   to the Southern District of Texas. Since filing this motion, Brockman has moved for a
                                                                            15   competency evaluation. This order on the motion to change venue and dismiss or transfer FBAR
                                                                            16   counts follows full briefing and oral argument.
                                                                            17                                             ANALYSIS
                                                                            18        1.       VENUE.
                                                                            19        In the instant motion, Brockman challenges venue on two grounds. First, he argues that
                                                                            20   under 18 U.S.C. § 3237(b) and Rule 7(c)(1) and (f), the tax-evasion charges should be
                                                                            21   transferred to the Southern District of Texas. Section 3237(b) enables a defendant to “elect”
                                                                            22   prosecution in his home district if the basis for venue elsewhere “solely” relies on a defendant’s
                                                                            23   mailing of the tax return into the district. Brockman had previously moved under Section
                                                                            24   3237(b) and Rule 7. That motion was denied (Dkt. 53). For the same reasons, the motion to
                                                                            25   change venue under Section 3237(b) and Rule 7 is DENIED.
                                                                            26        Second, Brockman challenges venue for the FBAR violations and contends that the
                                                                            27   government indicted him on those counts in the wrong district. A substantial unresolved
                                                                            28   question remains as to whether venue lies in this district for the FBAR counts. The government
                                                                                                                                   3
                                                                                 Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 4 of 13
                                                                             1   posits that it can prosecute FBAR charges anywhere a person can submit an FBAR online. The
                                                                             2   defense views venue as proper in either the Southern District of Texas or the district in which the
                                                                             3   FBARs are centrally received, the Northern District of Virginia.
                                                                             4         The prosecution cites two out-of-circuit decisions addressing venue for FBAR
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                                                                             5   prosecutions: United States v. Clines, 958 F.2d 578 (4th Cir. 1992), and United States v.
                                                                             6   Bradley, 644 F.3d 1213 (11th Cir. 2011). Clines held that venue lies in the defendant’s home
                                                                             7   district, the district containing the central receiving center for the FBAR, or any district where
                                                                             8   individuals could file FBARs. See 958 F.2d at 583. Bradley, too, held that venue for an FBAR
                                                                             9   prosecution could lie anywhere that one could file FBARs (at that time, any local IRS office).
                                                                            10   See 644 F.3d at 1252.
                                                                            11         Those decisions predate 2013, however, when the IRS ceased to allow FBAR filing at local
                                                                            12   IRS offices and required them to be filed online only. Therefore, Bradley and Clines are
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                                                                            13   distinguishable. Our court of appeals has not addressed venue for FBAR counts but did tackle a
                                                                            14   similar question in United States v. Clinton, 574 F.2d 464 (9th Cir. 1978), with respect to a
                                                                            15   criminal failure to file tax returns. The decision held that venue for failing to file tax returns
                                                                            16   attaches “at the defendant's place of residence, or at the collection point where the return should
                                                                            17   have been filed.” Id. at 465. The decision held that prosecution in the Western District of
                                                                            18   Washington, which contained Washington’s tax “collection center” (but where the defendant did
                                                                            19   not reside) met venue requirements. Since Clinton could have filed his return at the collection
                                                                            20   center, venue was proper there.
                                                                            21         Brockman stands accused of failing to file FBARs, annually, each year from 2013 through
                                                                            22   2018, so the earlier IRS rules governing their place of filing do not apply here. Both sides here
                                                                            23   seem to agree that the central collection point for FBAR filings sits in Virginia and that
                                                                            24   Brockman lives in Houston. In light of Clinton and the IRS rule change that eliminates the
                                                                            25   foundation of Bradley and Clines, it seems doubtful that the government’s position could carry
                                                                            26   the day on this point. The stronger authority from our court of appeals thus favors the defense.
                                                                            27         The government argues, alternatively, that venue is proper as to the FBAR counts because
                                                                            28   the indictment also charges a specific FBAR penalty provision, Section 5322(b), with each
                                                                                                                                  4
                                                                                 Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 5 of 13
                                                                             1   FBAR violation count. The government urges that the penalty provision lays venue for the
                                                                             2   FBAR counts. Section 5322(b) enhances penalties for FBAR violations when the defendant
                                                                             3   violated “another law of the United States” or engaged in a “pattern of illegal activity involving
                                                                             4   more than $100,000 in a 12-month period.” 31 U.S.C. § 5322(b). The government argues that it
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                                                                             5   will prove a “pattern,” which included Brockman’s conspiracy and tax evasion. Since the
                                                                             6   conspiracy and tax evasion occurred locally, the government claims, venue is supposedly proper
                                                                             7   in this district for all counts of FBAR violations. The government analogizes to United States v.
                                                                             8   Rodriguez-Moreno, 526 U.S. 275 (1999), which held that a kidnapping with use of a firearm
                                                                             9   could be prosecuted wherever the kidnapping took place. This kidnapping had traversed several
                                                                            10   districts, but the gun never entered the district where trial eventually occurred. The decision held
                                                                            11   that the gun was a “circumstantial” element, and its location did not necessarily determine venue.
                                                                            12   In contrast, kidnapping was the “essential conduct element[]” and its locations did lay venue. Id.
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                                                                            13   at 280.
                                                                            14        Similarly, United States v. Magassouba, 619 F.3d 202 (2d Cir. 2010), applied Rodriguez-
                                                                            15   Moreno and held that when identity theft occurred “during and in relation to” a predicate crime
                                                                            16   of bank fraud, the location of the bank fraud laid venue. Id. at 205–06. It reasoned that predicate
                                                                            17   bank fraud was “an essential element” of aggravated identity theft. Rodriguez-Moreno and
                                                                            18   Magassouba, however, miss the mark: the failure to file an FBAR is the primary conduct and
                                                                            19   would seem to be our “essential conduct element.”
                                                                            20        In short, the law on venue for the FBAR counts seems to favor the defense. This order
                                                                            21   need not make a definitive ruling, however, because, as discussed below, convenience and the
                                                                            22   interests of justice favor transfer of all counts. The doubtfulness of venue for the FBAR counts
                                                                            23   will have a supporting role in the tenth Platt factor, discussed below, since it would waste
                                                                            24   resources to find venue here and proceed through trial, only to likely have the FBAR counts
                                                                            25   vacated by our court of appeals. The motion to dismiss counts nine through fourteen is DENIED
                                                                            26   AS MOOT.
                                                                            27
                                                                            28
                                                                                                                                 5
                                                                                 Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 6 of 13
                                                                                      2.      RULE 21(b).
                                                                             1
                                                                                       Brockman moves to transfer the entire criminal matter to the Southern District of Texas
                                                                             2
                                                                                 “for the convenience of the parties and witnesses and in the interest of justice” under Rule 21(b).
                                                                             3
                                                                                 Factors to balance in deciding such a motion by a defendant are: (1) location of the defendant;
                                                                             4
                                                                                 (2) location of possible witnesses; (3) location of events likely to be in issue; (4) location of
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                                                                             5
                                                                                 documents and records likely to be involved; (5) disruption of defendant’s business unless the
                                                                             6
                                                                                 case is transferred; (6) expense to the parties; (7) location of counsel; (8) relative accessibility of
                                                                             7
                                                                                 the place of trial; and (9) docket conditions in each district involved. See Platt v. Minn. Min. &
                                                                             8
                                                                                 Mfg. Co., 376 U.S. 240, 243–44 (1964). These factors have been applied to trials of individuals
                                                                             9
                                                                                 and corporations. See, e.g., United States v. Testa, 548 F.2d 847, 856–57 (9th Cir. 1977). Our
                                                                            10
                                                                                 court of appeals has held that a defendant must make a sufficient showing that convenience or
                                                                            11
                                                                                 the interests of justice warrant a change of venue under Rule 21(b). See Wagner v. United
                                                                            12
                   Northern District of California




                                                                                 States, 416 F.2d 558, 562 (9th Cir. 1969). Trial courts undertaking the analysis, however,
                    United States District Court




                                                                            13
                                                                                 receive wide latitude and will not be overturned unless the results “clearly indicate an abuse of
                                                                            14
                                                                                 discretion.” Id. at 564. Brockman urges that the Rule 21(b) factors favor transfer. For its part,
                                                                            15
                                                                                 the government opposes transfer and asserts that the Platt factors militate in favor of our district.
                                                                            16
                                                                                 It does not, however, assert that the law requires deference to its choice of district.
                                                                            17
                                                                                       First (location of the defendant), Brockman lives in Houston. Specifically, he lives 7.4
                                                                            18
                                                                                 miles from the United States District Court for the Southern District of Texas. By contrast, he
                                                                            19
                                                                                 lives 1900 miles from here. The government concedes that in 2019 Brockman resided “more in
                                                                            20
                                                                                 Houston than anywhere else,” but argues that he peregrinated around the globe. The year is now
                                                                            21
                                                                                 2021 and travel patterns have radically changed due to the COVID-19 pandemic. More
                                                                            22
                                                                                 importantly, Brockman does reside in Houston and this Platt factor focuses on just that:
                                                                            23
                                                                                 residence. It favors transfer (Ind. ¶ 1, Keneally Decl. Exh. A, Opp. at 7).
                                                                            24
                                                                                       Second (location of possible witnesses), the trial witnesses residing closer to this district
                                                                            25
                                                                                 outnumber, but only slightly, those residing closer to Houston. The government has identified
                                                                            26
                                                                                 three to five local trial witnesses, including at least one witness from each of the two
                                                                            27
                                                                                 (unspecified) local “victim entities,” against whom Brockman allegedly committed wire fraud.
                                                                            28
                                                                                                                                   6
                                                                                 Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 7 of 13
                                                                             1   Although the government could not confirm that the two employees still reside in the district, it
                                                                             2   asserted at the hearing that as of late 2019, prosecutors at least met with them locally. The
                                                                             3   government will also call one to three “fact[] witnesses” from Vista’s local office (Ind. ¶¶ 161–
                                                                             4   189, 191(a), Opp. at 8, 3, Ind. ¶ 39).
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                                                                             5         With respect to witnesses proximate to Houston, the government confirmed at the hearing
                                                                             6   that “Individual Two” refers to Robert Smith. He lives in Austin, Texas, has entered a non-
                                                                             7   prosecution agreement with the government, and features prominently in the indictment. The
                                                                             8   government also agreed at the hearing that “Individual Three,” relevant to the accusations that
                                                                             9   Brockman altered or destroyed evidence, lives in Oxford, Mississippi. The government
                                                                            10   identified “Individual One” in the indictment as Evatt Tamine; parties agree that he currently
                                                                            11   resides abroad. Tamine, who the government stated at the hearing is now living in the United
                                                                            12   Kingdom, lies beyond the subpoena power of the Court but if a deposition of him were taken
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                                                                            13   there, it would be inconvenient to both venues under consideration. Both the Austin- and
                                                                            14   Mississippi-based witnesses reside far closer to Houston than San Francisco and will have
                                                                            15   starring roles at trial if the indictment is true (Ind. ¶¶ 8–13, 31, 32, 34–36, 39, 46–54, 56–58, 61–
                                                                            16   80, 82–127, 165, 166, 172–185, 195, 196).
                                                                            17         Brockman’s counsel also declares, without further explanation, that “at least 17” subpoenas
                                                                            18   “have been presented to” parties local to Houston. We have no information as to their roles or
                                                                            19   whether they will be called at trial, so this order will ignore them. Brockman’s tax preparer
                                                                            20   resides in Houston and very likely will be a witness at trial (Keneally Decl. ¶¶ 29, 22–24, Exh. H
                                                                            21   at 7, ¶¶ 19, 35–36).
                                                                            22         Brockman has, moreover, moved for a competency hearing and his counsel name Southern
                                                                            23   District of Texas-based witnesses (four doctors, Brockman’s wife, and an unspecified number of
                                                                            24   friends and colleagues) who will participate in a potentially dispositive pretrial hearing; they
                                                                            25   feature less in the central question of the trial but deserve at least some consideration for their
                                                                            26   stated roles in testifying about Brockman’s changed cognitive function and, thus, in the
                                                                            27   important pretrial issue of competency (Keneally Decl. ¶¶ 5–16, Dkt. 64, Pool Decl. ¶ 8).
                                                                            28
                                                                                                                                  7
                                                                                  Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 8 of 13
                                                                             1         All told, the tally of trial witnesses favors, just barely, the Northern District of California
                                                                             2   by a count of three (possibly as many as five) to three. The possibility of more numerous local
                                                                             3   witnesses does not dramatically tip the scale against transfer, especially keeping in mind that the
                                                                             4   two of the three witnesses for whom Houston is more convenient are called out as important in
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                                                                             5   the indictment itself. Factoring in, to a lesser extent, the convenience of the Houston-based
                                                                             6   competency witnesses, the location-of-witnesses factor appears evenly split between the two
                                                                             7   districts.
                                                                             8         Third (location of events likely to be at issue), the events of this case occurred in Texas,
                                                                             9   Colorado, Northern California, and abroad. Per the indictment, Brockman conspired to defraud
                                                                            10   the United States in the district “and elsewhere” between 1999 and 2019, but the most significant
                                                                            11   local events occurred at the beginning of the scheme, in approximately 2000, around the time of
                                                                            12   Vista’s founding. At that time, it maintained its principal place of business in San Francisco and
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                                                                            13   Individual Two resided in the district as well. Brockman’s actions locally included investing in
                                                                            14   Vista’s very first fund; in fact, he, alone, invested. He also allegedly worked with Vista
                                                                            15   throughout the early 2000s. In 2011 however, Vista opened offices elsewhere, including in
                                                                            16   Austin, Texas. At some point, Individual Two also relocated to Texas (a fact that the
                                                                            17   government acknowledged at oral argument). The indictment alleges that over the next two
                                                                            18   decades, Vista worked at Brockman’s behest, but does not name the locations of individuals at
                                                                            19   Vista who, after the company’s 2011 expansion, acted on Brockman’s behalf. Vista’s purported
                                                                            20   work for Brockman, meanwhile, certainly implicated locations abroad: Vista invested
                                                                            21   Brockman’s money in funds organized solely abroad and transferred his pre-tax capital gains to
                                                                            22   offshore accounts, among other places. Other nominees, on Brockman’s behalf, made further
                                                                            23   international investments, bought real property and even a yacht abroad, all purportedly to help
                                                                            24   him avoid paying taxes on those earnings (Ind. ¶¶ 29, 6–8, 42, 14, 15, 39, 89, 91).
                                                                            25         The counts most explicitly tied to this district allege wire fraud, which involved emails and
                                                                            26   wire transmissions to local individuals and companies as well as an unnamed local investor and
                                                                            27   two local “entities.” The emails to individuals in the district dated March 2009 through April
                                                                            28   2010 and the scheme involved six false statements to various debt-securities holders including
                                                                                                                                   8
                                                                                 Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 9 of 13
                                                                             1   “ones in” this district. The alleged fraud consisted of Brockman’s purchase of debt securities
                                                                             2   owed by his own software corporation: Brockman first sought to purchase debt securities from
                                                                             3   the debt administrator, Deutsche Bank, using a proxy (a nominee individual) to disguise his role.
                                                                             4   Deutsche Bank then acquired the debt securities from local “victim entities” and an investor in
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                                                                             5   order to sell them to Brockman. Brockman finally purchased the debt securities through his
                                                                             6   proxy. He never revealed his role. This deceit, the government explained at the hearing,
                                                                             7   materially misled the victim entities because, had they known about Brockman’s involvement,
                                                                             8   they would have viewed his offer as that of an officer of the debtor corporation and as a signal
                                                                             9   that the debtor corporation could have continued to make payments. Lacking that information,
                                                                            10   the victim entities supposedly underpriced the debt securities (Ind. ¶¶ 19, 189, 178, 179, 186,
                                                                            11   11).
                                                                            12          The events in the indictment also include two San Francisco-based financial transfers:
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                                                                            13   Brockman directed one transfer of over $14 million of his Vista investment gains from a San
                                                                            14   Francisco bank to a Caribbean bank, and another, of more than $41 million, from a bank in San
                                                                            15   Francisco to one in Switzerland. The final connection to the district appears in the last counts of
                                                                            16   the indictment, which allege, vaguely, that Brockman interfered with evidence “[i]n” the district
                                                                            17   “and elsewhere.” The transfers that the indictment identifies as being from or to this district,
                                                                            18   however, represent just a few out of a nearly two-decade period of active investments. It is true
                                                                            19   that the indictment names our district fifty-one times and San Francisco twice (in addition), but it
                                                                            20   also uses the phrase “and elsewhere” to refer to events’ locations twenty-two times. Brockman
                                                                            21   indeed maintained out-of-state residences and it remains far from clear that any of Vista’s actual
                                                                            22   work on his behalf “occurred” in its local office after 2011. Given the considerable doubt that
                                                                            23   remains about the locations of many events in the indictment, the location-of-events Platt factor
                                                                            24   either favors neither district or favors this district slightly (Ind. ¶¶ 191, 192, Keneally Decl.
                                                                            25   ¶ 35).
                                                                            26            Fourth (the location of documents and records likely to be involved), this factor favors
                                                                            27   neither district. Brockman argues that records sit where the events happened, and claims that
                                                                            28   most events occurred either in the Southern District of Texas, where he maintained a residence,
                                                                                                                                   9
                                                                                 Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 10 of 13
                                                                             1   or abroad. Via the grand jury and the IRS, the government already has the documents it needs.
                                                                             2   The defense will probably rely on its own records. The need to subpoena third-party records
                                                                             3   appears minimal and to the extent anyone needs to do so, those records will very likely be in
                                                                             4   electronic form and transportable to either district. This factor favors neither district.
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                                                                             5         Fifth (disruption of business), both sides agree that Brockman has retired. Trial will not
                                                                             6   disrupt his “business.” Brockman argues that his health now is his “business” and that this Platt
                                                                             7   factor favors transfer. Not so. This order evaluates Brockman’s health below, under the “special
                                                                             8   elements” factor (number ten). See, e.g., United States v. Bowdoin, 770 F. Supp. 2d 133, 139
                                                                             9   (D.D.C. 2011) (analyzing the physical health of a defendant’s wife under the “special elements”
                                                                            10   factor). This factor does not favor either district.
                                                                            11         Sixth (expense to the parties), the government argues that transferring a fraction of the
                                                                            12   counts (the FBAR counts) would be extraordinarily expensive. The government does not claim,
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                                                                            13   however, that prosecuting the whole case in the Southern District of Texas would cost more than
                                                                            14   prosecution here. Brockman argues that trial will be less expensive if held closer to the events in
                                                                            15   the case and, therefore, that this factor is either neutral or favors transfer. To repeat, the
                                                                            16   locations of many events in the case remain unclear. The expense factor is a draw.
                                                                            17         Seventh (location of counsel), Brockman admits that this factor favors neither district and
                                                                            18   that his attorneys reside in both this district and the Southern District of Texas, as well as in New
                                                                            19   York and Washington, D.C. The government states that while one local AUSA is working the
                                                                            20   case, three of the four attorneys on the case come from the Tax Division in Washington, D.C.
                                                                            21   Since each side has at least one attorney living in our district, and other attorneys residing
                                                                            22   elsewhere, the location of counsel factor is also a draw (Opp. at 11).
                                                                            23         Eighth (accessibility of the location of trial), both Houston and San Francisco constitute
                                                                            24   major metropolitan areas. This factor remains neutral.
                                                                            25         Ninth (docket conditions), the median time from case filing to disposition in felony cases
                                                                            26   took 12.4 months in this district compared with 4.2 months in the Southern District of Texas.
                                                                            27   See Federal Management Statistics, Administrative Office of the Courts, https://www
                                                                            28   .uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile0930.2020.pdf (last visited Jan.
                                                                                                                                  10
                                                                                 Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 11 of 13
                                                                             1   4, 2021). Although delays in trials everywhere hinge on the COVID-19 pandemic, our district
                                                                             2   has suspended all in-person proceedings for the time being due to the rate of COVID-19
                                                                             3   transmission and the critical dearth of ICU capacity. The Southern District of Texas has also
                                                                             4   suspended jury trials, but as of early January, intended to resume them on January 19, 2021. See
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                                                                             5   CoronaVirus Disease 2019 (COVID-19) – SDTX Related Orders and Courthouse Statuses (last
                                                                             6   updated Dec. 17, 2020), https://www.txs.uscourts.gov/. And, the Southern District of Texas does
                                                                             7   currently show substantially less docketing delay. The government argues that transfer itself will
                                                                             8   slow the case’s progression and offset the benefits of a faster docket, citing United States v.
                                                                             9   Larsen, No. 13 CR 688 JMF, 2014 WL 177411, at *3 (S.D.N.Y. Jan. 16, 2014) (transfer
                                                                            10   unwarranted after accounting for the time necessary to execute transfer). That felony cases
                                                                            11   progress in the Southern District of Texas at nearly three times the rate here, however, renders its
                                                                            12   argument less potent. The government also argues that Brockman has not requested an earlier
                   Northern District of California
                    United States District Court




                                                                            13   trial date than this district can accommodate. This factor does not turn on the defendant’s
                                                                            14   request but on the relative conditions of the dockets. As circumstances now stand, the docket-
                                                                            15   conditions factor favors transfer.
                                                                            16        Tenth (special elements and interests of justice), Brockman will turn 80 during this case.
                                                                            17   His cognitive ability, memory, and mobility have declined, due to what his doctors believe is
                                                                            18   either Parkinson’s disease, Parkinsonism, Lewy body dementia, or “some combination” of all
                                                                            19   three. Counsel for Brockman offered the government the chance to interview Brockman’s
                                                                            20   doctors prior to the indictment to understand his health for themselves. The government spurned
                                                                            21   the offer during the months in which it remained open. Now, the government seeks to try him
                                                                            22   thousands of miles from home. In support of his motion to transfer, Brockman offers his
                                                                            23   physician’s opinion. Dr. James L. Pool opines that facing trial in a district other than Houston
                                                                            24   would disorient Brockman “in a manner that could accelerate the deterioration of his mental
                                                                            25   condition.” By way of explanation, he declares that Brockman experiences “progressive
                                                                            26   dementia,” as well as short- and long-term memory loss. (Dr. Pool also opines that a trial far
                                                                            27   from home threatens “creating a risk to his existing cardiac condition” but does not elaborate on
                                                                            28   how or on the nature of the cardiac condition.) Dr. Pool declares that it is “not medically
                                                                                                                                 11
                                                                                 Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 12 of 13
                                                                             1   advisable” for Brockman to travel to San Francisco due to his advanced age and elevated risk of
                                                                             2   serious illness from the novel coronavirus (Pool Decl. ¶¶ 5, 7–9, 10).
                                                                             3         The Rule 21(b) analysis must also examine two additional elements under the
                                                                             4   special-elements Platt factor: first, Rule 21(b) requires the court to consider victims’ locations.
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                                                                             5   See FRCrP 21, Advisory Committee Notes. Two victims, both corporations, operate in our
                                                                             6   district (and elsewhere).
                                                                             7         Second, in a Rule 21(b) analysis, courts may also transfer a criminal action if the “interests
                                                                             8   of justice” so demand. FRCrP 21(b). The United States Department of Justice recommendations
                                                                             9   inform our assessment of the “interests of justice:”
                                                                            10                It is the policy of the Department of Justice generally to attempt to
                                                                            11                establish venue for a criminal tax prosecution in the judicial district
                                                                                              of the taxpayer’s residence or principal place of business, because
                                                                            12                prosecution in that judicial district usually has the most significant
                   Northern District of California
                    United States District Court




                                                                                              deterrent effect.
                                                                            13
                                                                            14   United States Department of Justice, Criminal Tax Manual, 6.01[2] Policy Considerations. This
                                                                            15   DOJ policy statement delineates an important interest. Houston is clearly the proper location for
                                                                            16   this case under DOJ policy. Additionally, the stronger view of mandatory venue for the FBAR
                                                                            17   counts favors the defense. It would better serve the interests of justice to keep the case together
                                                                            18   than to sever and transfer those counts. It would similarly defeat the ends of justice to try the
                                                                            19   whole case here only to have our court of appeals vacate those counts for a retrial. For the
                                                                            20   reasons stated above, such a reversal would be a realistic scenario should the case remain here.
                                                                            21   Given Brockman’s age and questionable health, we do not have the luxury to try this case
                                                                            22   twice. In the interests of justice, it should be tried where venue is unquestionably proper and that
                                                                            23   is the place of his residence. The government also argues that rates of COVID-19 infection
                                                                            24   appeared worse in the Houston area than in San Francisco at the time it filed its opposition and
                                                                            25   that, therefore, the interests of justice favor trial here. The data are highly changeable and so do
                                                                            26   not sway the special-elements factor. Brockman’s health, the public interest in deterrence, and
                                                                            27   the interest in a singular prosecution outweigh the location of victims in this tenth Platt factor.
                                                                            28   This factor clearly favors transfer.
                                                                                                                                 12
                                                                                 Case 3:20-cr-00371-WHA Document 76 Filed 01/04/21 Page 13 of 13
                                                                             1        In summary, three Platt factors weigh in favor of transfer (location of defendant, docket
                                                                             2   crowding, and the special factor of Brockman’s illness and interests of justice). One factor
                                                                             3   militates against transfer (disruption). The location-of-events factor possibly favors this district
                                                                             4   but, if so, only slightly. Five other factors appear neutral (location of witnesses, location of
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                                                                             5   documents, location of counsel, accessibility of the court, and expense). The Platt factors favor
                                                                             6   transfer. The Rule 21(b) motion is GRANTED.
                                                                             7                                            CONCLUSION
                                                                             8        The Clerk shall transfer this criminal action to the United States District Court for the
                                                                             9   Southern District of Texas.
                                                                            10
                                                                                 IT IS SO ORDERED.
                                                                            11
                                                                            12
                   Northern District of California
                    United States District Court




                                                                                 Dated: January 4, 2021.
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                                                                            16                                                           UNITED STATES DISTRICT JUDGE
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